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               Exhibit A – Part 1
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                 COMMONWEALTH OF MASSACHUSETTS

Middlesex, ss.                                             Superior Court
                                                           Civil Action No. 2481CV03106

                                                             )
           Robert P. Weinberg,                               )
                             Plaintiff                       )
                     v.                                      )
                                                             )
Lisa Wolfe, Stanley Spero, Spero and Jorgensson, P.C.,       )
Lourdes Colon, Nagina Mangal, Ann Graybiel,                  )
Sally Kornbluth, Massachusetts Institute of Technology,      )
MIT Campus Police Department, Craig Martin, Coverys          )
Killian Casey, Panache Flint, Michael Allen, Booker Bush, )
Martin Crane, Alice Oliff, Richard Waring, Thomas Reilly, )
Hon. Kimberly Budd, Hon. Margaret Walsh, James Beck,         )
Hon. Sarah Luick, Hon. Natalie Monroe, Andrea Campbell, )
Hon. Christopher Connolly, Hon. Heide Brieger,               )
Hon. Peter W. Killborn, Andrea Campbell, Claudia Hunter, )
Vincent DiCianni, Ferriter Scobbo & Rodophele P.C.,          )
Claudia Hunter, Robert Stolzberg, Sten Lofgren, CHDI         )
Foundation, Simons Foundation Autism Research Initiative, )
                             Defendants                      )
                                                             )



Complaint and Demand for Trial by Jury
                 A Case of First Impression
             without precedent in USA since 1776




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        “When the system fails, righteous men will rise up …”
                                                         -- Hieronymus
             “Lex injusta non est lex.”……“An unjust law is no law at all.”
                                                                    -- Natural Law
                       “Veritas liberabit vos”…….“The truth will set you free”
                                                                        -- Bible - John 8:32

       Now comes the Plaintiff, Robert P. Weinberg, (hereinafter "Plaintiff"), acting pro se,

and for his Complaint against the Defendants DEMANDING TRIAL BY JURY , states as

follows:

                                   I. INTRODUCTION

1. Plaintiff Robert P. Weinberg seeks compensatory and punitive damages, declaratory judgments, and

injunctive relief for unlawful actions by the Defendants spanning over two decades that have resulted in

substantial ham to his professional career, reputation and constitutional rights.

2. These actions involve spoliation of exculpatory evidence, unconstitutional state laws, Extrinsic Fraud,

fraud on the court, violations of federal law including the Constitution, civil rights violations, and judicial

misconduct resulting in the wrongful revocation of Plaintiff’s medical license and substantial damages.

3. This case presents unique circumstances without precedent in the United States since 1776, centering on a

unique 1992 Express Bilateral Contract that terminated a doctor-patient relationship under the supervision of

a licensed psychologist, but was ignored and disbelieved due, in part, to blatant judicial misconduct.

4. The subsequent concealment of this contract through spoliation of evidence, comprising Extrinsic Fraud,

and fraud on the court led to the wrongful revocation of Plaintiff's medical license and devastating personal

and professional consequences.

5. The Plaintiff seeks redress for these actions, to restore his professional standing, recover damages, hold

Defendants accountable for their unlawful conduct, actions and/or omissions and further to enjoin the state

defendants from ongoing and continuing violations of federal law, with investigation of judicial misconduct.


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6. The Defendants’ actions deprived Plaintiff of his civil and constitutional rights, such as Due Process of

Law, which are guaranteed and granted under federal law and the U.S. Constitution, while the defendants

were acting under the color of state law, in violation of 42 U.S.C. § 1983, making this a civil rights suit.

7. This action seeks redress for violations of Plaintiff's civil rights and constitutional rights under the First,

Fourth, Fifth, Eighth and Fourteenth Amendments to the United States Constitution, violations of Title IX of

the Education Amendments of 1972, sexual discrimination and harassment, violations of Title VII of the

Civil Rights Act of 1964, violations of 42 U.S.C. § 1983, and related state law claims.

8.   Plaintiff challenges the constitutionality of Massachusetts state laws and Board of Registration in

Medicine (“BORIM”) regulations as applied to him, alleging violations of Equal Protection, Due Process, the

right to contract, the right to marry, the right to gainful employment, the Eighth Amendment, and the right to

privacy, among other violations of federal law, making such state laws and regulations unconstitutional.

9. This action seeks to remedy these wrongs, restore the Plaintiff’s rightful professional standing, recover

damages for the immense harm inflicted upon him, and hold the Defendants accountable for their unlawful

actions, including: collusion, conspiracy, solicitation, and attempt to commit criminal offenses.

10. The case presents multiple novel constitutional questions including:(a) Equal protection violations in

medical board regulations; (b) Impairment of fundamental right to contract; (c) Violation of right to privacy

in non-clinical settings; (d) Cruel and unusual punishment through permanent internet publication of

scandalous and false sexual allegations; (e) Denial of right to engage in gainful employment; and (f)

conscription by BORIM: Involuntary servitude through mandatory physician duties and work.

11. The Plaintiff seeks monetary damages and relief for: (a) Deprivation of constitutional rights by

defendants acting under color of law; (b) Sexual discrimination in violation of Title IX; (c) Sexual

harassment in violation of Title VII; (d) defamation; (e) False imprisonment and unlawful detention; (f) Anti-

Semitic discrimination and hate crimes; (g) Spoliation of exculpatory evidence comprising Extrinsic Fraud;

(h) Fraud upon multiple courts and tribunals; (i) monetary damages for lost income totaling more than $3M


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 (three million dollars), lost economic opportunities, and constructive state ban on employment; (j) Breach of

 contract, Quantum Meruit and unjust enrichment; and (k) continuing humiliation, ostracism, and constructive

 social banishment from the community via Stigma Plus via BORIM sanctions.

                            II. JURISDICTION AND VENUE

 12. This Court has subject matter jurisdiction pursuant to M.G.L. c. 212, § 4 and concurrent jurisdiction over

 federal claims under 42 U.S.C. § 1983.

 13. This Court has jurisdiction pursuant to M.G.L. c. 212, § 3, as the amount in controversy exceeds

 $50,000.

 14. Venue is proper in Middlesex County pursuant to M.G.L. c. 223, § 1, as multiple Defendants reside or

 have their principal place of business in this county, and substantial events giving rise to these claims

 occurred within this county.

                                          III. PARTIES

15.      Plaintiff Robert P. Weinberg, D.O. is a natural person and was, until the wrongful revocation of his

license, a licensed physician in the Commonwealth of Massachusetts. The Plaintiff is a U.S. citizen resident

residing at 9 Hall Hill Road, Dixfield, Maine 04224

-------------------------------------------------------------------------------------------------------------

                    PLAINTIFF RECEIVES ALL CORRESPONDENCE AT:

                           P.O. BOX 15334, BOSTON, MA 02215

Additional Contact information for the Plaintiff:
Email: LawDocBob@gmail.com

Tel: (781) 661-8207

Fax: (617) 977-0902

--------------------------------------------------------------------------------------------------------------------------------

16. Nagina Mangal - Defendant, Afghanistan national with VISA as Postdoctoral Fellow in Graybiel Lab,

MIT, principal place of business at the MIT McGovern Institute for Brain Research, Building 46, 43 Vassar

                                                         4
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Street, Cambridge, MA 02139 (https://yangtan.mit.edu/supported-researchers/)

17. Ann Graybiel - Defendant, Institute Professor, MIT, Dept of Brain and Cognitive Sciences (BCS),

principal place of business at MIT McGovern Institute for Brain Research, Building 46, 43 Vassar Street,

Cambridge, MA 02139 (MIT GRAYBIEL LAB - Home (graybiel-lab.com)

18. Lisa Wolf - Defendant, psychologist licensed in the Commonwealth of Massachusetts, principal place of

business at 173 Mount Auburn Street, Watertown, MA 02472 with Clinical privileges at the Human Resource

Institute, Brookline, MA 02472 (https://npiprofile.com/?s=Lisa%20Wolfe ) (https://www.linkedin.com/in/lisa-

wolfe-9480b5a0/)

19.   Stanley Spero – Defendant, licensed attorney who resides at 12 Rokeby Road, Waban, Massachusetts

02468-1830 (https://www.sjsperoandassociates.com/Attorneys/Stanley-J-Spero.html )

20.   Spero and Jorgenson, P.C. – Defendant, law firm with principal place of business at 175 Federal Street,

Suite 1425, Boston, MA 02110 (https://www.sjsperoandassociates.com/Attorneys/index.html )

21. Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings) - Defendant, currently resides at 267 Centre St,

Apt. 230, Jamaica Plain, MA.

22. Sally Kornbluth, President, Massachusetts Institute of Technology (“MIT”) - Defendant, President of

MIT, principal place of business at 77 Massachusetts Avenue, Cambridge, Massachusetts 02139

(https://web.mit.edu )

23. Massachusetts Institute of Technology (“MIT”) - Defendant, federally-funded University, Principal Place

of Business at 77 Massachusetts Ave, Cambridge, MA 02139

24. Simons Foundation Autism Research Initiative - Defendant, with principal place of business at 160 Fifth

Avenue, 7th Floor, New York, New York 10010 Tel (646) 654-0066, Fax (646) 654-0220;

https://www.sfari.org / info@simonsfoundation.org

25. CHDI Foundation - Defendant, with principal place of business located at 350 Seventh Ave, Suite 200,

New York, New York 10001 https://chdifoundation.org/


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26. MIT Campus Police Department - Defendant, Security Division of MIT with a principal place of business

located at 77 Massachusetts Ave, Cambridge, MA 02139

27. Craig Martin - Defendant, Chief of MIT Campus Police Department, with a principal place of business

located at 77 Massachusetts Ave, Cambridge, MA 02139

28.   Killian Casey - Defendant, Police Officer of MIT Campus Police Department, with a principal place of

business located at 77 Massachusetts Ave, Cambridge, MA 02139

29.   Panache Flint - Defendant, Police Officer of MIT Campus Police Department, with a principal place of

business located at 77 Massachusetts Ave, Cambridge, MA 02139

30.   Michael Allen - Defendant, Police Officer of MIT Campus Police Department, with principal place of

business located at 77 Massachusetts Ave, Cambridge, MA 02139

Chairmen of the Massachusetts Board of Registration in Medicine:

31. Current Chairman: Booker Bush, Chairman, Board of Registration in Medicine (“BORIM”) – Defendant

(in his official capacity), Massachusetts state agency which licenses of Physicians in the Commonwealth of

Massachusetts, with a principal place of business at 178 Albion Street, Suite 330, Wakefield, Massachusetts

01880      (https://www.mass.gov/orgs/board-of-registration-in-medicine) - any money damages will not be

sought from the state Treasury

32. 2002 Chairman, BORIM – Martin Crane – Defendant, former Chairman of the Massachusetts Board of

Registration in Medicine in 2002 (both individually and in his official capacity)

33.     Alice Oliff - Defendant, Attorney for the Board of Registration in Medicine, with a principal place of

business at 178 Albion Street, Suite 330, Wakefield, Massachusetts 01880; any damages will not be sought

from the state Treasury

(https://www.mass.gov/orgs/board-of-registration-in-medicine)

34.     Richard Waring - - Defendant (both individually and in his official capacity), Attorney for the Board of

Registration in Medicine, with a principal place of business at 178 Albion Street, Suite 330, Wakefield,


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Massachusetts 01880; any damages will not be sought from the state Treasury

(https://www.mass.gov/orgs/board-of-registration-in-medicine).

.      Chief Justice of the Massachusetts Supreme Judicial Court

35. Current Chief Justice: Hon. Kimberly Budd, Chief Justice, Massachusetts Supreme Judicial Court (“Mass

SJC”) – Defendant (in her official capacity), with a principal place of business at the John Adams Courthouse,

1 Pemberton Square, Suite 2500, Boston, Massachusetts 02108; any damages will not be sought from the state

Treasury (https://www.mass.gov/orgs/massachusetts-supreme-judicial-court).

36. 2002 Chief Justice of Mass SJC: Hon. Margaret H. Walsh - Defendant, former Chief Justice of the

Massachusetts Supreme Judicial Court (both individually and in her official capacity)

37.    Hon. Sarah Luick – Defendant (both individually and in her official capacity), former magistrate,

Division of Administrative Law Appeals (“DALA”), working at the independent Massachusetts agency which

conducts adjudicatory hearings for other Massachusetts state agencies, principal place of business at 14

Summer Street, 4th Floor, Malden, Massachusetts 02148; any damages will not be sought from the state

Treasury (https://www.mass.gov/orgs/division-of-administrative-law-appeals).

.      Chief Magistrate of the Division of Administrative Law Appeals

38. Current Chief Magistrate: Hon. Natalie Monroe, Chief Magistrate of the Division of Administrative Law

Appeals (“DALA”) - Defendant, (in her official capacity), 14 Summer St, 4th Floor, Malden, MA 02148; any

damages will not be sought from the state Treasury (https://www.mass.gov/orgs/division-of-administrative-

law-appeals)

39. 2002 Hon. Christopher Connolly, former Chief Magistrate of DALA (2002) - Defendant, (both

individually and in his official capacity), 14 Summer St, 4th Floor, Malden, MA 02148; any damages will not

be sought from the state Treasury




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                    Chief Justice of Superior Court, Trial Division

40.   Current Chief Justice: Hon. Heidi Brieger, Chief Justice of the Superior Court Trial Division - Defendant,

(in her official capacity), Suffolk County Courthouse, 3 Pemberton Square, Boston, MA 02108.

(https://trellis.law/judge/heidi.e.brieger). any damages will not be sought from the state Treasury

41. 2002 Chief Justice: Hon. Peter W. Killborn (2002) – Defendant, former Chief Justice of the Superior

Court Trial Division - Defendant, (both individually and in his official capacity), Suffolk County Courthouse,

3 Pemberton Square, Boston, MA 02108.

            Attorney General for the Commonwealth of Massachusetts

42. Current AG: Andrea Campbell - Defendant (in her official capacity), Attorney General for the

Commonwealth of Massachusetts, One Ashburton Place, Boston, MA 02108; any damages will not be sought

from the state Treasury

43. 2002 AG: Thomas Reilly (2002) – Defendant, former Attorney General for Commonwealth of

Massachusetts, (both individually and in his official capacity), One Ashburton Place, Boston, MA 02108; any

damages will not be sought from the state Treasury

44.    Vincent DiCianni - Defendant, licensed attorney in Massachusetts, principal place of business at P.O.

Box 961791, Boston, MA 02196

(https://www.affiliatedmonitors.com/contact/)(https://www.linkedin.com/in/vincent-dicianni-53b9bb5)

45.    Ferriter Scobbo and Rodophele, P.C. - Defendant, 125 High Street, Suite 2611, Boston, MA 02110

(former employer to former attorney Vincent DiCianni)

46.    Claudia Hunter - Defendant, licensed attorney in Massachusetts, principal place of business at Hunter

& Bobit, P.C., principal place of business at 83 Atlantic Ave, Boston, MA 02110

(https://www.linkedin.com/in/claudia-hunter-8274847)

47.    Robert Stolzberg - Defendant, licensed attorney in Massachusetts, principal place of business at 105

Willard Road, Brookline, MA 02445 (https://www.bigonlaw.com/)


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48.     Paula Metcalf Lazar – Defendant, licensed clinician with principal place of business at 15 Boylston

Street, #3, Jamaica Plain, MA 02130 (https://npiprofile.com/npi/1962977512)

49.     Amy Banks - Defendant, psychiatrist with a principal place of business at 114 Waltham Street, Suite

#17, Lexington MA 02421

50.     Sten Lofgren – Defendant, licensed psychiatrist with principal place of business at 1264 Main St, #12,

Concord, MA 01742 (https://npiprofile.com/?s=Sten%20Lofgren )

51.     James C. Beck – Defendant (in both his personal and official capacity), prior Expert Witness for

BORIM & DALA, with principal place of business at 34 Bates Street, Cambridge, MA 02140

(https://www.linkedin.com/in/james-c-beck-md-phd-561a0715/)

                               II. FACTUAL BACKGROUND

 52. In September 1992, Plaintiff and Defendant Lourdes Colon executed an express bilateral contract

 terminating their doctor-patient relationship under the guidance and encouragement of Dr. Lisa Wolfe; this

 contract is unique in American medico-legal jurisprudence making this a Case of First Impression.



                    A. UNIQUE 1992 EXPRESS BILATERAL CONTRACT


 53.   Legally this is a case of FIRST IMPRESSION without precedent in the fifty (50) states

 and American territories since the founding of the American Republic in 1776: repeated searches

 of Westlaw, Lexis-Nexis, Fastcase, Google Scholar, Loislaw and more legal databases and also

 researched by such Legal AI tools such as OpenAI ChatGPT, Claude 3.5 Sonnet, Google Gemini,

 Microsoft Copilot, Google Bart, and Thomson-Reuters CoCounsel, revealed that no case had

 ever been reported to these databases or could be found in the legal databases, making this a

 CASE OF FIRST IMPRESSION [ without precedent]; this unique contract is characterized

 by the following twenty-six (26) parameters :

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 [a] An Express Bilateral Contract was formed and executed between a physician & patient
 [b] for the explicit and express purpose of terminating the doctor-patient relationship,
 [c] under the supervision and guidance of a licensed university-trained psychologist who
 [d] conceived, formulated, recommended, encouraged, facilitated and dictated such contract,
 [e] who provided assurances to the physician that the patient was emotionally stable and the
 [f] psychologist also drafted the exact words and wording of the Express Bilateral contract
 [g] where such dictation took place in a licensed private psychiatric hospital following
 [h] lengthy clinical consultations involving the psychologist, patient and physician
 [i] in which the exact words were slowly dictated orally by the psychologist and resulting
 [j] express bilateral contract was copied down verbatim by the physician and the patient
 [k] in their own handwriting using ballpoint pens & lined paper provided by psychologist
 [l] thereby forever memorializing such 1992 Express Bilateral contract in ink after which
 [m] each contract was signed by both the physician and the patient in such ballpoint ink
 [n] in the presence of and witnessed by the licensed psychologist, employed by HRI, who had
 [o] provided assurances and guarantees that such termination contract was valid & proper,
 [p] safe and without any substantial risks of injury or harm to either party nor would such
 [q] clinical termination endanger either party personally or cause any psychological harms
 [r] or result in any legal prosecution or consequences, or loss of social or economic status,
 [s] wherein the psychologist provided no warnings, boundaries, guidelines or limits
 [t] for the post-termination social relationship between the physician and his ex-patient,
 [u] or for the research assistant role that the ex-patient was transitioning into
 [v] wherein the psychologist failed to inform or warn the physician of
 [w] any serious mental health issues or emotional vulnerabilities, such as DID, which might
 [x] pose a problem during the post-termination social or work relationship and there
 [y] were only three (3) percipient witnesses in this consultation-treatment room to the
 [z] formation and execution of this Express Bilateral Contract: the psychologist Dr. Lisa Wolfe,
 the patient Lourdes Colon, and the physician - the Plaintiff.
        * DID is the abbreviation for Dissociative Identity Disorder
54. This contract was conceived, drafted, endorsed, encouraged, facilitated and dictated by Defendant Dr.

Lisa Wolfe, a licensed psychologist, at the Human Resource Institute (HRI) Hospital in Brookline, MA.

55.   Both Plaintiff and Colon transcribed and signed the contract in Wolfe’s presence.


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56. This contract was later modified to create distinct “clinical” and “non-clinical” worlds.

57. The “clinical world” encompassed medical settings where Plaintiff acted as a physician.

58. The “non-clinical world” encompassed private settings where Plaintiff had no physician-patient

relationship with Colon; the Plaintiff was not a physician in the non-clinical world - Plaintiff’s status was

contractually determined by the modified contract.

59. This unique 1992 Express Bilateral Contract between the Plaintiff and Lourdes Colon, and the subsequent

spoliation of evidence related to it, is at the heart of this case.

60. This 1992 contract defines the termination of the Plaintiff’s status as a physician.

61. This unique 1992 contract represents a case of first impression, as extensive research through legal

databases and AI tools has revealed no precedent where:

        (a) A physician and patient formed an express bilateral contract

        (b) For the explicit purpose of terminating the doctor-patient relationship

        (c) Drafted and guided under the supervision of a licensed psychologist

        (d) Who conceived, formulated and dictated the contract

        (e) In a licensed psychiatric hospital setting

        (f) With the contract memorializedd in both parties’ handwriting

        (g) Witnessed by the supervising psychologist

62. This contract was later modified to create distinct “clinical” and “non-clinical” worlds, defining

boundaries for future interactions between Plaintiff and Colon.

        B. Professional Background and Initial Doctor-Patient Relationship

63. Fromm 1989 through 1997, Plaintiff served as a Primary Care physician at the Boston Evening Medical

Center (“BEMC”).

64. In July 1989, Plaintiff was randomly assigned Lourdes Colon as a patient, providing routine medical care

for conditions such as rashes, annual check-ups, sinusitis, and general health screening.


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65. During this period 1989 - 1992, Colon worked as an EMT and expressed interest in becoming a physician

herself.

                            C.Events Leading to the 1992 Contract
66. In July 1992, during a clinic visit, Colon disclosed suicidal ideation and revealed she had been storing

medications with the intent to end her life.

67. Plaintiff arranged for Colon's hospitalization at the Human Resource Institute (HRI) Hospital in Brookline,

MA, where she received care under Defendant psychologist Dr. Lisa Wolfe.

68. In August 1992, during Colon's hospitalization, Dr. Wolfe encouraged and facilitated a meeting between

Plaintiff and Colon to discuss Colon's potential role as a research assistant.

                             D. Formation of the Express Bilateral Contract
69. In September 1992, following Plaintiff’s discussions with BEMC's Medical Director Dr. Robert

Wesselhoeft, Plaintiff met with Colon and Wolfe at HRI Hospital.

70.   During this meeting, Wolfe conceived, drafted, and dictated the Express Bilateral Contract terminating

the doctor-patient relationship.

71. Both Plaintiff and Colon transcribed the contract verbatim in their own handwriting and signed it in

Wolfe's presence.

                  E. Spoliation of Evidence and Subsequent Legal Proceedings
72. For the past three (3) decades, Defendants Colon, Spero, and Wolfe engaged in spoliation of evidence by

concealing the 1992 contract, comprising Extrinsic Fraud, leading to false findings of fact by DALA and

BORIM, which formed the false foundation for wrongful revocation of Plaintiff’s medical license.

73. The defendants Wolfe, Spero and Colon concealed the exculpatory evidence of the 1992 Express

Bilateral Contract through multiple actions, including:

           (a) Colon removed sections from her medical records (paper records) which documented the contract;

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       (b) Colon refused to testify at several scheduled hearings at DALA;

       (c) Wolfe denied her role in the contract’s formation and execution and refused to testify at DALA;

       (d) Spero who knew, or should have known, of the contract’s existence and purpose, concealed this

       material fact during a lawsuit against the Plaintiff, in order to facilitate obtaining a $150,000 settlement

       from ProMutual Medical Malpractice insurer, which settlement was obtained fraudulently.

74. The spoliation of this exculpatory evidence resulted in multiple false findings of fact made by Magistrate

Sarah Luick in the Division of Administrative Law Appeals, and these false factual findings became adopted

by the Massachusetts Board of Registration in Medicine (“BORIM”) and incorporated into BORIM’s final

judgment and order revoking the Plaintiff’s medical license.

75. These false findings of fact and the associated false statements of material fact form the foundation of

several final court judgments in Massachusetts, including final judgments in the Massachusetts Suffolk

Superior Court, Middlesex Superior Court, Division of Administrative Law Appeals and the Massachusetts

Supreme Judicial Court, wherein numerous false statements of material fact may be found in the final

judgments; failure to exercise due diligence by state actors during these proceedings may comprise judicial

misconduct (these final judgments are attached hereto as Exhibits, comprising probative corroborating

evidence of judicial misconduct).

76. As described below, the record strongly suggests judicial misconduct compounding the wrongful and

unlawful actions of defendants Wolfe, Spero and Colon; this suit aims to uncover such misconduct.

Extrinsic Fraud committed by defendants Wolfe, Spero and Colon and Fraud on the Court

77. This spoliation of exculpatory evidence comprised Extrinsic Fraud and Fraud on the Court, committed by

defendants Wolfe, Spero and Colon.

78. Specifically, Colon removed sections from her medical records that documented the contract.

79. Wolfe denied her role in the contract’s formation and made false statements to BORIM.

80. Spero, as Colon’s attorney, concealed the contract’s existence from tribunals and obtained a fraudulent


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insurance settlement of $150,000 in 1998-99 from ProMutual Medical Malpractice insurer - Plaintiff’s

medical malpractice insurer during 1992 - 2005.

81. This spoliation of exculpatory evidence of the 1992 Express Bilateral Contract, Extrinsic Fraud and Fraud

on the Court forms the foundation of numerous false statements of material fact in the final court judgments

issued by Suffolk Superior Court, Middlesex Superior Court, Massachusetts Division of Administrative Law

Appeals and the Massachusetts Supreme Judicial Court, in addition to the multiple false statements of material

fact in the Final Judgment and order of BORIM and also the final court judgments made in Maine.

82. This spoliation of exculpatory evidence had severe consequences for the Plaintiff, including damage to his

professional reputation and over $4 million in economic and non-economic losses.

III. CONSTITUTIONAL VIOLATIONS BY MASSACHUSETTS STATE ACTORS

83. This Complaint arises from a series of outrageous and egregious constitutional violations perpetrated by

Massachusetts state actor defendants against Plaintiff, Dr. Robert P. Weinberg.

84. Throughout this Complaint, in each of the Counts of Causes of Action and each of the Declaratory

Judgments under Relief Sought, the Massachusetts State actor Defendants refers to the group of defendants

including: Booker Bush, Martin Crane, Alice Oliff, Richard Waring, Thomas Reilly, Hon. Kimberly Budd,

Hon. Margaret Walsh, Hon. Sarah Luick, Hon. Natalie Monroe, Andrea Campbell, Hon. Christopher Connolly,

Hon. Heide Brieger, Hon. Peter W. Killborn, Andrea Campbell, in each of their individual capacities as well as

their official capacities, acting jointly with several liability.

85. These violations, stemming from the Board of Registration in Medicine’s (BORIM) actions and

pronouncements, have inflicted substantial and irreparable harm upon Plaintiff, devastating his professional

life, decimating his economic prospects, and inflicting profound emotional distress with medical injuries.

86. This section details the specific constitutional infringements, demonstrating a pattern of government

overreach and disregard for Plaintiff’s fundamental rights.

A. Violation of the Contract Clause
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87. In 1992, Plaintiff and Lourdes Colon entered into an Express Bilateral Contract, effectively terminating

their doctor-patient relationship and establishing distinct “clinical” and “nonclinical” spheres.

88. This contract, a legally binding agreement between private parties, is protected by the Contract Clause of

the U.S. Constitution (Article I, Section 10).

89. BORIM regulations improperly infringed upon this constitutionally protected agreement by attempting to

nullify or impair its provisions.

90. This intrusion represents a clear violation of the Contract Clause, which prohibits states from passing any

law impairing the obligation of contracts.

91. The state’s actions in overriding a private agreement demonstrate a disregard for the sanctity of contracts

and the fundamental right to contract.

92. Magistrate Sarah Luick’s 2002 “Recommended Decision” further compounded this violation by falsely

asserting that Plaintiff rescinded the contract, despite a complete lack of evidence supporting this claim.

93. Furthermore, Magistrate Luick was acting ultra vires and without statutory authority if she were

attempting to nullify, void or rescind a contract between two private parties, protected by the contract clause of

the Constitution, and which contract supercedes and pre-empts all state laws and regulations, under the

Supremacy doctrine.

94. This misrepresentation of facts underscores the arbitrary and capricious nature of the state’s actions.

95. The state’s attempt to void a valid contract between private parties constitutes an ultra vires act,

exceeding its legal authority and violating the U.S. Constitution.

96. The retroactive application of state regulations to penalize Plaintiff for conduct explicitly permitted under

the contract represents a blatant violation of the prohibition against ex post facto laws and bills of attainder.

97. This retroactive application demonstrates a disregard for fundamental legal principles and a targeted

effort to punish Plaintiff.




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B. Equal Protection Violations

98. BORIM regulations demonstrate intentional and purposeful discrimination between two groups of

physicians, similarly situated who are engaged in intimate relationships with patients or former patients: (a)

physicians who marry their patients, who are not sanctioned; and (b) physicians who do not marry their

patients, who face disciplinary action, including license revocation - the action taken against the Plaintiff.

99. This distinction and classification, based solely on marital status, is suspect classification and is not a

legitimate criterion under the Equal Protection Clause, as it creates an arbitrary and capricious classification

between similarly situated individuals.

100. The revocation of Plaintiff’s medical license specifically because he did not marry his former patient

constitutes intentional discrimination, a clear violation of the Equal Protection Clause.

101. This discriminatory treatment demonstrates a blatant disregard for Plaintiff’s constitutional rights and an

abuse of state power.

C. Burden on the Right to Marry

102. BORIM regulations effectively and constructively coerce physicians to marry former patients to avoid

disciplinary action, thereby infringing upon the fundamental constitutional right to marry.

103. This coercion places an undue burden on this fundamental right, creating an untenable choice between

personal autonomy and professional survival.

104. These regulations fail strict scrutiny analysis, as they are neither narrowly tailored nor the least restrictive

means to achieve a compelling state interest.

105. The state’s actions demonstrate a gross overreach of its regulatory authority and a disregard for Plaintiff’s

fundamental rights.

D. Violation of the Right to Privacy

106. The 1992 Express Bilateral Contract established a “nonclinical world” in which Plaintiff did not function


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as a physician and where the Plaintiff may engage in private, consensual intimate activity.

107. BORIM’s sanctions intruded upon this private sphere, violating Plaintiff’s constitutional right to privacy.

108. This intrusion represents an unwarranted government overreach into the most personal aspects of

Plaintiff’s life, as was clarified in the landmark Supreme Court case of Lawrence v. Texas (2003) 539 U.S. 558.

109. The state’s prosecution of private, consensual acts occurring within the privacy of Plaintiff’s home

constitutes an unconstitutional invasion of his personal autonomy. Lawrence v. Texas (2003) 539 U.S. 558.

110. This invasion demonstrates a disregard for the fundamental right to privacy and an abuse of state power.

E. Denial of Due Process of Law

 111. Magistrate Sarah Luick and BORIM violated Plaintiff’s procedural due process rights by denying him

 a hearing, the opportunity to present evidence, call witnesses, and cross-examine adversarial testimony during

 the adjudicatory proceedings.

 112. Although multiple hearings were scheduled at DALA during 2000 - 2002, all scheduled hearings were

 cancelled at the last moment by defendant Lourdes Colon, who refused to testify.

 113. This denial of a fair trial deprived Plaintiff of his property interest in his medical license without the

 fundamental legal protections guaranteed under the Fourteenth Amendment

 114. The refusal to grant the Plaintiff a hearing, as was his fundamental constitutional right, comprised

 deprivation of procedural due process.

 115. The Massachusetts state actor defendants, by depriving the Plaintiff of his fundamental constitutional

 right to due process of law, while acting under the color of state law did comprise a violation of 42 U.S.C. §

 1983.

 116. This denial represents a fundamental failure of due process and a blatant disregard for Plaintiff’s

 constitutional rights, comprising a deprivation of procedural due process.




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F. Violation of the Right to Gainful Employment

117. BORIM’s actions, including the revocation of Plaintiff’s medical license and the publication of

derogatory information online, have rendered Plaintiff unemployable.

118. Over the past 22 years, Plaintiff has been terminated from 51 jobs and had over 100 job offers rescinded

due to the stigma associated with BORIM’s public records, which falsely label him as having committed

sexual misconduct.

119. The Public appears to equate sexual misconduct by a physician as an extreme social undesirable,

lumping such physicians into a bin with other sexual deviants such as pedophiles, rapists and sex offenders.

120. This unjust deprivation of Plaintiff’s ability to engage in gainful employment violates the liberty interest

and the constitutional right to engage in gainful employment, protected under the Fourteenth Amendment.

121. The state’s actions have effectively imposed a lifetime ban on Plaintiff’s chosen profession, causing

devastating economic and emotional consequences.

122. Numerous employers outside the medical field have also refused to employ the Plaintiff because the

Stigma Plus label of allegedly having committed “sexual misconduct with a patient” places the Plaintiff into a

similar bin of social undesirables and sexual deviants as sex offenders, rapists and pedophiles, and employers

do not want to risk employing any of these individuals.

123. The MIT defendants banned the Plaintiff from the MIT campus because of such unwarranted worries.

G. Cruel and Unusual Punishment

124. BORIM’s public dissemination of Plaintiff’s license revocation, based on false allegations of sexual

misconduct, has caused extensive social and professional ostracism, rendering him a “social pariah;”

furthermore the STIGMA PLUS labeling of the Plaintiff has also rendered him unemployable, because the

BORIM sanctions have compartmentalized the Plaintiff into a group of undesirable social elements, which

includes Sexual Deviants, rapists, sex offenders and pedophiles, which no employer wants to hire.


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125. The internet publication of these scandalous, false and defamatory charges has denied the Plaintiff his

constitutional right to engage in gainful employment.

126. These past twenty-two (22) years of near-impossible ability to obtain employment, has caused severe

poverty and financial stresses, as the Plaintiff often cannot pay his bills.

127. This excessive and prolonged punishment, far exceeding the original three-year revocation period,

constitutes cruel and unusual punishment.

128. The state’s actions have inflicted a perpetual penalty upon Plaintiff, causing ongoing humiliation and

social isolation.

129. This ongoing punishment serves no legitimate state interest and represents a clear violation of the Eighth

Amendment.

130. The state’s actions have effectively branded Plaintiff with a “scarlet letter on his forehead,” causing him

to be shunned by friends, family, and community, resulting in extreme isolation and banishment.

131. This social ostracism has resulted in severe and marked depression, bordering on suicidal ideation

132. The state’s actions have not only deprived Plaintiff of his livelihood but also of his dignity and his place

in society.

133. These privations forced onto the Plaintiff comprised Cruel and Unusual Punishment in violation of the

Eighth Amendment.

H. First Amendment Violations

134. BORIM’s actions have created a chilling effect on Plaintiff’s ability to engage in protected speech and

advocacy, particularly concerning his legal and constitutional rights.

135. Plaintiff’s attempts to expose the injustice of his situation through communication with state agencies and

the public were mischaracterized as intimidation, further infringing on his First Amendment rights.

136. The state’s actions have effectively silenced Plaintiff, preventing him from seeking redress for the wrongs

committed against him.

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I. Failure to Meet Strict Scrutiny

137. BORIM regulations burden several fundamental constitutional rights, including the right to marry, the

right to privacy, the liberty to contract, and the right to engage in gainful employment.

138. These regulations must withstand strict scrutiny, requiring a compelling state interest and the use of

narrowly tailored, least restrictive means.

139. BORIM has demonstrably failed to meet this high standard, rendering its regulations unconstitutional.

140. The state’s actions represent a gross overreach of its regulatory authority and a blatant disregard for

Plaintiff’s fundamental rights.



J. Economic and Emotional Harms

141. As a direct result of the state’s unconstitutional actions, Plaintiff has suffered over $3M (three million

dollars) in economic damages over the past twenty-two (22) years due to loss of his annual salary of $175,000

as an Emergency Department Attending Physician, lost employment opportunities and professional isolation.

142. Additionally, Plaintiff has endured severe emotional distress resulting from prolonged public shaming,

alienation, and deprivation of professional and social affiliations.

143. These privations and severe emotional distress comprise the Intentional Infliction of Severe Emotional

Distress, under outrageous and egregious circumstances.

144. These damages are substantial and ongoing, a testament to the devastating impact of the state’s

violations.

          IV. SPOLIATION OF EVIDENCE AND FRAUD ON THE COURT

145. Defendants Colon, Spero, and Wolfe engaged in a deliberate and coordinated scheme to conceal the

1992 Express Bilateral Contract and its subsequent modification.

146. This spoliation of exculpatory evidence, including the physical destruction of medical records by Colon

and false statements to tribunals by Wolfe and Spero, constitutes extrinsic fraud and fraud upon the court.
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147. This fraud directly led to false findings of fact by DALA and BORIM, ultimately resulting in the

wrongful revocation of the Plaintiff’s medical license.

148. The defendants’ actions demonstrate a clear intent to deceive the court and manipulate the judicial

process for their own benefit.

149. Between 1992-1996, defendants engaged in systematic spoliation of evidence through: (a) Destruction of

medical records documenting contract; (b) Removal of pages from BEMC files; (c) Concealment of contract's

existence; and (d) False statements to tribunals.

150. Specifically, defendant Colon: (a) Removed sections from her medical records; (b) Destroyed

documentation of contract formation; (c) Targeted records from spring/summer 1992; and (d) Admitted to

removing multiple pages.

151. Defendant Wolfe participated in this spoliation of exculpatory evidence by: (a) Denying her role in

contract formation; (b) Making false statements to BORIM; (c) Claiming such contracts were "not the sort of

thing" she did; and (d) Concealing her knowledge of the agreement.

152. Defendant Spero, as an officer of the court: (a) Knew or should have known of the contract's existence;

(b) Concealed material and exculpatory evidence from tribunals; (c) Obtained fraudulent insurance settlement;

and (d) Perpetuated false narrative [possibly perjury] in legal proceedings.

153. The consequences of this Spoliation of exculpatory evidence led directly to: (a) False findings of fact by

BORIM; (b) Revocation of Plaintiff's medical license; (c) Severe damage to professional reputation; and

(d) over $4 million in economic losses.

154. The spoliation of this exculpatory evidence: (a) prevented Fair adjudication of claims; (b) prevented

Proper consideration of contract; (c) interfered with the correct determination of the Plaintiff’s status as non-

physician to Colon at the alleged times of intimate activity; (d) led to inferences or conclusions leading to false

material facts being incorporated into and forming the foundation of several final court judgments; (e)

deprived the Expert Witness James Beck of essential and vital material facts relevant to his Expert Opinion;


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and (f) underlies the current Constitutional review of BORIM regulations, whose sanctions have deprived the

Plaintiff of his civil and constitutional rights while the defendants were acting under the color of state law.

       V. JUDICIAL MISCONDUCT BY MASSACHUSETTS STATE ACTORS

155. The Massachusetts state actor defendants, including judges and magistrates, engaged in judicial

misconduct by failing to exercise due diligence in investigating the Plaintiff’s claims and by denying him a

fair hearing, as well as additional actions and/or omissions which comprise judicial misconduct which are

detailed more extensively in the “Initial Draft of Massachusetts Complaint” - attached as an Exhibit.

156. Despite repeated attempts by the Plaintiff to present evidence of the 1992 contract and its modification,

Magistrate Luick refused to allow him to present this crucial exculpatory evidence.

157. Despite multiple communications by the Plaintiff to BORIM, the District Attorney and the Attorney

General, the Massachusetts state actor defendants took no action, did not investigate the Plaintiff’s allegations,

did not exercise Due Diligence, did not request additional information from the Plaintiff, WHILE DENYING

THE PLAINTIFF A FAIR HEARING, AN OPPORTUNITY TO BE HEARD, AN OPPORTUNITY TO

CONFRONT THE FALSE WITNESSES, AN OPPORTUNITY TO PRESENT EVIDENCE IN HIS DEFENSE.

158. The record suggests that the Massachusetts State actor defendants did knowingly, purposefully and

intentionally act to facilitate, aid and abet defendants Lisa Wolfe, Stanley Spero and Lourdes Colon in their

endeavors to commit the criminal offenses described above comprising: spoliation of exculpatory evidence,

Extrinsic Fraud, Fraud on the court, concealment of material evidence, insurance fraud, through their judicial

complicity and dereliction of judicial duties.

159. Massachusetts State actor defendants did make outrageous and unfounded conclusions that the Plaintiff

intended to obstruct justice when Plaintiff’s attorney Vincent DiCianni insisted on ascertaining Colon’s

credibility, first requesting a meeting off-the-record with Colon’s attorney Stanley Spero, secondly by a motion

to Magistrate Sarah Luick at DALA which was denied, thirdly by a motion in Superior Court which was denied

by Judge Xifaras, and finally DiCianni insisted that the only way to ascertain Colon’s credibility was through a

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deposition as part of the suit he would file - Weinberg v. Colon; the Plaintiff had no say about this strategy or

the filing of the suit in court, but Massachusetts State actor defendants concluded that the Plaintiff intended to

obstruct justice through the filing of this suit, without any evidence or justification.

 160. Outrageously and egregiously the Massachusetts State actor defendants denied the Plaintiff his

 fundamental constitutional right to Due Process of law, by denying a hearing at DALA, thus denying the

 Plaintiff the opportunity to present his defense and the exculpatory evidence of the 1992 Express Bilateral

 Contract, denying the Plaintiff his constitutional right to be heard, denying his constitutional right to confront

 adverse witnesses with cross-examination, thus silencing the voice of the Plaintiff resulting in the determination

 of false material facts which would form the foundation of the decision to revoke the Plaintiff’s medical license

 resulting in a gross miscarriage of justice.

 161. Outrageously and egregiously the Massachusetts State actor defendants ignored the Plaintiff’s

 memorandum to BORIM informing them of the criminal conspiracy involving the defendants Wolfe, Spero and

 Colon engaging in spoliation of exculpatory evidence comprising Extrinsic Fraud and Fraud on the Court, and

 also concealing their insurance fraud by obtaining a $150,000 insurance settlement without informing

 ProMutual that the doctor-patient relationship had been terminated by the 1992 Express Bilateral Contract.

 162. Outrageously and egregiously the Massachusetts State actor defendants also ignored the Plaintiff’s letters

 to BORIM, the Attorney General and the District Attorney concerning this criminal conspiracy, spoliation of

 exculpatory evidence, Extrinsic Fraud and Fraud on the Court.

 163. Outrageously and egregiously the Massachusetts state actor defendants made a false determination of the

 Plaintiff’s status as physician to Colon, when the contract initially terminated that status then later modified the

 Plaintiff’s status according to the clinical and nonclinical worlds.

 164. The Massachusetts State actor defendants made these false conclusions about the Plaintiff’s status backed

 without any substantial evidence BECAUSE THERE IS NO TESTIMONY ON THE RECORD FROM

 LOURDES COLON, NO TESIMONY ON RECORD FROM LISA WOLFE - and besides the Plaintiff, there


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were only two other percipient witnesses to the formation and execution of the 1992 Express Bilateral Contract

which terminated the doctor-patient relationship: Lisa Wolfe and Lourdes Colon.

165. These unjustified false conclusions without any supporting or corroborating evidence, in the environment

of the Extrinsic Fraud committed by defendants Wolfe, Spero and Colon, along with the failure of the

Massachusetts state actor defendants to exercise Due Diligence, may comprise judicial misconduct.

166. The conclusions by Magistrate Sarah Luick comprised FALSE STATEMENTS OF MATERIAL FACT

COMPRISING AN ABUSE OF DISCRETION AND DERELICTION OF JUDICIAL DUTIES, ARISING

FROM LUICK’S FAILURE TO EXERCISE DUE DILIGENCE AND REFUSAL TO ALLOW THE

PLAINTIFF TO TESTIFY AT A HEARING TO PRESENT HIS EXCULPATORY EVIDENCE OF THE

CONTRACT AND EXPOSE THE SPOLIATION OF EXCULPATORY EVIDENCE BY WOLFE, SPERO

AND COLON, COMPRISING EXTRINSIC FRAUD AND FRAUD ON THE COURT.

167. Magistrate Luick’s conclusion that the Plaintiff had attempted to engage in obstruction of justice is

completely unfounded and without any justification.

168. These multiple actions and omissions by the Massachusetts state actor defendants comprise Judicial

Misconduct.

169. This apparent disbelief by the state actor defendants had no evidence to support believing that the

Plaintiff was not honestly presenting truthful facts; there is no evidence in the record to support a reason not to

believe the Plaintiff.

170. Such failure to act, failure to perform their statutory judicial duties, failure to exercise due diligence,

failure to request additional information from the Plaintiff, and failure to provide the Plaintiff with his

constitutional right to a HEARING, may only have dubious explanations with nefarious aspects.

171. The State actor defendants acted egregiously and with outrageous accusations that the Plaintiff was

attempting to obstruct justice.

172. Until their testimony is elicited through discovery, deposition and on the witness stand, the current


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evidence suggests the possibility of collusion, conspiracy, dereliction of judicial duties, bribery, tampering with

evidence, intimidating witnesses including the Plaintiff, and possible misprision of felony.

173. In light of the possibility of such judicial misconduct, the Massachusetts state actor defendants will be

statutorily stripped of any Qualified Immunity until they produce sufficient evidence to prove that they were not

guilty of judicial misconduct.

174. The Massachusetts state actor defendants are not above the law; let’s see how they explain their dubious

and questionable conduct which may be construed as judicial misconduct.

175. The Massachusetts state actor defendants, including judges and magistrates, engaged in judicial

misconduct by failing to exercise due diligence in investigating the Plaintiff’s claims and by denying him a fair

hearing, as well as additional actions and/or omissions which comprise judicial misconduct which are detailed

more extensively in the “Initial Draft of Massachusetts Complaint” - attached as an Exhibit.

176. Despite repeated attempts by the Plaintiff to present evidence of the 1992 contract and its modification,

Magistrate Luick refused to allow him to present this crucial exculpatory evidence.

177. This denial of a fair hearing, coupled with the failure to investigate the spoliation of evidence, constitutes

a violation of the Plaintiff’s due process rights and demonstrates a clear bias against him.

178. The Massachusetts state actor defendants’ actions represent a gross deviation from the standard of

conduct expected of judicial officers and demonstrate a reckless disregard for the Plaintiff’s constitutional rights.

179. The actions of the Massachusetts state actor defendants constitute outrageous and egregious judicial

misconduct, beyond what the community expects, that violated plaintiff's fundamental constitutional rights and

undermined the integrity of the judicial process.

180. The following specific acts of misconduct warrant severe sanctions:

Plaintiff’s Denial of Due Process Rights by Massachusetts State actor defendants

181. The Massachusetts state actor defendants deliberately and maliciously denied plaintiff his constitutional

right to due process by refusing to grant a hearing at DALA, thereby preventing him from presenting


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exculpatory evidence and confronting adverse witnesses.

182. As established in Matter of Sushchyk, 489 Mass. 330 (2022), such intentional deprivation of fundamental

procedural rights constitutes severe judicial misconduct warranting suspension.

183. The Massachusetts state actor defendants' conduct "prevented the judicial machinery from functioning

impartially," constituting fraud on the court. In re Tri-Cran, Inc., 98 B.R. 609 (1989).

 Massachusetts state actor Defendants’ Failure to Exercise Due Diligence

184. Despite multiple communications from plaintiff regarding the spoliation of evidence and extrinsic

fraud, the Massachusetts state actor defendants abdicated their judicial duty by failing to investigate these

serious allegations.

185. This dereliction directly contravenes the principle established in Commissioner of Probation v. Adams,

65 Mass.App.Ct. 725 (2006), that judges have an affirmative duty to take action in response to fraudulent

conduct, even without explicit statutory authorization.

Massachusetts State actor Defendants’ Abuse of Discretion and Arbitrary Decision-Making

186. The Massachusetts state actor defendants made unsupported and arbitrary determinations regarding

plaintiff's status without any substantial evidence on record, as there was no testimony from key witnesses

Lourdes Colon or Lisa Wolfe.

187. This mirrors the misconduct addressed in Matter of King, 409 Mass. 590 (1991), where arbitrary

decision-making and lack of candor warranted public censure.

Judicial Complicity in Fraud or potentially Collusion

188. The Massachusetts state actor defendants' willful blindness to documented evidence of fraud and

spoliation effectively made them complicit in perpetuating a fraud upon the court.

189. As established in Munshani v. Signal Lake Venture Fund II, LP, 60 Mass.App.Ct. 714 (2004), courts

have an obligation to address and sanction fraud that compromises the integrity of judicial proceedings.




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Massachusetts State actor Defendants’ Retaliation Against Protected Activity

190. The Massachusetts state actor defendants improperly characterized plaintiff's legitimate attempts to

establish witness credibility as "obstruction of justice," demonstrating retaliatory animus for plaintiff's

exercise of protected rights.

191. This mirrors the improper conduct addressed in Matter of Ford, 404 Mass. 347 (1989), where abuse of

judicial authority warranted suspension.

Systemic Due Process Violations by Massachusetts State actor Defendants

192. The Massachusetts state actor defendants' pattern of conduct - denying hearings, ignoring evidence, and

making unsupported determinations - reveals systemic violations of due process that "corrupted the judicial

machinery," as contemplated in In re Tri-Cran.

193. The cumulative effect was to deny plaintiff any meaningful opportunity to be heard.

Massachusetts State Actor Defendants’ Failure to Maintain Impartiality

194. The record demonstrates clear judicial bias against plaintiff, as evidenced by the Massachusetts state

actor defendants' unfounded conclusions about plaintiff's intentions and their refusal to consider exculpatory

evidence.

195. This violation of the duty of impartiality warrants sanctions under the standards articulated in Matter of

Sushchyk.

Massachusetts State Actor Defendants’ Abuse of Judicial Authority

196. The Massachusetts state actor defendants weaponized their judicial authority to silence plaintiff and

prevent the presentation of evidence that would expose misconduct by other parties.

197. This represents precisely the type of abuse of power that the Supreme Judicial Court condemned in

Goldfarb v. Virginia State Bar, 421 U.S. 773 (1975), noting the special obligations of those entrusted with

administering justice.

198. The Massachusetts state actor defendants' conduct constitutes an egregious betrayal of judicial office that


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demands the strongest possible sanctions.

199. The Massachusetts state actors’ actions have inflicted substantial harm on plaintiff while undermining

public confidence in the judiciary.

200. As the Supreme Judicial Court observed in Matter of Sushchyk, judges who abuse their authority and

violate fundamental rights must face serious consequences to maintain the integrity of the justice system.

201. The misconduct detailed above goes beyond mere error or poor judgment - it represents a calculated

effort to deny plaintiff due process while enabling and concealing fraud by other parties.

202. Such conduct "strikes at the very heart of the justice system's integrity" (Matter of King) and warrants

not just disciplinary action but potential criminal investigation for conspiracy to violate plaintiff's civil rights

under color of law.

203. These violations are so severe and systematic that they strip defendants of any claim to judicial

immunity.

204. As the Supreme Court has held, judges who act in "complete absence of all jurisdiction" or engage in

non-judicial acts lose their immunity.

205. The Massachusetts state actor defendants' conduct here - actively participating in fraud, retaliating

against protected activity, and deliberately violating constitutional rights - falls squarely within these

exceptions.

206. Wherefore, plaintiff demands investigation and prosecution of this judicial misconduct by the

Massachusetts state actors to the fullest extent of the law, including referral for criminal prosecution where

appropriate.

207. The integrity of the justice system requires no less.

208. Current allegations of judicial misconduct by the Massachusetts state actors include the following, to be

clarified and corroborated, with admissible evidence to be gleaned during discovery in the instant suit.




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            Judicial Misconduct to be proved at trial

               1. Judicial Complicity
               2. Failure to exercise Due Diligence
               3. Failure to perform and Breach of statutory judicial duties
               4. Abuse of Discretion
               5. Violations of the Code of Judicial Conduct
               6. Malicious prosecution and/or malicious indifference
               7. Interference with the Fair Administration of the Law
               8. Abuse of Judicial Process
               9. Dereliction of Judicial Duties
               10. Solicitation to commit a criminal offense
               11. Attempted commission of a criminal offense
               12. Conspiracy to commit a criminal offense
               13. Collusion with co-defendants
               14. Tampering with a Witness
               15. Intimidation of a Witness
               16. Misconduct in Office of Prosecutor
               17. Contempt of Court
               18. Judicial Retaliation
               19. Judicial Bias
               20. Failure to Disclose
               21. Misconduct in Office
               22. Abuse of Power
               23. Conflict of Interest
               24. Tampering with Evidence
               25. Violation of the Judicial Conduct Code
               26. Conspiracy to Obstruct Justice
               27. Obstruction of Justice
               28. Judicial Derelection or Negligentia Judicis
               29. Brady violations - Prosecutorial withholding Exculpatory Evidence
               30. Judicial Misconduct or simply Judicial Dereliction/Judicial Complicity
               31. Abuse of Judicial Authority

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                         32. Misprision of a Felony
                         33. Conspiracy to commit Misprision of Felony
                         34. Attempt to Commit Misprision of Felony
                         35. Solicitation to Commit Misprision of Felony


209. Detailed descriptions of the Massachusetts state actors’ judicial misconduct can be found in the “Initial

First Draft of Mass suit” attached as an exhibit hereto.

210. Judicial Misconduct and Fraud on the Court: Judicial officers can be disciplined for actions that

compromise the integrity of the judicial process. For instance, in Munshani v. Signal Lake Venture Fund II,

LP, the court upheld the dismissal of a complaint due to the plaintiff's intentional fabrication and fraud on the

court, emphasizing the judge's discretion to impose such sanctions (Munshani v. Signal Lake Venture Fund II,

LP, 60 Mass.App.Ct. 714 (2004)).

211. Similarly, in In re Tri-Cran, Inc., the court vacated a sale and ordered the payment of attorney's fees

due to the corruption of judicial officers, which prevented the judicial machinery from functioning

impartially, constituting fraud on the court (In re Tri-Cran, Inc., 98 B.R. 609 (1989)).

212. Sanctions for Misconduct: Judges in Massachusetts have broad discretion to respond to findings of

fraud on the court.

213. They can fashion remedies to protect the integrity of the judicial process and deter future misconduct.

214. This includes the inherent power to take action in response to fraudulent conduct, even without statutory

authorization (Commissioner Of Probation v. Adams, 65 Mass.App.Ct. 725 (2006)).

215. Specific Cases of Judicial Misconduct: Various cases illustrate the types of misconduct that can lead to

disciplinary actions: In Matter of King, the court imposed public censure for derogatory and obscene

references, intoxication, lack of candor, and improper bail procedures Matter of King, 409 Mass. 590 (1991));

In Matter of Sushchyk, a judge was suspended without pay for intentional and unwanted touching of a court

employee and providing false statements during the investigation (Matter of Sushchyk, 489 Mass. 330 (2022));



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In Matter of Ford, a judge was publicly censured and suspended from administrative duties due to

misconduct related to his administrative functions (Matter of Ford, 404 Mass. 347 (1989)).

216. Legal Liability under Federal Law: Under 42 U.S.C.A. § 1983, judicial officers can be held liable for

depriving individuals of their constitutional rights under color of law.

217. However, injunctive relief against judicial officers is limited unless a declaratory decree was violated

or declaratory relief was unavailable (42 U.S.C.A. §° 1983).


  VI. EFFECT OF EXTRINSIC FRAUD ON JUDGMENTS AND STIPULATIONS

218. Established legal precedent clearly dictates that extrinsic fraud, such as the spoliation of evidence in this
case, may void final court judgments and stipulations obtained through such fraud, or comprise voidable final
state judgments ab initio.

A. Definition and Standards

219. The Supreme Court established in Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944),
that fraud on the court represents a corruption of the judicial process that warrants setting aside judgments
regardless of finality concerns.
220. The Court held that such fraud "demands the exercise of the historic power of equity to set aside

fraudulently begotten judgments."

221. The standard for proving fraud on the court requires clear and convincing evidence of:

      (a) A scheme calculated to interfere with judicial machinery

      (b) Corruption of the court itself or its officers

      (c) An unconscionable plan or scheme

      (d) Intent to deceive the court

      (e) Material impact on judgment

222. As articulated in Chambers v. NASCO, Inc., 501 U.S. 32 (1991), courts possess inherent power to

vacate judgments obtained through fraud that "defile[s] the court itself."


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 B. Extrinsic vs. Intrinsic Fraud Distinction

223.    The Supreme Court distinguished extrinsic from intrinsic fraud in United States v. Throckmorton, 98
U.S. 61 (1878), holding that extrinsic fraud occurs when the wrongful conduct prevents a party from
presenting their case, while intrinsic fraud relates to issues actually presented and considered at trial.

224. This distinction remains critical as explained in Gonzales v. Crosby, 545 U.S. 524 (2005), because
extrinsic fraud provides grounds for equitable relief from judgment while intrinsic fraud generally does not.

                         III. ANALYSIS OF SPECIFIC ELEMENTS

 A. Fraud on the Court

 225.    Drawing from In re Levander, 180 F.3d 1114 (9th Cir. 1999), fraud on the court requires:

         (a) An unconscionable plan or scheme

         (b) Which impairs the integrity of the court

         (c) Perpetrated by officers of the court

         (d) Directed at the judicial machinery itself

 226.    The First Circuit in Aoude v. Mobil Oil Corp., 892 F.2d 1115 (1st Cir. 1989) held that such conduct
 must be proven by clear and convincing evidence of intent to deceive the court.

 B. Effect of Spoliation

 227. The Supreme Court addressed spoliation in Silvestri v. General Motors Corp., 271 F.3d 583 (4th Cir.
 2001), holding that deliberate destruction of evidence may constitute fraud on the court when:

         (a) The spoliation was intentional

         (b) The destroyed evidence was relevant

         (c) The destruction prejudiced the opposing party

         (d) The conduct was calculated to impede judicial proceedings

228. The Court emphasized in Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980) that courts have inherent
power to levy sanctions for spoliation that undermines the integrity of the judicial process.

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C. Procedural Considerations

229.   The Supreme Court clarified in Bulloch v. United States, 763 F.2d 1115 (10th Cir. 1985) that no statute
of limitations applies to fraud on the court claims.

230.   However, the Court requires:

        (a) Prompt action upon discovery

        (b) Clear and convincing evidence

        (c) No fault/negligence by the moving party

        (d) Materiality to the judgment

        (e) Due diligence in discovering the fraud

IV. REMEDIAL POWERS

A. Scope of Authority

231. The Supreme Court confirmed in Universal Oil Products Co. v. Root Refining Co., 328 U.S. 575 (1946)
that courts possess inherent equitable power to:

        (a) Vacate fraudulent judgments

        (b) Strike pleadings

        (c) Dismiss actions

        (d) Enter default judgments

        (e) Award sanctions

232. This authority stems from courts' inherent power to protect their institutional integrity, as established in
Link v. Wabash R. Co., 370 U.S. 626 (1962).

B. Standard of Review

233. The Supreme Court held in Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990) that appellate courts
review sanctions for fraud on the court under an abuse of discretion standard, while underlying factual
findings must be supported by clear and convincing evidence.

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234. Recent Supreme Court jurisprudence emphasizes:

        (a) Heightened scrutiny of fraud claims attacking final judgments

        (b) Requirement of egregious conduct beyond mere perjury

        (c) Focus on institutional integrity rather than individual rights

        (d) Broad discretion in fashioning appropriate remedies

235. As articulated in Herring v. United States, 424 F.3d 384 (3d Cir. 2005), courts increasingly recognize
electronic discovery spoliation as potential fraud on the court, requiring new frameworks for analysis.

236. When proven by clear and convincing evidence, both extrinsic fraud and fraud on the court render
judgments void ab initio.

237.   This extraordinary remedy is justified by:

        (a) The fundamental right to fair adjudication

        (b) The need to preserve judicial integrity

        (c) The public interest in preventing abuse of judicial process

        (d) The court's inherent power to protect its processes

238. The Supreme Court's jurisprudence establishes that such fraud corrupts the judicial machinery itself,
warranting relief regardless of finality concerns or time limitations.

239. However, the burden of proof is appropriately high, requiring clear evidence of:

        (a) Intentional deception

        (b) Egregious misconduct

        (c) Material effect on judgment

        (d) Prevention of fair adjudication

240. This framework balances the competing interests of finality and fairness while preserving courts' ability
to remedy the most serious attacks on judicial integrity.

241. The defendants’ [Lisa Wolfe, Stanley Spero, Lourdes Colon] deliberate concealment of the 1992

contract and its modification prevented the Plaintiff from presenting a complete defense and directly led to the

wrongful revocation of his medical license.

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242. Detailed descriptions of the Extrinsic Fraud and Fraud on the Court can be found in the “Initial First

Draft of Mass suit” attached to this Complaint as an exhibit.

243. As a result of the Defendants’ Extrinsic Fraud and Fraud on the Court, the final court judgments and

stipulations in this matter must be found to be null and void.


                       VII. CONTRACT CLAUSE PROTECTION

244. The 1992 Express Bilateral Contract, as a valid agreement between private parties, is protected by the

Contract Clause of the U.S. Constitution.


245. This clause prohibits states from enacting laws that impair the obligation of contracts.


246. The Contract Clause (Art. I, §10) provides limited protection for private contracts against state law

impairment.


247. While Lochner-era jurisprudence strongly favored contract rights, modern doctrine requires substantial
impairment and balances private rights against legitimate state interests.

248. The Lochner era (1897-1937) represented peak judicial protection of contract rights against state
regulation.

249. In Lochner v. New York (1905), the Supreme Court struck down state maximum-hours laws as
impermissible interference with freedom of contract.

250.   However, West Coast Hotel Co. v. Parrish (1937) explicitly overruled Lochner, marking a fundamental
shift toward greater deference to state police powers.

251. Modern Two-Part Test: Post-1937 jurisprudence developed a two-part test for Contract Clause claims:

252. Substantial Impairment: The challenger must first show the state law substantially impairs a contractual
relationship.




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253. Per Allied Structural Steel Co. v. Spannaus (438 U.S. 234, 1978), courts examine:

         (a) Extent of impairment to contractual bargain

         (b) Disruption of reasonable expectations

         (c) Prevention of contract enforcement

Public Purpose Analysis

254. If substantial impairment exists, the state must demonstrate:

         (a) Significant and legitimate public purpose
         (b) Reasonable and necessary means
         (c) Appropriate tailoring to the public need

255.. U.S. Trust Co. v. New Jersey (431 U.S. 1, 1977)

    a)    Invalidated state repeal of covenant with bondholders
    b)    Higher scrutiny for state's impairment of its own contracts
    c)    Required showing of necessity, not mere convenience

256. Allied Structural Steel Co. v. Spannaus (438 U.S. 234, 1978)

    a)    Struck down pension regulation as substantial impairment
    b)    Emphasized lack of broad social/economic purpose
    c)    Required stronger justification for retroactive changes

257. Energy Reserves Group v. Kansas Power & Light (459 U.S. 400, 1983)

         (a) Upheld price controls in heavily regulated industry
         (b) Established modern balancing approach
         (c) Considered reasonable expectations in regulated field

258. Several principles emerge from modern cases:

         (a) State Police Powers

                (i) States retain broad authority to regulate for public welfare

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              (ii) Must show legitimate purpose beyond mere financial interest

              (iii) Greater deference in areas of traditional state regulation

       (b) Contractual Expectations

              (i) Parties cannot insulate themselves from all future regulation
              (ii) Reasonable expectations shaped by regulatory environment
              (iii) Greater protection for reliance interests in unregulated fields

       (c) Balancing Approach
              (i) No absolute bar on contract impairment

              (ii) Weighs private rights against public needs
              (iii) Considers alternatives available to state

259. Key Factors Courts Consider:
       (a) Nature of Impairment
              i. Severity and permanence of interference
              ii. Retroactive vs. prospective application
              iii. Availability of alternative compliance
       (b) Public Purpose
              i. Breadth of social/economic problem
              ii. Emergency conditions
              iii. History of regulation in field
       (c) Means-Ends Fit
              i. Narrowly tailored solution
              ii. Less restrictive alternatives
              iii. Evidence supporting chosen approach

260. Modern courts generally uphold state laws that:
       (a) Address genuine social/economic problems
       (b) Operate prospectively
       (c) Preserve core contractual expectations
       (d) Provide reasonable alternatives
       (e) Demonstrate careful legislative consideration
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261. Courts are more likely to invalidate laws that:

       (a) Target specific contracts/parties

       (b) Impose severe retroactive burdens

       (c) Lack substantial public justification

       (d) Ignore less restrictive alternatives

       (e) Reflect pure financial motives


262. The Contract Clause continues to provide meaningful protection against state impairment of private

contracts, but with important limitations:

       (a) Protection focuses on substantial, unexpected impairments rather than incidental effects

       (b) States retain broad authority to regulate for legitimate public purposes

       (c) Courts balance private rights against public needs rather than absolutely protecting contracts

       (d) Greater scrutiny applies to retroactive changes in unregulated fields

       (e) Reasonable expectations shaped by regulatory environment


263. This balanced approach reflects modern recognition that neither absolute contract rights nor unlimited

state power serves public welfare.


264. While the Lochner era's strict protection is gone, the Contract Clause remains a meaningful constraint

on arbitrary or excessive state interference with private agreements.


265. The key to successful Contract Clause challenges lies in demonstrating:
       (a) Substantial impairment of reasonable expectations
       (b) Lack of genuine public purpose
       (c) Availability of less burdensome alternatives
       (d) Targeted rather than general economic regulation
       (e) Absence of emergency conditions or broad social needs


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266. This framework allows appropriate state regulation while preserving the Clause's core purpose of

preventing arbitrary interference with private contracts.


267. In the instant case, the BORIM regulations, by attempting to nullify or disregard the 1992 contract and

its modification, violate the Contract Clause and are therefore unconstitutional as applied to the Plaintiff.


268. The Plaintiff’s fundamental right to contract, as guaranteed by the Constitution, has been infringed upon

by the Massachusetts state actor defendants’ actions.


             VIII. UNCONSTITUTIONALITY OF BORIM REGULATIONS

269. The BORIM regulations, as applied to the Plaintiff, are unconstitutional for multiple reasons.


270. They violate the Equal Protection Clause by discriminating between physicians based on marital status,

creating an arbitrary classification that lacks a rational basis.


271. They infringe upon the Plaintiff’s fundamental right to privacy by regulating intimate conduct in non-

clinical settings, as defined by the 1992 contract and its modification.


272. They violate the Due Process Clause by denying the Plaintiff a fair hearing and the opportunity to

present exculpatory evidence.


273. Furthermore, the ongoing publication of the Plaintiff’s license revocation, based on false allegations,

constitutes cruel and unusual punishment and imposes excessive fines, violating the Eighth Amendment.


Mass state defendants violated Plaintiff’s fundamental right to engage in Gainful Employment


274. Most recently in May 2024, the Plaintiff lost another job opportunity of teaching in the Lexington, MA

area, when the employer learned about the revocation of his medical license.



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275. Dr. Fredric Schiffer, a neurology professor at Harvard Medical School, on staff at the McLean Hospital

in Belmont, MA, offered the Plaintiff a research position investigating the effects of transcranial illumination

of the brain with specific light wavelengths, which has been shown to affect dopamine pathways and reduce

the cravings of drug addiction, in June 2024.


276. When Dr. Schiffer learned more about the Plaintiff’s history with BORIM, he rescinded the job offer.


277. The Schiffer job offer rescission was typical of over one hundred job offers which have been offered to

the Plaintiff since 2002, but then were rescinded on the basis of BORIM’s actions and the revocation of the

Plaintiff’s medical license.


278. The BORIM sanctions have effectively rendered the Plaintiff to be unemployable, and serves as a

constructive ban on gainful employment on the Plaintiff, due to the outrageous, scandalous, and stigmifying

effects of BORIM’s publication of sexual misconduct by the Plaintiff.


         IX. Overview of Legal Issues Raised in Instant Litigation


279. The substantial legal issues in the instant case include: [a] deprivation of the rights, privileges and

immunities granted to the Plaintiff under the U.S. Constitution and federal laws by both state actor and private

party defendants while defendants were acting under the color of law (42 U.S.C. § 1983); [b] multiple

violations of the Plaintiff’s civil rights and civil liberties by state actor defendants including [c] violations of

procedural due process and substantive due process including the violation of [d] the Plaintiff’s fundamental

liberty to contract under the contracts clause; [e] the Plaintiff’s fundamental constitutional right to engage in

gainful employment; [f] burdening the Plaintiff’s fundamental constitutional right to marry; [g] committing

Cruel and Unusual Punishment in violation of the Eighth Amendment prohibition against Cruel and Unusual

Punishment and excessive fines; [h] violating the Plaintiff’s fundamental constitutional right to Due Process of

Law; [i] violating the Plaintiff’s fundamental right to Equal Protection of the laws; [j] First Amendment right
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to freedom of expression; [k] unconstitutional burdening of fundamental constitutional rights by state laws and

regulations; [l] violation of Due Process by the undermining of the judicial process through Extrinsic Fraud

committed on the Court by defendants Lisa Wolfe, Stanley Spero and Lourdes Colon, through their spoliation

of exculpatory evidence comprising the 1992 Express Bilateral Contract; [m] violations of Title IX of the Civil

Rights Act of 1964 by the MIT defendants; [n] Sexual harassment and discrimination by MIT defendants

while Plaintiff was a Visiting Graduate student in a federally-funded university between 2022 - 2023 in

violation of Title IX of the Civil Rights Act of 1964; [o] sexual harassment and discrimination while Plaintiff

was an employee in violation of Title VII of the Civil Rights Act of 1964; [p] violation of Plaintiff’s Fourth

Amendment rights against unreasonable searches and seizures by MIT Campus police law enforcement

officers including False Imprisonment and False Arrest; [q] violation of the fundamental constitutional liberty

to interstate travel and [r] unlawful and unconstitutional interpretation of federal statutes as applied to the

Plaintiff.


Prior Notice of Wrongful and unlawful conduct Provided to Defendants

280. The Defendants have been placed on NOTICE with extensive, comprehensive and detailed descriptions

of the Defendants’ unlawful, wrongful, unconstitutional, tortious and criminal actions and/or omissions which

were recently alleged in a Civil Rights suit in federal court, under 42 U.S.C. § 1983, the U.S. District Court for

the District of Massachusetts in a suit filed in June 2024, Case No. 1:24-cv-11606-WGY, wherein over six

thousand (6,000) pages of pleadings, motions, judicial notices and other judicial filings were made; these

6,000 pages of detailed documentation are not incorporated herein, but are provided to the Defendants for the

purposes of refreshing their memories and recollections of the relevant actions and/or omissions, in the

exhibits attached to this Complaint (see exhibits: Exhibit 1 - original Complaint filed in Case No. 1:24-cv-

11606-WGY; Exhibit 2 - proposed Amended Complaint; Exhibit 3 - Plaintiff’s First-Amended Complaint;

Exhibit 4 - Plaintiff’s Second-Amended Complaint).



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281. Appendix A contains the Plaintiff’s Notarized and Sworn Affidavit which is incorporated herein and re-

alleged by reference.


       Judicial Enforcement of Unconstitutional Laws - Prohibited by Facilitation Doctrine


282. Under the facilitation doctrine, the Supreme Court held that courts cannot legally enforce nor uphold

unconstitutional acts, such as racially restrictive housing covenants. Shelley v. Kraemer, 334 U.S. 1 (1948).

283. The injuries and harms caused by the defendants to the Plaintiff likewise are continuing and ongoing,

with the most recent injuries occurring in June 2024, so based on the occurrence of the injury, the defendants’

actions, omissions, wrongful and unlawful conduct continue to injure and harm the Plaintiff to this day in

October 2024, thus tolling the Statute of Limitations which might otherwise have barred conduct which may

have begun in 2002.

284. Continuing and ongoing violations of federal law by State actor defendants may be enjoined by the

Plantiff in the instant action. Ex Parte Young

285. As argued by the Plaintiff, and to be proven as Declaratory Judgments, multiple BORIM regulations are

unconstitutional and violate federal law and violate the U.S. Constitution, and as such such regulations must

be struck down as unconstitutional.


   X.Constitutional Violations committed by Massachusetts State actor Defendants

                           Constitutional Legal Issues

286. In the instant suit, the Plaintiff raises a number of Constitutional legal claims:

    a) The 1992 Express Bilateral Contract between the Plaintiff and Colon is protected by the contract

         clause of the Constitution, and therefore pre-empts and supercedes BORIM regulations [violates

         fundamental liberty to contract]

    b) The 1992 Express Bilateral Contract validly created a nonclinical world where the zone of privacy is

         protected as the intimate activities of persons in the privacy of their home not open to state intrusion
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    as enunciated by the Supreme Court in Lawrence v. Texas [BORIM regulations & sanctions violate

    substantive Due Process - fundamental constitutional right to privacy]

c) The BORIM regulations violate the Equal Protection clause because those regulations purposefully

    and intentionally discriminate between two groups of physicians, similarly situated with respect to

    sexual involvement with a patient or former patient, where on the basis of marriage - the regulations

    approve of those physicians who marry their patients but sanction those who do not [violates

    substantive Due Process - fundamental constitutional right to privacy]

d) The BORIM regulations burden the fundamental constitutional right to marry by coercing

    physicians, who are sexually involved with a patient or former patient, to either marry the patient or

    surrender their medical license [violates substantive Due Process - fundamental constitutional right to

    privacy]

e) The publication on the internet of the Plaintiff’s revocation of his medical license on the basis of

    alleged sexual misconduct, comprises Cruel and Unusual Punishment in violation of the Eighth

    Amendment prohibition because the public routinely accesses this information which humiliates and

    ostracizes the Plaintiff and prevents him from obtaining employment, rendering the Plaintiff

    unemployable.

f) The publication on the internet of the Plaintiff’s revocation of his medical license on the basis of

    alleged sexual misconduct, violates the Plaintiff’s fundamental Constitutional right to engage in

    gainful employment

g) The publication on the internet of the Plaintiff’s revocation of his medical license on the basis of sexual

    misconduct, comprises excessive fines in violation of the Eighth Amendment prohibition because

    the public routinely accesses this information which humiliates and ostracizes the Plaintiff and

    prevents him from obtaining employment, and has cost the Plaintiff substantial economic

    opportunities and lost job offers


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    h) The publication on the internet of the Plaintiff’s revocation of his medical license on the basis of sexual

         misconduct, comprises a form of sexual discrimination and sexual harassment in violation of both

         Title IX and Title VII of the Civil Rights Act by creating a hostile work environment on the basis

         of the Plaintiff’s past sexual history, sexual conduct and sexual experiences

                   Partial List of Damages suffered by Plaintiff


287.As a result of the Defendants’ actions and/or omissions, the Plaintiff lost two employment offers for

gainful employment in June 2024, which were rescinded based on internet-available defamatory information

published by the Defendants.


288.   As a result of the Defendants’ actions and/or omissions resulting in the unlawful revocation of the

Plaintiff’s medical license, the Plaintiff has suffered injuries amounting to more than six million ($6M)

$6,000,000.00 in damages and harms caused by the Defendants, including compensatory economic,

noneconomic and punitive damages.


289.   Under theories of personal liability and collective joint and several liability, defendants Lisa Wolfe,

Stanley Spero, Lourdes Colon, and the Massachusetts state actor defendants are personally and individually

liable for $3M (three million dollars) of compensatory and economic damages proximately caused by them to

the Plaintiff by their unlawful conduct, actions and/or omissions, which is not the liability of the

Commonwealth of Massachusetts and not to be charged to the state Treasury.


290.   Defendants Lisa Wolfe, Stanley Spero and Lourdes Colon are guilty of spoliation of the exculpatory

evidence of the 1992 Express Bilateral Contract, this concealment for the past thirty (30) years, comprising

Extrinsic Fraud as well as Fraud on the court, costing the Plaintiff more than $3M (three million dollars) in

injuries and damages.




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291. Defendants Lisa Wolfe, Stanley Spero and Lourdes Colon are also guilty of insurance fraud through

their settlement for $150,000 with ProMutual Medical Malpractice insurer in the case Colon v. Weinberg,

Wesselhoeft, and Boston Evening Medical Center, concealing from the insurance company the 1992 Express

Bilateral Contract which terminated the doctor-patient relationship


292. Defendant Lisa Wolfe is guilty of gross negligence and medical malpractice, based on her formulation,

drafting and dictation of the 1992 Express Bilateral Contract in a consultation room at the HRI Hospital in

Brookline, MA, without informing the Plaintiff of Colon’s serious psychological conditions and without

providing any guidance for the post-termination relationship as well as her breach of the psychologist-patient

relationship which she had with the Plaintiff which was formed in the Lexington, MA office where she

maintained a private practice.


293. The MIT defendants are guilty of: sexual discriminaton and harassment in violation of Title IX of the

Civil Rights Act, defamation, libel, slander, false imprisonment and deprivation of the Plaintiff’s civil and

constitutional rights while acting under the color of law in violation of 42 U.S.C. §1983.


294. The research foundations Simons Foundation Autism Research Initiative and the CHDI Foundation

were unjustly enriched and benefitted from the Plaintiff’s research efforts as a Visiting Student in 2022-23 in

the amount of $65,000, also via Quantum Meruit, when the Graybiel lab, MIT, and Professor Graybiel unfairly

and unjustly terminated the Plaintiff’s contract, depriving him of the research data which he gleaned over the

prior 12 months and resulting in his termination from the doctoral program at the Massachusetts College of

Pharmacy and Health Sciences, in part, because of his loss of this research data.


295. Attorneys Claudia Hunter, Vincent DiCianni, and Robert Stolzberg through their improper and unlawful

conduct did deprive the Plaintiff of his civil and constitutional rights while acting under the color of state law

in violation of 42 U.S.C. §1983.


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296. The defamatory statements made by Dr. Sten Lofgren, who had been treating the Plaintiff for more than

five (5) years for ADD at his Lexington, MA office, made to the Maine Board of Bar Examiners contributed

substantially to the Board of Bar Examiners finding that the Plaintiff could not meet his burden of proving his

good character to be admitted to the Maine Bar after passing the Bar exam.


         XI. SPOLIATION OF EXCULPATORY EVIDENCE

A. Spoliation of Exculpatory Evidence

297.   Defendants owed a duty to preserve and disclose the Contract, a critical piece of exculpatory evidence.

298. Their deliberate concealment of the Contract constitutes spoliation of evidence, a tortious act under

Massachusetts law.

B. Extrinsic Fraud

299. Defendants’ intentional concealment of the Contract constitutes extrinsic fraud.

300. This fraud prevented Plaintiff from fully and fairly presenting his defense in the prior proceedings and

directly led to the erroneous revocation of his medical license.

301. Extrinsic fraud vitiates final judgments and renders them null and void, or voidable.

302. The Statute of Limitations is tolled when there is fraud upon the court through extrinsic fraud such as

Defendants Lourdes Colon, Lisa Wolfe and Stanley Spero who engaged in spoliating exculpatory evidence

comprising the 1992 Express Bilateral Contract which terminated the doctor-patient relationship.

C. Fraud on the Court

303. Defendants’ actions in concealing the Contract constitute fraud on the court.

304. This fraud, perpetrated by officers of the court, including an attorney, corrupted the judicial process and

prevented the court from performing its impartial task of adjudging the case.

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305. Spoliation of the exculpatory evidence of the 1992 Express Bilateral Contract comprised Extrinsic Fraud

on the Court.

306. Intentional commission of extrinsic fraud on the court is a crime.

307. As a result, the final court judgments rendered against Plaintiff are null and void, or voidable, and must

be set aside.

308. The Statute of Limitations is tolled when there is fraud upon the court through extrinsic fraud such as

Defendants Lourdes Colon, Lisa Wolfe and Stanley Spero who engaged in spoliating exculpatory evidence

comprising the 1992 Express Bilateral Contract which terminated the doctor-patient relationship.

D. Intentional Infliction of Emotional Distress

309. Defendants’ conduct, particularly Defendant Spero’s malicious act of leaving the complaint at Plaintiff’s

marital home, was extreme and outrageous, exceeding all bounds of decency.

310. This conduct caused Plaintiff severe emotional distress, for which Defendants are liable.

E. Defamation
311.     Defendants made false and defamatory statements about Plaintiff, causing harm to his reputation and
professional standing.

312. These statements were published to third parties and were made with malice or reckless disregard for the
truth.

F. Civil Conspiracy

313. Defendants engaged in a civil conspiracy to conceal the Contract and harm Plaintiff.

314. They acted in concert, with a common purpose, and their actions caused Plaintiff substantial harm.




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315. Defendants Lisa Wolfe, Stanley Spero and Lourdes Colon are guilty of spoliation of the exculpatory

evidence of the 1992 Express Bilateral Contract, this concealment for the past thirty (30) years, comprising

Extrinsic Fraud as well as Fraud on the court.

316. Defendants Lisa Wolfe, Stanley Spero and Lourdes Colon are also guilty of insurance fraud through their

settlement for $150,000 with ProMutual Medical Malpractice insurer in the case Colon v. Weinberg,

Wesselhoeft, and Boston Evening Medical Center, concealing from the insurance company the 1992 Express

Bilateral Contract which terminated the doctor-patient relationship.

317. The Plaintiff files this Complaint against Defendants Lourdes Colon, Stanley Spero, and Lisa Wolfe,

alleging spoliation of exculpatory evidence, extrinsic fraud, fraud on the court, and related torts.

318. This is an action for damages and declaratory relief arising from Defendants’ egregious and unlawful

conduct in concealing a critical piece of exculpatory evidence – a 1992 Express Bilateral Contract (the

“Contract”) that terminated the doctor-patient relationship between Plaintiff and Defendant Colon.

319. This deliberate concealment, amounting to spoliation of evidence, extrinsic fraud, and fraud on the court,

directly led to the wrongful revocation of Plaintiff’s medical license and caused him catastrophic personal and

professional harm.


320. Defendants’ actions were intentional, malicious, and in reckless disregard for Plaintiff’s rights,

warranting substantial compensatory and punitive damages.


321. The Contract represented a complete and final termination of the professional relationship between

Plaintiff and Defendant Colon.


322. The 1992 Express Bilateral Contract terminating the doctor-patient relationship comprised exculpatory

evidence.


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323. Despite the existence and legal effect of the Contract, Defendants engaged in a concerted effort to

conceal its existence from relevant tribunals and authorities.


324. This concealment constituted spoliation of exculpatory evidence, a blatant act of extrinsic fraud, and a

profound fraud upon the court.


325. Spoliation of the exculpatory evidence of the 1992 Express Bilateral Contract comprised Extrinsic Fraud

on the Court.

326. Intentional commission of extrinsic fraud on the court is a crime.

327. Defendant Stanley Spero knew, or should have known, about this 1992 Express Bilateral Contract

memorialized in writing, and possibly had possession and control of a hard-copy of that agreement,

handwritten in ballpoint-pen ink on white paper, which comprised the formation and execution of that Express

Bilateral Contract whose primary purpose was to terminate the doctor- patient relationship.


328. Subsequently the contract was modified by mutual agreement to create the clinical and non-clinical

worlds.

329. Defendant Wolfe, when questioned about the Contract during legal proceedings, provided deceptive and

misleading answers to conceal her involvement in its creation.


330. The contract, dictated in September 1992 and was memorialized verbatim in writing by the Plaintiff and

Lourdes Colon and signed by both, Wolfe deceptively answered “It is not the sort of thing which I usually do”

in order to conceal possible gross negligence and professional malpractice for encouraging, advising,

formulating, drafting and dictating that Express Bilateral Contract (to cover her gross incompetence and

misconduct).


331. This collective and deliberate concealment of the Contract continued for more than two (2) decades,

spanning multiple court proceedings.
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332. For more than ten (10) years, from 1992 through 2002, the defendants Lourdes Colon, Stanley Spero and

Lisa Wolfe concealed their knowledge, possession and control of this memorialized 1992 Express Bilateral

Contract terminating the doctor-patient relationship from the tribunals of five (5) courts: Massachusetts

Suffolk Superior Court, Massachusetts Middlesex Superior Court, Massachusetts Division of Administrative

Law Appeals, Massachusetts Supreme Judicial Court and the Maine Supreme Judicial Court.


333. Defendants’ motivation for concealing the Contract was clear: it was advantageous to their position in a

separate lawsuit, Colon v. Weinberg, et al., filed in Massachusetts Middlesex Superior Court in November

1996.


334. Concealing the contract was advantageous for the defendants’ lawsuit in Middlesex Superior Court Colon

v. Weinberg, Wesselhoeft, Boston Evening Medical Center, et al. because the insurer would be less likely to

settle the suit had they known about the contract terminating the doctor-patient relationship.


335. The concealment of this critical evidence severely prejudiced Plaintiff’s ability to defend himself against

allegations of sexual misconduct, as it established that Defendant Colon was not his patient at the time of the

alleged incidents.


336. The concealment of this material evidence pushed the Plaintiff into a corner making him feel desperate

to prove the existence of this exonerating Express Bilateral Contract terminating the doctor-patient

relationship, which is vital to proving that Colon was not his patient at the time of the alleged conduct.


337. The spoliation of exculpatory evidence of the 1992 Express Bilateral Contract, terminating the doctor-

patient relationship, resulting in Extrinsic Fraud on the Court, continued for more than thirty-two (32) years

because as of this date in 2024, defendants Wolfe, Colon and Spero have not admitted or declared their

knowledge of that 1992 contract.



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                XII. Extrinsic Fraud vitiates Final Court Judgments


338.   This intentional, purposeful and deliberate concealment of the 1992 Express Bilateral Contract

comprised spoliation of exculpatory evidence, comprising extrinsic fraud and fraud on the court perpetrated by

defendants Wolfe, Spero and Colon.

339.    The extrinsic fraud and fraud on the court by defendants Wolfe, Spero and Colon resulted in the

inference of numerous false material facts, in the absence of the truth, which were incorporated into and

formed the foundation of the final judgments of those tribunals and vitiates the final judgments of these

tribunals and render those judgments null and void ab initio.

340.    There is an extensive body of law addressing the legal effect of extrinsic fraud and fraud on the court,

overcoming the countervailing policies of finality of judgments embodied in res judicata and collateral

estoppel, wherein such fraud on the court renders those judgments to be null and void ab initio and favors the

vacating of final judgments and fraud on the court has no Statute of Limitations. Hazel-Atlas Glass Co. v.

Hartford-Empire Co., 322 U.S. 238 (1944) [Supreme Court held that fraud on the court voids judgment and

has no statute of limitations, Fraudulently manufactured publication used to obtain patent and influence court,

Court vacated judgment 9 years after it was entered due to extrinsic fraud, Established court's inherent power

to investigate fraud and vacate judgments]; United States v. Throckmorton, 98 U.S. 61 (1878) [Defined

distinction between intrinsic and extrinsic fraud, Extrinsic fraud prevents party from presenting their case to

court, Established that extrinsic fraud renders judgment void, No time limit on challenging judgment obtained

by extrinsic fraud]; Bulloch v. United States, 763 F.2d 1115 (10th Cir. 1985) [Defined fraud on court as

scheme to interfere with judicial machinery, Must involve attorney or officer of court, Egregious misconduct

that undermines integrity of judicial process, Judgment void regardless of passage of time]; Pumphrey v. K.W.

Thompson Tool Co., 62 F.3d 1128 (9th Cir. 1995) [Manufacturer's concealment of evidence constituted fraud

on court, Fraudulent concealment prevented fair presentation of case, Judgment vacated years after entry,

Established broad definition of extrinsic fraud]; In re Levander, 180 F.3d 1114 (9th Cir. 1999) [Court has
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inherent power to vacate judgment for fraud on court, No time limit on court's power to provide relief, Fraud

that prevented full and fair hearing renders judgment void, Spoliation of evidence can constitute extrinsic

fraud]; Dixon v. Commissioner of Internal Revenue, 316 F.3d 1041 (9th Cir. 2003) [Defined elements of fraud

on the court, Must be more than perjury or non-disclosure, Requires egregious misconduct that harms integrity

of judicial process, Judgment void ab initio when obtained through fraud on court]; Aoude v. Mobil Oil Corp.,

892 F.2d 1115 (1st Cir. 1989) [Fabrication of evidence constituted fraud on court, Court has inherent power to

vacate judgment at any time, Fraud that prevents adversary process renders judgment void, No statute of

limitations for fraud on court claims]; Rozier v. Ford Motor Co., 573 F.2d 1332 (5th Cir. 1978) [Concealment

of critical evidence constituted fraud on court, Prevented fair adjudication of case, Judgment vacated years

after entry, Established broad remedial powers for fraud on court]; Cleveland Demolition Co. v. Azcon Scrap

Corp., 827 F.2d 984 (4th Cir. 1987) [Spoliation of evidence may constitute fraud on court, Destruction

prevents fair adjudication, Court can vacate judgment regardless of time passed, Fraud must be proven by

clear and convincing evidence]; Great Coastal Express v. International Brotherhood, 675 F.2d 1349 (4th Cir.

1982) [Defined elements of fraud on court claim, Must show intentional fraud and impact on court, Judgment

void when obtained through extrinsic fraud, No time limitation on court's power to grant relief]; England v.

Doyle, 281 F.2d 304 (9th Cir. 1960) [Distinguished intrinsic from extrinsic fraud, Concealment preventing fair

hearing is extrinsic fraud, Judgment void when party prevented from presenting case, Relief available

regardless of time passed]; In re Intermagnetics America, Inc., 926 F.2d 912 (9th Cir. 1991) [Defined scope of

fraud on court doctrine, Must involve more than injury to single litigant, Fraud that harms judicial machinery

renders judgment void, No time limit on attacking void judgment]; Alexander v. Robertson, 882 F.2d 421 (9th

Cir. 1989) [ Fraud preventing fair adversary proceeding voids judgment, Concealment of evidence can

constitute extrinsic fraud, Relief available regardless of time passed, Must show clear and convincing evidence

of fraud]; Leber-Krebs, Inc. v. Capitol Records, 779 F.2d 895 (2d Cir. 1985) [Fraud on court must involve

corruption of judicial process, More than perjury or non-disclosure required, Judgment void when obtained


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through extrinsic fraud, No statute of limitations applies]; Root Refining Co. v. Universal Oil Products Co.,

169 F.2d 514 (3d Cir. 1948) [Bribery of judge constituted fraud on court, Judgment void ab initio, No time

limitation on challenging void judgment, Established court's inherent power to remedy fraud].

341. These cases establish key principles regarding extrinsic fraud and void judgments:

    a)     Extrinsic fraud that prevents fair hearing renders judgment void

    b)     No statute of limitations on challenging void judgments

    c)     Courts have inherent power to remedy fraud on court

    d)     Concealment of evidence can constitute extrinsic fraud

    e)     Clear and convincing evidence required to prove fraud

    f)     Relief available regardless of time passed since judgment

    g)     Must show egregious misconduct that harms judicial process

    h)     Fraud must prevent party from presenting case to court

342.     The Massachusetts court and tribunal proceedings were all tainted by this extrinsic fraud on the court

resulting from Defendants Wolfe, Spero and Colon engaging in spoliation of exculpatory evidence of the 1992

Express Bilateral Contract, concealment of this exculpatory evidence which prevented the Plaintiff from

having a fair hearing, further exacerbated wherein DALA denied the Plaintiff the right to a hearing denying

procedural due process, and such concealment of evidence comprised egregious misconduct by an officer of

the court - Attorney Stanley Spero, and such spoliation and concealment prevented the Plaintiff from

presenting his case to the Court.

343. This extrinsic fraud on the court demands that the final court judgments against the Plaintiff be declared

null and void, and those judgments must be vacated.

344. The final court judgments to be declared null and void on the basis of Extrinsic Fraud and thereby be

vacated include: Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center (Middlesex Superior Court),

Weinberg v. Colon (Suffolk Superior Court), Board of Registration in Medicine v. Robert P. Weinberg, D.O.


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(DALA, Suffolk Superior Court), and Weinberg v. Board of Registration in Medicine (Massachusetts

Supreme Judicial Court), and such relief is available regardless of time passed since judgment.


 XIII. Boxed-in by Extrinsic Fraud, Plaintiff forced to sign Stipulations under Coercion and Duress

   Salem Witch Trials - “ … confess ye to being a witch, or burn alive at the stake!”

345. Committing the lesser of two evils: tell a falsity for self-preservation or lose it all

346. Boxed-in and caged, without the benefit of the truth of the 1992 Contract being acknowledged by the

Massachusetts state actor defendants, the Plaintiff was forced to sign the Stipulations under Coercion and

Duress or “be burned alive at the stake!” [signed with a gun held to his head]

          Stipulations which are coerced through Extrinsic Fraud on the Court

               and Signed under Coercion and Duress are Null and Void

347. Extrinsic Fraud and Fraud on the Court, with Coercion and Duress, renders any signed

Stipulations null and void, or voidable; Justice and Equity refuses to legitimize signed agreements made

“with a gun held to the head of the signer.”

348. Until the Plaintiff completed law school at the New England School of Law in 2006, he had very limited

knowledge and no experience in the practice of law.

349. From the time that he was first served with the Complaint and Summons in the civil action Colon v.

Weinberg, Wesselhoeft, Boston Evening Medical Center, filed in November 1996 in Middlesex Superior Court

and served on the Plaintiff in February 1997, the Plaintiff relied on legal counsel for representation regarding

the civil actions involving his medical license.

350. There were several lawyers and law firms involved in the Plaintiff’s representation: Claudia Hunter and

the firm Hunter and Bobbit were hired by the Plaintiff’s malpractice insurer ProMutual Medical Malpractice

insurer, which defended the Plaintiff in Middlesex Superior Court from 1997 through to the out-of-court

settlement agreement in 1998; the Plaintiff had hired Vincent DiCianni and the firm of Ferriter Scobbo in 1998

when he received a letter of inquiry from BORIM regarding allegations of sexual misconduct and DiCianni

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represented the Plaintiff until Judge Xifaras dismissed the suit filed by DiCianni in 1998 on the basis of the

anti-SLAPP statute – at which time the Plaintiff became thoroughly disillusioned and disheartened by the

apparent ineptness and malpractice committed by DiCianni which would then follow and haunt the Plaintiff

for twenty-six (26) years because multiple tribunals interpreted this suit as the Plaintiff’s “attempt to obstruct

justice”; the Plaintiff then hired Robert Stolzberg to represent him before BORIM on or about 1999, but

Stolzberg failed to inform the Plaintiff of a conflict of interest he had because Stolzberg was also representing

Robert Wesselhoeft and the Boston Evening Medical Center in the Middlesex Superior Court case Colon v.

Weinberg, Wesselhoeft and Boston Evening Medical Center as co-defendants in that case, but it became

known when the Plaintiff requested that Stolzberg obtain the testimony and/or affidavit from Dr. Robert

Wesselhoeft, the Medical Director at BEMC, to corroborate the facts surrounding the 1992 contract and the

knowledge and agreement of the staff of BEMC with the Plaintiff’s actions, but Stolzberg refused because

doing that would incur legal liability for the co-defendants; in the winter of 2000, the Plaintiff hired John Flym,

Professor of Law, at Northeastern University who represented the Plaintiff in the BORIM proceedings for the

following five (5) years until the Plaintiff’s appeal was heard before the Massachusetts Supreme Judicial Court,

with the SJC decision being issued on or about May 2005.

351. The Plaintiff trusted and had a high degree of confidence in Professor John Flym, who had successfully

argued and won a case against the U.S. government for his client before the U.S. Supreme Court – UNITED

STATES, Appellant, v. John Heffron SISSON, Jr., 399 U.S. 267, 90 S.Ct. 2117, 26 L.Ed.2d 608 - No. 305,

Argued Jan. 20 and 21, 1970, Decided June 29, 1970, Sol. Gen. Erwin N. Griswold, for appellant, John G. S.

Flym, Boston, Mass., for appellee - (“The draft law currently limits the combat-exempt status of a

conscientious objector to one “who, by reason of religious training and belief, is conscientiously opposed to

participation in war in any form.” Virtually all draft boards have interpreted those words to mean that 1) a

draftee’s opposition cannot be the product of a merely personal moral code, and 2) his opposition must be

directed against all wars, not one specific conflict like Viet Nam. Last week both of those assumptions were


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declared unconstitutional by Charles Edward Wyzanski, chief judge of the U.S. District Court for

Massachusetts. The ruling set aside the conviction of John Sisson Jr., a Harvard graduate who had never even

applied for a C.O. classification because he is “not formally religious,” and his objection to being drafted was

solely related to the Viet Nam war. Drawing from sources as varied as Learned Hand and Alfred North

Whitehead, Judge Wyzanski began his legal analysis with the broad contention that the First Amendment right

to free exercise of religion means “that no statute can require combat service of a conscientious objector

whose principles are either religious or akin thereto.”) https://law.northeastern.edu/multimedia/remembering-

professor-john-flym/ https://www.thecrimson.com/article/1969/5/28/john-gs-flym-pbtbhe-president-and/

352. In spite of the fact that John admitted to being specialized in Criminal Law, the Plaintiff and John struck

it off and John believed in the Plaintiff’s case and cause, so the Plaintiff followed John’s advice and

suggestions, knowing there were and still are many nuances to the law, public policy considerations, balancing

state interests and private interests, etc., which have not been appreciated by the Plaintiff over his limited legal

career.

353. All attorneys and law students understand the meaning of – “the lesser of two evils” when there is no

ideal solution, which would make everyone happy, and some penalty must be paid by one of the two parties –

even if not completely just or fair – than prudence suggests committing the lesser of two evils.

354. In spite of the multiple mitigating factors, the Plaintiff was chosen to be the “sacrificial lamb” to sacrifice

to the “highest ideals and ethics” of the medical profession, which would not accept, believe or be swayed by

the Plaintiff’s 1992 Express Bilateral Contract, which would otherwise have allowed the Plaintiff to engage in

sexual relations with Colon with impunity.

355. So, while John believed in the possibility of the Plaintiff retaining his medical license, if the Plaintiff

were to supplicate himself, show remorse, and apologize for everything even if he believed that the 1992

contract meant that the Plaintiff had done nothing wrong, John strongly urged and recommended the following

course for the Plaintiff – which resulted in the Plaintiff accepting writing some falsehoods for BORIM if it


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may have helped to save his medical license.

356. Based on this trust and belief in Attorney Flym, the Plaintiff wrote the following documents along with

their stated falsehoods, because the tribunal was convinced that the Plaintiff was wrong and must be punished

– so it came down to … “confess ye of being a witch, or else die by burning at the stake…”

357. The Plaintiff had fought so hard and so long, for the truth to become known, because of the persistent and

steadfast spoliation of exculpatory evidence of the 1992 Express Bilateral Contract by defendants Wolfe,

Colon and Spero, which was tantamount to Extrinsic Fraud on the Court.

358. It was quite painful and difficult writing such falsehoods in the hope that it might save his medical license,

that the Plaintiff chose what he believed to be the lesser of two evils – write some falsehoods (not under oath,

so not comprising perjury) which might save his identity, his life, his reputation, his livelihood, his license, his

innocence, his friends and family – all of whom would be abandoning him after the disclosure of BORIM’s

“truth” – that the Plaintiff had engaged in sexual misconduct with a patient, for which his medical license

would be revoked.

359. Had the Plaintiff known of the thirty-two (32) years of pain, suffering, humiliation, disgrace,

unemployment, betrayal, flagellation, tortured nights without sleep, crying himself to sleep at night, losing the

trust and belief of those closest to him, being thrown into the societal trash bin of sexual deviants, sex

offenders, pedophiles and rapists, perhaps he might have chosen to be burned alive at the stake.

360. Death comes quickly, is over in a matter of minutes, and finalizes everything and may save one from

years of torture, humiliation and disgrace – in spite of the fact that the Plaintiff still believes that what he did

was not wrong.

                 Recent email Correspondence from AAG Julie Frohlich

361. On or about October 8, 2024, Assistant Attorney General Julie Frohlich sent the following email to the

Plaintiff, which has been copied and pasted into this Complaint:




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----------- (between the dashed lines are Frohlich’s copied and pasted email) ---------------------------

Subject: Effect and Ramifications of your BORIM Stipulations




                                                                 Oct 8, 2024, 1:44 PM (8
Frohlich, Julie (AGO)
                                                                 days ago)


To:

to me, Andrea, Anne, Annette, Carla, Cynthia, David, Ellen, Heather, Jason, Jessica, jrubi

n@mirickoconnell.com, Kaitlyn, Kiana, kmacdonald@morrisonmahoney.com, Daryl, Lin

da, Mary, mbayer@cambridgema.gov, Meredith, Michael, pkawai@cambridgema.gov, Ro

bert, Scott …..



Mr. Weinberg:

I am writing in response to your September 23, 2024, email below to Scott Burke.

In prior emails to you and the 2 motions to dismiss that I filed on behalf of the Mass. State Defendants in your

first lawsuit, I explained in depth the absolute bars to suit against my client under the Rooker-

Feldman Doctrine and the Eleventh Amendment to the U.S. Constitution. Given that you are a well-educated

individual with both medical and law degrees, I sincerely hope you have come to understand that filing suit

against these defendants in light of these bars is one of the mistakes you reference in your email below that

you will not repeat in a new lawsuit.

I also want to provide you with knowledge, and put you on notice, of the ramifications of the Stipulation that

you (and your counsel) signed and filed in the BORIM proceedings (“Stip.”). I quoted the following

stipulated facts in the second MTD memorandum that I filed in the lawsuit you just dismissed:

Introductory Paragraph: “The parties stipulate to the Findings of Fact described below and agree that the

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Administrative Magistrate and the Board may make Conclusions of Law based upon said facts.”

Paragraph 40: “On October 10, 1995, [Plaintiff] admitted to having sex with Patient A. He agreed that it

was his responsibility as a former doctor for Patient A to keep boundaries intact and that he had crossed the

line by having sex with Patient A.”

Paragraphs 58: “[Plaintiff] admit[s] … that he had sexual contact with Patient A, and that he continued to

provide medical treatment to her.”

Paragraph 60: “[Plaintiff] admitted that he and Patient A had regular meetings outside of a professional

setting between 1992 and 1995, and that a ‘personal and romantic relationship developed during this period of

time.’ He further admitted that he had medical visits with Patient A at BEMC during this time period.”

Paragraphs 61-62: “In a letter dated February 7, 2001, … [Plaintiff] indicated that he was wrong to become

sexually involved with Patient A, [stating]:

At long last I understand the reality of [transference], and the power imbalance in the doctor-patient

relationship which leads to so much potential for abuse and exertion of undue influence arising from that

professional relationship. It now seems clear that it is always wrong for a doctor to become socially involved

with any patient, that I am astonished and ashamed ever to have been unclear on that score. In short, I am

guilty of having violated the Medical Code of Ethics, and of having used poor judgment in making choices and

taking actions which predictably had deleterious effects on patient A’s health. (emphasis added).

Paragraph 64: “Section 8.14 of the Code of Medical Ethics of the American Medical Association defines

sexual misconduct as, ‘Sexual conduct that occurs concurrent with the physician-patient relationship.’ At a

minimum physician’s ethical duties include terminating the physician-patient relationship before initiating a

dating, romantic or sexual relationship with a patient. In regard to relationships with former patients, the Code

states that they are unethical if ‘the physician uses or exploits trust, knowledge, emotions, or influence derived

from the previous professional relationship.’”

Paragraph 56: “In December 1999, [Plaintiff] sent a Memorandum to Richard Waring, former Complaint


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Counsel in the [BORIM Ad. Proceeding], and Deirdre Manning, former investigator in [that proceeding]. In

this memorandum, [Plaintiff] asserted that false testimony was being used against him, and he warned that

anyone who knowingly participated in the use of such false testimony against him might be participating in a

‘criminal conspiracy’. He stated, ‘This is an opportunity for you and the board to withdraw from the

conspiracy, and diminish collectively your criminal responsibility for all foreseeable crimes engendered by the

conspiracy.’”

Final Paragraph of the Stipulation: “[Plaintiff] waives any right of appeal he may have regarding matters of

fact agreed upon in this Stipulation.”

While I quoted these stipulations, (and there were more I did not quote in my memorandum but cite to below),

I did not develop the argument in my memorandum with respect to their effect on factual contentions that

you may not include in subsequent pleadings. Let me do that now so you know how these stipulated facts

render futile any future lawsuit and claims related to the revocation of your medical license.

The U.S. Supreme Court has “long recognized” that litigants “[a]re entitled to have [their] case tried upon the

assumption that ... facts, stipulated into the record, were established.” Christian Legal Soc. Chapter of the

Univ. of California, Hastings Coll. of the L. v. Martinez, 561 U.S. 661, 676, 130 S. Ct. 2971, 2983 (2010)

quoting H. Hackfeld & Co. v. United States, 197 U.S. 442, 447, 25 S. Ct. 456 (1905). “This entitlement is the

bookend to a party's undertaking to be bound by the factual stipulations it submits.” Id. at 676-

677. See id., 130 S. Ct. at 3005 (Alito, J., dissenting) (agreeing that “the parties must be held to their Joint

Stipulation”).

“‘[Factual stipulations are] binding and conclusive ..., and the facts stated are not subject to subsequent

variation. So, the parties will not be permitted to deny the truth of the facts stated, ... or to maintain a

contention contrary to the agreed statement, ... or to suggest, on appeal, that the facts were other than as

stipulated or that any material fact was omitted.’ 83 C.J.S., Stipulations § 93 (2000) (footnotes

omitted).’” Id. at 677 (emphasis added).


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The U.S. Supreme Court has accordingly refused to consider a party's allegations, claims, or arguments that

contradict a factual stipulation. Id. at 677-678 (“We reject [Plaintiff’s] unseemly attempt to escape from the

stipulation.”).

Therefore, in a future complaint, you may not deny or contradict the stipulated facts that:

    1. You had a personal, romantic, and sexual relationship with your patient between 1992 and 1995 while

        you continued to provide medical treatment to her and have medical visits with her. Stip. ¶¶ 40, 58,

        and 60-61. See also Stip. ¶¶ 21-26, 29, 31, 35-36, 38-39, and 41.

    2. As a former doctor for your patient, you had a responsibility to keep boundaries intact and you crossed

        the line by having sex with your patient. Stip. ¶ 40.

    3. You were wrong to become sexually involved with your patient. Stip. ¶¶ 61-62.

    4. It is always wrong for a doctor to become socially involved with any patient. Stip. ¶ 62.

    5. You were “guilty” of violating the Medical Code of Ethics. Stip. ¶ 62.

    6. You were “guilty” of using poor judgment in making choices and taking actions which predictably had

        deleterious effects on your patient’s health. Stip. ¶ 62.

    7. Pursuant to Section 8.14 of the Code of Medical Ethics of the American Medical Association sexual

        misconduct occurs concurrent with the physician-patient relationship. Stip. ¶ 64.

    8. At a minimum, a physician’s ethical duties include terminating the physician-patient relationship

        before initiating a dating, romantic or sexual relationship with a patient, which you did not do as you

        admitted in several factual stipulations quoted and cited above. Stip. ¶ 64. See also Stip. ¶¶ 21-26, 29,

        31, 35-36, 38-39, and 41.

    9. Relationships with former patients are unethical if the physician uses or exploits trust, knowledge,

        emotions, or influence derived from the previous professional relationship. Stip. ¶ 64.

    10. You sent a memorandum to BORIM personnel charging them with a criminal conspiracy and criminal

        responsibility for all foreseeable crimes engendered by the conspiracy. Stip. ¶56. See also, ¶ 57.


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As you know, given that you are a law school graduate and have passed a state bar examination, Fed. R. Civ. P.

11(b), entitled “REPRESENTATIONS TO THE COURT,” states in relevant part that “[b]y presenting to the

court a pleading, … an [ ] unrepresented party certifies that to the best of the person’s knowledge, information,

and belief, formed after an inquiry reasonable under the circumstances … (3) the factual contentions have

evidentiary support.” Because of this email, you now have actual knowledge that there is no evidentiary

support for any factual contentions that deny or contradict the above factual stipulations/admissions.

I hope you take all the time you need to research case law on the effect and ramifications of making factual

stipulations, thoughtfully consider the facts you have stipulated to in connection with the revocation of your

license, and won’t engage in an “unseemly attempt to escape from the stipulation” per the U.S. Supreme

Court’s cautionary language quoted above. If you engage in this reasonable inquiry, I believe you will find

that the only conclusion you can come to is that a lawsuit containing any contrary allegations or claims related

to the revocation of your medical license would lack evidentiary support and, therefore, be entirely meritless,

frivolous, and futile.

Respectfully,

Julie A. Frohlich

Julie A. Frohlich

Assistant Attorney General

Constitutional & Administrative Law Division

Massachusetts Office of the Attorney General

One Ashburton Place

Boston, MA 02108

(617) 963-2394

julie.frohlich@mass.gov

Pronouns: she/her/hers


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---------------------- ( End of Ms. Frohlich’s October 8, 2024 Email to Plaintiff) -------------

                Falsehoods written by the Plaintiff - - the lesser of two evils

362. Below are the falsehoods written by the Plaintiff, based on the urging and recommendation of Plaintiff’s

counsel John Flym, which the Plaintiff believed would be the lesser of two evils ( … or be burnt alive at the

stake…) – and documented by AAG Julie Frohlich in October 8, 2024 email:

    a) FALSEHOOD: It was not true that the Plaintiff “agreed that it was his responsibility as a former

         doctor for Patient A to keep boundaries intact and that he had crossed the line by having sex with

         Patient A” because this sex was allowed and permitted by the 1992 Express Bilateral Contract and

         Plaintiff did not violate any boundaries nor did the Plaintiff cross any line.

Paragraph 40: “On October 10, 1995, [Plaintiff] admitted to having sex with Patient A. He agreed that it

was his responsibility as a former doctor for Patient A to keep boundaries intact and that he had crossed the

line by having sex with Patient A.”

    b) TRUTH: It was true that the … “Plaintiff admit[s] … that he had sexual contact with Patient A (while

         he was in the nonclinical world), and that he continued to provide medical treatment to her (while in

         the clinical world)”

Paragraphs 58: “[Plaintiff] admit[s] … that he had sexual contact with Patient A, and that he continued to

provide medical treatment to her.”

    c) TRUTH: True that the Plaintiff did have permitted sexual contact with Patient A under the contractual

         terms of the 1992 Express Bilateral Contract, while in the nonclinical world, and continued to provide

         medical treatment to her, while in the clinical world.

Paragraph 60: “[Plaintiff] admitted that he and Patient A had regular meetings outside of a professional

setting between 1992 and 1995, and that a ‘personal and romantic relationship developed during this period of

time.’ He further admitted that he had medical visits with Patient A at BEMC during this time period.”

        (d) TRUTH: True that the Plaintiff did have permitted sexual contact with Patient A under the


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           contractual terms of the 1992 Express Bilateral Contract, while in the nonclinical world, and

           continued to provide medical treatment to her, while in the clinical world.

Paragraphs 61-62: “In a letter dated February 7, 2001, … [Plaintiff] indicated that he was wrong to become

sexually involved with Patient A, [stating]:

At long last I understand the reality of [transference], and the power imbalance in the doctor-patient

relationship which leads to so much potential for abuse and exertion of undue influence arising from that

professional relationship. It now seems clear that it is always wrong for a doctor to become socially involved

with any patient, that I am astonished and ashamed ever to have been unclear on that score. In short, I am

guilty of having violated the Medical Code of Ethics, and of having used poor judgment in making choices and

taking actions which predictably had deleterious effects on patient A’s health. (emphasis added).

       (e) FALSEHOOD: “At long last I understand the reality of [transference], and the power imbalance

in the doctor-patient relationship which leads to so much potential for abuse and exertion of undue influence

arising from that professional relationship. It now seems clear that it is always wrong for a doctor to become

socially involved with any patient, that I am astonished and ashamed ever to have been unclear on that

score. In short, I am guilty of having violated the Medical Code of Ethics, and of having used poor judgment

in making choices and taking actions which predictably had deleterious effects on patient A’s

health. (emphasis added).”

Paragraph 64: “Section 8.14 of the Code of Medical Ethics of the American Medical Association defines

sexual misconduct as, ‘Sexual conduct that occurs concurrent with the physician-patient relationship.’ At a

minimum physician’s ethical duties include terminating the physician-patient relationship before initiating a

dating, romantic or sexual relationship with a patient. In regard to relationships with former patients, the Code

states that they are unethical if ‘the physician uses or exploits trust, knowledge, emotions, or influence derived

from the previous professional relationship.’”

Paragraph 56: “In December 1999, [Plaintiff] sent a Memorandum to Richard Waring, former Complaint


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Counsel in the [BORIM Ad. Proceeding], and Deirdre Manning, former investigator in [that proceeding]. In

this memorandum, [Plaintiff] asserted that false testimony was being used against him, and he warned that

anyone who knowingly participated in the use of such false testimony against him might be participating in a

‘criminal conspiracy’. He stated, ‘This is an opportunity for you and the board to withdraw from the

conspiracy, and diminish collectively your criminal responsibility for all foreseeable crimes engendered by the

conspiracy.’”

        (f) TRUTH: “ …In December 1999, [Plaintiff] sent a Memorandum to Richard Waring, former

Complaint Counsel in the [BORIM Ad. Proceeding], and Deirdre Manning, former investigator in [that

proceeding]. In this memorandum, [Plaintiff] asserted that false testimony was being used against him, and he

warned that anyone who knowingly participated in the use of such false testimony against him might be

participating in a ‘criminal conspiracy’.”

        Extrinsic Fraud forced/coerced Plaintiff to sign Stipulations under Duress

363.   Because of the spoliation of exculpatory evidence of the 1992 Express Bilateral Contract, which

terminated the doctor-patient relationship, by defendants Wolfe, Spero and Colon, the “false testimony”

comprised the concealment of the 1992 contract and the termination of the doctor-patient relationship.

364.   This extrinsic fraud on the Court, concealing the 1992 contract, was part of a “criminal conspiracy”

which also involved Insurance Fraud because defendants concealed the 1992 contract from the medical

malpractice insurer ProMutual in order to fraudulently obtain a settlement of $150,000, which would have

compromised their claims of misconduct and chances of obtaining a larger settlement.

365. Concealment of the 1992 contract also comprised a crime against the Plaintiff in the DALA proceedings

before Magistrate Luick, who denied the Plaintiff a hearing to present this evidence, to have an opportunity to

be heard, to defend against false allegations and accusations – false because of Luick’s ignorance of the facts

concerning the 1992 contract. These crimes involve malicious and false prosecution through omission of

material facts.


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        (g) TRUTH (UNDER COERCION/DURESS/EXTRINSIC FRAUD): By signing the Stipulations, the

Plaintiff did agree to waive any right of appeal.

Final Paragraph of the Stipulation: “[Plaintiff] waives any right of appeal he may have regarding matters of

fact agreed upon in this Stipulation.”

“While I quoted these stipulations, (and there were more I did not quote in my memorandum but cite to below),

I did not develop the argument in my memorandum with respect to their effect on factual contentions that

you may not include in subsequent pleadings. Let me do that now so you know how these stipulated facts

render futile any future lawsuit and claims related to the revocation of your medical license.

The U.S. Supreme Court has “long recognized” that litigants “[a]re entitled to have [their] case tried upon the

assumption that ... facts, stipulated into the record, were established.” Christian Legal Soc. Chapter of the

Univ. of California, Hastings Coll. of the L. v. Martinez, 561 U.S. 661, 676, 130 S. Ct. 2971, 2983 (2010)

quoting H. Hackfeld & Co. v. United States, 197 U.S. 442, 447, 25 S. Ct. 456 (1905). “This entitlement is the

bookend to a party's undertaking to be bound by the factual stipulations it submits.” Id. at 676-

677. See id., 130 S. Ct. at 3005 (Alito, J., dissenting) (agreeing that “the parties must be held to their Joint

Stipulation”).

“‘[Factual stipulations are] binding and conclusive ..., and the facts stated are not subject to subsequent

variation. So, the parties will not be permitted to deny the truth of the facts stated, ... or to maintain a

contention contrary to the agreed statement, ... or to suggest, on appeal, that the facts were other than as

stipulated or that any material fact was omitted.’ 83 C.J.S., Stipulations § 93 (2000) (footnotes

omitted).’” Id. at 677 (emphasis added).

The U.S. Supreme Court has accordingly refused to consider a party's allegations, claims, or arguments that

contradict a factual stipulation. Id. at 677-678 (“We reject [Plaintiff’s] unseemly attempt to escape from the

stipulation.”).”

Therefore, in a future complaint, you may not deny or contradict the stipulated facts that:


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   1. You had a personal, romantic, and sexual relationship with your patient between 1992 and 1995 while

         you continued to provide medical treatment to her and have medical visits with her. Stip. ¶¶ 40, 58,

         and 60-61. See also Stip. ¶¶ 21-26, 29, 31, 35-36, 38-39, and 41.

(h) TRUTH: Plaintiff did have a personal, romantic, and sexual relationship with Colon between 1992 and

1995, while in the nonclinical world with Colon, and continued to provide medical treatment to her and have

medical visits with her, while in the clinical world.

366.     The clinical and nonclinical worlds were established by the 1992 contract between the Plaintiff and

Colon.

367. While the dual existence of a personal, romantic and sexual relationship with a patient simultaneously

with medical treatment as a physician is usually frowned upon and would appear to be unethical for most

physicians, the Plaintiff was excepted from these prohibitions and regulations because the 1992 contract

permitted such interactions in the clinical and nonclinical worlds, a unique situation never before adjudicated

in any court in the United States, and requiring new law to be made for this case of first impression.

367. The 1992 contract was a contract between two private parties, in the arena of private law and not public

law, protected by the contract clause of the U.S. Constitution and the 1992 contract supercedes and pre-empts

all state laws and regulations under the Supremacy doctrine.

   2. As a former doctor for your patient, you had a responsibility to keep boundaries intact and you crossed

         the line by having sex with your patient. Stip. ¶ 40.

368.     FALSEHOOD: The Plaintiff did not have a responsibility to keep boundaries intact nor that did the

Plaintiff cross the line by having sex with Colon, because Dr. Wolfe conceived, formulated, drafted and

dictated the terms of the 1992 contract, which specifically terminated the doctor-patient relationship so that

those “boundaries” were not the same as for other physicians, nor did the Plaintiff believe that he was crossing

any line by having sex with Colon.

369. These falsehoods were written, agreed to and signed in order to “avoid being burned alive at the stake”


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comprising the lesser of two evils as encouraged and urged by his attorney John Flym; stipulations were

signed while BORIM/DALA was “holding a gun to the Plaintiff’s head” because of the Extrinsic Fraud

forcing and boxing in the Plaintiff - thus the Stipulations were signed under Coercion and Duress.

   3. You were wrong to become sexually involved with your patient. Stip. ¶¶ 61-62.

370. FALSEHOOD: The Plaintiff was not wrong to become sexually involved with Colon because of the

1992 contract.

   4. It is always wrong for a doctor to become socially involved with any patient. Stip. ¶ 62.

371. FALSEHOOD: It is not wrong for a doctor to become socially involved with a patient, if they have

formally terminated the doctor-patient relationship by an Express Bilateral Contract.

   5. You were “guilty” of violating the Medical Code of Ethics. Stip. ¶ 62.

372. FALSEHOOD: The AMA Medical Code of Ethics specifically states that a physician may become

sexually involved with a patient if first they terminate the professional relationship.

   6. You were “guilty” of using poor judgment in making choices and taking actions which predictably had

       deleterious effects on your patient’s health. Stip. ¶ 62.

373. FALSEHOOD: This was not poor judgment because the Plaintiff relied upon the 1992 Express

Bilateral Contract to his detriment, believing that all his prior duties and obligations as a physician had been

properly and legally terminated.

374. Furthermore, because Lisa Wolfe had not provided any warnings or guidance at the time of 1992

contract terminating the doctor-patient relationship, the Plaintiff did not believe that such actions would have

any deleterious effects on Colon’s health nor was the Plaintiff warned by Wolfe of the serious psychiatric

diagnoses she documented in the HRI medical records of Dissociative Identity Disorder or Multiple

Personality Syndrome, which would lead the Plaintiff to believe that she was emotionally or psychologically

vulnerable to such harms.

   7. Pursuant to Section 8.14 of the Code of Medical Ethics of the American Medical Association sexual


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       misconduct occurs concurrent with the physician-patient relationship. Stip. ¶ 64.

375. FALSEHOOD: The AMA Medical Code of Ethics specifically states that a physician may become

sexually involved with a patient if first they terminate the professional relationship.

   8. At a minimum, a physician’s ethical duties include terminating the physician-patient relationship

       before initiating a dating, romantic or sexual relationship with a patient, which you did not do as you

       admitted in several factual stipulations quoted and cited above. Stip. ¶ 64. See also Stip. ¶¶ 21-26, 29,

       31, 35-36, 38-39, and 41.

376. FALSEHOOD: The Plaintiff did terminate the physician-patient relationship with the 1992 contract.

   9. Relationships with former patients are unethical if the physician uses or exploits trust, knowledge,

       emotions, or influence derived from the previous professional relationship. Stip. ¶ 64.

377. TRUTH: There were no factual findings or evidence that the Plaintiff used or exploited any trust,

knowledge, emotions or influence derived from the previous professional relationship, and these facts do not

encompass the contractual terms and conditions of the 1992 contract which were concealed from the tribunals

by Lisa Wolfe, Stanley Spero and Lourdes Colon, comprising Extrinsic Fraud on the Court, and leading the

tribunals to make false conclusions leading to false material statements of fact made in vacuum resulting in an

egregious miscarriage of justice with the revocation of the Plaintiff’s medical license, years of shaming and

humiliation, ostracism, exclusion from the community, unemployment due to severe and scandalous

defamation arising from the state’s declaration of the Plaintiff to have engaged in sexual misconduct with a

patient, abandonment by friends and family, shunning and isolation, and loss of all the trust and belief of those

closest to the Plaintiff because of these falsehoods.

   10. You sent a memorandum to BORIM personnel charging them with a criminal conspiracy and criminal

       responsibility for all foreseeable crimes engendered by the conspiracy. Stip. ¶56. See also, ¶ 57.

378. TRUTH: “ …In December 1999, [Plaintiff] sent a Memorandum to Richard Waring, former Complaint

Counsel in the [BORIM Ad. Proceeding], and Deirdre Manning, former investigator in [that proceeding]. In


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this memorandum, [Plaintiff] asserted that false testimony was being used against him, and he warned that

anyone who knowingly participated in the use of such false testimony against him might be participating in a

‘criminal conspiracy’.”

379. Because of the spoliation of exculpatory evidence of the 1992 Express Bilateral Contract, which

terminated the doctor-patient relationship, by defendants Wolfe, Spero and Colon, the “false testimony”

comprised the concealment of the 1992 contract and the termination of the doctor-patient relationship.

380. This extrinsic fraud on the Court, concealing the 1992 contract, was part of a “criminal conspiracy”

which also involved Insurance Fraud because defendants concealed the 1992 contract from the medical

malpractice insurer ProMutual in order to fraudulently obtain a settlement of $150,000, which would have

compromised their claims of misconduct and chances of obtaining a larger settlement.

381. Concealment of the 1992 contract also comprised a crime against the Plaintiff in the DALA proceedings

before Magistrate Luick, who denied the Plaintiff a hearing to present this evidence, to have an opportunity to

be heard, to defend against false allegations and accusations – false because of Luick’s ignorance of the facts

concerning the 1992 contract. These crimes involve malicious and false prosecution through omission of

material facts.

382. These falsehoods, drafted and written by the Plaintiff’s counsel John Flym, were incorporated into the

Stipulations submitted to Magistrate Sarah Luick.

383. These false Stipulations were coerced from the Plaintiff, under Duress, because the Plaintiff was

“stripped of the truth” of the 1992 contract because of the Extrinsic Fraud by defendants Wolfe, Spero and

Colon.

384. As a direct result of Defendants’ fraudulent concealment of the Contract, BORIM, unaware of the

termination of the doctor-patient relationship, revoked Plaintiff’s medical license.

385. This revocation had devastating consequences for Plaintiff, both personally and professionally.

386. The spoliation of evidence, extrinsic fraud, and fraud on the court perpetrated by Defendants proximately


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caused Plaintiff to suffer substantial economic damages, including the loss of over $4,025,000 in salary and

income, along with humiliation, ostracism, shunning and isolation from the community.

387. The spoliation by Wolfe, Spero and Colon of the exculpatory evidence of this Express Bilateral Contract,

terminating the doctor-patient relationship, had catastrophic effects on the Plaintiff’s life and was ruinous to

him.

388. The spoliation of exculpatory evidence was the proximate cause of: (a) substantial economic damages

and injuries to the Plaintiff in lost salaries and income exceeding $4,025,000.00 (four million twenty-five

thousand U.S. dollars) [$175K annual salary as an Emergency Medicine Physician annually x 23 years]; (b)

sabotaging the fact-finding by three (3) tribunals: Massachusetts Suffolk Superior Court, DALA and BORIM

leading to the declaration of multiple substantial FALSE statements of material fact in the texts of those court

judgments which issued from those tribunals; (c) severe and irreparable damage to the Plaintiff’s reputation;

(d) the exclusion of the Plaintiff from the Medicare program for over eight years preventing the Plaintiff from

obtaining employment in any hospital, laboratory, research center, clinic which received Medicare or federal

funding; (e) placement of the Plaintiff on a Medicare Exclusion List resulting in the Plaintiff’s termination

from a research project with Stephanie Dougan at the Dana-Farber Cancer Institute (“DFCI”) in 2015-16 while

the Plaintiff was in a master’s program at Harvard Medical School, termination of the Plaintiff from a research

project with Ann Goldfeld at the Boston Children’s Hospital.

389. It also led to irreparable damage to his reputation, exclusion from the Medicare program, and severe

emotional distress compounded by causing significant medical and health problems.

390. The emotional distress was exacerbated by Defendant Spero’s outrageous act of leaving a copy of the

initial complaint, detailing Plaintiff’s sexual activities, at his marital home.

          XIV. Intentional Infliction of Severe Emotional Distress


391. Defendant Stanley Spero inflicted outrageous emotional distress and pain by leaving a copy of the initial

complaint detailing the Plaintiff’s sexual activities at the doorstep of his marital home which was first
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discovered by Plaintiff’s first wife, leading to (a) severe marital discord and strife ending in divorce; (b) loss

of the Plaintiff’s medical license, and only occupation which the Plaintiff knew to earn money, leading to

joblessness and homelessness; (c) financial insolvency leading to bankruptcy; (d) foreclosure on the Plaintiff’s

home in Maine where the Plaintiff moved following his divorce; and (e) severe, extreme continuous and

ongoing social ostracism, humiliation and community shaming with the loss of most of the Plaintiff’s friends,

colleagues, peers, neighbors, former classmates and relatives who have since seen the Plaintiff in a false light

as a social pariah, to be shunned and avoided by all persons, imposing extreme social isolation upon the

Plaintiff.


392. Defendants Wolfe, Spero and Colon did commit intentionally and maliciously spoliation of exculpatory

evidence; this malicious act of leaving the Complaint at the doorstep of the Plaintiff’s marital home caused

severe marital discord, ultimately leading to divorce.


393. The cascade of negative consequences continued with financial insolvency, bankruptcy, foreclosure on

Plaintiff’s home, and ongoing social ostracism.


394. The core factual issue in the prior judicial proceedings – whether Defendant Colon was Plaintiff’s patient

at the time of the alleged misconduct – was incorrectly determined due to Defendants’ concealment of the

Contract.


395. The key factual issue in these records - which was incorrectly determined by BORIM, DALA and the

Massachusetts SJC - is that defendant Lourdes Colon was not a patient of the Plaintiff’s at the time of the

alleged sexual encounters in 1992 - 1994 after the Plaintiff and Colon had formed and executed the 1992

Express Bilateral Contract; the only intimate contacts took place in the non-clinical world where the Plaintiff

was not Colon’s doctor.




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396. The Contract unequivocally established that the doctor-patient relationship had been terminated, thereby

negating the basis for BORIM’s allegations of sexual misconduct against Plaintiff.


397. The corrected factual record will show that Colon was not the Plaintiff’s patient while in the non-

clinical world - the 1992 memorialized handwritten Express Bilateral Contract terminating the doctor-patient

relationship and its subsequent modification, with its creation of the clinical and nonclinical worlds,

terminated that relationship.


398. The modified contract created a private nonclinical world where the Plaintiff did not function, or act, or

hold himself out to the public as a physician, and was therefore not capable of engaging in sexual misconduct

which presumes a professional role with fiduciary duties.

        XV. Gross Negligence and Medical Malpractice by Lisa Wolfe


399. Defendant Lisa Wolfe is guilty of gross negligence and medical malpractice based on her formulation,

drafting and dictation of the 1992 Express Bilateral Contract in a consultation room at the HRI Hospital in

Brookline, MA, without informing the Plaintiff of Colon’s serious psychological conditions and without

providing any guidance for the post-termination relationship.


400. Dr Wolfe also breached her duty in the psychologist-patient relationship which she had with the Plaintiff

which was formed in the Lexington, MA office where she maintained a private practice, when she informed

the Plaintiff that he would be responsible for any couple visits by the Plaintiff and Colon which were not

covered by Colon’s insurance.


 XVI. MIT lab defendants: Sexual Discrimination & Harassment in violation of Title IX


401.   Plaintiff was a Visiting Graduate Student at the Massachusetts Institute of Technology (MIT) in the

laboratory of Professor Ann Graybiel during the academic year 2022–2023.

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402.   His appointment was part of his doctoral research program in Pharmacology at the Massachusetts

College of Pharmacy and Health Sciences (MCPHS).


403. The Plaintiff’s primary objective at the Graybiel lab was to obtain essential research data for his Ph.D.

dissertation on cannabinoid receptors in the central nervous system.


404. Plaintiff paid approximately $4,000 in fees to participate in the Visiting Student Fellowship in the

Graybiel lab, starting in September 2022.


405.   Initially, Plaintiff maintained a professional and congenial relationship with Professor Graybiel and lab

colleagues.


406. In April 2023, Nagina Mangal, a postdoctoral fellow from the University of London, joined the Graybiel

lab.


407. Plaintiff assisted Mangal with logistical support, fostering a friendly rapport, brought Mangal to the

Service Center where she picked up her MIT ID card, and also gave her a sweeping tour of the MIT campus.


408. As part of a developing friendship, the Plaintiff took Mangal to her first baseball game with the Boston

Red Sox at Fenway Park.


409. The Plaintiff and Mangal began to work on a literature review together, on cannabinoid receptors in the

mammalian basal ganglia and their involvement with astrocytic responses there; Plaintiff and Mangal met

several times for this literature review and exchanged over one hundred (100) papers to review.


410. In June 2023, Mangal discovered information online regarding the Plaintiff’s past, including the

revocation of his medical license in 2002.


411. Mangal spread rumors about this matter, and Graybiel began discussing it within the lab.
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412. The discussions by Graybiel and Mangal, focused on the Plaintiff’s prior sexual history, created a hostile

and discriminatory environment in violation of Title IX.


413. Plaintiff was shunned, excluded from lab activities, and eventually removed from significant research

projects, including the CellREADR initiative, despite his substantial contributions.


414. The discriminatory actions culminated in Plaintiff’s exclusion from the lab, termination of his Visiting

Student appointment, and denial of access to essential research data needed for his dissertation.


415. Without access to the necessary data, Plaintiff was forced to abandon his doctoral program despite

completing coursework, passing qualifying exams, and investing four years of study and research in his Ph.D.

studies.


416. Plaintiff communicated his grievances to MIT administration, including emails to President Sally

Kornbluth and the Department of Education’s Office for Civil Rights (OCR).


417. However, MIT failed to take corrective action, demonstrating deliberate indifference.


418. Retaliatory actions followed Plaintiff’s OCR complaint, including banning him from the MIT campus,

issuing a “No Trespass” order, and isolating him from academic opportunities. These actions further disrupted

his career and personal life.


419. Plaintiff has suffered significant educational, financial, and emotional harm as a result of these

discriminatory and retaliatory acts, including the loss of employment opportunities and severe emotional

distress.


420.   Plaintiff seeks compensatory and punitive damages for the harms caused by the Defendants’ Title IX

violations, including sexual harassment and discrimination.


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421. The MIT lab defendants, including Nagina Mangal, Ann Graybiel, Sally Kornbluth and MIT, are guilty

of: sexual discrimination and harassment in violation of Title IX of the Civil Rights Act, defamation, libel,

slander, false imprisonment and deprivation of the Plaintiff’s civil and constitutional rights while acting under

the color of law in violation of 42 U.S.C. §1983.


422. Most of the Plaintiff’s research work in the Graybiel lab was funded by the research foundations Simons

Foundation Autism Research Initiative and the CHDI Foundation


   XVII. MIT Campus Police defendants: Retaliation, False Imprisonment & False Arrest


423. The MIT Campus Police defendants include Craig Martin, Killian Casey, Panache Flint, and Michael

Allen, along with Sally Kornbluth and MIT.


424. On or about July 18, 2024, the Plaintiff, while legally operating his vehicle in the vicinity of the Kendall

Square area of Cambridge, was subjected to a coordinated campaign of harassment, intimidation, and false

imprisonment by the MIT Campus Police, who had also enlisted he help of the Cambridge Police Department.


425. Under the leadership of Captain Craig Martin, the MIT Campus Police implemented a policy to monitor,

harass, and exclude the Plaintiff from MIT property and activities.


426. This policy included instructions to officers to surveil the Plaintiff’s movements, particularly targeting

his vehicle, and involved regular confrontations designed to repel him from the MIT campus.


427. The campaign escalated when the Plaintiff, while waiting in his vehicle for his wife near Ames Place

Alley, was surrounded by MIT Campus Police, including officers Killian Casey, Panache Flint, and Michael

Allen, along with four unidentified Cambridge Police officers.




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428. Acting on false and misleading information from the MIT Campus Police, the Cambridge Police

detained the Plaintiff, alleging improper registration of his vehicle and lack of a valid driver’s license—claims

the MIT Campus Police knew or should have known were untrue based on Plaintiff’s prior registration and

compliance as a nonresident student driver.


429. The Plaintiff was subjected to a prolonged detention lasting approximately 40 minutes. During this time:


       a)       Police surrounded the Plaintiff’s vehicle with three patrol cars, effectively imprisoning him;
       b)       Officers read the Plaintiff his Miranda rights, effecting a custodial interrogation without
                probable cause;
       c)       The Plaintiff’s wife was interrogated about her employment and residence, and officers
                displayed their firearms, causing her significant distress.

430. This detention constituted a false imprisonment and an unconstitutional seizure of the Plaintiff’s person

in violation of his Fourth Amendment rights, with no probable cause to justify the officers’ actions.

       XVIII. Anti-Semitism and Hate Crimes on the MIT Campus


431. During the detention, the officers made anti-Semitic comments, referencing the Plaintiff’s Jewish

heritage and falsely blaming him for the anxieties of Nagina Mangal, a Muslim postdoctoral fellow at MIT

who had incited sexual discrimination and harassment against the Plaintiff.


432. These comments by the MIT Campus police were made amidst heightened campus tensions related to

the Israel-Palestine conflict, with Jewish students and individuals being targeted for harassment.


433. The MIT Campus Police’s actions reflect a broader pattern of anti-Semitic behavior and retaliation

against the Plaintiff, who had previously filed Title IX complaints and raised concerns about discrimination.


434. The coordinated actions by MIT and Cambridge police demonstrate deliberate indifference to the

Plaintiff’s rights and were part of a campaign of retaliation and hate.



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435. The absence of any incident report by the Cambridge Police further suggests an attempt to cover up the

unlawful detention and arrest, raising questions about transparency and accountability.


436. The Plaintiff suffered severe emotional distress as a result of the detention and threats.


437. Plaintiff’s wife required medical attention at Massachusetts General Hospital due to the anxiety and

palpitations caused by the officers’ intimidation.


438. These actions constitute violations of federal and state law, including false imprisonment, false arrest,

and hate crimes under Massachusetts General Laws and 42 U.S.C. § 1983.


439. The coordinated harassment, detention, and anti-Semitic conduct violated the Plaintiff’s constitutional

rights, including equal protection and freedom from discrimination.


440. The Plaintiff seeks compensatory and punitive damages for the harm caused by these actions, as well as

declaratory relief under 28 U.S.C. § 2201 to establish the rights, privileges, and obligations of the parties.


    XIX. Research Foundations: Unjust Enrichment and Quantum Meruit


441.   The research, which the Plaintiff was conducting as a Visting Graduate student in the Graybiel lab, was

funded by: (1) Simons Foundation Autism Research Initiative and (2) the CHDI Foundation (hereafter

“Research Foundations”).


Unjust Enrichment and Quantum Meruit

442. During the academic year 2022–2023, Plaintiff worked as a Visiting Graduate Student in the laboratory

of Professor Ann Graybiel at MIT under a formal contract with specific research objectives.




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443. This contract also implied that Plaintiff would use the research data obtained during the fellowship for

his Ph.D. dissertation in Pharmacology at the Massachusetts College of Pharmacy and Health Sciences

(MCPHS).

444. Plaintiff’s research primarily focused on Huntington’s Disease for three months-worth of work and

Autism Spectrum Disorder for nine months-worth of work, under funding provided by the CHDI Foundation

and Simons Foundation Autism Research Initiative (SFARI), respectively.

445. Plaintiff worked diligently for 10–12 hours a day for nearly 12 months, contributing substantial

intellectual property, research findings, and methodologies that benefited the MIT defendants, including:


    a)    CHDI Foundation;
    b)    Simons Foundation Autism Research Initiative;
    c)    Massachusetts Institute of Technology;
    d)    Professor Ann Graybiel; and
    e)     Nagina Mangal.

446. Despite the Plaintiff’s significant contributions, he received no compensation for his efforts.


447. Comparable positions paid Plaintiff $65,000 annually during prior employment, establishing the

reasonable value of his services.


448. In July 2023, Professor Graybiel abruptly terminated Plaintiff’s Visiting Student status because of the

sexual conduct and behaviors which she learned about from Nagina Mangal, who discovered this information

on the internet due to BORIM’s internet publication.


449. Graybiel thereafter denied the Plaintiff access to the research data and intellectual property he developed

during the fellowship, which was essential for completing his doctoral dissertation.


450. As a direct result of the termination and denial of access to his research data, Plaintiff was forced to

abandon his Ph.D. program despite completing years of coursework and successfully passing qualifying exams.
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451. The MIT Defendants retained the research data and intellectual property generated by Plaintiff,

leveraging this work for their own benefit and the advancement of their research objectives.


452. The actions of the MIT defendants have resulted in their unjust enrichment at Plaintiff’s expense, as they

retained the benefits of Plaintiff’s research without compensation and to the detriment of his academic

progress.


                       Unjust Enrichment of Research Foundations


453. Plaintiff conferred substantial benefits upon the MIT defendants through his dedicated research work

over the course of 12 months.


454. The MIT Defendants accepted and retained these benefits, including advancements in their funded

research objectives, without providing Plaintiff any compensation.


455. The retention of these benefits by the MIT defendants, under the circumstances, is inequitable and unjust.


456. Plaintiff seeks damages equivalent to the reasonable value of his services, calculated at no less than

$65,000.

                       Quantum Meruit by Research Foundations


457. Plaintiff provided valuable research services, including conducting scientific experiments, developing

new methodologies, and producing significant academic contributions.


458. The MIT Defendants knowingly accepted and utilized these services for their own benefit, retaining the

results of Plaintiff’s work after his termination.


459. The circumstances created a reasonable expectation of compensation for the Plaintiff’s contributions,

including the existence of a formal academic agreement and the critical value of Plaintiff’s work.
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460. Plaintiff is entitled to damages for the reasonable value of his contributions, which is no less than

$65,000.


                  XX. Breach of Contract: MIT Defendants


461. Plaintiff entered into a valid and binding contract with the MIT defendants to conduct research from

September 2022 to September 2023, with the understanding that he would use the resulting data for his

doctoral research.


462. Plaintiff fully performed his obligations under the contract by diligently conducting research in

accordance with the agreement.


463. The MIT Defendants breached the contract by prematurely terminating Plaintiff’s fellowship without

cause and denying him access to the research data required for his Ph.D. dissertation.


464. As a direct result of this breach, Plaintiff suffered substantial harm, including the loss of his research

data, disruption of his doctoral studies, and forced resignation from his Ph.D. program.


465. Plaintiff seeks damages for breach of contract, unjust enrichment, and quantum meruit to compensate for

the financial, academic, and emotional harm caused by the MIT defendants’ actions.


466. The MIT defendants were unjustly enriched and benefitted from the Plaintiff’s research efforts as a

Visiting Student in 2022-23 in the amount of $65,000, also via Quantum Meruit, when the Graybiel lab, MIT,

and Professor Graybiel unfairly and unjustly terminated the Plaintiff’s contract, depriving him of the research

data which he gleaned over the prior 12 months and resulting in his termination from the doctoral program at

the Massachusetts College of Pharmacy and Health Sciences, in part, because of his loss of this research data.




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   XXI. Civil Rights violations: Attorney Defendants: Hunter, DiCianni, Stolzberg


467. Attorneys Claudia Hunter, Vincent DiCianni, and Robert Stolzberg (hereafter “Attorney Defendants”)

through their improper and unlawful legal actions, conduct and/or omissions did deprive the Plaintiff of his

civil and constitutional rights while acting under the color of state law in violation of 42 U.S.C. §1983.


468. The pleadings made in the Adverse Proceedings in U.S. Bankruptcy Court, for the District of Maine in

2005, against the Attorney Defendants Claudia Hunter, Vincent DiCianni and Robert Stolzberg in Case No.

05-20320, “In Re Robert Weinberg” (see attached Exhibits) are incorporated and re-alleged herein.


469. Attorney Claudia Hunter committed legal malpractice, breach of contract, and did deprive the Plaintiff of

his civil rights and constitutional right to Due Process of Law and a Hearing.


470. Hunter did not disclose her Conflict of Interest between representing the Plaintiff versus representing the

financial interests of the Plaintiff’s medical malpractice insurer ProMutual Medical Malpractice (now known

as Coverys) who had hired her.


471. Hunter’s failure to inform the Plaintiff of his right to a trial but moving forward with a financial

settlement of $150,000 to Colon, substantially prejudiced the Plaintiff and deprived him of the opportunity to

expose the spoliation of exculpatory evidence of the 1992 Express Bilateral Contract, along with the Extrinsic

Fraud being committed by Colon, Wolfe and Spero.


472. A trial would have provided the Plaintiff with the opportunity of proving his innocence and that he did

not commit sexual misconduct because the 1992 Express Bilateral Contract created the non-clinical world,

where the Plaintiff and Colon were permitted to engage in intimate activities which would have prevented

BORIM from adjudicating the Plaintiff for sexual misconduct leading to the revocation of the Plaintiff’s

medical license.

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473. Attorney Vincent DiCianni committed legal malpractice, breach of contract, and did deprive the

Plaintiff of his civil rights and constitutional right to Due Process of Law and a Hearing.


474. Attorney DiCianni did not disclose his persistent and insistent need to meet with Colon “to ascertain her

credibility,” which initially was rebuffed by Spero, then Magistrate Sarah Luick denied a motion for such a

meeting, then third DiCianni’s motion to the Superior Court was also denied, which led to his final fourth

attempt to meet Colon, by filing the suit Weinberg v. Colon in Suffolk Superior Court in order to depose Colon.


475. DiCianni’s strategy of filing the suit to depose Colon backfired when Judge Xifaras dismissed the suit

under the anti-SLAPP statute, and subsequently BORIM, DALA and other judges and magistrates called the

filing of the suit the Plaintiff’s attempt to obstruct justice.


476. In its judgment that the Plaintiff committed sexual misconduct and that his conduct undermined the

confidence of the public in the medical profession, BORIM stated that a substantial factor was the filing of the

suit Weinberg v. Colon which was not the Plaintiff’s idea or strategy.


477. DiCianni had a professional and ethical duty to inform BORIM that the Plaintiff had no role in

conceiving, drafting or filing that suit, and therefore could not have been attempting to obstruct justice


478. Attorney Robert Stolzberg committed legal malpractice, breach of contract, and did deprive the Plaintiff

of his civil rights and constitutional right to Due Process of Law and a Hearing.


479. Stolzberg did not disclose his Conflict of Interest between representing the Plaintiff versus his concurrent

representation of Dr. Robert Wesselhoeft and the Boston Evening Medical Center in Middlesex Superior

Court in the civil action Colon v. Weinberg, Wesselhoeft, and Boston Evening Medical Center.


480. When the Plaintiff asked Stolzberg to obtain an affidavit and testimony from Dr. Wesselhoeft which

would have corroborated the Plaintiff’s testimony that BEMC and Wesselhoeft had approved the Plaintiff’s
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plan to terminate the doctor-patient relationship, Stolzberg refused to because he believed that such an

Affidavit or testimony would compromise the legal liability of Wesselhoeft and BEMC.


481. Thus, Stolzberg’s refusal and conflict of interest was a substantial factor in the Plaintiff’s inability to

prove his innocence by providing evidence of the 1992 Express Bilateral Contract, which was a substantial

exculpatory evidence in the Plaintiff’s case.


482. The actions and/or omissions made by the Attorney Defendants Claudia Hunter, Vincent DiCianni and

Robert Stolzberg did deprive the Plaintiff of his civil and constitutional rights as granted and guaranteed by

federal law and the U.S. Constitution, while those Attorney Defendants were acting under the color of state

law, thus violating 42 U.S.C. § 1983.

                  XXII. Psychiatrist defendant: Sten Lofgren


483. Sten Lofgren was a psychiatrist who was treating the Plaintiff for ADD between 1995 - 2000.


484. When the Plaintiff was applying for admission to the Maine Bar, Lofgren made several false and

defamatory statements about the Plaintiff which were significant factors in the decision of the Maine Board of

Bar Examiners’ decision that the Plaintiff had not provided sufficient evidence of his good character.


485. Thus Lofgren committed defamation, libel and slander which caused substantial injury and harm to the

Plaintiff in his attempt to be admitted to the Maine Bar.


486. The actions and/or omissions made by Defendant Sten Lofgren did deprive the Plaintiff of his civil and

constitutional rights as granted and guaranteed by federal law and the U.S. Constitution, while Defendant

Lofgren was acting under the color of state law, thus violating 42 U.S.C. § 1983.




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                         XXIII. Further Civil Rights Violations

       Defendants’ additional misconduct which caused Injuries and Damages to the Plaintiff

A. Due Process violations (in violation of 42 U.S.C. § 1983)

487. Defendant Lisa Wolfe, acting under color of state law as a licensed psychologist, deliberately engaged in
spoliation of evidence by:
       a) Concealing her role in drafting and facilitating the September 1992 contract between Plaintiff and
          Colon;

       b) Making false statements to BORIM regarding the existence and nature of said contract;
       c) Failing to maintain required records of her involvement in the contract's formation.
488. Defendants, acting in concert, deliberately interfered with Plaintiff's access to courts by:
       a) Systematically concealing the existence of the 1992 contract during administrative and judicial
               proceedings;

       b) Knowingly presenting false information to tribunals regarding the doctor-patient relationship;

       c) Intentionally withholding material evidence that would have affected the outcome of proceedings.

489. The Massachusetts Board of Registration in Medicine (BORIM) violated Plaintiff's procedural due
process rights by:

       a) Failing to provide adequate notice and opportunity to be heard;
       b) Refusing to provide the Plaintiff with a hearing;
       c) No allowing the Plaintiff to explain the memo about criminal conspiracy, which was based on

       the spoliation of exculpatory evidence by defendants Wolfe, Spero and Colon, comprising Extrinsic

       Fraud, and facilitating their insurance fraud whereby they obtain a $150,000 insurance settlement from

       ProMutual Medical Malpractice insurer (now part of Coverys), where ProMutual might have refused to

       settle the suit had they known that the 1992 Express Bilateral Contract terminated the doctor-patient

       relationship;

       d) Making determinations based on deliberately concealed evidence;
       e) Refusing to consider exculpatory evidence regarding the 1992 contract.

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B. Equal Protection Violations (in violation of 42 U.S.C. § 1983)
490. MIT Defendants engaged in discriminatory application of policies and procedures by:
       a) Selectively enforcing campus access restrictions against Plaintiff;
       b) Treating Plaintiff differently from similarly situated individuals without rational basis;
       c) Engaging in systematic exclusion based on protected characteristics.
491. BORIM officials engaged in retaliatory actions against Plaintiff by:
       a) Taking adverse action based on protected speech and activities;
       b) Imposing disproportionate penalties without justification;
       c) Maintaining punitive public disclosures beyond reasonable necessity.

C. First Amendment Violations (in violation of 42 U.S.C. § 1983)
492. MIT Campus Police and administrative officials violated Plaintiff's First Amendment rights through:
       a) Imposing prior restraints on protected speech without justification;
       b) Retaliating against Plaintiff for exercising constitutional rights;
       c) Discriminating based on religious beliefs and ethnic background.

D. Fourth Amendment Violations (in violation of 42 U.S.C. § 1983)
493. MIT Campus Police and Cambridge Police conducted unauthorized detention and search by:
       a) Detaining Plaintiff for approximately 40 minutes without probable cause;
       b) Making anti-Semitic statements during detention;
       c) Acting on false information and discriminatory animus.

E. Administrative Due Process (in violation of 42 U.S.C. § 1983)
494. State officials violated Plaintiff's property rights through:
       a) Revoking Plaintiff's medical license without adequate procedural safeguards;
       b) Making arbitrary licensing decisions based on concealed evidence;
       c) Deliberately manipulating administrative processes to achieve predetermined outcomes.

F. Evidence of Intent (in violation of 42 U.S.C. § 1983)
495. The following facts demonstrate Defendants' knowing and intentional conduct:
       a) Systematic spoliation of evidence over multiple years;
       b) Coordinated efforts to conceal material information from tribunals;
       c) Pattern of discriminatory treatment and retaliation;
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        d) Deliberate interference with Plaintiff's professional activities.

496. MASSACHUSETTS STATE ACTOR DEFENDANTS DID COMMIT JUDICIAL MISCONDUCT IN
THEIR ACTIONS AND/OR OMISSIONS, IN THEIR DENIAL FROM THE PLAINTIFF OF A FAIR
HEARING, DENIAL FROM THE PLAINTIFF DUE PROCESS OF LAW, IN THEIR FAILURE TO
EXERCISE DUE DILIGENCE, IN THEIR JUDICIAL COMPLICITY AND/OR COLLUSION WITH CO-
DEFENDANTS’ EXTRINSIC FRAUD AND FRAUD ON THE COURT. (in violation of 42 U.S.C. § 1983)

G. Damages (in violation of 42 U.S.C. § 1983)
497. As a direct and proximate result of Defendants' misconduct, Plaintiff has suffered:
        a) Economic damages exceeding $4 million;
        b) Loss of professional license and career opportunities;
        c) Severe reputational harm;
        d) Emotional distress and psychological trauma;
        e) Ongoing inability to practice in his chosen profession.

H. Constitutional Violations Clearly Established (in violation of 42 U.S.C. § 1983)
498. At all relevant times, the following rights were clearly established:
        a) Right to procedural due process in administrative proceedings;
        b) Protection against arbitrary and discriminatory government action;
        c) Freedom from religious discrimination;
        d) Protection against unreasonable seizure and detention;
        e) Right to maintain professional licensure subject to due process.
499.   No reasonable official could have believed the following actions were lawful:
        a) Deliberate spoliation of exculpatory evidence;
        b) Systematic concealment of material facts from tribunals;
        c) Discriminatory application of administrative procedures;
        d) Detention based on religious or ethnic animus.




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                            CAUSES OF ACTION

DEFINITIONS:
500. Massachusetts State Actor Defendants: Booker Bush, Martin Crane, Alice Oliff, Richard Waring,
Thomas Reilly, Hon. Kimberly Budd, Hon. Margaret Walsh, Hon. Sarah Luick, Hon. Natalie Monroe, Andrea
Campbell, Hon. Christopher Connolly, Hon. Heide Brieger, Hon. Peter W. Killborn, Andrea Campbell, Board
of Registration in Medicine, Division of Administrative Law Appeals, Massachusetts Superior Courts,
Massachusetts Supreme Judicial Court, Commonwealth of Massachusetts (herein“MSA”), each both in their
personal capacity and their official capacity, with joint and several liability
501. Spoliators of Extrinsic Fraud: Lisa Wolfe, Stanley Spero, Spero and Jorgensson, P.C., Lourdes Colon
(herein “SEF”) both individually and with joint and several liability
502. MIT Lab Defendants: Nagina Mangal, Ann Graybiel, Sally Kornbluth, Massachusetts Institute of
Technology (herein “M-lab”) each both in their personal capacity and their official capacity, with joint and
several liability
503. MIT Police Defendants: MIT Campus Police Department, Craig Martin, Killian Casey, Panache Flint,
Michael Allen, Sally Kornbluth, Massachusetts Institute of Technology (herein “M-police) each both in their
personal capacity and their official capacity, with joint and several liability
504. Research Foundations: CHD Foundation, Simons Foundation Autism Research Initiative
COUNT I - Violation of Civil Rights Under 42 U.S.C. § 1983 - Due Process
               (Against Massachusetts State Actor Defendants)
505. Plaintiff incorporates by reference all preceding paragraphs.
506. The Massachusetts State Actor Defendants, acting under color of state law, deprived Plaintiff of his
constitutional right to procedural due process by:
       A) Denying him a fair hearing at DALA - there was NO HEARING
       B) Denying Due Process in license revocation proceedings at DALA under the Fifth and Fourteenth
          Amendments
       C) MSA denying the Plaintiff the opportunity to be heard
       D) Refusing to allow presentation of exculpatory evidence
       E) Preventing confrontation and cross-examination of adverse witnesses
       F) Making arbitrary decisions without substantial evidence
       G)   Failing to provide adequate notice and opportunity to be heard
       H) Discriminating in the application of BORIM regulations
       I) Violating Equal Protection rights
       J) Denying the freedom and liberty to contract

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        K)   Denying the right to engage in Gainful Employment
        L) Imposing Cruel and Unusual Punishment in violation of Eighth Amendment
        M) Making factual findings without substantial evidence in the milieu of Extrinsic Fraud
507.    These deprivations occurred through:
        A) Unconstitutional application of BORIM regulations;
        B) Enforcing unconstitutional BORIM regulations
        C) Failure to provide adequate procedural safeguards;
        D) Arbitrary and capricious decision-making;
        E) Continued publication of false and defamatory information;
        F) Facilitating constructive ban on Plaintiff’s gainful employment
        G) Violating Eighth Amendment’s prohibition against Cruel and Unusual Punishment.
508. These civil rights violations occurred under the color of state law through:
        A) Official administrative proceedings at DALA
        B) Judicial and quasi-judicial actions, rulings and final court judgments
        C) Regulatory enforcement by BORIM
        D) State-sanctioned internet, public media and newspaper publication of scandalous sexual and false

        information labeling the Plaintiff as having engaged in sexual misconduct with a patient

509. These Due Process violations by MSA comprised both denial of Procedural Due Process and also

        Deprivation of Substantive Due Process

510. These actions violated Plaintiff's rights under the Due Process Clause of the Fourteenth Amendment.

COUNT II - Violation of Civil Rights Under 42 U.S.C. § 1983 - Equal Protection
               (Against Massachusetts State Actor Defendants)
511. Plaintiff incorporates by reference all preceding paragraphs.
512. The Massachusetts State Actor Defendants violated Plaintiff's constitutional right to equal protection by:
        A) Discriminating between similarly situated physicians based on marital status
        B) Creating constitutionally impermissible classifications
        C) Applying regulations that burden fundamental rights without justification
        D) Failing to provide rational basis for disparate treatment
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       E) Creating arbitrary classifications without legitimate state interest
       F) Burdening fundamental constitutional right to marry
       G) Arbitrary enforcement of professional standards
       H) Burdening fundamental constitutional right to marry without justification
       G) Failing strict scrutiny analysis
COUNT III - Violation of Civil Rights Under 42 U.S.C. § 1983 - First Amendment
               (Against Massachusetts State Actor Defendants)
513. Plaintiff incorporates by reference all preceding paragraphs.
514. The Massachusetts State Actor Defendants violated Plaintiff's First Amendment rights by:
       A) Retaliating against protected speech regarding misconduct
       B) Imposing prior restraints on protected expression
       C) Punishing protected petitioning activity
       D) Creating chilling effect on protected speech
       E) Punishing reports of criminal conspiracy in Memo send to BORIM
       F) Sanctioning exposure of evidence spoliation
       G) Penalizing complaints aboud Due Process violations
       H) Retaliating against protected Whistleblower activities
       I) Restricting protected speech about misconduct
       J) Retaliating against protected communications
       K) Limiting Plaintiff’s ability to petition the government
COUNT IV - Violation of Civil Rights Under 42 U.S.C. § 1983 - Right to Privacy
               (Against Massachusetts State Actor Defendants)
515. Plaintiff incorporates by reference all preceding paragraphs.
516. The Massachusetts State Actor Defendants violated Plaintiff's constitutional right to privacy by:
       A) Intruding into private intimate conduct
       B) Regulating private relationships outside clinical settings
       C) Intruding into contractually-created privae sphere in the home
       D) Violating principles established in Lawrence v. Texas
       E) Imposing unwarranted state interference in private affairs
       F) Disregarding contract-based limitations on professional obligations
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517. This violation occurred through:
       a) Imposition of professional obligations in private settings;
       b) Regulation of private conduct outside clinical context;
       c) Interference with intimate associations;
       d) Invasion of contractually protected private sphere;
       e) State intrusion into intimate activities in privacy of home. Lawrence v. Texas
COUNT V - Title IX Discrimination - Sexual Discrimination
              (Against MIT Defendants)
518. Plaintiff incorporates by reference all preceding paragraphs.
519. The MIT Lab and MIT Police Defendants violated Title IX through:
       A) Sexual harassment based on Plaintiff's sexual history
       B) Creation of hostile educational environment
       C) Denial of educational opportunities
       D) Retaliation for protected Title IX complaints to DOE
       E) Deliberate indifference to known discrimination
520. This sexual discrimination was:
       a) Severe, pervasive, and objectively offensive;
       b) Based on sex and sexual history;
       c) Known to appropriate persons at MIT;
       d) Met with deliberate indifference.
COUNT VI - Extrinsic Fraud - via Spoliation of Exculpatory Evidence
              (Against Defendants Wolfe, Spero and Colon)
521. Plaintiff incorporates by reference all preceding paragraphs.
522. Defendants committed extrinsic fraud by:
       A) Concealing the 1992 Express Bilateral Contract from multiple Tribunals [Colon v. Weinberg,
       Wesselhoeft and Boston Evening Medical Center, Board of Registration in Medicine v. Weinberg,
       Weinberg v. Colon, In Re Robert P Weinberg D.O., Weinberg v. Board of Registration in Medicine,
       Weinberg v. Maine Board of Bar Examiners]

       B) Preventing fair presentation of Plaintiff's case
       C) Making false statements to tribunals
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       D) Spoliation of material evidence
       E) Obtaining fraudulent insurance settlement
       F) Destruction of Medical records
       G) Led to false factual findings by multiple tribunals
       H) Led to inaccurate and false determination of Plaintiff’s status with respect to Colon
       I) Caused false conclusion and determination that Plaintiff engaged in sexual misconduct
523. Consequences of this Extrinsic Fraud and Fraud on the Court
       A) Tribunals incorrectly concluded/inferred that Plaintiff was having intimate activities while he was in
          a doctor-patient relationship with Colon

       B) Led to false conclusions that Plaintiff engaged in sexual misconduct with a patient
       C) Concealed the clinical and non-clinical worlds from the tribunals
       D) May have invited Judicial Complicity, Abuse of Discretion, Judicial Misconduct
       E) Ultimately led to revocation of the Plaintiff’s medical license
524. This Extrinsic Fraud and Fraud on the court:
       A) Was directed at judicial machinery itself
       B) Prevented fair submission of controversy
       C) Undermined integrity of judicial process
       D) Prevented fair adjudication on the facts
       E) Deprived the Plaintiff of a fair hearing and Due Process 42 U.S.C. § 1983
       F) Resulted in final court judgments which are null and void, or voidable
COUNT VII - Medical Malpractice and Gross Negligence in practice of psychology
               (Against Defendant Wolfe)
525. Plaintiff incorporates by reference all preceding paragraphs.
526. Defendant Wolfe committed medical malpractice by:
       A) Failing to warn of patient's psychological conditions
       B) Negligently advising termination of doctor-patient relationship
       C) Breaching standard of care
       D) Creating foreseeable risk of harm
       E) Concealing material medical information

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       F) Drafting, facilitating and dictating 1992 Express Bilateral Contract
       G) Failing to provide appropriate guidance for post-termination relationship
       H) Providing negligent advice regarding the contract
       I) Failing to warn and advise the ethical aspects of contractual termination
COUNT VIII - False Imprisonment and False Arrest in violation of Fourth Amendment
               (Against MIT Police Defendants)
527. Plaintiff incorporates by reference all preceding paragraphs.
528. The MIT Police Defendants unlawfully detained Plaintiff by:
       A) Restraining his freedom of movement without justification
       B) Conducting unauthorized detention without probable cause
       C) Seizing the Plaintiff’s person in violation of protections of Fourth Amendment
       D) Implementing an unlawful detention without probable cause
       E) Using threats and intimidation
       F) Acting with discriminatory animus
       G) Coordinating unlawful detention between departments
       H) Initiated a custodial interrogation without basis
       I) Coordinated harassment due to sexual harassment and Anti-Semitic bias
       J) Comprised a Hate Crime because of anti-semitism permeated and encouraged in MIT Campus
       Police Department
529. This unlawful and unconstitutional detention was:
       A) Without legal justification
       B) Comprised an abuse of police power
       C) Based on discriminatory animus
       D) Retaliatory in nature after Plaintiff filed Title IX complaint against MIT
       E) Unconstitutionally prolonged
       F) An excessive use of police power to intimidate the Plaintiff
       G) Based on doctrines of sexual harassment and anti-semitism encouraged and implemented by MIT
       police Chief Craig Martin




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COUNT IX - Defamation, Libel and Slander
               (Against Defendants Mangal, Graybiel, and MIT)
530. Plaintiff incorporates by reference all preceding paragraphs.
531. Defendants made false and defamatory statements by:
       A) Publishing false allegations about Plaintiff's conduct
       B) Making statements they knew were false
       C) Acting with reckless disregard for truth
       D) Causing reputational harm
       E) Interfering with employment opportunities
COUNT X - Breach of Contract - formed and signed in September 2022
               (Against MIT)
532. Plaintiff incorporates by reference all preceding paragraphs.
533. MIT breached its contractual obligations by:
       A) Terminating research fellowship without cause
       B) Denying access to research data
       C) Failing to provide agreed services
       D) Violating academic policies
       E) Retaliating against protected activities
COUNT XI - Intentional Infliction of Emotional Distress
               (Against All Defendants)
534. Plaintiff incorporates by reference all preceding paragraphs.
535. Defendants' extreme and outrageous conduct:
       A) Was intended to cause severe emotional distress
       B) Actually caused severe emotional distress
       C) Exceeded bounds of decency
       D) Created ongoing trauma and psychological harm
COUNT XII - Civil Conspiracy
               (Against Defendants Wolfe, Spero and Colon)
536. Plaintiff incorporates by reference all preceding paragraphs.
537. Defendants conspired to:
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       A) Conceal material evidence
       B) Submit false statements to tribunals
       C) Obstruct justice
       D) Interfere with Plaintiff's rights
       E) Commit fraud upon the courts
COUNT XIII - Tortious Interference with Contract
               (Against Defendants Mangal and Graybiel)
538. Plaintiff incorporates by reference all preceding paragraphs.
539. Defendants intentionally interfered with Plaintiff's contractual relationships by:
       A) Causing breach of research fellowship agreement
       B) Preventing performance of academic contracts
       C) Acting with improper purpose
       D) Causing economic harm
       E) Using improper means
COUNT XIV - Unjust Enrichment
               (Against Research Foundation Defendants)
540. Plaintiff incorporates by reference all preceding paragraphs.
541. The Research Foundation Defendants (Simons Foundation Autism Research Initiative, CHDI Foundation)
were unjustly enriched by:

       A) Retaining benefits of Plaintiff's research valued at $65,000
       B) Using Plaintiff’s intellectual property without compensation
       C) Appropriating research data intended for Plaintiff’s doctoral research dissertation
       D) Receiving value without payment
       E) Profiting from wrongful termination
       F) Denial of access to research results needed by Plaintiff to complete his doctoral dissertation
542. The enrichment was unjust because:
       A) Defendants knew of benefits received
       B) Retention violates principles of Equity
       C) Plaintiff received no compensation

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        D) Benefits resulted from discriminatory termination on the basis of sexual discrimination and
        anti-semitic bias and racism

COUNT XV - Violation of Civil Rights Under 42 U.S.C. § 1983 - Eighth Amendment
               (Against Massachusetts State Actor Defendants)
543. Plaintiff incorporates by reference all preceding paragraphs.
544. The Massachusetts State Actor Defendants violated Plaintiff's Eighth Amendment rights by:
        A) Imposing cruel and unusual punishment through permanent internet publication
        B) Creating perpetual employment barriers
        C) Inflicting excessive fines through loss of income exceeding $3 million
        D) Causing ongoing public humiliation and ostracism
        E) Imposing punishment beyond statutory authorization and statutory period of revocation
        F) Comprised Cruel and Unusual Punishment in violation of the Eighth Amendment
545. MSA actions also contitute excessive fines through:
        A) Loss of over $3M (three million dollars of lost revenue over 22 years)
        B) Caused permanent barrier to employment labeling Plaintiff as undesirable employee
        C) Destruction of professional reputation comprising extreme defamation
        D) Ongoing economic penalties regarding job offer rescissions, barrier to networking and
        substantial loss of economic opportunities, termination from jobs

546. MSA Defendants imposed Cruel and Unusual Punishment through:

        A) Permanent professional destruction and destruction of Plaintiff’s reputation

        B) Ongoing public humiliation and ostracism from easily-accessible internet publication that Plaintiff
        engaged in sexual misconduct with a patient

        C) Social ostracism and STIGMA PLUS

        D) Economic devastation exceeding $3M (three million dollars)

547.    Stigma plus doctrine is a principle that enables a plaintiff, in limited circumstances, to seek relief for
government defamation under federal constitutional law.




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548. According to this principle, defamation by a government official is actionable as a civil-rights violation
only if the victim suffers some loss of property interest like continued employment in a government job.

549. To prevail on this doctrine, plaintiffs must plead (1) the utterance of a statement sufficiently derogatory
to injure his or her reputation, that is capable of being proved false, and that he or she claims is false, and (2) a
material state-imposed burden or state-imposed alteration of the plaintiffs status or rights. Spinale v. USDA,
621 F. Supp. 2d 112 (S.D.N.Y. 2009).

COUNT XVI - Legal Malpractice - causing deprivation of civil right under 42 U.S.C. § 1983
               (Against Defendants Hunter, DiCianni, and Stolzberg)
550. Plaintiff incorporates by reference all preceding paragraphs.
551. The Attorney Defendants breached their professional duties by:
       A) Failing to disclose conflicts of interest
       B) Providing negligent representation
       C) Failing to present exculpatory evidence
       D) Making strategic errors that harmed Plaintiff
       E) Breaching fiduciary duties
COUNT XVII - Professional Negligence - causing deprivation of civil right under 42 U.S.C. § 1983
       (Against Expert Witness Beck)
552. Plaintiff incorporates by reference all preceding paragraphs.
553. Defendant Beck committed professional negligence by:
       A) Failing to investigate critical evidence
       B) Rendering invalid expert opinions
       C) Disregarding material facts
       D) Breaching professional standards
       E) Causing foreseeable harm to Plaintiff
COUNT XVIII - Violation of Civil Rights Under 42 U.S.C. § 1983 - Brady Violations
               (Against BORIM Prosecutors)
554. Plaintiff incorporates by reference all preceding paragraphs.
555. The BORIM Prosecutors violated Plaintiff's constitutional rights by:
       A) Withholding material exculpatory evidence
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       B) Failing to disclose favorable evidence
       C) Suppressing evidence of witness tampering
       D) Concealing evidence undermining witness credibility
       E) Preventing fair adjudication
COUNT XIX - Title VII Employment Discrimination
               (Against MIT)
556. Plaintiff incorporates by reference all preceding paragraphs.
557. MIT discriminated against Plaintiff in violation of Title VII by:
       A) Creating hostile work environment based on sex
       B) Discriminating in terms and conditions of employment
       C) Retaliating against protected complaints
       D) Using sexual history as basis for adverse actions
       E) Engaging in pattern of harassment
COUNT XX - Civil Rights Violations - Anti-Semitic Discrimination
               (Against MIT Police Defendants)
558. Plaintiff incorporates by reference all preceding paragraphs.
559. The MIT Police Defendants engaged in discriminatory conduct through:
       A) Targeted harassment based on Jewish identity
       B) Creation of hostile environment
       C) Discriminatory enforcement of policies
       D) Making anti-Semitic statements
       E) Retaliating against complaints of discrimination
COUNT XXI - Null and Void Coerced Stipulations - under Duress and Extrinsic Fraud
               (Against Massachusetts State Actor Defendants)
560. Plaintiff incorporates by reference all preceding paragraphs.
561. The stipulations should be declared void because:
       A) Obtained through duress and coercion
       B) Made without knowing and voluntary consent
       C) Procured through extrinsic fraud
       D) Signed under threat of punishment
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       E) Executed without due process
COUNT XXII - Abuse of Process
               (Against Massachusetts State Actor Defendants)
562. Plaintiff incorporates by reference all preceding paragraphs.
563. Defendants abused legal process by:
       A) Using proceedings for improper purpose
       B) Misusing disciplinary authority
       C) Manipulating administrative procedures
       D) Acting with malicious intent
       E) Causing special damages
COUNT XXIII - Spoliation of Exculpatory Evidence - comprising Extrinsic Fraud
               (Against Defendants Wolfe, Spero and Colon)
564. Plaintiff incorporates by reference all preceding paragraphs.
565. Defendants intentionally destroyed or concealed evidence by:
       A) Removing sections from medical records
       B) Concealing 1992 Express Bilateral Contract
       C) Destroying documentation of contract formation
       D) Preventing access to material evidence
       E) Interfering with fact-finding process
COUNT XXIV - Insurance Fraud - against ProMutual Medical Malpractice insurer
               (Against Defendants Wolfe, Spero and Colon)
566. Plaintiff incorporates by reference all preceding paragraphs.
567. Defendants committed insurance fraud by:
       A) Obtaining $150,000 settlement through false pretenses
       B) Concealing termination of doctor-patient relationship
       C) Making material misrepresentations to insurer
       D) Submitting false claims
       E) Causing damages through fraudulent conduct



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COUNT XXV - Breach of Fiduciary Duty
               (Against Defendants Wolfe and Attorney Defendants)
568. Plaintiff incorporates by reference all preceding paragraphs.
569. Defendants breached their fiduciary duties by:
       A) Failing to disclose conflicts of interest
       B) Acting against Plaintiff's interests
       C) Concealing material information
       D) Violating duties of loyalty and care
       E) Causing damages through breaches
570. Dr Wolfe breached her fiduciary duties as:
       A) Plaintiff’s psychologist during couples therapy in Lexington, MA office
       B) Medical professional with knowledge of psychiatric conditions
       C) Facilitator, conceiver and drafter of 1992 Express Bilateral Contract
       D) Healthcare provider with duty of confidentiality
571. These breaches included:
       A) Disclosure of confidential information
       B) Concealment of material diagnoses
       C) False testimony about therapeutic relationship
       D) Concealment of 1992 Express Bilateral Contract
       E) Violation of professional ethics
COUNT XXVI - Violation of Contract Clause - U.S. Constitution Art. I, § 10
               (Against Massachusetts State Actor Defendants)
572. Plaintiff incorporates by reference all preceding paragraphs.
573. The Massachusetts State Actor Defendants violated the Contract Clause by:
       A) Impairing obligations under the 1992 Express Bilateral Contract
       B) Retroactively nullifying valid private contract rights
       C) Acting ultra vires and Exceeding state authority to regulate contracts - applying BORIM regulations
       to override private contracts

       D) Acting without legitimate state interest

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       E) Failing to use reasonable and appropriate means
       F) Attempting to nullify the 1992 Express Bilateral Contract between two private parties
       G) Ignoring the constitutional protection of private contracts stated in Article I, Section 10.
COUNT XXVII - Malicious Prosecution
                      (Against Massachusetts State Actor Defendants)
574. Plaintiff incorporates by reference all preceding paragraphs.
575. Defendants engaged in malicious prosecution by:
       A) Pursuing charges without probable cause
       B) Acting with improper purpose
       C) Continuing prosecution despite exculpatory evidence
       D) Causing special damages
       E) Acting with malice
COUNT XXVIII - Breach of Implied Covenant of Good Faith and Fair Dealing
               (Against MIT and Research Foundation Defendants)
576. Plaintiff incorporates by reference all preceding paragraphs.
577. Defendants breached the implied covenant by:
       A) Unfairly interfering with contract rights
       B) Acting in bad faith regarding research data
       C) Depriving Plaintiff of contract benefits
       D) Failing to deal fairly and honestly
       E) Using pretextual reasons for termination
COUNT XXIX - Conversion
               (Against MIT and Research Foundation Defendants)
578. Plaintiff incorporates by reference all preceding paragraphs.
579. Defendants wrongfully converted Plaintiff's property by:
       A) Retaining Plaintiff's research data
       B) Refusing access to intellectual property
       C) Exercising unauthorized control
       D) Depriving Plaintiff of property rights
       E) Causing damages through wrongful retention
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COUNT XXX - Negligent Infliction of Emotional Distress
               (Against All Defendants)
580. Plaintiff incorporates by reference all preceding paragraphs.
581. Defendants' negligent conduct:
       A) Created unreasonable risk of emotional harm
       B) Caused physical symptoms and injury
       C) Was foreseeable to cause distress
       D) Resulted in objective physical manifestations
       E) Met requirements under Massachusetts law
COUNT XXXI - Judicial Misconduct Under State Law
               (Against Massachusetts State Actor Defendants)
582. Plaintiff incorporates by reference all preceding paragraphs.
583. The judicial defendants engaged in misconduct by:
       A) Failing to exercise due diligence
       B) Demonstrating actual bias
       C) Refusing to investigate exculpatory evidence
       D) Abusing judicial authority
       E) Acting beyond jurisdiction
COUNT XXXII - Civil Rights Conspiracy Under 42 U.S.C. § 1985
               (Against All Defendants)
584. Plaintiff incorporates by reference all preceding paragraphs.
585. Defendants conspired to violate Plaintiff's civil rights by:
       A) Agreeing to deprive constitutional rights
       B) Acting in concert to interfere with rights
       C) Taking overt acts in furtherance
       D) Causing injury through conspiracy
       E) Targeting based on protected status
COUNT XXXIII - Violation of Massachusetts Civil Rights Act
               (Against All Defendants)
586. Plaintiff incorporates by reference all preceding paragraphs.
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587. Defendants violated state civil rights law through:
       A) Interference with secured rights
       B) Threats, intimidation and coercion
       C) Creating hostile environment
       D) Discriminatory conduct
       E) Retaliatory actions
COUNT XXXIV - Declaratory Relief: Declaratory Judgments
       (Against All Defendants)
588. Plaintiff incorporates by reference all preceding paragraphs.
589. Plaintiff seeks declarations that:
       A) The 1992 Contract was valid and binding Constitution, Art.I, Sect.10; Mass contract law
       B) BORIM regulations are unconstitutional
       C) Stipulations obtained through fraud are void
       D) Prior judgments are void due to fraud
       E) Defendants violated constitutional rights 42 U.S.C. § 1983
COUNT XXXV - Violation of Public Records Law
               (Against Massachusetts State Actor Defendants)
590. Plaintiff incorporates by reference all preceding paragraphs.
591. Defendants violated public records law by:
       A) Withholding required documents
       B) Failing to maintain records
       C) Destroying evidence
       D) Concealing public records
       E) Preventing access to records
COUNT XXXVI - Unconstitutional Burden on Fundamental Right to Marriage
               (Against Massachusetts State Actor Defendants)
592. Plaintiff incorporates by reference all preceding paragraphs.
593. The BORIM regulations unconstitutionally burden the fundamental right to marry by:
       A) Coercing physicians to marry patients to avoid discipline
       B) Creating impermissible pressure on marriage decisions
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       C) Failing strict scrutiny analysis
       D) Lacking compelling state interest
       E) Using means not narrowly tailored
594. These regulations must be struck down as they:
       A) Violate fundamental rights protected by Due Process Clause
       B) Create unconstitutional conditions on professional licensure
       C) Improperly influence intimate personal choices
       D) Exceed legitimate state authority
       E) Fail constitutional scrutiny
COUNT XXXVII - Unconstitutional Taking Without Just Compensation
               (Against Massachusetts State Actor Defendants)
595. Plaintiff incorporates by reference all preceding paragraphs.
596. The State Actor Defendants' actions constitute an unconstitutional taking by:
       A) Depriving Plaintiff of property interest in medical license
       B) Causing loss of established economic interests
       C) Failing to provide just compensation
       D) Exceeding legitimate regulatory authority
       E) Destroying economic value without justification
COUNT XXXVIII - Violation of Constitutional Right to Engage in Chosen Profession
               (Against Massachusetts State Actor Defendants)
597. Plaintiff incorporates by reference all preceding paragraphs.
598. Defendants violated Plaintiff's fundamental right to engage in chosen profession by:
       A) Creating permanent barrier to medical practice
       B) Imposing arbitrary and irrational restrictions
       C) Exceeding legitimate state interests
       D) Failing to provide rational basis
       E) Causing constructive lifetime ban on employment
599. Defendants also violated the Plaintiff’s right to engage in gainful employment, through its publication of
false, scandalous and defamatory allegations that Plaintiff engaged in sexual misconduct with a patient


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rendering Plaintiff constructively unemployable by any Employer because Plaintiff’s label makes him a
socially undesirable employee, in the same category as Sexual Deviants, rapists and Pedophiles.

600. MSA Defendants violated the Plaintiff’s right to gainful employment by:

       A) Publishing false, defamatory and scandalous allegations of sexual misconduct

       B) Creating permanent internet stigma preventing Plaintiff’s employment

       C) Causing termination from fifty-one (51) jobs and rescission of over one hundred (100) job offers

       D) Constructively rendering Plaintiff permanently unemployable

COUNT XXXIX - Unconstitutional Bill of Attainder
               (Against Massachusetts State Actor Defendants)
601. Plaintiff incorporates by reference all preceding paragraphs.
602. The BORIM regulations as applied constitute an unconstitutional bill of attainder by:
       A) Imposing punishment without judicial trial
       B) Targeting specific individual for punishment
       C) Creating permanent disabilities
       D) Exceeding legitimate regulatory purpose
       E) Violating separation of powers
COUNT XL - Violation of Substantive Due Process - Right to Privacy
               (Against Massachusetts State Actor Defendants)
603. Plaintiff incorporates by reference all preceding paragraphs.
604. Defendants violated fundamental right to privacy by:
       A) Intruding into intimate personal relationships Lawrence v. Texas
       B) Regulating private conduct in non-clinical settings
       C) Exceeding legitimate state interests
       D) Failing strict scrutiny analysis
       E) Violating principles of Lawrence v. Texas
COUNT XLI - Unconstitutional Retroactive Legislation
               (Against Massachusetts State Actor Defendants)
605. Plaintiff incorporates by reference all preceding paragraphs.
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606. The retroactive application of BORIM regulations is unconstitutional by:
       A) Impairing vested contract rights
       B) Applying new standards to past conduct
       C) Failing to provide fair notice
       D) Creating new obligations retroactively
       E) Violating due process principles
COUNT XLII - Unconstitutional Violation of Freedom of Association
               (Against Massachusetts State Actor Defendants)
607. Plaintiff incorporates by reference all preceding paragraphs.
608. Defendants violated First Amendment freedom of association by:
       A) Restricting private relationships
       B) Imposing unconstitutional conditions
       C) Exceeding legitimate regulatory scope
       D) Failing constitutional scrutiny
       E) Infringing protected associational rights
COUNT XLIII - Unconstitutional Excessive Fines - Eighth Amendment
               (Against Massachusetts State Actor Defendants)
609. Plaintiff incorporates by reference all preceding paragraphs.
610. The economic penalties imposed constitute excessive fines by:
       A) Causing grossly disproportionate economic harm
       B) Exceeding $3 million in lost income
       C) Creating permanent financial disabilities
       D) Lacking proportionality to offense
       E) Violating Eighth Amendment principles
COUNT XLIV - Violation of Supremacy Clause - U.S. Constitution
               (Against Massachusetts State Actor Defendants)
611. Plaintiff incorporates by reference all preceding paragraphs.
612. The state regulations violate the Supremacy Clause by:
       A) Attempting to override constitutionally protected contract rights
       B) Conflicting with federal constitutional protections
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       C) Exceeding state authority
       D) Interfering with federal rights
       E) Creating direct conflict with federal law
COUNT XLV - Unconstitutional Interference with Interstate Commerce
               (Against Massachusetts State Actor Defendants)
613. Plaintiff incorporates by reference all preceding paragraphs.
614. The state regulations unconstitutionally burden interstate commerce by:
       A) Creating barriers to interstate medical practice
       B) Imposing excessive burdens on interstate commerce
       C) Exceeding legitimate local interests
       D) Failing Pike balancing test
       E) Discriminating against interstate commerce
COUNT XLVI - Void Judgments Due to Extrinsic Fraud
               (Against Defendants Wolfe, Spero, and Colon)
615. Plaintiff incorporates by reference all preceding paragraphs.
616. The final judgments in prior proceedings should be declared void because:
       A) They were obtained through extrinsic fraud that prevented fair hearing
       B) Defendants concealed the 1992 Express Bilateral Contract
       C) The fraud prevented presentation of meritorious defense
       D) The concealment affected core issues in proceedings
       E) The judgments resulted from corruption of judicial process
617. Under Supreme Court precedent including Hazel-Atlas Glass Co. v. Hartford-Empire Co., these
judgments are void ab initio due to fraud on the court.
COUNT XLVII - Criminal Conspiracy to Commit Extrinsic Fraud
               (Against Defendants Wolfe, Spero, and Colon)
618. Plaintiff incorporates by reference all preceding paragraphs.
619. Defendants engaged in criminal conspiracy by:
       A) Agreeing to conceal exculpatory evidence
       B) Taking overt acts to destroy and hide evidence
       C) Acting with intent to deceive tribunals
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       D) Coordinating false testimony and statements
       E) Causing substantial harm through conspiracy
COUNT XLVIII - Fraudulent Inducement of Insurance Settlement
               (Against Defendants Wolfe, Spero, and Colon)
620. Plaintiff incorporates by reference all preceding paragraphs.
621. Defendants fraudulently induced $150,000 insurance settlement by:
       A) Concealing termination of doctor-patient relationship
       B) Making material misrepresentations to insurer
       C) Suppressing existence of 1992 Contract
       D) Acting with intent to deceive
       E) Obtaining settlement through fraud
COUNT XLIX - Obstruction of Justice Through Spoliation
               (Against Defendants Wolfe, Spero, and Colon)
622. Plaintiff incorporates by reference all preceding paragraphs.
623. Defendants obstructed justice by:
       A) Destroying medical records documenting contract
       B) Removing evidence from official files
       C) Preventing access to material evidence
       D) Interfering with judicial proceedings
       E) Acting with intent to obstruct
COUNT L - Subornation of Perjury
               (Against Defendant Spero)
624. Plaintiff incorporates by reference all preceding paragraphs.
625. Defendant Spero suborned perjury by:
       A) Procuring false testimony
       B) Concealing knowledge of 1992 Contract
       C) Facilitating false statements to tribunals
       D) Acting as officer of court while concealing truth
       E) Causing harm through false testimony


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COUNT LI - Fraudulent Concealment
               (Against Defendants Wolfe, Spero, and Colon)
626. Plaintiff incorporates by reference all preceding paragraphs.
627. Defendants fraudulently concealed material evidence by:
       A) Having duty to disclose material facts
       B) Deliberately concealing 1992 Contract
       C) Acting with intent to deceive
       D) Preventing discovery of truth
       E) Causing harm through concealment
COUNT LII - Abuse of Process Through Fraud
               (Against Defendants Wolfe, Spero, and Colon)
628. Plaintiff incorporates by reference all preceding paragraphs.
629. Defendants abused legal process by:
       A) Using proceedings to perpetrate fraud
       B) Manipulating judicial system through deception
       C) Acting with improper purpose
       D) Misusing legal procedures
       E) Causing special damages
COUNT LIII - Civil RICO Violations
               (Against Defendants Wolfe, Spero, Colon, and MSA)
630. Plaintiff incorporates by reference all preceding paragraphs.
631. Defendants engaged in RICO enterprise through:
       A) Pattern of racketeering activity
       B) Multiple acts of mail and wire fraud
       C) Conspiracy to obstruct justice
       D) Use of interstate commerce to defraud
       E) Causing injury to business/property
COUNT LIV - Common Law Fraud
               (Against Defendants Wolfe, Spero, and Colon)
632. Plaintiff incorporates by reference all preceding paragraphs.
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633. Defendants committed common law fraud by:
       A) Making false representations
       B) Acting with knowledge of falsity
       C) Intending to induce reliance
       D) Causing justifiable reliance
       E) Resulting in damages
COUNT LV - Breach of Fiduciary Duty Through Fraud
               (Against Defendant Wolfe)
634. Plaintiff incorporates by reference all preceding paragraphs.
635. Defendant Wolfe breached fiduciary duties by:
       A) Concealing material medical information
       B) Failing to disclose known risks
       C) Violating duties of loyalty and care
       D) Acting contrary to patient interests
       E) Causing harm through breaches
COUNT LVI - Judicial Misconduct Through Denial of Due Process
               (Against Massachusetts State Actor Judicial Defendants)
636. Plaintiff incorporates by reference all preceding paragraphs.
637. The judicial defendants engaged in misconduct by:
       A) Deliberately denying constitutional right to hearing
       B) Refusing to allow presentation of exculpatory evidence
       C) Preventing confrontation of adverse witnesses
       D) Acting with knowledge of due process violations
       E) Causing deprivation of fundamental rights
638. This misconduct exceeded judicial immunity because:
       A) It comprised non-judicial acts
       B) It was taken in complete absence of jurisdiction
       C) It violated clearly established rights
       D) It constituted abuse of judicial office


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COUNT LVII - Judicial Complicity in Extrinsic Fraud
               (Against Massachusetts State Actor Judicial Defendants)
639. Plaintiff incorporates by reference all preceding paragraphs.
640. The judicial defendants were complicit in fraud by:
       A) Failing to investigate known spoliation of evidence
       B) Ignoring evidence of witness tampering
       C) Refusing to exercise due diligence
       D) Facilitating fraud on court through inaction
       E) Acting with knowledge of fraudulent scheme
641. This complicity exceeded judicial immunity because:
       A) It comprised administrative rather than judicial acts
       B) It facilitated known criminal conduct
       C) It corrupted judicial process itself
       D) It violated clearly established rights
COUNT LVIII - Malicious Prosecution Through Judicial Office
               (Against Massachusetts State Actor Judicial Defendants)
642. Plaintiff incorporates by reference all preceding paragraphs.
643. The judicial defendants engaged in malicious prosecution by:
       A) Continuing proceedings without probable cause
       B) Acting with improper purpose and malice
       C) Knowingly relying on false evidence
       D) Facilitating wrongful prosecution
       E) Causing special damages
644. These actions exceeded judicial immunity because:
       A) They were taken in administrative capacity
       B) They comprised non-judicial acts
       C) They violated clearly established rights
       D) They constituted abuse of process



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COUNT LIX - Conspiracy to Violate Civil Rights Through Judicial Office
               (Against Massachusetts State Actor Judicial Defendants)
645. Plaintiff incorporates by reference all preceding paragraphs.
646. The judicial defendants conspired to violate rights by:
       A) Agreeing to deprive constitutional rights
       B) Coordinating denial of fair hearing
       C) Taking overt acts to prevent due process
       D) Acting with knowledge of violations
       E) Causing constitutional injuries
647. This conspiracy exceeded judicial immunity because:
       A) It involved non-judicial acts
       B) It corrupted judicial process itself
       C) It violated clearly established rights
       D) It comprised administrative functions
COUNT LX - Abuse of Judicial Process
               (Against Massachusetts State Actor Judicial Defendants)
648. Plaintiff incorporates by reference all preceding paragraphs.
649. The judicial defendants abused judicial process by:
       A) Using proceedings for improper purpose
       B) Knowingly facilitating false proceedings
       C) Acting outside judicial authority
       D) Engaging in administrative misconduct
       E) Causing special damages
650. This abuse exceeded judicial immunity because:
       A) It comprised non-judicial acts
       B) It was taken without jurisdiction
       C) It violated clearly established rights
       D) It constituted administrative misconduct



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COUNT LXI - Judicial Dereliction of Duty
       (Against Massachusetts State Actor Judicial Defendants)
651. Plaintiff incorporates by reference all preceding paragraphs.
652. The judicial defendants abandoned their duties by:
       A) Failing to investigate known criminal conduct
       B) Refusing to exercise due diligence
       C) Ignoring evidence of fraud on court
       D) Facilitating miscarriage of justice
       E) Acting with deliberate indifference
653. This dereliction exceeded judicial immunity because:
       A) It involved administrative functions
       B) It comprised non-judicial acts
       C) It corrupted judicial process
       D) It violated clearly established rights
COUNT LXII - Misprision of Felony Through Judicial Office
               (Against Massachusetts State Actor Judicial Defendants)
654. Plaintiff incorporates by reference all preceding paragraphs.
655. The judicial defendants committed misprision by:
       A) Concealing known felonious conduct
       B) Failing to report criminal activity
       C) Taking steps to prevent discovery
       D) Acting with knowledge of crimes
       E) Causing continuation of criminal scheme
656. This misconduct exceeded judicial immunity because:
       A) It involved non-judicial acts
       B) It facilitated criminal conduct
       C) It violated clearly established duties
       D) It comprised administrative functions



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COUNT LXIII - Deprivation of Rights Through Judicial Misconduct - § 1983
               (Against Massachusetts State Actor Judicial Defendants)
657. Plaintiff incorporates by reference all preceding paragraphs.
658. The judicial defendants violated § 1983 by:
       A) Acting under color of state law
       B) Depriving constitutional rights
       C) Engaging in non-judicial misconduct
       D) Exceeding judicial authority
       E) Causing constitutional injuries
659. These violations justify declaratory and injunctive relief because:
       A) They involve ongoing violations
       B) They exceed judicial immunity
       C) They violate federal rights
       D) They require prospective relief
COUNT LXIV - Pattern of Judicial Misconduct
               (Against Massachusetts State Actor Judicial Defendants)
660. Plaintiff incorporates by reference all preceding paragraphs.
661. The judicial defendants engaged in pattern of misconduct through:
       A) Repeated due process violations
       B) Systematic denial of rights
       C) Coordinated deprivation of hearings
       D) Ongoing constitutional violations
       E) Causing cumulative injuries
662. This pattern exceeded judicial immunity because:
       A) It involved administrative acts
       B) It comprised non-judicial conduct
       C) It violated clearly established rights
       D) It corrupted judicial process



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COUNT LXV Thirteenth Amendment violation - Involuntary Servitude
                (Against MSA)
663. Plaintiff incorporates by reference all preceding paragraphs.
664. BORIM’s regulations create unconstitutional involuntary servitude by:
         A) Mandating physician duties 24/7 in the non-clinical world
         B) Nullifying the contractual creation of the non-clinical world
         C) Forcing Plaintiff to practice medicine against his will in non-clinical world
         D) Forcing medical practice against contractual agreement
         E) Imposing mandatory work requirements in private spaces
         F) Comprise mandatory conscription of Plaintiff against his will
         G) Violates Plaintiff’s free will and autonomy to practice medicine when and where he wants
COUNT LXVI Anti-Semitic Discrimination and Hate Crimes
         (Against MIT-lab, MIT-police)
665. Plaintiff incorporates by reference all preceding paragraphs.
666. Defendants engaged in discriminatory conduct through:
         A) Targeted harassment based on Jewish Identity
         B) Creation of hostile educational environment during Israel-Hamas conflict
         C) Retaliatory actions for Plaintiff’s filing a Title IX complaint
         D) Coordinated discriminatory enforcement of anti-Semitic, sexually-harassing doctrines implemented
         by MIT Police Chief Craig Martin

         E) History of Sexual Discrimination and Harassment during 10-year period of Plaintiff’s employment
         as a Research Scientist in the laboratory of ChoKyun Rha

COUNT LXVII - NIED - Bystander Claim for Wife During False Imprisonment
                (Against MIT Police Defendants)

667. Plaintiff incorporates by reference all preceding paragraphs.
668. The MIT Police defendants' actions during the July 18, 2024 detention incident caused severe emotional
distress to Plaintiff's wife who was present during the incident.
669. Under the Dillon v. Legg bystander liability standard, Plaintiff's wife has a valid claim for NIED
because:

    a)     She was located at the immediate scene of the incident;
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    b)     She directly observed the traumatic detention and threatening conduct;
    c)     She is closely related to the Plaintiff as his spouse;
    d)     She suffered severe emotional distress requiring medical treatment at Massachusetts General
           Hospital.

670. The MIT Police defendants should have reasonably foreseen that their threatening conduct and display of

firearms would cause severe emotional distress to Plaintiff's wife who was present.


COUNT LXVIII - Violation of Title VI of the Civil Rights Act
         (Against MIT Defendants)

670. Plaintiff incorporates by reference all preceding paragraphs.

671. MIT receives federal funding and is subject to Title VI of the Civil Rights Act of 1964.
672. The MIT defendants discriminated against Plaintiff on the basis of his Jewish ethnicity and religion
through:
    a)     Creating a hostile academic environment
    b)     Terminating his research position
    c)     Denying access to research data
    d)     Making anti-Semitic comments and taking discriminatory actions
    e)     Retaliating against him for complaining about discrimination
673. These actions violated Title VI's prohibition on discrimination by recipients of federal funds.

COUNT LXIX - Civil Rights Conspiracy Under 42 U.S.C. § 1985(3)
                 (Against MIT Police Defendants and Cambridge Police)

674. Plaintiff incorporates by reference all preceding paragraphs.
675. The MIT Police and Cambridge Police defendants conspired to deprive Plaintiff of his constitutional

rights by:


    e)     Coordinating an unlawful detention based on discriminatory animus
    f)     Acting jointly to violate Plaintiff's Fourth Amendment rights
    g)     Targeting Plaintiff based on his Jewish identity
    h)     Retaliating against Plaintiff for filing Title IX complaints

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    i)     Creating pretextual reasons for the detention

676. This conspiracy was motivated by discriminatory animus against Plaintiff's Jewish identity.

COUNT LXX - Malicious Prosecution (Against MIT Police Defendants)

677. Plaintiff incorporates by reference all preceding paragraphs.

678. The MIT Police defendants maliciously initiated proceedings against Plaintiff by:

    j)     Making false allegations about vehicle registration violations
    k)     Providing false information to Cambridge Police
    l)     Acting with malice and discriminatory intent
    m) Lacking probable cause for the detention
    n)     Causing special damages including medical treatment for Plaintiff's wife

679. These proceedings were terminated in Plaintiff's favor when no charges were filed.

COUNT LXXI - Violation of Massachusetts Civil Rights Act, M.G.L. c. 12 §§ 11H-11I
         (Against All Defendants)

680. Plaintiff incorporates by reference all preceding paragraphs.

681. The defendants interfered with Plaintiff's civil rights through:

    a) Threats, intimidation and coercion

    b) Creating a hostile environment based on religion and ethnicity

    c) Retaliating against protected complaints

    d) Discriminatory application of policies

    e) Coordinated harassment and detention

682.     These actions violated the Massachusetts Civil Rights Act's prohibition on interference with civil rights
through threats, intimidation or coercion.

COUNT LXXII - Breach of Implied Covenant of Good Faith and Fair Dealing
                 (Against MIT defendants)

683. Plaintiff incorporates by reference all preceding paragraphs.


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684. MIT breached the implied covenant by:
    a)   Terminating Plaintiff's research position in bad faith
    b)   Using pretextual reasons for termination
    c)   Denying access to research materials
    d)   Failing to follow proper procedures
    e)   Acting with discriminatory intent
685. These actions violated MIT's duty to act in good faith regarding Plaintiff's research position contract.

COUNT LXXIII - Civil Conspiracy to Violate Anti-Discrimination Laws
         (Against MIT Lab Defendants)

686. Plaintiff incorporates by reference all preceding paragraphs.

687. The MIT Lab defendants conspired to discriminate against Plaintiff through:
    a)   Coordinated efforts to terminate his position
    b)   Joint creation of hostile environment
    c)   Collective retaliation for complaints
    d)   Shared discriminatory intent
    e)   Agreement to deny access to research materials

688. This conspiracy caused Plaintiff substantial damages including loss of his academic career.

COUNT LXXIV - Professional Negligence (Against Research Foundations)

689. Plaintiff incorporates by reference all preceding paragraphs.

690. The Research Foundation defendants breached their professional duties by:
    a)   Failing to ensure proper oversight of research
    b)   Allowing discriminatory conduct to occur
    c)   Not protecting research integrity
    d)   Enabling misappropriation of research
    e)   Failing to follow grant requirements
691. These breaches caused Plaintiff substantial damages including loss of career opportunities.

COUNT LXXV - Tortious Interference with Prospective Economic Advantage (Against All Defendants)

692. Plaintiff incorporates by reference all preceding paragraphs.

693. Defendants interfered with Plaintiff's prospective economic advantages by:
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    a)     Publishing defamatory information online

    b)     Creating barriers to employment

    c)     Causing rescission of job offers

    d)     Damaging professional reputation

    e)     Creating stigma affecting employability

694. This interference caused substantial economic damages including lost employment opportunities.


COUNT LXXVI - Federal Civil Rights Violations Under Color of State Law (42 U.S.C. § 1983)
                (Against Cambridge Police Department)

695.     Plaintiff incorporates by reference all preceding paragraphs.
696. The Cambridge Police Department, acting under color of state law, violated Plaintiff's constitutional
rights by:

    o)     Participating in unlawful detention
    p)     Acting on false information from MIT Police
    q)     Using excessive force and intimidation
    r)     Failing to prevent discriminatory conduct
    s)     Retaliating against protected complaints

697. These actions violated Plaintiff's clearly established constitutional rights.

COUNT LXXVII - Abuse of Process (Against MIT Police Defendants)

698. Plaintiff incorporates by reference all preceding paragraphs.

699. The MIT Police defendants abused legal process by:
    a)     Using detention powers for improper purpose
    b)     Retaliating against protected complaints
    c)     Creating pretextual reasons for detention
    d)     Acting with discriminatory intent
    e)     Causing special damages
700. This abuse of process caused Plaintiff substantial damages.


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COUNT LXXVIII - Vicarious Liability (Against MIT and Research Foundations)

701.     Plaintiff incorporates by reference all preceding paragraphs.

702. MIT and the Research Foundations are vicariously liable for their employees' discriminatory conduct
under respondeat superior because:
    a)     The conduct occurred within scope of employment
    b)     Defendants had authority over employees
    c)     Conduct was foreseeable given prior incidents
    d)     Defendants failed to prevent discrimination
    e)     Defendants ratified discriminatory conduct

COUNT LXXIX - Constitutional Violations Under Massachusetts Declaration of Rights
         (Against State Actor Defendants)

703. Plaintiff incorporates by reference all preceding paragraphs.

704. The state actor defendants violated Plaintiff's rights under the Massachusetts Declaration of Rights
through:
    a)     Denial of due process
    b)     Discriminatory conduct
    c)     Interference with property rights
    d)     Violation of equal protection
    e)     Cruel or unusual punishment

705. These violations caused Plaintiff substantial damages.

COUNT LXXX - Negligent Training and Supervision (Against MIT)

706.     Plaintiff incorporates by reference all preceding paragraphs.

707.     MIT was negligent in training and supervising its employees by:
    a) Failing to prevent discrimination
    b) Not addressing hostile environment
    c) Inadequate anti-discrimination training
    d)     Improper oversight of police conduct
    e)     Enabling retaliatory conduct
708. This negligence caused Plaintiff's damages.
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709.     A stringent review of the record and reviewing the fact pattern through this lens of judicial misconduct,

several serious potential torts and crimes emerge that Magistrate Sarah Luick may have committed,

particularly given the confluence of:

    a)     denial of a fair hearing

    b)     failure to investigate spoliation allegations

    c)     adverse conclusions without evidence, and

    d)     possible collusion with witnesses committing extrinsic fraud.

710. Below are the strongest potential claims.


COUNT LXXXI - Criminal Conspiracy to Obstruct Justice
         (Against Magistrate Sarah Luick)

711. Plaintiff incorporates by reference all preceding paragraphs.

712. Magistrate Luick engaged in a criminal conspiracy to obstruct justice through:

    a)     Knowingly participating in and enabling the spoliation of exculpatory evidence by defendants Wolfe,
          Spero and Colon
    b)     Deliberately refusing to investigate credible allegations of evidence spoliation
    c)     Using judicial authority to shield co-conspirators from investigation
    d)     Reaching conclusions against Plaintiff without evidentiary support to protect co-conspirators
    e)     Colluding with witnesses engaging in extrinsic fraud
    f)     Converting Plaintiff's legitimate attempts to expose fraud into false allegations of obstruction
713. This conspiracy was designed to prevent exposure of the extrinsic fraud being committed by Wolfe,

Spero and Colon.

714. Discovery is likely to reveal communications between Magistrate Luick and the defendants engaging in

fraud that would corroborate this conspiracy.


COUNT LXXXII - Misprision of Felony (Against Magistrate Sarah Luick)

715.     Plaintiff incorporates by reference all preceding paragraphs.

716. Magistrate Luick committed misprision of felony by:
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    a)        Having actual knowledge of the commission of felony criminal conduct by defendants Wolfe, Spero

              and Colon involving spoliation of evidence and extrinsic fraud

    b)        Failing to report this criminal conduct to law enforcement authorities

    c)        Taking affirmative steps to conceal the criminal conduct

    d)        Actively preventing investigation of the criminal conduct

    e)        Using judicial authority to protect the perpetrators

    f)        Converting evidence of crimes into accusations against the Plaintiff

717.     Discovery of communications and records would likely reveal Magistrate Luick's knowledge of crimes

and efforts to conceal them.


COUNT LXXXIII - Criminal Facilitation (Against Magistrate Sarah Luick)

718. Plaintiff incorporates by reference all preceding paragraphs.

719. Magistrate Luick engaged in criminal facilitation by:

         a)         Providing means and opportunity for defendants to commit extrinsic fraud

         b)         Using judicial authority to prevent exposure of criminal conduct

         c)         Enabling continued concealment of exculpatory evidence

         d)         Protecting perpetrators from investigation and prosecution

         e)         Creating false conclusions to legitimize fraudulent conduct

         f)         Retaliating against attempts to expose the criminal enterprise


720. Discovery would likely reveal Magistrate Luick's active role in facilitating the criminal scheme.


COUNT LXXXIV - Criminal Abuse of Office (Against Magistrate Sarah Luick)

720. Plaintiff incorporates by reference all preceding paragraphs.

721.     Magistrate Luick engaged in criminal abuse of office by:

    a)        Using judicial authority to further a criminal conspiracy
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    b)     Knowingly reaching false conclusions without evidence

    c)     Deliberately failing to perform required judicial duties

    d)     Retaliating against exposure of criminal conduct

    e)     Converting judicial proceedings into means for criminal enterprise

    f)     Acting with corrupt intent to obstruct justice

722. Discovery would likely reveal evidence of corrupt intent and abuse of judicial authority.


COUNT LXXXV - Denial of Due Process Through Judicial Corruption
               (Against Magistrate Sarah Luick)

723. Plaintiff incorporates by reference all preceding paragraphs.

724. Magistrate Luick corruptly denied Plaintiff's due process rights by:
    a)     Deliberately preventing fair hearing on disputed facts
    b)     Knowingly reaching unsupported conclusions
    c)     Using judicial power to prevent exposure of crimes
    d)     Colluding with perpetrators of extrinsic fraud
    e)     Creating false basis for adverse conclusions
    f)     Acting with corrupt intent to deny constitutional rights
725. Discovery would likely reveal evidence of corrupt intent to deny due process.

COUNT LXXXVI - Criminal Conspiracy to Commit Insurance Fraud
         (Against Magistrate Sarah Luick)

726.     Plaintiff incorporates by reference all preceding paragraphs.

727. Magistrate Luick conspired to enable insurance fraud by:

    a)     Knowingly enabling $150,000 fraudulent insurance settlement

    b)     Preventing exposure of fraudulent basis for settlement

    c)     Using judicial authority to legitimize fraud

    d)     Colluding with perpetrators of insurance fraud

    e)     Creating false judicial record to support fraud


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    f)   Acting with intent to further insurance fraud scheme

728. Discovery would likely reveal Magistrate's knowledge of and participation in insurance fraud scheme.


COUNT LXXXVII - Witness Tampering (Against Magistrate Sarah Luick)

729. Plaintiff incorporates by reference all preceding paragraphs.

730. Magistrate Luick engaged in witness tampering by:
    a)   Using judicial authority to prevent witness testimony
    b)   Enabling witnesses to avoid testimony through procedural rulings
    c)   Protecting witnesses engaging in extrinsic fraud
    d)   Creating pretext for witness unavailability
    e)   Colluding with witnesses to prevent exposure of fraud
    f)   Acting with corrupt intent to prevent testimony
731. Discovery would likely reveal coordination between Magistrate and witnesses to prevent testimony.

COUNT LXXXVIII - Retaliation Against Exposure of Judicial Misconduct
               (Against Magistrate Sarah Luick)

732. Plaintiff incorporates by reference all preceding paragraphs.

733. Magistrate Luick engaged in unlawful retaliation by:
    a)   Converting Plaintiff's exposure of crimes into false obstruction allegations
    b)   Using judicial power to punish exposure of misconduct
    c)   Creating adverse rulings as retaliation
    d)   Colluding with perpetrators to retaliate
    e)   Acting with retaliatory intent
    f)   Causing substantial harm through retaliation
734. Discovery would likely reveal retaliatory intent and coordination.

COUNT LXXXIX - Conspiracy to Deprive Civil Rights Through Judicial Office
               (Against Magistrate Sarah Luick)

735. Plaintiff incorporates by reference all preceding paragraphs.

736. Magistrate Luick conspired to deprive civil rights by:
    a)   Using judicial office to enable criminal conduct

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    b)   Colluding with perpetrators of extrinsic fraud
    c)   Preventing exposure of criminal enterprise
    d)   Creating false basis for adverse rulings
    e)   Acting with intent to deprive constitutional rights
    f)   Causing substantial constitutional injuries
737. Discovery would likely reveal conspiracy to use judicial office to deprive rights.

COUNT XC - Pattern of Racketeering Activity Through Judicial Office
          (Against Magistrate Sarah Luick)

738. Plaintiff incorporates by reference all preceding paragraphs.

739. Magistrate Luick engaged in pattern of racketeering by:
    a)   Multiple acts of mail and wire fraud through judicial communications
    b)   Multiple acts enabling insurance fraud
    c)   Multiple acts of witness tampering
    d)   Multiple acts of obstruction of justice
    e)   Multiple acts of retaliation
    f)   Multiple acts using judicial office for criminal enterprise
740. Discovery would likely reveal pattern of using judicial office for criminal enterprise.



741. The strength of these claims lies in:
    a)   The Magistrate's failure to investigate credible allegations of spoliation and fraud.
    b)   The creation of unsupported adverse conclusions against the Plaintiff.
    c)   The appearance of coordination with witnesses committing extrinsic fraud.
    d)   The use of judicial power to prevent exposure of criminal conduct.
    e)   The conversion of evidence of crimes into accusations against the Plaintiff.
    f)   The pattern of protecting perpetrators while retaliating against exposure.
742. Discovery would be critical to corroborate these claims through:
    a)   Communications between Magistrate and witnesses/defendants
    b)   Records showing knowledge of criminal conduct
    c)   Evidence of coordination and collusion
    d)   Documentation of retaliatory intent
    e)   Pattern of protecting criminal enterprise
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    f)    Evidence of corrupt use of judicial office
743. While these are serious allegations against a judicial officer, the confluence of factors - denial of hearing,

failure to investigate, adverse conclusions without evidence, and apparent collusion - creates a strong

circumstantial case that warrants thorough discovery to uncover the full scope of potential judicial misconduct.


                                PRAYER FOR RELIEF


744. The Plaintiff seeks the following relief from this Court
         A) Declaratory Relief - Declaratory Judgments that BORIM regulations, actions and sanctions are
         unconstitutional

         B) Injunctive Relief: Injunctive relief enjoining the enforcement of these unconstitutional regulations
         and actions;

         C) Monetary Damages: (1) Compensatory for economic and emotional harms suffered by Plaintiff;
                             (2) Punitive damages to deter future constitutional violations by state actors
         D) Any other relief this Court deems just and equitable


WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant the following relief:

A. Issue declaratory judgments:
1. Declaration that the 1992 Express Bilateral Contract is a valid, lawful and enforceable contract between two
private parties which is protected by the Contract clause of the U.S. Constitution

2. Declaration that the BORIM regulations are unconstitutional as applied to the Plaintiff.

3. Declaration that the prior final court judgments in Massachusetts Middlesex Superior Court, Suffolk
Superior Court, Massachusetts Division of Administrative Law Appeals, Board of Registration in Medicine,
Massachusetts Supreme Judicial Court, are null and void, or voidable, due to Fraud.

4. Declaration that the BORIM regulations and actions described herein are unconstitutional.
5. Declaration that all court final judgments obtained through Extrinsic Fraud are null and void ab initio
6. Declaration that BORIM’s regulations, as applied to the Plaintiff, are unconstitutional because they:
         A) Violate Equal Protection

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       B) Burden fundamental right to marry
       C) Violate right to privacy
       D) Impair obligation of contracts
       E) Violate right to gainful employment;

7. Declaration that all stipulations obtained through duress and extrinsic fraud are null and void.

8. Declaration that the Defendants did cause Compensatory damages in excess of $6 million for the economic
and emotional harms suffered by Plaintiff.

9. Declaration that the Plaintiff may seek Injunctive relief enjoining BORIM from the enforcement of these
unconstitutional regulations and actions as enunciated by the Supreme Court in Ex Parte Young.
10. Declaration that the Plaintiff is entitled to Punitive damages to deter future constitutional violations by
state actors;
11. Declaration that the judgments rendered against Plaintiff in the prior proceedings in Massachusetts state
courts are null and void due to extrinsic fraud and fraud on the court by Wolfe, Spero and Colon, including:
       A) Colon v. Weinberg, Wesselhoeft, and Boston Evening Medical Center
             Middlesex Superior Court, 1996
       B) Board of Registration in Medicine v. Robert P. Weinberg, D.O.
             Suffolk Superior Court, 1998
       C) Weinberg v. Colon
              Middlesex Superior Court, 1999
       D) In Re Robert P. Weinberg, D.O.
              Division of Administrative Law Appeals, 2000
       E) Weinberg v. Board of Registration in Medicine
              Massachusetts Supreme Judicial Court, 2002
12. Declaration that for thirty years, defendants Colon, Wolfe and Spero intentionally concealed exculpatory
evidence of the 1992 Express Bilateral Contract from multiple tribunals, comprising spoliation of evidence.
13. Declaration that through their concealment of the 1992 Contract, defendants Wolfe, Spero and Colon
committed Spoliation of evidence.
14. Declaration that through their concealment of the 1992 Contract, defendants Wolfe, Spero and Colon
committed Obstruction of justice.
15. Declaration that through their concealment of the 1992 Contract, defendants Wolfe, Spero and Colon
committed Tampering with evidence
16. Declaration that through their concealment of the 1992 Contract, defendants committed Fraud upon the
Court
17. Declaration that through their concealment of the 1992 Contract, defendants Wolfe, Spero and Colon
committed Insurance fraud through fraudulent $150,000 settlement
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18. Declaration that BORIM regulations violate multiple constitutional rights.
19. Declaration that BORIM regulations violate multiple constitutional rights including the Contract Clause
protection of 1992 Agreement.
20. Declaration that BORIM regulations violate multiple constitutional rights including Equal Protection by
discriminating based on marriage.
21. Declaration that BORIM regulations violate multiple constitutional rights including the Right to privacy
under Lawrence v. Texas.
22. Declaration that BORIM regulations violate multiple constitutional rights including its regulations
burdening the Fundamental constitutional right to marry.
 23. Declaration that BORIM regulations violate multiple constitutional rights including the Plaintiff’s
constitutional Right to gainful employment.
24. Declaration that BORIM regulations violate multiple constitutional rights including Protection against
cruel and unusual punishment.
25. Declaration that BORIM sanctions Violate Eighth Amendment prohibition on cruel punishment
26. Declaration that BORIM sanctions Constitute excessive fines.
27. Declaration that BORIM sanctions Create unconstitutional employment barriers.
28. Declaration that BORIM sanctions Impose criminal punishment without authority.
29. Declaration that Magistrate Luick acted ultra vires in attempting to rescind the 1992 Contract, exceeding
authority to override Contract Clause protections.
30. Declaration that state actor defendants denied Plaintiff's due process rights by Denying the Plaintiff a fair
hearing at DALA.
31. Declaration that state actor defendants denied Plaintiff's due process rights by Preventing the Plaintiff’s
presentation of exculpatory evidence.
32. Declaration that state actor defendants denied Plaintiff's due process rights by Denying the Plaintiff’s right
to confront adverse witnesses.
33. Declaration that state actor defendants denied Plaintiff's due process rights by Refusing the Plaintiff an
opportunity to be heard.
34. Declaration that state actor defendants denied Plaintiff's due process rights by Making determinations
without substantial corroborating evidence.
35. Declaration that the DALA proceedings lacked fundamental due process because No hearing was provided
on disputed material facts.
36. Declaration that the DALA proceedings lacked fundamental due process because Colon refused to testify
37. Declaration that proceedings lacked fundamental due process because Wolfe refused to testify.
38. Declaration that proceedings lacked fundamental due process because the Plaintiff had No opportunity to
present contract evidence.
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39. Declaration that proceedings lacked fundamental due process because No cross-examination was permitted
for the Plaintiff.
40. Declaration that the 1992 Express Bilateral Contract Lawfully terminated doctor-patient relationship
41. Declaration that the 1992 Express Bilateral Contract Created valid clinical and non-clinical spaces.
42. Declaration that the 1992 Express Bilateral Contract Is protected by Contract Clause.
43. Declaration that the 1992 Express Bilateral Contract Pre-empts and Supercedes conflicting state
regulations.
44. Declaration that the 1992 Express Bilateral Contract Exonerates Plaintiff of sexual misconduct claims.
45. Declaration that in the non-clinical world Plaintiff was not functioning as physician nor was the Plaintiff’s
status in the non-clinical world that of a physician.
46. Declaration that in the non-clinical world no doctor-patient relationship existed.
47. Declaration that in the non-clinical world, No fiduciary duties were owed by the Plaintiff.
48. Declaration that in the non-clinical world, the Medical ethics which applied in the clinical world, did not
apply in the non-clinical world.
49. Declaration that in the non-clinical world, Intimate conduct was permissible, lawful and ethical.
50. Declaration that Dr. Wolfe committed malpractice by Concealing Colon's DID/MPD diagnosis.
51. Declaration that Dr. Wolfe committed malpractice by Failing to warn of psychological risks.
52. Declaration that Dr. Wolfe committed malpractice by Recommending termination despite known dangers.
53. Declaration that Dr. Wolfe committed malpractice by Encouraging relationship change despite
vulnerabilities.
54. Declaration that Dr. Wolfe committed malpractice by Breaching the standard of care.
55. Declaration that the Massachusetts State actor defendants violated rights through the Denial of hearings.
56. Declaration that Massachusetts State actor defendants violated rights through Refusal to consider
exculpatory evidence.
57. Declaration that Massachusetts State actor defendants violated rights through Failure to investigate fraud
claims.
58. Declaration that Massachusetts State actordefendants violated rights through Ultra vires actions.
59. Declaration that Massachusetts State actor defendants violated rights through Arbitrary decision-making.
60. Declaration that MIT defendants Created hostile environment.
61. Declaration that MIT defendants Engaged in sexual discrimination and harassment.
62. Declaration that MIT defendants Discriminated based on sex.
63. Declaration that MIT defendants Retaliated against protected activity.

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64. Declaration that MIT defendants Breached academic contracts.
65. Declaration that the judgments rendered against him in the prior proceedings are null and void due to
extrinsic fraud and fraud on the court.
66. Declaration that Defendant Colon was not Plaintiff’s patient at the time of the alleged misconduct.
67. Declaration that the BORIM regulations and Massachusetts state law violate the Contract clause of the U.S.
Constitution.
68. Declaration that the BORIM regulations and Massachusetts state law violate Equal Protection of the Laws
clause of the U.S. Constitution.
69. Declaration that the BORIM regulations and Massachusetts state law burden the Plaintiff’s Fundamental
constitutional liberty to marry.
70. Declaration that the BORIM regulations and Massachusetts state law impair the Plaintiff’s fundamental
constitutional liberty to contract.
71. Declaration that the BORIM regulations and Massachusetts state law violate the Plaintiff’s fundamental
constitutional right to privacy.
72. Declaration that the Massachusetts state actor defendants did deny the Plaintiff Due Process of Law during
his judicial proceedings at DALA.
73. Declaration that the Massachusetts state actor defendants did deny the Plaintiff his constitutional right to
confront and cross-examine the adverse witnesses against him.
74. Declaration that the Massachusetts state actor defendants did deny the Plaintiff his fundamental
constitutional right to a Fair Hearing.
75. Declaration that the Massachusetts state actor defendants did deny the Plaintiff his fundamental
constitutional right for an opportunity to be heard.
76. Declaration that the Massachusetts state actor defendants did deny the Plaintiff his fundamental
constitutional right to Procedural Due Process while acting under the color of law in violation of 42 USC
§1983.
77. Declaration that the MIT defendants engaged in sexual discrimination and sexual harassment in violation
of Title IX of the Civil Rights Act.
78. Declaration that the MIT defendants engaged in sexual discrimination and sexual harassment in violation
of Title VII of the Civil Rights Act.
79. Declaration that the Nagina Mangal engaged in sexual discrimination and sexual harassment in violation
of Title IX of the Civil Rights Act.
80. Declaration that Ann Graybiel engaged in sexual discrimination and sexual harassment in violation of Title
IX of the Civil Rights Act.
81. Declaration that The doctor-patient relationship is a contractual relationship at will, where either the doctor
or the patient is free to terminate at any time without cause.

82. Declaration that Under the Supremacy clause of the U.S. Constitution, the Contracts clause of Article 1,
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Section 10, contracts between private parties are pre-eminent to and supercede any state law, statutes or state
agency regulations, unless such state law satisfies the Strict Scrutiny standard whereby the state must prove a
compelling state interest and show that the state law is most narrowly tailored to meet that interest.

83. Declaration that In September 1992, the doctor-patient relationship, between the Plaintiff and Lourdes
Colon, was terminated by mutual agreement and was effected by an Express Bilateral Contract to terminate
the doctor-patient relationship between the Plaintiff and Lourdes Colon, and this contract was conceived,
formulated, drafted and dictated by Dr Lisa Wolfe (a licensed psychologist) while both the Plaintiff and
Lourdes Colon wrote out the dictated contract by hand in ball-point pens, and each signed the other’s
handwritten contract, whereby the contract was formed and executed in a first-floor consultation room at the
Arbour Human Resources Institute in Brookline, Massachusetts, in a medical consultation meeting which was
attended by three (3) persons: Dr. Lisa Wolfe, the Plaintiff and defendant Lourdes Colon who were the only
three percipient witnesses to the formation and execution of the Express Bilateral Contract terminating the
doctor-patient relationship.

84. Declaration that This 1992 Express Bilateral Contract, which terminated the doctor-patient relationship,
was material, relevant, essential, vital and exculpatory evidence for the fact-finder to make an accurate and
truthful determination of the status of the relationship between the Plaintiff and defendant Lourdes Colon, and
whether the Plaintiff was acting as Colon’s doctor subsequent to the contractual termination of that
relationship and whether the Plaintiff had any duties or obligations as her physician, legally or ethically.

85. Declaration that Only three (3) persons were percipient witnesses to the formation and execution of this
1992 Express Bilateral Contract terminating the doctor-patient relationship: the Plaintiff, defendant Lourdes
Colon, and defendant Lisa Wolfe; documentary evidence exists showing (a) Dr Lisa Wolfe was on-duty in
HRI on the day in questions, (b) Lourdes Colon was an inpatient at HRI on the day in question, (c) the
Plaintiff signed in and registered as a Visitor to HRI on the day in question, (d) the termination meeting was
previously discussed with medical director Robert Wesselhoeft, III, M.D. and BEMC administrative director
Ruth Taylor, who both approved the Plaintiff’s transition from his role as Colon’s doctor.

86. Declaration that The 1992 termination contract was subsequently modified, by mutual agreement, to
classify times and places into the clinical world and the nonclinical world; in the clinical world the Plaintiff
acted and functioned as a physician to Lourdes Colon providing limited medical treatment, and in the
nonclinical world the Plaintiff was not a physician and did not provide any treatment to Lourdes Colon and
had no fiduciary duty.

87. Declaration that Contracts which classify times and places for a professional to deliver services to select
clients are lawful and enforceable.

88. Declaration that The Plaintiff’s 1992 Express Bilateral termination contract, which classifies times and
places into the clinical world and the nonclinical world, is a valid, lawful and enforceable contract between
two private parties which is protected by the Contract clause of Article 1, Section 10 of the U. S. Constitution.

89. Declaration that Through her concealment of the 1992 Express Bilateral Contract terminating the doctor-
patient relationship, Lourdes Colon did commit: spoliation of exculpatory evidence; obstruction of justice,
tampering with evidence, interference with the fair administration of the law; fraudulent concealment of
exculpatory evidence; falsification of business records; insurance fraud; suppression of exculpatory evidence;
fraud upon the Court; creating a false judicial record; violation of the Plaintiff’s civil rights in violation of 42
U.S.C. § 1983.
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90. Declaration that Had the 1992 Express Bilateral Contract terminating the doctor-patient relationship never
been formed or executed, then the actions and conduct of the State actor defendants culminating with the
revocation of the Plaintiff’s medical license might have been reasonable and lawful, but not one of the State
actor defendants acknowledged or made any declaration concerning the termination contract and not one of
the State actor defendants calculated or adjusted their conclusions and final judgments to account for the 1992
termination of the doctor-patient relationship thus rendering their final judgments to be null and void or
voidable because an essential and material fact concerning the doctor-patient relationship was ignored or
unknown in the genuine issues of material fact essential for the adjudication and abrogating the fairness and
justice of their final conclusions of law.

91. Declaration that In 1988, the Board of Registration in Medicine issued two (2) medical licenses to the
Plaintiff, but only one of these medical licenses, License No. 60232, was revoked in 2002.

92. Declaration that On or about 1995 - 1996, there was a medical appointment at Dr. Lisa Wolfe’s Lexington,
Massachusetts office with the attendance of the Plaintiff, Lourdes Colon and Dr. Lisa Wolfe, at which Dr.
Wolfe informed the Plaintiff that she was treating both the Plaintiff and Lourdes Colon as part of couples
therapy because of the sexual relationship between the Plaintiff and Colon.

93. Declaration that At this Lexington, MA appointment, Dr. Wolfe also informed the Plaintiff that if Colon’s
health insurance did not cover the couples therapy, then Dr. Wolfe expected that the Plaintiff would make
payments for the couples therapy.

94. Declaration that During this couples session in Lexington, MA, Dr. Wolfe asked the Plaintiff to engage in
dialogue with Colon about their ongoing relationship.

95. Declaration that In 1992 at the time of the formation and execution of the Express Bilateral Contract,
which terminated the doctor-patient relationship under the guidance and supervision of Dr. Lisa Wolfe, the
Plaintiff had no knowledge of Colon’s diagnosis of DID/MPD and Dr. Wolfe did not share the details of her
treatment of Colon nor did she share her diagnosis of DID/MPD in Colon.

96. Declaration that In 1997, the Plaintiff had prepared a Demand Letter under M.G.L. c.93A against Dr.
Wolfe for the unfair and deceptive trade practices which Dr. Wolfe had perpetrated and had also sent a copy of
this Demand Letter via emails to the Board of Registration in Psychology, the Massachusetts District
Attorney’s office and the Office of the Attorney General.

97. Declaration that Early during the DALA adjudicatory proceedings which transpired between 1997 - 2002,
the Plaintiff’s counsel John Flym informed that Plaintiff that BORIM was requesting that the Plaintiff waived
the claims and allegations against Wolfe in the 93A Demand Letter in order for Wolfe to communicate more
freely with BORIM about the facts and circumstances of this case.

98. Declaration that Complying with John Flym’s request, the Plaintiff drafted a Waiver in 1997 or 1998,
which comprised a monetary settlement of those claims and the settlement amount was one dollar ($1.00) and
the Plaintiff signed this settlement of his claims against Wolfe in consideration of the one dollar.

99. Declaration that The settlement in 1997 or 1998 for the claims against Lisa Wolfe only settled the claims
which had arisen during the years before the settlement agreement was signed; during the ensuing years, Dr.
Wolfe proximately caused multiple injuries and harms to the Plaintiff following the settlement agreement.


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100. Declaration that The harms and injuries caused by Dr. Wolfe following the settlement agreement include:
[1] silence on the matter of the 1992 Express Bilateral Contract between the Plaintiff and Colon, [2] omission
and silence on her role in conceiving, formulating, drafting and dictating the 1992 termination contract, [3]
omission of her role as the treating psychologist for the couples therapy sessions in Lexington, MA.

101. Declaration that Through her concealment of the 1992 Express Bilateral Contract terminating the doctor-
patient relationship, Lisa Wolfe did commit: spoliation of exculpatory evidence; obstruction of justice,
tampering with evidence, interference with the fair administration of the law; fraudulent concealment of
exculpatory evidence; falsification of business records; insurance fraud; suppression of exculpatory evidence;
fraud upon the Court; creating a false judicial record; violation of the Plaintiff’s civil rights in violation of 42
U.S.C. § 1983.

102. Declaration that Plaintiff’s counsel John Flym and BORIM counsel Alice Oliff did draft joint Stipulations
of Fact in 2001 which was submitted to Magistrate Sarah Luick as part of the DALA adjudicatory proceedings

103. Declaration that Joint Stipulations only address the undisputed issues of fact and, by their very nature,
CAN NEVER resolve disputed issues of fact which usually require a trial or hearing with testimony and
evidence produced to help resolve those disputed issues of fact; denying the Plaintiff his fundamental
constitutional right to Due Process of Law with a fair hearing for both parties to present their testimony and
evidence, the State actor defendants refused to grant the Plaintiff a fair hearing or trial on these disputed issues
of fact because Colon refused to testify and Wolfe likewise would not testify under oath.

104. Declaration that BORIM counsel Alice Oliff purposefully and intentionally refused to draft a joint
stipulation about the 1992 Express Bilateral Contract which terminated the doctor-patient relationship.

105. Declaration that The 2001 joint stipulations, agreed to by Plaintiff’s counsel John Flym and BORIM
counsel Alice Oliff, did not have a single statement nor word describing the termination of the doctor-patient
relationship in 1992 by an Express Bilateral Contract drafted and dictated by Dr. Lisa Wolfe.

106. Declaration that Through his concealment of the 1992 Express Bilateral Contract terminating the doctor-
patient relationship, Stanley Spero did commit: spoliation of exculpatory evidence; obstruction of justice,
tampering with evidence, interference with the fair administration of the law; fraudulent concealment of
exculpatory evidence; falsification of business records; insurance fraud; suppression of exculpatory evidence;
fraud upon the Court; creating a false judicial record; violation of the Plaintiff’s civil rights in violation of 42
U.S.C. § 1983.

107. Declaration that Martin Crane, then-Chairman of the Massachusetts Board of Registration in Medicine, in
both his official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process
by denying the Plaintiff the right to a Fair Trial and the opportunity to be heard.

108. Declaration that Martin Crane, then-Chairman of the Massachusetts Board of Registration in Medicine, in
both his official capacity and his personal capacity, did violate the Plaintiff’’s right to procedural Due
Process by denying the Plaintiff the right to confront adverse witnesses against him for cross-examination,
also thereby violating the Fourth and Fifth Amendments which are selectively incorporated to the States via
the Fourteenth Amendment.

109. Declaration that Martin Crane, then-Chairman of the Massachusetts Board of Registration in Medicine, in
both his official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process
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by denying the Plaintiff the right to present exculpatory evidence which would have exonerated the Plaintiff.

110. Declaration that Martin Crane, then-Chairman of the Massachusetts Board of Registration in Medicine, in
both his official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process
by denying the Plaintiff the right to rebut false or misleading testimony and/or evidence.

111. Declaration that Hon. Sarah Luick, Magistrate in the Division of Administrative Law Appeals, in both her
official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process by
denying the Plaintiff the right to a Fair Trial and the opportunity to be heard.

112. Declaration that Hon. Sarah Luick, Magistrate in the Division of Administrative Law Appeals, in both
her official capacity and his personal capacity, did violate the Plaintiff’’s right to procedural Due Process by
denying the Plaintiff the right to confront adverse witnesses against him for cross-examination, also thereby
violating the Fourth and Fifth Amendments which are selectively incorporated to the States via the Fourteenth
Amendment.

113. Declaration that Hon. Sarah Luick, Magistrate in the Division of Administrative Law Appeals, in both
her official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process by
denying the Plaintiff the right to present exculpatory evidence which would have exonerated the Plaintiff.

114. Declaration that Hon. Sarah Luick, Magistrate in the Division of Administrative Law Appeals, in both
her official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process by
denying the Plaintiff the right to rebut false or misleading testimony and/or evidence.

115. Declaration that Hon. Christopher Connolly, then-Chief Administrative Magistrate in the Division of
Administrative Law Appeals, in both her official capacity and his personal capacity, did violate the
Plaintiff’s’ right to procedural Due Process by denying the Plaintiff the right to a Fair Trial and the
opportunity to be heard.

116. Declaration that Hon. Christopher Connolly, then-Chief Administrative Magistrate in the Division of
Administrative Law Appeals, in both her official capacity and his personal capacity, did violate the
Plaintiff’’s right to procedural Due Process by denying the Plaintiff the right to confront adverse witnesses
against him for cross-examination, also thereby violating the Fourth and Fifth Amendments which are
selectively incorporated to the States via the Fourteenth Amendment.

117. Declaration that Hon. Christopher Connolly, then-Chief Administrative Magistrate in the Division of
Administrative Law Appeals, in both her official capacity and his personal capacity, did violate the
Plaintiff’s’ right to procedural Due Process by denying the Plaintiff the right to present exculpatory evidence
which would have exonerated the Plaintiff.

118. Declaration that Hon. Christopher Connolly, then-Chief Administrative Magistrate in the Division of
Administrative Law Appeals, in both her official capacity and his personal capacity, did violate the
Plaintiff’s’ right to procedural Due Process by denying the Plaintiff the right to rebut false or misleading
testimony and/or evidence.

119. Declaration that Hon. Margart Walsh, then-Chief Justice of the Massachusetts Supreme Judicial Court, in
both her official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process
by denying the Plaintiff the right to a Fair Trial and the opportunity to be heard.
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120. Declaration that Hon. Margart Walsh, then-Chief Justice of the Massachusetts Supreme Judicial Court,,
in both her official capacity and his personal capacity, did violate the Plaintiff’’s right to procedural Due
Process by denying the Plaintiff the right to confront adverse witnesses against him for cross-examination,
also thereby violating the Fourth and Fifth Amendments which are selectively incorporated to the States via
the Fourteenth Amendment.

121. Declaration that Hon. Margart Walsh, then-Chief Justice of the Massachusetts Supreme Judicial Court,,
in both her official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due
Process by denying the Plaintiff the right to present exculpatory evidence which would have exonerated the
Plaintiff.

122. Declaration that Hon. Margart Walsh, then-Chief Justice of the Massachusetts Supreme Judicial Court,,
in both her official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due
Process by denying the Plaintiff the right to rebut false or misleading testimony and/or evidence.

123. Declaration that Thomas Reilly, then-Attorney General of the Commonwealth of Massachusetts, in both
his official capacity and his personal capacity, did violate the Plaintiff’s’ right to procedural Due Process by
denying the Plaintiff : (a) the right to a Fair Trial and the opportunity to be heard; (b) the right to confront
adverse witnesses against him for cross-examination, also thereby violating the Fourth and Fifth Amendments
which are selectively incorporated to the States via the Fourteenth Amendment; (c) the right to present
exculpatory evidence which would have exonerated the Plaintiff; and (d) the right to rebut false or misleading
testimony and/or evidence.

124. Declaration that The precedent of Korper v. Weinstein, 57 Mass. App. Ct. 433, 783 N.E.2d 877 (2003)
informs us that sexual relations between a physician and her/his patient, without more, does not comprise
sexual misconduct nor medical malpractice; the situation is different if the physician were a psychiatrist or
psychotherapist or had deceived the patient into believing that the sexual relations were a form of medical
treatment.

125. Declaration that Even in the absence of the 1992 termination contract, since the Plaintiff has never
trained in nor held himself out to be a psychiatrist or psychotherapist nor deceived Lourdes Colon into
believing that the sexual relations were any type of medical treatment, the Plaintiff did not commit any type of
medical malpractice nor any type of sexual misconduct when he engage in sexual relations with Lourdes
Colon in the nonclinical world. ( Korper v. Weinstein, 2003).

126. Declaration that There has never been any findings of fact showing that the Plaintiff acted as or
functioned as the psychiatrist or psychotherapist to Lourdes Colon, nor any stipulations to that effect.


127. Declaration that The Expert Witness James Beck did not have access to all the relevant information, such
as the 1992 Express Bilateral Contract which terminated the doctor-patient relationship, because defendants
Colon, Wolfe and Spero engaged in spoliation of that exculpatory evidence, and the reasonable person would
easily believe that Dr. Beck’s Expert Opinion would have changed substantially had he known of the
termination of the doctor-patient relationship; thus the Expert Opinion of Dr. Beck is severely compromised
and invalid for purposes of convicting the Plaintiff of any type of medical malpractice or sexual misconduct in
light of the spoliation of exculpatory evidence.

128. Declaration that The Plaintiff has never engaged in any type of medical malpractice or sexual
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misconduct with Lourdes Colon because sexual relations only took place in the nonclinical world where the
Plaintiff was not her doctor as defined by the 1992 termination contract, and Magistrate Sarah Luick did make
a factual finding that all the medications prescribed by the Plaintiff were appropriate for her medical care and
all the medical treatment provide to Lourdes Colon was appropriate for her medical care.

129. Declaration that This case is a case of FIRST IMPRESSION because since the founding of the Republic
in 1776, there has been no precedent in any of the fifty (50) states of the union where: (a) the doctor-patient
relationship was terminated, (b) and it was terminated by an Express Bilateral Contract which was
memorialized in the handwriting of the Plaintiff and Colon, (c) and the termination contract had been
conceived, formulated, drafted and dictated by the patient’s psychologist Dr. Lisa Wolfe, (d) the psychologist
Dr. Wolfe oversaw, supervised and guided the termination of the doctor-patient relationship, and (e) the
termination contract classified times and locations into the clinical world, where the doctor acted as the
patient’s clinician, and the nonclinical world, where the physician had no obligations nor duties because he
was not a physician in those places and times.

130. Declaration that Given the circumstances and facts about the termination of the doctor-patient
relationship in 1992, there have been no BORIM regulations nor any state statutes which cover this unique
relationship.

131. Declaration that The rescision of the 1992 Express Bilateral Contract by Magistrate Sarah Luick in 2002
was unconstitutional state action, whereby Magistrate Luick was acting ultra vires, whereby the judiciary was
attempting to pre-empt and supercede the Contract clause of the U.S. Constitution.

132. Declaration that Magistrate Sarah Luick was acting ultra vires and without the authority to pre-empt and
supercede the Contract clause of the U.S. Constitution.

133. Declaration that The BORIM punishment of the Plaintiff via the revocation of his medical license
comprised criminal punisment, for which the BORIM lacks authority, and was effected without Due Process
of Law or any of the usual protections of the Fourth and Fifth Amendments, as selective incorporated to the
States via the Fourteenth Amendment.

134. Declaration that Given the facts that: (a) BORIM knew about the Plaintiff’s sexual relations with Lourdes
Colon since 1997 and did not take any action for those five (5) years during which the Plaintiff had
approximately 40,000 patient visits, (b) BORIM offered the Plaintiff a voluntary one-year suspension of his
license in or about 1998, all point to the conclusion that BORIM was not exercising its police powers to
protect the health, safety and welfare of the people, but was really imposing a criminal punishment on the
Plaintiff - which would have comprised criminal punishment ex post facto and BORIM’s attempted rescision
of the 1992 termination contract was also tantamount to the creation of a Bill of Attainder.

135. Declaration that In the nonclinical world the Plaintiff did not hold himself out to be a physician, did not
meet with patients, did not provide medical treatment, and was not known to others as a physician, and did not
owe any fiduciary duty to any person because the Plaintiff was not a physician in the nonclinical world.

136. Declaration that The Plaintiff’s termination contract is protected by the contracts clause of Article 1,
Section 10 of the U.S. Constitution, and is pre-eminent and supercedes state law and regulations, which are
subject to judicial review under the Strict Scrutiny standard when those state laws or regulations regulate the
fundamental liberty to contract.


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137. Declaration that BORIM’s regulations concerning sexual relations between physicians and their patients
violate the Equal Protection clause of the U.S. Constitution because those regulations discriminate among
physicians based on the fundamental constitutional right of marriage; BORIM only disciplines those
physicians who do not marry their patients; these regulations place an undue burden on that fundamental
constitutional right to marry; in effect, the regulations give physicians only one choice - “Either marry your
patient or lose your license”; as such these BORIM regulations which place an undue burden on the
fundamental right to marry must be judicially reviewed under the Strict Scrutiny standard.

138. Declaration that The state actor defendants all have acted unconstitutionally by impairing the obligation
of contract as declared in Article I, Section 10 of the U.S. Constitution or by judicially endorsing or facilitating
that impairment of the obligation of contract by the state agencies involved; the Plaintiff’s 1992 Express
Bilateral Contract which terminated the doctor-patient relationship and created clinical and nonclinical worlds
is protected by the Contract clause and as such pre-empts and supercedes any state statutes or regulations,
unless the State can meet the judicial analysis by the Strict Scrutiny standard.

139. Declaration that BORIM sanctions violate the Plaintiff’s constitutional right to engage in gainful
employment.

140. Declaration that BORIM sanctions violate the Eighth Amendment’s prohibition against Cruel and
Unusual Punishment

141. Declaration that BORIM sanctions violate the Eighth Amendment’s prohibition against excessive fines.

142. Declaration that The state actor defendants all have acted unconstitutionally by enforcing BORIM
regulations which violate the Equal Protection clause and place an undue burden on the fundamental
constitutional right to marry through the discriminatory regulations of BORIM which differentiate between the
married physicians and the unmarried physicians; interference with or impairment of a fundamental
constitutional right by the State requires judicial analysis by the Strict Scrutiny standard.

143. Declaration that The state actor defendants all have acted unconstitutionally by placing an undue burden
on the fundamental constitutional right to marry through the discriminatory regulations of BORIM which
differentiate between the married physicians and the unmarried physicians; interference with or impairment of
a fundamental constitutional right by the State requires judicial analysis by the Strict Scrutiny standard.

144. Declaration that The state actor defendants all have unconstitutionally invaded the Plaintiff’s fundamental
constitutional right to privacy; the Supreme Court precedent of Lawrence v. Texas, 539 U.S. 558 (2003)
informs us that the State may not regulate nor sanction the private activities of its citizens when they engage in
such conduct or activity within the privacy of their home or other private areas; when the Plaintiff met with
Colon in the nonclinical world, it took place in private areas not accessible to the public where the Plaintiff
had a reasonable expectation of privacy against government intrusion; interference with or impairment of such
a fundamental constitutional right as the Plaintiff’s right to privacy without intrusion of the government by the
State requires judicial analysis by the Strict Scrutiny standard.

145. Declaration that Nagina Mangal did commit the tort of defamation against the Plaintiff.

146. Declaration that Nagina Mangal did commit the tort of slander against the Plaintiff.

147. Declaration that Nagina Mangal did commit the tort of libel against the Plaintiff.

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148. Declaration that Nagina Mangal did commit the tort of intentional infliction of severe emotional distress
against the Plaintiff.

149. Declaration that Nagina Mangal did commit the tort of invasion of the Plaintiff’s right to privacy.

150. Declaration that Nagina Mangal did engage in discussions and conversations about the Plaintiff’s past
sexual experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a
hostile learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised
sexual harassment in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile
learning environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract
with the Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research
disrupting his learning program.

151. Declaration that Nagina Mangal did engage in discussions and conversations about the Plaintiff’s past
sexual experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a
hostile learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised
sexual discriminatioin in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile
learning environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract
with the Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research
disrupting his learning program.

152. Declaration that Ann Graybiel did commit the tort of defamation against the Plaintiff.

153. Declaration that Ann Graybiel did commit the tort of slander against the Plaintiff.

154. Declaration that Ann Graybiel did commit the tort of libel against the Plaintiff.

155. Declaration that Ann Graybiel did commit the tort of intentional infliction of severe emotional distress
against the Plaintiff.

156. Declaration that Ann Graybiel did commit the tort of invasion of the Plaintiff’s right to privacy.

157. Declaration that Ann Graybiel did engage in discussions and conversations about the Plaintiff’s past
sexual experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a
hostile learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised
sexual harassment in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile
learning environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract
with the Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research
disrupting his learning program.

158. Declaration that Ann Graybiel did engage in discussions and conversations about the Plaintiff’s past
sexual experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a
hostile learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised
sexual discriminatioin in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile
learning environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract
with the Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research
disrupting his learning program.

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159. Declaration that MIT did facilitate the tort of defamation against the Plaintiff.

160. Declaration that MIT did facilitate the tort of slander against the Plaintiff.

161. Declaration that MIT did facilitate the tort of libel against the Plaintiff.

162. Declaration that MIT did commit the tort of intentional infliction of severe emotional distress against the
Plaintiff.

163. Declaration that MIT did commit the tort of invasion of the Plaintiff’s right to privacy.

164. Declaration that MIT did engage in discussions and conversations about the Plaintiff’s past sexual
experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a hostile
learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised sexual
harassment in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile learning
environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract with the
Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research disrupting
his learning program.

165. Declaration that MIT did engage in and facilitate discussions and conversations about the Plaintiff’s past
sexual experiences, sexual behavior, and sexual conduct with members of the Graybiel lab which caused a
hostile learning environment while the Plaintff was a Visiting Student during 2022-2023, which comprised
sexual discriminatioin in violation of the Plaintiff’s rights under Title IX of the Civil Rights Act; this hostile
learning environment resulted in Graybiel ejecting the Plaintiff from the lab, breaching her academic contract
with the Plaintiff and caused substantial harms and injuries to the Plaintiff’s academic PhD doctoral research
disrupting his learning program.

166. Declaration that MIT did engage in discussions and conversations about the Plaintiff’s past sexual
experiences, sexual behavior, and sexual conduct when the Plaintiff was working as a Research Scientist in the
lab of ChoKyun Rha and forcibly removed the Plaintiff from several academic projects and committees which
were a significant part of his academic career, which comprised sexual harassment in violation of the
Plaintiff’s rights under Title VII of the Civil Rights Act; this caused substantial harms and injuries to the
Plaintiff’s academic career.

167. Declaration that MIT did engage in discussions and conversations about the Plaintiff’s past sexual
experiences, sexual behavior, and sexual conduct when the Plaintiff was working as a Research Scientist in the
lab of ChoKyun Rha and forcibly removed the Plaintiff from several academic projects and committees which
were a significant part of his academic career, which comprised sexual discrimination in violation of the
Plaintiff’s rights under Title VII of the Civil Rights Act; this caused substantial harms and injuries to the
Plaintiff’s academic career.

168. Declaration that Nagina Mangal’s actions and conduct did cause deprivation of the Plaintiff’s civil rights
and civil liberties in violation of the Plaintiff’s rights under 42 U.S.C. § 1983.

169. Declaration that Ann Graybiel’s actions and conduct did cause deprivation of the Plaintiff’s civil rights
and civil liberties in violation of the Plaintiff’s rights under 42 U.S.C. § 1983.


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170. Declaration that MIT’s actions and conduct did cause deprivation of the Plaintiff’s civil rights and civil
liberties in violation of the Plaintiff’s rights under 42 U.S.C. § 1983.

171. Declaration that Nagina Mangal did tortiously interfere with the Plaintiff’s academic contract with MIT
and the Graybiel lab as a Visiting Student during 2022 - 2023, resulting in the breach of the contract, its early
termination and disruption of the Plaintiff’s academic career.

172. Declaration that Ann Graybiel did tortiously interfere with the Plaintiff’s academic contract with MIT
and the Graybiel lab as a Visiting Student during 2022 - 2023, resulting in the breach of the contract, its early
termination and disruption of the Plaintiff’s academic career.

173. Declaration that MIT did tortiously interfere with the Plaintiff’s academic contract with MIT and the
Graybiel lab as a Visiting Student during 2022 - 2023, resulting in the breach of the contract, its early
termination and disruption of the Plaintiff’s academic career.

174. Declaration that All the MIT Campus police defendants did violate the Plaintiff’s Fourth Amendment
rights against unreasonable search and seizure.

175. Declaration that All the MIT Campus police defendants did unlawfully and tortiously falsely imprison or
facilitate the imprisonment of the Plaintiff

176. Declaration that All the MIT Campus police defendants did facilitate the unlawful arrest of the Plaintiff
by the Cambridge Police.

177. Declaration that The Cambridge Police, the Cambridge Police Department and the City of Cambridge all
unlawfully and unconstitutionally participated in the unconstitutional violation of the Plaintiff’s Fourth
Amendment rights against unreasonable search and seizure without probable cause.

178. Declaration that Dr. Lisa Wolfe did commit gross negligence in her guidance, advice, formulation,
dictation, formation and execution of the 1992 Express Bilateral Contract without warning the Plaintiff of
Colon’s severe psychological problems, including Dissociative Identity Disorder with Multiple Personality,
when Expert Opinion strongly advises against and warns of such terminations of the doctor-patient
relationship, which resulted in harms and injuries to the Plaintiff and to Lourdes Colon.

179. Declaration that Dr. Lisa Wolfe did commit medical malpractice in her guidance, advice, formulation,
dictation, formation and execution of the 1992 Express Bilateral Contract without warning the Plaintiff of
Colon’s severe psychological problems, including Dissociative Identity Disorder with Multiple Personality,
when Expert Opinion strongly advises against and warns of such terminations of the doctor-patient
relationship, which resulted in harms and injuries to the Plaintiff and to Lourdes Colon.

180. Declaration that Dr. Lisa Wolfe did commit gross medical misconduct in her guidance, advice,
formulation, dictation, formation and execution of the 1992 Express Bilateral Contract without warning the
Plaintiff of Colon’s severe psychological problems, including Dissociative Identity Disorder with Multiple
Personality, when Expert Opinion strongly advises against and warns of such terminations of the doctor-
patient relationship, which resulted in harms and injuries to the Plaintiff and to Lourdes Colon.

181. Declaration that Spero and Jorgensson LLP have vicarious liability for the torts and crimes committed by
its partner Stanley Spero under the doctrine of Respondeat superior.

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182. Declaration that Human Resources Institute and its Director Krishnaswamy Gajaraj have vicarious
liability for the torts and crimes committed by its Dr. Lisa Wolfe as a member of the medical staff under the
doctrine of Respondeat superior.

183. Declaration that Vincent DiCianni did commit legal malpractice and ineffective assistance of counsel
which caused substantial harms and injuries to the Plaintiff.

184. Declaration that Claudia Hunter did commit legal malpractice and ineffective assistance of counsel which
caused substantial harms and injuries to the Plaintiff.

185. Declaration that Robert Stolzberg did commit legal malpractice and ineffective assistance of counsel
which caused substantial harms and injuries to the Plaintiff.

186. Declaration that ProMutual Medical Insurance company has vicarious liability for the torts committed by
Claudia Hunter and failure to warn the Plaintiff of its conflict of interest in settling the suit Colon v. Weinberg,
Wesselhoeft, III, and Boston Evening Medical Center.

187. Declaration that James Beck did commit gross negligence as an Expert Witness because of his failure to
investigate the 1992 Express Bilateral Contract by which he would have learned that the doctor-patient
relationship was terminated, which severely compromised his Expert Witness opinion rendering it invalid, null
and void.

188. Declaration that James Beck did commit medical malpractice as an Expert Witness because of his failure
to investigate the 1992 Express Bilateral Contract by which he would have learned that the doctor-patient
relationship was terminated, which severely compromised his Expert Witness opinion rendering it invalid, null
and void.

189. Declaration that James Beck did commit medical misconduct as an Expert Witness because of his failure
to investigate the 1992 Express Bilateral Contract by which he would have learned that the doctor-patient
relationship was terminated, which severely compromised his Expert Witness opinion rendering it invalid, null
and void.

190. Declaration that Dr. Lisa Wolfe’s medical records corroborate Lourdes Colon having a diagnosis of
Dissociative Identity Disorder (“DID”); Multiple Personality Disorder (“MPD”) is a clinical variant of
Dissociative Identity Disorder.

191. Declaration that Due to the effects of MPD on fragmentation of the psyche with splitting into multiple
alter-egos, the memories and perceptions of a person suffering from MPD are often distorted and unreliable
and often do not correspond to reality or to the perceptions of third persons; these memories often reveal
blacked-out periods of time lasting days to weeks when a separate alter-ego has taken possession of the psyche.

192. Declaration that There is a split among the various state and federal jurisdictions on whether criminal
liability can be assigned to the alter-egos of MPD; some precedents find the alter-egos to be criminally liable
whereas other jurisdictions find the alter-egos to be “not guilty” because of “criminal insanity” and the alter-
egos do not know the difference between “right” from “wrong” among the disparate perceptions and memories
of the separate alter-egos during blacked-out periods of time.


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193. Declaration that This 1992 Express Bilateral Contract terminating the doctor-patient relationship is
relevant, material, vital and essential evidence which exonerates the Plaintiff of any wrongdoing, legally or
ethically, and absolves the Plaintiff of any allegations of sexual misconduct, and proves that the Plaintiff was
wrongfully deprived of his civil rights and civil liberties when BORIM revoked his medical license on the
false basis and belief that the Plaintiff owed defendant Lourdes Colon any duties or obligations following the
proper and lawful termination of the doctor-patient relationship on the basis of an express bilateral contract
which is constitutionally protected by the contracts clause of the U.S. Constitution.

194. Declaration that The 1992 Express Bilateral Contract which terminated the doctor-patient relationship
exonerates the Plaintiff of all wrongdoing.

195. Declaration that For thirty (30) years, defendants Lourdes Colon, Lisa Wolfe and Stanley Spero did
intentionally, purposefully and willfully conceal the relevant, material and esculpatory evidence of the 1992
Express Bilateral Contract terminating the doctor-patient relationship from multiple tribunals and Courts of
law including: Massachusetts Middlesex Superior Court, Massachusetts Suffolk Superior Court, the
Massachusetts Division of Administrative Law Appeals, the Massachusetts Board of Registration in Medicine,
the Massachusetts Supreme Judicial Court, the Maine Board of Bar Overseers, and the Maine Supreme
Judicial Court; this intentional concealment of esculpatory evidence by these three defendants comprised the
crime of spoliation of evidence which was a grave injustice to the Plaintiff and proximately caused substantial
economic and non-economic injuries to the Plaintiff amounting to over $6,000,000.00 (Six million US dollars),
ruination of the Plaintiff’s reputation which continued to cause substantial losses of economic opportunities
and jobs up to 2024, bankruptcy, divorce, and destroyed the life and world of the Plaintiff.

196. Declaration that Through her conspiratorial concealment of the exculpatory evidence of the 1992
memorialized handwritten Express Bilateral Contract terminating the doctor-patient relationship, Lourdes
Colon did commit the evidentiary crimes of: (a) spoliation of evidence, (b) obstruction of justice, (c)
interfering with the fair administration of the law, (d) tampering with evidence, (e) fraudulent concealment of
evidence, (f) falsification of business records, (g) falsification of official state judicial records, (h) filing a false
insurance claim, (i) insurance fraud, (j) perjury, (k) bribery of a witness, (l) judicial misconduct, (m) malicious
prosecution, (n) witness coaching, (o) fabricating evidence, (p) subornation of perjury, (q) suppression of
evidence, (r) mocking the court, (s) impeding service of process, (t) creating a false judicial record in a court
of law, and (u) deprivation of the Plaintiff’s civil rights and civil liberties while acting under the color of law
in violation of 42 U.S.C. 1983.

197. Declaration that Through her conspiratorial concealment of the exculpatory evidence of the 1992
memorialized handwritten Express Bilateral Contract terminating the doctor-patient relationship, Lisa Wolfe
did commit the evidentiary crimes of: (a) spoliation of evidence, (b) obstruction of justice, (c) interfering with
the fair administration of the law, (d) tampering with evidence, (e) fraudulent concealment of evidence, (f)
falsification of business records, (g) falsification of official state judicial records, (h) filing a false insurance
claim, (i) insurance fraud, (j) perjury, (k) bribery of a witness, (l) judicial misconduct, (m) malicious
prosecution, (n) witness coaching, (o) fabricating evidence, (p) subornation of perjury, (q) suppression of
evidence, (r) mocking the court, (s) impeding service of process, (t) creating a false judicial record in a court
of law, and (u) deprivation of the Plaintiff’s civil rights and civil liberties while acting under the color of law
in violation of 42 U.S.C. 1983.

198. Declaration that Through his conspiratorial concealment of the exculpatory evidence of the 1992
memorialized handwritten Express Bilateral Contract terminating the doctor-patient relationship, Stanley
Spero did commit the evidentiary crimes of: (a) spoliation of evidence, (b) obstruction of justice, (c)

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interfering with the fair administration of the law, (d) tampering with evidence, (e) fraudulent concealment of
evidence, (f) falsification of business records, (g) falsification of official state judicial records, (h) filing a false
insurance claim, (i) insurance fraud, (j) perjury, (k) bribery of a witness, (l) judicial misconduct, (m) malicious
prosecution, (n) witness coaching, (o) fabricating evidence, (p) subornation of perjury, (q) suppression of
evidence, (r) mocking the court, (s) impeding service of process, (t) creating a false judicial record in a court
of law, and (u) deprivation of the Plaintiff’s civil rights and civil liberties while acting under the color of law
in violation of 42 U.S.C. 1983.

199. Declaration that Through their deception and concealment of the 1992 Express Bilateral Contract
terminating the doctor-patient relationship from the tribunals, defendants Lourdes Colon, Lisa Wolfe and
Stanley Spero did engage in and commit: (a) spoliation of evidence, (b) obstruction of justice, (c) interfering
with the fair administration of the law, (d) tampering with evidence, (e) fraudulent concealment of evidence, (f)
filing a false insurance claim, (g) insurance fraud, (h) perjury, (i) bribery of a witness, (j) judicial misconduct,
(k) malicious prosecution, (l) witness coaching, (m) fabricating evidence, (n) subornation of perjury, (o)
suppression of evidence, (p) mocking the court, (q) impeding service of process, (r) creating a false judicial
record in a court of law, and (s) deprivation of the Plaintiff’s civil rights and civil liberties while acting under
the color of law in violation of 42 U.S.C. § 1983.

200. Declaration that Through their deception and concealment of the 1992 Express Bilateral Contract
terminating the doctor-patient relationship from the tribunals, defendants Lourdes Colon, Lisa Wolfe and
Stanley Spero did falsely and fraudulently obtain an insurance settlement of $150,000.00 from the ProMutual
Medical Insurance medical malpractice insurer, which settlement in part was based on the false premise that
the Plaintiff was acting as Colon’s doctor and such conduct comprises insurance fraud.

201. Declaration that The continued concealment of the exculpatory 1992 Express Bilateral Contract, which
terminated the doctor-patient relationship, as part of the official judicial record in multiple courts and tribunals
did comprise fraud upon those courts and tribunals and renders the final judgments of those tribunals to be
void or voidable on the basis of criminal fraud of concealing exculpatory evidence; these final judgments may
be vacated via a Writ of Error Coram Nobis.

202. Declaration that The Plaintiff is a U.S. citizen, born in Brooklyn, New York on October 27, 1953, and as
such is entitled to all the protections, privileges and immunities guaranteed to all U.S. citizens under the U.S.
Constitution.

203. Declaration that The Plaintiff does suffer from and did suffer from multiple neurologic and medical
conditions for most of his life including: anoxic encephalopathy at birth, traumatic brain injury, subdural
hematoma, s/p craniotomy, elevated intracranial pressure, hypothyroidism and Attention Deficit Disorder, all
of which combined shows that the Plaintiff is a member of the statutorily-protected class of disabled
Americans under the Americans with Disabilities Act.

204. Declaration that The Plaintiff is an osteopathic physician who earned his Doctor of Osteopathic Medicine
degree (D.O.) from the New York College of Osteopathic Medicine in June 1986.

205. Declaration that The Plaintiff did two (2) years of post-graduate training including one (1) year in
Anatomic Pathology at Brown University in Providence, RI (1986-87) and one (1) year in Internal Medicine at
St. Vincent Medical Center in Worcester, MA (1987-88).

206. Declaration that During these two years of post-graduate training, the Plaintiff did not receive any

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training in psychiatry or psychotherapy, nor did he receive any training in handling transference or counter-
transference, as these skills and knowledge are not usually taught to first-year residents in either Anatomic
Pathology or Internal Medicine.

207. Declaration that The Plaintiff has never held himself out to the public as a psychotherapist, psychiatrist,
psychologist or any other type of mental health professional.

208. Declaration that At BEMC the Plaintiff was practicing medicine as a Family Medicine physician, treating
adult patients of both sexes between the ages of 18 years and 99 years of age, but the Plaintiff never engaged
in any type of psychotherapy nor psychiatry with his patients.

209. Declaration that On or about November 1996, Lourdes Colon filed a lawsuit in Middlesex Superior Court
entitled Colon v. Weinberg, Wesselhoeft,III and Boston Evening Medical Center in which she alleged that the
Plaintiff engaged in sexual misconduct but concealed the fact, comprising spoliation of exculpatory evidence,
that there was a 1992 Express Bilateral Contract which terminated the doctor-patient relationship; this lawsuit
was settled by ProMutual Medical Malpractice insurer in 1998.

210. Declaration that On or about 1998, defendant Chairman, Board of Registration in Medicine, did initiate
adjudicatory proceedings against the Plaintiff pursuant to M.G.L.c.112, s.5(c), 243 CMR 1.03(5)(a)3, 243
CMR 1.03(5)(a)18 and Raymond v. Board of Registration in Medicine, 387 Mass. 708 (1982) in order to
discipline the Plaintiff – “Board of Registration in Medicine, Petitioner v. Robert P. Weinberg, D.O.,
Respondent”, Docket No. BR-99-074 (“DALA proceedings”).

211. Declaration that Defendant Sarah Luick, did adjudicate the proceedings against the Plaintiff pursuant to
M.G.L.c.112, s.5(c), 243 CMR 1.03(5)(a)3, 243 CMR 1.03(5)(a)18 and Raymond v. Board of Registration in
Medicine, 387 Mass. 708 (1982) in order to discipline the Plaintiff - “Board of Registration in Medicine,
Petitioner v. Robert P. Weinberg, D.O., Respondent”, Docket No. BR-99-074 (“DALA proceedings”).

212. Declaration that These DALA proceedings comprised Formal Adjudication on the record necessitating all
the protections and procedures under M.G.L. c. 30A, the State Administrative Procedures Act which under
Due Process of Law also necessitates the right to (1) Notice and (2) a Fair Hearing, as guaranteed by both the
Massachusetts Constitution and the U.S. Constitution. Goldberg v. Kelly, 397 U.S. 254 (1970).

213. Declaration that Three different lawyers were sequentially involved with the representation of the
Plaintiff before these adjudicatory proceedings on the record: (1) first was attorney Vincent DiCianni who
represented the Plaintiff from 1998 to 2000; (2) second was Robert Stolzberg who represented the Plaintiff
from 2000 to 2001; and finally (3) Northeastern University School of Law Professor John Flym who
represented the Plaintiff from 2001 through to his appeal to the Massachusetts Supreme Judicial Court in 2005.
Alice Oliff did represent the Petitioner Massachusetts Board of Registration in Medicine in these adjudicatory
proceedings, after replacing Richard Waring.

214. Declaration that For judicial efficiency in creating a factual record, the Plaintiff, through his attorney
John Flym, and BORIM, through their attorney Alice Oliff agreed to collaborate on writing a Joint Stipulation
to create the factual record for the undisputed statements of material fact; this Stipulation for the factual record
did not resolve factual issues involving material facts in dispute between the parties and as such was silent on
any statements of material fact which were in dispute such as the 1992 Express Bilateral Contract terminating
the doctor-patient relationship.


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215. Declaration that This joint stipulation did not directly address nor include any disputed statements of
material fact relevant to the proceedings, even where such disputed statements of material fact were essential
to a determination of the status of the relationship between the Plaintiff and Lourdes Colon and comprised
exculpatory evidence which would exonerate the Plaintiff of all wrongdoing.

216. Declaration that The Plaintiff never waived his right to a fair hearing to resolve factual issues in dispute,
where such a Hearing is guaranteed under Due Process of Law as guaranteed by both the Massachusetts
Constitution and the U.S. Constitution. Goldberg v. Kelly, 397 U.S. 254 (1970).

217. Declaration that The state actor defendants did violate the Plaintiff’s right to Due Process of Law by
denying him a fair hearing and the opportunity to be heard and confront government witnesses against him;
the exculpatory evidence of the 1992 Express Bilateral Contract terminating the doctor-patient relationship,
which exonerates the Plaintiff, was not part of the factual record so that the Plaintiff could not raise new
exculpatory evidence and new issues of fact not present in the original factual record.

218. Declaration that These DALA proceedings against the Plaintiff in the Massachusetts Division of
Administrative Law Appeals, “Board of Registration in Medicine, Petitioner v. Robert P. Weinberg, D.O.,
Respondent”, Docket No. BR-99-074, did comprise formal adjudication on the record pursuant to M.G.L. c.
30A the Massachusetts Administrative Procedures Act, which provides for the Notice and Fair Hearing
requirements of Due Process of Law. Goldberg v. Kelly, 397 U.S. 254 (1970).

219. Declaration that In these proceedings against the Plaintiff in the Massachusetts Division of
Administrative Law Appeals, “Board of Registration in Medicine, Petitioner v. Robert P. Weinberg, D.O.,
Respondent”, Docket No. BR-99-074, the Plaintiff was guaranteed the right to procedural due process under
the Massachusetts Constitution, the U.S. Constitution, and M.G.L. c. 30A before the Commonwealth of
Massachusetts could deprive the Plaintiff of his life, liberty or property including but not limited to his license
to practice Medicine in the Commonwealth of Massachusetts. Goldberg v. Kelly, 397 U.S. 254 (1970).

220. Declaration that The law requires that the Commonwealth of Massachusetts comply with the
requirements of Due Process of law before it may suspend, revoke or terminate the Plaintiff's license to
practice medicine and Procedural Due Process mandates that the Plaintiff be provided with appropriate Notice
and a Fair Hearing. Goldberg v. Kelly, 397 U.S. 254 (1970).

221. Declaration that Procedural Due Process mandates that the Plaintiff be provided with a Fair Hearing at
which the Plaintiff may: (1) have the opportunity to orally present evidence of exonerating evidence; (2)
subpoena percipient witnesses with personal knowledge relevant to the proceedings; (3) confront adverse
witnesses who present testimony or evidence against the Plaintiff’s interests; (4) cross-examine adverse
witnesses who present testimony or evidence against the Plaintiff’s interests; (5) be provided with an impartial
neutral decisionmaker who will make a decision only on the evidence presented; (7) be provided with an
unbiased tribunal; (8) be acknowledged of all potential opposing evidence against the Plaintiff’s interests; (9)
have the opportunity to be represented by counsel; (10) be provided by the tribunal with a record of the
evidence presented; and (11) be provided by the tribunal with written findings of fact and the reasons for its
decision. Goldberg v. Kelly, 397 U.S. 254 (1970); [Glicksman, Robert L.; Levy, Richard E. (2010)
Administrative Law: Agency Action in Legal Context. 9781599416106: Foundation Press] [Strauss, Peter.
“Due Process” Legal Information Institute]

222. Declaration that Lourdes Colon was the Plaintiff’s former patient and is called “Patient A” in court
pleadings and in records maintained by the Defendant Massachusetts Board of Registration in Medicine.

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223. Declaration that Lourdes Colon was a named party in multiple judicial proceedings involving the Plaintiff
including, but not limited to: Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center et al. in
Middlesex Superior Court; Weinberg v. Colon in Suffolk Superior Court and was the primary adverse witness
in Massachusetts Division of Administrative Law Appeals, “Board of Registration in Medicine, Petitioner v.
Robert P. Weinberg, D.O., Respondent”, Docket No. BR-99-074.

224. Declaration that In all judicial proceedings named herein (and above), Lourdes Colon refused to testify,
was unable to testify, or was unavailable to testify at any scheduled hearing before the tribunals, at any
deposition scheduled before these tribunals, or appear at any tribunal hearing at which the Plaintiff would have
had the opportunity to confront the adverse witness or cross-examine the adverse witness presenting evidence
against the Plaintiff’s interests and the failure to provide a hearing substantially prejudiced the factual findings
against the Plaintiff and this substantial bias was noted by the fact-finder Magistrate Sarah Luick in her
Recommended Decision.

225. Declaration that During the DALA proceedings, the Plaintiff was never provided with the opportunity for
a Hearing to resolve issues of material fact in dispute, as was required by Due Process of Law, M.G.L. c. 30A,
the Massachusetts Constitution and the U.S. Constitution and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff who could not introduce the exculpatory evidence of the
1992 Express Bilateral Contract which terminated the doctor-patient relationship.

226. Declaration that During the DALA proceedings, the Plaintiff was never provided with the opportunity for
a Hearing to resolve issues of material and exculpatory fact in dispute, as was required by Due Process of Law,
M.G.L. c. 30A, the Massachusetts Constitution and the U.S. Constitution, because Lourdes Colon refused to
testify, was unable to testify or was unavailable to testify and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff.

227. Declaration that During the DALA proceedings, the Plaintiff was never provided with the opportunity for
a Hearing to resolve issues of material fact involving exculpatory evidence in dispute, which were essential for
the fact-finder to determine accurately the status of the relationship between the Plaintiff and Lourdes Colon
and the failure to provide a hearing substantially prejudiced the factual findings against the Plaintiff.

228. Declaration that During the DALA proceedings, the Plaintiff was never provided with the opportunity for
a Hearing to resolve issues of material fact involving exculpatory evidence in dispute, or the opportunity to
orally present exculpatory evidence on the termination of the doctor-patient relationship which exonerates the
Plaintiff and the failure to provide a hearing substantially prejudiced the factual findings against the Plaintiff.

229. Declaration that The Plaintiff was denied the opportunity to orally present the exculpatory evidence on
the 1992 memorialized handwritten Express Bilateral Contract which terminated the doctor-patient
relationship and exonerates the Plaintiff and the failure to provide a hearing substantially prejudiced the
factual findings against the Plaintiff.

230. Declaration that The Plaintiff was denied the opportunity to orally present exculpatory evidence on the
1992 memorialized Express Bilateral Contract, which terminated the doctor-patient relationship, which was
drafted and dictated by the Psychologist Lisa Wolfe and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff.

231. Declaration that The Plaintiff was denied the opportunity to orally present exculpatory evidence on the

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1992 memorialized Express Bilateral Contract, which terminated the doctor-patient relationship, which was
drafted and dictated by the Psychologist Lisa Wolfe in a consultation room at the Arbour Human Resources
Institute in Brookline, Massachusetts and the failure to provide a hearing substantially prejudiced the factual
findings against the Plaintiff.

232. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the spoliation of
material exculpatory evidence by Lourdes Colon and the failure to provide a hearing substantially prejudiced
the factual findings against the Plaintiff.

233. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the spoliation of
material exculpatory evidence by Lisa Wolfe and the failure to provide a hearing substantially prejudiced the
factual findings against the Plaintiff.

234. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the spoliation of
material exculpatory evidence by Stanley Spero and the failure to provide a hearing substantially prejudiced
the factual findings against the Plaintiff.

235. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material evidence, comprising the 1992 memorialized Express Bilateral Contract
which terminated the doctor-patient relationship, by Lourdes Colon and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

236. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material exculpatory evidence, comprising the 1992 memorialized Express
Bilateral Contract which terminated the doctor-patient relationship, by Lisa Wolfe and the failure to provide a
hearing substantially prejudiced the factual findings against the Plaintiff.

237. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material exculpatory evidence, comprising the 1992 memorialized Express
Bilateral Contract which terminated the doctor-patient relationship, by Stanley Spero and the failure to provide
a hearing substantially prejudiced the factual findings against the Plaintiff.

238. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material exculpatory evidence, comprising the subsequent mutually-agreed upon
modification of the 1992 memorialized Express Bilateral Contract, which classified time and location into
clinical and nonclinical worlds, by Lourdes Colon and the failure to provide a hearing substantially prejudiced
the factual findings against the Plaintiff.

239. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material evidence, comprising the subsequent mutually-agreed upon modification
of the 1992 memorialized Express Bilateral Contract, which classified time and location into clinical and
nonclinical worlds, by Lisa Wolfe and the failure to provide a hearing substantially prejudiced the factual
findings against the Plaintiff.

240. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the purposeful and
intentional concealment of material evidence, comprising the subsequent mutually-agreed upon modification
of the 1992 memorialized Express Bilateral Contract, which classified time and location into clinical and
nonclinical worlds, by Stanley Spero and the failure to provide a hearing substantially prejudiced the factual

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findings against the Plaintiff.

241. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the fraudulent
concealment of material evidence from the tribunal by Lourdes Colon and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

242. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the fraudulent
concealment of material evidence from the tribunal by Lisa Wolfe and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

243. Declaration that The Plaintiff was denied the opportunity to orally present evidence on the fraudulent
concealment of material evidence from the tribunal by Stanley Spero and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

244. Declaration that Lourdes Colon did commit spoliation of evidence through her concealment of the
material evidence of the 1992 memorialized Expressed Bilateral Contract which terminated the doctor-patient
relationship between the Plaintiff and Lourdes Colon and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff.

245. Declaration that Lisa Wolfe did commit spoliation of evidence through her concealment of the material
evidence of the 1992 memorialized Expressed Bilateral Contract which terminated the doctor-patient
relationship between the Plaintiff and Lourdes Colon and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff.

246. Declaration that Stanley Spero did commit spoliation of evidence through her concealment of the
material evidence of the 1992 memorialized Expressed Bilateral Contract which terminated the doctor-patient
relationship between the Plaintiff and Lourdes Colon and the failure to provide a hearing substantially
prejudiced the factual findings against the Plaintiff.

247. Declaration that Lourdes Colon did commit fraud upon the Court in the judicial proceedings at the
Middlesex Superior Court, Suffolk Superior Court, Division of Administrative Law Appeals and the
Massachusetts Supreme Judicial Court through her spoliation of material evidence comprising the 1992
memorialized Express Bilateral Contract which terminated the doctor-patient relationship between the Plaintiff
and Lourdes Colon and the failure to provide a hearing substantially prejudiced the factual findings against the
Plaintiff.

248. Declaration that Lisa Wolfe did commit fraud upon the Court in the judicial proceedings at the Middlesex
Superior Court, Suffolk Superior Court, Division of Administrative Law Appeals and the Massachusetts
Supreme Judicial Court through her spoliation of material evidence comprising the 1992 memorialized
Express Bilateral Contract which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon and the failure to provide a hearing substantially prejudiced the factual findings against the Plaintiff.

249. Declaration that Stanley Spero did commit fraud upon the Court in the judicial proceedings at the
Middlesex Superior Court, Suffolk Superior Court, Division of Administrative Law Appeals and the
Massachusetts Supreme Judicial Court through his spoliation of material evidence comprising the 1992
memorialized Express Bilateral Contract which terminated the doctor-patient relationship between the Plaintiff
and Lourdes Colon and the failure to provide a hearing substantially prejudiced the factual findings against the
Plaintiff.

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250. Declaration that Lourdes Colon did commit obstruction of justice and interference with the fair
administration of justice through her withholding material evidence essential for the fact-finder of the tribunal
in the judicial proceedings relevant to the Plaintiff’s medical license and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

251. Declaration that Lisa Wolfe did commit obstruction of justice and interference with the fair
administration of justice through her withholding material evidence essential for the fact-finder of the tribunal
in the judicial proceedings relevant to the Plaintiff’s medical license and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

252. Declaration that Stanley Spero did commit obstruction of justice and interference with the fair
administration of justice through her withholding material evidence essential for the fact-finder of the tribunal
in the judicial proceedings relevant to the Plaintiff’s medical license and the failure to provide a hearing
substantially prejudiced the factual findings against the Plaintiff.

253. Declaration that The Plaintiff was denied his right to a fair hearing guaranteed under procedural due
process under the Massachusetts Constitution, the U.S. Constitution, and M.G.L. c. 30A before the
Commonwealth of Massachusetts could deprive the Plaintiff of his life, liberty or property and the failure to
provide a hearing substantially prejudiced the factual findings against the Plaintiff.

254. Declaration that The Plaintiff was denied his right to a Fair Hearing at which the Plaintiff may: (1) have
the opportunity to orally present evidence of exonerating evidence; (2) subpoena percipient witnesses with
personal knowledge relevant to the proceedings; (3) confront adverse witnesses who present testimony or
evidence against the Plaintiff’s interests; (4) cross-examine adverse witnesses who present testimony or
evidence against the Plaintiff’s interests; (5) be provided with an impartial neutral decisionmaker who will
make a decision only on the evidence presented; (7) be provided with an unbiased tribunal; (8) be
acknowledged of all potential opposing evidence against the Plaintiff’s interests; (9) have the opportunity to be
represented by counsel; (10) be provided by the tribunal with a record of the evidence presented; and (11) be
provided by the tribunal with written findings of fact and the reasons for its decision and the failure to provide
a hearing substantially prejudiced the factual findings against the Plaintiff.

255. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to
procedural due process guaranteed by Selective incorporation of the Bill of Rights of the U.S. Constitution
through the Due Process clause of the Fourteenth Amendment.

256. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law as guaranteed by the Massachusetts Constitution and the Fourteenth Amendment of the U.S.
Constitution as selectively incorporated to the States under the Due Process clause.

257. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by the Massachusetts Board of Registration in Medicine.

258. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by the Massachusetts Division of Administrative Law
Appeals.

259. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due

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Process of Law, guaranteed by the Constitution, by Magistrate Sarah Luick.

260. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by the Massachusetts Supreme Judicial Court which
depended upon the false factual records from the lower courts.

261. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by Middlesex Superior Court.

262. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by Suffolk Superior Court.

263. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by Justice Ellen Gorman which depended upon the false
factual records from the lower courts.

264. Declaration that Without a fair hearing and the right to be heard, the Plaintiff was denied his right to Due
Process of Law, guaranteed by the Constitution, by the Maine Supreme Judicial Court which depended upon
the false factual records from the lower courts.

265. Declaration that Lourdes Colon, also known as “Patient A”, was a patient under the care of the Plaintiff at
the Boston Evening Medical Center.

266. Declaration that Lourdes Colon saw a brochure describing the profiles of the doctors practicing at the
Boston Evening Medical Center on a table in the patients’ front-lobby waiting area.

267. Declaration that The brochure described some of the research which the Plaintiff was engaged in at the
Massachusetts Institute of Technology.

268. Declaration that Lourdes Colon expressed her wish to assist the Plaintiff with some research at MIT
during the summer of 1992.

269. Declaration that The Plaintiff discussed patient Lourdes Colon’s interest in becoming a research assistant
with the Medical Director Robert Wesselhoeft, III, M.D. and also with the Executive Director Ruth Taylor at
the Boston Evening Medical Center (“BEMC”).

270. Declaration that Dr. Robert Wesselhoeft, III and Ruth Taylor approved the Plaintiff going to the meeting
at HRI to discuss the possibility of Lourdes Colon becoming a research assistant.

271. Declaration that Lourdes Colon was hospitalized at the Arbour Human Resource Institute (“HRI”) on
Babcock Street in Brookline, Massachusetts during the summer of 1992.

272. Declaration that While hospitalized at the Arbour Human Resource Institute (“HRI”), Lourdes Colon was
under the care of licensed psychologist Lisa Wolfe.

273. Declaration that During a psychotherapy session with Lisa Wolfe on or about September 1992 at HRI, Dr.
Wolfe encouraged Lourdes Colon to phone the Plaintiff at the Boston Evening Medical Center to ask whether
the Plaintiff would like Colon to be his research assistant.

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274. Declaration that At that September 1992 psychotherapy session, Lisa Wolfe and Lourdes Colon invited
the Plaintiff to come to a meeting at HRI to discuss the possibility of Lourdes Colon working as a research
assistant to the Plaintiff at MIT.

275. Declaration that On September 12, 1992, the Plaintiff went to HRI and met with Dr. Lisa Wolfe and
Lourdes Colon in a consultation room on the first floor.

276. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe managed the agenda and the meeting.
A declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe discussed Lourdes Colon’s interest in becoming a
research assistant.

277. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe discussed the Plaintiff’s terminating the
doctor-patient relationship and assisting with finding a new primary care provider for Lourdes Colon.

278. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe explained that following the termination of the
doctor-patient relationship between the Plaintiff and Lourdes Colon, the Plaintiff would no longer need be
concerned about any ethical duties or obligations which he had when he was her doctor.

279. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe explained that following the termination of the
doctor-patient relationship between the Plaintiff and Lourdes Colon, the Plaintiff would no longer be limited
nor restricted in the subsequent relationship while Lourdes Colon worked as his research assistant.

280. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe explained that following the termination of the
doctor-patient relationship between the Plaintiff and Lourdes Colon, the Plaintiff would no longer be bound by
any of the duties or obligations usually imposed on physicians regarding their relationships with their patients.

281. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
share with the Plaintiff any information regarding the mental state or psychological diagnoses of Lourdes
Colon.

282. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
share with the Plaintiff any information regarding Dr. Wolfe’s diagnosis of Dissociative state, written in her
admission note on Lourdes Colon.

283. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
share with the Plaintiff any information regarding the potential for problems which might arise from the
mental state or diagnoses of Lourdes Colon, involving Dissociative Identity Disorder along with her Multiple
Personality Syndrome.

284. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
share with the Plaintiff any information regarding the diagnosis of Lourdes Colon with Dissociative Identity
Disorder or Multiple Personality Disorder which Lourdes Colon suffers from or did suffer from.

285. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
warn the Plaintiff of the need to avoid any specific conduct or behavior regarding the diagnosis of Lourdes
Colon with Dissociative Identity Disorder or Multiple Personality Disorder which Lourdes Colon suffers from
or did suffer from.

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286. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
warn the Plaintiff of the need to avoid any romantic or sexual involvement between the Plaintiff and Lourdes
Colon regarding the diagnosis of Lourdes Colon with Dissociative Identity Disorder or Multiple Personality
Disorder which Lourdes Colon suffers from or did suffer from.

287. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
warn the Plaintiff of the need to avoid any romantic or sexual involvement between the Plaintiff and Lourdes
Colon following the termination of the doctor-patient relationship, regarding the diagnosis of Lourdes Colon
with Dissociative Identity Disorder or Multiple Personality Disorder which Lourdes Colon suffers from or did
suffer from.

288. Declaration that At the 9/12/1992 meeting and all subsequent communications, Dr. Lisa Wolfe did not
warn the Plaintiff of the serious risks which might arise from the mental state or psychological diagnoses of
Lourdes Colon, regarding the diagnosis of Lourdes Colon with Dissociative Identity Disorder or Multiple
Personality Disorder which Lourdes Colon suffers from or did suffer from.

289. Declaration that Plaintiff’s Expert Witness will testify that a patient with Lourdes Colon’s diagnoses of
Dissociative Identity Disorder or Multiple Personality disorder should not transition out from a doctor-patient
relationship into a personal relationship.

290. Declaration that Plaintiff’s Expert Witness will testify that encouraging a patient with Lourdes Colon’s
diagnoses of Dissociative Identity Disorder or Multiple Personality disorder to transition out from a doctor-
patient relationship into a personal relationship is highly risky.

291. Declaration that Plaintiff’s Expert Witness will testify that encouraging a patient with Lourdes Colon’s
diagnoses of Dissociative Identity Disorder or Multiple Personality disorder to transition out from a doctor-
patient relationship into a personal relationship comprises gross negligence in the practice of psychology.

292. Declaration that Plaintiff’s Expert Witness will testify that encouraging a patient with Lourdes Colon’s
diagnoses of Dissociative Identity Disorder or Multiple Personality disorder to transition out from a doctor-
patient relationship into a personal relationship comprises medical malpractice and gross negligence.

293. Declaration that Expert Witness testimony confirms that Dr Lisa Wolfe’s encouraging a patient with
Lourdes Colon’s diagnoses of Dissociative Identity Disorder or Multiple Personality disorder to transition out
from a doctor-patient relationship into a personal relationship has a foreseeable risk of substantial harm to both
the Plaintiff and Lourdes Colon.

294. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe asked the Plaintiff if he
would like to have Lourdes Colon work for him as a research assistant.

295. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe suggested that the
Plaintiff and Lourdes Colon formalize the agreement to terminate the doctor-patient relationship with a written
document.

296. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe informed the Plaintiff
and Lourdes Colon that Wolfe would dictate immediately the terms of the agreement which terminated the
doctor-patient relationship, which would be written down in a memorialized agreement by both the Plaintiff

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and Lourdes Colon.

297. Declaration that As discussed at the September 12, 1992 consultation meeting, the Plaintiff assisted with
finding a new primary care provider for Lourdes Colon, who was Dr. William Reichel.

298. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe dictated word-by-word
approximately 350 words drafting the agreement to terminate the doctor-patient relationship between the
Plaintiff and Lourdes Colon.

299. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe dictated the
approximate 350 words which took up about three-quarters of one side of a page measuring 7 x 10 inches.

300. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe dictated this agreement
slowly as the Plaintiff and Lourdes Colon copied down Wolfe’s words verbatim.

301. Declaration that At the September 12, 1992 consultation meeting, Dr. Lisa Wolfe’s dictated agreement
clearly terminated the doctor-patient relationship unconditionally.

302. Declaration that At the September 12, 1992 consultation meeting, the agreement which Dr. Lisa Wolfe
dictated provided for the transfer of Lourdes Colon’s medical care to a new provider at BEMC.

303. Declaration that At the September 12, 1992 consultation meeting, the agreement which Dr. Lisa Wolfe
dictated stated that the Plaintiff was no longer the doctor for Lourdes Colon.

304. Declaration that At the September 12, 1992 consultation meeting, as soon as Dr. Lisa Wolfe finished
dictating the agreement, both the Plaintiff and Lourdes Colon signed each other’s copies of the agreement
terminating the doctor-patient relationship.

305. Declaration that At the September 12, 1992 consultation meeting, Dr. Wolfe stated that, at the moment,
that both the Plaintiff and Lourdes Colon signed each other’s copy of the agreement terminating the doctor-
patient relationship dictated by Dr. Lisa Wolfe, the Plaintiff immediately ceased to be the doctor for Lourdes
Colon.

306. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
an Express Bilateral Contract.

307. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
an Express Bilateral Contract which was memorialized in writing.

308. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
an Express Bilateral Contract which was encouraged, advised, drafted and dictated by Dr. Lisa Wolfe.

309. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
an Express Bilateral Contract which terminated the doctor-patient relationship.

310. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon was a
lawful and enforceable Express Bilateral Contract which terminated the doctor-patient relationship.


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311. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
a lawful and enforceable Express Bilateral Contract which terminated the doctor-patient relationship and also
terminated all duties and obligations which the Plaintiff formerly had toward Lourdes Colon.

312. Declaration that The mutually-agreed upon modification of the 1992 Express Bilateral Contract
comprised a lawful and enforceable contract.

313. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon was
subsequently modified by the mutual agreement of the Plaintiff and Lourdes Colon.

314. Declaration that The September 12, 1992 agreement between the Plaintiff and Lourdes Colon comprised
a memorialized Express Bilateral Contract which the Plaintiff formed and executed lawfully as his guaranteed
liberty to contract under Article I, Section 10 of the U.S. Constitution.

315. Declaration that The subsequent modification of the 1992 Express Bilateral Contract which classified
time and location into either the clinical world or the nonclinical world was a lawful and enforceable contract.
316. Declaration that It was lawful and proper for the subsequent modification of the 1992 Express Bilateral
Contract to classify time and location into the clinical and nonclinical worlds.

317. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, the Plaintiff functioned as a doctor while in the clinical world.

318. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, the Plaintiff did not function as a doctor while in the nonclinical world.

319. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, while the Plaintiff functioned as a doctor in the clinical world, he was bound by the
usual and normal medical ethics controlling the doctor-patient relationship.

320. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, while the Plaintiff did not function as a doctor in the nonclinical world, he was not
bound by the usual and normal medical ethics controlling the doctor-patient relationship.

321. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, while the Plaintiff did not function as a doctor in the nonclinical world, he was not
bound by the usual and normal medical ethics controlling the doctor-patient relationship and it was not
unethical to engage in sexual activities with Lourdes Colon.

322. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, while the Plaintiff did not function as a doctor in the nonclinical world, he was not
bound by the usual and normal medical ethics controlling the doctor-patient relationship and it was proper and
ethical to engage in sexual relations with Lourdes Colon.

323. Declaration that Under the modification of the 1992 Express Bilateral Contract, which terminated the
doctor-patient relationship, while the Plaintiff functioned as a doctor in the clinical world, he was bound by the
usual and normal medical ethics controlling the doctor-patient relationship.

324. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe provided the Plaintiff with no additional

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clinical, medical or psychological information about Lourdes Colon which he did not know when he began the
meeting of the three of them.

325. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe did not share with the Plaintiff her diagnoses
or differential diagnosis Wolfe made on Lourdes Colon during her psychological treatment at HRI.

326. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe did not warn the Plaintiff of the serious risks
involved with terminating the doctor-patient relationship.

327. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe did not warn the Plaintiff of the potential for
substantial harm to both the Plaintiff and Lourdes Colon.

328. Declaration that At the 9/12/1992 meeting, Dr. Lisa Wolfe did not warn the Plaintiff that a patient like
Lourdes Colon, with a sexual abuse history of repeated rapes by her father at gunpoint and the fragmentation
of her psyche resulting in Dissociative Identity Disorder, is a vulnerable and volatile patient at high risk for
self-harm.

329. Declaration that Lourdes Colon suffers from or did suffer from a Dissociative Identity Disorder with
Multiple Personality Syndrome.

330. Declaration that This Dissociative Identity Disorder is characterized by: fragmentation and distortion of
memories, distortions of perceptions - such as sights, sounds and smells, disorganization of higher executive
cognitive functions, black-outs with unaccountable losses of days or weeks from the patient’s memories,
convoluted and involuted thought processes, impaired decision making, fragmentation of the psyche into
multiple alter-egos with separate personalities.

331. Declaration that Having suffered from substantial childhood trauma including multiple incestual rapes at
gunpoint by her Police officer step-father between the ages of 7 years and 18 years, Lourdes Colon had the
classic mental trauma experienced by most persons who suffer from Dissociative Identity Disorder; Colon’s
sisters likewise were raped by their common step-father.

332. Declaration that Lourdes Colon has numerous unidentified medical and psychiatric records under various
names because she would seek clinical help in multiple countries and states by her various alter-ego
personalities when each would be sequentially in control of her fragmented psyche.

333. Declaration that At the 9/12/1992 meeting, it was reasonable for the Plaintiff to rely on Dr. Lisa Wolfe’s
advice and encouragement to terminate the doctor-patient relationship because Dr Wolfe had not shared or
disclosed Colon’s complex psychological and psychiatric diagnoses or conditions or their substantial risk for
catastrophic outcomes.

334. Declaration that The Plaintiff did post-graduate residency training with one year of Internal Medicine and
one year of Anatomic Pathology.

335. Declaration that The Plaintiff practiced medicine in the specialties of Family Medicine and Emergency
Medicine.

336. Declaration that The Plaintiff never received any formal training in psychotherapy, psychology nor
psychiatry.

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337. Declaration that The Plaintiff never held himself out to the public as a professional capable of performing
psychotherapy or psychiatry.

338. Declaration that The Plaintiff never received any formal training in the handling or management of
transference or countertransference.

339. Declaration that The Plaintiff never received any formal training in psychology, psychotherapy,
psychoanalysis or any other mental health specialty.

340. Declaration that Following the 9/12/1992 meeting which terminated the doctor-patient relationship, the
Plaintiff assisted with the transfer of Lourdes Colon’s medical care to Dr. William Reichel at the Boston
Evening Medical Center.

341. Declaration that Following the 9/12/1992 meeting which terminated the doctor-patient relationship,
Lourdes Colon began to meet on a weekly basis at MIT with the Plaintiff to assist him with his research on an
acoustic analyzer to diagnose lung diseases.

342. Declaration that Following the 9/12/1992 meeting which terminated the doctor-patient relationship, the
Plaintiff brought Lourdes Colon to the Countway National Library of Medicine on Huntington Avenue in
Boston, where he signed papers to sponsor Colon as his research assistant and obtained for Colon her own
library card for borrowing privileges.

343. Declaration that Following the 9/12/1992 meeting which terminated the doctor-patient relationship, the
Plaintiff and Lourdes Colon would occasionally meet for coffee at MIT or in Cambridge to discuss the
research.

344. Declaration that Following the 9/12/1992 meeting which terminated the doctor-patient relationship, both
the Plaintiff and Lourdes Colon mutually agreed to modify the memorialized handwritten Express Bilateral
Contract which terminated the doctor-patient relationship.

345. Declaration that The mutually agreed-upon modified contract, which the Plaintiff and Lourdes Colon
agreed upon, provided for a clinical-nonclinical classification scheme which was a binary classifier of time
and place.

346. Declaration that the modified contract’s clinical-nonclinical binary classification scheme provided a
designation for every location and every time.

347. Declaration that The modified contract’s clinical-nonclinical binary classification scheme designated
specific locations at specific times as either part of the clinical world or part of the nonclinical world.

348. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
Lourdes Colon may return to BEMC for some of her medical care with the Plaintiff which was designated as
the clinical world by the modified contract’s binary clinical-nonclinical classification scheme.

349. Declaration that The modified contract’s clinical-nonclinical binary classification scheme’s designation
of locations and times as the clinical world or the nonclinical world according to the subjective expectations of
the Plaintiff and Lourdes Colon at that time and place.

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346. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
Lourdes Colon and the Plaintiff would mutually agree upon whether any specific time or place would be
designated as the clinical world or the nonclinical world.

347.Declaration that When the Plaintiff and Lourdes Colon had the subjective expectation that Colon was
coming to BEMC to receive some medical treatment, the modified contract’s clinical-nonclinical binary
classification scheme designated such time and place as the clinical world.

348. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
Lourdes Colon would not receive any medical care or treatment when she was in the nonclinical world, where
the subjective expectations of both the Plaintiff and Lourdes Colon was that the Plaintiff was not acting as a
physician and that he usually did not practice any medicine in the nonclinical world.

349. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
there would be no sexual or romantic activity between the Plaintiff and Lourdes Colon when Lourdes Colon
came to BEMC for medical care or treatment within the scheme’s clinical world.

350. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
any sexual or romantic activity between the Plaintiff and Lourdes Colon would only occur when both were in
the nonclinical world where the Plaintiff was not acting as a physician and not actively engaged in the practice
of medicine.

351. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
BEMC would usually be the primary domain for the clinical world.

352. Declaration that the modified contract’s clinical-nonclinical binary classification scheme provided that
BEMC would never be designated as the nonclinical world.

353. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
the 1992 memorialized handwritten Express Bilateral Contract terminating the doctor-patient relationship
would be in full force and effect whenever the Plaintiff and Lourdes Colon were located in a place and time
designated by the modified contract as the nonclinical world.

354. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that
the terms of the 1992 memorialized handwritten Express Bilateral Contract terminating the doctor-patient
relationship would be temporarily suspended while the Plaintiff and Lourdes Colon were located in a time and
place designated as the clinical world so that the Plaintiff may be able to provide medical care or treatment to
Lourdes Colon.

355. Declaration that The modified contract’s clinical-nonclinical binary classification scheme is a valid,
lawful and enforceable agreement as an Express Bilateral Contract.

356. Declaration that The modified contract’s clinical-nonclinical binary classification scheme provided that

357. Declaration that the September 12, 1992 agreement terminating the doctor-patient relationship was a
valid, lawful and enforceable Express Bilateral Contract.

358. Declaration that The September 12, 1992 agreement terminating the doctor-patient relationship was
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memorialized in a writing handwritten by both the Plaintiff and Lourdes Colon.

359. Declaration that The modification of the September 12, 1992 Express Bilateral Contract was a valid,
lawful and enforceable Express Bilateral Contract (“modified contract”).

360. Declaration that The modified contract lawfully provided for a clinical-nonclinical binary classification
of time and place.

361. Declaration that The modified Express Bilateral Contract designated every place and every time into
either the Clinical World or the Nonclinical World.

362. Declaration that The Clinical World, designated by the modified contract, was based on the subjective
expectations of the Plaintiff and Lourdes Colon.

363. Declaration that In the Clinical World, classified by the modified contract, the Plaintiff engage in the
practice of medicine.

364. Declaration that In the Clinical World, classified by the modified contract, the Plaintiff held himself out
to the public as a physician where patients could come to receive medical care and treatment.

365. Declaration that In the nonclinical world, classified by the modified contract, the Plaintiff did not engage
in the practice of medicine nor did he meet with any patients.

366. Declaration that Lourdes Colon suffered from or currently suffers from a Dissociative Identity Disorder.

367. Declaration that Lourdes Colon suffered from or currently suffers from a Multiple Personality Disorder.

368. Declaration that In her Admission Note on Lourdes Colon to HRI in 1992, Dr. Lisa Wolfe indicated
“rule/out Dissociative disorder NOS.”

369. Declaration that Recommending that the Plaintiff terminate the doctor-patient relationship with Lourdes
Colon comprised gross negligence and medical malpractice.

370. Declaration that Recommending that the Plaintiff terminate the doctor-patient relationship with Lourdes
Colon demonstrated a serious lack of clinical judgment and gross negligence by Dr. Lisa Wolfe.

371. Declaration that The termination of the doctor-patient relationship, which was dictated and encouraged
by Dr. Lisa Wolfe, was the direct and proximate cause of substantial injuries and damages to both the Plaintiff
and to Lourdes Colon.

372. Declaration that Dr. Lisa Wolfe did conceal her knowledge and role in the formation and execution of the
Express Bilateral Contract, which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon, from the tribunal in Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center, et al.

373. Declaration that Dr. Lisa Wolfe did conceal her knowledge and role in the formation and execution of the
Express Bilateral Contract, which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon, from the tribunal in Weinberg v. Colon.

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374. Declaration that Dr. Lisa Wolfe did conceal her knowledge and role in the formation and execution of the
Express Bilateral Contract, which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon, from the tribunal in the DALA proceedings In Re Robert P. Weinberg, D.O.

375. Declaration that Dr. Lisa Wolfe did conceal her knowledge and role in the formation and execution of the
Express Bilateral Contract, which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon, from the tribunal in the proceedings by the Massachusetts Board of Registration in Medicine in Robert
P. Weinberg v. Massachusetts Board of Registration in Medicine

376. Declaration that Dr. Lisa Wolfe did conceal her knowledge and role in the formation and execution of the
Express Bilateral Contract, which terminated the doctor-patient relationship between the Plaintiff and Lourdes
Colon, from the appellate tribunal in proceedings before the Massachusetts Supreme Judicial Court during
judicial review of Robert P. Weinberg, D.O. v. Massachusetts Board of Registration in Medicine.

377. Declaration that The BORIM regulations on physician-patient sexual engagement are discriminatory and
violate the Equal Protection clause of the U.S. Constitution - these regulations burden the fundamental liberty
to marry because the regulations allow physicians to engage in sexual relations if the physicians marry their
patients but will discipline physicians who do not marry their patients - thus the regulations, in effect say,
either marry your patient or lose your medical license; these regulations burdening the fundamental liberty to
marry are subject to judicial review under the Strict Scrutin standard.

378. Declaration that Sexual relations between physicians and their patients, without more, do not comprise
medical malpractice nor sexual misconduct as declared in the Massachusetts precedent of Korper v.
Weinstein.

379. Declaration that When the Plaintiff is in the nonclinical world not acting nor functioning as a physician,
as classified by the 1992 termination contract modified, the BORIM regulations violate the Plaintiff’s
fundamental right to privacy in the privacy of the Plaintiff’s bedroom as established by the Supreme Court
landmark decision in Lawrence v. Texas; by impairing the fundamental right to privacy such BORIM
regulations are subject to judicial review under the Strict Scrutiny standard.

380. Declaration that In summary, the BORIM regulations impair or burden several of the Plaintiff’s
fundamental constitutional rights including: the right and liberty to contract, the right and liberty to marry,
and the right and liberty against state invasion of the Plaintiff’s right to privacy.

381. Declaration that one or more of the Massachusetts State actor defendants did commit judicial misconduct
which comprised one or more of the following offenses: Judicial Complicity,Failure to exercise Due Diligence,
Failure to perform and Breach of statutory judicial duties, Abuse of Discretion,Violations of the Code of
Judicial Conduct, Malicious prosecution and/or malicious indifference, Interference with the Fair
Administration of the Law, Abuse of Judicial Process, Dereliction of Judicial Duties, Solicitation to commit a
criminal offense, Attempted commission of a criminal offense, Conspiracy to commit a criminal offense,
Collusion with co-defendants, Tampering with a Witness, Intimidation of a Witness, Misconduct in Office of
Prosecutor, Contempt of Court, Judicial Retaliation, Judicial Bias, Failure to Disclose, Misconduct in Office,
Abuse of Power, Conflict of Interest, Tampering with Evidence, Violation of the Judicial Conduct Code,
Conspiracy to Obstruct Justice, Obstruction of Justice, Judicial Derelection or Negligentia Judicis,
Brady violations - Prosecutorial withholding Exculpatory Evidence, Judicial Misconduct or simply Judicial
Dereliction/Judicial Complicity, Abuse of Judicial Authority, Misprision of a Felony, Conspiracy to commit
Misprision of Felony, Attempt to Commit Misprision of Felony, and/or Solicitation to Commit Misprision of
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Felony.

382. Declaration that the Massachusetts state actor defendants did violate the Plaintiff’s fundamental
constitutional right to Due Process of Law by denying the Plaintiff a fair hearing at DALA where the Plaintiff
was denied the opportunity to be heard, to present exculpatory evidence in his defense, to confront and cross-
examine adverse witnesses against him and to present a legal defense.
383. Declaration that the Through their multiple and collective actions and/or omissions, the Massachusetts
state actor defendants did deprive the Plaintiff of his civil and constitutional rights while acting under the color
of law in violation of 42 U.S.C. § 1983.
384. Declaration that the The 1992 Express Bilateral Contract, initially terminating the doctor patient
relationship then creating the clinical and non-clinical worlds, is a valid, lawful and enforceable contract
which is constitutionally protected by the contract clause and supercedes and pre-empts state laws and
regulations under the Supremacy doctrine.
385. Declaration that the In the clinical world, created by the 1992 Express Bilateral Contract, the Plaintiff
was a physician but in the non-clinical world, the Plaintiff was not a physician.
386. Declaration that the In the clinical world the Plaintiff is regulated as a physician by the Board of
Registration in Medicine but in the non-clinical world the Plaintiff is not subject to the rules or regulations of
BORIM because he was not a physician in the non-clinical world.
387. Declaration that the In the clinical world the Plaintiff never engaged in any intimate activities, as
corroborated by the Stipulations, and the intimate activities between the Plaintiff and Lourdes Colon in the
non-clinical world did not comprise sexual misconduct; the Plaintiff never committed any sexual misconduct
with Lourdes Colon as his status as a non-physician in the non-clinical world was defined by the express terms
of the 1992 Express Bilateral Contract.
388. Declaration that the The BORIM sanctions, discipline and revocation of the Plaintiff’s medical license
lacks statutory authority because BORIM cannot regulate the intimate activity nor discipline non-physicians
who are not acting in a physician-patient relationship and the Plaintiff was not a physician in the non-clinical
world.
389. Declaration that the The BORIM regulations are unconstitutional as applied to the Plaintiff and deprive
the Plaintiff of his civil and constitutional rights acting under the color of law in violation of 42 U.S.C. § 1983.
390. Declaration that the The 1992 Express Bilateral Contract, and its modification creating the clinical and
non-clinical worlds, is a lawful, valid and enforceable contract protected by the contract clause of the
Constitution.Declaration that the
391. Declaration that the The Supreme Court has ruled and held that Extrinsic Fraud with Fraud on the Court
vitiates and voids final court judgments in the proceedings which have been tainted by such Extrinsic Fraud.
392. Declaration that the The Supreme Court has held that Stipulations which were made in the setting of
Extrinsic Fraud are null and void, or voidable.
393. Declaration that the The Stipulations signed by the Plaintiff, under coercion and duress in the setting of
Extrinsic Fraud “with a gun held to his head” are null and void or voidable.


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394. Declaration that the The final state court judgments from the Massachusetts Supreme Judicial Court,
Division of Administrative Law Appeals, Suffolk Superior Court and Middlesex Superior Court, in the cases
of Colon v. Weinberg, Wesselhoeft and Boston Evening Medical Center, Board of Registration in Medicine v.
Robert P. Weinberg, Weinberg v. Colon, and Weinberg v. Board of Registration in Medicine, are null and void,
or voidable, due to extrinsic fraud and Fraud on the Court committed by defendants Lisa Wolfe, Stanley Spero
and Lourdes Colon and the Order revoking the Plaintiff’s medical license is null and void, or voidable,
because the adjudicatory proceedings were based on false material facts arising from Extrinsic Fraud and
Fraud on the court.
395. Declaration that the The defendants’ conduct a violation of the Plaintiff’s constitutional rights.
396. Declaration that the BORIM’s actions, judgments and orders regarding the Plaintiff’s intimate activities
in the non-clinical world comprise an unconstitutional intrusion into the Plaintiff’s privacy as defined by the
Supreme Court decision in Lawrence v. Texas.
397. Declaration that the BORIM’s judgment and order revoking the Plaintiff’s medical license are null and
void because they were based on false material facts in the adjudicatory proceedings which arose from the
defendants’ Wolfe, Spero and Colon engaging in spoliation of exculpatory evidence of the 1992 Express
Bilateral Contract, which comprised Extrinsic Fraud and Fraud on the court, thus voiding those final
judgments and orders.
398. Declaration that the BORIM regulations intentionally and purposefully discriminate between two groups
of physicians, similarly situated with respect to sexual involvement with current or former patients, where the
group that marries their patient is favored and approved but the group, including the Plaintiff, who does not
marry their patient, is sanctioned and disciplined in violation of the Equal Protection clause
399. Declaration that the BORIM regulations, which approve of physicians who marry their patients but
sanction and discipline those physicians who do not marry their patients, burden the Plaintiff’s fundamental
constitutional right to marry and as such, are subject to strict scrutiny.
400. Declaration that the Publication of the Plaintiff’s medical license revocation on the untrue basis of sexual
misconduct comprises the state’s interference with the Plaintiff’s constitutional right to engage in gainful
employment and comprises an unconstitutional sanction of the Plaintiff.
401. Declaration that the Revocation of the Plaintiff’s medical license by BORIM comprises Cruel and
Unusual Punishment and Excessive fines, costing the Plaintiff in excess of $3M (three million dollars) in lost
revenue and lost economic opportunities, in violation of the Eighth Amendment’s prohibition against such
state activities.
402. Declaration that the Massachusetts state actor defendants are guilty of judicial misconduct as detailed
more thoroughly in the attached exhibits.
403. Declaration that the The Massachusetts state actor defendants did cause deprivation of the Plaintiff’s civil
and constitutional rights while acting under the color of law in violation of 42 U.S.C. §1983.
404. Declaration that the The Massachusetts state actor defendants did violate the Plaintiff’s: (a) constitutional
right of liberty to contract, (b) constitutional right to Due Process of Law, (c) constitutional right to Equal
Protection of the Laws, (d) constitutional right to privacy in the non-clinical world, (e) constitutional right to
engage in gainful employment, (f) constitutional right of protection from Cruel and Unusual Punishment and
Excessive fines prohibited by the Eighth Amendment.
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405. Declaration that the The Massachusetts state actor defendants did judicially affirm and endorse final court
judgments which were based on unconstitutional state laws and BORIM regulations, thus violating the
Supreme Court ban on judicial affirmation or endorsement of unconstitutional law via the “facilitation doctrine”
enunciated in Shelley v. Kraemer.
406. Declaration that the Massachusetts state actor defendants did violate the Plaintiff’s fundamental
constitutional right to Due Process of Law by denying the Plaintiff a fair hearing at DALA where the Plaintiff
was denied the opportunity to be heard, to present exculpatory evidence in his defense, to confront and cross-
examine adverse witnesses against him and to present a legal defense.
407. Declaration that the Through their multiple and collective actions and/or omissions, the Massachusetts
state actor defendants did deprive the Plaintiff of his civil and constitutional rights while acting under the color
of law in violation of 42 U.S.C. § 1983.
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relationship then creating the clinical and non-clinical worlds, is a valid, lawful and enforceable contract
which is constitutionally protected by the contract clause and supercedes and pre-empts state laws and
regulations under the Supremacy doctrine.
409. Declaration that the In the clinical world, created by the 1992 Express Bilateral Contract, the Plaintiff was
a physician but in the non-clinical world, the Plaintiff was not a physician.
410. Declaration that the In the clinical world the Plaintiff is regulated as a physician by the Board of
Registration in Medicine but in the non-clinical world the Plaintiff is not subject to the rules or regulations of
BORIM because he was not a physician in the non-clinical world.
411. Declaration that the In the clinical world the Plaintiff never engaged in any intimate activities, as
corroborated by the Stipulations, and the intimate activities between the Plaintiff and Lourdes Colon in the
non-clinical world did not comprise sexual misconduct; the Plaintiff never committed any sexual misconduct
with Lourdes Colon as his status as a non-physician in the non-clinical world was defined by the express terms
of the 1992 Express Bilateral Contract.
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lacks statutory authority because BORIM cannot regulate the intimate activity nor discipline non-physicians
who are not acting in a physician-patient relationship and the Plaintiff was not a physician in the non-clinical
world.
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the Plaintiff of his civil and constitutional rights acting under the color of law in violation of 42 U.S.C. §
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Constitution.
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vitiates and voids final court judgments in the proceedings which have been tainted by such Extrinsic Fraud.
416. Declaration that the The Supreme Court has held that Stipulations which were made in the setting of
Extrinsic Fraud are null and void, or voidable.
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417. Declaration that the The Stipulations signed by the Plaintiff, under coercion and duress in the setting of
Extrinsic Fraud “with a gun held to his head” are null and void or voidable.
418. Declaration that the The final state court judgments from the Massachusetts Supreme Judicial Court,
Division of Administrative Law Appeals, Suffolk Superior Court and Middlesex Superior Court, in the cases
of Colon v. Weinberg, Wesselhoeft and Boston Evening Medical Center, Board of Registration in Medicine v.
Robert P. Weinberg, Weinberg v. Colon, and Weinberg v. Board of Registration in Medicine, are null and void,
or voidable, due to extrinsic fraud and Fraud on the Court committed by defendants Lisa Wolfe, Stanley Spero
and Lourdes Colon and the Order revoking the Plaintiff’s medical license is null and void, or voidable,
because the adjudicatory proceedings were based on false material facts arising from Extrinsic Fraud and
Fraud on the court.
419. Declaration that the The defendants’ conduct a violation of the Plaintiff’s constitutional rights.

420. Declaration that the BORIM’s actions, judgments and orders regarding the Plaintiff’s intimate activities
in the non-clinical world comprise an unconstitutional intrusion into the Plaintiff’s privacy as defined by the
Supreme Court decision in Lawrence v. Texas.
421. Declaration that the BORIM’s judgment and order revoking the Plaintiff’s medical license are null and
void because they were based on false material facts in the adjudicatory proceedings which arose from the
defendants Wolfe, Spero and Colon engaging in spoliation of exculpatory evidence of the 1992 Express
Bilateral Contract, which comprised Extrinsic Fraud and Fraud on the court, thus voiding those final
judgments and orders.
422. Declaration that the BORIM regulations intentionally and purposefully discriminate between two groups
of physicians, similarly situated with respect to sexual involvement with current or former patients, where the
group that marries their patient is favored and approved but the group, including the Plaintiff, who does not
marry their patient, is sanctioned and disciplined in violation of the Equal Protection clause.
423. Declaration that the BORIM regulations, which approve of physicians who marry their patients but
sanction and discipline those physicians who do not marry their patients, burden the Plaintiff’s fundamental
constitutional right to marry and as such, are subject to strict scrutiny.
424. Declaration that the Publication of the Plaintiff’s medical license revocation on the untrue basis of
sexual misconduct comprises the state’s interference with the Plaintiff’s constitutional right to engage in
gainful employment and comprises an unconstitutional sanction of the Plaintiff.
425. Declaration that the Revocation of the Plaintiff’s medical license by BORIM comprises Cruel and
Unusual Punishment and Excessive fines, costing the Plaintiff in excess of $3M (three million dollars) in lost
revenue and lost economic opportunities, in violation of the Eighth Amendment’s prohibition against such
state activities.
426. Declaration that the Massachusetts state actor defendants are guilty of judicial misconduct as detailed
more thoroughly in the attached exhibits.
427. Declaration that the The Massachusetts state actor defendants did cause deprivation of the Plaintiff’s civil
and constitutional rights while acting under the color of law in violation of 42 U.S.C. §1983.


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428. Declaration that the The Massachusetts state actor defendants did violate the Plaintiff’s: (a) constitutional
right of liberty to contract, (b) constitutional right to Due Process of Law, (c) constitutional right to Equal
Protection of the Laws, (d) constitutional right to privacy in the non-clinical world, (e) constitutional right to
engage in gainful employment, (f) constitutional right of protection from Cruel and Unusual Punishment and
Excessive fines prohibited by the Eighth Amendment.
429. Declaration that the The Massachusetts state actor defendants did judicially affirm and endorse final court
judgments which were based on unconstitutional state laws and BORIM regulations, thus violating the
Supreme Court ban on judicial affirmation or endorsement of unconstitutional law via the “facilitation
doctrine” enunciated in Shelley v. Kraemer.



                     B. Grant Injunctive Relief:
   1. Reverse order revoking medical license of the Plaintiff because the BORIM proceedings and judgment

   are null and void due to Extrinsic Fraud and Fraud on the Court;

   2. Reinstate Plaintiff’s medical license;

   3. Vacate judgments in the Massachusetts Middlesex Superior Court, Suffolk Superior Court, Division of

   Adminstrative Law Appeals, and Massachusetts Supreme Judicial court as null and void in the proceedings:

   Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center; Board of Registration in Medicine v.

   Robert P. Weinberg D.O.; Weinberg v. Colon; Weinberg v. Board of Registration in Medicine, on the basis

   that such final court judgments are null and void on the basis of Extrinsic Fraud and Fraud on the Court;

   4. Order new hearings on the allegations that the Plaintiff engaged in sexual misconduct de novo;

   5. Refer the relevant Massachusetts State actor defendants to District Attorney for evaluation of judicial

   misconduct and potential criminal proceedings;

   6. Prohibit continued publication of Plaintiff’s license revocation on internet;

   7. Replace all BORIM opinions, notices and postings with “Robert P. Weinberg currently not licensed;”

   8. Require correction of Public Records;



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   9. Plaintiff requests that this Court enjoin all the State actor defendants from their ongoing and continuing

   violation of the U.S. Constitution and federal laws including that the State actors be enjoined from:

       (i) enforcing BORIM regulations which violate the U.S. Constitution and other federal laws,
       (ii) enforcing BORIM regulations which violate the liberty to contract,
       (iii) enforcing BORIM regulations which violate the Equal Protection clause,
       (iv) enforcing BORIM regulations which burden the fundamental right to marry,
       (v) enforcing BORIM regulations which invade the right to privacy,
       (vi) enforcing BORIM regulations which violate Due Process of Law,
       (vii) continued publication of information which violates the Plaintiff’s right to engage in gainful
       employment on the internet, social media, print media, news media/radio/television,
       (viii) continuing sanctions which violate Eighth Amendment prohibition against Cruel and Unusual
       Punishment,
       (ix) continuing sanctions which economically harm the Plaintiff or psychologically, socially or
        emotionally harm the Plaintff;
10. Grant preliminary and permanent injunctive relief;

11. Award costs and reasonable attorneys' fees;

12. Declare void all stipulations obtained through duress and extrinsic fraud;

13. Award damages for Brady violations by BORIM prosecutors;

14. Issue declaratory judgment that Massachusetts State Actor Defendants engaged in judicial misconduct;

15. Award sanctions against defendants who engaged in spoliation of evidence;

12. Issue preliminary and permanent injunctive relief;

13. Enjoining enforcement of unconstitutional regulations;

14. Requiring removal of defamatory internet publications;

15. Mandating return of research data;

16. Prohibiting further retaliation;
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17. Grant such other relief as the Court deems just and proper.


C. Award Damages - As a direct and proximate result of Defendants’ conduct, Plaintiff has
suffered the following damages:
Monetary Damages: Compensatory, Economic, Non-economic, Punitive
   1. Economic damages in excess of $4,025,000, representing lost salary and income [Compensatory
       Damages]
   2. Irreparable damage to his reputation and professional standing.
   3. Severe emotional distress, including pain, suffering, and mental anguish.
   4. Loss of his medical license and the ability to practice medicine.
   5. Financial insolvency, bankruptcy, and foreclosure on his home.
   6. Social ostracism and humiliation, and extreme isolation from the community.
   7. Award compensatory damages against the defendants jointly and severally in an amount not less than
       $3,000,000 for:

               A) Lost income and economic opportunities
               B) Professional reputation damage
               C) Emotional distress
               D) Lost research opportunities;
   8. Award punitive damages against the defendants jointly and severally in an amount not less than
       $3,000,000

    9. Attorneys’ fees and costs
    10. Award sanctions against defendants who engaged in:
               A) Spoliation of evidence
               B) Extrinsic fraud
               C) Abuse of process
               D) Malicious prosecution;




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                    Monetary Damages sought by Plaintiff:

[1] Defendant Lisa Wolfe

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[2] Defendant Stanley Spero

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[3] Spero and Jorgensson, P.C.

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[4] Defendant Lourdes Colon

A. Compensatory damages in an amount to be determined at trial but not less than $100,000 for lost income

and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

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D. Such other and further relief as this Court deems just and proper.

[5] Defendant Nagina Mangal

A. Compensatory damages in an amount to be determined at trial but not less than $100,000 for lost income

and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[6] Defendant Ann Graybiel

A. Compensatory damages in an amount to be determined at trial but not less than $100,000 for lost income

and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[7] Sally Kornbluth

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[8] Defendant Massachusetts Institute of Technology

A. Compensatory damages in an amount to be determined at trial but not less than $100,000 for lost income

and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[9] MIT Campus Police Department

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[10] Craig Martin

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[11] Coverys

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[12] Killian Casey

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[13] Panache Flint

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D Such other and further relief as this Court deems just and proper.

[14] Michael Allen

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[15] Booker Bush

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[16] Martin Crane

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[17] Alice Oliff

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[18] Richard Waring

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[19] Thomas Reilly

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[20] Hon. Kimberly Budd

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[21] Hon. Margaret Walsh

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[22] Hon. Sarah Luick

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[23] Hon. Natalie Monroe

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[24] Andrea Campbell

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[25] Hon. Christopher Connolly

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[26] Hon. Heide Brieger

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[27] Hon. Peter W. Killborn

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[28] Andrea Campbell

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[29] Claudia Hunter

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[30] Vincent DiCianni

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[31] Ferriter Scobbo & Rodophele P.C.

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[32] Robert Stolzberg

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.

[33] Sten Lofgren

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[34] CHDI Foundation

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[35] Simons Foundation Autism Research Initiative

A. Compensatory damages in an amount to be determined at trial but not less than $1,000,000 (one million)

for lost income and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and

D. Such other and further relief as this Court deems just and proper.

[35] Defendant James Beck

A. Compensatory damages in an amount to be determined at trial but not less than $100,000 for lost income

and other economic losses;

B. Punitive damages in an amount sufficient to punish Defendant and deter similar conduct in the future;

C. Costs of suit incurred herein; and


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D. Such other and further relief as this Court deems just and proper.


D. Grant such other relief as the Court deems just and proper
                               JURY DEMAND:

Plaintiff hereby demands a trial by jury on all issues so triable.




                           CERTIFICATION UNDER RULE 11

Under Massachusetts Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law
or by a nonfrivolous argument for extending, modifying,, or reversing existing law; (3) the factual contentions
have evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be served.
I understand that my failure to keep a current address on file with the Clerk’s Office may result in the
dismissal of my case.


Date: November 25, 2024                                  Robert P. Weinberg
                                                       /s/
                                                       Robert P. Weinberg
                                                       Plaintiff, Pro Se
                                                       P.O. Box 15334
                                                       Boston, MA 02215
                                                       Tel (781) 661-8207
                                                       Email LawDocBob@gmail.com
                                                       Fax (617) 977-0902




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                                       CERTIFICATE OF SERVICE

          I hereby certify that on this 25th day of November, 2024, a true and correct copy of the foregoing
Complaint and Demand for Trial by Jury was served upon all parties or their counsel of record via:
Electronic Mail for those defendants previously served in Federal Court:
Party:    Lisa Wolfe                Counsel of Record:         Victoria Ranieri Ranieriv@whiteandwilliams.com
---------------------------------------------------------------------------------------------------------------------
Party:    Stanley Spero             Counsel of Record:         Christine A. Knipper christine.knipper@wilsonelser.com
          Spero and Jorgensson, P.C.
----------------------------------------------------------------------------------------------------------------------
Party:    Nagina Mangal             Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
---------------------------------------------------------------------------------------------------------------------
Party:    Ann Graybiel              Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
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Party:    Sally Kornbluth           Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
------------------------------------------------------------------------------------------------------------------------
Party:    Massachusetts Institute of Technology
                                    Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com

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                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
----------------------------------------------------------------------------------------------------------------------
Party:    MIT Campus Police Department
                                    Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
-------------------------------------------------------------------------------------------------------------------------
Party:    Craig Martin              Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
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Party:    Killian Casey             Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
--------------------------------------------------------------------------------------------------------------------------
Party:    Panache Flint             Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                                                 autodocket@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com
--------------------------------------------------------------------------------------------------------------------------
Party:    Michael Allen             Counsel of Record:         Daryl J. Lapp daryl.lapp@lockelord.com
                                                               Cynthia Vieno cynthia.vieno@lockelord.com
                                                               Andrea Martin andrea.martin@lockelord.com
                                                               Jessica Gedallovich jessica.gedallovich@lockelord.com

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                                                                                 autodocket@lockelord.com
Party:    Booker Bush               Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
-------------------------------------------------------------------------------------------------------------------
Party:    Martin Crane              Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
----------------------------------------------------------------------------------------------------------------------
Party:    Alice Oliff               Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
----------------------------------------------------------------------------------------------------------------------
Party:    Richard Waring            Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
--------------------------------------------------------------------------------------------------------------------
Party:    Thomas Reilly             Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
----------------------------------------------------------------------------------------------------------------------
Party:    Hon. Kimberly Budd                 Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
-----------------------------------------------------------------------------------------------------------------------
Party:    Hon. Margaret Walsh                Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
------------------------------------------------------------------------------------------------------------------------
Party:    Hon. Natalie Monroe                Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov

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Party:    Hon. Christopher Connolly Counsel of Record:                  AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
--------------------------------------------------------------------------------------------------------------------------
Party:    Hon. Heide Brieger                 Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
---------------------------------------------------------------------------------------------------------------------------
Party:    Hon. Peter W. Killborn             Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
--------------------------------------------------------------------------------------------------------------------------
Party:    Hon. Sarah Luick                   Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
-------------------------------------------------------------------------------------------------------------------------
Party:    Andrea Campbell                    Counsel of Record:         AAG Julie Frohlich julie.frohlich@mass.gov
                                                                                 AdLawEFilings@state.ma.us
                                                                                 Kathleen.McGrail@mass.gov
-------------------------------------------------------------------------------------------------------------------------
and will be served upon the following parties by service in-hand within the next 14 days:


Party:    Lourdes Colon             Known Address:             267 Centre Street, Apt. 230
                                                               Jamaica Plain, MA
----------------------------------------------------------------------------------------------------
Party:    Claudia Hunter            Known Address:             83 Atlantic Avenue
                                                               Boston, MA 02110
---------------------------------------------------------------------------------------------------
Party:    Vincent DiCianni          Known Address:             Affiliated Monitors
                                                               P.O. Box 961791
                                                               Boston, MA 02196

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Party:    Ferriter Scobbo & Rodophele P.C. Known Address:                        125 High Street
                                                                                 Suite 2611
                                                                                 Boston, MA 02110
---------------------------------------------------------------------------------------------------------
Party:    Robert Stolzberg          Known Address:             105 Willard Road
                                                               Brookline, MA 02445
---------------------------------------------------------------------------------------------------------
Party:    James C. Beck             Known Address:             34 Bates Street
                                                               Cambridge, MA 02140
---------------------------------------------------------------------------------------------------------
Party:    Paula Lazar               Known Address:             15 Boylston Street, #3
                                                               Jamaica Plain, MA 02130
---------------------------------------------------------------------------------------------------------
Party:    Sten Lofgren              Known Address:             1264 Main Street, #12
                                                               Concord, MA 01742
---------------------------------------------------------------------------------------------------------
Party:    Amy Banks                 Known Address:             114 Waltham Street, Suite #17
                                                               Lexington, MA 02421
--------------------------------------------------------------------------------------------------------
Party:    Simons Foundation Autism Research Initiative
                                    Known Address:             Simons Foundation
                                                               160 Fifth Avenue, 7th Floor
                                                               New York, NY 10010
---------------------------------------------------------------------------------------------------------
Party:    CHDI Foundation           Known Address:             350 Seventh Ave, Suite 200
                                                               New York, NY 10001
--------------------------------------------------------------------------------------------------------




Date: November 25, 2024                                        /s/Robert P. Weinberg
                                                               Robert P. Weinberg
                                                               Plaintiff, Pro Se
                                                               P.O. Box 15334
                                                               Boston, MA 02215
                                                               Tel (781) 661-8207
                                                               Email LawDocBob@gmail.com
                                                               Fax (617) 977-0902



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                  Appendix A


       Notarized and Sworn Affidavit
                     of Plaintiff



(Incorporated within instant Complaint
      and re-alleged therein)




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                     Exhibit 1


         Original Complaint filed in
U.S. District Court for the District of Massachusetts

         Case No. 1:24-cv-11606-WGY
          “Weinberg v. Mangal et al.”




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                   UNITED STATES DISTRICT COURT
                        District of Massachusetts
__________________________________________
                                                    )
ROBERT PAUL WEINBERG                                )
         Plaintiff                                  )
                                                    )
              v.                                    )      Civil Action No. 24-11606
                                                    )
NAGINA MANGAL                                       )
     M.I.T. Postdoctoral Fellow                     )
ANN GRAYBIEL                                        )      JURY TRIAL DEMANDED
     Institute Professor, M.I.T.                    )           Fed.R.Civ.P. 38(b)
SALLY KORNBLUTH, MASSACHUSETTS                      )
 INSTITUTE OF TECHNOLOGY                            )
     Private University in Massachusetts            )
BOOKER BUSH, CHAIRMAN, BOARD OF                     )
REGISTRATION IN MEDICINE                            )       EQUITABLE RELIEF SOUGHT
in both his Official Capacity & Personal Capacity   )
ALICE OLIFF                                       )
in both her Official Capacity & Personal Capacity )
KIMBERLY BUDD, CHIEF JUSTICE                      )
MASSACHUSETTS SUPREME JUDICIAL                    )
COURT                                             )
in both her Official Capacity & Personal Capacity )
SARAH LUICK, MAGISTRATE                           )
MASSACHUSETTS DIVISION OF                         )
ADMINISTRATIVE LAW APPEALS                        )
in both her Official Capacity & Personal Capacity )
                                                  )
VINCENT DICIANNI                                  )
        Licensed Attorney in Massachusetts        )
CLAUDIA HUNTER                                      )
    Licensed Attorney in Massachusetts              )
PROMUTUAL MEDICAL MALPRACTICE                       )
 INSURER                                            )
     Medical malpractice insurer                    )



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ROBERT STOLZBERG                                      )
    Licensed Attorney in Massachusetts                )
VALERIE STANFILL, CHIEF JUSTICE,                          )
MAINE SUPREME JUDICIAL COURT                              )
in both her Official Capacity & Personal Capacity         )
ELLEN GORMAN, JUSTICE, MAINE                        )
SUPREME JUDICIAL COURT                              )
in both her Official Capacity and Personal Capacity )
WILLIAM FISHER, ASSISTANT MAINE AG,                       )
in both his Official Capacity and Personal Capacity       )
AARON FREY, MAINE ATTORNEY                                )
GENERAL’S OFFICE                                          )
in both his Official Capacity & Personal Capacity         )
CHRISTOPHER MACLEAN, CHAIRMAN,                            )
MAINE BOARD OF BAR EXAMINERS                              )
in both his Official Capacity & Personal Capacity         )
LOURDES COLON                                             )
    a.k.a. “Patient A” in BORIM pleadings                 )
LISA WOLFE                                                )
     Licensed psychologist in Massachusetts               )
KRISHNASWAMY GAJARAJ ,                                    )
HUMAN RESOURCE INSTITUTE                                  )
in both his Official Capacity & Personal Capacity         )
PAULA LAZAR                                               )
    Licensed clinician in Massachusetts                   )
STEN LOFGREN                                              )
     Licensed psychiatrist in Massachusetts               )
STANLEY SPERO                                             )
     Licensed attorney in Massachusetts                   )
SPERO AND JORGENSON, P.C.                                 )
     Massachusetts law firm                               )
JAMES C. BECK                                             )
    Expert Witness for BORIM/DALA                         )
PRISCILLA ALMODOVAR, FEDERAL                              )
NATIONAL MORTGAGE ASSOCIATION                             )
     Federally-sponsored financial institution            )

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MRCOOPER                                               )
    Mortgage servicing agent/corporation               )
JOHN NEY                                               )
     Attorney representing FNMA                        )
                                                       )
 SHECHTMAN, HALPERIN AND SAVAGE                        )
     Rhode Island law firm                             )
JAMIE DIMON, CEO, JP MORGAN CHASE BANK                 )
in both his Official Capacity & Personal Capacity      )
SETERUS INC.                                               )
     Mortgage servicing agent/corporation                  )
ENAN DEL RIO                                               )
     Employee/agent/contractor to Seterus                  )
RIGHTPATH SERVICING                                        )
     Mortgage servicing agent                              )
DANNY WERFEL, COMMISSIONER OF                              )
INTERNAL REVENUE                                           )
in both his Official Capacity & Personal Capacity          )
LEXI BARRETT, COMMISSIONER OF U.S.                         )
DEPARTMENT OF EDUCATION                                    )
in both her Official Capacity & Personal Capacity          )
LAURIE GLIMCHER, DANA-FARBER                               )
CANCER INSTITUTE                                           )
    Private Cancer hospital in Boston                      )
DICK ARGYS, BOSTON CHILDREN’S                              )
HOSPITAL MEDICAL CENTER                                    )
     Private medical hospital in Boston                    )
                                                           )
SHERIFF CHRISTOPHER WAINWRIGHT,                                )
OXFORD COUNTY SHERIFFS DEPARTMENT                              )
in both his Official Capacity & Personal Capacity              )
ROBERT MULLEN, CHIEF JUSTICE, OXFORD                           )
COUNTY SUPERIOR COURT                                          )
in both his Official Capacity & Personal Capacity              )
DANA MCKEEN                                                    )
    Maine-convicted felon, burglar, vandal                     )
GARY STEADMAN                                                  )
    Convicted Felon, former tenant of Plaintiff                )

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DAVID LOEWENSTEIN, NATIONAL                                )
PRACTITIONER DATA BANK                                     )
in both his Official Capacity & Personal Capacity          )
CHIEF, CENTERS FOR MEDICARE AND                                )
MEDICAID SERVICES                                              )
in both his Official Capacity & Personal Capacity              )
NAVIENT                                                        )
     Student Loan Servicing entity                             )
AMERICAN EDUCATIONAL SERVICES                                  )
    Student Loan Servicing entity                              )
RUSHMORE SERVICING                                                 )
    Mortgage Servicing company                                     )
ANDREA CAMPBELL, ATTORNEY GENERAL                                  )
Representing the Commonwealth of Massachusetts,                    )
in both her official capacity and Personal capactiy                )
                                                                   )
JPMORGAN CHASE BANK                                                )
    National commercial Bank                                       )
FEDERAL NATIONAL MORTGAGE ASSOCIATION                              )
    Congressionally-created financial entity                       )
FERRITER SCOBBO                                                    )
     Boston law firm                                               )
UNITED HEALTHCARE INSURANCE CO.                                    )
     Health Insurance entity                                       )
AARON FREY, ATTORNEY GENERAL                                )
    Representing the STATE OF MAINE                         )
    in both his Official Capactiy and his Personal capacity )
HARVARD UNIVERSITY DENTAL CENTER                                   )
    Public community dental center                                 )
NORTHEASTERN UNIVERSITY SCHOOL OF LAW                              )
    Private university law school in Massachusetts                 )
                                                                   )
Defendants Acting Jointly and Severally,                           )
                      Defendants                                   )
____________________________________________



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       COMPLAINT FOR EQUITABLE RELIF (DECLARATORY, INJUNCTIVE)
       ALONG WITH PUNITIVE DAMAGES WHERE APPLICABLE
           AGAINST NON-STATE ACTOR DEFENDANTS


                   DEMAND FOR TRIAL BY JURY                         [Fed.R.Civ.P. 38(b)]


“When the system fails, righteous men will rise up …”
                                                -- Hieronymus
       “Lex injusta non est lex.” - “An unjust law is no law at all.”
                                                      -- Natural Law
              “Veritas liberabit vos” - “The truth will set you free”
                                                             -- Bible - John 8:32
                                  Synopsis of Case

1.     This complex civil litigation involves questions/issues of federal law (28 U.S.C. §1331):

including [a] civil rights, [b] civil liberties including fundamental civil liberties; [c] fundamental

right to freedom of expression under the First Amendment; [d] Constitutionality of state statutes

and state action, which are preempted by the U.S. Constitution and federal laws on Civil Rights

and civil liberties; [e] federal tax law – Internal Revenue Code; [f] Americans with Disabilities

Act; [g] 42 U.S.C. 1983; [h] the Civil Rights Act of 1964; [i] Title IX of the Civil Rights Act of

1964; [j] Title VII of the Civil Rights Act of 1964; [k] Due Process of Law guarantees under the

Fifth and Fourteenth Amendments to the U.S. Constitution; [l] Equal Protection clause under the

Fifth and its selective incorporation through the Fourteenth Amendment; [m] contracts clause of

Section 10 Article I of the U.S. Constitution and the fundamental liberty to contract; [n] Bills of

Attainder clause of Section 10, Article I of the U.S. Constitution; [o] ex post facto clause of

Section 10, Article I of the U.S. Constitution; [p] involuntary servitude clause of the Thirteenth

Amendment; [q] unconstitutional judicial abuse of discretion by state actors; [r] prosecutorial

misconduct by state officials; [s] state actor violations of substantive rights and privileges


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granted to the Plaintiff under international treaties to which the United States is a signatory; [t]

fundamental liberties including the fundamental liberty to marry and [u] the fundamental

freedom of expression and freedom of speech; and [v] unconstitutional interpretation of statutes

as applied to the Plaintiff; [w] violation of civil liberties 42 U.S.C. § 1983 where the Defendants

have violated the Plaintiff’s civil rights while acting under the color of law - NOTARIZED

AFFIDAVIT: THIS COMPLAINT IS SUPPORTED BY THE PLAINTIFF’S NOTARIZED

AFFIDAVIT (Appendix A).

                Introduction - Federal Issues and Subject Matter Jurisdiction

2.     State Actor defendants have violated and/or deprived the Plaintiff of his fundamental

civil liberties and civil rights while acting under the color of law (42 U.S.C. § 1983) including

but not limited to the fundamental right to privacy, fundamental freedom of expression under the

First Amendment, fundamental liberty to contract, liberty to engage in gainful employment,

fundamental right to marriage, fundamental right to Due Process of Law, and Equal Protection

of the Law.; these violations and deprivations are subject to judicial review under the Strict

Scrutiny standard.

3.     The state actor violation of the Plaintiff’s fundamental civil rights and liberties, by State

statutes and/or state agency regulations, must be judicially reviewed under the Strict scrutiny

standard, whereby the government must show that there is a compelling, or very strong, interest

in the law, and that the law is either very narrowly tailored or is the least restrictive means

available to the government; these fundamental rights are “implicit in the concept of ordered

liberty” or “deeply rooted in this Nation’s history and tradition.” Lutz v. City of York, Pa., 899

F.2d 255 (U.S. Ct.App. 1990).


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4.      Furthermore specific Defendants have deprived the Plaintiff of specific rights from the

Bill of Rights, which have been selectively incorporated against the States through the Equal

Protection and Due Process clauses of the Fourteenth Amendment; the judicial standard of

review for these fundamental constitutional rights impaired or burdened by state law is strict

scrutiny analysis; these fundamental rights include the liberty to contract, the liberty to marry,

the liberty to engage in gainful employment, the fundamental right of privacy in one’s own home

and private residence, and the fundamental right to Equal Protection under the law as well as

Due Process of Law..

5.      Some Defendants have deprived the Plaintiff of specific rights from the Bill of Rights,

which have been selectively incorporated against the States through the Equal Protection and

Due Process clauses of the Fourteenth Amendment, while acting under the color of law in

violation of federal law (42 U.S.C. § 1983).

6.      Regarding Injunctive Relief, this honorable Court can enjoin state agencies and state

officials from ongoing and continuing violation of federal law and the U.S. Constitution, without

offending sovereign immunity, Qualified Immunity or the Eleventh Amendment. Ex Parte

Young, 209 U.S. 123 (1908).

7.      “The attempt of a State officer to enforce an unconstitutional statute is a proceeding

without authority of, and does not affect, the State in its sovereign or governmental capacity, and

is an illegal act, and the officer is stripped of his official character and is subjected in his person

to the consequences of his individual conduct. The State has no power to impart to its officer

immunity from responsibility to the supreme authority of the United States.” Ex Parte Young,

209 U.S. 123 (1908).


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8.      “When the question of the validity of a State statute with reference to the Federal

Constitution has been first raised in a Federal court, that court has the right to decide it to the

exclusion of all other courts.” Ex Parte Young, 209 U.S. 123 (1908).

9.      “While making a state officer who has no connection with the enforcement of an act

alleged to be unconstitutional a party defendant is merely making him a party as a representative

of the State, and thereby amounts to making the State a party within the prohibition of the

Eleventh Amendment, individuals, who, as officers of the State, are clothed with some duty in

regard to the enforcement of the laws of the State, and who threaten and are about to commence

an action, either civil or criminal, to enforce an unconstitutional state statute, may be enjoined

from so doing by a Federal court.” Ex Parte Young, 209 U.S. 123 (1908).

10.     “Under such conditions as are involved in this case [Ex parte Young], the Federal court

may enjoin an individual or a state officer from enforcing a state statute on account of its

unconstitutionality, but it may not restrain the state court from acting in any case brought before

it either of a civil or criminal nature, or prevent any investigation or action by a grand jury.” Ex

Parte Young, 209 U.S. 123 (1908).

11.     This instant action Weinberg v. Mangal et al. is brought, in part, to prospectively enjoin

state agencies and state officials from continuing and ongoing violation of federal law and the

U.S. Constitution. Ex Parte Young, 209 U.S. 123 (1908).

12.     The Plaintiff also brings this action to obtain, among other forms of equitable relief,

declaratory judgments under the Declaratory Judgment Act, 28 U.S.C. § 2201, that some of the

relevant Defendants have employed and are employing discriminatory policies and procedures

which discriminate on the basis of sexual conduct, preferences and acts between two groups of

licensed physicians, who are similarly situated, in violation of Title VII of the Civil Rights Act of

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1964, 42 U.S.C. § 2000 et seq. (“Title VII”) whereby such discriminatory treatment has injured

and continues to injure the Plaintiff, and other persons similarly situated, by intentionally and

improperly discriminating against him on the basis of sexual conduct, preferences and acts in

violation of Title VII and also thereby violates Equal Protection of the law.

13.     The Plaintiff also brings this action to obtain, among other forms of equitable relief,

declaratory judgments under the Declaratory Judgment Act, 28 U.S.C. § 2201, that the relevant

Defendants have employed and are employing discriminatory policies and procedures which

discriminate on the basis of sexual conduct, preferences and acts between two groups of licensed

physicians, who are similarly situated, in violation of Title IX of the Civil Rights Act of 1964, 42

U.S.C. § 2000 et seq. (“Title IX”) whereby such discriminatory treatment has injured and

continues to injure the Plaintiff, and other persons similarly situated, by intentionally and

improperly discriminating against him on the basis of sexual conduct, preferences and acts in

violation of Title IX and also thereby violates Equal Protection of the law.

14.     The Plaintiff also brings this action to obtain, among other forms of equitable relief,

declaratory judgments under the Declaratory Judgment Act, 28 U.S.C. § 2201, which define the

rights, privileges, duties and obligations of the named defendant Parties relative to each other.




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                                      PARTIES

15.      Robert Paul Weinberg – Plaintiff, permanent resident residing at 9 Hall Hill Road,

Dixfield, Maine 04224

------------------------------------------------------------------------------------------------------------------

*************             PLAINTIFF RECEIVES ALL CORRESPONDENCE AT:

*************                     P.O. BOX 15334, BOSTON, MA 02215

------------------------------------------------------------------------------------------------------------------

                    Email: LawDocBob@gmail.com                  Fax: (617) 977-0902

____________________________________________________________________________

16.      Nagina Mangal - Defendant, Afghanistan national with VISA as Postdoctoral Fellow in

Graybiel Lab, MIT, principal place of business at 77 Massachusetts Avenue, Cambridge,

Massachusetts 02139 (https://yangtan.mit.edu/supported-researchers/)

17.      Ann Graybiel - Defendant, Institute Professor, MIT, Dept of Brain and Cognitive

Sciences, principal place of business at 77 Massachusetts Avenue, Cambridge, MA 02139 (MIT

GRAYBIEL LAB - Home (graybiel-lab.com)

18.      Sally Kornbluth, President, Massachusetts Institute of Technology (“MIT”) - Defendant,

private U.S. research university, principal place of business at 77 Massachusetts Avenue,

Cambridge, Massachusetts 02139 ( https://web.mit.edu )

19.      Booker Bush, Chairman, Board of Registration in Medicine (“BORIM”) – Defendant (in

both his personal and official capacity), Massachusetts state agency which licenses of Physicians

in the Commonwealth of Massachusetts, with a principal place of business at 178 Albion Street,

Suite 330, Wakefield, Massachusetts 01880                (https://www.mass.gov/orgs/board-of-

registration-in-medicine).

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20.     Alice Oliff – Defendant (in both her personal capacity and official capacity), late board

counsel for BORIM with a principal place of business at 178 Albion Street, Suite 330,

Wakefield, Massachusetts 01880

(https://www.dignitymemorial.com/obituaries/brookline-ma/alice-oliff-11029692 )

21.     Kimberly Budd, Chief Justice, Massachusetts Supreme Judicial Court (“Mass SJC”) –

Defendant (in both her personal and official capacity), highest appellate court in the

Commonwealth of Massachusetts, with a principal place of business at the John Adams

Courthouse, 1 Pemberton Square, Suite 2500, Boston, Massachusetts 02108

(https://www.mass.gov/orgs/massachusetts-supreme-judicial-court).

22.     Sarah Luick – Defendant (in both her personal capacity and official capacity), former

magistrate, Division of Administrative Law Appeals (“DALA”), working at the independent

Massachusetts agency which conducts adjudicatory hearings for other Massachusetts state

agencies, principal place of business at 14 Summer Street, 4th Floor, Malden, Massachusetts

02148 (https://www.mass.gov/orgs/division-of-administrative-law-appeals).

23.     Vincent DiCianni - Defendant, licensed attorney in Massachusetts, principal place of

business at P.O. Box 961791, Boston, MA 02196

(https://www.affiliatedmonitors.com/contact/)

(https://www.linkedin.com/in/vincent-dicianni-53b9bb5)

24.     Claudia Hunter - Defendant, licensed attorney in Massachusetts, principal place of

business at Hunter & Bobit, P.C., principal place of business at 83 Atlantic Ave, Boston, MA

02110 (https://www.linkedin.com/in/claudia-hunter-8274847)




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25.     Mr. Houghton, ProMutual Group Inc. - Defendant, medical malpractice insurer with

principal place of business at Coverys, One Financial Center, Boston, MA

[dhoughton@coverys.com]

(https://www.bloomberg.com/profile/company/3314598Z:US)

26.     Robert Stolzberg - Defendant, licensed attorney in Massachusetts, principal place of

business at 105 Willard Road, Brookline, MA 02445

(https://www.bigonlaw.com/)

27.     Valerie Stanfill, Chief Justice, Maine Supreme Judicial Court (“Maine SJC”) – Defendant

(in both her Official capacity and personal capacity), Maine State’s highest appellate court and

the court of last resort in the State of Maine, principal place of business at 205 Newbury Street,

Room 139, Portland, Maine 04101-3125 (https://www.courts.maine.gov/courts/sjc/index.html)

28.     Ellen Gorman – Defendant (in both her personal and official capacity), former justice of

Maine Supreme Judicial Court, principal place of business at Independent Commission to

Investigate the Facts of the Tragedy in Lewiston, Cross Building, Room 209, (Health and Human

Services Committee Room), Augusta, ME

(https://en.wikipedia.org/wiki/Ellen_Gorman ) ( https://www.maine.gov/icl/members)

29.     William Fisher – Defendant (in both his personal and official capacity), Assistant Maine

Attorney General, 6 State House Station, Augusta, ME 04333 (https://www.maine.gov/ag/)

30.     Aaron Frey – Defendant (in both his personal and official capacity), Maine Attorney

General’s Office, 6 State House Station, Augusta, ME 04333 (https://www.maine.gov/ag/)

31.     Christopher Maclean, Chairman, Maine Board of Bar Examiners – Defendant (in both his

personal and official capacity), state agency which licenses/certifies attorneys in Maine,


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principal place of business at 135 Maine Street, Suite A, Box 305, Brunswick, ME 04011

(https://mainebarexaminers.org/)

32.     Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings) - Defendant, citizen of

Massachusetts, former patient of the Plaintiff at the Boston Evening Medical Center, 388

Commonwealth Avenue, Boston, MA, represented by counsel Stanley Spero, 175 Federal Street,

Suite 1425, Boston, MA 02110 (https://www.sjsperoandassociates.com/Attorneys/Stanley-J-

Spero.html )

33.     Lisa Wolf - Defendant, psychologist licensed in the Commonwealth of Massachusetts,

principal place of business at 173 Mount Auburn Street, Watertown, MA 02472 with Clinical

privileges at the Human Resource Institute, Brookline, MA 02472

(https://npiprofile.com/?s=Lisa%20Wolfe ) (https://www.linkedin.com/in/lisa-wolfe-9480b5a0/)

34.     Krishnaswamy Gajaraj, Chief, Human Resource Institute (“HRI”) - Defendant, (in both

his Official capacity and personal capacity), psychiatric hospital with principal place of business

at 227 Babcock Street, Brookline, Massachusetts 02446 (https://hrihospital.com)

35.     Paula Lazar – Defendant, licensed clinician with principal place of business at 15

Boylston Street, #3, Jamaica Plain, MA 02130 (https://npiprofile.com/npi/1962977512)

36.     Sten Lofgren – Defendant, licensed psychiatrist with principal place of business at

1264 Main Street, #12, Concord, MA 01742 (https://npiprofile.com/?s=Sten%20Lofgren )

37.     Stanley Spero – Defendant, licensed attorney with principal place of business at

175 Federal Street, Suite 1425, Boston, MA 02110

(https://www.sjsperoandassociates.com/Attorneys/Stanley-J-Spero.html )




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38.     Spero and Jorgenson, P.C. – Defendant, law firm with principal place of business at 175

Federal Street, Suite 1425, Boston, MA 02110

(https://www.sjsperoandassociates.com/Attorneys/index.html )

39.     James C. Beck – Defendant (in both his personal and official capacity), prior Expert

Witness for BORIM & DALA, with principal place of business at 34 Bates Street, Cambridge,

MA 02140 (https://www.linkedin.com/in/james-c-beck-md-phd-561a0715/)

40.     Priscilla Almodovar, Federal National Mortgage Association (“FNMA”) – Defendant,

 (in both her Official capacity and personal capacity), federally sponsored corporation created

 by U.S. Congressional enactment, which alleges ownership of the promissory note and

 mortgage on Plaintiff’s home and real property located at 9 Hall Hill Road, Dixfield, ME

 04224, with principal place of business at 1100 15th Street, NW, Washington, D.C. 20005

 (https://www.fanniemae.com)

41.     MrCooper – Defendant, mortgage servicing company, with a principal place of business

at 800 State Highway 121 Bypass, Lewisville, TX 75067;Web site: (https://www.mrcooper.com)

42.     John Ney – Defendant, attorney of record for Federal National Mortgage Association,

employee, partner, contractor and/or “of counsel” for the former law firm Shechtman, Halperin

and Savage LLP, 1080 Main Street, Pawtucket, RI 02860 and now at Brock & Scott, PLLC,

1315 Westbrook Plaza Drive, Suite 100, Winston Salem, NC 27103

(https://www.brockandscott.com/Personnel/john-m-ney-jr/)

43.     Shechtman, Halperin and Savage LLP – Defendant, law firm with a former principal

place of business at 1080 Main Street, Pawtucket, RI 02860 prior to its acquisition by Brock &

Scott PLLC with principal place of business at 1315 Westbrook Plaza Drive, Suite 100, Winston




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Salem, NC 27103 (https://www.brockandscott.com/Newsroom/brock-scott-acquires-

shechtman-halperin-savage-default-practice-group-and-expands-into-the-northeast/)

44.     Jamie Dimon, Officer, JPMorgan Chase Bank – Defendant, (in both his Official

capacity and personal capacity), alleges prior ownership of the promissory note and mortgage on

the Plaintiff’s home and real property located at 9 Hall Hill Rd, Dixfield, ME 04224; Principal

place of business: JPMorgan Chase Bank, Mail Code OH1-0333, 340 S. Cleveland Ave,

Building 370, Westerville, OH 43081       (https://www.jpmorganchase.com)

45.     Seterus, Inc. – Defendant, mortgage servicing firm, Delaware corporation with a

principal place of business at 3039 W Cornwallis Road, Building 203, Durham, NC 27709 which

was purchased by Nationstar Mortgage LLC d/b/a MrCooper (https://www.mrcooper.com) with

mortgage servicing by defendant RightPath Servicing with principal place of business at Lake

Vista 4, 800 State Highway, 121 Bypass, Lewisville, TX 75067

(https://www.consumerfinance.gov/enforcement/actions/seterus-inc/) (

https://www.linkedin.com/company/nationstar-mortgage/ )

46.     Enan del Rio – Defendant, former employee, agent and/or contractor for Defendant

Seterus, Inc., purchased by Nationstar Mortgage LLC d/b/a MrCooper, principal place of

business at 33.RightPath Servicing with principal place of business at Lake Vista 4, 800 State

Highway, 121 Bypass, Lewisville, TX 75067 ( https://www.linkedin.com/in/enandelrio)

( https://www.linkedin.com/company/nationstar-mortgage/ )

47.     RightPath Servicing - Defendant, mortgage servicing company with a principal place of

business at RightPath Servicing, Lake Vista 4, 800 State Highway 121 Bypass, Lewisville, Texas

75067 (https://www.rightpathservicing.com/welcome)



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48.     Danny Werfel, Commissioner of the Internal Revenue Service (“IRS”) (in both his

personal and official capacity) - Defendant, federal agency of U.S. government, enabling statute

authorizes the agency to administer and enforce U.S. federal tax laws, principal place of business

at 1111 Constitution Avenue, NW, Washington, DC 20224          (https://www.irs.gov)

49.     Lexi Barrett, Commissioner of the US Dept of Education (“USDOE”) (in both her

personal and official capacity) – Defendant, Head of a federal agency - U.S. Department of

Education, (https://www.ed.gov), administers and oversees the granting federal student loans,

has a principal place of business at 400 Maryland Avenue, SW, Washington, DC 20202

50.     Laurie Glimcher, Dana-Farber Cancer Institute (“DFCI”) - Defendant, (in both her

personal and official capacity), cancer hospital in Boston, MA, principal place of business at 450

Brookline Avenue, Boston, MA 02215 ( https://www.dana-farber.org/ )

51.     Dick Argys, Boston Children’s Hospital Medical Center (“BCHMC”) - Defendant, (in

both his personal and official capacity), pediatric hospital in Boston, MA, principal place of

business at 300 Longwood Ave, Boston, MA 02115 (https://www.childrenshospital.org/)

52.     John Doe - defendant whose identity will be elaborated with Discovery

53.     Jane Doe - defendant whose identity will be elaborated with Discovery

54.     Christopher Wainwright, Oxford County Sheriff’s Department – Defendant (in both his

personal and official capacity), public employee- Oxford County Sheriff’s Dept, PO Box 179, 26

Western Ave, South Paris, ME (https://www.oxfordcountysheriff.com/)

55.     Robert Mullen, Chief Justice, Oxford County Superior Court – Defendant (in both his

personal and official capacity), court of general jurisdiction in the Maine Judicial Branch,

located at 26 Western Avenue, South Paris, Maine, 04281

(https://www.courts.maine.gov/courts/superior/oxford-sc.html)

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56.     Dana McKeen - Defendant, convicted burglary felon in Maine with the MDOC of

#102569, Maine State Prison, 907 Cushing Road, Warren, Maine 04864

(https://www.sunjournal.com/2015/08/05/mexico-police-arrest-one-seek-2nd-resident-

connection-middle-ave-burglary/)

57.     Gary Steadman - Defendant, Maine convicted felon, Independent Contractor, prior

tenant/squatter (2019 – 2023) in the Plaintiff’s Dixfield home, current address to be determined

from Maine Probation Department (https://www.fastpeoplesearch.com/gary-

steadman_id_G118148847790107462)

58.     David Loewenstein, National Practitioner Data Bank (“NPDB”) - Defendant, (in both his

personal and official capacity), congressionally-created confidential information clearinghouse

with a principal place of business at P.O. Box 10832, Chantilly, VA 20153-0832

(https://www.npdb.hrsa.gov/)

59.     Director/Chief, U.S. Centers for Medicare and Medicaid Services (“CMCS”) – Defendant

Defendant (in his personal and official capacity), U.S. federal agency with principal place of

business at 7500 Security Boulevard, Baltimore, MD 21244 (https://www.medicaid.gov/)

60.     Navient Solutions, LLC – Defendant, Servicer of Student Loans, with principal place of

business at PO Box 9500, Wilkes Barre, PA 18773-9500

61.     American Educational Services (“AES”) – Defendant, Servicer of Student Loans, with

principal place of business at P.O. Box 61047, Harrisburg, PA 17106-1047

62.     Rushmore Servicing - Defendant, mortgage servicing company, recently acquired by

MrCooper mortgage servicing company (https://nationalmortgageprofessional.com/news/mr-

cooper-acquire-rushmore-residential-loan-servicing-platform)




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64.     Andrea Campbell - Defendant (in both her personal and official capacity), Attorney

General for the Commonwealth of Massachusetts, One Ashburton Place, Boston, MA 02108

65.     JPMorgan Chase Bank - Defendant, with principal place of business at 270 Park Avenue,

New York, NY 10017

66.     Ferriter Scobbo and Rodophele, P.C. - Defendant, 125 High Street, Suite 2611, Boston,

MA 02110

67.     UnitedHealth Insurance Company - Defendant, with a principal place of business at

P.O. Box 1459, Minneapolis, MN 55440-1459

68.      Harvard University Dental Center - Defendant, with a principal place of business at 188

Longwood Avenue, Boston, MA 02115

69.     Northeastern University School of Law - Defendant, with a principal place of business at

416 Huntington Avenue, Boston, MA 02115

70.     Marriott International Hotel chain - Defendant, with a principal place of business located

at 7750 Wisconsin Avenue, Bethesda, MD 20814

71.     John Doe 2, defendant whose identity and address will be elaborated with Discovery

72.     John Doe 3, defendant whose identity and address will be elaborated with Discovery

73      Jane Doe 2, defendant whose identity and address will be elaborated with Discovery

74.      Jane Doe 3, defendant whose identity and address will be elaborated with Discovery

          FACTUAL ALLEGATIONS WITH APPLIED RELEVANT LAW

                   Subject Matter Jurisdiction: 42 U.S.C. § 1983 [in part]
      Violation of Plaintiff’s Civil Rights: 42 U.S.C. § 1983 while acting under Color of Law

75.     Several of the Plaintiff’s claims are made under 42 U.S.C. 1983 against Defendants who

have deprived the Plaintiff of rights and privileges guaranteed by the U.S. Constitution and have


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violated the civil rights and fundamental civil liberties of the Plaintiff while acting under the

color of law.

                        Absolute immunity versus Relative Immunity

76.     Some of the named defendants may be statutorily protected by absolute immunity,

qualified immunity, relative immunity, judicial immunity or prosecutorial immunity, and the

claims made herein do not violate nor infringe upon these immunities.

77.     The relevant statutory immunities of the defendants may protect them against suit for

money damages, but do not protect them from Declaratory Judgments which may define their

rights, privileges, duties or obligations under the law as well as their official status in relation to

each other and to the Plaintiff.

78.     The state actor defendants, including the Commonwealth of Massachusetts and the State

of Maine, are protected under sovereign immunity with absolute immunity from money damages

under the Eleventh Amendment, but this does not prevent the Plaintiff from obtaining equitable

relief in the form of Declaratory Judgments which does not incur any monetary damages.

79.     There may be some qualified immunity for such state actor defendants as state agency

commissioners, chairpersons and chiefs, and judicial officers such as the named defendants who

are magistrates or chief justices, while acting in their official capacity and acting in good faith, ,

but this does not prevent the Plaintiff from obtaining equitable relief in the form of Declaratory

Judgments which does not incur any monetary damages.

80.     Absolute immunity protects government officials who “make reasonable but mistaken

judgments about open legal questions” (Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011)) extending

to “all [officials] but the plainly incompetent or those who knowingly violate the law” (Malley v.
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Briggs, 475 U.S. 335, 341 (1986)), , but this does not prevent the Plaintiff from obtaining

equitable relief in the form of Declaratory Judgments which does not incur any monetary

damages.

81.     The doctrine of qualified immunity is a legal principle of federal constitutional law which

grants government officials performing discretionary functions immunity from lawsuits for

money damages, unless the Plaintiff can show that the official violated “clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982); Pierson v. Ray, 386 U.S. 547 (1967).

82.     Seeking equitable relief, the Plaintiff may obtain Declaratory Judgments, which state that

the final judgment which issued from a state court or tribunal may be null and void or voidable

or may be vacated because it was based on an unconstitutional law or egregiously false factual

record which deprived the Plaintiff of rights, privileges or immunities granted by the U.S.

Constitution or federal law while such entities were “acting under the color of law” 42 U.S.C. §

1983; these Declaratory Judgments may open the door for the Plaintiff to file a Writ of Error

Coram Nobis by which legal and factual errors within such judgments based on the spoliation of

exculpatory evidence by Defendants Lourdes Colon, Stanley Spero and Lisa Wolfe, which led to

egregiously unjust final judgments, may be rectified and corrected on the record.

83.     Seeking equitable relief, the Plaintiff may obtain Declaratory Judgments, stating that the

final judgment which issued from a state court or tribunal may be null and void, voidable or may

be vacated because it was based on a false factual record, resulting from the intentional and

criminal spoliation of exculpatory evidence by Defendants Lourdes Colon, Lisa Wolfe and

Stanley Spero, or an unconstitutional law or deprived the Plaintiff of rights, privileges or


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immunities granted by the U.S. Constitution or federal law while such entities were “acting

under the color of law.” 42 U.S.C. § 1983.

84.     Seeking equitable relief, the Plaintiff may obtain Declaratory Judgments, stating that the

final judgment which issued from a state court or tribunal may be null and void because it was

based on a false factual record created, in part, by the spoliation of evidence by defendants

Lourdes Colon, Lisa Wolfe and Stanley Spero, who intentionally, purposefully and willfully

concealed exculpatory evidence of the 1992 handwritten memorialized Express Bilateral

Contract terminating the doctor-patient relationship, thereby depriving the Plaintiff of rights,

privileges or immunities granted by the U.S. Constitution or federal law while such defendants

were “acting under the color of law” (42 U.S.C. § 1983) and where such judgments resulted

from the criminal activity of defendants concealing evidence from those tribunals and where

such spoliation of evidence deprived the Plaintiff of his right to Due Process of Law; this 1992

termination contract is not mentioned nor addressed in the final judgments of the Massachusetts

Division of Administrative Law Appeals, Massachusetts Suffolk Superior Court, Massachusetts

Supreme Judicial Court, or the Maine Supreme Judicial Court revealing the effective spoliation

of this exculpatory evidence by Defendants Lourdes Colon, Lisa Wolfe and Stanley Spero.

85.     Seeking equitable relief, the Plaintiff may obtain Declaratory Judgments, stating that the

final judgment which issued from a state court or tribunal may be null and void because it was

based on a false factual record created, in part, by the spoliation of evidence by defendants

Lourdes Colon, Lisa Wolfe and Stanley Spero, who concealed exculpatory material evidence

[1992 hand-written memorialized Express Bilateral Contract terminating the doctor-patient

relationship], essential for the fact-finder’s accurate and truthful determination of liability of the

Plaintiff, from the tribunal thereby depriving the Plaintiff of rights, privileges or immunities
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granted by the U.S. Constitution or federal law while such defendants were “acting under the

color of law” (42 U.S.C. § 1983) and where such spoliation of evidence deprived the Plaintiff of

his right to Due Process of Law; state actor defendants have deprived the Plaintiff of his

fundamental constitutional right to Procedural Due Process of Law by denying the Plaintiff his

right to a fair trial and the opportunity to be heard on the merits of the case.

86.     Seeking equitable relief, the Plaintiff may obtain Declaratory Judgments, stating that the

final judgment which issued from a state court or tribunal may be null and void because it was

based on a false factual record created, in part, by the spoliation of evidence by defendants

Lourdes Colon, Lisa Wolfe and Stanley Spero, who concealed material exculpatory evidence

comprising the 1992 memorialized hand-written Express Bilateral Contract which initially

terminated the doctor-patient relationship between the Plaintiff and Lourdes Colon and

subsequently was modified to classify time and place into the clinical and nonclinical worlds,

essential for the fact-finder’s accurate and truthful determination of liability of the Plaintiff, from

the tribunal thereby depriving the Plaintiff of rights, privileges or immunities granted by the U.S.

Constitution or federal law while such defendants were “acting under the color of law” (42

U.S.C. § 1983) and where such spoliation of evidence deprived the Plaintiff of his right to Due

Process of Law, where such exculpatory evidence exonerates the Plaintiff of all wrongdoing.

               Deprivation of Plaintiff’s Procedural Due Process rights

87.     Pursuant to M.G.L.c.112, s.5(c), 243 CMR 1.03(5)(a)3, 243 CMR 1.03(5)(a)18 and

Raymond v. Board of Registration in Medicine, 387 Mass. 708 (1982), the Board of Registration

in Medicine brought proceedings against the Plaintiff in the Massachusetts Division of

Administrative Law Appeals, “Board of Registration in Medicine, Petitioner v. Robert P.

Weinberg, D.O., Respondent” Docket No. BR-99-074.
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88.     Proceedings under M.G.L.c.112, s.5(c), 243 CMR 1.03(5)(a)3, 243 CMR 1.03(5)(a)18

comprise Formal Adjudication on the Record regulated by the M.G.L. c.30A, the State

Administrative Procedures Act (

https://malegislature.gov/Laws/GeneralLaws/PartI/TitleIII/Chapter30A) which specifies the

procedures required by Administrative Law for the conduct of state agency proceedings

involving alleged non-criminal infractions or violations by Massachusetts citizens; failure to

comply with these procedures may result in a void or voidable judgment against the citizen.

89.     M.G.L. c.30A provides that the Plaintiff be provided with procedural Due Process which

requires Notice and a Fair Hearing, and these procedures are also guaranteed to the Plaintiff

under the Massachusetts Constitution and the U.S. Constitution whenever the state seeks to

deprive a citizen of his “right to life, liberty and property.”

90.     Several state actor defendants have violated the Plaintiff’s right to Due Process of Law

and Equal Protection under the law, as guaranteed by the Fifth Amendment and its selective

incorporation to the states by the Due Process clause of the Fourteenth Amendment to the U.S.

Constitution;

91.     State actor defendants have deprived the Plaintiff of his constitutional right to procedural

Due Process as guaranteed by both the federal U.S. Constitution and by the Massachusetts

Constitution; Plaintiff was deprived of his right to a Fair Hearing in the adjudicatory proceedings

before BORIM and DALA, where the Plaintiff could have presented exculpatory evidence which

exonerates the Plaintiff of all wrongdoing.

92.     Magistrate Sarah Luick deprived the Plaintiff of his right to a Fair Hearing because

defendant Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings and records) refused to testify,

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was unable to testify, or was unavailable to testify, at the tribunal for reasons unknown to the

Plaintiff and the absence of this testimony substantially injured the Plaintiff because it resulted in

false and inaccurate conclusions by the fact-finder who was biased and compromised because

she was forced to make inferences or conclusions without the benefit of such testimony and

without seeing the exculpatory evidence which exonerates the Plaintiff, wherein the Plaintiff was

deprived of the opportunity to rebut such false conclusions, which may have resulted in a void or

voidable judgment by that tribunal.

93.     In the 1996 action filed in Middlesex Superior Court, Colon v. Weinberg, Wesselhoeft,

Boston Evening Medical Center, defendant Lourdes Colon (a.k.a. “Patient A” in BORIM

pleadings and records), through her counsel Stanley Spero, refused to comply with a discovery

request, refused to testify, was unable to testify, or was unavailable to testify, for a scheduled

deposition for reasons unknown to the Plaintiff and and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inaccurate and

untruthful inferences or conclusions without the benefit of such testimony where Colon also

concealed exculpatory evidence of the 1992 termination contract which exonerates the Plaintiff,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal.

94.     In the 1996 action filed in Middlesex Superior Court, Colon v. Weinberg, Wesselhoeft,

Boston Evening Medical Center, defendant Lourdes Colon (a.k.a. “Patient A” in BORIM

pleadings and records), through her counsel Stanley Spero, opposed a motion to the Court filed

by Plaintiff’s counsel Claudia Hunter to take Colon’s deposition, whereby Colon refused to

testify, was unable to testify, or was unavailable to testify, for reasons unknown to the Plaintiff
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and the absence of this testimony substantially injured the Plaintiff because it resulted in false

and inaccurate conclusions by the fact-finder who was biased and compromised because she was

forced to make inferences or conclusions without the benefit of such testimony also exacerbated

by the defendants’ spoliation and concealment of exculpatory evidence which exonerates the

Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of the opportunity to rebut such

false conclusions, which may have resulted in a void or voidable judgment by that tribunal.

      Defendant Lourdes Colon’s repeated refusals to orally testify in multiple proceedings

95.      In the 1998 action filed by Plaintiff’s counsel Vincent DiCianni in Suffolk Superior

Court, Weinberg v. Colon, defendant Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings and

records), through her counsel Stanley Spero, again refused to comply with a discovery request

for a deposition, refused to testify, was unable to testify, or was unavailable to testify, for reasons

unknown to the Plaintiff and the absence of this testimony substantially injured the Plaintiff

because it resulted in false and inaccurate conclusions by the fact-finder who was biased and

compromised because she was forced to make inferences or conclusions without the benefit of

such testimony also exacerbated by the defendants’ spoliation and concealment of exculpatory

evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of

the opportunity to rebut such false conclusions, which may have resulted in a void or voidable

judgment by that tribunal.

96.      In the 1998 action filed by Plaintiff’s counsel Vincent DiCianni in Suffolk Superior

Court, Weinberg v. Colon, defendant Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings and

records), through her counsel Stanley Spero, opposed a motion to the Court filed by Plaintiff’s

counsel Vincent DiCianni to take Colon’s deposition, refused to testify, was unable to testify, or

was unavailable to testify, for reasons unknown to the Plaintiff and Court denied Plaintiff's
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counsel’s motion to take Colon’s deposition and the absence of this testimony substantially

injured the Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who

was biased and compromised because she was forced to make inferences or conclusions without

the benefit of such testimony also exacerbated by the defendants’ spoliation and concealment of

exculpatory evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was

deprived of the opportunity to rebut such false conclusions, which may have resulted in a void or

voidable judgment by that tribunal. .

97.     In the 1998 action filed by Plaintiff’s counsel Vincent DiCianni in Suffolk Superior

Court, Weinberg v. Colon, defendant Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings and

records), through her counsel Stanley Spero, filed motion to dismiss under the anti-SLAPP

statute and the Court dismissed the case; Colon refused to testify, was unable to testify, or was

unavailable to testify for reasons unknown to the Plaintiff and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inferences or

conclusions without the benefit of such testimony also exacerbated by the defendants’ spoliation

and concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal. .

98.     In the 2000-2002 BORIM adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, defendant Lourdes Colon

(a.k.a. “Patient A” in BORIM pleadings and records), through her counsel Stanley Spero,

opposed a motion to the Court filed by Plaintiff’s counsel Vincent DiCianni to take Colon’s

deposition for reasons unknown to the Plaintiff and the tribunal denied Plaintiff's counsel’s
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motion to take Colon’s deposition and the absence of this testimony substantially injured the

Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who was biased

and compromised because she was forced to make inferences or conclusions without the benefit

of such testimony also exacerbated by the defendants’ spoliation and concealment of exculpatory

evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of

the opportunity to rebut such false conclusions, which may have resulted in a void or voidable

judgment by that tribunal. .

99.     In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions because defendant Lourdes Colon (a.k.a. “Patient A” in

BORIM pleadings and records) refused to appear at a hearing to orally testify against the

Plaintiff, refused to testify, was unable to testify, or was unavailable to testify, for reasons

unknown to the Plaintiff and the absence of this testimony substantially injured the Plaintiff

because it resulted in false and inaccurate conclusions by the fact-finder who was biased and

compromised because she was forced to make inferences or conclusions without the benefit of

such testimony also exacerbated by the defendants’ spoliation and concealment of exculpatory

evidence which exonerates the Plaintiff of all wrongdoing , wherein the Plaintiff was deprived of

the opportunity to rebut such false conclusions, which may have resulted in a void or voidable

judgment by that tribunal.

100.    In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with an opportunity to

orally present exonerating evidence of his innocence because of defendant Lourdes Colon’s
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(a.k.a. “Patient A” in BORIM pleadings and records) refusal to testify at any hearing, trial,

tribunal or deposition for reasons unknown to the Plaintiff and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inferences or

conclusions without the benefit of such testimony also exacerbated by the defendants’ spoliation

and concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal.

101.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

confront the adverse witness Lourdes Colon (a.k.a. “Patient A” in BORIM pleadings and

records) about her allegations against the Plaintiff, and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inferences or

conclusions without the benefit of such testimony also exacerbated by the defendants’ spoliation

and concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal, thus depriving the Plaintiff of his

right to Due Process of Law.

102.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to
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cross-examine the adverse witness Lourdes Colon (a.k.a. “Patient A”) about her allegations

against the Plaintiff, thus depriving the Plaintiff of his right to Due Process of Law because and

the absence of this testimony substantially injured the Plaintiff because it resulted in false and

inaccurate conclusions by the fact-finder who was biased and compromised because she was

forced to make inferences or conclusions without the benefit of such testimony also exacerbated

by the defendants’ spoliation and concealment of exculpatory evidence which exonerates the

Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of the opportunity to rebut such

false conclusions, which may have resulted in a void or voidable judgment by that tribunal.

103.    In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

subpoena the psychologist Lisa Wolfe about her role in conceiving, formulating, drafting and

dictating the 1992 handwritten memorialized Express Bilateral Contract which terminated the

doctor-patient relationship, thus depriving the Plaintiff of his right to Due Process of Law

because the absence of this testimony substantially injured the Plaintiff because it resulted in

false and inaccurate conclusions by the fact-finder who was biased and compromised because

she was forced to make inferences or conclusions without the benefit of such testimony also

exacerbated by the defendants’ spoliation and concealment of exculpatory evidence which

exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of the opportunity

to rebut such false conclusions, which may have resulted in a void or voidable judgment by that

tribunal.

104.    In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and
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re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

present exonerating evidence of the 1992 termination of the doctor-patient relationship which

was effected by an Express Bilateral Contract between himself and Lourdes Colon which was

memorialized in a handwritten document signed by both parties, thus depriving the Plaintiff of

his right to Due Process of Law because the absence of this testimony substantially injured the

Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who was biased

and compromised because she was forced to make inferences or conclusions without the benefit

of such testimony also exacerbated by the defendants’ spoliation and concealment of exculpatory

evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of

the opportunity to rebut such false conclusions, which may have resulted in a void or voidable

judgment by that tribunal

105.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

present exonerating evidence of the 1992 termination of the doctor-patient relationship which

was effected by an Express Bilateral Contract between himself and Lourdes Colon which was

formed and executed in September 1992 in a first-floor consultation room at the Arbour Human

Resources Institute (“HRI”) on Babcock Street in Brookline, Massachusetts, thus depriving the

Plaintiff of his right to Due Process of Law because the absence of this testimony substantially

injured the Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who

was biased and compromised because she was forced to make inferences or conclusions without

the benefit of such testimony also exacerbated by the defendants’ spoliation and concealment of

exculpatory evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was

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deprived of the opportunity to rebut such false conclusions, which may have resulted in a void or

voidable judgment by that tribunal.

106.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

present exonerating evidence of the 1992 termination of the doctor-patient relationship which

was effected by an Express Bilateral Contract between himself and Lourdes Colon which was

formed and executed in a first-floor consultation room at the Arbour Human Resources Institute

in Brookline, Massachusetts, in a medical consultation meeting which was attended by three (3)

persons: Dr. Lisa Wolfe, the Plaintiff and defendant Lourdes Colon, thus depriving the Plaintiff

of his right to Due Process of Law because the absence of this testimony substantially injured the

Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who was biased

and compromised because she was forced to make inferences or conclusions without the benefit

of such testimony also exacerbated by the defendants’ spoliation and concealment of exculpatory

evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of

the opportunity to rebut such false conclusions, which may have resulted in a void or voidable

judgment by that tribunal.

107.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

present exonerating evidence of the mutual modification of the 1992 Express Bilateral Contract

which provided for the clinical-nonclinical classification of time and location, thus depriving the

Plaintiff of his right to Due Process of Law because the absence of this testimony substantially
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injured the Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who

was biased and compromised because she was forced to make inferences or conclusions without

the benefit of such testimony also exacerbated by the defendants’ spoliation and concealment of

exculpatory evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was

deprived of the opportunity to rebut such false conclusions, which may have resulted in a void or

voidable judgment by that tribunal.

108.   In the 2000 – 2002 DALA adjudicatory proceeding Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to

obtain testimony from Lourdes Colon about her admission of surreptitiously tearing out portions

of her medical record created by the Plaintiff while Colon was a patient at the Boston Evening

Medical Center and thereby permanently altering the medical record without any evidence of

which pages or content were removed from the medical record, and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inferences or

conclusions without the benefit of such testimony also exacerbated by the defendants’ spoliation

and concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal, thus depriving the Plaintiff of his

right to Due Process of Law.

109.   In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, and the Plaintiff was never provided with the opportunity to
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obtain testimony from the medical director Robert Wesselhoeft, III, about his conversations with

the Plaintiff and Colon about the termination of the doctor-patient relationship, and the absence

of this testimony substantially injured the Plaintiff because it resulted in false and inaccurate

conclusions by the fact-finder who was biased and compromised because she was forced to make

inferences or conclusions without the benefit of such testimony also exacerbated by the

defendants’ spoliation and concealment of exculpatory evidence which exonerates the Plaintiff

of all wrongdoing, wherein the Plaintiff was deprived of the opportunity to rebut such false

conclusions, which may have resulted in a void or voidable judgment by that tribunal, thus

depriving the Plaintiff of his right to Due Process of Law.

110.   In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, , and the Plaintiff was never provided with the opportunity

to obtain testimony from the executive director Ruth Taylor, about her conversations with the

Plaintiff and Colon about the termination of the doctor-patient relationship, and the absence of

this testimony substantially injured the Plaintiff because it resulted in false and inaccurate

conclusions by the fact-finder who was biased and compromised because she was forced to make

inferences or conclusions without the benefit of such testimony also exacerbated by the

defendants’ spoliation and concealment of exculpatory evidence which exonerates the Plaintiff

of all wrongdoing, wherein the Plaintiff was deprived of the opportunity to rebut such false

conclusions, which may have resulted in a void or voidable judgment by that tribunal, thus

depriving the Plaintiff of his right to Due Process of Law.

111.   In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and
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re-scheduled on multiple occasions, but finally cancelled permanently and unilaterally by

Magistrate Sarah Luick because of Lourdes Colon’s refusal to testify, inability to testify, and/or

unavailability to testify for reasons unknown to the Plaintiff and the absence of this testimony

substantially injured the Plaintiff because it resulted in false and inaccurate conclusions by the

fact-finder who was biased and compromised because she was forced to make inferences or

conclusions without the benefit of such testimony also exacerbated by the defendants’ spoliation

and concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing,

wherein the Plaintiff was deprived of the opportunity to rebut such false conclusions, which may

have resulted in a void or voidable judgment by that tribunal, thus depriving the Plaintiff of his

right to Due Process of Law.

112.   In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions, resulting in NO HEARING ever taking place before

Magistrate Sarah Luick proceeded to make findings of fact based solely on a portion of the

written documentary record without any oral testimony from the Plaintiff, BORIM’s primary

adverse witness Lourdes Colon, or other percipient witnesses such as psychologist Dr. Lisa

Wolfe, Medical Director Robert Wesselhoeft, III, Executive Director Ruth Taylor, or the Expert

Witnesses because the absence of this testimony substantially injured the Plaintiff because it

resulted in false and inaccurate conclusions by the fact-finder who was biased and compromised

because she was forced to make inferences or conclusions without the benefit of such testimony

also exacerbated by the defendants’ spoliation and concealment of exculpatory evidence which

exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of the opportunity



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to rebut such false conclusions, which may have resulted in a void or voidable judgment by that

tribunal.

113.    In the 2000 – 2002 DALA adjudicatory proceedings Massachusetts Board of Registration

in Medicine, Petitioner v. Robert P. Weinberg, D.O., Respondent, a hearing was scheduled and

re-scheduled on multiple occasions due to Lourdes Colon’s refusal to testify, inability to testify

and/or unavailability to testify, resulting in NO HEARING ever taking place before Magistrate

Sarah Luick proceeded to make findings of fact based solely on the written documentary record

without any oral testimony in violation of the Plaintiff's procedural due process right to a FAIR

HEARING because the absence of this testimony substantially injured the Plaintiff because it

resulted in false and inaccurate conclusions by the fact-finder who was biased and compromised

because she was forced to make inferences or conclusions without the benefit of such testimony

also exacerbated by the defendants’ spoliation and concealment of exculpatory evidence which

exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was deprived of the opportunity

to rebut such false conclusions, which may have resulted in a void or voidable judgment by that

tribunal.

114.    Based on the unilateral refusal/inability/unavailability of the adverse witness Lourdes

Colon (a.k.a. “Patient A” in BORIM pleadings and records) to testify at any proceeding,

deposition, hearing, or trial, and in violation of the Plaintiff’s procedural Due Process rights

under both the U.S. Constitution and the Massachusetts Constitution, as well as under M.G.L. c.

30A, M.G.L. c.112, s.5(c), 243 C.M.R. 1.03(5)(a)3, and 243 C.M.R. 103(5)(a)(18), Magistrate

Sarah Luick proceeded to make final findings of fact WITHOUT providing the Plaintiff with a

Fair Hearing because it became evident to Luick that a Hearing could NEVER take place

because of defendant Lourdes Colon’s refusal/inability/unavailability to testify also exacerbated
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by the defendants’ spoliation and concealment of exculpatory evidence which exonerates the

Plaintiff of all wrongdoing.

115.   The final findings of fact made by Magistrate Sarah Luick, in the absence of a hearing or

any oral testimony, included multiple FALSE statements of material fact as documented here

in this Complaint and also admitted by Magistrate Luick in her Recommended Decision where

she admits the distinct and biased nature of her factual findings in the absence of essential oral

testimony, without the confrontation or cross-examination of witnesses, without the benefit of

determining the credibility of the witnesses and without the benefit of hearing the Plaintiff’s

exonerating evidence in oral testimony because the absence of this testimony substantially

injured the Plaintiff because it resulted in false and inaccurate conclusions by the fact-finder who

was biased and compromised because she was forced to make inferences or conclusions without

the benefit of such testimony also exacerbated by the defendants’ spoliation and concealment of

exculpatory evidence which exonerates the Plaintiff of all wrongdoing, wherein the Plaintiff was

deprived of the opportunity to rebut such false conclusions, which may have resulted in a void or

voidable judgment by that tribunal.

116.   These false statements of material fact, which are incorporated into the text of Magistrate

Sarah Luick’s Recommended Decision, were essential to all fact-finders in multiple state

tribunals in their accurate determination of the Plaintiff’s rights, duties and obligations under the

law and thus generated a false factual record which was subsequently used, referred to and

incorporated into the final judgments of several tribunals and also formed the basis of a false

factual record which was judicially reviewed by appellate courts, Maine Board of Bar

Examiners, Massachusetts Board of Registration in Medicine, Massachusetts Superior Courts,

the Massachusetts Supreme Judicial Court and the Maine Supreme Judicial Court; based on a
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false factual record in the lower courts, in part due to the concealment and spoliation of material

exculpatory evidence of the 1992 handwritten memorialized Express Bilateral contract

terminating the doctor-patient relationship and in part due to the intentional refusal of Lourdes

Colon to testify, or Lisa Wolfe to testify, or Dr Wesselhoeft to testify, or Vincent DiCianni to

testify, the final judgments to issue from all these state courts, including Middlesex Superior

Court, Suffolk Superior Court, Division of Administrative Law Appeals, Massachusetts Supreme

Judicial Court, and the Maine Supreme Judicial Court, may be void or voidable because those

judgments are substantially based on a false factual record, generated in part by the criminal

wrongdoing of defendants Lourdes Colon, Lisa Wolfe and Stanley Spero who willfully and

purposefully concealed the material evidence of the 1992 handwritten memorialized Express

Bilateral Contract which terminated the doctor-patient relationship.

117.   The multiple false statements of material fact which resulted, in part, from the spoliation

of evidence by defendants Lourdes Colon, Lisa Wolfe and Stanley Spero, will be fully described

and enumerated in this complaint which will also serve as the basis for the Plaintiff seeking to set

aside those judgments because of the fraud committed upon those courts also exacerbated by the

defendants’ spoliation and concealment of exculpatory evidence which exonerates the Plaintiff

of all wrongdoing.

118.   The Plaintiff will also seek Declaratory Judgments for each false statement of material

fact which were incorporated and used by several tribunals including, but not limited to appellate

courts, Maine Board of Bar Examiners, Massachusetts Board of Registration in Medicine,

Massachusetts Superior Courts, the Massachusetts Supreme Judicial Court and the Maine

Supreme Judicial Court, and the Declaratory Judgments will assert that each false statement of

material fact is false, inaccurate, not truthful and not corroborated by any substantial evidence,
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and furthermore comprised fraud upon those Courts also exacerbated by the defendants’

spoliation and concealment of exculpatory evidence which exonerates the Plaintiff of all

wrongdoing.

119.   These false statements of material fact relevant to the termination of the doctor-patient

relationship led to substantial, biased and seriously flawed conclusions of law based on those

false factual findings, and the false factual record incorporated into the decisions and final

judgments of those courts, also exacerbated by the defendants’ spoliation and concealment of

exculpatory evidence which exonerates the Plaintiff of all wrongdoing, render those decisions

and judgments to be void or voidable.

120.   An accurate, fair and unbiased determination of the liability or culpability of the Plaintiff

could not be made in the absence of a Fair Hearing as required by Procedural Due Process, and

the spoliation of evidence by defendants Lourdes Colon, Lisa Wolfe and Stanley Spero

comprised fraud upon those tribunals and rendered any final decisions or judgments to be void or

voidable.

121.   An accurate, fair and unbiased determination of the liability or culpability of the Plaintiff

could not be made without hearing the Plaintiff’s oral testimony presenting the relevant

exonerating evidence, concerning the 1992 handwritten memorialized Express Bilateral Contract

which terminated the doctor-patient relationship, in the absence of a Fair Hearing as required by

Procedural Due Process and the spoliation of evidence by defendants Lourdes Colon, Lisa Wolfe

and Stanley Spero comprised fraud upon those tribunals and rendered any final decisions or

judgments to be void or voidable.




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122.    Unjust and unfair conclusions of law will issue forth when the relevant law is applied to

FALSE statements of material fact, also exacerbated by the defendants’ spoliation and

concealment of exculpatory evidence which exonerates the Plaintiff of all wrongdoing, and that

false factual record will render any issuing decision or judgment to be void or voidable.

123.    The false statements of material fact also resulted from the spoliation of evidence by

defendants Lourdes Colon, Stanley Spero and Lisa Wolfe; the conduct of these defendants

comprised: (a) spoliation of evidence, (b) obstruction of justice, (c) interfering with the fair

administration of the law, (d) tampering with evidence, (e) fraudulent concealment of evidence,

(f) falsification of business records, (g) falsification of official state judicial records, (h) filing a

false insurance claim, (i) insurance fraud, (j) perjury, (k) bribery of a witness, (l) judicial

misconduct, (m) malicious prosecution, (n) witness coaching, (o) fabricating evidence, (p)

subornation of perjury, (q) suppression of evidence, (r) mocking the court, (s) impeding service

of process, (t) creating a false judicial record in a court of law, and (u) deprivation of the

Plaintiff’s civil rights and civil liberties while acting under the color of law in violation of 42

U.S.C. 1983.

124.    The defendants Lourdes Colon, Stanley Spero and Lisa Wolfe withheld material evidence

from the tribunal through their concealment of exculpatory evidence comprising the 1992

handwritten memorialized Express Bilateral Contract which terminated the doctor-patient

relationship, which was formed and executed on the premises of HRI in September 1992, at a

medical meeting involving the Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, in which Dr Wolfe

transitioned into the treating psychologist for both the Plaintiff and Lourdes Colon after the

Plaintiff’s role as a doctor was terminated..


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125.   The concealment of the exculpatory evidence comprising the 1992 handwritten

memorialized Express Bilateral Contract which terminated the doctor-patient relationship, which

was formed and executed on the premises of HRI in September 1992, at a medical meeting

involving the Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, by defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe did comprise spoliation of evidence.

126.   The concealment of the exculpatory evidence comprising the 1992 handwritten

memorialized Express Bilateral Contract which terminated the doctor-patient relationship, which

was formed and executed on the premises of HRI in September 1992, at a medical meeting

involving the Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, by defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe did comprise obstruction of justice.

127.   The concealment of the exculpatory evidence comprising the 1992 handwritten

memorialized Express Bilateral Contract which terminated the doctor-patient relationship, which

was formed and executed on the premises of HRI in September 1992, at a medical meeting

involving the Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, by defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe did comprise tampering with evidence.

128.   The concealment of the exculpatory evidence comprising the 1992 memorialized Express

Bilateral Contract which terminated the doctor-patient relationship, which was formed and

executed on the premises of HRI in September 1992, at a medical meeting involving the

Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, by defendants Lourdes Colon, Stanley Spero and

Lisa Wolfe did comprise interference with the fair administration of the law and of justice.

129.   The willful and intentional concealment of the exculpatory evidence comprising the 1992

memorialized Express Bilateral Contract which terminated the doctor-patient relationship, which

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was formed and executed on the premises of HRI in September 1992, at a medical meeting

involving the Plaintiff, Dr. Lisa Wolfe and Lourdes Colon, by defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe did comprise the felony of tampering with the evidence.

130.   The revocation of the Plaintiff’s medical license by BORIM was directly and proximately

caused by the false factual findings made by Magistrate Sarah Luick because the Plaintiff was

denied and deprived of his constitutional right to a Fair Hearing as mandated by procedural due

process in formal adjudication where the defendants Colon, Wolfe and Spero intentionally and

purposefully concealed the exculpatory evidence comprising the 1992 Express Bilateral Contract

terminating the doctor-patient relationship between the Plaintiff and Lourdes Colon.

131.   The revocation of the Plaintiff’s medical license by BORIM was directly and proximately

caused by the false factual findings made by Magistrate Sarah Luick because the Plaintiff was

denied and deprived of his constitutional right to a Fair Hearing because the defendant Lourdes

Colon unilaterally refused/was unable/was unavailable to appear at a tribunal to testify against

the Plaintiff where the defendants Colon, Wolfe and Spero intentionally and purposefully

concealed the exculpatory evidence comprising the 1992 Express Bilateral Contract terminating

the doctor-patient relationship between the Plaintiff and Lourdes Colon.

132.   The revocation of the Plaintiff’s medical license by BORIM was directly and proximately

caused by the false factual findings made by Magistrate Sarah Luick because the Plaintiff was

denied and deprived of his constitutional right to a Fair Hearing, where the Plaintiff could have

orally presented exonerating evidence of the termination of the doctor-patient relationship, orally

confronted and cross-examined Lourdes Colon about her allegations against the Plaintiff,

subpoenaed and confronted Dr. Lisa Wolfe about the 1992 memorialized Express Bilateral

Contract which terminated the doctor-patient relationship where the defendants Colon, Wolfe
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and Spero intentionally and purposefully concealed the exculpatory evidence comprising the

1992 Express Bilateral Contract terminating the doctor-patient relationship between the Plaintiff

and Lourdes Colon.

133.    All hearings, depositions, and trials in the above four (4) judicial proceedings were

opposed by defendants Lourdes Colon, Stanley Spero and Lisa Wolfe, in part, due to their

conspiratorial desire to conceal their unlawful spoliation of exculpatory evidence concerning the

1992 memorialized Express Bilateral Contract which terminated the doctor-patient relationship

which would have exonerated the Plaintiff of all wrongdoing and the three (3) defendants’

attempts to conceal their civil and criminal liability for such spoliation of material evidence from

the tribunal.

134.    State actor defendants, and/or their employees or agents, have deprived the Plaintiff of

his constitutionally guaranteed fundamental liberty rights, including the deprivation of the

Plaintiff’s property rights and his liberty to practice his profession and work gainful employment

and deprivation of Plaintiff’s property rights to his medical license, without Due Process of Law

guaranteed by the Fifth Amendment selectively incorporated through the Due Process clause of

the Fourteenth Amendment and also in violation of Equal Protection under the law guaranteed by

the Fifth and Fourteenth Amendments.

                       Plaintiff was Denied Due Process of Law

135.    “At its core, the right to due process reflects a fundamental value in our American

constitutional system. … Perhaps no characteristic of an organized and cohesive society is more

fundamental than its erection and enforcement of a system of rules defining the various rights

and duties of its members, enabling them to govern their affairs and definitively settle their

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differences in an orderly, predictable manner.” Boddie v. Connecticut, 401 U.S. 371 (1971); See

Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337

(1969); Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212

(1962); Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of

Somers, 351 U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950);

Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator,

312 U. S. 126, 152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938); United States v.

Illinois Central R. Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill,

281 U. S. 673 (1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v.

Denver, 210 U. S. 373, 385-386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230,

236 (1900).

136.   “Without such a "legal system," social organization and cohesion are virtually

impossible; with the ability to seek regularized resolution of conflicts individuals are capable of

interdependent action that enables them to strive for achievements without the anxieties that

would beset them in a disorganized society. Put more succinctly, it is this injection of the rule of

law that allows society to reap the benefits of rejecting what political theorists call the "state of

nature."" Boddie v. Connecticut, 401 U.S. 371 (1971); See Goldberg v. Kelly, 397 U. S. 254

(1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S.

545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining

Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v.

Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233,

246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v.

United States, 304 U. S. 1 (1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463

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(1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour

Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386

(1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

137.   “American society, of course, bottoms its systematic definition of individual rights and

duties, as well as its machinery for dispute settlement, not on custom or the will of strategically

placed individuals, but on the common-law model. It is to courts, or other quasi-judicial official

bodies, that we ultimately look for the implementation of a regularized, orderly process of

dispute settlement. Within this framework, those who wrote our original Constitution, in the

Fifth Amendment, and later those who drafted the Fourteenth Amendment, recognized the

centrality of the concept of due process in the operation of this system. Without this guarantee

that one may not be deprived of his rights, neither liberty nor property, without due process of

law, the State's monopoly over techniques for binding conflict resolution could hardly be said to

be acceptable under our scheme of things. Only by providing that the social enforcement

mechanism must function strictly within these bounds can we hope to maintain an ordered

society that is also just. It is upon this premise that this Court has through years of adjudication

put flesh upon the due process principle.” Boddie v. Connecticut, 401 U.S. 371 (1971); See

Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337

(1969); Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212

(1962); Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of

Somers, 351 U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950);

Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator,

312 U. S. 126, 152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938); United States v.

Illinois Central R. Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill,

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281 U. S. 673 (1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v.

Denver, 210 U. S. 373, 385-386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S.

230, 236 (1900).

138.    “Prior cases establish, first, that due process requires, at a minimum, that absent a

countervailing state interest of overriding significance, persons forced to settle their claims of

right and duty through the judicial process must be given a meaningful opportunity to be heard.

Early in our jurisprudence, this Court voiced the doctrine that "[w]herever one is assailed in his

person or his property, there he may defend," Windsor v. McVeigh, 93 U. S. 274, 277 (1876).

See Baldwin v. Hale, 1 Wall. 223 (1864); Hovey v. Elliott, 167 U. S. 409 (1897). The theme that

"due process of law signifies a right to be heard in one's defense," Hovey v. Elliott, supra, at 417,

has continually recurred in the years since Baldwin, Windsor, and Hovey.[3] Although "[m]any

controversies have raged about the cryptic and abstract words of the Due Process Clause," as Mr.

Justice Jackson wrote for the Court in Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950),

"there can be no doubt that at a minimum they require that deprivation of life, liberty or property

by adjudication be preceded by notice and opportunity for hearing appropriate to the nature of

the case." Id., at 313.” See Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance

Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New

York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338

(1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v. Central Hanover Tr. Co.,

339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton

Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v. United States, 304 U. S. 1

(1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs

Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour Fertilizer Works, 237 U. S.

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413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386 (1908); Louisville & Nashville R.

Co. v. Schmidt, 177 U. S. 230, 236 (1900).

139.   “What the Constitution does require is "an opportunity . . . granted at a meaningful time

and in a meaningful manner," Armstrong v. Manzo, 380 U. S. 545, 552 (1965) (emphasis added),

"for [a] hearing appropriate to the nature of the case," Mullane v. Central Hanover Tr. Co., supra,

at 313.” See Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395

U. S. 337 (1969); Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S.

208, 212 (1962); Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v.

Town of Somers, 351 U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306

(1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v.

Administrator, 312 U. S. 126, 152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938);

United States v. Illinois Central R. Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust &

Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423

(1915); Londoner v. Denver, 210 U. S. 373, 385-386 (1908); Louisville & Nashville R. Co. v.

Schmidt, 177 U. S. 230, 236 (1900).

140.   “Our cases further establish that a statute or a rule may be held constitutionally invalid as

applied when it operates to deprive an individual of a protected right although its general validity

as a measure enacted in the legitimate exercise of state power is beyond question. Thus, in cases

involving religious freedom, free speech or assembly, this Court has often held that a valid

statute was unconstitutionally applied in particular circumstances because it interfered with an

individual's exercise of those rights.” See Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v.

Family Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S. 545 (1965);

Schroeder v. New York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining Co., 371 U.
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S. 334, 338 (1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v. Central

Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246

(1944); Opp Cotton Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v. United

States, 304 U. S. 1 (1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463 (1934);

Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour Fertilizer

Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386 (1908);

Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

141.   “No less than these rights, the right to a meaningful opportunity to be heard within the

limits of practicality, must be protected against denial by particular laws 380*380 that operate to

jeopardize it for particular individuals.” See Mullane v. Central Hanover Tr. Co., supra; Covey v.

Town of Somers, 351 U. S. 141 (1956); See Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach

v. Family Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S. 545 (1965);

Schroeder v. New York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining Co., 371 U.

S. 334, 338 (1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v. Central

Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246

(1944); Opp Cotton Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v. United

States, 304 U. S. 1 (1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463 (1934);

Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour Fertilizer

Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386 (1908);

Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

142.   “The Due Process Clause on which the Court relies has proven very elastic in the hands

of judges. "The doctrine that prevailed in Lochner [v. New York, 198 U. S. 45], Coppage [v.

Kansas, 236 U. S. 1], Adkins [v. Children's Hospital, 261 U. S. 525], [Jay] Burns [Baking Co. v.
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Bryan, 264 U. S. 504], and like cases—that due process authorizes courts to hold laws

unconstitutional when they believe the legislature has acted unwisely— has long since been

discarded." Ferguson v. Skrupa, 372 U. S. 726, 730; See Goldberg v. Kelly, 397 U. S. 254

(1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S.

545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining

Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v.

Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233,

246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v.

United States, 304 U. S. 1 (1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463

(1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour

Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386

(1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

143.   “Whatever residual element of substantive law the Due Process Clause may still have

(Thompson v. Louisville, 362 U. S. 199), it essentially regulates procedure.” Sniadach v. Family

Finance Corp., 395 U. S. 337; Wisconsin v. Constantineau, 400 U. S. 433; See Goldberg v.

Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969);

Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962);

Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351

U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat.

Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126,

152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938); United States v. Illinois Central R.

Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673



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(1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U.

S. 373, 385-386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

144.   “The question historically has been whether the right claimed is "of the very essence of a

scheme of ordered liberty." Palko v. Connecticut, 302 U. S. 319, 325. That makes the test highly

subjective and dependent on the idiosyncrasies of individual judges as Lochner, Coppage, and

Adkins illustrate. … The reach of the Equal Protection Clause is not definable with mathematical

precision. But in spite of doubts by some,[*] as it has been construed, rather definite guidelines

have been developed: race is one (Strauder v. West Virginia, 100 U. S. 303; McLaughlin v.

Florida, 379 U. S. 184); alienage is another (Takahashi v. Fish & Game Comm'n, 334 U. S. 410);

religion is another (Sherbert v. Verner, 374 U. S. 398); poverty is still another (Griffin v. Illinois,

supra); and class or caste yet another (Skinner v. Oklahoma, 316 U. S. 535).” See Goldberg v.

Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969);

Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962);

Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351

U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat.

Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126,

152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938); United States v. Illinois Central R.

Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673

(1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U.

S. 373, 385-386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

145.   “In addition, this case presents a classic problem of equal protection of the laws. The

question that the Court treats exclusively as one of due process inevitably implicates

considerations of both due process and equal protection. Certainly, there is at issue the denial of
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a hearing, a matter for analysis under the Due Process Clause. But Connecticut does not deny a

hearing to everyone in these circumstances; it denies it only to people who fail to pay certain

fees. The validity of this partial denial, or differentiation in treatment, can be tested as well under

the Equal Protection Clause.” See Goldberg v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family

Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v.

New York, 371 U. S. 208, 212 (1962); Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338

(1963); Covey v. Town of Somers, 351 U. S. 141 (1956); Mullane v. Central Hanover Tr. Co.,

339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton

Mills v. Administrator, 312 U. S. 126, 152-153 (1941); Morgan v. United States, 304 U. S. 1

(1938); United States v. Illinois Central R. Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs

Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v. Armour Fertilizer Works, 237 U. S.

413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-386 (1908); Louisville & Nashville R.

Co. v. Schmidt, 177 U. S. 230, 236 (1900).

146.   “In Griffin v. Illinois, 351 U. S. 12 (1956), we held under the Equal Protection Clause as

well as the Due Process Clause that a State may not deny a free transcript to an indigent, where

the transcript is necessary for a direct appeal from his conviction. Subsequently, we have applied

and extended that principle in numerous criminal cases. See, e. g., Eskridge v. Washington State

Board of Prison Terms & Paroles, 357 U. S. 214 (1958); Burns v. Ohio, 360 U. S. 252 (1959);

Smith v. Bennett, 365 U. S. 708 (1961); Coppedge v. United States, 369 U. S. 438 (1962); Lane

v. Brown, 372 U. S. 477 (1963); Draper v. Washington, 372 U. S. 487 (1963); Rinaldi v. Yeager,

384 U. S. 305 (1966); Long v. District Court of Iowa, 385 U. S. 192 (1966); Roberts v. LaVallee,

389 U. S. 40 (1967); Gardner v. California, 393 U. S. 367 (1969).” See Goldberg v. Kelly, 397

U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969); Armstrong v. Manzo,

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380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962); Best v. Humboldt

Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351 U. S. 141 (1956);

Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat. Bank v. Luckett, 321

U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126, 152-153 (1941);

Morgan v. United States, 304 U. S. 1 (1938); United States v. Illinois Central R. Co., 291 U. S.

457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673 (1930); Coe v.

Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U. S. 373, 385-

386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900); See Goldberg

v. Kelly, 397 U. S. 254 (1970); Sniadach v. Family Finance Corp., 395 U. S. 337 (1969);

Armstrong v. Manzo, 380 U. S. 545 (1965); Schroeder v. New York, 371 U. S. 208, 212 (1962);

Best v. Humboldt Placer Mining Co., 371 U. S. 334, 338 (1963); Covey v. Town of Somers, 351

U. S. 141 (1956); Mullane v. Central Hanover Tr. Co., 339 U. S. 306 (1950); Anderson Nat.

Bank v. Luckett, 321 U. S. 233, 246 (1944); Opp Cotton Mills v. Administrator, 312 U. S. 126,

152-153 (1941); Morgan v. United States, 304 U. S. 1 (1938); United States v. Illinois Central R.

Co., 291 U. S. 457, 463 (1934); Brinkerhoff-Fairs Trust & Savings Co. v. Hill, 281 U. S. 673

(1930); Coe v. Armour Fertilizer Works, 237 U. S. 413, 423 (1915); Londoner v. Denver, 210 U.

S. 373, 385-386 (1908); Louisville & Nashville R. Co. v. Schmidt, 177 U. S. 230, 236 (1900).

                              Subject Matter Jurisdiction

147.   This Court has original subject matter jurisdiction over those federal questions of law

arising under the U.S. Constitution and/or federal statutes (28 U.S.C. §1331).

148.   These federal questions addressed in the instant suit include, but are not limited to 42

U.S.C. § 1983; U.S.C. Title 31, Subtitle III, Chapter 37, Subchapter III; 28 U.S.C. § 1345; 42

U.S.C. § 14141; Civil Rights Act including Title VI of the 1964 Civil Rights Act; 42 U.S.C. §§
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1345 12131 – 12134; U.S.C. Title II of the Americans with Disabilities Act of 1990; Procedural

Due Process clauses of the Fifth and Fourteenth Amendments to the United States Constitution;

5 U.S.C. § 706; Freedom of Speech Clause of the First Amendment; Equal Protection Clause of

the Fourteenth Amendment; Title VI of the Civil Rights Act of 1964; 28 U.S.C § 1331; 28

U.S.C. § 1346; and 28 U.S.C. § 1361; unconstitutional state action by the Commonwealth of

Massachusetts and the State of Maine; regulations of the United States Department of Education;

United States Internal Revenue Code; violations of the Due Process and Equal Protection clauses

by state actor defendants including but not limited to including defendants’ violations of the

Plaintiff’s rights under Title IX and Title VII of the Civil Rights Act of 1964; as well as

defendant State actor violations of the Contracts clause, Bills of Attainder clause, ex post facto

clauses, Equal Protection of the Law, and Due Process of Law guarantees of the U.S.

Constitution.

149.   This suit seeks equitable relief through Declaratory Judgments and Injunctive relief

against state actor defendants, in part, and does not seek monetary damages from those state

actor defendants immune by sovereign immunity and protected from same by the Eleventh

Amendment, but Plaintiff does seek monetary and compensatory damages from those non-state

actor defendants who are not protected from suit by the Eleventh Amendment and who caused

substantial economic and non-economic injuries to the Plaintiff which may have remedies under

the law.

150.   Some of the state actors named as defendants in this instant action, including but not

limited to agencies/departments of the Commonwealth of Massachusetts and the State of Maine,

have violated the Plaintiff’s constitutional rights under the Contracts Clause of the U.S.

Constitution and thus deprived him of his constitutional rights under Section 10 of Article I of
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the U.S. Constitution which prohibits states from impairing the obligations of contract between

private parties (the “contracts clause”).

151.   Furthermore the Plaintiff has exhausted all available state remedies up through the

highest appellate court of the Commonwealth of Massachusetts, the Supreme Judicial Court

(“Mass SJC”), and the Mass SJC is a named defendant in the instant action because its decisions

have violated and deprived the Plaintiff of his constitutional rights through its mis-interpretation

of the Constitution, adoption of a false factual record and through 42 U.S.C. § 1983, and thus the

federal U.S. District Court for Massachusetts is the appropriate forum for obtaining equitable

relief for the injuries caused by the Mass SJC wherein the Plaintiff is seeking declaratory

judgments affirming his rights and those constitutional injuries, and the Plaintiff is challenging

the interpretation of federal laws and the Constitution by the Massachusetts SJC.

               Ripeness, Comity and Justiciability of Plaintiff’s Claims

152.   The prosecution of the Plaintiff’s claims and these issues of law does not violate the

principles of federal abstention, neither the Pullman nor the Younger abstention doctrines, nor

comity of the separate and distinct branches of government; the Plaintiff’s claims are ripe and

not moot, are justiciable and do not comprise any political questions; the Plaintiff’s case is a live

case and controversy involving multiple defendants and the Plaintiff has standing, also having

suffered injury in fact in the amount in excess of six million dollars ($6,000,000.00).

153.   As the Plaintiff has exhausted all available state remedies up through the highest

appellate court of Maine, the Supreme Judicial Court (“Maine SJC”), and the Maine SJC is a

named defendant in the instant action because its decisions have violated and deprived the

Plaintiff of his constitutional rights through its mis-interpretation of the Constitution, adoption of

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a false factual record, generated while depriving the Plaintiff of his right to Due Process of Law,

and through 42 U.S.C. § 1983, so that the federal U.S. District Court for Massachusetts is the

appropriate forum for obtaining equitable relief for the injuries proximately caused by the Maine

SJC wherein the Plaintiff is seeking declaratory judgments affirming his rights and affirming

those constitutional injuries and the Plaintiff is challenging the interpretation of federal laws and

the Constitution by the Maine SJC.

154.   Furthermore, in a de novo judicial proceeding on or about 2011 before a single justice of

the Maine SJC, Ellen Gorman, Gorman denied the Plaintiff’s motion to admit relevant and

substantial material evidence of his good character under Rule 201 of the Maine Rules of

Evidence, when Plaintiff was attempting to prove his good character in part through the use of a

U.S. Congressional Letter of Commendation issued to the Plaintiff along with the U.S. Personnel

records showing the Plaintiff’s appointment as a Medical Officer in the National Disaster

Medical System of the U.S. Department of Health where the Plaintiff served his country in times

of need along with journalistic documentation of the Plaintiff’s humanitarian and charitable

contributions to society.

155.   All legal issues addressed by the Plaintiff are ripe and justiciable with ongoing and

annually occurring continuously-repeating injuries (injuries repeated annually for the past 23

years) - most recent injuries and damages occurred in July 2023 - proximately caused by the

unconstitutional actions of state actor defendants, with no political questions involved; the

Plaintiff is not seeking any money damages against the State actors consistent with the

restrictions of the Eleventh Amendment.

156.   These ongoing and continuing injuries often result from the serendipitous discovery of

the false and shameful judicial records which has caused the Plaintiff to be dismissed from
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numerous job positions as well as his being passed over for numerous other economic

opportunities because of stigma and ostracism which is associated with those false judicial

records.

          Issues not Moot because they are capable of Repetition yet Evading Review

157.      These legal issues and claims are not moot because they are capable of repetition yet

evading review, and where applicable, all possible state remedies have been exhausted,

especially where the scope of discovery and legal issues raised may have been limited by the

Defendants’ unconstitutional state action. Capable of repetition yet evading Review: Each year

the Plaintiff suffers repetitive injuries and damages, including loss of jobs and job opportunities,

and personal attacks on his reputation with social isolation and ostracism because of the

unconstitutional state actions against him – so like Roe v. Wade, the Plaintiff’s case is not moot

because his injuries have been repeated annually and are capable of repetition yet evading

review.

Original federal Jurisdiction under 28 U.S.C.§ 1333 along with Supplemental Jurisdiction under

28 U.S.C. § 1367

158.      This Court has general original jurisdiction over live cases and controversies arising

under federal law involving active disputes between the party defendants (28 U.S.C. § 1333),

furthermore where the Plaintiff has suffered injury-in-fact, in the approximate amount exceeding

US$6,250,000.00 (Six million two hundred fifty thousand U.S. dollars).

159.      In the instant suit, Subject matter jurisdiction arises under these federal laws and the U.S.

Constitution as well as the relevant supplemental jurisdiction under 28 U.S.C. § 1367 (1994) for

those injuries arising from a common core nucleus of operative facts. United Mine Workers v.
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Gibbs, 383 U.S. 715, 725 (1966); See L. TEPLY AND R. WHITTEN, CIVIL PROCEDURE

115-16 (1994).

160.    Additional jurisdiction arises from claims involving international treaties - Human Rights

treaties - to which the U.S. is a signatory and the defendant state actors have violated the

Plaintiff’s substantive rights and privileges granted to U.S. citizens under those international

treaties.

161.    Additional related causes of action arise under the Supplemental Jurisdiction of the

federal Court based on a common core nucleus of operative facts concerning the unlawful and

unconstitutional actions and/or unlawful omissions by the Defendants, which generated the

original causes of action in the instant case involving questions of federal law and the mis-

interpretation of the United States Constitution by the state actor defendants. United Mine

Workers v. Gibbs, 383 U.S. 715, 725 (1966); See L. TEPLY AND R. WHITTEN, CIVIL

PROCEDURE 115-16 (1994).

162.    Under this Supplemental Jurisdiction, multiple alleged injuries and damages caused to the

Plaintiff were proximately caused by the defendants’ unconstitutional and unlawful actions under

the original federal jurisdiction of the Court, and but for those unconstitutional and unlawful

actions, the Plaintiff would not have suffered those damages and injuries which monetarily

exceed US$6,250,000.00 (Six million two hundred fifty thousand U.S. dollars) in addition to

substantial non-monetary damages.

163.    The Plaintiff has been denied and/or deprived of those rights and privileges which are

secured for him under the U.S. Constitution, including but not limited to fundamental liberties,

civil rights and civil liberties, and constitutional rights through state action by specific state actor

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Defendants who were acting under the color of law, and therefore the Plaintiff is seeking redress,

in part under 42 U.S.C. § 1983 for those deprivations of the Plaintiff’s civil rights and civil

liberties by the relevant state actor defendants.




                Supplemental Subject Matter Jurisdiction 28 U.S.C. § 1367

164.    For those causes of action which are not usually subsumed under federal questions

arising under the United States Constitution or the laws of the United States under the original

jurisdiction of this Court, federal subject matter jurisdiction arises from the supplemental

jurisdiction under 28 U.S.C. § 1367 arising from those transactions, actions and/or omissions

which arise from a common core nucleus of operative facts over which this Court does have

original jurisdiction.

                                 Personal Jurisdiction

165.    All defendants, including state and federal actors, are citizens of the United States as

defined by federal law and the alleged unlawful and injurious actions and/or omissions by the

defendants were committed within the states or territories of the United States, primarily

involving the Commonwealth of Massachusetts and the State of Maine.

                                 Civil Rights Actions

166.    The Plaintiff files this civil rights complaint bringing claims that seek relief for the

violation of the Plaintiff’s fundamental federal civil and/or constitutional rights as protected by

federal statutes and/or the United States Constitution.




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167.   Although Title 42 U.S.C. § 1983 does not confer specific rights, it does allow the

Plaintiff to enforce rights guaranteed/contained in the United States Constitution and defined by

federal law, including the rights and privileges guaranteed to U.S. citizens under the U.S.

Constitution.

168.   The Plaintiff also seeks relief under 42 U.S.C. §1983, and herein alleges (1) a violation of

rights protected by the Constitution or created by federal statute (2) proximately caused by

conduct of (3) a person (4) acting under color of state law. Crumpton v. Gates, 947 F.2d 1418,

1420 (9th Cir. 1991).

169.   Under 42 U.S.C. §1983, a person or state actor who acts under color of law to violate

another’s civil rights and/or constitutional rights may be liable for money damages, declaratory

relief and/or injunctive relief. Multiple defendants of the instant action have deprived the

Plaintiff of his civil rights while acting under the color of law.

170.   For some causes of action stated in the instant case, the relevant statutes of limitations do

not apply as the actions and/or wrongdoings committed by the defendants are ongoing and

continuous and/or subject to recurrence and habitual commission – capable of repetition yet

evading review - Roe v. Wade.


THE PLAINTIFF SEEKS TRIAL BY JURY FOR ALL SUCH

QUESTIONS OF FACT OR ISSUES OF LAW SO TRIABLE.

                           Constitutional Authority & Jurisdiction




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171.   “The judicial Power of the United States, shall be vested in one supreme Court, and in

such inferior Courts as the Congress may from time to time ordain and establish.” Article III,

Section 1, United States Constitution

172.   “The judicial Power shall extend to all Cases, in Law and Equity, arising under this

Constitution, the Laws of the United States, and Treaties made, or which shall be made, under

their Authority; …. To Controversies to which the United States shall be a party; -- between a

State and Citizens of another State; -- between Citizens of different States; -- between Citizens of

the same State claiming Lands under Grants of different States, and between a State, or the

Citizens thereof, and foreign States, Citizens or Subjects.” Article III, Section 2, United States

Constitution

                                 Statute of Limitations

173.   This complaint sets forth the dates on which each alleged constitutional rights

violation occurred. A statute of limitations is a law that sets a particular period of time within

which a suit must be filed. It begins to run when the injury occurs or the constitutional right is

violated. The statute of limitations period for filing a civil rights suit is two years from the most

recent civil rights violation. See Wilson v. Garcia, 471 U.S. 261 (1985); I.C. § 5-219(4).

                   Legal Scholars providing assistance to the Plaintiff

174.   The following legal scholars have provided assistance to the Plaintiff in the preparation

and drafting of these legal pleadings:

    a) Professor Martha Field, Langdell Professor of Law, Harvard Law School, Cambridge

         https://hls.harvard.edu/faculty/martha-a-field/



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    b) Professor James Rowan, Professor of Law, Northeastern University School of Law

          https://law.northeastern.edu/faculty/rowan/

    c) Professor Anthony Baker, Professor of Law, John Marshall Law School, Atlanta

          https://www.johnmarshall.edu/ajmls-announces-the-retirement-of-professor-anthony-

          baker/

    d) The late Professor John Flym, Professor of Law, Northeastern University School of Law

          https://law.northeastern.edu/multimedia/remembering-professor-john-flym/

          https://www.thecrimson.com/article/1969/5/28/john-gs-flym-pbtbhe-president-and/

    e)     Professor Jay Hook, Professor of Law, Student Legal Clinic, Harvard Law School

          https://view.officeapps.live.com/op/view.aspx?src=http%3A%2F%2Fwww.law.harvard.

          edu%2Fprograms%2Fhistory-project%2Fresumes%2Fhook.doc

175.     Additional legal assistance, at times comprising ineffective assistance of counsel, was

provided by the following attorneys (who are also co-defendants in the instant action):

          a) Robert Stolzberg, Esq. https://www.linkedin.com/in/robertstolzbergbigonlaw

          b) Vincent DiCianni, Esq. https://www.affiliatedmonitors.com/vin-dicianni/

          c) Claudia Hunter, Esq. https://www.lawyerdb.org/lawyer/claudia-adams-hunter/

176.     The injuries which were proximately caused to the Plaintiff by Defendants Federal

National Mortgage Association, MrCooper, John Ney, Schechtman, Halperin and Savage, the

Commissioner for the Internal Revenue Service and the United States Department of Education

are ongoing and continuing, which tolls the Statute of Limitations.


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177.   The Plaintiff has been a party to litigation in: Middlesex Superior Court, Suffolk Superior

Court, Division of Administrative Law Appeals, Massachusetts Supreme Judicial Court, Maine

Supreme Judicial Court, Maine Board of Bar Overseers; there are related litigation cases

involving the Plaintiff in the Oxford County Superior Court (Defendants Federal National

Mortgage Association, MrCooper, John Ney, Schechtman, Halperin and Savage) and in the U.S.

Tax Court (Defendants Internal Revenue Service and the United States Department of

Education).

                Constitutional Authority & Jurisdiction & Limitations

178.   Eleventh Amendment to the United States Constitution generally prohibits litigants from

bringing suits against states and state agencies, a protection called “sovereign immunity.” Puerto

Rico Aqueduct and Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139 (1993).

179.   To obtain declaratory relief or injunctive relief from a state or state entity, the Plaintiff

may lawfully use an official capacity claim against an individual employee or official.

180.   Regarding the Plaintiff’s asserting claims under a federal statute other than the civil rights

statute, state entities may be proper defendants. (see RLUIPA and ADA claims.)

        Local Governmental Entities and Private Entities Performing State Functions

181.   A county, municipality (city), or other local governmental entity, or a private entity

performing a state function, may be considered a “person” that can be sued under § 1983 if the

claim alleges that a government policy or custom inflicted the injury. Monell v. Dept. of Soc.

Serv. of New York, 436 U.S. 658, 694 (1978).

182.   The Plaintiff asserts the following facts in the complaint alleging the following: (1) the

plaintiff was deprived of a constitutional right; (2) the county had a policy or custom; (3) the

policy or custom amounted to deliberate indifference to plaintiff’s constitutional right; and (4)

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the policy or custom was the moving force behind the constitutional violation. Mabe v. San

Bernardino County, Dep’t of Pub. Soc. Servs., 237 F.3d 1101, 1110-11 (9th Cir. 2001).

183.    In Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009), the Court clarified that a complaint must

state plausible facts suggesting not simply that Defendants had a policy, but that the policy was

adopted for an unconstitutional purpose, for example, discriminating against someone on the

basis of their race, religion, or national origin. Id. at 1951- 52.

        State Actor defendants have deprived Plaintiff of Procedural Due Process

        in deprivation of constitutionally protected Property and Liberty Interests

184.    The disciplinary proceedings before the Massachusetts Board of Registration in Medicine

(“BORIM”) regarding the revocation of the Plaintiff’s medical license are “formal adjudication”

under the rules and procedures of the Division of Administrative Law Appeals (“DALA”) in the

Commonwealth of Massachusetts.

185.    These proceedings comprising formal adjudication are regulated by the following statutes

and regulations: M.G.L. c.30A, M.G.L. c.112, s.5(c), 243 C.M.R. 1.03(5)(a)3, and 243 C.M.R.

103(5)(a)(18).

186.    These formal adjudicatory proceedings mandate procedural due process of law under the

above-stated statutes and regulations.

187.    Procedural Due Process in the state BORIM and DALA proceedings is also guaranteed

for the Plaintiff by the U.S. Constitution and the Massachusetts Constitution.

188.    This procedural due process of law, regulated by the above-stated statutes and

regulations, requires (a) Notice and (b) a fair hearing before an impartial fact-finder; the

requirements of Procedural Due Process have been delineated by the U.S. Supreme Court in the

case Goldberg v. Kelly.

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189.   BORIM and DALA did provide partial notice of the proceedings against the Plaintiff of

allegations of sexual misconduct, but did not provide notice of a fair hearing which was due the

Plaintiff, where the Plaintiff could have provided evidence of his innocence, confront and cross-

examine adverse witnesses, and challenge the alleged evidence of the Commonwealth.



       Requirements of Procedural Due Process laid out in “Goldberg v. Kelly”

190.   The Supreme Court has laid out the requirements for Due Process in Goldberg v. Kelly,

397 U.S. 254 (1970):

       [a]… “the statutory "fair hearing" will provide the recipient with a full administrative

       review; …

       [b] … hearing has one function only: to produce an initial determination of the validity of

       the welfare department's grounds … to protect a recipient against an erroneous

       termination of his benefits. Cf. Sniadach v. Family Finance Corp., 395 U. S. 337, 343

       (1969) (HARLAN, J., concurring); …

       [c] … a complete record and a comprehensive opinion, which would serve primarily to

       facilitate judicial review and to guide future decisions, need not be provided at the pre-

       termination stage; …

       [d] … an interest in relatively speedy resolution of questions of eligibility;

       [e] … "The fundamental requisite of due process of law is the opportunity to be

       heard." Grannis v. Ordean, 234 U. S. 385, 394 (1914);

       [f] … hearing must be "at a meaningful time and in a meaningful manner."

       Armstrong v. Manzo, 380 U. S. 545, 552 (1965);




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  [g] …the opportunity to be heard must be tailored to the capacities and

  circumstances of those who are to be heard;

  [h] … afford the flexibility of oral presentations … permit the recipient to mold his

  argument to the issues the decision maker appears to regard as important … therefore a

  recipient must be allowed to state his position orally;

  [i] …due process requires an opportunity to confront and cross-examine adverse

  witnesses. E. g., ICC v. Louisville & N. R. Co., 227 U. S. 88, 93-94 (1913); Willner v.

  Committee on Character & Fitness, 373 U.S. 96, 103-104 (1963);          )

  [j] … What we said in Greene v. McElroy, 360 U. S. 474, 496-497 (1959), is particularly

  pertinent here:

  "Certain principles have remained relatively immutable in our jurisprudence. One of

  these is that where governmental action seriously injures an individual, and the

  reasonableness of the action depends on fact findings, the evidence used to prove the

  Government's case must be disclosed to the individual so that he has an opportunity to

  show that it is untrue. While this is important in the case of documentary evidence, it is

  even more important where the evidence consists of the testimony of individuals whose

  memory might be faulty or who, in fact, might be perjurers or persons motivated by

  malice, vindictiveness, intolerance, prejudice, or jealousy.

  [k] …We have formalized these protections in the requirements of confrontation and

  cross-examination. They have ancient roots. They find expression in the Sixth

  Amendment . . . . This Court has been zealous to protect these rights from erosion. It has

  spoken out not only in criminal cases, . . . but also in all types of cases where

  administrative. . . actions were under scrutiny."

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  [l] …"The right to be heard would be, in many cases, of little avail if it did not comprehend the

  right to be heard by counsel." Powell v. Alabama, 287 U. S. 45, 68-69 (1932).


  Counsel can help delineate the issues, present the factual contentions in an orderly

  manner, conduct cross-examination, and generally safeguard the interests of the

  recipient… Evidently HEW has reached the same conclusion. See 45 CFR § 205.10, 34

  Fed. Reg. 1144 (1969); 45 CFR § 220.25, 34 Fed. Reg. 13595 (1969).


  [m] …Finally, the decisionmaker's conclusion as to a recipient's eligibility must rest

  solely on the legal rules and evidence adduced at the hearing. Ohio Bell Tel. Co. v.

  PUC, 301 U. S. 292 (1937); United States v. Abilene & S. R. Co., 265 U. S. 274, 288-289

  (1924) …


  [n]…the decision maker should state the reasons for his determination and indicate

  the evidence he relied on, cf. Wichita R. & Light Co. v. PUC, 260 U. S. 48, 57-59

  (1922), …


  [o]… an impartial decision maker is essential. Cf. In re Murchison, 349 U. S. 133

  (1955); Wong Yang Sung v. McGrath, 339 U. S. 33, 45-46 (1950).


  [p]… decision maker… should not, however, have participated in making the

  determination under review.

  [q] …permit recipients to appear personally with or without counsel before the official

  who finally determines continued eligibility …

  [r]… permitted to present evidence to that official orally, or to confront or cross-

  examine adverse witnesses. ..”
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191.   Thus, there are ten (10) requirements for procedural Due Process established by the U.S.

Supreme Court in Goldberg v. Kelly, 397 U.S. 254 (1970):

       [i] right to notice of hearing at meaningful time and manner;

       [ii] right to fair hearing at meaningful time and in meaningful manner;

       [iii] right to appear personally with or without counsel;

       [iv] right to appear with counsel;

       [v] right to orally present evidence;

       [vi] right to confront adverse witnesses;

       [vii] right to cross-examine adverse witnesses;

       [viii] right to impartial decisionmaker – not involved with initial allegations;

       [ix] decisionmaker’s conclusions must rest solely on legal rules and evidence;

       [x] decisionmaker must state reasons for determination and the evidence relied on.

192.   At least nine (9) of these requirements for procedural due process, which require a FAIR

HEARING, were deprived from the Plaintiff by the actions and conduct of defendants Magistrate

Sarah Luick, Justice Ellen Gorman, BORIM and DALA, for which the Plaintiff is seeking

Declaratory Judgments regarding the conduct of these defendants.

193.   Early in the adjudicatory proceedings (ca. 2000-2001), Plaintiff’s counsel John Flym

agreed with BORIM counsel Alice Oliff to mutually-agreed upon Stipulations of undisputed

issues of material fact relevant to the proceedings; these Stipulations were not for the purpose of

resolving disputed issues of material fact where they were silent on those issues.

194.   Neither the Plaintiff nor his counsel ever waived the right to orally present evidence on

Disputed issues of material fact relevant to the proceedings.




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195.    Neither Plaintiff nor his counsel ever agreed to waive a hearing on the substantial issues

of material fact such as the Plaintiff’s status as to whether he was or was not the physician to

Lourdes Colon at the relevant times in question and for the Plaintiff to present exculpatory

evidence of the 1992 Express Bilateral Contract which terminated the doctor-patient relationship.

196.    Neither the Plaintiff nor his counsel John Flym ever agreed to a waiver of the Procedural

Due Process right to a fair hearing, which is guaranteed to the Plaintiff by the U.S. Constitution

and the Massachusetts Constitution.

197.    The state’s deprivation of the Plaintiff of his right to a fair hearing, substantially

prejudiced the Plaintiff’s case, with substantial infirmity to the fact-finding process, the infirmity

of which was admitted by Magistrate Sarah Luick in her Recommended Decision, and resulted in

harsh, unfair and unjust findings and conclusions which were severely lacking in substantial

evidentiary support without the relevant hearing wherein essential and material exculpatory

evidence could have been presented.

198.    With only the Stipulations, the medical records and Expert Witness testimony, there was

substantial infirmity to the Magistrate’s fact-finding and resultant conclusions which Magistrate

Luick admits to such infirmity in her Recommended Decision, where the record does not

disclose the exculpatory evidence which was intentionally and purposefully concealed by

defendants Colon, Wolfe and Spero.

       Evidence which the Plaintiff was not allowed to present without a Fair Hearing

199.    These disputed substantial genuine issues of material fact include:

    a) 1992 Express Bilateral Contract terminating the doctor-patient relationship which was

         memorialized in a handwritten writing;

    b) Termination of the doctor-patient relationship;

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c) Dr. Lisa Wolfe’s role in conceiving, formulating, drafting and dictating that 1992

     memorialized express bilateral contract terminating the doctor-patient relationship;

d) Mutually agreed upon modification of the 1992 memorialized express bilateral contract

     which provided a clinical-nonclinical binary classification of time and location;

e) Spoliation of material exculpatory evidence by defendants Lourdes Colon, Lisa Wolfe

     and Stanley Spero who concealed all evidence and knowledge of the 1992 memorialized

     express bilateral contract, terminating the doctor-patient relationship, from the tribunal;

f)   Obstruction of justice and interference with the fair administration of justice through

     their concealment and spoliation of material exculpatory evidence by defendants

     Lourdes Colon, Lisa Wolfe and Stanley Spero;

g) Professional ethical violations by defendants Lisa Wolfe and Stanley Spero because of

     their active engagement in spoliation of exculpatory evidence;

h) Sexual activity between the Plaintiff and Lourdes Colon while in the nonclinical world

     (intimate sexual activity between consenting adults is constitutionally protected in the

     privacy of one’s home Lawrence v. Texas, 539 U.S. 558 (2003), 41 S.W.3d 349,

     reversed and remanded);

i)   Substantial bias and deficient expert opinions of the Expert Witnesses who did not have

     access to the concealed 1992 memorialized express bilateral contract terminating the

     doctor-patient relationship, which concealment had a substantial negative effect on their

     expert opinion concerning the Plaintiff;

j)   Constitutional protections - Plaintiff’s 1992 memorialized handwritten Express Bilateral

     Contract terminating the doctor-patient relationship is constitutionally protected under

     the Contracts clause of the U.S. Constitution;

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k) BORIM’s imposition of “forced labor” upon the Plaintiff, forcing him to practice

     medicine against his will in the nonclinical world, comprises Involuntary Servitude,

     similar to slavery where persons are forced to work against their will;

l)   Furthermore, BORIM’s invasion of the Plaintiff’s home and private residence where

     private sexual activity between consenting adults was taking place is protected under the

     fundamental constitutional right to Privacy as enunciated by the Supreme Court in

     Lawrence v. Texas, 539 U.S. 558 (2003);

m) BORIM’s regulations violate the Plaintiff’s right to Equal Protection under the law

     because of its discriminatory nature burdening the Plaintiff’s fundamental right to marry

     because BORIM regulations permit licensed physicians to engage in sexual relations

     with their patients if they subsequently marry the patient but these regulations punish

     those physicians who engage in sexual relations with their patients but do not

     subsequently marry the patient, by revoking their medical licenses;

n) BORIM’s imposition of a retroactive Rule voiding the Plaintiff’s 1992 memorialized

     Express Bilateral Contract terminating the doctor-patient relationship is tantamount to

     an ex post facto application of new law to conduct in the past for the purpose of

     punishment without a fair hearing and also comprises a Bill of Attainder;

o) BORIM’s punishment of the Plaintiff by revocation of his medical license without prior

     notice that physicians cannot enter contracts to limit the time and location of their

     clinical activities comprises criminal punishment, requires a complete criminal trial, and

     comprises BORIM acting ultra vires because administrative agencies do not have the

     authority to deprive a citizen of their constitutionally protected rights of life, liberty or

     property without a trial in a competent court of law. The criminal nature of the

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         Plaintiff’s punishment by BORIM is evident in the 5-year period of adjudicatory

         proceedings when the Plaintiff treated over 40,000 patients, when BORIM had

         Emergency Powers to immediately revoke or suspend the Plaintiff’s medical license

         were there a real concern about protecting the health and welfare of the citizens, but

         BORIM chose NOT TO ACT for 5 years after they already had knowledge of the

         Plaintiff’s sexual conduct. Thus the decision to revoke the Plaintiff’s medical license

         was PUNITIVE and not acting to protect health, safety or welfare. Criminal

         punishments such as the Plaintiff’s license revocation demand the protections of

         criminal procedure and the right to a jury trial.

200.     These disputed issues of material fact, essential for the fact-finder to make conclusions

regarding the Plaintiff’s conduct, were avoided and evaded in the Stipulations which were

submitted, which was also silent on the exculpatory evidence of the 1992 Express Bilateral

contract terminating the doctor-patient relationship.

201.   These substantial issues of material fact demanded that the Plaintiff receive a fair hearing

before the tribunal to present his evidence, cross-examine the witnesses against him and have the

full panoply of legal resources which were his due under Administrative Law, to fairly determine

the true and accurate findings of fact which were relevant to this case, but the Plaintiff never was

provided with the opportunity for a fair hearing.

202.   BORIM and DALA refused to provide the Plaintiff with a fair hearing because defendant

Lourdes Colon did not want to testify in court nor did she want to testify at a deposition, or

Colon was unable to testify or not accessible to testify at any of these official tribunal processes

where a witness usually provides testimony under oath.




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203.   Without that fair hearing, Magistrate Sarah Luick admitted in the text of her

Recommended Decision being critically limited and restricted without the benefit of the relevant

testimony and further documentation - such as the concealed 1992 memorialized express

bilateral contract terminating the doctor-patient relationship and led Magistrate Luick to make

multiple FALSE findings of fact without that testimony or documentation.

204.   The Plaintiff was unfairly and unjustly punished by the revocation of his medical license,

loss of constitutionally-protected property and liberty rights, loss of the liberty to engage in

gainful employment because of the FALSE findings of fact made by Magistrate Luick in the

absence of a fair hearing without the presentation of exculpatory evidence.

205.   The Plaintiff had demanded a fair hearing before an impartial fact-finder and only agreed

to a Stipulation of facts regarding the undisputed facts and the Plaintiff never waived his right to

a fair hearing as required by Due Process of Law.

206.   Defendants Massachusetts Board of Registration in Medicine (“BORIM”) and the

Massachusetts Division of Administrative Law Appeals (“DALA”) have denied the Plaintiff the

right to a fair hearing before an impartial fact-finder in proceedings to revoke his medical

license.

207.   The state proceedings were regulated by M.G.L. c. 30A, the State Administrative

Procedures Act, which guaranteed the Plaintiff the right to a fair hearing, but the Plaintiff was

never provided with an opportunity for a fair hearing.

208.   Early in the the adjudicatory proceedings, Plaintiff’s counsel John Flym agreed to

Stipulations of undisputed genuine issues of material fact relevant to the proceedings.




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209.     Neither Plaintiff nor his counsel ever agreed to waive a hearing on the substantial issues

of material fact such as the Plaintiff’s status as to whether he was or was not the physician to

Lourdes Colon at the relevant times in question.

210.     Without a fair hearing, the Plaintiff was never provided with the opportunity to orally

present evidence of:

    a) Memorialized Express Bilateral Contract terminating the doctor-patient relationship in

          September 1992;

    b) Dr. Lisa Wolfe’s role in formulating, drafting and dictating that 1992 memorialized

          express bilateral contract terminating the doctor-patient relationship;

    c) Lourdes Colon’s state of mind and psychiatric diagnosis of Dissociative Identity

          Disorder and Multiple Personality Disorder;

    d) Mutually agreed upon modification of the 1992 memorialized express bilateral contract

          which provided a clinical-nonclinical binary classification of time and location;

    e) Spoliation of material evidence by defendants Lourdes Colon, Lisa Wolfe and Stanley

          Spero who concealed all exculpatory evidence and knowledge of the memorialized

          express bilateral contract, terminating the doctor-patient relationship, from the tribunal;

    f)    Obstruction of justice and interference with the fair administration of justice by

          defendants Lourdes Colon, Lisa Wolfe and Stanley Spero;

    g) Professional ethical violations by defendants Lisa Wolfe and Stanley Spero because of

          their active engagement in spoliation of evidence and concealment of exculpatory

          evidence;

    h) Sexual activity between the Plaintiff and Lourdes Colon while in the nonclinical world

          (intimate sexual activity between consenting adults is constitutionally protected in the

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          privacy of one’s home Lawrence v. Texas, 539 U.S. 558 (2003), 41 S.W.3d 349,

          reversed and remanded);

    i)    Substantial bias and deficient expert opinions of the Expert Witnesses who did not have

          access to the concealed 1992 memorialized express bilateral contract terminating the

          doctor-patient relationship, which concealment had a substantial negative effect on their

          expert opinion concerning the Plaintiff;

    j)    Plaintiff’s 1992 memorialized Express Bilateral Contract terminating the doctor-patient

          relationship is constitutionally protected under the Contracts clause of the U.S.

          Constitution;

    k) BORIM’s imposition of “forced labor” upon the Plaintiff, forcing him to practice

          medicine against his will in the nonclinical world, comprises Involuntary Servitude;

    l)    BORIM’s imposition of a retroactive Rule voiding the Plaintiff’s 1992 memorialized

          Express Bilateral Contract terminating the doctor-patient relationship is tantamount to

          an ex post facto application of new law to conduct in the past for the purpose of

          punishment without a fair hearing and also comprises a Bill of Attainder;

    m) BORIM’s punishment of the Plaintiff by revocation of his medical license without prior

          notice that physicians cannot enter contracts to limit the time and location of their

          clinical activities comprises criminal punishment, requires a complete criminal trial, and

          comprises BORIM acting ultra vires because administrative agencies do not have the

          authority to deprive a citizen of their constitutionally protected rights of life, liberty or

          property without a trial in a competent court of law.

211.     These substantial issues of material fact demanded that the Plaintiff receive a fair hearing

before the tribunal to present his evidence, cross-examine the witnesses against him and have the

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full panoply of legal resources which were his due under Administrative Law, to fairly determine

the true and accurate findings of fact which were relevant to this case.

212.   Without that fair hearing, Magistrate Sarah Luick admitted in the text of her

Recommended Decision being critically limited and restricted without the benefit of the relevant

testimony and further documentation - such as the concealed 1992 memorialized express

bilateral contract terminating the doctor-patient relationship and led Magistrate Luick to make

multiple FALSE findings of fact without that testimony or documentation.

213.   Defendants Massachusetts Board of Registration in Medicine (“BORIM”) and the

Massachusetts Division of Administrative Law Appeals (“DALA”) have denied the Plaintiff the

right to a fair hearing before an impartial fact-finder in proceedings to revoke his medical

license.

214.   BORIM and DALA never provided any Notice of the fair hearing at which the Plaintiff

would have been entitled to: (a) present evidence supporting his position, evidence of the

termination of the doctor-patient regulated by Massachusetts statutes including M.G.L. c.30A

and C.M.R.

215.   The Plaintiff was unfairly and unjustly punished by the revocation of his medical license,

loss of constitutionally-protected property and liberty rights, loss of the liberty to engage in

gainful employment because of the FALSE findings of fact made by Magistrate Luick in the

absence of a fair hearing.

216.   The Plaintiff had demanded a fair hearing before an impartial fact-finder and only agreed

to a Stipulation of facts regarding the undisputed facts and the Plaintiff never waived his right to

a fair hearing as required by Due Process of Law.




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217.   Multiple tribunals including the Massachusetts Middlesex Superior Court, Massachusetts

Suffolk Superior Court, Massachusetts Supreme Judicial Court and the Maine Supreme Judicial

Court have relied upon the FALSE findings of material fact which were made by Magistrate

Luick in the absence of the fair hearing which the Plaintiff demanded.

218.   The FALSE findings of fact made by Magistrate Sarah Luick have resulted in severe,

harsh and substantial injuries to the Plaintiff including but not limited to: (a) loss of his medical

license; (b) over $250,000 of legal payments to attorneys to represent him; (c) loss of over

$3,125,000.00 (three million one hundred twenty-five thousand U.S. dollars) of lost salary and

compensation as a Physician over a 22-year period of time; (d) bankruptcy; (e) divorce from his

wife; (f) foreclosure of his home; (g) severe community ostracism and humiliation; (h) refusal of

the Maine Board of Bar Examiners to admit him after passing the Bar exam in Maine; (h) severe

medical complications from the intentional infliction of extreme emotional distress resulting in

cardiac dysrhythmias requiring a pacemaker, ulcer, severe depression with suicidal ideation; and

(i) loss of multiple clinical jobs and research jobs in hospitals and medical centers because of

Medicare exclusion of the Plaintiff.

219.   Plaintiff seeks equitable relief in the form of declaratory judgments and injunctive relief

from those state actor defendants immune from money damages by the Eleventh Amendment;

Plaintiff seeks compensatory, monetary and punitive damages from the private non-state

defendants whose torts and possibly criminal spoliation of evidence have been the direct and

proximate cause of his damages and injuries in the amount of over $6,250,000.00 (six million

two hundred fifty thousand U.S. dollars), especially defendants Lisa Wolfe, Stanley Spero and

Lourdes Colon.

   Defendant State actors acting in their personal capacity under the Color of Law causing
         deprivation of Plaintiff’s civil rights in violation of 42 U.S.C § 1983
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220.    The Eleventh Amendment prevents claims against the state Actors acting in their official

capacity, but does not prevent claims against State Actors acting in their personal capacity, for

which the individual state actor would be liable for money damages and relief personally, and

not the State. Hafer v. Malo, 502 U.S. 21, 2658, 362 (1991).

221.    Regarding the injunctive relief sought, the Plaintiff seeks a court order requiring specific

state actor defendants to act or stop acting in a particular manner, and is an exception to Eleventh

Amendment immunity. In the instant case, the named state actor defendants are the state actors

directly in charge of such acts, sued in their official capacity, not the governmental entity itself.

Ex parte Young, 209 U.S. 123 (1908).

          Personal Capacity Claims against Individual Officers or Employees

222.    The Plaintiff alleges claims seeking monetary damages against several state actor

Defendants acting in his or her “personal capacity.” These claims allege that the state actor is

personally liable for action taken while acting for the government. Kentucky v. Graham, 473

U.S. 159, 165 (1985).

223.    “Acting under color of state law generally means that a “person,” was working for or

acting on behalf of a governmental entity when they violated the Plaintiff's civil rights.

224.    Regarding his civil rights claim, the Plaintiff is thus seeking equitable relief, in terms of

injunctive or declaratory relief, when some of the state actor defendants were acting in their

official capacity under the color of law when they violated the Plaintiff's civil rights.

225.    Also regarding his civil rights claim, the Plaintiff is seeking monetary damages against

those state actor defendants who were acting in their personal capacity under the color of law at

the time that they violated the Plaintiff's civil rights.



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226.      As part of the U.S. District Court cover-sheet, the Plaintiff has completed the civil rights

complaint form, wherein section C(1) covers these essential elements.

227.      For those state actor defendants, who violated the Plaintiff's civil rights while acting

under the color of law, the Plaintiff has designated each person’s job title along with the

governmental entity for which that person is or was working at the time of the alleged violation.

228.      Under the quasi-governmental doctrine, private entities may be liable for injuries to the

Plaintiff when those private entities were acting or performing a government function which is

usually and normally performed by government actors.

229.      The Plaintiff alleges with specificity the defendant actors’ conduct which were the direct

and proximate cause of the violation of the Plaintiff's civil rights and deprivation of the

Plaintiff’s constitutional rights. 42 U.S.C. § 1983; Arnold v. International Business Machines

Corp., 637 F.2d 1350, 1355 (9th Cir. 1981).

230.      Under established law, there are two theories under which a state official may be held

liable for civil rights violations: (1) personal involvement in the act that caused the injury; or

(2) sufficient causal connection between the official’s act and the injury. Taylor v. List, 880 F.2d

1040, 1045 (9th Cir. 1989).

231.      Regarding the violations of the Plaintiff's Constitutional rights, the Plaintiff herein alleges

material facts which satisfy the essential elements for those civil rights and Constitutional claims,

from which the jury can determine that the defendant acted intentionally, deliberately and

purposefully at the time of those violations See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1953-54

(2009).

232.      As a U.S. citizen, the Plaintiff has a First Amendment right to access the courts. Bounds

v. Smith, 430 U.S. 817 (1977).

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                       Justiciable and non-political Issues of Law

233.   The issues of law, addressed in this Complaint by the Plaintiff, are justiciable and are not

political questions nor issues, and these injuries caused to the Plaintiff are ripe for adjudication,

and where state actors are defendants, all possible state remedies have been exhausted in the

highest courts of the Commonwealth of Massachusetts and the State of Maine.

234.   The Plaintiff seeks equitable relief, declaratory and injunctive, against the state actor

defendants where monetary damages would otherwise be prohibited by the Eleventh

Amendment.

235.   Where agents and/or employees of state actors, were acting within their personal capacity

and not that of the state, and their actions and/or omissions did cause substantial economic injury

to the Plaintiff when those agents and/or employees violated the Plaintiff’s civil rights while

acting under the color of law, the Plaintiff seeks the relevant monetary and punitive damages as

authorized by 42 U.S.C. s.1983.

                          Constitutional Right to a Trial by Jury

236.   Three separate provisions of the U.S. Constitution provide for the right to a trial by jury.

Article III, Sec. 2 provides: “The trial of all crimes shall be by jury and such trial shall be held in

the state where the said crimes have been committed.” The Sixth Amendment says: “In all

criminal prosecutions, the accused shall enjoy the right to a speedy and public trial by an

impartial jury of the state where the said crimes shall have been committed.” Finally, for civil

matters, the Seventh Amendment provides: “In all suits at common law, where the value in

controversy shall exceed twenty dollars, the right of trial by jury shall be preserved and no fact

tried by a jury shall be othePlaintiff Robert Weinbergise reexamined by an court of the United

States.”

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237.    This United States District Court for the District of Massachusetts is one of those inferior

courts vested with judicial Power granted by the United States Supreme Court and is authorized

and empowered to try Cases and Controversies arising under the Constitution or the Laws of the

United States.

238.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1345, and

2201.

239.    This court has original jurisdiction over this case because the complaint includes disputes

governed by the United States Constitution and the laws of the United States, including violation

of the Plaintiff’s civil rights guaranteed by the United States Constitution by persons acting

under the color of law. 28 U.S.C. § 1331, 28 U.S.C. § 1343, 42 U.S.C. § 1983, 18 U.S.C. §

1961(3), 18 U.S.C. § 1962I, 18 U.S.C. § 1962(d) and 42 U.S.C. § 1985.

240.    This action also involves federal issues of law which arise under the Due Process and

Equal Protection Clauses of the Fifth and Fourteenth Amendments, U.S. Const. amend. V; and

the Administrative Procedures Act, 5 U.S.C. § 550 et seq.

241.    This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331, 28 U.S.C.

§1346(a)(2), 28 U.S.C. §1361, 28 U.S.C. § 2201, 28 U.S.C. § 2202, 42 U.S.C. 2000bb-1(c),

provisions of 28 U.S.C. § 1391(e)(1)(A), § 1361, and § 2201–2202.

242.    Venue is proper as most of the defendants either do business, have a principal place of

business or reside within the Commonwealth of Massachusetts

243.    In the instant case, there exists an actual and justiciable live controversy between the

Plaintiff and Defendants requiring resolution by this Court. The Plaintiff has no other adequate

remedy at law, and any state available remedies have been exhausted or are otherwise excused.

244.    The Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

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1343 as this action involves, in part, federal questions regarding the deprivation of Plaintiff’s

rights under 42 U.S.C. § 1981.

245.    The Court has supplemental jurisdiction over Plaintiff’s related state and local law

claims/causes of action pursuant to 28 U.S.C. § 1367(a).

246.    This Court has authority to adjudicate issues under Title VII of the Civil Rights Act.

247.    This Court has authority to adjudicate issues under Title IX of the Civil Rights Act.

248.    The United States District Court is authorized to enforce Title II, which requires

reasonable modifications and accommodations to avoid discrimination or discriminatory actions

against individuals with disabilities.

249.    The Plaintiff also seeks Declaratory and injunctive relief as authorized by § 14141, Title

II, Title VI.

250.    This Court has authority to adjudicate issues under the Americans with Disabilities Act, a

federal law presenting issues of law in the instant case..

251.    This Court has the authority to grant Plaintiff the relief he requests as granted by multiple

federal statutes including, but not limited to the Administrative Procedures Act, 5 U.S.C. §§ 705-

06; the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02; and 28 U.S.C. § 1361; and the United

States Constitution.

252.    Where the Eleventh Amendment, statutes, relative or absolute immunity otherwise may

prohibit suits for money damages, the Plaintiff may still be entitled to Equitable Relief in the

form of Declaratory Judgments and/or Injunctive Relief.

       Proper Subject Matter Jurisdiction: Disputes/issues arising under Federal Law




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253.    Some of the relevant causes of action in the instant litigation arise under the following

federal statutes and sections/clauses of the U.S. Constitution, and include several Fundamental

civil Liberty interests and civil rights:

        [a] 42 U.S.C. § 1983

        [b] U.S.C. Title 31, Subtitle III, Chapter 37, Subchapter III

        [c] 28 U.S.C. § 1345

        [d] 42 U.S.C. § 14141, Title VI of the 1964 Civil Rights Act

        [e] 42 U.S.C. §§ 1345 12131 – 12134

        [f] U.S.C. Title II of the Americans with Disabilities Act of 1990

        [g] Procedural Due Process clauses of the Fifth and Fourteenth Amendments

        [h] 5 U.S.C. §706

        [i] Freedom of Speech Clause of the First Amendment

        [j] Equal Protection Clause of the Fourteenth Amendment

        [k] Title VII of the Civil Rights Act of 1964

        [l] Title IX of the Civil Rights Act of 1964

        [m] Contracts clause of section 10, Article I, U.S. Constitution

        [n] Ex post facto clause of section 10, Article I, U.S. Constitution

        [o] Bill of Attainders clause of section 10, Article I, U.S. Constitution

        [p] additional federal statutes not previously enumerated, including but not limited to the

        Internal Revenue Code


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       [q] international treaties to which the United States is a signatory which grant specific

       rights to its citizens

254.   The Due Process Clause of the Fourteenth Amendment provides: "[N]or shall any State

deprive any person of life, liberty, or property, without due process of law." Historically, this

guarantee of due process has been applied to deliberate decisions of government officials to

deprive a person of life, liberty, or property. Davidson v. New Orleans, 96 U. S. 97 (1878);

Rochin v. California, 342 U. S. 165 (1952); Bell v. Burson, 402 U. S. 535(1971); Ingraham v.

Wright, 430 U. S. 651 (1977); Hudson v. Palmer, 468U. S. 517 (1984).

255.   “Negligent conduct by a state official, when it proximately causes injury to the Plaintiff,

may constitute a deprivation under the Due Process Clause.” This history reflects the traditional

and common-sense notion that the Due Process Clause, like its forebear in the Magna Carta, see

Coin, The Doctrine of Due Process of Law Before the Civil War, 24 Harv. L. Rev. 366, 368

(1911), was" `intended to secure the individual from the arbitrary exercise of the powers of

government,' " Hurtado v. California, 110 U.S. 516, 527 (1884) (quoting Bank of Columbia v.

Okely, 4 Wheat. 235, 244 (1819)). See also Wolff v. McDonnell, 418 U. S.539, 558 (1974) ("The

touchstone of due process is protection of the individual against arbitrary action of government,

Dent v. West Virginia, 129 U. S. 114, 123 (1889)").

256.   By requiring the government and state actor Defendants to follow appropriate procedures

when its agents decide to "deprive any person of life, liberty, or property," the Due Process

Clause promotes fairness in such decisions.

257.   Furthermore the Due Process Clause bars certain government actions regardless of the

fairness of the procedures used to implement them, e. g., Rochin, supra, it serves to prevent

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governmental power from being "used for purposes of oppression," Murray's Lessee v. Hoboken

Land & Improvement Co., 18 How. 272, 277 (1856).

258.    “The Fourteenth Amendment is a part of a Constitution which is generally designed to

allocate governing authority among the Branches of the Federal Government and between that

Government and the States, and to secure certain individual rights against both State and Federal

Government.” State action which infringes upon or violates the individual’s Fundamental Liberty

interests is subject to Strict Scrutiny upon Judicial Review.

259.    “The United States Constitution deals with the large concerns of the governors and the

governed, but it does not purport to supplant traditional tort law in laying down rules of conduct

to regulate liability for injuries that attend living together in society.” Paul v. Davis, 424 U. S.

693, 701 (1976).

260.    Civil rights actions lie within the federal court’s jurisdiction to hear matters arising under

the United States Constitution and federal laws. 42 U.S.C. § 1983 prohibits entities from denying

a citizen’s civil rights while acting under the color of law.

261.    The federal issues of law raised in this litigation have not been fully litigated in any prior

proceeding in any competent court of law and are thus not subject to res judicata nor are they

subject to collateral estoppel.

                      Plaintiff’s medical and neurological disabilities

262.    Plaintiff’s mother, Isabelle Weinberg, went into labor on October 26, 1953 at Crown

Heights Hospital (https://en.wikipedia.org/wiki/Lefferts_General_Hospital) in Brooklyn, New

York.




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263.   As a G1P0 primigravid mother (https://www.dictionary.com/browse/primigravida), the

Plaintiff’s mother’s labor was abnormally long and protracted

(https://my.clevelandclinic.org/health/diseases/24752-prolonged-labor).

264.   On October 27, 1953, during birth, the Plaintiff suffered significant cerebral ischemia,

with low Apgar scores (https://fn.bmj.com/content/93/2/F115), and appeared as a “blue baby” to

the doctor and nurses (https://www.frontiersin.org/articles/10.3389/fncel.2017.00078/full).

265.   Following these neonatal birth injuries, the Plaintiff suffered from persistent life-long

neurologic impairments and significant neuro-developmental delays which would affect the

Plaintiff’s academic performance for many years

(https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10255042/).

266.   The Plaintiff had substantial language difficulties and did not begin to speak until the age

of four years

(https://journals.lww.com/jrnldbp/Abstract/1987/02000/Early_Language_Development_in_Infan

ts_with.2.aspx).

267.   For most of his elementary school years at the Birch Lane Elementary School

(https://www.msd.k12.ny.us/BirchLane) in Massapequa, New York

(https://en.wikipedia.org/wiki/Massapequa,_New_York), the Plaintiff was seen by a Speech

Therapist for language therapy (https://www.asha.org/policy/pi2010-00317/) on a weekly basis

through the sixth grade.

268.   In June 1964, the Plaintiff had a bicycle accident where he suffered significant closed

head trauma including a fractured skull and a subdural hematoma

(https://www.ncbi.nlm.nih.gov/books/NBK532970/), which manifested itself initially as




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headache, diplopia and papilledema of the retina due to the increased intracranial pressure of the

expanding bleeding within the Plaintiff’s skull.

269.   With indications for the urgent need for neurosurgery to minimize brain damage from the

increasing intracranial pressure from the continuous intracranial bleeding, the Plaintiff was

hospitalized at Flower and Fifth Avenue Hospital (https://www.nymc.edu/about-

nymc/history/flower-fifth-avenue-hospital/) in New York City , under the service of the

neurosurgeon Dr. Tarlov (https://en.wikipedia.org/wiki/Isadore_Tarlov).

270.   Dr. Tarlov performed a skull craniotomy (https://nspc.com/treatments/craniotomy-for-

subdural-hematoma/) and evacuation of the subdural hematoma from the Plaintiff’s brain in the

Operating Room at the Flower and Fifth Avenue Hospital in New York City.

271.   Following this head trauma, subdural hematoma and neurosurgery, the Plaintiff was

afflicted with Post-concussion syndrome (https://www.ncbi.nlm.nih.gov/books/NBK534786/)

and Traumatic Brain Injury (TBI) (https://www.ninds.nih.gov/health-

information/disorders/traumatic-brain-injury-tbi) with its concomitant behavioral impairments.

272.   In 1967, the Plaintiff was also diagnosed with hypothyroidism

(https://www.niddk.nih.gov/health-information/endocrine-diseases/hypothyroidism),

necessitating daily thyroid hormone supplementation – this thyroid disorder may have resulted

from damage to his pituitary gland from the prior head injuries.

273.   On or about 1990, the Plaintiff was examined and tested at the Hallowell Center

(https://drhallowell.com/) in Concord, Massachusetts, where he was diagnosed with Attention

Deficit Disorder (ADD) (https://www.nimh.nih.gov/health/topics/attention-deficit-hyperactivity-

disorder-adhd) requiring life-long treatment with CNS stimulants and the Plaintiff is currently on

Adderall daily.

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274.   The Plaintiff is a member of a statutorily-protected group under the Americans with

Disabilities Act (“ADA”) (https://www.ada.gov/) due to his combined medical-neurologic

disability from neonatal anoxia, head trauma, intracranial hemorrhage, post-concussion

syndrome, traumatic brain injury, chronic hypothyroidism and Attention Deficit Disorder.




                    Overcoming disability & academic challenges

275.   During the years 1953 – 1968, the Plaintiff received intensive therapy including speech

therapy and additional school interventions because of the neurologic delays from birth anoxia in

addition to the head trauma with subdural hematoma.

276.   During his academic years in second grade (elementary school) through ninth grades

(high school), the Plaintiff was forced to change classes and undergo remedial learning due to

mistakes and errors in his schoolwork caused by his disabilities.

277.   During subsequent years, at Massapequa High School

(https://www.msd.k12.ny.us/domain/123) the Plaintiff became a National Merit Scholarship

semi-finalist (https://en.wikipedia.org/wiki/National_Merit_Scholarship_Program ); also was

awarded a New York State Regents Scholarship for the study of medicine

(https://www.hesc.ny.gov/partner-access/financial-aid-professionals/programs-policies-and-

procedures-guide-to-grants-and-scholarship-programs/appendix-i-certification-of-regents-health-

care-scholarships-in-medicine-and-dentistry-rosters.html ); and was awarded research funding by

Harvard Medical School (https://hms.harvard.edu) to perform summer research with Professor

W. Eugene Knox, III, MD, a professor of Biochemistry

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(https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwiZ9sv

I-

LSEAxVJhYkEHZ3dCHEQFnoECBYQAQ&url=https%3A%2F%2Fwww.ncbi.nlm.nih.gov%2

Fpmc%2Farticles%2FPMC1931864%2Fpdf%2Fajhg00572-

0010.pdf&usg=AOvVaw2Ms4piqdT4qBSrWkmb5n1q&opi=89978449 ).

278.   Many of the academic years between 1958 - 1968 (Kindergarten - Ninth Grade) were

difficult and the Plaintiff’s neurologic disabilities caused him to perform substantially below

average academically with frequent poor grades (Ds, Fs).

279.   In 1968, a BMR (basal metabolic rate) test

(https://en.wikipedia.org/wiki/Basal_metabolic_rate) was performed which showed that the

Plaintiff suffered from marked hypothyroidism, along with abnormal PBI (protein-bound iodine)

(https://www.britannica.com/science/protein-bound-iodine-test) and BEI (butanol-extractable

iodine) levels. The Plaintiff has been on daily oral thyroid supplementation for the past 52 years.

280.   These neurologic and medical disabilities caused the Plaintiff to take numerous medical

leaves of absence during his academic career, receive numerous incomplete “I” grades which

required remediation and completion at later than the regular deadlines.

281.   The Plaintiff attended two (2) medical schools before finally graduating with his medical

degree; attended four (4) law schools before obtaining his law degree and passing the Bar exam;

the Plaintiff also left over four (4) PhD graduate degree programs without completion; and

prematurely resigned from two (2) graduate residency programs before becoming a licensed

physician

282.   Since 1968, in spite of these disabilities, the Plaintiff has successfully overcome these

disabilities and challenges and managed to succeed at: earning his B.S. in Biology from M.I.T. in

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1976 (https://web.mit.edu); earning his D.O. degree from the New York College of Osteopathic

Medicine in 1986 (https://www.nyit.edu/medicine); earning his J.D. degree cum laude from the

New England School of Law in 2006 (https://nesl.edu/) ; earning his M.M.Sc. degree in

Immunology from the Harvard Medical School in 2017 (https://hms.harvard.edu/); and then

earning an M.S. in Pharmacology at the Massachusetts College of Pharmacy and Health Sciences

in 2024 (https://www.mcphs.edu/).

283.   Following his medical school graduation from N.Y.C.O.M. in 1986, the Plaintiff did one

year of post-graduate residency training in Anatomic Pathology at Brown University,

Providence, RI

(https://www.brown.edu/academics/biomed/departments/pathology/education/residency-

program) and also one year of post-graduate residency training in Internal Medicine at St.

Vincent Hospital in Worcester, MA (https://www.stvincenthospital.com/health-

professionals/graduate-medical-education-programs/internal-medicine-residency-

program/residencies-fellowships).

284.   In 1988, the Plaintiff passed the Federation Licensing Examination (F.L.E.X.) for

physicians (https://jamanetwork.com/journals/jama/article-abstract/346499) which was required

to obtain licensure as a physician.

285.   In 1988, the Massachusetts Board of Registration in Medicine (“BORIM”) issued two (2)

medical licenses to the Plaintiff; one license was No. 60232; license No. 60232 was revoked by

BORIM in October 2002, but the second medical license was never revoked nor suspended.

286.   The Plaintiff’s first job as a physician was working for Goldberg Medical Associates as a

Medical Officer running the medical clinic at M.C.I. Bridgewater.


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287.   The Plaintiff’s second job as a physician was as Medical Director of C.B.C. Medical

Clinic on Middlesex Avenue in Lowell, MA, where he provided medical care to a large refugee

community of over 35,000 Cambodians who fled the persecution and torture in their homeland.

288.   From 1990 through 2002, the Plaintiff worked as an Emergency Medicine Attending

Physician in over fifteen (15) Emergency Medicine departments at hospitals including: Malden

Hospital, Lawrence Memorial Hospital, Melrose-Wakefield Hospital, Winthrop Hospital,

Lawrence General Hospital, Baystate Medical Center, Whidden Memorial Hospital, Nantucket

Cottage Hospital, Jones Memorial Hospital, Hale Haverhill Municipal Hospital, Anna Jacques

Hospital, as well as performing Locum Tenens work for such contracting agencies as Spectrum

Medical Staffing, and the Plaintiff also worked as a Surgical First Assistant at Martha’s Vineyard

Hospital.

289.   The Plaintiff was provided with several awards of appreciation for exceptional service at

several of the above hospitals.

290.   In 1989, the Plaintiff obtained employment as a Primary Care Provider at the Boston

Evening Medical Center (“BEMC”) (https://bostoneveningclinicfoundation.org/) on

Commonwealth Avenue in Boston, MA.

291.   BEMC was a neighborhood community health center

(https://www.nachc.org/community-health-centers/what-is-a-health-center/) which had multiple

medical professionals on staff including primary care physicians and also multiple specialists

including dermatologists, allergists, OB/GYNs, internists, ophthalmologists, urologists,

cardiologists, geriatricians, endocrinologists, rheumatologists, orthopedic surgeons and family

physicians.

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           Medical care of Lourdes Colon at the Boston Evening Medical Center

292.   Defendant Lourdes Colon came to the Boston Evening Medical Center (“BEMC”) in

1989 (https://bostoneveningclinicfoundation.org/) for general medical care.

293.   Colon was randomly assigned to the Plaintiff, who worked as a Primary Care Provider

specializing in Family Medicine at BEMC from 1989 through 1997.

294.   At one of her medical visits to the Plaintiff at BEMC on or about July 1992, Colon

appeared upset and began to discuss some suicidal ideation.

295.   Colon had discussed how she became upset after learning that her sister Yvonne was

diagnosed with AIDS.

         Admission to HRI under care of Psychologist Dr. Lisa Wolfe

296.   The Plaintiff became concerned and arranged for her immediate hospitalization at the

Arbour Human Resource Institute (“HRI”)

(https://massachusetts.networkofcare.org/mh/services/medicare-hospital-detail.aspx?pn=224018)

a psychiatric hospital located in Brookline, MA.

297.   The defendant Dr. Lisa Wolfe (https://www.linkedin.com/in/lisa-wolfe-9480b5a0), was a

licensed psychologist on the staff of HRI at that time.

298.   Dr. Wolfe began to provide diagnostic and therapeutic services for Lourdes Colon while

she was hospitalized at HRI, and continued to provide psychological services to Colon for

several months from July – September 1992.

299.   Dr. Lisa Wolfe had written an admission note on Colon on the day of her admission to

HRI which included, among other diagnoses listed in the differential, major depression
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(https://www.ncbi.nlm.nih.gov/books/NBK559078/#:~:text=It%20is%20diagnosed%20when%2

0an,sleep%20disturbances%2C%20or%20suicidal%20thoughts) as well as rule out eating

disorder NOS (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2785872/) and dissociative

disorder NOS (https://en.wikipedia.org/wiki/Dissociative_disorder_not_otherwise_specified);

the Plaintiff did not know of these notes nor Wolfe’s diagnoses until after 1997, when the HRI

records were delivered to Attorney Claudia Hunter (https://www.linkedin.com/in/claudia-hunter-

8274847/) as part of discovery during the lawsuit Colon v. Weinberg, Wesselhoeft, Boston

Evening Medical Center et al. filed in Middlesex Superior Court – for Middlesex County, MA -

(https://www.mass.gov/locations/middlesex-county-superior-court) in November 1996.

300.   Lourdes Colon had seen a pamphlet in the patient’s waiting area at BEMC, which

described profiles of all the primary care doctors at the Boston Evening Medical Center.

301.   This pamphlet with the doctors’ profiles described some of the Plaintiff’s research

activities at MIT.

302.   As an Advanced Study Program fellow (https://professional.mit.edu/advanced-study-

program) at MIT in 1992-93, the Plaintiff was working on developing an acoustic medical

instrument for the automated diagnosis of multiple pulmonary and respiratory conditions.

303.   Defendant Colon was working as an EMT, for several ambulance services e.g. Cataldo

(https://en.wikipedia.org/wiki/Emergency_medical_technician) at that time, and she had an

interest in going to medical school.

304.   Colon thought that if she were to engage in some research it would improve her chances

of getting into medical school.



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305.    So Colon decided that she would like to assist the Plaintiff with his research at MIT after

reading about it in the waiting room pamphlet.

306.    Colon had not discussed this desire or interest with the Plaintiff before she first discussed

it with defendant Dr Wolfe at the HRI during the summer of 1992.

307.    At HRI, Colon had been talking to Dr Wolfe about the possibility of assisting the Plaintiff

with his research.

308.    During Lourdes Colon’s psychotherapy sessions with Dr. Lisa Wolfe at HRI,

(https://www.nimh.nih.gov/health/topics/psychotherapies), Dr Wolfe advised Colon that if she

wanted to assist the Plaintiff, it would be best to terminate the doctor-patient relationship first so

as not to have a dual relationship.

309.    On or about August 1992, the Plaintiff was working at the BEMC, when the front-desk

receptionist put an outside phone call through to him from HRI.

310.    The phone call was from defendant Lourdes Colon, phoning from her psychotherapist

Dr. Lisa Wolfe’s clinical office at HRI, during a psychotherapy session with Dr Wolfe.

311.    Colon asked the Plaintiff if she might be able to assist him with the research which he

was doing at MIT.

312.    Colon also informed the Plaintiff that her psychologist Dr Lisa Wolfe wanted to meet

with him and Colon to further discuss the possibility of becoming the Plaintiff’s research

assistant.

313.    At the time, the Plaintiff thought that he could use an assistant to help with literature

searches at the library.

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314.   So the Plaintiff agreed to a meeting the following week with Colon and Dr Wolfe at HRI.

315.   This request by defendant Lourdes Colon was somewhat unusual for the Plaintiff, so

prior to this meeting at HRI, the Plaintiff discussed this situation – concerning a patient who

wanted to assist with the Plaintiff’s research - with the medical director, Robert Wesselhoeft, III

(https://www.researchgate.net/publication/286373274_The_Wesselhoefts_A_medical_dynasty_f

rom_the_age_of_Goethe_to_the_era_of_nuclear_medicine) , and also with the administrative

director, Ruth Taylor (https://bostoneveningclinicfoundation.org/board.html) of BEMC.

316.   Both Dr Wesselhoeft and Ruth Taylor approved of this plan, so the Plaintiff proceeded

with the meeting with Colon and her psychologist Dr. Lisa Wolfe to discuss the question of

research and asked the Plaintiff to keep them updated.

317.   Lourdes Colon had also met with the Medical Director Dr Wesselhoeft, III, M.D. and

informed him of her wishes and her desire to become a Research Assistant for the Plaintiff.

       1992 Express Bilateral Contract terminating the doctor-patient relationship

318.   So the following week, the Plaintiff came to HRI to meet with Dr Wolfe and Colon at

approximately 9:00 or 10:00 am in the morning in a carpeted consultation office on the first floor

of HRI which measured approximately 15 feet x 15 feet, with one large desk behind which sat Dr

Wolfe and a couple of armchairs in front of that desk where the Plaintiff and Lourdes Colon sat.

319.   This meeting lasted approximately one hour in length; the meeting was run by Dr. Lisa

Wolfe who set the agenda for the meeting and ran the meeting from start to finish.




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320.    Dr. Wolfe controlled the agenda and conduct of the meeting, which lasted an hour, and

began with Dr Wolfe bringing up the conversations she had with Colon and Colon’s interest in

becoming the Plaintiff’s research assistant (https://en.wikipedia.org/wiki/Research_assistant).

321.    Dr. Wolfe asked the Plaintiff if he were interested in having Colon come assist him with

the research at MIT.

322.    The Plaintiff explained that he could use the extra help, especially with doing background

literature searches for the research.

323.    Dr Wolfe recommended that the Plaintiff and Colon formally terminate the doctor-patient

relationship before Colon could transition into becoming a research assistant.

324.    Dr. Wolfe also suggested that the Plaintiff assist with finding a new primary care doctor

who could take care of Colon’s medical problems at BEMC.

325.    The Plaintiff found that Dr. William Reichel could immediately take over the complete

medical care of Lourdes Colon at BEMC (https://www.baltimoresun.com/2021/05/28/dr-

william-reichel-an-internist-and-practitioner-of-family-medicine-who-had-a-special-interest-in-

geriatrics-dies/).

326.    The Plaintiff did not see any obstacles or problems to terminating the doctor-patient

relationship based on Dr. Wolfe’s reassurances and encouragement in pursuing such a course.

327.    After the Plaintiff agreed to these terms so that Colon could become his research

assistant, Dr. Wolfe explained that she would dictate the words of the agreement terminating the

doctor-patient relationship to cover all the bases.




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328.   The Plaintiff agreed to this, and Dr. Wolfe explained that she would dictate the terms of

the agreement terminating the doctor-patient relationship which Colon and the Plaintiff would

each write out in their own handwriting the agreement verbatim that Dr Wolfe dictated and then

each would sign each other’s copy; as the Plaintiff transitioned out of his role as a physician, Dr.

Lisa Wolfe concomitantly transitioned into the treating psychologist for both the Plaintiff (no

longer a physician) and Lourdes Colon.

329.   During the hour-long discussion of this transition, Dr. Wolfe never advised the Plaintiff

of any emotional, mental or psychological vulnerabilities of defendant Colon.

330.   Dr Wolfe never shared any of the psychological or medical issues which she had

documented in Colon’s medical record.

331.   Dr Wolfe never informed the Plaintiff of any of Colon’s diagnoses, such as depression, or

Rule/out eating disorder, dissociative disorder, nor did Dr. Wolfe ever discuss with the Plaintiff

the dangers and risks of becoming involved with a patient with Dissociative Identity Disorder,

who also suffered from Multiple Personality Syndrome.

332.   Dr. Wolfe never advised the Plaintiff at any time to avoid romantic or sexual interactions

or relationships with Colon.

333.   Dr. Wolfe made no attempt in any way to suggest to the Plaintiff that he should

circumscribe the limits or boundaries of the potential relationships which might ensue following

the termination of the doctor-patient relationship.

334.   Dr. Wolfe never indicated to the Plaintiff that he should be careful in any way interacting

with Colon or that she may be more vulnerable to stress than the average person.


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335.   Dr. Wolfe had fiduciary and clinical duties and obligations to inform the Plaintiff if

(https://law.justia.com/codes/massachusetts/2022/part-i/title-xvi/chapter-112/section-128/): she

thought or believed that defendant Colon were vulnerable or if Wolfe perceived or thought that

there might be any risk of harm or injury to Colon following the termination of the doctor-patient

relationship, then defendant Dr Lisa Wolfe would have had a duty to warn the Plaintiff of those

risks of harm or injury as one professional advising the specific actions of another professional –

prior to the termination of the doctor-patient relationship - whom they are advising to undertake

a new role with patient with whom they are clinically familiar. Tarasoff v. Regents of the

University of California (1976).

336.   Although Massachusetts statutes have eliminated the duty of mental health professionals

to warn potential victims of violent acts, this does not obviate the professional duties and

obligations of Dr Wolfe in these unique circumstances where she advised the Plaintiff to

terminate the doctor-patient relationship and she had intimate knowledge of Colon’s mental state

of mind and any psychological vulnerabilities, such as Colon’s Dissociative Identity Disorder

and Multiple Personality Syndrome.

337.   These Massachusetts statutes do not protect Dr. Wolfe from the potential sanctions and

disciplinary actions by the Board of Registration for Psychologists or from the American

Psychological Association.

338.   These clinical duties and obligations of Dr Lisa Wolfe toward both the Plaintiff and to

Lourdes Colon arose from her extensive knowledge of Lourdes Colon (American Psychological

Association discussion of duties of psychologist: https://www.apa.org/education-

career/guide/careers; ethical duties and obligations of clinical psychologists:

https://www.apa.org/ethics/code).
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339.   This 1992 memorialized handwritten mutual express bilateral contract

(https://www.law.cornell.edu/wex/express_contract) to terminate the doctor-patient relationship

between the Plaintiff and Lourdes Colon was dictated by Defendant Lisa Wolfe in September

1992 at HRI in Brookline, Massachusetts (Contract Law:

https://biz.libretexts.org/Bookshelves/Civil_Law/Fundamentals_of_Business_Law_(Randall_et_

al.)/10%3A_Contracts/10.03%3A_Types_of_Contracts).

340.   This memorialized handwritten mutual express bilateral contract terminating the doctor-

patient relationship between the Plaintiff and Lourdes Colon was a lawful, valid and enforceable

contract as defined by Contract Law and did not violate any law.

341.   The memorialized handwritten mutual express bilateral contract terminating the doctor-

patient relationship between the Plaintiff and Lourdes Colon was memorialized with ballpoint

black-ink pen on white paper by both the Plaintiff and Defendant Lourdes Colon in writing at the

time of dictation (Contract Law basics for Litigators in the Massachusetts

https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwjG473

gn7aEAxXqlokEHdbcCXwQFnoECCQQAQ&url=https%3A%2F%2Fwww.davismalm.com%2

Fwp-content%2Fuploads%2F2021%2F07%2FContract-Basics-for-Litigators-

Massachusetts_Practical-Law_June-2021.pdf&usg=AOvVaw137n8sl2EpZ-

I63rfssXVd&opi=89978449).

342.   Using ballpoint pens with black ink, both the Plaintiff and Lourdes Colon did handwrite

down on white lined paper the mutual express bilateral contract terminating the doctor-patient

relationship verbatim as each word was dictated by Dr. Lisa Wolfe.




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343.   The memorialized writing of the mutual Express Bilateral Contract which terminated the

doctor-patient relationship between the Plaintiff and Lourdes Colon in September 1992 was then

signed by both parties – the Plaintiff and Defendant Lourdes Colon; by mutual agreement the

Express Bilateral Contract was modified to classify time and locations into the clinical and

nonclinical worlds.

344.   This memorialized agreement comprising an Express Bilateral Contract to terminate the

doctor-patient relationship between the Plaintiff and Lourdes Colon followed an hour-long

discussion by Dr Wolfe on the ramifications and significance of such a termination.

345.   It was the Plaintiff’s understanding and belief that Dr Wolfe was a highly qualified and

competent psychologist whose direction, guidance, approval and dictation of the express bilateral

contract terminating the doctor-patient relationship provided warranties and guarantees of the

safety and security of such a transition for both the Plaintiff and Colon.

346.   In view of the totality of the circumstances, it was reasonable for the Plaintiff to rely on

the specific advice given by defendant Dr Wolfe and also believe that defendant Colon was

psychologically stable and not in any danger from any relationship which might ensue following

the termination of the doctor-patient relationship.

347.   In summary, Dr Wolfe invited the Plaintiff to come to HRI to meet with Wolfe and

Colon; Dr Wolfe advised the Plaintiff of her recommendations on the termination of the doctor-

patient relationship; Dr. Wolfe dictated the words of the bilateral express contract

unconditionally terminating the doctor-patient relationship verbatim; Dr Wolfe supported and

encouraged the termination of the doctor-patient relationship; and Dr Wolfe approved of and

condoned a different relationship other than the doctor-patient relationship without providing any

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caveats or warnings to the Plaintiff; Dr Wolfe dictated the terms of the express bilateral contract

word by word as the Plaintiff and Lourdes Colon wrote out the words using ballpoint pens on

white paper; the Plaintiff and Lourdes Colon wrote out the exact words which were dictated by

Dr. Wolfe as Dr Wolfe painstakingly dictated slowly to allow the Plaintiff and Colon to

handwrite out the words verbatim as orally dictated by Dr Wolfe; finally both the Plaintiff and

Lourdes Colon signed each others’ copies of the memorialized handwritten express bilateral

contract which unconditionally terminated the doctor-patient relationship in September 1992.

348.     Subsequently the Plaintiff and Lourdes Colon mutually agreed to modify the 1992

Express Bilateral Contract terminating the doctor-patient relationship so that the modified

contract provided a clinical-nonclinical binary classification scheme for time and place, which

allowed specific activities to take place in the nonclinical world and other activities to take place

in the clinical world; it was agreed that no medical care would be provided in the nonclinical

world and no sex would take place in the clinical world.

349.     Three (3) years later, in 1995-96 Dr. Wolfe learned about the personal/romantic

involvement which had developed between the Plaintiff and Colon following the termination of

the doctor-patient relationship in 1992, and Dr. Wolfe invited the Plaintiff to come to her

outpatient practice in Lexington, MA to meet with both Lourdes Colon and Dr. Wolfe.

       Beginning of Couples Therapy for Plaintiff and Lourdes Colon with Dr. Wolfe

350.     At this subsequent meeting in 1995 – 1996 in her Lexington, MA outpatient private

practice office, defendant Dr Lisa Wolfe specifically informed the Plaintiff that he would

become a patient of hers as Dr. Wolfe was planning to do couples therapy with the Plaintiff and

Colon.

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351.    Dr. Wolfe explained that she would be providing couples therapy for the Plaintiff and

Lourdes Colon because of problems that Colon was having with her relationship with the

Plaintiff at that time.

352.    Dr. Wolfe also explained that the Plaintiff would be financially responsible for this

couples therapy conducted in the out-patient setting of her Lexington office.

353.    Dr. Wolfe expected the Plaintiff to make payments for professional services which might

be rendered as part of couples therapy of Colon with the Plaintiff.

            Breach of Dr. Lisa Wolfe’s fiduciary duty to Plaintiff

354.    Based on the statements made by defendant Lisa Wolfe to the Plaintiff, which seemed

reasonable concerning potential couples-therapy with Colon and the Plaintiff, the Plaintiff had a

reasonable expectation that he then became a patient under Wolfe’s psychotherapeutic care as a

member of the couple – Plaintiff – Lourdes Colon – undergoing couples therapy.

355.    Having then taken over the role of couples’ therapist, Defendant Wolfe owed a

professional and medical duty toward the Plaintiff to maintain confidentiality of their interactions

and verbal exchanges after informing the Plaintiff that he would also be her patient.

356.    Defendant Wolfe did breach her professional and fiduciary responsibilities and duty of

confidentiality toward the Plaintiff when she did disclose confidential information to BORIM

without the consent of the Plaintiff.

357.    The breach of confidentiality and voluntary disclosures about confidential discussions in

the counseling sessions with Wolfe to BORIM without the consent of the Plaintiff did comprise a

tortious breach of confidentiality owed to the Plaintiff by Wolfe and also comprised an ethical

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breach of her duties as the Plaintiff’s psychotherapist and also was the direct and proximate

cause of substantial injuries and damages involved with the Plaintiff losing his medical license.

358.   This breach also violated Dr. Wolfe’s fiduciary duty to the Plaintiff, as his psychologist

as well as part of the couple undergoing couples therapy.




         1992 Express bilateral contract terminating the doctor-patient relationship

359.   The 1992 mutual agreement entered into by the Plaintiff and defendant Lourdes Colon

comprised a traditional memorialized handwritten express bilateral contract terminating the

doctor-patient relationship, with all the elements of offer, acceptance and consideration - the

basic elements in contract law.

360.   Based on his reliance upon the express bilateral contract terminating the doctor-patient

relationship, dictated by Dr Wolfe, endorsed by Dr. Wolfe, supported by Dr. Wolfe, these

assurances guaranteed the Plaintiff’s freedom to explore non-clinical relationships with

defendant Lourdes Colon and also reassured the Plaintiff about the legitimacy and validity of

transitioning from the doctor-patient relationship.

361.   The Reliance interest is at the foundation of contract law, and is one of the most strongly

protected legal principles for the contracting parties.

362.   The actions and conduct of defendant Dr. Lisa Wolfe will be proved by the Plaintiff by a

preponderance of the evidence comprising medical records, insurance records, deposition

witness testimony, and enforced by the relevant subpoenas of the relevant witnesses and

defendants.

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363.   With the encouragement of his attorney John Flym, at the beginning of the formation of

the Joint Stipulations between the Plaintiff and BORIM to create a factual record for the

undisputed issues of material fact for the Division of Administrative Law Appeals (“DALA”),

the Plaintiff had signed a waiver/release of legal claims against Dr. Wolfe in 2000.

364.   That 2000 signed document only released some claims for the injuries and tortious

damages that Dr. Wolfe directly and proximately caused to the Plaintiff, which claims were for

injuries and damages proximately caused by Dr. Wolfe prior to the signing of the release; this

waiver did not release Dr. Wolfe from any injuries she might cause the Plaintiff chronologically

following the signing of the release.

365.   The release covered the tortious actions and omissions of Dr. Wolfe which took place

PRIOR to its signing in 2000; it would not cover the new tortious injuries or damages which Dr.

Wolfe would cause after the release was signed in 2000.

              Supremacy and Supercession doctrines of the U.S. Constitution

366.   All fifty states and territories of the United States are governed by the supreme law of the

land – the U.S. Constitution.

367.   Where state law/action conflicts with the U.S. Constitution, the U.S. Constitution is pre-

eminent and supercedes all laws, statutes, regulations and state actions of the fifty states under

the Supremacy doctrine.

368.   When a conflict of laws exists, the rule of law follows an established succession - the

preeminence of laws follows this succession: at the top is the [1] U.S. Constitution, followed by

[2] Acts of Congress and International Treaties along with [3] Presidential executive decrees,


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then there are [4] state statutes and state agency regulations, followed by [5] local laws,

regulations and ordinances at the bottom of the pyramid.

369.     When there is a conflict of law between a state law and the U.S. Constitution, the U.S.

Constitution is supreme and preeminent and will supercede the state law.

370.     Thus Constitutional Law is pre-eminent over the statutes of the Commonwealth of

Massachusetts and the regulations and policies of BORIM.

371.     Any state law or action which violates the mandates of the U.S. Constitution, comprises a

federal issue of law, and falls under the jurisdiction of the federal court – U.S. District Court for

Massachusetts – which has the authority to invalidate or void such state law or state action.

       Abstention Doctrines do not Impair the Instant Action “Weinberg v. Mangal et al.”

372.     State statutes, regulations or ordinances which are deemed to be unconstitutional may be

struck down in federal court, as long as they do not encroach upon the abstention doctrines.

373.     Regarding this instant action Weinberg v. Mangal et al., the abstention doctrines do not

apply to the claims stated herein regarding unconstitutional state action involving BORIM’s

interpretation of the Plaintiff’s memorialized handwritten bilateral express contract terminating

the doctor-patient relationship and those abstention doctrines are not an impediment to the

instant suit; the Plaintiff alleges claims under federal law which arise from disputes between the

Plaintiff and the Commonwealth of Massachusetts and the State of Maine involving the

Contracts clause, Bill of Attainder clause, ex post facto clause, and the involuntary servitude

clauses of the U.S. Constitution as well as state impediments and violations of the Plaintiff’s

fundamental constitutional rights such as the right to marry, freedom of expression under the

First Amendment, right to Due Process of Law and right to Equal Protection of the law.
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374.   The Commonwealth of Massachusetts has violated the constitutional guarantees of the

contracts clause for which the Plaintiff is a protected class member who relied on the contracts

clause in his conduct, believing that the doctor-patient relationship was lawfully and properly

terminated by the express bilateral contract between himself and the defendant Lourdes Colon

formed and executed in 1992.

375.   The State of Maine has violated the constitutional guarantees of the contract clause for

which the Plaintiff is a protected class member who relied on the contract clause in his conduct,

believing that the doctor-patient relationship was lawfully and properly terminated by the express

bilateral contract between himself and the defendant Lourdes Colon.

376.   Under the mandates of the U.S. Constitution, the state of Massachusetts is prohibited

from and lacks the authority to invalidate, void, rescind, revoke or otherwise alter the specific

duties and obligations contained in the express bilateral contract between the Plaintiff and

defendant Lourdes Colon – which is a contract between two private parties.

377.   Under the mandates of the U.S. Constitution, the state of Maine is prohibited from and

lacks the authority to invalidate, void, rescind, revoke or otherwise alter the specific duties and

obligations contained in the express bilateral contract between the Plaintiff and defendant

Lourdes Colon, and any affirmation or corroboration of state action by Massachusetts which

attempts to invalidate, void, rescind, revoke or alter the terms of such express bilateral contract

terminating the doctor-patient relationship is also prohibited by the U.S. Constitution.

378.   State action by the Massachusetts Board of Registration in Medicine comprises state

interference with a contract between two private parties, an area of private law – not public law,

which is prohibited by Section 10 of Article I of the U.S. Constitution: “ …Section 10: Powers

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Denied to the States: No State shall … pass any Bill of Attainder, ex post facto Law, or Law

impairing the Obligation of Contract, or grant any Title of Nobility.” United States Constitution

379.   State action by the Maine Board of Bar Examiners comprises state interference with a

contract between two private parties, an area of private law – not public law, which is prohibited

by Section 10 of Article I of the U.S. Constitution: “ …Section 10: Powers Denied to the

States: No State shall … pass any Bill of Attainder, ex post facto Law, or Law impairing the

Obligation of Contract, or grant any Title of Nobility.” United States Constitution

380.   The Plaintiff seeks Equitable Relief for the unconstitutional actions by the State of

Massachusetts in the form of a Declaratory Judgment that the revocation of the Plaintiff’s

medical license did violate the mandates of the U.S. Constitution.

381.   The Plaintiff seeks Equitable Relief for the unconstitutional actions by the State of Maine

in the form of a Declaratory Judgment that its reliance on the action by Massachusetts in

revoking the Plaintiff’s medical license, as evidence of the Plaintiff’s lack of fitness to practice

law, did violate the mandates of the U.S. Constitution.

       Defendants’ Concealment of 1992 Express Bilateral Contract terminating the
         doctor-patient relationship between the Plaintiff and Lourdes Colon
382.   Lourdes Colon concealed from the tribunal the memorialized writing, dictated by Lisa

Wolfe in a consultation room at HRI in Brookline, MA, in September 1992, which memorialized

the Express Bilateral Contract terminating the doctor-patient relationship, which was manually

transcribed/handwritten by both the Plaintiff and Colon using ballpoint-pens and white paper, in

which both signed the other’s transcribed writing, following an hour-long discussion and

consultation about the full ramifications of terminating the doctor-patient relationship and final

agreement of both the Plaintiff and Lourdes Colon to the full and complete terms of this Express

Bilateral Contract terminating the doctor-patient relationship.

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383.   Defendant Stanley Spero knew, or should have known, about this 1992 Express Bilateral

Contract memorialized in writing, and possibly had possession and control of a hardcopy of that

agreement, handwritten in ballpoint-pen ink on white paper, which comprised the formation and

execution of that Express Bilateral Contract whose primary purpose was to terminate the doctor-

patient relationship.

384.   During the DALA proceedings, when BORIM asked Lisa Wolfe about that Express

Bilateral Agreement terminating the doctor-patient relationship which she dictated in September

1992 and was memorialized verbatim in writing by the Plaintiff and Lourdes Colon and signed

by both, Wolfe deceptively answered “It is not the sort of thing which I usually do” in order to

conceal possible gross negligence and professional malpractice for encouraging, advising,

formulating, drafting and dictating that Express Bilateral Contract (to cover her ass).

385.   For more than ten (10) years, from 1992 through 2002, the defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe concealed their knowledge, possession and control of this

memorialized 1992 Express Bilateral Contract terminating the doctor-patient relationship from

the tribunals of four (4) courts: Massachusetts Suffolk Superior Court, Massachusetts Division of

Administrative Law Appeals, Massachusetts Supreme Judicial Court and the Maine Supreme

Judicial Court; concealing the contract was advantageous for the defendants’ lawsuit in

Middlesex Superior Court Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center, et

al. because the insurer would be less likely to settle the suit had they known about the contract

terminating the doctor-patient relationship; the concealment of this material evidence pushed the

Plaintiff into a corner making him feel desperate to prove the existence of this exonerating

Express Bilateral Contract terminating the doctor-patient relationship, which is vital to proving

that Colon was not his patient at the time of the alleged conduct.
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386.   Defendant Lourdes Colon concealed this material evidence from the tribunal, where the

Express Bilateral Contract was material to the fact-finding and substantial evidence concerning

the determination of whether Colon was a patient of the Plaintiff’s at the relevant times under

dispute and such concealment comprises spoliation of evidence and fraud upon the court and

seriously calls into question the foundation upon which the fact-finder made conclusions of law

leading to the revocation of the Plaintiff’s medical license.

387.   Defendant Stanley Spero concealed this material evidence from the tribunal, where the

Express Bilateral Contract was relevant and material to the fact-finding and comprised

substantial exonerating evidence concerning the determination of whether Colon was a patient of

the Plaintiff’s at the relevant times under dispute and such concealment comprises fraud upon the

court and seriously calls into question the foundation upon which the fact-finder made

conclusions of law leading to the revocation of the Plaintiff’s medical license.

388.   Defendant Lisa Wolfe concealed this material evidence from the tribunal, where the

Express Bilateral Contract was relevant and material evidence to the fact-finder and substantial

exonerating evidence concerning the determination of whether Colon was a patient of the

Plaintiff’s at the relevant times under dispute and such concealment comprises spoliation of

evidence and fraud upon the court and seriously calls into question the foundation upon which

the fact-finder made conclusions of law leading to the revocation of the Plaintiff’s medical

license.

389.   This was an epic day in September 1992, when the Plaintiff for the first and last time in

his life terminated a doctor-patient relationship with a memorialized handwritten Express

Bilateral Contract which was drafted and dictated by a licensed psychologist; this was also a first

case in 250 years of American Jurisprudence that any physician terminated the doctor-patient
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relationship with an Express Bilateral Contract engineered and dictated by a licensed

psychologist, as similar caselaw could not be found during intensive searches on multiple legal

databases including but not limited to Westlaw, Lexis-Nexis or Google Scholar; thus making this

a case of First Impression because it is without precedent in American Jurisprudence nor are

there any federal, state or local statutes/regulations which specifically regulate/control this fact

pattern concerning the contractual termination of a fiduciary doctor-patient relationship; and the

Plaintiff relied to his detriment on this Express Bilateral Contract terminating the doctor-patient

relationship.

390.   Concealment of this Express Bilateral Contract terminating the doctor-patient

relationship, along with its subsequent modification which generated a clinical-nonclinical

binary classification of time and place – which classified all places and times into the “clinical

world” and the “non-clinical world” [more fully described below and corroborated

independently by Stipulation No. 35 in the DALA Recommended Decision of Magistrate Sarah

Luick along with deposition testimony] – was the proximate cause of: (a) substantial economic

damages and injuries to the Plaintiff in lost salaries and income exceeding $3,000,000.00 (three

million dollars) [$175K annually x 23 years]; (b) sabotaging the fact-finding by three (3)

tribunals: Massachusetts Suffolk Superior Court, DALA and BORIM leading to the declaration

of multiple substantial FALSE statements of material fact in the texts of those judgments which

issued from those tribunals; (c) severe and irreparable damage to the Plaintiff’s reputation; (d)

exclusion from the Medicare program for over eight years preventing the Plaintiff from obtaining

employment from any hospital, laboratory, research center, clinic which receives Medicare

funding; (e) termination from research positions at the Dana-Farber Cancer Institute (“DFCI”),

Boston Children’s Hospital Medical Center (“BHMC”), Newton-Wellesley Hospital (“NWH”),

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Massachusetts Institute of Technology (“MIT”); substantial health problems including the

development of an ulcer, severe depression and PTSD, cardiac arrhythmias, syncopal episodes

requiring pacemaker placement; (f) sexual discrimination and harassment in academic programs

in violation of Title IX of the Civil Rights Act; (g) sexual discrimination and harassment in the

workplace in violation of Title VII of the Civil Rights Act; (h) severe and extreme emotional

distress which was intentionally inflicted on the Plaintiff by these defendants, where Stanley

Spero left a copy of the initial complaint detailing the Plaintiff’s sexual activities at the doorstep

of his marital home which was first discovered by Plaintiff’s ex-wife; (i) severe marital discord

and strife ending in divorce; (j) loss of the Plaintiff’s medical license, and only occupation which

the Plaintiff knew to earn money, leading to joblessness and homelessness; (k) financial

insolvency leading to bankruptcy; (l) foreclosure on the Plaintiff’s home; and (m) severe,

extreme continuous and ongoing social ostracism, humiliation and community shaming with the

loss of most of the Plaintiff’s friends who have since seen the Plaintiff as a social pariah, to be

shunned and avoided by all persons, imposing extreme social isolation upon the Plaintiff,

including a written ban emailed by defendant Graybiel to the entire McGovern Institute lab at

MIT that no person in the lab should speak with or have any contact with the Plaintiff.

391.   All of the above tortious injuries and damages were proximately caused by the

defendants and co-conspirators Stanley Spero, Lourdes Colon and Lisa Wolfe through their

spoliation of evidence and fraudulent concealment of their knowledge and roles in the formation

and execution of the 1992 memorialized handwritten Express Bilateral Contract terminating the

doctor-patient relationship with its foreseeable consequences and as such comprise tortious

causes of action by which the Plaintiff intends to seek economic, compensatory and punitive

damages from these non-state actor defendants.

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392.    The Plaintiff intends to prove that the final judicial judgments which issued from the

three tribunals, each containing an average of ten substantial false statements of material fact in

the text of the judgments which are substantially relevant and material to the relevant law and

conclusions thereof, rendering those judgments to be void or voidable because those judgments

are non sequitur, invalid, lacking foundation based on a false factual record, and the conclusions

of law were improperly based on those false statements of material fact, and the Plaintiff will

prove these claims by a preponderance of the evidence in the instant suit.

393.    The key factual issue in these records is: was defendant Lourdes Colon a patient of the

Plaintiff’s at the time of the alleged sexual encounters? The corrected factual record will show

that she was not - the 1992 memorialized handwritten Express Bilateral Contract terminating the

doctor-patient relationship and its subsequent modification, with its clinical-nonclinical binary

classification of time and place, terminated that relationship.

394.    For relief in the instant suit, the Plaintiff seeks Equitable Relief in the form of declaratory

judgments which declare that each of these false statements of material fact within the Tribunal

factual record to be false, inaccurate and lacking substantial evidence, false because those

conclusions and inferences were made without the benefit of the concealed material evidence

comprising the 1992 memorialized handwritten Express Bilateral Contract terminating the

doctor-patient relationship and the Plaintiff also seeks Declaratory Judgments which define the

rights, duties, obligations and relationships among the defendants and those relationships with

the Plaintiff along with their alleged unlawful or tortious conduct which give rise to actionable

causes of action in the instant suit.

395.    Once the factual record is corrected, the prior conclusions of law will become non

sequitur (because they are based on false statements of material fact), because the true factual
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record will not support nor corroborate those conclusions of law, because most of the falsehoods

presuppose that the doctor-patient relationship between the Plaintiff and Lourdes Colon was not

terminated.

396.   The Plaintiff will also seek a Declaratory Judgment that each of the defendants – Stanley

Spero, Lourdes Colon and Lisa Wolfe – did engage in spoliation of evidence by withholding

material evidence - comprising the 1992 memorialized handwritten Express Bilateral contract -

from the tribunal and therefore did commit fraud upon the tribunal.

397.   Pursuant to Rule 60 of the Fed.R.Civ.P. the Plaintiff is seeking declaratory judgments to

render the judgments which issued from that fraud to be declared null and void on the basis of

false statements of material fact stated within the text of those judgments resulting from the

defendants’ spoliation of evidence and that fraudulent concealment of the contract and

subsequently the Plaintiff will seek to overturn and vacate those fraud-based judgments in the

respective state courts.

                 U.S. Constitution is the Supreme Law of the land

398.   Under the Supremacy Clause and the supercession doctrines, the U.S. Constitution is the

supreme law of the land and it is pre-eminent over Acts of Congress, International Treaties,

Executive Orders, state statutes, ordinances and regulations of state agencies including, but not

limited to the Massachusetts Board of Registration in Medicine (“BORIM”) and the Maine

Board of Bar Examiners (“MBBE”).

399.   State actor defendants, including but not limited to BORIM, MBBE, DALA, Mass SJC

Maine SJC, Sarah Luick, Ellen Gorman, and Alice Oliff, have violated the Plaintiff’s rights as

guaranteed by the Contracts clause, Bills of Attainder clause, Ex post facto clause, Due Process
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of Law clause, Equal Protection clause, Fundamental Right to Privacy clauses under the Fifth

Amendment as selectively incorporated through the Due Process clause of the Fourteenth

Amendment, as well as violating the Plaintiff’s rights as guaranteed by the Involuntary Servitude

clause of the Thirteenth Amendment and the Plaintiff’s right to freedom of expression under the

First Amendment as well as the fundamental constitutional right to marry.

400.   These violations and deprivations of the Plaintiff’s rights as guaranteed by the U.S.

Constitution caused by the state actor defendants have been committed while acting under the

color of law, so the Plaintiff is also seeking redress through 42 U.S.C. § 1983.

       Contract clause: the mandates of Section 10 of Article I of the U.S. Constitution

401.   Under the mandate of Section 10 of Article I of the U.S. Constitution: “…Section 10:

Powers Denied to the States: No State shall … pass any Bill of Attainder, ex post facto Law,

or Law impairing the Obligation of Contract, or grant any Title of Nobility.” United States

Constitution

402.   The contract clause of Section 10, Article I of the U.S. Constitution specifically prohibits

the states from passing any law which impairs the obligation of contract, and also prohibits the

states from passing any Bill of Attainder or ex post facto law.

403.   As described herein, in 1992 the Plaintiff entered into a mutual bilateral express contract

which terminated the doctor-patient relationship with the guidance and dictation by defendant

Lisa Wolfe, PhD, psychologist for the defendant Lourdes Colon, and upon which contract the

Plaintiff relied to his detriment; where the reliance interest is one of the most important and

imperative interests protected in contract law.

               BORIM regulations/decisions may comprise Bills of Attainder
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404.   Historically, when the U.S. Constitution was drafted in the mid-1700s, Administrative

Law – “the fourth branch of government” – was non-existent and all Rules of Law for the state

were embodied in statutes or common law.

405.   Thus although the Framers of the Constitution may have used explicit words such as

“bill,” it is because at the time all the Rules of Law comprised bills, Acts or statutes, but as the

Plaintiff will prove, by a preponderance of the evidence, that the Framers intended to prohibit all

legislative non-judicial penal rules enacted with individualized focus on one person for the

purpose of punishing that individual without a fair trial or Due Process of Law – such as the

quasi-legislative regulations of state agencies, including but not limited to BORIM.

406.   The intent and purpose of the Framers of the Constitution will be proved by the

Federalist papers, Alexander Hamilton, by a preponderance of the evidence standard.

407.   Over the past 250 years, Administrative Law has flourished and blossomed in the

American Republic, so that approximately 95% of the police power of the state to protect the

health, safety and welfare of the people is now implemented and effected through the regulations

of administrative agencies, such as the medical and law licensing boards, which have quasi-

legislative, quasi-judicial (adjudicatory) and executive-enforcement powers and these regulations

have the same force and power of law as the state’s legislated enacted statutes.

408.   It is clear historically, from the Federalist papers and other recorded documents, that the

framers of the Constitution intended the prohibition against Bills of Attainder to prevent any

legislative or quasi-legislative state action which is specifically directed toward one person, often

retroactively, and legislative or quasi-legislative state action, [whereas it is not policy-driven

proactively generally directed toward the populace, as part of the state policy/police power

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generally for the protection of the health, safety and welfare], wherein that particularized state

action is penal in nature, punishing the targeted individual - often retroactively - for conduct in

the past and depriving the targeted person from a fair trial or Due Process of Law which would

otherwise be provided under the Rules of Criminal Procedure or Rules of Civil Procedure.

409.   These agency-driven quasi-legislated regulations comprise the classic triad of a Bill of

Attainder – individualized action, penal in nature imposing punishment without trial.

410.   A frequent distinguishing feature between the unconstitutional exercise of police power

versus the legitimate exercise of police power is whether the questionable rule of law is applied

retroactively (without prior notice of the prohibited conduct and thus ex post facto) or proactively

(providing the beforehand the Notice of conduct prohibited – which is required by Due Process

of Law).

               De Facto enactment of the “Weinberg law” by BORIM in 2002

411.   The “Weinberg law” more fully described below comprises some forty-three (43)

distinct and independent criteria/elements which were retroactively applied to punish the

Plaintiff through the revocation of his medical license without Due Process of Law, without a

fair trial or other elements of civil procedure/criminal procedure necessary to ensure the fair

administration of the law.

412.   Although prior American jurisprudence and caselaw precedents, reviewed by the

Supreme Court, has addressed questions on whether legislatively-enacted bills and statutes

comprise a Bill of Attainder, the clear intent of the framers of the Constitution was to prohibit

legislative non-judicial individualized state action directed toward one person denying her/him



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the Due Process of Law and a fair trial; the original intent of the Framers of the Constitution may

be inferred from the Federalist papers and other historical documents.

413.    The Plaintiff intends to set a new precedent by proving that any state agency regulation

enacted quasi-legislatively which specifically focuses on a single citizen (individualized action)

with punitive action (penal in nature) without a trial, would likewise comprise a Bill of Attainder

prohibited by the Constitution – thereby making new substantive law through the precedent of

the instant action.

414.    The “Weinberg law,” thoroughly discussed and addressed herein (below), is defined by

forty-three (43) distinct and separate criteria and elements, which was “enacted” quasi-

legislatively in 2002 in the Commonwealth of Massachusetts by defendant BORIM for the

specific purpose of retroactively punishing the Plaintiff in individualized action through the

revocation of his medical license without a trial or Due Process of Law, is such a Bill of

Attainder meant to apply uniquely to the Plaintiff – and the Plaintiff alone.

415.    The Weinberg law has only one legal target – the Plaintiff, and there are no other

physicians in any of the fifty states or U.S. territories in the history of American jurisprudence

where there is another case or physician against whom the “Weinberg law” has been applied or

would apply because the Plaintiff’s case is a Case of First Impression without precedent.

416.    Therefore the Weinberg law also violates the Equal Protection of the laws clause of the

Fourteenth Amendment to the Constitution because it applies only to the Plaintiff and does not

apply equally to other physicians similarly situated where not one of them has ever been

punished in a similar way by the revocation of their medical license because they had formed and

executed an Express Bilateral contract terminating the doctor-patient relationship under the

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guidance of a licensed clinician; BORIM has also violated several fundamental constitutional

rights of the Plaintiff as described in more detail below.

417.   In the 250-year history of the American Republic the Weinberg law has only been applied

once in American jurisprudence in the Commonwealth of Massachusetts in 2002, when it was

quasi-legislated by the defendant BORIM for the purpose of punishing the Plaintiff through the

revocation of his medical license without a fair trial or Due Process of Law, for conduct which

BORIM knew about for more than five (5) years (1997 – 2002).

418.   In spite of the fact that BORIM had emergency police powers to immediately revoke the

Plaintiff’s medical license when it first learned about the Plaintiff’s sexual relations with Lourdes

Colon in 1997 if BORIM truly believed that the Plaintiff presented a danger to the public,

BORIM did not take action for more than five years, allowing the Plaintiff to continue to provide

medical care to over 20,000 patient-visits, until it finally revoked the Plaintiff’s medical license

in October 2002 – would BORIM have waited over five years to take action if there were any

bona fide issue concerning the Plaintiff’s competency to practice medicine when they always had

the emergency power to revoke a medical license within hours.

419.   In addition, BORIM offered the Plaintiff a voluntary one-year suspension of his medical

license in 1998 through its counsel Richard Waring, which it would not have done had BORIM

truly believed that the Plaintiff’s continued practice of medicine presented any danger to the

public health, safety or welfare; although such pre-trial negotiations or offers are not usually

admissible evidence under the Fed.R.Civ.P., the State Administrative Procedures Act is more

flexible about the admissibility of evidence.




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420.    Given (1) its offer of a voluntary one-year suspension and (2) its five-year delay in

making any dispositive decision (1997 – 2002), the Conclusions of Law for DALA Adjudicatory

Case No. 99-01-DALA (RM-99-074) In the Matter of Robert P. Weinberg, D.O., appear to be a

pretext, stating that “A. The Respondent is guilty of conduct which places into question his

competence to practice medicine, in violation of G.L. c.112, §5(c) and 243 CMR 1.03(5)(a)(3);

B. The Respondent is guilty of misconduct in the practice of medicine, in violation of 243 CMR

1.03(5)(a)(18); and C. By virtue of having engaged in sexual activity with a current patient, the

Respondent is guilty of conduct which undermines public confidence in the integrity of the

medical profession and conduct which shows lack of good moral character” were obviously

stated as a pretext to cover up the true purpose of BORIM’s decision to revoke the Plaintiff’s

medical license in an individualized penal action comprising a Bill of Attainder to deprive the

Plaintiff of his property rights in his medical license without Due Process of Law in violation of

the Plaintiff’s constitutional rights.

421.    The Plaintiff seeks equitable relief in the instant action through the judicial issuance of a

Declaratory Judgments that: (1) the factual record underlying the DALA and BORIM decisions

consists of numerous false assertions of material fact substantially relevant to the applicable law

and therefore that false conclusions follow from the false statements of material fact; (2)

defendants Stanley Spero, Lisa Wolfe and Lourdes Colon committed fraud upon the tribunal by

withholding their knowledge about the Express Bilateral Contract terminating the doctor-patient

relationship; and (3) the “Weinberg law” is a Bill of Attainder quasi-legislated retroactively by

BORIM in 2002 for the purpose of punishing the Plaintiff through the revocation of his medical

license without Due Process of Law and in violation of the contract clause, Bills of Attainder



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clause, Ex post facto clause, and Equal Protection of the Laws clause, without providing fair

Notice or a fair trial, and prohibited as such by the U.S. Constitution.

422.   The Plaintiff subsequently seeks to strike down the BORIM order revoking his medical

license because such action was: (1) unlawful violating the Plaintiff’s constitutional rights, (2)

based on a false factual record, (3) based on the fraudulent concealment of material evidence of

the express bilateral contract by defendants Lisa Wolfe and Stanley Spero, (4) based on the ex

post facto application of not-yet-established-precedents of BORIM’s decisions in 1998 (6 years

following the Plaintiff’s alleged conduct), and (5) comprised the unconstitutional application of a

Bill of Attainder prohibited by the Constitution, and once the Plaintiff proves by a preponderance

of the evidence that the 1992 and subsequent modified express bilateral contract terminated the

doctor-patient relationship, and that such contract are valid, lawful and enforceable contract – the

BORIM license revocation will be found to be legally invalid, lack foundation, be groundless

and will be ruled to be null and void because the Plaintiff’s conduct at the time was lawful when

he was no longer the doctor for defendant Lourdes Colon following the formation and execution

of the Express Bilateral contract terminating the doctor-patient relationship in 1992-93.

423.   The BORIM judgment issued by Magistrate Sarah Luick in the Division of

Administrative Law Appeals in In the matter of Robert P. Weinberg, D.O. will also be found to

violate Fed.R.Civ.P. Rule 60 because of the fraud upon the court committed by defendants

Stanley Spero and Lisa Wolfe, as will be described with particularity and detailed specificity in

this Complaint, in part due to their fraudulent concealment of material evidence from the tribunal

(Federal Rules of Civil Procedure, “Fed.R.Civ.P.”); this material evidence, which defendants

concealed from the tribunal, comprises the 1992 memorialized handwritten Express Bilateral


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Contract which terminated the doctor-patient relationship between the Plaintiff and Lourdes

Colon.

424.     Likewise, the Plaintiff also seeks to strike down the Mass SJC decision affirming the

BORIM decision to revoke the Plaintiff's medical license because: (1) it was based on the false

assumption that the Plaintiff and defendant Lourdes Colon were in a doctor-patient relationship

at the time of the alleged conduct; (2) it is groundless, without foundation, with conclusions that

are null and void, which issued forth from: (a) fraud committed on DALA and Suffolk Superior

Court by defendants Stanley Spero and Lisa Wolfe and (b) based on a Bill of Attainder which

was unlawful and un-constitutional, and (3) it was based on a false factual record which the

Plaintiff will prove by a preponderance of the evidence contained multiple false statements of

material fact.

425.     Likewise, the Plaintiff also seeks to strike down the Maine SJC decision affirming the

decision of the Maine Board of Bar Examiners to deny the Plaintiff admission to the Maine Bar

because: (1) it is groundless, without foundation, whose conclusions are null and void, issuing

forth from the unlawful fruit of a Bill of Attainder which was unlawful and unconstitutional, and

(2) it was based upon fraud upon the court committed by defendants Stanley Spero and Lisa

Wolfe; (3) the foundation of that Maine SJC decision is based on a false factual record which the

Plaintiff will prove by a preponderance of the evidence contains multiple false statements of

material fact substantially relevant to the issues of law under consideration.

         New Testimony to be obtained during Discovery in the instant action




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426.   The Plaintiff intends to seek new testimony from the relevant witnesses through the

discovery phase of the instant suit which will prove the Plaintiff’s claims by a preponderance of

the evidence standard (sworn testimony under oath during Depositions).

427.   The Plaintiff intends to seek Equitable Relief through a Declaratory Judgments that the

BORIM decision to revoke the Plaintiff’s medical license is null and void because: (1) it was

based on a false factual record; (2) it comprised the enactment of an unlawful Bill of Attainder

by BORIM in 2002; (3) it was based upon fraud upon the court committed by defendants Stanley

Spero, Lourdes Colon and Lisa Wolfe, in part due to their concealment of material evidence

from 2 tribunals which the Plaintiff will prove by a preponderance of the evidence.




                                   Personal Jurisdiction

428.   Personal Jurisdiction is a requirement that the court must also have jurisdiction over the

persons or entities being sued. The basic due process requirement for personal jurisdiction is

whether each defendant has minimum contacts with the relevant forum – which involve the

States of Maine and Massachusetts along with agencies of the United States government in the

instant litigation -- “such that maintenance of the suit does not offend traditional notions of fair

play and substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

                 Justiciability of the Plaintiff’s Claims and Issues of Law


429.   “As a preliminary matter, the court must determine whether … claims present a

justiciable case or controversy properly subject to judicial resolution. The legal concept of


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justiciability blends the constitutional limitations placed upon the federal courts by Article III

with prudential considerations cautioning the exercise of judicial restraint. Flast v. Cohen, 392

U.S. 83, 97, 88 S.Ct. 1942, 1951, 20 L.Ed.2d 947 (1968). This fusion of constitutional

prohibitions and policy considerations has made the justiciability doctrine "one of uncertain and

shifting contours," id., without "fixed content" nor "susceptible of scientific verification." Poe v.

Ullman, 367 U.S. 497, 508, 81 S.Ct. 1752, 1759, 6 L.Ed.2d 989 (1961).


430.    The fine line separating an abstract question from a "case or controversy" is often

difficult to define, and the justiciability of a claim "is not discernible by any precise test." Babbitt

v. United Farm Workers National Union, 442 U.S. 289, 297, 99 S.Ct. 2301, 2308, 60 L.Ed.2d

895 (1979). In an oft-quoted passage, Chief Justice Hughes defined a justiciable controversy as

‘one that is appropriate for judicial determination.... A justiciable controversy is thus

distinguished from a difference or dispute of a hypothetical or abstract character; from one that is

academic or moot.... The controversy must be definite and concrete, touching the legal relations

of parties having adverse legal interests.... It must be a real and substantial controversy admitting

of specific relief through a decree of a conclusive character, as distinguished from an opinion

advising what the law would be upon a hypothetical state of facts.’ Aetna Life Ins. Co. v.

Haworth, 300 U.S. 227, 240-41, 57 S.Ct. 461, 464, 81 L.Ed. 617 (1937) (citations omitted). In

sum, "the question in each case is whether the facts alleged, under all the circumstances, show

that there is a substantial controversy, between parties having adverse legal interests, of

sufficient immediacy and reality" to justify judicial resolution.” Maryland Casualty Co. v.

Pacific Coal & Oil Co., 312 U.S. 270, 273, 61 S.Ct. 510, 512, 85 L.Ed. 826 (1941).




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431.    Under the facts as alleged in the instant case and the relevant circumstances, there is a

substantial controversy between the Plaintiff and several state actor defendants as well as private

party defendants having adverse legal interests of sufficient immediacy and reality to justify

judicial resolution.

                               Ripeness of the Plaintiff’s Claims


432.    “Among them is the ripeness doctrine, which is intended "to prevent the courts, through

avoidance of premature adjudication, from entangling themselves in abstract disagreements"

over governmental policies that have not yet been implemented nor have had a palpable impact

upon the parties before the court. Abbott Laboratories v. Gardner, 387 U.S. 136, 148-149, 87

S.Ct. 1507, 1515, 18 L.Ed.2d 681 (1967); see also Thomas v. Union Carbide Agricultural

Products Co., 473 U.S. 568, 580, 105 S.Ct. 3325, 3333, 87 L.Ed.2d 409 (1985); Pacific Gas &

Electric Co. v. State Energy Resources Conservation & Development Comm'n, 461 U.S. 190,

200, 103 S.Ct. 1713, 1720, 75 L.Ed.2d 752 (1983).


433.    "[R]ipeness is peculiarly a question of timing," Regional Rail Reorganization Act Cases,

419 U.S. 102, 140, 95 S.Ct. 335, 357, 42 L.Ed.2d 320 (1974), that must be assessed within the

context of the legal and factual posture of the parties' claims at the time a judicial pronouncement

is sought. See Nichol, Ripeness and the Constitution, 54 U.Chi.L.Rev. 153, 167 (1984). …

Whether a dispute is ripe for decision turns on a twofold inquiry into the "fitness" of the issues

presented for a judicial disposition on the merits and the hardship to the parties that would result

if court review was withheld. Abbott Laboratories v. Gardner, 387 U.S. 136, 149, 87 S.Ct. 1507,

1515, 18 L.Ed.2d 681 (1967). The first factor addresses essentially prudential concerns regarding

the propriety of judicial intervention before a fuller factual record has been developed. The

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second factor focuses on the "hardships" on the parties, an inquiry inescapably intertwined with

the concept of a "distinct and palpable injury," the essence of the case or controversy

requirement of Article III. See Warth v. Seldin, 422 U.S. 490, 501, 95 S.Ct. 2197, 2206, 45

L.Ed.2d 343 (1975).


434.   The prudential concerns of the instant case indicate a need for a more complete and

truthful factual record relevant to the propriety of judicial intervention because, in part, false

statements of material fact have been incorporated into the Massachusetts and Maine records, in

part due to fraud committed by defendants Stanley Spero, Lourdes Colon and Lisa Wolfe, which

has caused severe hardship on the Plaintiff with distinct and palpable injuries. The relevant fraud

will be further detailed below with particularity and will be corroborated by the relevant

testimony from those defendants.




                               Federal Abstention doctrines


435.   “The abstention "doctrines" actually consist of a series of equitable doctrines inspired by

the interests of comity and federalism. These doctrines carve out "an extraordinary and narrow

exception to the duty of a [d]istrict [c]ourt to adjudicate a controversy properly before it," County

of Allegheny v. Frank Mashuda Co., 360 U.S. 185, 188-89, 79 S.Ct. 1060, 1063, 3 L.Ed.2d 1163

(1959), and the general rule remains that "[w]ith whatever doubts, with whatever difficulties, a

case may be attended, [the federal courts] must decide it, if it be brought before us. We have no

more right to decline the exercise of jurisdiction which is given, than to usurp that which is not

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given." Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404, 5 L.Ed. 257 (1821) (Marshall, C.J.).

436.   The various categories of abstention "are not watertight" or amenable to mechanical

application. Law Enforcement Ins. Co., Ltd. v. Corcoran, 807 F.2d 38, 40 (2d Cir.1986). In

assessing the appropriateness of abstention, a federal court must identify the factors material to

the most closely applicable categories and conduct "a careful balancing of the important factors

as they apply in a given case, with the balance heavily weighted in favor of the exercise of

jurisdiction." Moses H. Cone Memorial Hopital v. Mercury Construction Corp., 460 U.S. 1, 16,

103 S.Ct. 927, 937, 74 L.Ed.2d 765 (1983). … the leading cases of Burford v. Sun Oil Co., 319

U.S. 315, 63 S.Ct. 1098, 87 L.Ed. 1424 (1943) ("Burford abstention"); County of Allegheny v.

Frank Mashuda Co., 360 U.S. 185, 79 S.Ct. 1060, 3 L.Ed.2d 1163 (1959), and Louisiana Power

& Light Co. v. City of Thibodaux, 360 U.S. 25, 79 S.Ct. 1070, 3 L.Ed.2d 1058

(1959) ("Allegheny-Thibodaux abstention," a conceptual subset of Burford abstention);

and Railroad Comm'n of Texas v. Pullman Co., 312 U.S. 496, 61 S.Ct. 643, 85 L.Ed. 971 (1941)

("Pullman abstention").


437.   “Burford abstention is properly invoked when (1) the order, regulation, or provision

attacked in federal court relates to a sophisticated state regulatory scheme 399*399 involving

complex subject matter of special state interest in which judicial review of administrative

decisions by state courts is considered an integral part of that scheme because it promotes

uniformity by minimizing the potential for multiple inconsistent adjudications and helps assure

that the tribunal of choice possesses a certain degree of expertise in the complex subject matter

involved; (2) the exercise of jurisdiction by the federal courts threatens to disrupt the state's

regulatory scheme; and (3) the action brought in federal court largely involves issues of state



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law. Corcoran, 807 F.2d at 43; see also Colorado River Water Conservation District v. United

States, 424 U.S. 800, 814, 96 S.Ct. 1236, 1244, 47 L.Ed.2d 483 (1976).


438.   The Plaintiff’s action against state agencies of Massachusetts and Maine does not violate

either the Pullman or the Younger abstention doctrines.


   Violation of Plaintiff’s Right to Due Process and State deprivation of Plaintiff’s property


439.   "The Fourteenth Amendment prohibits state deprivations of life, liberty, or property

without due process of law." Thomas v. Independence Tp., 463 F.3d 285, 297 (3rd Cir. 2006).

As alleged here, the liberty and property clauses of the Fourteenth Amendment, made applicable

to the federal government through the Fifth Amendment, protects the "right to hold specific

private employment and to follow a chosen profession free from unreasonable governmental

interference...." Piecknick v. Commonwealth of Pa., 36 F.3d 1250, 1259 (9th Cir. 1994). "It is

the liberty to pursue a particular calling or occupation and not the right to a specific job that is

protected by the Fourteenth Amendment." Id. at 1261.


440.   "[T]he Constitution only protects this liberty from state actions that threaten to deprive

persons of the right to pursue their chosen occupation. State actions that exclude a person from

one particular job are not actionable in suits ... brought directly under the due process

clause." Id. (citing Bernard v. United Township High Sch. Dist. No. 30, 5 F.3d 1090, 1092 (7th

Cir. 1993)).


441.   "`It is the liberty to pursue a calling or occupation, and not the right to a specific job, that

is secured by the Fourteenth Amendment.'" … These cases discussing the liberty interest to

pursue a particular "calling or occupation," however, have all applied to individuals and claims
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brought pursuant to § 1983.” Black Dog Outfitters, Inc. v. State of Idaho Outfitters and Guides

Licensing Board, Dist. Court, D. Idaho (2011).


442.      State actor defendants have seized/deprived the Plaintiff of his property rights in his

medical license without Due Process of Law, which demands a fair trial, in violation of the

Plaintiff’s rights under the Fourteenth Amendment. The Plaintiff has also been deprived of his

liberty interest in his right to gainful employment, a fundamental constitutional right, as

guaranteed by the Constitution.

    2002 Massachusetts Bill of Attainder was quasi-legislated de facto by BORIM

443.      A Bill of Attainder was quasi-legislatively enacted de facto by the Commonwealth of

Massachusetts BORIM in 2002 de novo, wherein a law was quasi-legislatively fashioned de

facto to apply to the Plaintiff and to the Plaintiff alone – which will be called the “Weinberg law”

hereafter ((discussed more fully below).

444.      The 2002 Weinberg law is penal in nature and punished the Plaintiff retroactively for

conduct in 1992-94 through the revocation of his medical license without Due Process of Law or

a fair trial depriving the Plaintiff of his property rights in his medical license and BORIM

incorporated and based the Weinberg law on false statements of fact as documented in the

record.

445.      Bills of Attainder are generally prohibited by Section 10 of Article 1 of the U.S.

Constitution.

446.      This Bill of Attainder “Weinberg law” was enacted quasi-legislatively de facto by the

Massachusetts Board of Registration in Medicine (“BORIM”) and violated the civil rights and

civil liberties of the Plaintiff acting under the color of law, and this Bill of Attainder was
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subsequently enforced by the Massachusetts Supreme Judicial Court (“Mass SJC”) in spite of its

unconstitutionality in violation of the contract clause, Bills of Attainder clause, ex post facto

clause and involuntary servitude clause with their selective incorporation through the Due

Process clause of the Fourteenth Amendment to the states, as well as violating Equal Protection

of the laws, violating the Plaintiff’s First Amendment right to freedom of expression, and

violating 42 U.S.C. § 1983 while Defendants were acting under the color of law.

447.   There is only one Massachusetts citizen-physician in the 250-year history of the

Commonwealth of Massachusetts to whom this 2002 Bill of Attainder – the “Weinberg law” -

was uniquely applied de facto – and that citizen is the Plaintiff; its action was penal in nature

punishing the Plaintiff retroactively for conduct in 1992-94 through the revocation of his medical

license without Due Process of Law or a fair trial, and thus also deprived the Plaintiff of his

property rights in his medical license without due process of law or a fair trial.

448.   The de facto Weinberg law– a Bill of Attainder which was enacted de facto by the

Commonwealth of Massachusetts BORIM in 2002 – was applied to the Plaintiff ex post facto to

punish the Plaintiff for his conduct and actions in 1992 – 1996, which comprised lawful and

ethical sexual activities with the Defendant Lourdes Colon following the formation and

execution of the Bilateral Express contract in 1992 terminating the doctor-patient relationship

under the guidance of defendant Lisa Wolfe.

       1992 Express Bilateral Contract terminating doctor-patient relationship

449.   In 1993 the Plaintiff engaged in sexual relations with defendant Lourdes Colon which

was lawfully permissible without violating any professional code of conduct and authorized by

Express bilateral contract, memorialized in a writing manually transcribed with pen and paper –

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while Dr Wolfe dictated verbatim the words of the agreement which was formed and executed in

September 1992 in a consultation room of the Human Resource Institute (“HRI”), Brookline,

MA, where defendant Lisa Wolfe had clinical privileges and where she dictated the Bilateral

Express contract verbatim for the Plaintiff and Lourdes Colon to memorialize in that writing.

450.   This Express Bilateral contract, memorialized in writing, was dictated verbatim by Dr

Wolfe, in September 1992 at the Human Resource Institute (“HRI”) in Brookline, MA, and

comprises substantial material evidence which was concealed from the tribunals by defendants

Lisa Wolfe, Lourdes Colon and Stanley Spero.

451.   This Express Bilateral contract instituted dramatic changes in the relationship between

the Plaintiff and Lourdes Colon, terminating the doctor-patient relationship and created a

Clinical-nonclinical binary classification of time and place classification schema of the world,

classifying and dividing the world into non-clinical and clinical divisions [corroborated

independently by Stipulation No. 35 along with deposition sworn testimony], as will be

discussed in greater details below.

452.   This clinical-nonclinical binary classification of time and place division was

acknowledged and adopted as a Stipulation No. 35 by Magistrate Sarah Luick in her May 2002

Recommended Decision.

453.   The formation and execution of that Express Bilateral contract took place in a meeting at

HRI in September 1992 in a medical consultation room which was attended by the Plaintiff, Dr

Wolfe and Lourdes Colon.

454.   The Express Bilateral contract, terminating the doctor-patient relationship, along with its

subsequent modification, were formed, drafted, executed and modified in 1992-93 under the
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guidance of Defendant psychologist Lisa Wolfe, who was attending psychologist for the

defendant Lourdes Colon at HRI and Wolfe was also the inventor/drafter of the Express Bilateral

contract.

455.   Dr Lisa Wolfe’s concealment and deceptions concerning the Express Bilateral contract

terminating the doctor-patient relationship was a substantial factor in comprising fraud upon the

tribunals, which caused substantial economic and non-economic injuries to the Plaintiff

exceeding US$6,250,000.00 (Six million two hundred fifty thousand U.S. dollars).

456.   Defendant attorney Stanley Spero also participated in the concealment and deceptions

concerning the Express Bilateral contract terminating the doctor-patient relationship which was a

substantial factor in comprising fraud upon the tribunals, which caused substantial economic and

non-economic injuries to the Plaintiff exceeding US$6,250,000.00 (Six million two hundred fifty

thousand U.S. dollars).

457.   The details of the 2002 de facto Weinberg law, a Bill of Attainder, enacted quasi-

legislatively by BORIM, with its forty-three (43) defining elements and criteria are described in

detail below.

459.   The Plaintiff will prove by a preponderance of the evidence that the 2002 de facto

Weinberg law comprised the type of particularized state action which the framers of the U.S.

Constitution intended to prohibit in its Bill of Attainder clause and along with the mis-

interpretation of that clause by the U.S. Supreme Court over the past two and one-half centuries

in its prior application of that clause only to legislated statutes which represented a misconstrued

interpretation of the Bill of Attainder clause which has been perpetrated ad nauseum through



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American jurisprudence, as will be proved by examining the Federalist papers and other

historical documents.

           Forty-three (43) criteria and elements comprising the “Weinberg law”

460.    The 2002 de facto “Weinberg law” was enacted quasi-legislatively de novo by BORIM

and it states implicitly that:

        All physicians licensed in the Commonwealth of Massachusetts who meet the following

        forty-three (43) criteria shall be subject to revocation of their medical license:

        (a) the physician practices medicine in the Commonwealth of Massachusetts under a full

        medical license issued by the Massachusetts Board of Registration in Medicine

        (“BORIM”);

        (b) the physician provides medical care to patients in a clinical setting such as a clinic,

        hospital, doctor’s office, neighborhood/community health center, Emergency

        Department, where he holds himself out to the public as a medically-qualified physician

        able to diagnose and treat their ailments or medical conditions;

        (c) the physician terminates the doctor-patient relationship via a written express bilateral

        contract mutually agreed upon by the doctor and the patient, which is an otherwise lawful

        and enforceable contract which is conceived, approved, engineered and dictated by a

        licensed clinician;

        (d) the express bilateral contract terminating the doctor-patient relationship is conceived

        of, engineered, drafted and dictated for manual transcription by a licensed psychologist or

        other licensed clinician, and the memorialized contract in writing is signed by both the

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  doctor and the patient following an appropriate counseling session with the psychologist

  or clinician;

  (e) the bilateral express contract terminating the doctor-patient relationship meets all the

  traditional requirements of contract law: (i) offer, (ii) acceptance, and (iii) consideration

  where consideration may be provided through detrimental reliance on such contract;

  (f) the bilateral express contract terminating the doctor-patient relationship is entered into

  through the mutual agreement of the physician and patient, who are not minors, who are

  legally competent to enter into such a legally binding and enforceable contract and who

  do not have any impediments to contract formation such as intoxication;

  (g) the bilateral express contract terminating the doctor-patient relationship is not

  otherwise prohibited by local, state or federal law or regulations nor prohibited by any

  professional ethics or ethical code of conduct;

  (h) the bilateral express contract terminating the doctor-patient relationship does not

  violate or conflict with the terms of any other preexisting contract or agreements but may

  be modified by mutual agreement of the parties;

  (i) the bilateral express contract is not formed through the improper use of coercion or

  force, nor as the result of any threats or intimidation, but is freely entered into by both the

  physician and the patient of their own free will and consent;

  (j) the bilateral express contract is modeled after other U.S. business and commercial

  contract which have been found to be valid, lawful and enforceable contract by the U.S.

  Supreme Court or other competent federal or state courts;


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  (k) the bilateral express contract terminating the doctor-patient relationship conforms in

  substance and form with the “contract clause” of Section 10 of Article I of the U.S.

  Constitution and comprises a bilateral express contract between two private parties;

  (l) the bilateral express contract terminating the doctor-patient relationship does not

  violate any court order or decree, nor does it attempt to circumvent any criminal laws or

  attempt to escape liability for crimes nor does it involve the parties engaging in any

  otherwise criminal activities;

  (m) the bilateral express contract is entered into through the mutual volitional agreement

  of the physician and the patient;

  (n) the bilateral express contract terminating the doctor-patient relationship is otherwise

  a valid, proper and enforceable contract under the law;

  (o) it is understood by both parties that such an initial bilateral express contract dissolves

  and terminates the duties and obligations of the physician towards the patient and thus

  frees the physician and former patient to engage in relationships, conduct or activity

  which may otherwise be prohibited or unethical for active physician-patient relationships,

  and frees the patient from the normal constraints of the physician-patient relationship

  such as allowing the patient to engage in business activities with the physician or to

  engage in sexual relations with the former physician ;

  (p) the initial bilateral express contract terminating the doctor-patient relationship re-

  defines the boundaries of the two parties – so that multiple and varied activities or

  conduct between those two parties are authorized and allowed as long as such activities

  or conduct do not comprise any criminal activity or criminal enterprise;
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  (q) the initial bilateral express contract terminating the doctor-patient relationship

  otherwise complies with the AMA Code of Ethics opinion 9.1.1 ( https://code-medical-

  ethics.ama-assn.org/ethics-opinions/romantic-or-sexual-relationships-patients ) stating

  that before entering into a sexual relationship, the physician must first terminate the

  doctor-patient relationship;

  (r) the initial bilateral express contract terminating the doctor-patient relationship

  authorizes the physician to engage in a consensual sexual relationship with the former

  patient, because all his ethical duties as a physician were lawfully terminated by the

  express bilateral termination contract and wherein such sexual relations are lawful, proper

  and ethical because the doctor-patient relationship had been properly and lawfully

  terminated, as required by the AMA Code of Ethics opinion 9.1.1;

  (s) prior to the contractual termination, there were no improper, sexual or unethical

  contacts between the physician and the patient prior to the formation and execution of the

  express bilateral termination contract;

  (t) a qualified clinician, such as a psychologist or psychiatrist, assesses and ascertains the

  mental health and safety for the patient to enter into such a bilateral express termination

  contract and conducts a counseling session with both the doctor and patient to discuss the

  implications and ramifications of such a doctor-patient relationship termination;

  (u) in a clinical setting the qualified clinician described in paragraph (t) above drafts and

  dictates the words of the express bilateral contract terminating the doctor-patient

  relationship which are hand-written and memorialized in writing in two separate writings

  by the doctor and the patient (each party hand-writes down verbatim the terms of the

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  contract dictated by the clinician), and thus this qualified clinician impliedly warranties to

  both parties that such licensed clinician has approved and endorsed such a termination

  contract as safe and non-injurious to both parties and subsequently both the physician and

  the patient sign each other’s memorialized writing;

  (v) if such qualified clinician, who has previously approved and endorsed the termination

  of the doctor-patient relationship by a bilateral express termination contract, has any

  reservations or doubts about the termination of the doctor-patient relationship, such

  doubts or reservations shall be immediately communicated to both the physician and

  patient and it is incumbent upon that qualified clinician to advise against the termination

  of the doctor-patient relationship and not move forward with the dictation of the

  termination express bilateral contract; some of the more serious conditions which should

  motivate the clinician not to move forward with the formation/execution of such a

  contract would include such conditions as: schizophrenia, psychosis, bipolar disorder,

  dissociative disorders, Multiple Personality Disorder, autism spectrum disorder, severe

  substance abuse disorders, severe personality disorders, etc. - the qualified clinician’s

  recommendation to move forward with such a doctor-patient relationship termination is

  an implied warranty that the clinician believes that such a termination is in the best

  interests of both the patient and the doctor;

  (w) the doctor and the patient, of their own free will, must both sign these written

  memorialized express bilateral contract terminating the doctor-patient relationship along

  with any limitations or restrictions made by the qualified clinician;

  (x) the doctor must also assist with the transfer of medical care to another doctor

  following the termination of the doctor-patient relationship;
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  (y) detrimental reliance: the doctor then relies upon the termination contract under the

  belief that the doctor-patient relationship had been properly terminated and dissolved, and

  based on her/his reliance on the termination bilateral express contract the physician

  engages in conduct which might otherwise be unethical or improper had the doctor-

  patient relationship not been terminated;

  (z) contract modification – the physician and former patient who have entered into this

  express bilateral contract freely with mutual agreement to terminate the doctor-patient

  relationship, and where there is no contractual clause limiting or preventing modification

  of the contract, are permitted to modify the terms of the contract by the mutual agreement

  of both parties;

  Modified Express Bilateral Contract provides for clinical-nonclinical binary

  classification of time and place

   Contractual Creation of the clinical-nonclinical binary classification of time and place:

  “clinical world” and the “non-clinical world” via modification of the Bilateral Expresss

  Contract terminating the doctor-patient relationship

  Contractually-created “Clinical World” and “Nonclinical World” is lawful

  The modified contract classified time and place into two categories: (i) CLINICAL

  WORLD: for example, when the parties, Plaintiff and Colon, would meet in a clinical

  setting such as the clinic, for the purpose of addressing some medical need, diagnosis or

  treatment, then the Plaintiff would be expected to provide the necessary diagnosis or

  treatment of Colon [when the Plaintiff was wearing his white doctor coat – wearing his

  “physician hat” and was subjectively expected to act like a physician] (hereafter the
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  “clinical world”); and (ii) NON-CLINICAL WORLD: when the Parties would meet

  outside of the clinical setting, where there was no purpose of providing diagnosis or

  treatment and the Plaintiff was not wearing his “physician hat” and there was no

  subjective expectation that the Plaintiff would act like a physician, then the two parties

  would be free to engage in their personal, romantic or sexual relationship (hereafter the

  “non-clinical world”) as long as there was no confusion that outside of the clinical

  setting, the Plaintiff would not act in conformity with the usual subjective expectations of

  performing clinical duties of examination, laboratory testing, diagnostic procedures, or

  treatments; thus the defining features or criteria of the 1993 contract modification of

  paragraph (z) were: (i) the location of the meeting of the Plaintiff and defendant Lourdes

  Colon [clinical setting or not] (ii) the subjective expectations of a reasonable person when

  meeting at that location and time; and (iii) the purpose of the meeting [was the purpose to

  treat some medical condition or not].

  This subsequent 1993 contract modification of the 1992 Express Bilateral Contract,

  terminating the doctor-patient relationship, provided a classification of time and place

  into two categories – the “clinical world” and the "non-clinical world” – with some

  relevant examples described below:

            Clinical World (created contractually) attributes and features:

         (1) Plaintiff was working in clinic, ED, hospital, medical office, health center

         (2) Plaintiff usually wore white clinical coat, often carried a stethoscope, and

         made notes in the medical record regarding signs, symptoms, differential

         diagnosis, planned diagnostic procedures and treatment plan

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         (3) Patients would come to be seen for diagnosis and treatment and knew that the

         Plaintiff was qualified and licensed as a physician to practice medicine

         (4) Patients had subjective expectation of receiving medical treatment

         (5) Plaintiff would receive payment, salary or compensation for treating patients

         (6) Patients knew that the Plaintiff was a physician and expected Plaintiff to act

          and conduct himself as a physician

             Non-clinical World (created contractually) attributes and features:

         (1) Plaintiff was not working in setting where Patients normally seek MDs

            such as beach, forest, mall, shopping center, golf course, lake, streets, diners

         (2) Plaintiff would usually wear casual street-clothes often worn by laymen

         (3) Patients usually did not know that the Plaintiff was a physician

         (4) Patients would not normally be seen by Plaintiff in this non-clinical world

         (5) Plaintiff had no expectation of payment, salary or compensation

         (6) Patients did not know that the Plaintiff was a physician because he was not

         wearing his “doctor hat” nor wearing a clinical white exam coat

  (aa) In the clinical world (hospitals, clinics, etc), any patient would have a reasonable

  subjective expectation that they could be seen for evaluation of a medical condition and

  were seeking medical treatment and diagnosis because Plaintiff had appropriate education

  and training. In clinical world, Plaintiff appeared to be a physician, usually wearing a

  white coat and carrying a stethoscope, and provided these services.


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  (bb) In non-clinical world, most persons did not know that the Plaintiff was a physician,

  most persons would not seek any medical treatment or diagnosis not knowing that

  Plaintiff had any relevant expertise, and Plaintiff appeared as any other person in casual

  clothes not wearing a white coat or carrying a stethoscope – just your every-day “Joe

  American” – the plaintiff did not hold himself out to the public as a physician.

  (cc) To force the Plaintiff to provide medical treatment or to examine persons when he

  was in the non-clinical world, when he had no expectations of acting like or conducting

  himself as a physician, would be tantamount to “involuntary servitude” prohibited by

  the Thirteenth Amendment to the U.S. Constitution. Forcing physician-like activities on

  the Plaintiff in the non-clinical world would be “enslaving him” and re-vitalizing the

  state-run Slavery of the Confederate South pre-Civil War where persons are

  involuntarily forced to do things that they do not want to do against their will,

  convictions and beliefs;

  (dd) The boundaries between the clinical and non-clinical worlds are well-demarcated,

  and understood by all relevant parties thus affected;

   (ee) The “Weinberg law” enacted de facto in 2002 by BORIM attempts to consolidate

  both worlds into one – enslaving the Plaintiff and forcing upon him a state of

  involuntary servitude which forces the Plaintiff into performing medical duties and tasks

  involuntarily against his will at a time and place when the Plaintiff did not want to be a

  doctor, nor did he want to examine or treat patients because the Plaintiff believed himself

  to be in the non-clinical world where he would be free to engage in recreational and

  relaxing activities; involuntary servitude or slavery is the process by which human beings

  are forced to do things that they do not want to do, robbing them of their free will to
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  make decisions about how they want to live their lives, restricting their liberty to pursue

  happiness or engage in tasks of their own choosing, and restricting their liberty to make

  choices of their own free will;

  (ff) The two worlds – clinical world and non-clinical world – were lawfully created in

  1993 by the mutually agreed-upon modification of the 1992 Express Bilateral contract

  between Plaintiff and Defendant Colon terminating the doctor-patient relationship, and

  this modification was formed and executed between 1992 – 1993 and is an otherwise

  lawful modification of the agreement under contract law which is not otherwise

  prohibited by law;

  (gg) When the Plaintiff was in the Clinical World, wearing his “doctor” hat, he conducted

  himself as a physician in all his interactions with his patients, who came to a clinical

  setting to obtain some medical treatment or assessment. While in the Clinical World, the

  Plaintiff complied with all the regulations of BORIM and also the canons of medical

  ethics by the AMA – with the self-expectation that he was engaged in the practice of

  medicine.

  Through a sequence of precedents, the U.S. Supreme Court has defined the criteria and

  elements for determining when statutes and state action comprise a Bill of Attainder. As a

  case of first impression, this would be the first time (to the best of the Plaintiff’s

  knowledge and belief) that a de facto quasi-legislatively law, such as the “Weinberg law”

  enacted by BORIM for the purpose of individualized action against the Plaintiff to effect

  punishment through license revocation without a trial or Due Process of Law, would be

  ascertained to comprise a Bill of Attainder. The Plaintiff intends to pursue all available

  appeals to the highest courts up to the U.S. Supreme Court if certiorari is granted in order
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  to assure that justice is done with vindication of his name – even if this takes some ten to

  fifteen years of legal action and the necessity of thousands of hours of pleadings and

  hearings.

  In spite of prior jurisprudence and caselaw, the Plaintiff intends to prove, through the

  Federalist papers and other historical documents and writings, that the framers of the U.S.

  Constitution intended for all state action, whether legislated by statute or quasi-legislated

  by a state agency, which is individualized state action particularized to a single person

  which is penal in nature and punishes the targeted citizen without a trial, comprise a Bill

  of Attainder, and that the framers of the Constitution did not anticipate that the growth of

  the Administrative Fourth branch of government would supplant legislated statutes with

  agency regulations which would implement the police powers of the state with the full

  force of the law.

  Likewise numerous precedents have led the U.S. Supreme Court to define the criteria and

  elements of state or private action which comprise involuntary servitude prohibited by the

  U.S. Constitution, first enforced following the U.S. Civil War, in order to define and

  protect the rights of the freed slaves. Private or public parties may create involuntary

  servitude. Whether or not a Bill of Attainder can be proved by the Plaintiff, the actions of

  BORIM can still be adjudicated to enforce a state of involuntary servitude.

  In Magistrate Sarah Luick’s Decision (attached as Appendix A) issued in May 2002,

  DALA recognized these two distinct worlds – the clinical world and the non-clinical

  world - when Magistrate Sarah Luick approved and adopted Stipulation No. 35. “During

  the fall of 1992, Respondent and Patient A [Lourdes Colon] began a personal and sexual

  relationship which lasted 3 years until September 1995. During that time, no sexual
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  contact ever took place in any professional setting, whether hospital, clinic or medical

  office.” [Appendix A, “Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

  Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-

  074, Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg,

  Issued on May 16, 2002, page 10 ]

  (hh) When in the Non-Clinical World, the Plaintiff was not a doctor, did not wear his

  “doctor” hat, was not expected to behave or conduct himself as a doctor, and had no

  obligation to comply with the regulations of BORIM nor any ethical codes. While in the

  Non-Clinical World, the Plaintiff was authorized to engage in sexual relations with

  defendant Lourdes Colon by authority of the modified bilateral express contract

  terminating the doctor-patient relationship and these sexual relations were proper, ethical

  and lawful and not subject to the jurisdiction or authority of BORIM because those

  regulations and authority only applied to the Clinical World.

  (ii) The Clinical and Non-Clinical Worlds were created through the operation of and

  instrumentality of the 1993 mutually-agreed upon modified express bilateral contract

  between the Plaintiff and the defendant Lourdes Colon, which is governed by and

  protected by the Contract clause of the U.S. Constitution and such contract modification

  is otherwise not prohibited;

  (jj) the express bilateral contractual termination of the doctor-patient relationship would

  be discussed and approved by the institutional officials – such as the Medical Director

  and/or Administrative Director – as was done in 1992 when Dr. Robert Wesselhoeft, III

  (Medical Director) and Ruth Taylor (Executive Director) authorized and approved the


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  Plaintiff’s actions with the termination of the doctor-patient relationship prior to the

  formation of the bilateral express contract terminating the doctor-patient relationship;

  (kk) express bilateral contract terminating the doctor-patient relationship, entered into

  freely without coercion, intimidation or force, is not otherwise prohibited by the explicit

  regulations of the Massachusetts Board of Registration in Medicine;

  (ll) under the Code of Massachusetts Regulations (CMR), BORIM shall have the

  authority to apply the Weinberg law, the Division of Administrative Law Appeals shall

  have the authority to adjudicate the Weinberg law, and the Massachusetts Supreme

  Judicial Court shall have the authority to affirm or negate judgments or state action

  carried out under the Weinberg law;

  (mm) the Weinberg law must comply with the requirements, mandates and authority of

  the Massachusetts Constitution and the U.S. Constitution;

  (nn) the Weinberg law applied only to a single citizen physician in the Commonwealth of

  Massachusetts – the Plaintiff – and no other citizen physician of Massachusetts has ever

  been found to meet criteria (a) – (nn) and the Weinberg law is penal in nature, uniquely

  punishing the Plaintiff by revocation of his medical license without Due Process of law or

  a fair trial, thus violating the Equal Protection of the law because no other physician, who

  was similarly situated, was ever punished by the Weinberg law (see Korper v. Weinstein

  discussed more thoroughly below);

  (oo) in its unique relevance and application – individualized - to a single physician citizen

  of Massachusetts since the founding of the American Republic which is penal in nature



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       and deprived the Plaintiff of a fair trial or Due Process of Law, the Weinberg law

       comprises a Bill of Attainder;

       (pp) the Weinberg law is applied ex post facto to punish citizen physicians; and the

       Weinberg law also permissively allowed involuntary servitude of physicians, who would

       be enslaved by involuntary and forced conduct if it were mandated that they conduct

       themselves as physicians in the non-clinical world. If a physician wants to engage in

       some recreational activity and does not want to practice medicine at that time in that

       place, forcing that physician to engage in the practice of medicine by BORIM comprises

       involuntary servitude and slavery. Ethical codes are not license to engage in involuntary

       servitude.

       (qq) Since the founding of the Commonwealth of Massachusetts approximately 250 years

       ago, only one physician has been subject to license revocation under the application

       of the Weinberg law – namely the Plaintiff

          Plaintiff’s case is a Case of First Impression in the United States

461.   To the best of the Plaintiff’s knowledge and belief, there are no other precedents or

caselaw in any of the fifty states or the territories of the U.S. reported in the legal databases of

Westlaw, Lexis-Nexis, or Google Scholar which meet the 43 criteria listed above, making this

case and application of the Weinberg law a case of First Impression, which also comprises a

Bill of Attainder applied ex post facto to the Plaintiff.

             Plaintiff will prove claims herein by preponderance of evidence

462.   Evidence corroborating all forty-three criteria above can be found in: the medical records

of (a) Dr. Lisa Wolfe, (b) HRI, (c) the Plaintiff, (d) the Boston Evening Medical Center (then
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“BEMC”, but since purchased by the Massachusetts General Hospital and re-named MGH Back

Bay Medical Center), (e) Massachusetts General Hospital, (f) the Stipulation of Findings of Fact

incorporated within Magistrate Sarah Luick’s Recommended Decision issued by DALA in May

2002 (attached as Appendix A at the end), (g) medical and psychological records of additional

clinicians consulted by Defendant Lourdes Colon between 1989 through the present time,

state records of (h) BORIM, (i) DALA, (j) Mass SJC, (k) Maine SJC, and the law records of

Defendant Attorneys (l) Stanley Spero, (m) Claudia Hunter, (n) Vincent DiCianni, (o) Robert

Stolzberg and (p) John Flym, as well as the judicial pleadings and discovery documents from

(q) Lourdes Colon v. Robert Weinberg, Robert Wesselhoeft, Boston Evening Medical Center, et

al., and (r) Robert Weinberg v. Lourdes Colon, the (s) Bankrutpcy Adversarial Proceedings from

Robert Weinberg v. Attorney Defendants and Plaintiff will obtain new testimony from the

relevant percipient witnesses at deposition of the relevant defendants in the instant action.

463.      The Plaintiff will prove the existence and terms of the Express Bilateral Contract

terminating the doctor-patient relationship, along with its subsequent modification along with all

forty-three criteria of the “Weinberg law” by a preponderance of the evidence in the instant

action.

464.      Plaintiff plans to subpoena all the records listed in paragraph (20) here as well as obtain

new testimony through the deposition of all relevant witnesses with knowledge of the material

facts.

465.      State action and state laws and regulations involving fundamental liberty interests, civil

liberties and civil rights are subject to judicial review under the Strict Scrutiny standard.




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466.   Plaintiff seeks equitable relief through Declaratory Judgments and Injunctive Relief, and

does not seek monetary damages from state actors who are otherwise protected under the

Eleventh Amendment.

467.   “In a case of actual controversy within its jurisdiction …any court of the United States,

upon the filing of an appropriate pleading, may declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought. Any

such declaration shall have the force and effect of a final judgment or decree and shall be

reviewable as such.” Federal Declaratory Judgment Act; Rule 57, Fed.R.Civ.P.

 Modified 1992 Contract Created a Clinical-nonclinical binary classification of time and place

468.   The modified Express Bilateral Contract between the Plaintiff and Lourdes Colon created

a clinical-nonclinical binary classification of time and place.

469.   Every location on planet Earth could be classified at every time of the day according to

this Clinical-nonclinical binary classification of time and place scheme.

470.   Any location on planet Earth at any time of the day could be classified under this scheme

as either the “clinical world” or the “non-clinical world” according to the criteria listed above.

471.   The distinguishing feature between the clinical world and the non-clinical world, is the

subjective expectation of the Plaintiff and those other persons at that location at that time.

472.   While in the clinical world, the Plaintiff believed himself to be acting as a Physician and

holding himself out to the world as a physician – he was wearing his “doctor hat.”

473.   While in the non-clinical world, the Plaintiff did not believe that he was a physician and

those around him did not believe him to be a physician – he was not wearing his “doctor hat.”

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474.   The clinical world generally included the majority of the time when the Plaintiff was

working as a physician in a clinic, ED, neighborhood health center, hospital, in most clinical

settings where patients would come to seek treatment of their ailments or amelioration from

physical pain and suffering.


475.   While in the clinical world, most persons perceived and understood that the Plaintiff was

there to assist with their diagnosis and treatment – often the Plaintiff would wear a white clinical

coat, often carry a stethoscope with him, and occasionally his coat pockets were stuffed with

tourniquets, vacutainer tubes with needles, caliper to measure intervals on an EKG, reflex

hammer, and other tools of the trade that physicians usually employ during the practice of

medicine.


476.   The Plaintiff would only engage in the practice of medicine in the clinical world, where

the Plaintiff would usually receive compensation for his work either through insurance

companies or through a salary provided by the hospital or clinic.


477.   Usually the Plaintiff was advertised to the public as a doctor/physician in the clinical

world – such as a placard on his door “Dr. Robert Weinberg” or a name placard on his desk, and

often his name “Dr. Robert Weinberg” would appear on a directory mounted on the wall near the

entrance to the clinic or hospital, and the receptionist/nurse who would greet the patients arriving

would often have access to a computer terminal with a database which included the Plaintiff in

the clinical directory of physicians.


478.   When coming to the clinical world, or while present in the clinical world, the Plaintiff

had the subjective expectation that he would be working as a physician, meeting with patients,

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obtaining their medical histories including the chief complaint why they were coming to the

clinic/ED/hospital at that time, performing clinical examinations and clinical procedures


479.   The Plaintiff was expected to be well-rested from a good night’s sleep and function well

cognitively to properly assess and manage patients, and the possibility of any medical emergency

which might arise.


480.   Furthermore it was understood that the Plaintiff would not have consumed alcoholic

beverages or other intoxicating substances within 6 – 8 hours of arriving in the clinical world

because such intoxicants might impair his functioning as a physician.


481.   In the clinical world, the Plaintiff would either represent himself to others and the

patients as either a Family Physician or an Emergency Medicine Attending Physician, which are

the two types of specialties which the Plaintiff usually worked as.


482.   While in the clinical world, the Plaintiff was bound by the AMA Code of Ethics and the

Hippocratic Oath which he had taken while in medical school, and these ethical codes

substantially restricted his activities accordingly.


483.   While in the non-clinical world, the Plaintiff did not have any subjective expectation of

meeting with patients to engage in the practice of medicine, nor did any patients come to the

non-clinical world for medical treatment or diagnosis.


484.   While in the non-clinical world, the Plaintiff would engage in his hobbies such as reading

the medical literature, recent legal cases, or interesting new biotechnology or medical devices

which may have been invented.

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485.   It was acceptable to imbibe an alcoholic beverage while in the non-clinical world, as long

as the Plaintiff was not scheduled to come to the clinical world within 6 – 8 hours of imbibing

such as beverage.


486.   There was a wide range of activities which the Plaintiff could engage in while in the non-

clinical world – the only restriction was (1) that the activity not involve the practice of medicine;

and (2) that the activity not be unlawful or criminal.


487.   This modified 1992 express bilateral contract which classified time and location into the

Clinical or Nonclinical worlds is a valid, lawful and enforceable contract.


488.   This modified 1992 express bilateral contract which classified time and location into the

Clinical or Nonclinical worlds does not violate any federal or state law.


489.   This modified 1992 express bilateral contract which classified time and location into the

Clinical or Nonclinical worlds provides details concerning the times and places where the

Plaintiff would be working as a physician, not unlike many other business contracts which

provide time and place details.


490.   This modified 1992 express bilateral contract which classified time and location into the

Clinical or Nonclinical worlds is a contract which separates the Plaintiff’s activities and conduct

into either the professional (clinical world) or personal time (non-clinical world).


491.   This modified 1992 express bilateral contract which classified time and location into the

Clinical or Nonclinical worlds is a contract which allows the Plaintiff to “get off work”, take off

his “doctor hat” and relax and engage in recreational activities (non-clinical world).

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492.   Without This modified 1992 express bilateral contract which classified time and location

into the Clinical or Nonclinical worlds, the regulations of BORIM may be interpreted as

“forcing” the Plaintiff to work as a doctor at all times of the day in all places on the earth.


493.   Forcing the Plaintiff to work as a doctor, when he has “left the clinical setting” and

against the Plaintiff’s wishes is tantamount to Involuntary Servitude.


494.   Slavery comprises the forced labor of persons against their will to do specific work

activities and BORIM believes that it may force the Plaintiff to do labor as a physician at any

time of the day and at any location – not much difference from slavery.

         Fraud committed upon the Tribunal by defendants Spero, Wolfe and Ney

495.   Withholding material evidence which proves or disproves a substantial issue of material

fact during a Tribunal comprises spoliation of evidence and fraud upon the Tribunal; this fraud

will be described in great detail and particularity within this Complaint – which the Plaintiff will

prove by a preponderance of the evidence.

496.   A substantial issue of fact in these proceedings is the question whether the Plaintiff was

in a doctor-patient relationship with defendant Lourdes Colon at the relevant times in question,

to help determine whether the Plaintiff violated any laws, regulations or ethics concerning sexual

relations between doctors and their patients.

497.   Thus, the existence, knowledge and paper copies of a handwritten Express Bilateral

Contract, written in ball-point pen with black ink, which terminated the doctor-patient

relationship in September 1992, is relevant and material to these proceedings and is material

evidence in proving substantial facts and in determining important issues of fact.


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498.   Thus, the existence, knowledge and paper copies of a handwritten Express Bilateral

Contract which terminated the doctor-patient relationship in September 1992 is material

evidence in these proceedings and comprises a substantial factor in determining or ascertaining

whether a doctor-patient relationship existed between the Plaintiff and Lourdes Colon at the

relevant times in question.

499.   Concealing from the Tribunal the existence, knowledge and paper copies, hand-written

with black ball-point pen, of an Express Bilateral Contract which terminated the doctor-patient

relationship between the Plaintiff and Lourdes Colon in September 1992, which was dictated by

defendant Lisa Wolfe and written down verbatim by the Plaintiff and Lourdes Colon,

subsequently signed by both parties, at HRI in Brookline, MA, comprises spoliation of evidence

and concealing material evidence from the Tribunal; there exists a duty to preserve evidence

relevant to a dispute, or potential dispute, which is an ancient and well-documented common law

principle - The doctrine likely goes back as far as Roman law: Contra Spoliaterem Omnia

Praesumuntur is a Latin phrase meaning everything most to his disadvantage is to be presumed

against the destroyer; essentially, the doctrine requires a party to preserve evidence when they

know, or should know, that the evidence is likely to be relevant to pending or future litigation.

500.   Concealing from the Tribunal the existence, knowledge and paper copies of a ballpoint-

pen-handwritten Express Bilateral Contract, dictated by defendant Lisa Wolfe, which terminated

the doctor-patient relationship in 1992 comprised spoliation of exculpatory evidence and fraud

upon the Tribunal, and such spoliation of evidence and concealment of material evidence and

deception of the tribunals was committed by the defendants Stanley Spero, Lourdes Colon and

Lisa Wolfe.


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501.    “Evidence tampering is an act in which a person alters, conceals, falsifies, or destroys

evidence with the intent to interfere with an investigation by a law-enforcement, governmental or

regulatory authority;” spoliation of evidence, which includes concealing material exculpatory

evidence from the tribunal, is a form of evidence tampering, which is a criminal offense in some

jurisdictions.

502.    The actions and omissions of defendants Stanley Spero, Lisa Wolfe and Lourdes Colon in

concealing the exculpatory evidence of the handwritten Bilateral Express Contract, which

terminated the doctor-patient relationship in 1992, does comprise spoliation of evidence and the

crime of tampering with evidence; this handwritten contract is exonerating evidence for the

Plaintiff because it is proof that the doctor-patient relationship was intentionally and purposefully

terminated between the Plaintiff and Lourdes Colon in September 1992.

503.    Such actions and omissions of defendants Stanley Spero, Lisa Wolfe and Lourdes Colon

in concealing the exculpatory evidence of the handwritten Bilateral Express Contract, which

terminated the doctor-patient relationship in 1992, does also comprise spoliation of evidence,

obstruction of justice and perverting the course of justice for the purpose of covering up their

liability and also to conceal the primary exculpatory evidence which exonerates the Plaintiff;

concealing the contract was advantageous to defendants Lourdes Colon and Stanley Spero, who

filed suit in Middlesex Superior Court against the Plaintiff in 1996: Colon v. Weinberg,

Wesselhoeft, Boston Evening Medical Center et al., alleging that the Plaintiff engaged in medical

malpractice and misconduct which settled circa. 1998-99 for $150,000, fraudulently obtained

from the insurer through their concealment of the handwritten contract which would have

destroyed their legal case.


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504.   Spoliation of evidence is the intentional, reckless, or negligent withholding, hiding,

fabricating, or destroying evidence relevant to a legal proceeding.

505.   Defendants Stanley Spero, Lisa Wolfe and Lourdes Colon are all guilty of spoliation of

exculpatory evidence by their actions in concealing the handwritten Bilateral Express Contract

which terminated the doctor-patient relationship in 1992, and exonerates the Plaintiff of all

wrongdoing.

506.   Spoliation of evidence is a frequent tactic of amoral litigants and has been seen in such

American scandals as the Enron scandal, Arthur Andersen LLP v. United States, Iran-Contra

affair, Conrad Black’s actions during his trial, and CIA Director Richard Helm’s order to destroy

MKUltra files.

507.   Furthermore, this fraud has been committed on three courts (Suffolk Superior Court

[Massachusetts], Division of Administrative Law Appeals [Massachusetts], Oxford County

Superior Court [Maine]) by two attorney defendants (Stanley Spero, John Ney) and their law

firms (Spero and Jorgenson, P.C., Shechtman, Halperin and Savage, LLC) along with their

accomplices/accessories/co-conspirators as well as by the defendant psychologist Lisa Wolfe,

wherein that fraud is detailed with particularity in this Complaint.

508.   The 1992 Express Bilateral Contract terminating the doctor-patient relationship was

essential, relevant and material exculpatory evidence for the fact-finder in the Tribunals for: [1]

Colon v. Weinberg, Wesselhoeft, et al. (Suffolk Superior Court); [2] Weinberg v. Colon (Suffolk

Superior Court); [3] In Re Robert P. Weinberg, D.O. (Division of Administrative Law Appeals;

[4] In the matter of Robert Weinberg (Massachusetts Supreme Judicial Court); [4] Robert P.

Weinberg v. Board of Bar Examiners (Maine Supreme Judicial Court); [5] Robert P. Weinberg,

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D.O. v. Massachusetts Board of Registration in Medicine (Massachusetts Supreme Judicial

Court), where the handwritten contract would have assisted the fact-finder in determining when

the Plaintiff was and was not an active doctor to Lourdes Colon, thus answering an essential

question of fact relevant and material to important issues of fact for the tribunal; the 1992

Express Bilateral Contract exonerates the Plaintiff of wrongdoing.

509.   Concealment of the 1992 Express Bilateral Contract terminating the doctor-patient

relationship by defendants Stanley Spero, Lourdes Colon and Lisa Wolfe led the fact-finder in

these Tribunals to make Findings of Fact which were FALSE statements of material fact, due to

the absence of such exonerating and exculpatory evidence for assessment by the fact-finder,

which exonerates the Plaintiff of all wrongdoing.

510.   These false statements of material fact, which resulted from the concealment of material

evidence and deception of the tribunals, comprised fraud upon multiple Massachusetts and

Maine tribunals (and also comprises a crime of omission), which proceeded to make conclusions

of law based on those false statements of material fact; those false statements of material fact

were disadvantageous to the Plaintiff, causing multiple severe legal and economic injuries,

eventually leading to the revocation of the Plaintiff's medical license; these factual and legal

errors may be remedied by a Writ of Error Coram Nobis.

511.   In the instant suit, the Plaintiff will obtain discovery (admissions, interrogatories,

depositions, requests for production of documents) including but not limited to Request for

Production of Documents and depositions of the relevant witnesses sworn under oath, which will

yield testimony and additional documentary evidence which will prove the existence, content

and purpose of the 1992 Express Bilateral Contract terminating the doctor-patient relationship by

a preponderance of the evidence; this additional discovery will provide the evidentiary
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foundation for a Writ of Error Coram Nobis which is still issued by federal courts to remedy

egregious factual and legal errors wherein there is a miscarriage of justice.

512.   Because of the narrow and restrictive nature and rules of the DALA proceedings in 2000

– 2002, and the desire of the parties to make Stipulations as the basis for the fact-finding process

(because defendant Lourdes Colon did not want to testify at a trial) without providing the

Plaintiff with the ability to complete discovery (interrogatories, admissions, production of

documents and depositions), the Plaintiff was unable to obtain the requisite discovery yielding

the exculpatory evidence to prove this 1992 handwritten Express Bilateral Contract terminating

the doctor-patient relationship, along with its subsequent modification, in the prior DALA

proceedings.

513.   Full discovery procedures allowed by the Federal Rules of Civil Procedure in the instant

suit in federal court will provide the Plaintiff with necessary evidence to prove the existence,

content and purpose of the 1992 memorialized handwritten Express Bilateral Contract

terminating the doctor-patient relationship by a preponderance of the evidence, which exonerates

the Plaintiff of all wrongdoing and will serve as the evidentiary foundation for obtaining a Writ

of Error Coram Nobis.

514.   Furthermore the Expert Witnesses in the prior DALA proceedings did not have the

knowledge of, access to nor handwritten paper copies of that Express Bilateral Contract

terminating the doctor-patient relationship in 1992 and this substantial deficiency which resulted

from the defendants’ intentional and purposeful concealment and deception regarding that

contract was a substantial factor in Colon’s Expert Witness opinion not in the Plaintiff's favor

because Dr. Beck never knew that the doctor-patient relationship had been terminated in

September 1992 and had the Expert Witnesses had this information and those paper copies of the
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handwritten Express Bilateral Contract, which was formed and executed at HRI under the

guidance and dictation of Dr Wolfe in September 1992, the Expert Witnesses would have come

to substantially and dramatically different conclusions and Expert Witness opinions more

favorable to the Plaintiff.

515.    The Expert Witnesses called to testify in these Tribunals also did not have access to the

1992 Express Bilateral Contract and its subsequent modification which terminated the doctor-

patient relationship, which exonerates the Plaintiff of all wrongdoing and will serve as the

evidentiary foundation for obtaining a Writ of Error Coram Nobis, because this material

evidence was concealed from the Tribunals by defendants Lourdes Colon, Stanley Spero and

Lisa Wolfe, so this relevant and material evidence was not assessed by those Expert Witnesses

nor was it assessed by the justices/magistrates/judges in the respective tribunals.

516.    The Expert Witnesses in these Tribunals, without access to the relevant and material

evidence comprising the 1992-93 Express Bilateral Contract terminating the doctor-patient

relationship, formed substantially deficient and false expert opinions because they did not have

access to nor knowledge of substantial relevant and material evidence comprising the 1992

termination of the doctor-patient relationship; the handwritten Bilateral Express contract formed

and executed in 1992 which exonerates the Plaintiff of all wrongdoing and will serve as the

evidentiary foundation for obtaining a Writ of Error Coram Nobis, will render those Expert

Opinions null, void and false.

517.    Had those Expert Witnesses had knowledge of the 1992-93 Express Bilateral Contract

which terminated the doctor-patient relationship, the conclusions and expert opinions of those

witnesses would have been substantially different and therefore those expert opinions were

tainted by the defendants’ concealment of the 1992 Express Bilateral Contract terminating the
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doctor-patient relationship, which exonerates the Plaintiff of all wrongdoing, comprising Fraud

upon the Court.

518.   The intentional and purposeful fraudulent concealment of that 1992 Express Bilateral

Contract which terminated the doctor-patient relationship caused much consternation, distress

and desperation in the Plaintiff and caused the Plaintiff to feel like he was backed into a corner

without the truth of that exonerating contract which was deceptively concealed from the tribunals

by defendants Stanley Spero, Lourdes Colon and Lisa Wolfe.

519.   The Plaintiff has been waiting over thirty-two (32) years to be able to obtain this

discovery permitted by the Federal Rules of Civil Procedure to obtain the relevant and material

evidence, both testimonial and documentary, to prove the fraudulent concealment and deception

concerning the 1992 Express Bilateral Contract, terminating the doctor-patient relationship, by

the defendants Stanley Spero, Lisa Wolfe and Lourdes Colon, where the defendant was greatly

restricted and impaired by the procedural rules of the DALA proceedings which progressed

without a trial, without the testimony of the relevant witnesses or the right to cross-examine

them, progressing with only Stipulations which did not include records from Paula Lazar, Amy

Banks, Vincent DiCianni, Robert Stolzberg, nor the sworn testimony of Lourdes Colon or Lisa

Wolfe and without the material evidence of the 1992 handwritten Bilateral Express Contract.

520.   “In December 1999, Respondent sent a Memorandum to Richard Waring, former

Complaint Counsel in the above-captioned matter, and Deirdre Manning, former investigator in

the above-captioned matter. In this Memorandum Respondent asserted that false testimony was

being used against him, and he warned that anyone who knowingly participated in the use of

such false testimony against him might be participating in a ‘criminal conspiracy’. He stated,

‘This is an opportunity for you and the board to withdraw from the conspiracy, and diminish
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collectively your criminal responsibility for all foreseeable crimes engendered by the

conspiracy’”. [Stipulation No. 56., Stipulations – attachment “A” to “Recommended Decision”

of Magistrate Sarah Luick, Board of Registration in Medicine v. Robert P. Weinberg,

Adjudicatory Case No. RM-99-074, DALA, signed on April 9, 2001 by Respondent’s Counsel

John Flym, Respondent Robert Weinberg D.O. and signed on April 12, 2001 by Complaint

Counsel Alice Oliff]. This 1999 Memorandum referred to the concealment of the material

exculpatory evidence comprising the 1992 handwritten Express Bilateral Contract, concealed by

defendants Lourdes Colon, Stanley Spero and Lisa Wolfe, potentially as part of a criminal

conspiracy to conceal such material evidence from the tribunal in order to defraud the respective

courts and evade their own liability.

521.   “In February 2000, Respondent filed a letter and affidavit with the Board of Registration

of Psychologists, the Attorney General’s Office, the Suffolk County District Attorney’s Office,

and the Board of Bar Overseers alleging unlawful acts by: Lisa Wolfe, Ph.D. (Patient A’s current

therapist), Stanley Spero, Esq. (Patient A’s attorney), and Richard Waring, Esq. (former

Complaint Counsel in the above-captioned matter). The alleged unlawful acts included: perjury,

larceny, theft by misrepresentation and insurance fraud. Respondent accused Mr. Waring of

acting ‘in a criminally negligent and/or criminally reckless manner in issuing the Complaint in

January 1999.’” [Stipulation No. 57., Stipulations – attachment “A” to “Recommended

Decision” of Magistrate Sarah Luick, Board of Registration in Medicine v. Robert P. Weinberg,

Adjudicatory Case No. RM-99-074, DALA, signed on April 9, 2001 by Respondent’s Counsel

John Flym, Respondent Robert Weinberg D.O. and signed on April 12, 2001 by Complaint

Counsel Alice Oliff].



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522.   The perjury comprised telling falsehoods that the doctor-patient relationship had not

ended abetted by their concealment of the contract; the larceny comprised obtaining the

insurance settlement defrauding the insurance company through the concealment of the contract;

the theft by misrepresentation and insurance fraud comprised inducing the insurer ProMutual to

pay $150,000 without informing the insurance company about the 1992 contract terminating the

doctor-patient relationship.

523.   Criminals, transgressors, perpetrators and wrongdoers do not write, phone or contact the

police, law enforcement, or state agencies about their activities and conduct; they must conduct

themselves secretly to avoid detection and capture; such persons would only contact state

officials or law enforcement if they are either morons or crazy.

524.   The fact alone that: “In February 2000, Respondent filed a letter and affidavit with the

Board of Registration of Psychologists, the Attorney General’s Office, the Suffolk County

District Attorney’s Office, and the Board of Bar Overseers alleging unlawful acts by: Lisa

Wolfe, Ph.D., Stanley Spero, Esq., and Richard Waring, Esq.” is prima facie evidence of the

Plaintiff’s innocence of wrongdoing - unless the defendants can prove that the Plaintiff is either a

moron or crazy because transgressors do not contact the authorities or law enforcement.

525.   The Plaintiff [Respondent] was desperately hoping that these state officials and

authorities would initiate investigations and uncover the spoliation of exculpatory evidence by

defendants Lourdes Colon, Lisa Wolfe and Stanley Spero.

526.   Apparently the state officials and authorities that the Plaintiff contacted did not take the

Plaintiff seriously nor did they attempt to ask the Plaintiff for more information concerning the

Plaintiff’s prior allegations of those defendants including “The alleged unlawful acts included:

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perjury, larceny, theft by misrepresentation and insurance fraud. Respondent accused Mr.

Waring of acting ‘in a criminally negligent and/or criminally reckless manner in issuing the

Complaint in January 1999.’”

527.    The truth has not changed in the past 30 years, but now the Plaintiff is ready for a fierce

and prolonged battle to bring that truth to light; whatever the outcome of the instant litigation,

the Plaintiff is prepared to bring these battles inside the courtroom and outside the courtroom to

the forum of “public opinion” if necessary, and to bring these battles online to Social Media, to

traditional media including the newspapers, radio and television, because the Plaintiff has

nothing to hide or conceal - unlike some of the defendants named in the instant suit.

528.    The final judgments issued by the five (5) tribunals listed in paragraph # 75 above

include multiple FALSE statements of material fact within the text of the judgments – based on

the taint of concealed material evidence and deceptive conduct of defendants Lourdes Colon,

Lisa Wolfe and Stanley Spero - as will be fully described below; incorporating multiple false

statements of material fact within the text of those judgments renders those judgments null and

void.

529.    It is purely logical that the application of the relevant law to FALSE statements of

material fact will result in FALSE conclusions of law thereof; court judgments which are directly

based on false statements of material fact wherein such false statements of material fact are

directly stated within the text of those judgments, must be declared null and void on the basis of

those false statements of material fact relevant to the issues of fact and issues of law being

adjudged.




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530.   It follows, without the necessity of proof, that the final judgments which issue forth from

any Court based on false conclusions of law, which were based on false statements of material

fact are necessarily invalid, null and void.

531.   Once the Plaintiff has proven these false statements of material fact, which are expressly

stated in the text of the final judgments of those Courts, are indeed false by a preponderance of

the evidence, “the house of cards will fall down” and the Plaintiff may petition for overturning

and vacating those judgments under Rule 60(b) of the Federal Rules of Civil Procedure –




       Rule 60. Relief from a Judgment or Order …

               (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On
               motion and just terms, the court may relieve a party or its legal
               representative from a final judgment, order, or proceeding for the following
               reasons:

                       (1) mistake, inadvertence, surprise, or excusable neglect;

                       (2) newly discovered evidence that, with reasonable diligence, could not
                       have been discovered in time to move for a new trial under Rule 59(b);

                       (3) fraud (whether previously called intrinsic or extrinsic),
                       misrepresentation, or misconduct by an opposing party;

                       (4) the judgment is void;

                       (5) the judgment has been satisfied, released, or discharged; it is based on
                       an earlier judgment that has been reversed or vacated; or applying it
                       prospectively is no longer equitable; or

                       (6) any other reason that justifies relief.

               (c) Timing and Effect of the Motion.

                       (1) Timing. A motion under Rule 60(b) must be made within a reasonable
                       time—and for reasons (1), (2), and (3) no more than a year after the entry
                       of the judgment or order or the date of the proceeding.
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                      (2) Effect on Finality. The motion does not affect the judgment's finality or
                      suspend its operation.

               (d) Other Powers to Grant Relief. This rule does not limit a court's power to:

                      (1) entertain an independent action to relieve a party from a judgment,
                      order, or proceeding;

                      (2) grant relief under 28 U.S.C. §1655 to a defendant who was not
                      personally notified of the action; or

                      (3) set aside a judgment for fraud on the court.

               (e) Bills and Writs Abolished. The following are abolished: bills of review, bills
               in the nature of bills of review, and writs of coram nobis, coram vobis, and audita
               querela.

532.   A reasonable person may conclude that the conclusions of law which issued forth from

these five tribunals would likewise be as false as the FALSE statements of material fact on which

those conclusions of law were based.

533.   The Plaintiff is seeking Declaratory Judgments for each of the false statements of

material fact which are expressed in the Final Judgments of these five tribunals – declaring those

FALSE statements of material fact to be false as will be proved by the Plaintiff by a

preponderance of the evidence.

534.   The Plaintiff is also seeking Declaratory Judgments for each of the five tribunals which

declare that the Conclusions of Law made by those tribunals were based on FALSE statements

of material fact as proven by the Plaintiff by a preponderance of the evidence.

535.   The Plaintiff is also seeking Declaratory Judgments that the Final Judgment of those five

tribunals are null and void because they issue forth from conclusions of law based on FALSE

statements of material fact as proven by the Plaintiff by a preponderance of the evidence.



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536.   Following the judicial issuance of the Plaintiff’s requested Declaratory Judgments, the

Plaintiff will seek Injunctive Relief through having the Final Judgments of those five tribunals to

be overturned and vacated on the basis of Rule 60(b)(3) and 60(b)(4):

       “Fed.R.Civ.P. Rule 60— Relief From Judgment or Order
       …
              (b) Mistakes; Inadvertence; Excusable Neglect; Newly Discovered Evidence; Fraud,
              etc. On motion and upon such terms as are just, the court may relieve a party or a party's
              legal representative from a final judgment, order, or proceeding for the following reasons:

       …
               (3) fraud (whether heretofore denominated intrinsic or extrinsic), misrepresentation, or
               other misconduct of an adverse party;
               (4) the judgment is void “     (Fed.R.Civ.P.)

537.   The defendants Lourdes Colon, Stanley Spero and Lisa Wolfe have concealed relevant

and material exculpatory evidence from the tribunals which are substantially relevant to the laws

applied by the tribunal, thus rendering the judgments rendered by the tribunal based on false

statements of material fact which formed the foundation of those judgments.


           BORIM acted Ultra Vires with Criminal Punishment of the Plaintiff


538.   Under established Administrative Law doctrines and dogma, Administrative agencies do

not have the authority to provide criminal punishment of licensees.


539.   Criminal punishment must be processed through Criminal Law procedures with the

protections and guarantees of Due Process of Law, requiring Notice, a fair trial, the right to

subpoena witnesses and obtain discovery, the right to confront any witnesses with cross-

examination, the right to present evidence on my behalf, and the procedures followed must

comply with the Rules of Criminal Procedure and the Rules of Evidence.




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540.   It is clear that BORIM intended to punish the Plaintiff for his conduct because: (a) it

waited over 5 years to revoke the Plaintiff’s license in spite of its emergency powers to revoke;

(b) it offered the Plaintiff a voluntary one-year suspension of his medical license in 1998 which it

would not have done were there any question of the Plaintiff’s competence to practice medicine.


541.   Plaintiff will prove by a preponderance of the evidence that BORIM exceeded its

statutory authority by imposing a criminal sanction through the revocation of the Plaintiff’s

medical license when its prior actions and conduct showed that BORIM did not suspect nor

doubt the Plaintiff’s competency or ability to practice medicine, and that it intentionally and

purposefully sanctioned the Plaintiff through license revocation without a fair trial or Due

Process of Law thus pursuing criminal punishment of the Plaintiff without Due Process of Law.

          DALA. Adjudicatory Proceedings in Massachusetts 1998-2002

542.   In complying with M.G.L.A. 30A, § 10, and 801 CMR 1.01, disciplinary proceedings

against physicians are adjudicated in the Division of Administrative Law Appeals (“DALA”) in

the Commonwealth of Massachusetts.

543.   Below is the caption of the DALA adjudicatory proceeding # RM-99-074 against the

Plaintiff: [Copied and pasted from the 14-page DALA Decision, Appendix A attached]




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544.   This DALA decision will be cited below as [“Magistrate Sarah H. Luick, DALA

Recommended Decision, Docket No. BR-99-074, Petitioner Board of Registration in Medicine,

Respondent Robert P. Weinberg, Issued on May 16, 2002, page X”]

545.   “This Stipulation is entered into, in order to resolve questions of material fact as set forth

by the Statement of Allegations, and the Amended Statement of Allegations in the above matter,

pursuant to M.G.L.A. 30A § 10, and 801 CMR 1.01 (10)(b) which states in part, ‘In the

discretion of the Presiding Officer, the Parties may, by written stipulation filed with the Presiding

Officer at any stage of the proceeding … agree as to the truth of any fact pertinent to the

proceeding.’” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s

counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner




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Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002,

page 1, paragraph 1, lines 1 - 7”]

546.   Below is the caption copied from the 25-page Joint Stipulations of Board Counsel Alice

Oliff and Plaintiff’s counsel John Flym, officially attached to the Recommended Decision as

Appendix “A” and adopted by Magistrate Luick as part of the Official Record as described in the

Recommended Decision, which will be cited as “Magistrate Sarah H. Luick, Exhibit A, Joint

Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket

No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg,

Issued on May 16, 2002, page X”

547.   The Stipulation attached to the Magistrate Sarah Luick’s Decision was signed by all

parties, incorporated into and adopted by Magistrate Sarah Luick in her Decision which issued in

May 2002 [attached to DALA decision in Appendix A at the end].

548.   Attachment “A” to the DALA Recommended Decision comprises the Stipulated Findings

of Fact (“STIPULATION”) which are incorporated into the Recommended Decision and were

adopted by Magistrate Sarah Luick as proposed by the BORIM counsel Alice Oliff, the

Plaintiff’s counsel John Flym and the Plaintiff. These Stipulations were submitted in order to

resolve questions of material fact and the parties agreed that Conclusions of Law may be made

upon these Stipulated Findings of Fact. The DALA Recommended Decision by Magistrate Sarah

Luick with the Stipulation (Attachment “A”) can be found in Appendix A to this Complaint.

549.   All writings, pleadings, and documents which are copied and pasted into this Complaint

are incorporated by reference into the instant action.

550.   The image below is copied and pasted portions of the Stipulated Findings of Fact

submitted to DALA.

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551.   The entire Recommended Decision, along with its factual findings, and Stipulations

along with its conclusions, are ALL TAINTED by Magistrate Sarah Luick’s lack of the 1992

memorialized handwritten Express Bilateral Contract which terminated the doctor-patient

relationship because of its fraudulent concealment by defendants Lourdes Colon, Stanley Spero

and Lisa Wolfe; this concealment by the defendants comprise spoliation of evidence and

substantially affect all the proceedings of the tribunal as well as its concealment substantially

handicapping and impairing the validity of the Expert Witnesses’ opinions which would have

been substantially different had they known that the doctor-patient relationship ended in

September 1992.

552.   Once the Plaintiff has proved the fact of this termination of the doctor-patient relationship

by a preponderance of the evidence, all tribunals subsequent to these BORIM proceedings will

need to overturn and vacate their judgments because they are based on substantial FALSE

statements of material fact relevant to the tribunals’ proceedings.




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553.   Selected stipulations are stated below to be incorporated as part of this Complaint.

554.   On or about November 2000, John Flym, Professor of Law at Northeastern University,

entered his appearance as Counsel of Record for the Plaintiff.

555.   In November 2000, the counsel for the Board of Registration in Medicine, Alice Oliff,

and Plaintiff’s counsel John Flym, mutually agreed and made a motion to Magistrate Sarah

Luick to draft a Joint Stipulation of Findings of Fact to create the judicial record and assist in the

adjudication at DALA.

556.   In these stipulations, the Magistrate’s Decision, and other pleadings filed in the DALA

adjudicatory proceedings, the Defendant Lourdes Colon is assigned the alias “Patient A”.

557.   The Stipulation begins with:

“Robert P. Weinberg, D.O. (the Respondent), acting through his attorney John G.S. Flym, and

Complaint Counsel for the Board of Registration in Medicine, agree that this Stipulation shall be

filed with the Administrative Magistrate for the Division of Administrative Law Appeals

(DALA).” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel


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John Flym and Petitioner’s Counsel Alice Oliff, DALA Docket No. BR-99-074, Petitioner Board

of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 1].

558.   “The parties stipulate to the Findings of Fact described below and agree that the

Administrative Magistrate and the Board may make Conclusions of Law based upon said facts.”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, pages 1-2”]

             STIPULATIONS (Adopted by Magistrate Sarah Luick – as conclusive)

559.   “Stipulation No. 1. “Robert P. Weinberg, D.O. was born on October 27, 1953. He is a

1986 graduate of the New York College of Osteopathic Medicine of the New York Institute of

Technology. He has been licensed to practice medicine in Massachusetts since September 7,

1988, under registration number 60232. He is also licensed to practice medicine in New York.

His specialty is Family Practice and Emergency Medicine and he is certified by the American

Board of Certification in Family Practice. He has hospital privileges at Baystate Health Systems,

Springfield, MA, and Jones Memorial Hospital, Wellsville, NY. He currently has a private

practice in Littleton, Massachusetts, known as House Call Docs.” [“Magistrate Sarah H. Luick,

Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice

Oliff, Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert

P. Weinberg, Issued on May 16, 2002, page 2 ]

        1988-89 - BORIM ISSUED TWO (2) MEDICAL LICENSES TO PLAINTFF

560.   In 1988-89 BORIM issued two distinct medical licenses to the Plaintiff.

561.   Each of these two medical licenses had a different number.

562.   One of those medical licenses was License No. 60232.

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563.    The second license had a different number.

564.    In 2002, License No. 60232 was revoked by order of BORIM on or about

October 30, 2002.

565.    However, the second medical license was never revoked nor suspended and is

presumably still active.

566.    In the absence of any active revocation or suspension, the Plaintiff presumably has the

right to practice medicine in the Commonwealth of Massachusetts under the second medical

license which was issued to the Plaintiff in 1988-89.

       DALA proceedings 2000 – 2002 Stipulations reiterated below (Appendix A)

567.    The DALA document has two distinct sections: the first section appears as:

                        COMMONWEALTH OF MASSACHUSETTS

Suffolk, ss.                                            Division of Administrative Law Appeals

Board of Registration in Medicine,
       Petitioner
               v.                                       Docket No. BR-99-074
Robert P. Weinberg, D.O.
       Respondent

Appearance for Petitioner:                              Alice Cole Oliff, Esq
Appearance for Respondent:                              John G.S. Flym, Esq.
Administrative Magistrate:                              Sarah H. Luick, Esq.

                        RECOMMENDED DECISION


568.    The first section of the DALA “Recommended Decision” is twenty-four (24) pages in

length and the twenty-fourth (24th) page is dated May 16, 2002 and signed by Sarah Luick,

Administrative Judge.

569.    The second section begins with a Title page entitled "STIPULATION” with an “A” in the

upper right corner designating it as attachment “A” to the Recommended Decision, has
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twenty-five (25) numbered pages followed by three (3) pages of numbered Exhibits with the

Exhibits numbered from # 1 – # 66 for a total of twenty-eight (28) pages in length for the second

section.

570.    In the “Recommended Decision” of Magistrate Sarah Luick, she states that the sixty-six

(66) numbered exhibits at the end of “STIPULATION - Attachment “A” – are part of the

official record in the case.

571.    In January 2024, the Plaintiff made a request to BORIM and DALA for copies of these

official records, and he only received the “Recommended Decision” along with attachment “A”,

but finally after several weeks of delay, he received the sixty-six (66) exhibits which are part of

the official record.

572.    Stipulations below are copied and pasted herein to allow for comments and annotations.

A copy of the full document can be found in Appendix A attached.

573.    Stipulation Nos. 2 – 5 (copied and pasted):




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574.   Prior to August 1, 1992, Lourdes Colon had 61/64 BEMC visits with the Plaintiff,

representing 95% of all BEMC visits with the Plaintiff.

575.   Stipulation No. 11:




576.   This July 6, 1992 note in Stipulation No. 11 documents the Plaintiff’s knowledge that

Patient A [Lourdes Colon] had a psychotherapist, was receiving psychological treatment, and

that this psychologist specialized in Post Traumatic Stress Disorder.
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577.   There were at least three (3) psychologists/psychotherapists involved with the treatment

of Lourdes Colon during the time period 1989 – 1997: Paula Lazar, Lisa Wolfe and Amy Banks.

578.   In the August 9, 1992 Admission Note in HRI, Dr Lisa Wolfe noted in the medical

records of Lourdes Colon the potential of a Dissociative Personality Disorder as part of her

differential diagnosis: Rule out (R/O) Dissociative Disorder NOS (Stipulation No. 15)

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 5 ]

579.   Subsequent psychiatric expert witness opined that defendant Lourdes Colon did suffer

from Dissociative Identity Disorder with Multiple Personality Syndrome.

580.   Stipulation No. 11 contradicts a substantial statement of material fact in Magistrate Sarah

Luick’s Recommended Decision on page 4 of her Recommended Decision, under the heading of

“Additional Findings,” Luick wrote:

               “81. By August 1992 and Pt. A’s hospitalization, Dr. Weinberg,
               who was aware Pt. A had significant mental health issues, had not
               referred Pt. A to a psychiatrist for an assessment.”

581.   Additional Finding No. 81 contradicts Stipulation Nos. 11, 14, 15, 16, 17, 18, 19, 20, 24,

26, 33, 37, 39, 40, 46, 53 57, 59, contradicts the medical record and contradicts other Stipulations

which Luick had adopted as true and conclusive. Luick wrote “The parties Stipulations and list

of exhibits in the documentary record are attached as “A”. I have adopted the Stipulations and

accepted the agreed upon Exhibits.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations

of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May

16, 2002, page 2 ].

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582.   Stipulation No. 20: “Between 1988 and August 1994, patient A’s regular psychotherapist

was Dr. Paula Lazar.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May

16, 2002, page 6].

583.   Multiple stipulations and the medical record show that the Plaintiff knew that Colon was

under the psychological care of Dr Paula Lazar, Dr. Amy Banks and Dr. Lisa Wolfe from 1988 –

1994 [Stipulation Nos. 11, 14, 15, 16, 17, 18, 19, 20, 24, 26, 33, 37, 39, 40, 46, 53 57, 59].

584.   Plaintiff will seek injunctive relief to have this false finding No. 81 stricken from the

record as FALSE, INACCURATE, CONTRARY TO ALL EVIDENCE AND CONTRARY

TO THE STIPULATIONS, GROUNDLESS, WITHOUT FOUNDATION, AND

LACKING SUBSTANTIAL EVIDENTIARY SUPPORT.

585.   While the Plaintiff had to presume that Drs. Lazar, Banks and Wolfe were competent

psychologists, there was no need to refer Colon to a psychiatrist. In fact, the Plaintiff’s Expert

Witnesses will testify that such a referral had the potential to undermine the psychological

treatment plans of Lazar and Wolfe.

586.   Furthermore, Luick wrote in her Recommended Decision:

       “At the outset, I reviewed the Stipulations made by the parties, and find
       they are supported by the documentary record.”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym
and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in
Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 11 ]

THUS THE STIPULATIONS ARE PRE-EMINENT OVER AND SUPERCEDE
CONTRADICTORY STATEMENTS OF FACT IN THE RECOMMENDED DECISION which
may be false inferences or false conclusions based on false assumptions


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587.   Luick also wrote:

               “… They do show his conduct following the adverse ruling on his
               lawsuit, as alleged, involved making threats of seeking criminal
               complaints against the Board of Registration in Medicine
               Complaint Counsel; all before the DALA hearing commenced,
               and in an effort to block Pt. A and others from testifying against
               his interests.”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym
and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in
Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 12 ]

588. AS EXPLAINED HEREIN, THE DEFENDANTS COLON, SPERO AND WOLFE
CONCEALED EXCULPATORY EVIDENCE OF THE 1992 CONTRACT WHICH
EXPLAINS THE “THREATS” OF SEEKING CRIMINAL COMPLAINTS AND
CONTRADICTS ALLEGATION THAT PLAINTIFF MADE ANY “EFFORT TO BLOCK PT.
A AND OTHERS FROM TESTIFYING AGAINST HIS INTERESTS”

589. One can only arrive at a conclusion of “efforts to block Pt. A and others from testifying
against his interests” if one does not know that those defendants engaged in criminal spoliation
of exculpatory evidence and concealed material evidence from the tribunal.

590.   The Plaintiff intends to prove his prior assertions that defendants Stanley Spero, Lourdes

Colon and Lisa Wolfe did conceal material evidence from the tribunal, did commit fraud upon

the court, and did commit crimes as previously asserted, by a preponderance of the evidence.

591.   Appendix B has a copy of the letter sent by Plaintiff to the Board, but not sent to Colon,

in which the Plaintiff was attempting to emphasize the truth about the express bilateral contract

terminating the doctor-patient relationship which he felt was exonerating of his situation and

vital that such contract be included in the evidence for assessing whether he had committed any

wrong or not. The concealment of that material evidence did comprise fraud upon the court and

also comprised a crime.

592.   Because of defendants’ misconduct and deception in the concealment of material

evidence of the two express bilateral contract, which terminated the doctor-patient relationship,

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the Plaintiff had been forced into a corner for 5 years because defendant Colon and defendant

Wolfe were both denying the existence of the Express Bilateral contract which was formed and

executed in September 1992. (Stipulation Nos. 18, 19 and sworn testimony under oath on the

record).

593.   The Stipulations indicate clearly that Dr Lisa Wolfe, Lourdes Colon and Magistrate Sarah

Luick knew and understood that there was a termination of the doctor-patient relationship:

594.   Stipulation No. 19: “The Discharge Plan in a Psychiatric Summary dated November 11,

1991 states, ‘It was recommended that Dr. Weinberg step out of his role as her (Patient A’s)

prescribing physician since he and the patient had become so close that they change their

relationship so that he would no longer be functioning as her doctor. Dr. Weinberg was,

however, able to refer the patient to someone who could prescribe her medications at Boston

Evening Medical Center.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May

16, 2002, page 6].

595.   *** There is an obvious clerical error in Stipulation No. 19 – because the date should be

November 11, 1992 – not November 11, 1991 – because Lourdes Colon was hospitalized at HRI

in 1992 and not in 1991.

596.   Stipulation No. 24: “Patient A saw Dr. Reichel at BEMC … A telephone message on

11/5/92 from Patient A for prescription medications was originally directed to Respondent, but

this was crossed out and replaced with a reference to Dr. Reichel, with a notation on 11/6/92

stating: ‘She is now WR’s pat.’ … Dr. Lisa Wolfe’s out-patient psychotherapy records note that

on 8/24/94, 9/19/24, 9/27/94, 10/4/94, 10/14/94, 12/8/94, 12/13/94, 12/16/94, & 12/29/94 patient

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A used the expression “former physician” or “former M.D.” when referring to her then-

current relationship with the Respondent.” [“Magistrate Sarah H. Luick, Exhibit A, Joint

Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket

No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg,

Issued on May 16, 2002, page 7].

597.   Stipulation Nos. 19 and 24 corroborate the termination of the doctor-patient relationship

between the Plaintiff and Lourdes Colon.

598.   Stipulation No. 28: “It was noted in Patient A’s medical record on January 14, 1993, that

Patient A had removed sections from her record that included entries from the spring and

summer of 1992.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s

counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner

Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002,

page 9].

599.   Sections removed from the medical record by Lourdes Colon in 1992-93 included

exposition and description of the 1992 Express Bilateral Contract terminating the doctor-patient

relationship as well as the modification of the contract providing for the clinical-nonclinical

binary classification of time and place.

600.   Random sections of the medical record were removed by Lourdes Colon, which were not

consecutively nor chronologically ordered.

601.   It is not known whether defendant Lourdes Colon removed these sections of the paper-

based medical record on one, two or more different occasions.

602.   The bottom line in her Recommended Decision, Magistrate Luick made the factual

finding that the doctor-patient relationship was terminated in September 1992.

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603.   Apparently, when removing sections of the medical record, defendant Lourdes Colon

appeared to target removing clinical notes which described the 1992 Express Bilateral Contract

which terminated the doctor-patient relationship as well as its modification which provided for

the clinical-nonclinical binary classification of time and place.

604.   The sections of the medical record which were removed by Lourdes Colon were never

recovered.

605.   It is not known whether Lourdes Colon has kept those sections of the medical record

which she removed or whether she may have destroyed them.

606.   Without recovering those sections of the medical record which were removed, which may

or may not still exist, the only remaining knowledge of the content in those records would persist

in the memory of the Plaintiff and defendant Lourdes Colon; there was no back-up of those

records.

607.   As previously stated, due to the intentional and purposeful concealment of the material

evidence of the 1992 Express Bilateral Contract terminating the doctor-patient relationship by

defendants Spero, Colon and Wolfe, the Plaintiff felt backed into a corner because that essential

material evidence of the contract exonerated him and to testify otherwise would comprise

perjury and fraud upon the Court.




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         December 1999 – February 2000 “threatening letters” from Plaintiff

608.   Stipulation No. 56




609.   In December 1999, when the defendants Lourdes Colon, Stanley Spero and Lisa Wolfe

were intentionally and purposefully concealing the material evidence of the 1992 handwritten

Express Bilateral contract terminating the doctor-patient relationship, the Plaintiff sent this letter

to Richard Waring and Deirdre Manning because he was concerned that the defendants would lie

about the contract thus perjuring themselves at trial, and if this were a common shared

conspiratorial plan of the three defendants, it would comprise a criminal conspiracy of the three

defendants and the Plaintiff was providing them with an option to escape criminal liability for

said conspiracy – “This is an opportunity for you and the board to withdraw from the conspiracy,

and diminish collectively your criminal responsibility for all foreseeable crimes engendered by

the conspiracy.”

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610.     The Plaintiff’s greatest concern up to this point was to get the truth out about the 1992

Express Bilateral contract which terminated the doctor-patient relationship, which the defendants

Lourdes Colon, Lisa Wolfe and Stanley Spero were attempting to conceal from the court.

611.     This 1992 Express Bilateral contract, which terminated the doctor-patient relationship,

was the Plaintiff’s strongest defense to exonerate himself from the allegations of sexual

misconduct.

612.     The defendants’ willful, intentional and purposeful attempts to conceal this material

evidence from the tribunal was extremely disconcerting to the Plaintiff so he mailed this letter to

warn against potential perjury by the three defendants Lourdes Colon, Lisa Wolfe and Stanley

Spero.

613.     The 1992 Express Bilateral contract, engineered and dictated by Dr. Lisa Wolfe, was also

evidence of Wolfe’s gross negligence and medical malpractice, which were strong reasons for

her to keep silent about it.

614.     In view of subsequent events following the termination of the doctor-patient relationship,

the details of the 1992 Express Bilateral contract terminating the doctor-patient relationship

could have very serious consequences for Dr. Wolfe whose license might be in jeopardy.

615.     Dr. Wolfe had much to gain by concealing her role in approving and dictating the terms

of the termination agreement.

616.     Only three (3) persons were percipient witnesses to the dictation, writing, formation and

execution of the 1992 termination contract: the Plaintiff, defendant Lisa Wolfe, and defendant

Lourdes Colon.

617.     In several legal proceedings – [1] Colon v. Weinberg, Wesselhoeft, Boston Evening

Medical Center et al., [2] Weinberg v. Colon, and [3] BORIM v. Weinberg - paper copies of the

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1992 termination contract would have been detrimental to Colon and BORIM but its

concealment was substantially advantageous to Colon and BORIM.

618.   During the drafting of the Stipulations, BORIM refused to stipulate to the 1992

termination agreement because Colon and Wolfe adamantly resisted telling the truth, in their

persistent attempts to conceal that agreement.

619.   Finally, after 32 years, the Plaintiff will have the ability to complete discovery and obtain

depositions of Lisa Wolfe and Lourdes Colon, so that the truth about the 1992 Express Bilateral

contract which terminated the doctor-patient relationship will finally be officially on the record.

620.   Stipulation No. 57:




621.   Here again, the letters and affidavit, all emphasize and corroborate the Plaintiff’s desire

that the truth about the 1992 termination agreement be made official and public, that the 1992

termination agreement was the Plaintiff’s exoneration of committing sexual misconduct, and the

Plaintiff’s fears that defendants Colon and Wolfe would lie and commit perjury on the stand by
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denying the existence of, formation and execution of that 1992 Express Bilateral contract which

terminated the doctor-patient relationship.

622.   In an attempt to evade liability and avoid telling the truth about the 1992 memorialized

handwritten Express Bilateral Contract terminating the doctor-patient relationship between the

Plaintiff and Lourdes Colon, defendant Lisa Wolfe told BORIM “It is not the kind of thing that I

normally do” thus evasively avoiding telling the truth about her role in conceiving, drafting and

dictating the Express Bilateral Contractl

623.   The other crimes mentioned in the letter and affidavit – insurance fraud, theft by

misrepresentation and larceny – all refer to the settlement of the case Colon v. Weinberg,

Wesselhoeft, BEMC et al. for $150,000 by ProMutual Medical group, the Plaintiff’s medical

malpractice insurance carrier, while defendants Colon and Wolfe had continued to conceal the

material evidence of the 1992 termination contract from the insurer, who might have refused to

settle Out-Of-Court had they known about the termination contract.

624.   The “threatening letter” written by the Plaintiff specifically states that if any person

commits perjury (by denying the truth of the contract) or suborns perjury by another, then the

Plaintiff would seek their prosecution.

625.   This letter was mailed to BORIM and prosecuting attorney Alice Oliff, but never sent to

Lourdes Colon; thus it is hard to conceive how it might intimidate Colon because she never

received a copy of the letter from the Plaintiff and if she were to tell the truth and not perjure

herself, there would be nothing to fear.

626.   The Plaintiff was attempting to assert his right to the truth in these proceedings, and felt

desperate because Colon and Wolfe were concealing the truth, interfering with the fair




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administration of justice and obstructing justice through their concealment of the contract

terminating the doctor-patient relationship.

627.   The Plaintiff NEVER intended to block any testimony – unless that testimony would be

FALSE and untruthful, comprising perjury by denying knowledge or existence of the 1992

Express Bilateral Contract which terminated the doctor-patient relationship.

628.   The Plaintiff only wanted the witnesses to tell the truth.

629.   The whole point of the Plaintiff’s letter was to impress upon the relevant witnesses the

importance of telling the truth and if they did not, the Plaintiff would seek criminal complaints

regarding any perjury committed.

630.   Plaintiff will seek injunctive relief by having all references to any attempt to block

testimony or to intimidate witnesses stricken from the record of: DALA record, BORIM record,

Mass SJC record, Maine SJC record - stricken from the record as FALSE, INACCURATE,

CONTRARY TO ALL EVIDENCE AND STIPULATIONS, GROUNDLESS, WITHOUT

FOUNDATION, AND LACKING SUBSTANTIAL EVIDENTIARY SUPPORT.

631.   Magistrate Luick admits the limitations to her findings and conclusions:

“Both parties also made detailed requests for additional findings of fact which they each argued

the documentary evidence and Stipulations support. I find, after careful review of the record,

including considering hearsay accounts as corroborated or not, and examining each of the

proposed findings of the parties, that some of each side’s proposed additional findings relied to

too large an extent on credibility determinations I was unable to make due to a lack of

testimony. By not having Pt. A’s testimony of how Dr. Weinberg’s conduct had an impact

on her, subject to cross-examination, I am left with no way to adopt all of the proposed

findings that principally rely on believing just her account. The same analysis was employed

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with Dr. Weinberg’s proposed findings as to those that principally relied on believing just his

accounts. … Another significant factor impacting credibility determinations was the lack of

any testimony from Dr. Paula Lazar, or inclusion of her treatment records, or testimony

from Dr. Wolfe, or       testimony from Dr. Reichel. … Likewise, without testimony from

Attorney DiCianni, findings proposed by Dr. Weinberg concerning his actions once his case

was before DALA, could not be made as he proposed them.” [“Magistrate Sarah H. Luick,

Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice

Oliff, Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert

P. Weinberg, Issued on May 16, 2002, pages 12-13].

632.   The Plaintiff, in the instant actions, plans to rectify and correct all the limitations stated

by Luick in her Recommended Decision, which was substantially limited by Luick’s lack of

direct testimony and cross-examination of the relevant witnesses. The Plaintiff has named the

following important, material and relevant percipient witnesses as defendants in this action:

               Lourdes Colon (“Patient A”)

               Dr. Lisa Wolfe

               Dr. Paula Lazar

               Dr. Amy Banks

               Attorney Vincent DiCianni

               Attorney Robert Stolzberg

               Attorney Stanley Spero

633.   The Plaintiff also intends to depose the Expert Witness James Beck to obtain his answer

on how his Expert Opinion would have changed had he known about the 1992 memorialized

handwritten Express Bilateral Contract which terminated the doctor-patient relationship.

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634.       Unfortunately, at least four material percipient witnesses, (1) William Reichel, (2) Robert

Wesselhoeft, III, (3) Alice Oliff, (4) John Flym, have passed away and are thus not available to

testify.

635.       These other seven (7) witness-defendants will provide the answers, which Magistrate

Luick was unable to ascertain without their testimony or cross-examination, through discovery

by the Plaintiff with their testimony via depositions in the instant suit.

636.       However, under the Federal Rules of Evidence, Rule 804 provides for Hearsay

Exceptions when the Declarant is unavailable because of death. FRE Rule 804(a)(4) – (a)

Criteria for being unavailable. A declarant is considered to be unavailable as a witness if the

declarant: (4) cannot be present or testify at the trial or hearing because of death or a then-

existing infirmity, physical illness, or mental illness; or … “ FRE Rule 804

637.       Expert Witnesses James Beck had no knowledge of the 1992 memorialized Express

Bilateral Contract terminating the doctor-patient relationship which is a substantial and material

fact relevant to the issue of fact whether the Plaintiff was a doctor to Colon at specific relevant

times to determine if the Plaintiff should be disciplined for improper and unethical sexual

conduct with a patient.

638.       James Beck’s Expert Opinion will undoubtedly change once he is provided with this

material evidence and that change will undoubtedly be in the Plaintiff’s favor of having not

engaged in misconduct after properly and lawfully terminating the doctor-patient relationship.

639.       The Plaintiff expects full and complete disclosure of the 1992 memorialized Express

Bilateral Contract terminating the doctor-patient relationship through the discovery process in

the instant suit including, but not limited to depositions, interrogatories, requests for admission

and requests for production of documents to the relevant defendants in this suit.

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640.   Although Stipulation No. 11 describes a 30-minute counseling session with Loudes

Colon (“Patient A”), this does not indicate that the Plaintiff is a psychologist or psychotherapist,

nor that he was trained to understand or to use transference or counter-transference. Most

physicians will provide some counseling to their patients regardless of their specialty.


641.   The following stipulations about counseling attempt to suggest that the Plaintiff was

acting as a psychiatrist, psychologist or psychotherapist, but it is usual and the Standard of Care

for Family Physicians to do such counseling: [Stipulation Nos. 6, 7, 9, 10, 11, 12, 13].


642.   “Family physicians spend substantial time counseling patients with psychiatric

conditions, unhealthy behaviors, and medical adherence issues. Maintaining efficiency while

providing counseling is a major challenge. There are several effective, structured counseling

strategies developed for use in primary care settings. The transtheoretical (stages of change)

model assesses patients’ motivation for change so that the physician can select the optimal

counseling approach. Structured sequential strategies such as the five A’s (ask, advise, assess,

assist, arrange) and FRAMES (feedback, responsibility of patient, advice to change, menu of

options, empathy, self-efficacy enhancement) are effective for patients who are responsive to

education about health risk behavior. For patients ambivalent about change, motivational

interviewing is more likely to be successful. Capitalizing on a teachable moment may enhance

the effectiveness of health behavior change counseling. The BATHE (background, affect,

troubles, handling, and empathy) strategy is useful for patients with psychiatric conditions and

psychosocial issues.” H. Russell Searight, “Counseling patients in Primary Care: Evidence-based

strategies” (2018) Am. Fam. Physician, 98(12):719-728. American Academy of Family

Physicians.

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643.   “…counseling as the process of assisting people to overcome obstacles in their personal

growth and in their interpersonal relationships. It helps clear away such obstacles so that one’s

personal potential can be developed and realistic life goals achieved. Since the efficacy of

counseling has been proven, it has become an important aspect of family doctors’ work. Doctors

must assist patients and family members as they suffer from illnesses, as well as help them

handle their emotions during various life crises. Furthermore, a family physician will often

intentionally guide patients to move forward in their maturation process and personal

development.” Vincent H.K. Poon, “Model of counseling for Family Doctors” (2007) Canadian

Family Physician, 53:1013-14.


644.   Stipulation No. 73: “It is Dr. Beck’s opinion that Respondent’s boundary violations were

‘especially egregious’ because Respondent ‘functioned not only as a primary care physician but

also as a psychotherapist for much of the time when he was meeting with Patient A.”


645.   Plaintiff’s Expert Witness will testify that Dr Beck’s opinion was deficient and incorrect

for the following reasons:


(a) as stated above in paragraphs 277 and 278, the American Academy of Family Physicians has

several policy statements which assert that Family Physicians have an important role in

counseling and this does not make them function as “psychotherapists” as stated in Dr. Beck’s

opinion;


(b) Stipulation No. 66 lists the materials that Dr Beck reviewed which were provided to him by

BORIM, and no where in this list is any document or medical record which describes the 1992

Express Bilateral Contract terminating the doctor-patient relationship;

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(c) as stated in Stipulation No. 28 and also in paragraphs 254 – 261 above, sections of the

medical record were removed by Colon which could not have been reviewed by Dr. Beck;


(d) Dr. Beck’s expert opinion is especially deficient because material evidence of the 1992

Express Bilateral Contract terminating the doctor-patient relationship was intentionally and

purposefully concealed by defendants Spero, Colon and Wolfe.


646.   The Plaintiff’s expert witness will opine that Dr. Beck’s analysis and conclusions would

be substantially different had he known about the 1992 termination of the doctor-patient

relationship.


647.   At trial, following a subpoena to appear, Dr Beck will testify to the truth of the

paragraphs above.


648.   The Plaintiff’s credentials, education and training as well as the type of specialty which

he held himself out to the public, are vital elements for any medical malpractice case because the

Standard of Care, used to evaluate negligence or misconduct, greatly depends on the physician’s

specialty, education and training.


649.   During the years 1988 – 2003, the Plaintiff had only held himself out to the public as an

Emergency Department physician and a Family Physician.


650.   The Plaintiff had never represented himself to be any type of psychologist, psychiatrist,

psychotherapist or other type of mental health provider, although Defendant Stanley Spero

repeatedly attempted to portray the Plaintiff as a mental health provider because he asked

Lourdes Colon about issues which were upsetting to her.

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651.   As an Emergency Department physician and a Family Practice physician, the Plaintiff

never had any training on transference, counter-transference nor boundary violations.


652.   The Plaintiff’s expert witness will opine that Family Physicians do not routinely receive

training in psychotherapy, transference, counter-transference and boundary violations. They

receive limited training in counseling patients about emotional and behavioral problems.


653.   Stipulation No. 14:




654.   Stipulation No. 15:




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655.   In Stipulation No. 15, it states that Dr. Wolfe made a diagnostic impression in her

Admission Note dated August 9, 1992, and includes under Axis I: rule out Dissociative disorder

NOS.

       Defendant Lourdes Colon suffers/suffered from Dissociative Identity Disorder

656.   Subsequent medical records, from multiple clinical providers, and notes show that

Lourdes Colon did suffer from Dissociative Identity Disorder including Multiple Personality

Disorder.

       Colon diagnosed with Multiple Personality Disorder - Dissociative Identity Disorder

657.   At one point in time, Lourdes Colon informed the Plaintiff that she would sometimes

black-out for days to weeks at a time, have no memory or recollection of what took place during

those blacked-out periods of time – could not remember where she was, what she was doing,

what she saw or heard, or what happened, and that following some of these days-long or weeks-

long black-outs, she would “awaken” and find herself in other cities such as New York, Chicago,

Baltimore, Houston, sometimes even finding herself in another country such as Italy, England,

Brazil, Hong Kong, and Colon would have no memory or recollection of how she traveled to

those cities or countries nor when or where she may have gone.

658.   The Plaintiff’s expert witness will opine that Lourdes Colon most probably suffers or

suffered from Dissociative Identity Disorder (“DID”) and Multiple Personality Disorder

(“MPD”).

659.   These black-outs are typical occurrences for Multiple Personality Disorder where, for

example, the personality of Sally may take over and decide to travel to London, and several days

later, the personality of Susan would take over, not remember anything about Sally, or what

Sally did, saw, heard, or anything about Sally’s decision and actions in traveling to London.

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660.   Patients with Multiple Personality Disorder often have no memories or recollections of

what the other personalities did, thought or perceived when they transition to another of their

personalities.

661.   The Plaintiff has a psychologist Expert Witness opinion which diagnoses defendant

Lourdes Colon as most probably having a Dissociative Identity Disorder with Multiple

Personality predominance, which is concordant with Dr. Wolfe’s initial diagnostic opinion.

662.   Dissociative identity disorder (DID), also known as multiple personality disorder,

split personality disorder or dissociative personality disorder, is a member of the family of

dissociative disorders classified by the DSM-5, DSM-5-TR, ICD-10, ICD-11, and Merck Manual

for diagnosis. It remains a controversial diagnosis.

663.   Dissociative identity disorder is characterized by the presence of at least two distinct and

relatively enduring personality states.

664.   The disorder is accompanied by memory gaps more severe than could be explained by

ordinary forgetfulness.

665.   The personality states alternately show in a person's behavior; however, presentations of

the disorder vary.

666.   According to the DSM-5-TR, early childhood trauma, typically before the age of ~10

years, can place someone at risk of developing dissociative identity disorder.

667.   Across diverse geographic regions, 90% of individuals diagnosed with dissociative

identity disorder report experiencing multiple forms of childhood abuse, such as rape, violence,

neglect or severe bullying.




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668.   Other traumatic childhood experiences that have been reported include painful medical or

surgical procedures, war, terrorism, attachment disturbance, natural disaster, cult, and occult

abuse, loss of a loved one or loved ones, human trafficking, and dysfunctional family dynamics.

669.   There is no medication to treat DID directly. Medications can be used for comorbid

disorders or targeted symptom relief, for example antidepressants or treatments to improve sleep,

however.

670.   Treatment generally involves supportive care and psychotherapy.

671.   The condition usually persists without treatment.

672.   It is believed to affect 1.1–1.5% of the general population (based on multiple

epidemiological studies) and 3% of those admitted to hospitals with mental health issues in

Europe and North America.

673.   DID is diagnosed about six times more often in women than in men.

674.   The number of recorded cases increased significantly in the latter half of the 20th

century, along with the number of identities reported by those affected.

675.   It is unclear whether increased rates of the disorder are due to better recognition or

sociocultural factors such as mass media portrayals.

676.   The typical presenting symptoms in different regions of the world may also vary

depending on culture, such as alter identities taking the form of possessing spirits, deities, ghosts,

or mythical creatures and figures in cultures where normative possession states are common.

677.   Dissociation, the term that underlies dissociative disorders including DID, lacks a precise,

empirical, and generally agreed upon definition.




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678.   A large number of diverse experiences have been termed dissociative, ranging from

normal failures in attention to the breakdowns in memory processes characterized by the

dissociative disorders.

679.   It is therefore unknown if there is a commonality between all dissociative experiences, or

if the range of mild to severe symptoms is a result of different etiologies and biological

structures.

680.   Other terms used in the literature, including personality, personality state, identity, ego

state, and amnesia, also have no agreed upon definitions.

681.   Multiple competing models exist that incorporate some non-dissociative symptoms while

excluding dissociative ones.

682.   Due to the lack of consensus regarding terminology in the study of DID, several terms

have been proposed - One is ego state (behaviors and experiences possessing permeable

boundaries with other such states but united by a common sense of self), while the other term is

alters (each of which may have a separate autobiographical memory, independent initiative and a

sense of ownership over individual behavior).

683.   Ellert Nijenhuis and colleagues suggest a distinction between personalities responsible

for day-to-day functioning (associated with blunted physiological responses and reduced

emotional reactivity, referred to as the "apparently normal part of the personality" or ANP) and

those emerging in survival situations (involving fight-or-flight responses, vivid traumatic

memories and strong, painful emotions – the "emotional part of the personality" or EP).

684.   "Structural dissociation of the personality" is used by Onno van der Hart and colleagues

to distinguish dissociation they attribute to traumatic or pathological causes, which in turn is

divided into primary, secondary and tertiary dissociation.

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685.   According to this theory, primary dissociation prototypically involves one ANP and one

EP, while secondary dissociation prototypically involves an ANP and at least two EPs, and

tertiary dissociation, typically characterized in DID, is described as having at least two ANPs and

at least two EPs.

686.   Efforts to psychometrically distinguish between normal and pathological dissociation

have been made.

687.   The full presentation of dissociative identity disorder can onset at any age,[26] although

symptoms typically begin at ages 5–10.

688.   According to the fifth edition of the Diagnostic and Statistical Manual of Mental

Disorders (DSM-5), symptoms of DID include "the presence of two or more distinct personality

states" accompanied by the inability to recall personal information beyond what is expected

through normal memory issues.

689.   Other DSM-5 symptoms include a loss of identity as related to individual distinct

personality states, loss of one's subjective experience of the passage of time, and degradation of a

sense of self and consciousness.

690.   In each individual, the clinical presentation varies and the level of functioning can change

from severe impairment to minimal impairment.

691.   The symptoms of dissociative amnesia are subsumed under a DID diagnosis, and thus

should not be diagnosed separately if DID criteria are met.

692.   Individuals with DID may experience distress from both the symptoms of DID (intrusive

thoughts or emotions) and the consequences of the accompanying symptoms (dissociation

rendering them unable to remember specific information).

693.   The large majority of patients with DID report childhood sexual and/or physical abuse.

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694.   Amnesia between identities may be asymmetrical; identities may or may not be aware of

what is known by another.

695.   Individuals with DID may be reluctant to discuss symptoms due to associations with

abuse, shame, and fear.

696.   DID patients may also frequently and intensely experience time disturbances.

697.   Around half of people with DID have fewer than 10 identities and most have fewer than

100; although as many as 4,500 have been reported.

698.   The average number of identities has increased over the past few decades, from two or

three to now an average of approximately.

699.   However, it is unclear whether this is due to an actual increase in identities, or simply that

the psychiatric community has become more accepting of a high number of compartmentalized

memory components.

700.   The psychiatric history frequently contains multiple previous diagnoses of various

disorders and treatment failures.

701.   The most common presenting complaint of DID is depression, with headaches being a

common neurological symptom. Comorbid disorders can include substance use disorders, eating

disorders, anxiety disorders, bipolar disorder, personality disorders, and autism spectrum

disorder.

702.   A significant percentage of those diagnosed with DID have histories of borderline

personality disorder and post-traumatic stress disorder (PTSD).

703.   Presentations of dissociation in people with schizophrenia differ from those with DID as

not being rooted in trauma, and this distinction can be effectively tested, although both

conditions share a high rate of dissociative auditory hallucinations.

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704.   Other disorders that have been found to be comorbid with DID are somatization

disorders, major depressive disorder, as well as history of a past suicide attempt, in comparison

to those without a DID diagnosis.

705.   Disturbed and altered sleep has also been suggested as having a role in dissociative

disorders in general and specifically in DID, alterations in environments also largely affecting

the DID patient.

706.   Individuals diagnosed with DID demonstrate the highest hypnotizability of any clinical

population.

707.   Although DID has high comorbidity and its development is related to trauma, there exists

evidence to suggest that DID merits a separate diagnosis from other conditions like PTSD.

708.   There are two competing theories on what causes dissociative identity disorder to

develop.

709.   The trauma-related model suggests that trauma or severe adversity in childhood, also

known as developmental trauma, increases the risk of someone developing dissociative identity

disorder.

710.   The non-trauma related model, also referred to as the Sociocognitive model or the fantasy

model, suggests that dissociative identity disorder is developed through high fantasy-proneness

or suggestibility, roleplaying, or sociocultural influences.

711.   The DSM-5-TR states that "early life trauma (e.g., neglect and physical, sexual, and

emotional abuse, usually before ages 5-6 years) represents a risk factor for dissociative identity

disorder."

712.   Other risk factors reported include painful medical procedures, war, terrorism, or being

trafficked in childhood.

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713.   Dissociative disorders frequently occur after trauma.

714.   DSM-5-TR places them after the trauma- and stressor-related disorders to reflect this

close relationship.

715.   Dissociative identity disorder is often conceptualized as "the most severe form of a

childhood onset post-traumatic stress disorder."

716.   According to many researchers, the etiology of dissociative identity is multifactorial,

involving a complex interaction between developmental trauma, sociocultural influences, and

biological factors.

717.   People diagnosed with dissociative identity disorder often report that they have

experienced physical or sexual abuse during childhood (although the accuracy of these reports

has been disputed); others report overwhelming stress, serious medical illness, or other traumatic

events during childhood.

718.   They also report more historical psychological trauma than those diagnosed with any

other mental illness.

719.   Severe sexual, physical, or psychological trauma in childhood has been proposed as an

explanation for its development; awareness, memories, and emotions of harmful actions or

events caused by the trauma are removed from consciousness, and alternate personalities or

subpersonalities form with differing memories, emotions and behavior.

720.   Dissociative identity disorder is attributed to extremes of stress or disorders of

attachment. What may be expressed as post-traumatic stress disorder (PTSD) in adults may

become dissociative identity disorder when occurring in children, possibly due to their greater

use of imagination as a form of coping.




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721.   Possibly due to developmental changes and a more coherent sense of self past the age of

six, the experience of extreme trauma may result in different, though also complex, dissociative

symptoms and identity disturbances.

722.   A specific relationship between childhood abuse, disorganized attachment, and lack of

social support are thought to be a necessary component of dissociative identity disorder.

723.   Although what role a child's biological capacity to dissociate to an extreme level remains

unclear, some evidence indicates a neurobiological impact of developmental stress.

724.   Delinking early trauma from the etiology of dissociation has been explicitly rejected by

those supporting the early trauma model.

725.   However, a 2012 review article supports the hypothesis that current or recent trauma may

affect an individual's assessment of the more distant past, changing the experience of the past

and resulting in dissociative states.

726.   Giesbrecht et al. have suggested there is no actual empirical evidence linking early

trauma to dissociation, and instead suggest that problems with neuropsychological functioning,

such as increased distractibility in response to certain emotions and contexts, account for

dissociative features.

727.   A middle position hypothesizes that trauma, in some situations, alters neuronal

mechanisms related to memory. Evidence is increasing that dissociative disorders are related

both to a trauma history and to "specific neural mechanisms".

728.   It has also been suggested that there may be a genuine but more modest link between

trauma and dissociative identity disorder, with early trauma causing increased fantasy-proneness,

which may in turn render individuals more vulnerable to socio-cognitive influences surrounding

the development of dissociative identity disorder.

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729.   Another suggestion made by Hart indicates that there are triggers in the brain that can be

the catalyst for different self-states, and that victims of trauma are more susceptible to these

triggers than non-victims of trauma; these triggers are said to be related to dissociative identity

disorder.

730.   Paris states that the trauma model of dissociative identity disorder increased the appeal of

the diagnosis among health care providers, patients and the public as it validated the idea that

child abuse had lifelong, serious effects.

731.   Neuroimaging studies have reported a consistently smaller volume of the hippocampus in

DID patients, supporting the trauma model.

732.    In addition, presentations can vary across cultures, such as Indian patients who only

switch alters after a period of sleep – which is commonly how dissociative identity disorder is

presented by the media within that country.

733.    Lower rates in other countries may be due to artificially low recognition of the diagnosis.

734.    As of 2011, approximately 250 cases of dissociative identity disorder in children have

been identified, though the data does not offer unequivocal support for either theory.

735.   An analysis of diagnosis of children reported in scientific publications, 44 case studies of

single patients were found to be evenly distributed (i.e., each case study was reported by a

different author) but in articles regarding groups of patients, four researchers were responsible

for the majority of the reports.

736.   The initial theoretical description of dissociative identity disorder was that dissociative

symptoms were a means of coping with extreme stress (particularly childhood sexual and

physical abuse), but this belief has been challenged by the data of multiple research studies.




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737.   Proponents of the trauma-related model claim the high correlation of child sexual and

physical abuse reported by adults with dissociative identity disorder corroborates the link

between trauma and dissociative identity disorder.

738.   However, the link between dissociative identity disorder and maltreatment has been

questioned for several reasons.

739.   The studies reporting the links often rely on self-report rather than independent

corroborations, and these results may be worsened by selection and referral bias.

740.   Most studies of trauma and dissociation are cross-sectional rather than longitudinal,

which means researchers can not attribute causation, and studies avoiding recall bias have failed

to corroborate such a causal link.

741.   In addition, studies rarely control for the many disorders comorbid with dissociative

identity disorder, or family maladjustment (which is itself highly correlated with dissociative

identity disorder).

742.   The popular association of dissociative identity disorder with childhood abuse is

relatively recent, occurring only after the publication of Sybil in 1973.

743.   Most previous examples of "multiples" such as Chris Costner Sizemore, whose life was

depicted in the book and film The Three Faces of Eve, disclosed no history of childhood abuse.

744.   Despite research on DID including structural and functional magnetic resonance imaging,

positron emission tomography, single-photon emission computed tomography, event-related

potentials, and electroencephalography, no convergent neuroimaging findings have been

identified regarding DID, with the exception of smaller hippocampal volume in DID patients.

745.   In addition, many of the studies that do exist were performed from an explicitly trauma-

based position.

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746.    There is no research to date regarding the neuroimaging and introduction of false

memories in DID patients, though there is evidence of changes in visual parameters[81] and

support for amnesia between alters.

747.    DID patients also appear to show deficiencies in tests of conscious control of attention

and memorization (which also showed signs of compartmentalization for implicit memory

between alters but no such compartmentalization for verbal memory) and increased and

persistent vigilance and startle responses to sound. DID patients may also demonstrate altered

neuroanatomy.

748.    Neuroimaging studies have reported a consistently smaller volume of the hippocampus in

DID patients.

749.    The fifth, revised edition of the American Psychiatric Association's Diagnostic and

Statistical Manual of Mental Disorders (DSM-5) diagnoses DID according to the diagnostic

criteria found under code 300.14 (dissociative disorders).

750.    DID is often initially misdiagnosed because clinicians receive little training about

dissociative disorders or DID, and often use standard diagnostic interviews that do not include

questions about trauma, dissociation, or post-traumatic symptoms.

751.    This contributes to difficulties diagnosing the disorder, and clinician bias.

752.    DID is rarely diagnosed in children, despite the average age of appearance of the first

alter being three years old.

753.    The criteria require that an individual be recurrently controlled by two or more discrete

identities or personality states, accompanied by memory lapses for important information that is

not caused by alcohol, drugs or medications and other medical conditions such as complex

partial seizures.

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754.   In children the symptoms must not be better explained by "imaginary playmates or other

fantasy play".

755.   Diagnosis is normally performed by a clinically trained mental health professional such

as a psychiatrist or psychologist through clinical evaluation, interviews with family and friends,

and consideration of other ancillary material. Specially designed interviews (such as the SCID-

D) and personality assessment tools may be used in the evaluation as well.

756.   Since most of the symptoms depend on self-report and are not concrete and observable,

there is a degree of subjectivity in making the diagnosis.

757.   People are often disinclined to seek treatment, especially since their symptoms may not

be taken seriously; thus dissociative disorders have been referred to as "diseases of hiddenness".

758.   The existence of the condition and its inclusion in the DSM is supported by multiple lines

of reliable evidence, with diagnostic criteria allowing it to be clearly discriminated from

conditions it is often mistaken for (schizophrenia, borderline personality disorder, and seizure

disorder).

759.   Patients with DID are diagnosed with 5-7 comorbid disorders on average – much higher

than other mental illnesses.

760.   Due to overlapping symptoms, the differential diagnosis includes schizophrenia, normal

and rapid-cycling bipolar disorder, epilepsy, borderline personality disorder, and autism

spectrum disorder.

761.   Delusions or auditory hallucinations can be mistaken for speech by other personalities.

762.   Persistence and consistency of identities and behavior, amnesia, measures of dissociation

or hypnotizability and reports from family members or other associates indicating a history of

such changes can help distinguish DID from other conditions.

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763.   A diagnosis of DID takes precedence over any other dissociative disorders.

764.   Most individuals who enter an emergency department and are unaware of their names are

generally in a psychotic state.

765.   Although auditory hallucinations are common in DID, complex visual hallucinations may

also occur.

766.   Those with DID generally have adequate reality testing; they may have positive

Schneiderian symptoms of schizophrenia but lack the negative symptoms.

767.   They perceive any voices heard as coming from inside their heads (patients with

schizophrenia experience them as external).

768.   In addition, individuals with psychosis are much less susceptible to hypnosis than those

with DID.

769.   DID must be distinguished from, or determined if comorbid with, a variety of disorders

including mood disorders, psychosis, anxiety disorders, PTSD, personality disorders, cognitive

disorders, neurological disorders, epilepsy, somatoform disorder, factitious disorder,

malingering, other dissociative disorders, and trance states.

770.   An additional aspect of the controversy of diagnosis is that there are many forms of

dissociation and memory lapses, which can be common in both stressful and non-stressful

situations and can be attributed to much less controversial diagnoses.

771.   A relationship between DID and borderline personality disorder has been posited, with

various clinicians noting overlap between symptoms and behaviors and it has been suggested

that some cases of DID may arise "from a substrate of borderline traits".




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772.    Reviews of DID patients and their medical records concluded that the majority of those

diagnosed with DID would also meet the criteria for either borderline personality disorder or

more generally borderline personality.

773.    The DSM-5 elaborates on cultural background as an influence for some presentations of

DID.

774.    Many features of dissociative identity disorder can be influenced by the individual's

cultural background. Individuals with this disorder may present with prominent medically

unexplained neurological symptoms, such as non-epileptic seizures, paralyses, or sensory loss, in

cultural settings where such symptoms are common.

775.    Similarly, in settings where normative possession is common (e.g., rural areas in the

developing world, among certain religious groups in the United States and Europe), the

fragmented identities may take the form of possessing spirits, deities, demons, animals, or

mythical figures.

776.    Acculturation or prolonged intercultural contact may shape the characteristics of other

identities (e.g., identities in India may speak English exclusively and wear Western clothes).

777.    Possession-form dissociative identity disorder can be distinguished from culturally

accepted possession states in that the former is involuntary, distressing, uncontrollable, and often

recurrent or persistent; involves conflict between the individual and his or her surrounding

family, social, or work milieu; and is manifested at times and in places that violate the norms of

the culture or religion.

778.    RE: Forensic issues with Dissociative Identity Disorder: Medico-legal Cases -Below is

more extensive references and discussion about Multiple Personality Disorder, including the

extensive forensic and legal caselaw on how Courts have managed the disposition of, for

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example, if Sally is sitting in the courtroom and has no recollection nor memory of how Susan

murdered John, and Sally may have no memory of John nor could Sally recognize John if shown

photographs of him.

779.   Multiple Personality Disorder frequently arises in persons who have had substantial

childhood trauma, such as the repeated rapes of Lourdes Colon by her father at gun-point during

her childhood and adolescence.

           Gross negligence and medical malpractice by defendant Lisa Wolfe

780.   By her education, training and specialization, the defendant Lisa Wolfe should have

known that there might be great peril and would be very precarious for a person with

Dissociative Identity Disorder – or Multiple Personality Disorder – like the defendant Lourdes

Colon to terminate the doctor-patient relationship with her primary care doctor in order to

transition to another type of relationship.

781.   Dr Lisa Wolfe’s providing the advice, approval and dictation of the 1992 Express

Bilateral Contract terminating the doctor-patient relationship between the Plaintiff and Lourdes

Colon comprises gross negligence and medical malpractice, and may be the proximate cause of

any mental distress or emotional injuries suffered by Lourdes Colon.

782.   After recognizing the risk for allegations of gross negligence and medical malpractice,

the defendant Lisa Wolfe went to great lengths to conceal the material evidence of her

participation in the termination contract in order to “protect her ass.”

783.   The failure of defendant Lisa Wolfe to share this diagnostic information with the Plaintiff

comprised gross negligence and medical malpractice and was a substantial factor in the course of

events leading to the revocation of the Plaintiff's medical license.




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784.   The information contained in this Complaint and subsequent discovery will be shared

with the Psychology licensing board to be considered grounds for revocation of Dr Wolfe’s

license and certification.

         Plaintiff’s caring and supportive role according to HRI medical records

785.   Stipulation No. 16:




786.   Stipulation 16 notes the Plaintiff’s referral of Lourdes Colon to HRI in July 1992, a

psychiatric hospital, where she was under the care of Defendant Lisa Wolfe - who later was to

play an instrumental role in encouraging, the formation of and verbatim dictation of the express

bilateral contract terminating the doctor-patient relationship, which was formed and executed in

August 1992 – “… and Dr Weinberg …were also very instrumental in helping her to move from

her suicidal mindset …”

787.   Stipulation No. 16 corroborates the caring and protective steps that the Plaintiff took to

ensure that Lourdes Colon’s health and safety took precedence.

788.   From 1989 – 1994 when the Plaintiff was last taking care of Lourdes Colon, he always

exercised the greatest care in protecting Colon’s best interests and helping to stabilize her mental

health as much as was possible.



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789.      From 1989 through 1995, the Plaintiff observed that Lourdes Colon was relatively stable

from a mental health point of view.

790.      In 1994 – 1995, the Plaintiff was training in a Family Medicine residency program in

Lawrence, MA, and was quite busy with nights and weekends on-call; during this time the

Plaintiff was meeting with Lourdes Colon much less frequently – maybe once every 4 – 6 weeks.

791.      During 1996, enormous pressures and stress was exerted on Lourdes Colon in coercing

her to separate and distance herself from the Plaintiff, leading up to the lawsuit which she filed at

Stanley Spero’s urging and coercing.

792.      The Plaintiff ran into Lourdes Colon while she was driving her car in Lexington, MA,

and Colon became hysterical and crying profusely that “they are making me do things I don’t

want to do” and “they are forcing me to go to the medical board.”

793.      The Plaintiff believes that these enormous pressures and stresses coercing Colon to file

the lawsuit and report him to BORIM were substantial factors in any deterioration of her mental

health.

794.      Stipulation No. 15 below includes within the Axis I psychiatric diagnoses: Major

depression; rule out dysthymia, PTSD, Dissociative disorder NOS, eating disorder NOS, and

organic mood disorder in addition to the Axis III disorders including seizures, syncopal episodes,

and anorexia.




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       Serious psychiatric diagnoses of Colon and Gross negligence by Dr. Wolfe

795.    Stipulation No. 15:




796.    The actions and decisions of defendant Lisa Wolfe, considering these serious psychiatric

disorders (which were not known at the time to the Plaintiff), in recommending, advising,

encouraging the Plaintiff to terminate the doctor-patient relationship comprises gross medical

negligence, medical malpractice, gross psychiatric misconduct, violation of the ethical rules of

the American Psychological Association, were the proximate cause of multiple injuries and

damages to both the Plaintiff and the defendant Lourdes Colon.

797.    These egregious actions and conduct by defendant Lisa Wolfe will be reported to the

appropriate mental health boards and licensing authorities.




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               Evidence of Dr. Wolfe’s gross negligence and medical misconduct

798. Stipulation No.15: [Axis I notes very serious psychopathology which was never shared
by Dr. Wolfe with the Plaintiff]




                 Psychologist gross negligence and medical malpractice

799.   Although defendant Lisa Wolfe never shared these notes with the Plaintiff prior to the

lawsuit and disciplinary actions by the medical board, it became obvious that her

recommendations and formation/dicatation of the termination contract was a blatant case of gross

negligence and psychological/medical malpractice as a psychologist - the PTSD and Dissociative

Disorders noted in Wolfe’s note portends tragedy in the making.

800.   Based on her differential diagnosis of dissociative disorder NOS, not known to the

Plaintiff at the time, it was foreseeable that Colon was at risk for disintegration of her personality

into a Multiple Personality Disorder, which indeed did occur during 1995 – 1996 when

defendants Stanley Spero and Lisa Wolfe exerted tremendous psychological and emotional

pressures on Colon to separate herself from the stabilizing effects that the Plaintiff provided



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while forcing her to file legal actions against the Plaintiff – which resulted in her rapid spiraling

deterioration of her mental health during the years 1995 – 1996.

801.   Given these Axis I diagnoses of Major Depression and rule out PTSD, Dissociative

disorder and organic mood disorder, most psychologists would not have recommended nor

encouraged a physician to terminate the doctor-patient relationship. Such action by Wolfe were

grossly negligent and were a substantial factor in the deterioration of Colon’s mental health.

802.   Had the Plaintiff known of these Axis I diagnoses, the Plaintiff would never have agreed

to terminate the doctor-patient relationship. It was grossly negligent for Wolfe not to have shared

this information with the Plaintiff, which could have allowed him to make different decisions

and different choices.

803.   Stipulation No. 16:




804.   Stipulation No. 16 further corroborates the supportive and protective motivations of the

Plaintive that “ … and Dr. Weinberg … were also very instrumental in helping her to move from

her suicidal mindset … “

805.   From 1989 – 1994 when the Plaintiff was last taking care of Lourdes Colon, he always

exercised the greatest care in protecting Colon’s best interests and helping to stabilize her mental

health as much as was possible.



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806.   The evidence will show that from 1992 – 1994, the Plaintiff provided a supportive and

protective resource to Loudes Colon stabilizing her mental health and allowing her to live and

work a normal life.

807.   However, extreme stresses induced by the pressures from defendants Lisa Wolfe and

Stanely Spero forcing the separation and splitting of the Plaintiff from his relationship with

Lourdes Colon between 1995 – 1996 (leading up to Colon’s legal actions in 1996) were

instrumental in causing the deterioration of her mental health, exacerbating her dissociative

disorder, culminating in the explosive disintegration of Colon’s personality into a Multiple

Personality Disorder, without the stabilizing effects of the Plaintiff’s support.

808.   From 1989 – 1994 when the Plaintiff was last taking care of Lourdes Colon, he always

exercised the greatest care in protecting Colon’s best interests and helping to stabilize her mental

health as much as was possible.

809.   Stipulation Nos. 18 - 19:




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810.      There is no evidence in the record that the Plaintiff acted or conducted himself as “more

of a friend than a doctor to her right now …” , but these are the impressions and thoughts of

defendant Lisa Wolfe which are uncorroborated hearsay evidence and more personal thoughts

without any supporting evidence. Such a statement lacks substantial evidentiary support in the

record.

811.      Stipulation No. 20:




812.      Stipulation No. 20 is further evidence and corroboration that Lourdes Colon [Patient A]

had been receiving regular psychological treatment and therapy by Dr. Paula Lazar between

1988 and 1994 so that there would be no need for the Plaintiff to refer her for psychological help

or treatment as Magistrate Luick suggested in her final Recommended Decision.
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813.   This stipulated finding of fact proves that the statements of material fact – in the

decisions of the Mass SJC and Maine SJC - that the Plaintiff did not provide adequate or needed

mental health referrals were unfounded, false and incorrect.

814.   Stipulation No. 20 contradicts several false statements of material fact stated in both the

published decision and opinion from the Massachusetts Supreme Judicial Court and from Ellen

Gorman’s published decision from the Maine Supreme Judicial Court.

815.   PLAINTIFF WILL SEEK INJUNCTIVE RELIEF TO STRIKE FROM THE

RECORD ALL SUCH STATEMENTS OF MATERIAL FACT AS FALSE,

INACCURATE, CONTRARY TO ALL EVIDENCE AND CONTRARY TO THE

STIPULATIONS, GROUNDLESS, WITHOUT FOUNDATION, AND LACKING

SUBSTANTIAL EVIDENTIARY SUPPORT.

816.   Such blatantly false statements of material fact greatly undermine the validity of the

conclusions reached by the Mass SJC and the Maine SJC as well as undermining the validity of

the punishment imposed on the Plaintiff in light of those egregiously false statements of material

fact in those opinions and decisions.

817.   PLAINTIFF WILL SEEK INJUNCTIVE RELIEF TO STRIKE FROM THE

RECORD ALL SUCH STATEMENTS OF MATERIAL FACT AS FALSE,

INACCURATE, CONTRARY TO ALL EVIDENCE AND CONTRARY TO THE

STIPULATIONS, GROUNDLESS, WITHOUT FOUNDATION, AND LACKING

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818.   Stipulation No. 24:




819.   Stipulation No. 24 shows that the BEMC records show the Plaintiff’s name being crossed

out in a request for prescription medicines and replaced with a notation on 11/6/92 stating “She

is not WR’s pat” and another notation on 11/7/92 adding that the prescriptions were called in by

Dr. Fringer.

820.   Furthermore Stipulation No. 24 indicates that:

“Dr. Lisa Wolfe’s out-patient psychotherapy records note that on 8/24/94, 9/19/94, 9/27/94,

10/4/94, 10/14/94, 12/8/94, 12/13/94, 12/16/94, & 12/29/94 patient A used the expression

“former physician” or “former M.D.” when referring to her then-current relationship with the

Respondent.”

821.   Stipulation No. 24 is corroboration of the express bilateral contract terminating the

doctor-patient relationship which the Plaintiff greatly relied upon during his subsequent
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treatment and conduct with Lourdes Colon, and also corroborates the establishment of clinical-

nonclinical binary classification of time and place – the clinical world and the non-clinical world

– which were established by the modified bilateral express contract terminating the doctor-

patient relationship.

822.     Stipulation No. 24 is further evidence of the bilateral express contract terminating the

doctor-patient relationship is seen in Dr . Lisa Wolfe’s out-patient psychotherapy records noting

that Lourdes Colon referred to the Plaintiff as her “former physician” or “former M.D.” when

referring to her then-current relationship with the Plaintiff in notes made on 8/24/94, 9/19/94,

10/4/94, 10/14/94, 12/8/94, 12/13/94, 12/16/94 and 12/29/94.

823.     Stipulation No. 24 corroborates the formation and execution of the Express Bilateral

Contract between the Plaintiff and Lourdes Colon which terminated the doctor-patient

relationship.

824.     Stipulation No. 24 also corroborates the modified contract providing the clinical-

nonclinical binary classification of place and time with the establishment of the two different

worlds which the Plaintiff was acting/behaving within – the clinical world and the non-clinical

world.

825.     Stipulation No. 6. “On March 19, 1991, Patient A [defendant Lourdes Colon] first

discussed her mental health problems with Respondent. She indicated that she was upset because

she learned that her sister had AIDS. Respondent noted that she needed counseling.”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

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826.   The counseling recommended by the Plaintiff is a usual and typical recommendation

made by most Family Medicine physicians, and does not show or prove that the Plaintiff is or

was acting as a psychologist or a psychotherapist, nor that he was trained or educated about

transference, counter-transference, and boundary violations.

827.   Stipulation No. 11. “On July 6, 1992, Respondent had an extensive thirty (30) minute

counseling session with Patient A at BEMC. They discussed her suicide attempts. Respondent

noted in Patient A’s medical record that Patient A was in psychotherapy with a therapist who

specialized in Post Traumatic Stress Disorder (PTSD).” [“Magistrate Sarah H. Luick, Exhibit A,

Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P.

Weinberg, Issued on May 16, 2002, page 4”]

828.   Stipulation No. 11 reveals that the Plaintiff knew that Lourdes Colon was in psycho-

therapy with a therapist who specialized in Post Traumatic Stress Disorder (PTSD), and the

Plaintiff acted reasonably upon that information, that Lourdes Colon was receiving the

psychological care which she needed, and no further action was needed by the Plaintiff.

Notations in the medical records reveal that Colon was receiving

psychological/psychotherapy/psychiatric care from Dr. Lisa Wolfe, Dr. Paula Lazar and Dr.

Amy Banks.

829.   The Plaintiff’s knowledge of the therapists and psychological treatment which was being

rendered contradicts false statements of material fact made by Magistrate Luick in her DALA

decision and by Justice Ellen Gorman in her opinion and decision in the Maine SJC.

830.   PLAINTIFF WILL SEEK INJUNCTIVE RELIEF TO STRIKE FROM THE

RECORD ALL SUCH STATEMENTS OF MATERIAL FACT AS FALSE,

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INACCURATE, CONTRARY TO ALL EVIDENCE AND CONTRARY TO THE

STIPULATIONS, GROUNDLESS, WITHOUT FOUNDATION, AND LACKING

SUBSTANTIAL EVIDENTIARY SUPPORT.

831.   Those false statements of material fact in the Mass SJC decision and Maine SJC decision,

as stated within the texts of those decisions, substantially undermine the validity and logic of the

conclusions reached in those courts and also undermine the actions taken by those courts to

punish the Plaintiff – by affirming the revocation of his medical license and affirming the Board

of Bar Examiners’ decision not to admit the Plaintiff to the Bar – if the relevant law is applied to

false statements of material fact, the resulting conclusions will also be false and non sequitur.

832.   Stipulation No. 15. “In an Admission Note dated August 9, 1992, Dr. Wolfe noted that

Patient A was sent from BEMC after reporting suicidal ideation and worsening depression to her

Internist. Dr. Wolfe indicated that the diagnostic impression of Patient A was:

       Axis I: Major Depression; rule out: dysthymia, PTSD, Dissociative Disorder NOS, eating

               disorder NOS, and organic mood disorder

       Axis II Deferred

       Axis III Syncopal episodes and history of seizures, recent back surgery, history of

               anorexia

833.   Defendant Lisa Wolfe had a duty to inform the Plaintiff of the Axis I diagnoses on

Lourdes Colon so that he would be able to act reasonably upon that information which he did not

know nor have, and would probably have been a substantial factor in the Plaintiff's decision to

terminate or not to terminate the doctor-patient relationship under an Express Bilateral contract

which was drafted and dictated by the defendant Lisa Wolfe.




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834.    The breach of that duty which Dr Wolfe owed to the Plaintiff, with the proximate injuries

which it caused, comprise the prima facie case for tortious activity which is actionable.

835.    Patient A was hospitalized at HRI from July 30, 1992 until September 11, 1992.”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 5 ]

836.    Stipulation No. 14. “On July 30, 1992, Respondent met with Patient A at BEMC.

Respondent determined that Patient A needed to be hospitalized and he committed her to the

Human Resource Institute (HRI), a psychiatric hospital, noting in her medical record that she

was decompensating.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

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16, 2002, page 4 ]

837.    Stipulation No. 16. “During her hospitalization, Respondent attended a family meeting

with Patient A and her sister. Dr. Wolfe’s notes for 8/14/92 state as follows:

        “Met with the patient, her sister Yvette, and her internist, Dr. Weinberg. The patient

        revealed her plan to commit suicide after her discharge … Her sister and Dr. Weinberg

        … were also very instrumental in helping her to move from her suicidal mindset … ”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

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838     Stipulation No. 17. “On August 31, 1992, Patient A left HRI without authorization, and

went to Respondent’s office at BEMC. Responded re-committed Patient A to HRI.” [“Magistrate

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Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and

Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 5”]

839.    Again the factual record reveals that the Plaintiff hospitalized defendant Lourdes Colon

on multiple occasions when he believed that she needed that mental health treatment. These

stipulations and the medical record corroborate the supportive and protective roles which the

Plaintiff provided in stabilizing Lourdes Colon’s mental health.

840.    Stipulation 18. “On September 1, 1992, Patient A discussed her relationship with

Respondent with her therapist Lisa Wolfe, Ph.D. who wrote: ‘The patient and I also discussed

her relationship with Dr. Weinberg, her internist, who seems to be more of a friend than a doctor

to her right now. The patient and I called him and the patient was able to state to him her need to

transfer her medical care to a different doctor so that her developing friendship with Dr.

Weinberg does not present a dual relationship any longer.” [“Magistrate Sarah H. Luick, Exhibit

A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

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Weinberg, Issued on May 16, 2002, pages 5-6]

841.    The Plaintiff has never stated that at that time he believed or felt himself to be more of a

friend than a doctor. Stipulation no. 18 only states the thoughts and words of Dr. Wolfe and what

she wrote in the medical record. It is false and incorrect to state that the Plaintiff felt like a

friend, or that they were friends, because this record only reflects the thoughts of Dr Wolfe and

her observations of defendant Lourdes Colon.




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842.   Likewise stipulation no. 19 only states what Dr Wolfe wrote in her medical record and

any conclusion that the Plaintiff did feel that way or believe that way is unfounded and without

substantial evidentiary support.

843.   There is no stipulation about the Plaintiff’s feelings, beliefs or thoughts; the stipulations

only apply to Dr. Wolfe’s thoughts and observations of defendant Lourdes Colon.

844.   In the absence of specific speech or writing by the Plaintiff, there is no factual evidence

that what Dr Wolfe was writing in the medical record reflects any of the Plaintiff’s feelings or

thoughts – these only represent Dr Wolfe’s thoughts and impressions.

845.   These medical records only hold truths which may have been held or believed by

Defendant Dr Wolfe and defendant Lourdes Colon, and the statement that the Plaintiff and

Lourdes Colon seemed more like friends lacks substantial evidentiary support.

846.   Thus any conclusions about whether the Plaintiff acted in any way to foster or induce the

belief that he was a “friend” is uncorroborated, without foundation and lacking evidentiary

support – except possibly by hearsay evidence from the other defendants.

847.   Stipulation No. 19. “The Discharge Plan in a Psychiatric Summary dated November 11,

1991, states, ‘It was recommended that Dr. Weinberg step out of his role as her (Patient A’s)

prescribing physician since he and the patient had become so close that they change their

relationship so that he would no longer be functioning as her doctor. Dr. Weinberg was,

however, able to refer the patient to someone who could prescribe her medications at Boston

Evening Medical Center.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

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848.   Stipulation No. 20. “Between 1988 and August 1994, patient A’s regular psychotherapist

was Dr. Paula Lazar.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

Petitioner Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May

16, 2002, page 6 ]

849.   Stipulation No. 20. “Between 1988 and August 1994, patient A’s regular psychotherapist

was Dr. Paula Lazar.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of

Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074,

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850.   Stipulation No. 20 along with testimony under oath show that Lourdes Colon (“patient

A”) was receiving regular and ongoing mental health care during the years 1988 – 2006 with

either Paula Lazar or with Lisa Wolfe, proving that the statements of material fact in the Mass

SJC decision and the Maine SJC decisions that the Plaintiff did not refer Lourdes Colon for

mental health consultation are false, incorrect, without foundation, lacking evidentiary support

and groundless and those conclusions reached in the Mass SJC and Maine SJC decisions are

therefore false and non-sequitur.

851.   PLAINTIFF WILL SEEK INJUNCTIVE RELIEF TO STRIKE FROM THE

RECORD ALL SUCH STATEMENTS OF MATERIAL FACT AS FALSE,

INACCURATE, CONTRARY TO ALL EVIDENCE AND CONTRARY TO THE

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852.   Stipulation No. 24. “… this was crossed out and replaced with a reference to Dr. Reichel,

with a notation on 11/6/92 stating: ‘She is now WR’s pat, ….. patient A used the expression

‘former physician’ or ‘former M.D.’ when referring to her then current relationship with the

Respondent’ ” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s

counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner

Board of Registration in Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002,

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853.   Stipulation No. 24 along with sworn testimony under oath corroborate the 1992 Bilateral

Express contract terminating the doctor-patient relationship between the Plaintiff and Lourdes

Colon along with its subsequent modification providing a clinical-nonclinical binary

classification for time and place.

854.   This is continuing corroboration that both Dr. Wolfe and Lourdes Colon believed that the

termination express bilateral contract did terminate the Plaintiff’s role as a physician and he had

transitioned to “former physician” or “former M.D.”

855.   Stipulation No. 24. “Patient A saw Dr. Reichel at BEMC on 9/28/92, 10/6/92, 11/17/92,

11/24/92, 12/21/92, 1/4/93, and 1/25/93. Some of these visits concerned Patient A’s mental

health. ” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel

John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of

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856.   Stipulation No. 27. “On August 11, 1994, Respondent indicated in Patient A’s medical

record that she intended to change doctors.” [“Magistrate Sarah H. Luick, Exhibit A, Joint

Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket




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857.   Stipulation No. 26 identifies the following doctors/clinicians as providing medical care to

Lourdes Colon: Dr Lee, Dr. Grevelink, Dr. Beretta, Dr. Awbrey, Dr. Banks, Dr. Berkowitz, Dr.

Richard Brodie, Dr. Sidney Brodie, Dr. Finlayson, Dr. Friedensohn, Dr. Ghavami, Dr.

Grossman, Dr. Hernandez, Dr. Karlson, Dr. Khatri, Dr. Leet, Dr. Pham, Dr. Rees, Dr. Reichel,

Dr. Reilly, Dr. Ryan, Dr. Tedlow, Dr. Thaler, Dr. David Weinberg, and Dr. Robert Weinberg.

Some of these clinicians had provided counseling to Lourdes Colon.

858.   Dr. Amy Banks is a certified licensed psychiatrist who worked at BEMC during the 1989

to 1995 period of time.

859.   Stipulation No. 28. “It was noted in Patient A’s medical record on January 14, 1993, that

Patient A had removed sections from her record that included entries from the spring and

summer of 1992.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s

counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner

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860.   Stipulation No. 29. “Respondent’s last visit with Patient A at BEMC was in September

1994.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John

Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of

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861.   Stipulation 29, which provides the date of the Plaintiff’s last clinical visit with Lourdes

Colon (“Patient A”) at BEMC in September 1994, documents the last month that the Plaintiff

was able to provide supportive and protective care in stabilizing Lourde Colon’s mental health,

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and marks the beginning of Colon’s deterioration of her mental health which spiraled downhill

during 1995 – 1996, as defendants Lisa Wolfe and Stanley Spero exercised extreme pressures

and stresses on Lourdes Colon forcing her separation from the Plaintiff – as they coerced her into

filing legal proceedings against the Plaintiff - causing her to decompensate, lose touch with

reality, develop a psychotic break and plunge into the dissociative processes forming her

Multiple Personalities.

862.   The Plaintiff had begun his Lawrence residency training in July 1994, and had cut back

significantly on the number of hours which he worked at BEMC and with the evening/weekend

duties imposed by the residency, greatly reduced the number of times that the Plaintiff was able

to meet with Colon in 1995 – 1996.

863.   Stipulation No. 30 “Patient A’s last visit to BEMC was on November 5, 1996.”

[Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

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864.   November 1996 was approximately 1 month before defendant Lourdes Colon filed her

lawsuit against BEMC and the Plaintiff Colon v. Weinberg, Wesselhoeft, Boston Evening

Medical Center, et al. in Middlesex Superior Court.

       Pressures to force separation and isolation of Plaintiff from Lourdes Colon

865.   1996: Enormous pressures on Lourdes Colon - by family, Lisa Wolfe and Stanley Spero

to separate and distance herself from the Plaintiff, file lawsuit in Middlesex Superior Court and

report the Plaintiff to the medical board.




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866.   There are no stipulations in the record showing either that Lourdes Colon was

experiencing significantly greater mental distress, depression, anxiety, or any type of

deterioration.

867.   In 1996, Lourdes Colon began spiral downspin leading to her nervous breakdown and

psychotic break from reality, which occurred after her last visit to BEMC while she was being

super stressed by family, Lisa Wolfe and Stanley Spero.

868.   After a careful review of the BEMC medical records, BORIM did not find any notations

from Dr. Reichel or from the other twenty (20) physicians regarding any worsening or serious

psychological problems during 1993 – 1996 nor were any noted in the Stipulations.

869.   Stipulation No. 33. “On or about September 3, 1992, while she was still hospitalized at

HRI, Respondent brought Patient A to Countway Library, in order to open a user account for her

so that she could do medical research for him. The HRI notes for 9/7/92 indicate that Patient A

was, “…looking forward to research project she plans to begin working on come Tues. ”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 10 ]

870.   Stipulation No. 34. “From September 1992 until 1994, Patient A served as a research

assistant for Respondent. Patient A met with Respondent at his office at MIT, usually weekly

after 9:00 PM, in order to discuss the research she had collected.” [“Magistrate Sarah H. Luick,

Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice

Oliff, Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert

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871.     Stipulation No. 35. “During the fall of 1992, Respondent and Patient A began a personal

and sexual relationship which lasted 3 years until September 1995. During that time, no sexual

contact ever took place in any professional setting, whether hospital, clinic or medical

office.” [“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John

Flym and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of

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872.     Stipulation No. 35 provides direct corroboration of the clinical-nonclinical binary

classification of time and place effected by the modification of the 1992 Express Bilateral

Contract which terminated the doctor-patient relationship.

873.     Stipulation No. 40. “On October 10, 1995, Dr. Wolfe and Patient A met with the

Respondent. Respondent admitted to having sex with Patient A. He agreed that it was his

responsibility as the former doctor for Patient A to keep boundaries intact and that he had

crossed the line by having sex with Patient A. Respondent apologized for his actions, but

indicated that he did not want to end his friendship with Patient A. He agreed to a three-month

moratorium on contact with Patient A.” [“Magistrate Sarah H. Luick, Exhibit A, Joint

Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff, Docket

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            Plaintiff begins couples psychotherapy with Lourdes Colon & Dr. Wolfe

874.     The meeting on October 10, 1995 took place in the Lexington, MA office of Dr. Lisa

Wolfe.

875.     On October 10, 1995, Dr Wolfe informed the Plaintiff that she was treating him as part of

couples therapy with her existing patient Lourdes Colon.

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876.   Dr Wolfe also informed the Plaintiff that he would be responsible for paying the fees for

that couples therapy – of him and Lourdes Colon together.

877.   Based on these statements by Dr Wolfe, the Plaintiff believed that he had become her

patient as well as part of the couples therapy recommended by Dr Wolfe.

878.   Statements made by the Plaintiff during the October 10, 1995 session are protected by

patient-therapist privilege and require the Plaintiff’s consent to release such information.

879.   Stipulation No. 41. “Respondent kept the three-month moratorium on contact with

Patient A. Telephone contact then resumed between them. Respondent continued to have

telephone contact with Patient A until November 1996.” [“Magistrate Sarah H. Luick, Exhibit A,

Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P.

Weinberg, Issued on May 16, 2002, page 11 ]

880.   Stipulation No. 42. “In November 1996, Patient A filed a civil suit in Middlesex Superior

Court against Respondent alleging in part, negligent treatment of Patient A by the Respondent,

and further alleging negligent infliction of emotional distress by the Respondent, by his

engagement in unprofessional conduct with Patient A.” [“Magistrate Sarah H. Luick, Exhibit A,

Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P.

Weinberg, Issued on May 16, 2002, page 12 ]

881.   Stipulation No. 43. “… On May 13, 1998, the civil suit was settled, with payment of

$150,000 made by Respondent’s malpractice insurer on his behalf.” [“Magistrate Sarah H.

Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel




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882.   Stipulation No. 45. “Respondent was represented by the insurance company’s lawyer,

Claudia A. Hunter, Esq. Respondent played no role in the drafting or approval of the release

executed by Patient A in return for her settlement with the insurance company.” [“Magistrate

Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and

Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 13 ]

883.   Stipulation No. 46. “Before reaching this settlement, Attorney Hunter obtained an

opinion letter from John T. Maltsberger, M.D., Associate Professor of Psychiatry at Harvard

Medical School, Attending Psychiatrist at McLean Hospital, and Clinical Associate in Psychiatry

at Massachusetts General Hospital. Dr. Maltsberger’s letter, dated February 17, 1998, stated that

he had reviewed the following documents: Affidavit of Patient A, dated December 16, 1997,

Affidavit of James Beck, M.D., dated December 17, 1997, Patient A’s responses to

interrogatories, Medical Records of Patient A from Massachusetts General Hospital from 1980-

81, BEMC Medical Records from 1987-1993, HRI Medical Records from 1992-1995, Case

Notes of Lisa Wolfe, psychologist from 1994-1996, and Medical Records of Dr. Amy Banks

dated 1995-1997. Based upon his review of said materials, Dr. Maltsberger concluded:

       … It is my considered professional opinion that though [Patient A] was no doubt upset by

       her experience with [Respondent], I see no evidence that she suffered significant lasting

       emotional injury as a result of her experiences with him. Virtually every symptom of

       which she has complained since her experiences with [Respondent] was documented in

       hospital records antedating her first meeting with him. While it is just possible her

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       admissions to Human Resource Institute (hereinafter, HRI) in 1992, 1993 and 1995 might

       have been avoided had not she been entangled with [Respondent] at the time, it is well

       to note that the patient was under very significant stresses independent of [Respondent] at

       the those times in her life. Further it is well understood that persons who suffer from

       major depressive disorders, as would appear to be the case here, are subject to

       periodic relapses, sometimes with, and sometimes without, significant triggers …”

[“Magistrate Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym

and Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 14 ]

884.   Stipulation No. 47. “In December 1997, the Board of Registration in Medicine received

notice of the civil suit from the Middlesex Superior Court” [“Magistrate Sarah H. Luick, Exhibit

A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P.

Weinberg, Issued on May 16, 2002, page 14 ]

885.   Stipulation No. 48. “In December 1997, the Board of Registration in Medicine received

notice of the civil suit from the Middlesex Superior Court.” [“Magistrate Sarah H. Luick, Exhibit

A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel Alice Oliff,

Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent Robert P.

Weinberg, Issued on May 16, 2002, page 14 ]

886.   Stipulation No. 48. “On June 11, 1998, the Chairman of the Board of Registration in

Medicine issued a subpoena ad testificandum/subpoena duces tecum to Patient A.” [“Magistrate

Sarah H. Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and




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Petitioner’s Counsel Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in

Medicine, Respondent Robert P. Weinberg, Issued on May 16, 2002, page 14 ]

887.   Stipulation No. 49. “Pursuant to this subpoena, in July 1998, Patient A came to the Board

to give information concerning Respondent’s professional conduct.” [“Magistrate Sarah H.

Luick, Exhibit A, Joint Stipulations of Respondent’s counsel John Flym and Petitioner’s Counsel

Alice Oliff, Docket No. BR-99-074, Petitioner Board of Registration in Medicine, Respondent

Robert P. Weinberg, Issued on May 16, 2002, page 14 ]

         Fraud committed upon the Tribunal by defendants Colon, Spero and Wolfe
   through their spoliation of evidence and concealment of the Express Bilateral Contract
888.   Withholding material evidence which proves or disproves a substantial issue of material

fact during a Tribunal comprises spoliation of evidence and fraud upon the Tribunal; this fraud

will be described in great detail and particularity within this Complaint – which the Plaintiff will

prove by a preponderance of the evidence.

889.   A substantial issue of fact in these proceedings is the question whether the Plaintiff was

in a doctor-patient relationship with defendant Lourdes Colon at the relevant times in question,

to help determine whether the Plaintiff violated any laws, regulations or ethics concerning sexual

relations between doctors and their patients.

890.   Thus, the existence, knowledge and paper copies of a handwritten Express Bilateral

Contract, written in ball-point pen with black ink, which terminated the doctor-patient

relationship in September 1992, is relevant and material to these proceedings and is material

evidence in proving substantial facts and in determining important issues of fact.

891.   Thus, the existence, knowledge and paper copies of a handwritten Express Bilateral

Contract which terminated the doctor-patient relationship in September 1992 is material
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evidence in these proceedings and comprises a substantial factor in determining or ascertaining

whether a doctor-patient relationship existed between the Plaintiff and Lourdes Colon at the

relevant times in question.

892.   Concealing from the Tribunal the existence, knowledge and paper copies, hand-written

with black ball-point pen, of an Express Bilateral Contract which terminated the doctor-patient

relationship between the Plaintiff and Lourdes Colon in September 1992, which was dictated by

defendant Lisa Wolfe and written down verbatim by the Plaintiff and Lourdes Colon,

subsequently signed by both parties, at HRI in Brookline, MA, comprises spoliation of evidence

and concealing material evidence from the Tribunal; there exists a duty to preserve evidence

relevant to a dispute, or potential dispute, which is an ancient and well-documented common law

principle - The doctrine likely goes back as far as Roman law: Contra Spoliaterem Omnia

Praesumuntur is a Latin phrase meaning everything most to his disadvantage is to be presumed

against the destroyer; essentially, the doctrine requires a party to preserve evidence when they

know, or should know, that the evidence is likely to be relevant to pending or future litigation.

893.   Concealing from the Tribunal the existence, knowledge and paper copies of a ballpoint-

pen-handwritten Express Bilateral Contract, dictated by defendant Lisa Wolfe, which terminated

the doctor-patient relationship in 1992 comprised spoliation of evidence and fraud upon the

Tribunal, and such spoliation of evidence and concealment of material evidence and deception of

the tribunals was committed by the defendants Stanley Spero, Lourdes Colon and Lisa Wolfe.

894.   “Evidence tampering is an act in which a person alters, conceals, falsifies, or destroys

evidence with the intent to interfere with an investigation by a law-enforcement, governmental or

regulatory authority;” spoliation of evidence, which includes concealing material evidence from

the tribunal, is a form of evidence tampering, which is a criminal offense in some jurisdictions.
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895.   The actions and omissions of defendants Stanley Spero, Lisa Wolfe and Lourdes Colon in

concealing the evidence of the handwritten Bilateral Express Contract, which terminated the

doctor-patient relationship in 1992, does comprise spoliation of evidence and the crime of

tampering with evidence; this handwritten contract is exonerating evidence for the Plaintiff

because it is proof that the doctor-patient relationship was intentionally and purposefully

terminated between the Plaintiff and Lourdes Colon in September 1992.

896.   Such actions and omissions of defendants Stanley Spero, Lisa Wolfe and Lourdes Colon

in concealing the evidence of the handwritten Bilateral Express Contract, which terminated the

doctor-patient relationship in 1992, does also comprise spoliation of evidence, obstruction of

justice and perverting the course of justice for the purpose of covering up their liability and also

to conceal the primary evidence which exonerates the Plaintiff; concealing the contract was

advantageous to defendants Lourdes Colon and Stanley Spero, who filed suit in Middlesex

Superior Court against the Plaintiff in 1996: Colon v. Weinberg, Wesselhoeft, Boston Evening

Medical Center et al., alleging that the Plaintiff engaged in medical malpractice and misconduct

which settled circa. 1998-99 for $150,000, fraudulently obtained from the insurer through their

concealment of the handwritten contract which would have destroyed their legal case.

897.   Spoliation of evidence is the intentional, reckless, or negligent withholding, hiding,

fabricating, or destroying evidence relevant to a legal proceeding.

898.   Defendants Stanley Spero, Lisa Wolfe and Lourdes Colon are all guilty of spoliation of

evidence by their actions in concealing the handwritten Bilateral Express Contract which

terminated the doctor-patient relationship in 1992.




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899.   Spoliation of evidence is a frequent tactic of amoral litigants and has been seen in such

American scandals as the Enron scandal, Arthur Andersen LLP v. United States, Iran-Contra

affair, Conrad Black’s actions during his trial, and CIA Director Richard Helm’s order to destroy

MKUltra files.

900.   Furthermore, this fraud has been committed on three courts (Suffolk Superior Court

[Massachusetts], Division of Administrative Law Appeals [Massachusetts], Oxford County

Superior Court [Maine]) by two attorney defendants (Stanley Spero, John Ney) and their law

firms (Spero and Jorgenson, P.C., Shechtman, Halperin and Savage, LLC) along with their

accomplices/accessories/co-conspirators as well as by the defendant psychologist Lisa Wolfe,

wherein that fraud is detailed with particularity in this Complaint.

901.   The 1992 Express Bilateral Contract terminating the doctor-patient relationship was

essential, relevant and material evidence for the fact-finder in the Tribunals for: [1] Colon v.

Weinberg, Wesselhoeft, et al. (Suffolk Superior Court); [2] Weinberg v. Colon (Suffolk Superior

Court); [3] In Re Robert P. Weinberg, D.O. (Division of Administrative Law Appeals; [4] In

the matter of Robert Weinberg (Massachusetts Supreme Judicial Court); [4] Robert P.

Weinberg v. Board of Bar Examiners (Maine Supreme Judicial Court); [5] Robert P. Weinberg,

D.O. v. Massachusetts Board of Registration in Medicine (Massachusetts Supreme Judicial

Court), where the handwritten contract would have assisted the fact-finder in determining when

the Plaintiff was and was not an active doctor to Lourdes Colon, thus answering an essential

question of fact relevant and material to important issues of fact for the tribunal.

902.   Concealment of the 1992 Express Bilateral Contract terminating the doctor-patient

relationship by defendants Stanley Spero, Lourdes Colon and Lisa Wolfe led the fact-finder in


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these Tribunals to make Findings of Fact which were FALSE statements of material fact, due to

the absence of such exonerating evidence for assessment by the fact-finder.

903.   These false statements of material fact, which resulted from the concealment of material

evidence and deception of the tribunals, comprised fraud upon multiple Massachusetts and

Maine tribunals (and also comprises a crime of omission), which proceeded to make conclusions

of law based on those false statements of material fact; those false statements of material fact

were disadvantageous to the Plaintiff, causing multiple severe legal and economic injuries,

eventually leading to the revocation of the Plaintiff's medical license.

904.   In the instant suit, the Plaintiff will obtain discovery (admissions, interrogatories,

depositions, requests for production of documents) including but not limited to Request for

Production of Documents and depositions of the relevant witnesses sworn under oath, which will

yield testimony and additional documentary evidence which will prove the existence, content

and purpose of the 1992 Express Bilateral Contract terminating the doctor-patient relationship by

a preponderance of the evidence.

905.   Because of the narrow and restrictive nature and rules of the DALA proceedings in 2000

– 2002, and the desire of the parties to make Stipulations as the basis for the fact-finding process

(because defendant Lourdes Colon did not want to testify at a trial) without providing the

Plaintiff with the ability to complete discovery (interrogatories, admissions, production of

documents and depositions), the Plaintiff was unable to obtain the requisite discovery yielding

the evidence to prove this 1992 handwritten Express Bilateral Contract terminating the doctor-

patient relationship, along with its subsequent modification, in the prior DALA proceedings.




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906.    Full discovery procedures allowed by the Federal Rules of Civil Procedure in the instant

suit in federal court will provide the Plaintiff with necessary evidence to prove the existence,

content and purpose of the 1992 handwritten Express Bilateral Contract terminating the doctor-

patient relationship by a preponderance of the evidence.

907.    Furthermore the Expert Witnesses in the prior DALA proceedings did not have the

knowledge of, access to nor handwritten paper copies of that Express Bilateral Contract

terminating the doctor-patient relationship in 1992 and this substantial deficiency which resulted

from the defendants’ intentional and purposeful concealment and deception regarding that

contract was a substantial factor in Colon’s Expert Witness opinion not in the Plaintiff's favor

because Dr. Beck never knew that the doctor-patient relationship had been terminated in

September 1992 and had the Expert Witnesses had this information and those paper copies of the

handwritten Express Bilateral Contract, which was formed and executed at HRI under the

guidance and dictation of Dr Wolfe in September 1992, the Expert Witnesses would have come

to substantially and dramatically different conclusions and Expert Witness opinions more

favorable to the Plaintiff.

908.    The Expert Witnesses called to testify in these Tribunals also did not have access to the

1992-93 Express Bilateral Contract which terminated the doctor-patient relationship because this

material evidence was concealed from the Tribunals by defendants Lourdes Colon, Stanley

Spero and Lisa Wolfe, so this relevant and material evidence was not assessed by those Expert

Witnesses nor was it assessed by the justices/magistrates/judges in the respective tribunals.

909.    The Expert Witnesses in these Tribunals, without access to the relevant and material

evidence comprising the 1992-93 Express Bilateral Contract terminating the doctor-patient

relationship, formed substantially deficient and false expert opinions because they did not have
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access to nor knowledge of substantial relevant and material evidence comprising the 1992

termination of the doctor-patient relationship; the handwritten Bilateral Express contract formed

and executed in 1992 will render those Expert Opinions null, void and false.

910.   Had those Expert Witnesses had knowledge of the 1992-93 Express Bilateral Contract

which terminated the doctor-patient relationship, the conclusions and expert opinions of those

witnesses would have been substantially different and therefore those expert opinions were

tainted by the defendants’ concealment of the 1992 Express Bilateral Contract terminating the

doctor-patient relationship, comprising Fraud upon the Court.

911.   The intentional and purposeful fraudulent concealment of that 1992 Express Bilateral

Contract which terminated the doctor-patient relationship caused much consternation, distress

and desperation in the Plaintiff and caused the Plaintiff to feel like he was backed into a corner

without the truth of that exonerating contract which was deceptively concealed from the tribunals

by defendants Stanley Spero, Lourdes Colon and Lisa Wolfe.

912.   The Plaintiff has been waiting over thirty-two (32) years to be able to obtain this

discovery permitted by the Federal Rules of Civil Procedure to obtain the relevant and material

evidence, both testimonial and documentary, to prove the fraudulent concealment and deception

concerning the 1992 Express Bilateral Contract, terminating the doctor-patient relationship, by

the defendants Stanley Spero, Lisa Wolfe and Lourdes Colon, where the defendant was greatly

restricted and impaired by the procedural rules of the DALA proceedings which progressed

without a trial, without the testimony of the relevant witnesses or the right to cross-examine

them, progressing with only Stipulations which did not include records from Paula Lazar, Amy

Banks, Vincent DiCianni, Robert Stolzberg, nor the sworn testimony of Lourdes Colon or Lisa

Wolfe and without the material evidence of the 1992 handwritten Bilateral Express Contract.
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913.   “In December 1999, Respondent sent a Memorandum to Richard Waring, former

Complaint Counsel in the above-captioned matter, and Deirdre Manning, former investigator in

the above-captioned matter. In this Memorandum Respondent asserted that false testimony was

being used against him, and he warned that anyone who knowingly participated in the use of

such false testimony against him might be participating in a ‘criminal conspiracy’. He stated,

‘This is an opportunity for you and the board to withdraw from the conspiracy, and diminish

collectively your criminal responsibility for all foreseeable crimes engendered by the

conspiracy’”. [Stipulation No. 56., Stipulations – attachment “A” to “Recommended Decision”

of Magistrate Sarah Luick, Board of Registration in Medicine v. Robert P. Weinberg,

Adjudicatory Case No. RM-99-074, DALA, signed on April 9, 2001 by Respondent’s Counsel

John Flym, Respondent Robert Weinberg D.O. and signed on April 12, 2001 by Complaint

Counsel Alice Oliff].

914.   This 1999 Memorandum referred to the concealment of the material evidence comprising

the 1992 handwritten Express Bilateral Contract, concealed by defendants Lourdes Colon,

Stanley Spero and Lisa Wolfe, spoliation of material evidence relevant to the tribunal

proceedings, potentially as part of a criminal conspiracy to conceal such material evidence from

the tribunal in order to defraud the respective courts and evade their own liability.

915.   “In February 2000, Respondent filed a letter and affidavit with the Board of Registration

of Psychologists, the Attorney General’s Office, the Suffolk County District Attorney’s Office,

and the Board of Bar Overseers alleging unlawful acts by: Lisa Wolfe, Ph.D. (Patient A’s current

therapist), Stanley Spero, Esq. (Patient A’s attorney), and Richard Waring, Esq. (former

Complaint Counsel in the above-captioned matter). The alleged unlawful acts included: perjury,

larceny, theft by misrepresentation and insurance fraud. Respondent accused Mr. Waring of
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acting ‘in a criminally negligent and/or criminally reckless manner in issuing the Complaint in

January 1999.’” [Stipulation No. 57., Stipulations – attachment “A” to “Recommended

Decision” of Magistrate Sarah Luick, Board of Registration in Medicine v. Robert P. Weinberg,

Adjudicatory Case No. RM-99-074, DALA, signed on April 9, 2001 by Respondent’s Counsel

John Flym, Respondent Robert Weinberg D.O. and signed on April 12, 2001 by Complaint

Counsel Alice Oliff].

916.   The perjury, addressed in these February 2000 letters and affidavits, comprised [a] telling

falsehoods that the doctor-patient relationship had not ended [b] abetted by their concealment of

the contract; the larceny comprised obtaining the insurance settlement defrauding the insurance

company through the concealment of the contract; the theft by misrepresentation and insurance

fraud comprised inducing the insurer ProMutual to pay $150,000 without informing the

insurance company about the 1992 contract terminating the doctor-patient relationship.

917.   The final judgments issued by the five (5) tribunals listed above include multiple

FALSE statements of material fact within the text of the judgments – based on the taint of

concealed material evidence and deceptive conduct and spoliation of evidence by defendants

Lourdes Colon, Lisa Wolfe and Stanley Spero - as will be fully described below.

918.   Final court judgments which incorporate multiple false statements of material fact

within the text of those judgments, and applies the relevant law to the false statements of

material fact, will result in FALSE conclusions of law which renders those judgments null

and void.

919.   It is purely logical that the application of the relevant law to FALSE statements of

material fact will result in FALSE conclusions of law thereof; court judgments which are

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directly based on false statements of material fact wherein such false statements of material

fact are directly stated within the text of those judgments, must be declared null and void

on the basis of those false statements of material fact relevant to the issues of fact and issues of

law being adjudged.

920.   It follows, without the necessity of proof, that the final judgments which issue forth from

any Court based on false conclusions of law, which were based on false statements of material

fact are necessarily invalid, null and void.

921.   Once the Plaintiff has proven these false statements of material fact, which are expressly

stated in the text of the final judgments of those Courts, are indeed false by a preponderance of

the evidence, “the house of cards will fall down” and the Plaintiff may petition for overturning

and vacating those judgments under Rule 60(b) of the Federal Rules of Civil Procedure –


       Rule 60. Relief from a Judgment or Order …

               (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On
               motion and just terms, the court may relieve a party or its legal
               representative from a final judgment, order, or proceeding for the following
               reasons:

                       (1) mistake, inadvertence, surprise, or excusable neglect;

                       (2) newly discovered evidence that, with reasonable diligence, could not
                       have been discovered in time to move for a new trial under Rule 59(b);

                       (3) fraud (whether previously called intrinsic or extrinsic),
                       misrepresentation, or misconduct by an opposing party;

                       (4) the judgment is void;

                       (5) the judgment has been satisfied, released, or discharged; it is based on
                       an earlier judgment that has been reversed or vacated; or applying it
                       prospectively is no longer equitable; or

                       (6) any other reason that justifies relief.
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               (c) Timing and Effect of the Motion.

                      (1) Timing. A motion under Rule 60(b) must be made within a reasonable
                      time—and for reasons (1), (2), and (3) no more than a year after the entry
                      of the judgment or order or the date of the proceeding.

                      (2) Effect on Finality. The motion does not affect the judgment's finality or
                      suspend its operation.

               (d) Other Powers to Grant Relief. This rule does not limit a court's power to:

                      (1) entertain an independent action to relieve a party from a judgment,
                      order, or proceeding;

                      (2) grant relief under 28 U.S.C. §1655 to a defendant who was not
                      personally notified of the action; or

                      (3) set aside a judgment for fraud on the court.

               (e) Bills and Writs Abolished. The following are abolished: bills of review, bills
               in the nature of bills of review, and writs of coram nobis, coram vobis, and audita
               querela.

922.   A reasonable person may conclude that the conclusions of law which issued forth from

these five tribunals would likewise be as false as the FALSE statements of material fact on which

those conclusions of law were based.

923.   The Plaintiff is seeking Declaratory Judgments for each of the false statements of

material fact which are expressed in the Final Judgments of these five tribunals – declaring those

FALSE statements of material fact to be false as will be proved by the Plaintiff by a

preponderance of the evidence.

924.   The Plaintiff is also seeking Declaratory Judgments for each of the five tribunals which

declare that the Conclusions of Law made by those tribunals were based on FALSE statements

of material fact as proven by the Plaintiff by a preponderance of the evidence.



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925.   The Plaintiff is also seeking Declaratory Judgments that the Final Judgment of those five

tribunals are null and void because they issue forth from conclusions of law based on FALSE

statements of material fact as proven by the Plaintiff by a preponderance of the evidence.

926.   Following the judicial issuance of the Plaintiff’s requested Declaratory Judgments, the

Plaintiff will seek Injunctive Relief through having the Final Judgments of those five tribunals to

be overturned and vacated on the basis of Rule 60(b)(3) and 60(b)(4):

       “Fed.R.Civ.P. Rule 60— Relief From Judgment or Order
       …
              (b) Mistakes; Inadvertence; Excusable Neglect; Newly Discovered Evidence; Fraud,
              etc. On motion and upon such terms as are just, the court may relieve a party or a party's
              legal representative from a final judgment, order, or proceeding for the following reasons:

       …
                       (3) fraud (whether heretofore denominated intrinsic or extrinsic),
                       misrepresentation, or other misconduct of an adverse party;
                       (4) the judgment is void “     (Fed.R.Civ.P.)

   Spoliation of material evidence by defendants Lourdes Colon, Stanley Spero, Lisa Wolfe

927.   The defendants Lourdes Colon, Stanley Spero and Lisa Wolfe have concealed relevant

and material evidence from the tribunals which are substantially relevant to the laws applied by

the tribunal, thus rendering the judgments rendered by the tribunal based on false statements of

material fact which formed the foundation of those judgments.


                    Sexual relations between Physicians and Patients
           Korper v. Weinstein, 57 Mass. App.Ct. 433 (2003); 783 N.E.2d 877


928.   “It is settled that consensual sexual conduct between a medical practitioner and a

patient does not constitute medical malpractice.” Roe v. Federal Ins. Co., 412 Mass. 43, 49-

51 (1992) (sexual contact by dentist during treatment, whether consensual or not, was not

rendering of professional services so as to be covered by malpractice insurance).

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929.   There are two exceptions to this rule: mishandling of the "transference

phenomenon" by a psychiatrist with a patient; and sexual conduct purporting to be

medical treatment. See ibid.; Palermo v. Brennan, 41 Mass. App. Ct. 503, 509 n.10 (1996). See

also Atienza v. Taub, 194 Cal. App. 3d 388, 393-394 (1987); Mindt v. Winchester, 151 Or. App.

340, 343-345 (1997). Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d 877 (2003)”

930.   In the instant case, although Stanley Spero attempted to prove that the Plaintiff’s

providing counseling to defendant Lourdes Colon - which is routinely done by Family Practice

physicians, that such counseling rendered the Plaintiff into being a psychiatrist, nor did the

Plaintiff ever purport that any sexual contacts were a type of medical treatment.

931.   The Plaintiff has never held himself out to be a psychologist, psychotherapist or

psychiatrist, and the Plaintiff has never engaged in psychotherapy.

932.   Korper v. Weinstein: “…The plaintiff argues that a kind of transference phenomenon

occurs in the ordinary patient-physician relationship by virtue of the relationship. This

view has been identified and rejected. Roe v. Federal Ins. Co., 412 Mass. at 50-51. The plaintiff's

proposed exception would swallow the rule. Nor is the plaintiff aided by the affidavits supplied

by her experts, which are based on an erroneous view of the law. These affidavits state that, in

the expert view of the affiants, the defendant's actions were injurious to her because of the

possibility for corroding the trust between physician and patient, and fell below the standard of

care for physicians. An expert opinion is required and permitted in medical malpractice

cases to inform the question whether the professional services rendered by the physician

deviated from the standard of care owed by the physician to the patient, thereby causing

damage to the patient. See, e.g., Collins v. Baron, 392 Mass. 565, 569 (1984). Such opinions




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are received only on the topic of professional services.” Korper v.Weinstein 57 Mass. App. Ct.

433, 783 NE 2d 877 (2003).

933.   “… On the facts of this case, the law does not regard consensual sexual conduct

between the plaintiff and the defendant as a species of medical professional services. The

opinion of medical experts to the contrary is foreclosed.” Korper v.Weinstein 57 Mass. App. Ct.

433, 783 NE 2d 877 (2003).

934.   “Further, the record does not support any inference that the defendant was providing any

postoperative care once the sexual relationship began. Rather, the record shows that he ensured

that other physicians took over the plaintiff's care. Thus, to the extent the plaintiff's experts base

their opinions on the view that the affair took place while the plaintiff was the patient of the

defendant, such opinions lack foundation. Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE

2d 877 (2003).

935.   “The plaintiff makes the broader claim that the defendant had a fiduciary duty to avoid a

sexual relationship with her since they became acquainted in a doctor-patient relationship, even

though that professional relationship was terminated once the sexual relationship began.There is

support for the argument that the defendant breached his ethical obligations by engaging in a

sexual affair with a patient even though it was consensual and even though the professional

relationship was terminated as soon as the affair began.” See Levy v. Board of Registration &

Discipline in Med., 378 Mass. 519, 522-525 (1979); Mancini v. Board of Registration in Med.,

390 Mass. 1002, 1003 (1983). Korper v.Weinstein, 57 Mass. App. Ct. 433, 783 NE 2d

877 (2003).

936.   “Violations of medical ethics do not, however, without more, establish legal liability for

damages. Cf. Doe v. Nutter, McClennen & Fish, 41 Mass. App. Ct. 137, 141 (1996). Here, the

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plaintiff's broad claim of breach of fiduciary duty reaches past a claim of breach of medical

ethics. Thus, we address the question whether, under the facts of this case, the defendant stood in

a fiduciary relationship toward the plaintiff and, if so, whether the defendant breached that duty

so as to warrant an award of damages. Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d

877 (2003).

937.   "[T]he circumstances [that] may create a fiduciary relationship are so varied that it would

be unwise to attempt the formulation of any comprehensive definition that could be uniformly

applied in every case.... The existence of the relationship in any particular case is to be

determined by the facts established." Warsofsky v. Sherman, 326 Mass. 290, 292-293 (1950). See

Restatement (Second) of Torts § 874 (1979). Korper v. Weinstein 57 Mass. App. Ct. 433, 783

NE 2d 877 (2003).

938.   “In addition to the obvious obligation to make medical decisions in the patient's best

interest, a physician has a fiduciary duty to maintain the confidentiality of a plaintiff's medical

records.” Alberts v. Devine, 395 Mass. 59, 69, cert. denied sub nom. Carroll v. Alberts, 474 U.S.

1013 (1985).

939.   “However, the existence of a fiduciary relationship does not mean that all interaction

between the parties to that relationship is measured by the standards applicable to fiduciaries; the

fiduciary is held to a higher standard of conduct only as to matters within the scope of the

fiduciary relationship. Even though the physician-patient relationship is one of many "familiar

and well recognized forms of fiduciary relationships," Warsofsky v. Sherman, 326 Mass. at 292,

the scope of the fiduciary duty is defined by the incidents and undertakings of the defendant as a

physician. See Fowles v. Lingos, 30 Mass. App. Ct. 435, 441 (1991). The conduct here




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complained of was outside that scope. Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d

877 (2003).

940.   “There appears no question that the trust and confidence that the plaintiff put in the

defendant in this case went beyond that related to the professional services he rendered. Any

trust and confidence she placed in the defendant as a person, however, even augmented by

circumstances that made her emotionally dependent on him, did not create a fiduciary duty in the

defendant to prevent the personal relationship that developed consensually between them,

especially where he terminated the physician-patient relationship as soon as the personal

relationship began. The plaintiff has no recourse in the law for emotional harm caused by

breaches of "trust" of this kind. Rules of law based on such considerations have been discarded.

See Quinn v. Walsh, 49 Mass. App. Ct. 696, 707 (2000) (amatory actions abolished by G. L. c.

207, § 47B.)” Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d 877 (2003).

941.   In the instant case, a handwritten Bilateral Express Contract was formed and executed in

1992, which terminated the doctor-patient relationship after Dr. Lisa Wolfe advised, encouraged

and dictated verbatim this course of action.

942.   The subsequent modification of that contract provided the clinical-nonclinical binary

classification of time and place so that at no time did the Plaintiff ever have any sexual contact

with Lourdes Colon while he was acting as her physician in the Clinical World; any sexual

contacts only took place in the nonclinical world when the Plaintiff was not acting as her

physician (he had taken off his “doctor hat” while in the nonclinical world).

943.   “Contrary to the plaintiff's contention, a professional who violates a professional ethical

rule does not become liable under G. L. c. 93A in all circumstances. For example, the

"disciplinary rules [for lawyers] provide standards of professional conduct ... and do not in and

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of themselves create independent causes of action." Doe v. Nutter, McClennen & Fish, 41 Mass.

App. Ct. at 141. That principle must apply to physicians as well. The absence of a right of the

plaintiff to recover damages for violations of ethical norms by the defendant does not leave the

public unprotected. See Levy v. Board of Registration & Discipline in Med., 378 Mass. at 522-

523. Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d 877 (2003).

944.   “During their first sexual encounter, the defendant ripped off the dressings from the

plaintiff's breast. At this point, more than five weeks had passed since the biopsy and nearly

three weeks since the defendant removed the sutures in his office. The plaintiff alleges that the

defendant's action of removing her bandage during sex resulted in aggravated scarring, but has

presented no evidence — medical expert or otherwise — to support this allegation. They would

speak on the phone while the defendant was at UHS or at a hospital, and they occasionally met at

UHS during the relationship. There is no specific evidence showing that these contacts were

for the purpose of seeking or rendering medical services. Although the defendant ‘groped’ the

plaintiff in empty examination rooms during these subsequent non-treatment visits, they never

had intercourse in his office — only in her apartment. The plaintiff insisted on a written

settlement agreement, and the defendant signed what she drafted. In exchange for the plaintiff's

promise not to pursue civil, criminal, or administrative remedies against him, the defendant

agreed to pay for the plaintiff's therapy, to give her money for maintenance, and to amend his

will to instruct his executor to provide for her. Additionally, this agreement prohibited the

defendant from reporting the relationship either to the board of registration of medicine or to his

wife. The defendant gave more than $41,000 toward the plaintiff's living expenses during their

relationship. No contract claims have been asserted based upon the agreement. Contrary to the

plaintiff's argument, the recitals in the document cannot be taken as an admission creating legal

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liability. Compare Morea v. Cosco, Inc., 422 Mass. 601, 603 (1996); Zucco v. Kane, 55 Mass.

App. Ct. 76, 81-83 (2002), further appellate review granted, 438 Mass. 1106 (2003).

This rule is supported by the great weight of authority in other jurisdictions. See Gunter v.

Huddle, 724 So. 2d 544, 546 (Ala. Civ. App. 1998); Atienza v. Taub, 194 Cal. App. 3d 388, 393-

394 (1987); Mindt v. Winchester, 151 Or. App. 340, 343-345 (1997). "[C]ourts do not routinely

impose liability upon physicians in general for sexual contact with patients." Simmons v. United

States, 805 F.2d 1363, 1366 (9th Cir. 1986). Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE

2d 877 (2003).

945.   “The affidavits do not state that a transference phenomenon was present in this case.

They only state that, assuming, as alleged by the plaintiff, that there was such a phenomenon, the

defendant's conduct would constitute a violation of the standard of care.” Korper v.Weinstein 57

Mass. App. Ct. 433, 783 NE 2d 877 (2003); likewise in the Plaintiff’s case, there was no factual

finding that a transference phenomenon was present between the Plaintiff and Lourdes Colon.

946.   “The American Medical Association Council on Ethical and Judicial Affairs has

concluded that (1) sexual contact or a romantic relationship with a patient concurrent with the

physician-patient relationship is unethical; and (2) sexual or romantic relationships with former

patients are unethical if the physician uses or exploits trust, knowledge, or emotions or influence

derived from the previous professional relationship. Sexual Misconduct in the Practice of

Medicine, 266 JAMA 2741, 2743-2744 (1991). Korper v.Weinstein 57 Mass. App. Ct. 433, 783

NE 2d 877 (2003).

947.   In the Plaintiff’s case with BORIM, no factual finding was ever made that the Plaintiff

used or exploited trust, knowledge, or emotions or influence derived from the previous

professional relationship.

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948.   "A fiduciary relation exists between two persons when one of them is under a duty to act

for or to give advice for the benefit of another upon matters within the scope of the relation."

Restatement (Second) of Torts § 874 comment a (1979). See, e.g., United States v. Neufeld, 908

F. Supp. 491, 500 (S.D. Ohio 1995) (patients deserve medical opinions and referrals unsullied by

conflicts of interest where physician was receiving kickbacks). Korper v.Weinstein 57 Mass.

App. Ct. 433, 783 NE 2d 877 (2003).

949.   “We decline the plaintiff's invitation to expand the scope of the fiduciary duty a doctor

owes a patient to include conduct beyond the context of medical treatment, as the Nevada

Supreme Court did in Hoopes v. Hammargren, 102 Nev. 425, 431-432 (1986). The Hoopes court

permitted recovery for a patient who can prove that (1) the physician held a superior

authoritative position in the professional relationship, (2) the patient was vulnerable as a result of

illness, (3) the physician exploited the vulnerability, and (4) the exploitation was the proximate

cause of provable harm. Id. at 432. The Nevada approach appears to stand alone in imposing

liability for breach of fiduciary duty for physician sexual misconduct occurring outside the realm

of medical treatment.” Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d 877 (2003).

950.   “The expert opinion supplied in the two affidavits discussed above is also mistakenly

addressed to legal and not medical professional issues when it concludes that the defendant's

actions breached the fiduciary relationship inherent in a professional medical relationship. See

discussion supra.” Korper v.Weinstein 57 Mass. App. Ct. 433, 783 NE 2d 877 (2003).

951.   “To prevail on her claim for intentional infliction of emotional distress, the plaintiff must

establish that "(1) the defendant intended to inflict emotional distress, or knew or should have

known that emotional distress was the likely result of his conduct, ... (2) the defendant's conduct

was extreme and outrageous, beyond all possible bounds of decency, and utterly intolerable in a

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civilized community, (3) the actions of the defendant were the cause of the plaintiff's distress,

and (4) the emotional distress suffered by the plaintiff was severe and of such a nature that no

reasonable person could be expected to endure it." Payton v. Abbott Labs, 386 Mass. 540, 555

(1982), citing Agis v. Howard Johnson Co., 371 Mass. 140, 145 (1976). Korper v.Weinstein 57

Mass. App. Ct. 433, 783 NE 2d 877 (2003).

952.   It is clearly established law that in order to establish sexual misconduct, or other

punishable offense, when a physician is involved in sexual relations with a patient or a former

patient, one of the following conditions must be true:


   (a) the physician must be a psychiatrist, psychologist or psychotherapist [Korper v.

       Weinstein]; or

   (b) the physician misuses the transference or counter-transference processes established

       between the physician and the patient during psychotherapy [Korper v. Weinstein]; or

   (c) the sexual relations must begin before the physician-patient relationship is terminated

       [AMA Code of Ethics Opinion 9.1.1]; or

   (d) the physician must mis-represent sexual relations as a form of medical treatment; or

   (e) sexual relations must occur with deception in the course of medical examination,

       diagnosis or other medical treatment; or

   (f) sexual relations takes place while the patient is incompetent to consent (anesthesia,

       unconscious, drugged, intoxicated, comatose, asleep, obtunded, dead); or

   (g) sexual relations occurs as part of some deception or fraudulent misrepresentation made

       by the physician; or

   (h) the patient is a minor or otherwise incompetent to give consent; or



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    (i) the sexual relations comprises a criminal act such as rape, sexual assault, incest, sodomy,

        prostitution or other criminal sexual offense; or

    (j) the patient lacks the capacity to consent to sexual relations; or

    (k) the sexual relations is accomplished by the use of coercion, threat, force, intimidation,

        extortion; or

    (l) the physician engages in quid pro quo exchanging sexual relations for drugs or other

        pecuniary benefits.


953.    None of the above 12 conditions were present when the Plaintiff engaged in sexual

relations with defendant Lourdes Colon, thus the Plaintiff was not liable for sexual misconduct

nor for medical malpractice.


954.    It is established law that sexual relations with a person cannot comprise physician sexual

misconduct unless that person was a patient of the physician’s at the time of sexual relations.


955.    Following the termination of the doctor-patient relationship by the Express Bilateral

contract formed and executed in September 1992 under the guidance of defendant psychologist

Lisa Wolfe, defendant Lourdes Colon was no longer a patient of the Plaintiff’s and when the

Plaintiff was in the contractually-created non-clinical world, the defendant Lourdes Colon was

not a patient of the Plaintiff’s.


956.    Since none of the twelve (12) conditions listed above existed at the time of sexual

relations between the Plaintiff and defendant Lourdes Colon (a.k.a. “Patient A”), the Plaintiff did

not commit sexual misconduct and the sexual relations were lawful, proper, ethical and




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permissible under the law while the Plaintiff had the bono fide belief that he was not acting as

her physician.


                   Scope of clinical services provided by Family Physicians:
       Family Physicians are neither trained nor educated to perform psychotherapy

957.   Family Physicians routinely discuss the patient’s issues such as functioning in school or

work, family relations, moods and feelings of happiness, frustration, sadness       and the

discussion of these issues do not comprise holding oneself out as a psychiatrist, psychologist or

psychotherapist.


958.   Sexual misconduct cannot be the basis for the revocation of the Plaintiff’s medical

license because the Plaintiff never engaged in sexual misconduct with Lourdes Colon following

the termination of the doctor-patient relationship by an Express Bilateral Contract.


                     Gross negligence by defendant Lisa Wolfe


959.   As an educated, trained and licensed psychologist, defendant Lisa Wolfe presented

herself to the Plaintiff and the world as a competent mental health professional.


960.   In September 1992, Lisa Wolfe reassured the Plaintiff in an hour-long meeting with the

Plaintiff, Lourdes Colon and Dr Wolfe, that Dr Wolfe recommended and advised the formation

and execution of the express bilateral contract terminating the doctor-patient relationship

between the Plaintiff and Lourdes Colon.


961.   Lisa Wolfe did not provide any reservations, doubts or expressed restrictions on the

Plaintiff’s subsequent relationship with Lourdes Colon, and reassured the Plaintiff of the safety

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of such a course of action; defendant Wolfe had a duty to warn the Plaintiff about defendant

Colon’s vulnerability due, in part to her Dissociative Identity Disorder (Multiple Personality

Disorder), and the inadvisability of developing any sexual entanglements.


962.   After approximately one hour of counseling and discussion, Lisa Wolfe dictated verbatim

the terms of the express bilateral contract terminating the doctor-patient relationship.


963.   At no point did Lisa Wolfe inform the Plaintiff of her differential diagnosis or clinical

notes on Lourdes Colon such as major depression, dissociative disorder, PTSD; Dr. Wolfe had a

pressing duty to warn the Plaintiff about the perilous course which might result from becoming

personally sexually involved with a patient suffering from Dissociative Identity Disorder.


               Dissociative Identity Disorder / Multiple Personality Disorder


964.   Defendant Lourdes Colon (a.k.a. “Patient A”) suffers from a Dissociative Identity

Disorder (“DID”), unknown to the Plaintiff in 1992 – 1997.


965.   The Plaintiff’s Psychiatric Expert Witness has opined that Lourdes Colon suffers from or

did suffer from Dissociative Identity Disorder (“DID”) which was also corroborated by the Axis

I diagnoses listed by defendant Dr Wolfe in her Admission Note for Colon to HRI in August

1992 – “… Dr Wolfe indicated that the diagnostic impression of Patient A was:


                               Axis I: Major Depression; rule out: dysthymia, PTSD,
                               Dissociative Disorder NOS, eating disorder NOS, and
                               organic mood disorder”


[Stipulation No. 15., Stipulations – attachment “A” to “Recommended Decision” of Magistrate

Sarah Luick, Board of Registration in Medicine v. Robert P. Weinberg, Adjudicatory Case No.
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RM-99-074, DALA, signed on April 9, 2001 by Respondent’s Counsel John Flym, Respondent

Robert Weinberg D.O. and signed on April 12, 2001 by Complaint Counsel Alice Oliff].

966.      This DID causes defendant Colon to have a Multiple Personality Disorder. This is

corroborated by multiple medical records on Lourdes Colon.


967.      The Multiple Personality Disorder in defendant Colon causes her to have multiple and

distinct personalities, often with each personality not knowing what the other personalities have

done, perceived, seen or heard, agreed or disagreed to, acted upon, etc.; it is not unusual for one

personality not to know what another personality did, said, saw, perceived, heard, knew or acted.

[https://repository.up.ac.za/bitstream/handle/2263/43470/Dorahy_Dissociative_2014.pdf?sequen

ce=1 ].


968.      There is substantial medico-legal literature on Dissociative Identity Disorder (“DID”) and

Multiple Personality Disorder (“MPD”). Numerous U.S. courts have encountered criminal

defendants with a history of DID/MPD and there have been judicial determinations of the

liability of these defendants versus the question of whether they were Not Guilty by reason of

insanity.


969.      There is a growing scientific literature on the outcomes of criminal trials involved

defendants with DID or Multiple Personality Disorder and whether such criminal defendants are

liable for their criminal actions or not guilty by reason of insanity.

[1] https://www.psychiatry.org/patients-families/dissociative-disorders/what-are-dissociative-

disorders ; https://www.ncbi.nlm.nih.gov/books/NBK568768/ ;

[2] https://en.wikipedia.org/wiki/Dissociative_identity_disorder ;

[3] https://www.mayoclinic.org/diseases-conditions/dissociative-disorders/symptoms-
                                                  253
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causes/syc-20355215 ; https://www.webmd.com/mental-health/dissociative-identity-disorder-

multiple-personality-disorder ].


970.    Although it appears to the Plaintiff that defendant Lourdes Colon was intentionally and

purposefully concealing material evidence of the 1992 Express Bilateral Contract terminating the

doctor-patient relationship from the tribunals, it is possible that some of the distinct multiple

personalities comprising the defendant Colon may not have known or perceived that other

separate personalities did agree to, memorialize in writing, and complete the formation and

execution of that contract in September 1992; as the forensic caselaw below point out, there is

controversy over the criminal liability of alter selves for the criminal acts which they may

commit.


971.    In the case of the ignorance of other separate personalities not knowing or remembering

of the Express Bilateral Contract terminating the doctor-patient relationship, the apparent

concealment and fraudulent actions may be beyond the knowledge or consciousness of her other

personalities and may not represent criminal actions or fraud of the non-knowing personality.

[1]https://citeseerx.ist.psu.edu/document?repid=rep1&type=pdf&doi=55a6c4b6c4b4a286de552d

2f0b6114d5eba8a137 ; [2] A. Steven Frankel, PhD, JD and Constance Dalenberg, PhD “The

Forensic evaluation of dissociation and Persons diagnosed with Dissociative Identity Disorder:

Searching for Convergence” (2006) Psychiatr Clin N Am 29:169-184.


972.    Multiple criminal caselaw shows controversy over whether DID sufferers are criminally

liable for the various crimes such as assaults, murders or rapes that may be committed by one of

their separate personalities (alters):

[https://scholar.google.com/scholar?hl=en&as_sdt=40000006&q=%22Dissociative+Identity+Dis
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order%22&oq= ; State v. Greene 984 P. 2d 1024, 139 Wash. 2d 64 - Wash: Supreme Court,

1999 (… Greene, 92 Wash.App. 80, 960 P.2d 980. The State sought and we granted review);

Greene v. Lambert 288 F. 3d 1081 - Court of Appeals, 9th Circuit, 2002 - (… interpretation of

state rules of evidence and its conclusion that the mental disease about which the defendant and

the victim would testify) ; State v. Lockhart 542 SE 2d 443, 208 W. Va. 622 - W Va: Supreme

Court of Appeals, 2000 ( … We address each of these questions in turn. 449 A. Expert Opinion

Testimony on Dissociative Identity Disorder as a Basis for an Insanity Defense. Mr … ) ; US v.

Denny-Shaffer 2 F. 3d 999 (1993) - Court of Appeals, 10th Circuit, 1993; Odum v. Com. 301

SE 2d 145, 225 Va. 123 - Va: Supreme Court, 1983; People v. McSwain 676 NW 2d 236, 259

Mich. App. 654 - Mich: Court of Appeals, 2003 (". Much of the testimony at the evidentiary

hearing concerned dissociative identity disorder, formerly known as multiple personality

disorder … ); State v. Fosnow 624 NW 2d 883, 240 Wis. 2d 699, 2001 WI … - Wis: Court of …,

2000 - (… In December 1998, Fosnow moved to withdraw his no contest pleas based on "newly

discovered evidence" that he suffered from Dissociative Identity Disorder (DID) at the time of

the … ); Davis v. University of North Carolina 263 F. 3d 95 - Court of Appeals, 4th Circuit,

2001 - (… appeals. We affirm. I. Davis was diagnosed in 1993 as suffering from dissociative

identity disorder ("DID"), also known as multiple personality disorder. She … ); Orndorff v.

Com. 628 SE 2d 344, 271 Va. 486 - Va: Supreme Court, 2006 - (… She contended that this new

evidence would show that at the time of the murder she suffered from dissociative identity

disorder (DID), [1] which she alleged would support an insanity … ); State v. Atkins 505 SE

2d 97, 349 NC 62 - NC: Supreme Court, 1998 - Google Scholar (… In support of the (f)(7)

mitigating circumstance, defendant elicited the testimony of Dr. Horacek, who stated that

defendant suffered from a dissociative identity disorder, as well as an … ); Goodermote v.

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Secretary of Health & Human Services 690 F. 2d 5 - Court of Appeals, 1st Circuit, 1982; State v.

Lockhart 490 SE 2d 298, 200 W. Va. 479 - W Va: Supreme Court of Appeals, 1997 - (…

defense to the jury based upon a theory that, at the time of the events in question, he was

suffering from a mental impairment known as "Dissociative Identity Disorder" (also known

as … ); Estes v. Barnhart 275 F. 3d 722 - Court of Appeals, 8th Circuit, 2002 - (… She claimed

disabling conditions consisting of personality disorder, dissociative identity disorder (also known

as multiple personality disorder), panic attacks with agoraphobia, and …); Doe v. Smith 105 F.

Supp. 2d 40 - Dist. Court, ED New York, 1999 - (… In particular, plaintiff offers the opinion of

Dr. Richard Kluft, a psychiatric specialist in Dissociative Identity Disorder, from which the

plaintiff suffers, that proceeding publicly would "cause …); State v. Greene 960 P. 2d 980, 92

Wash. App. 80, 74 Cal … - Wash: Court of …, 1998 - (… capacity. Dissociative Identity

Disorder. Dissociative Identity Disorder reflects a failure to integrate various aspects of identity,

memory, and consciousness … ); State v. Boyd 280 SE 2d 669, 167 W. Va. 385 - W Va:

Supreme Court of Appeals, 1981; Orndorff v. Com. 691 SE 2d 177, 279 Va. 597 - Va: Supreme

Court, 2010 - (… Orndorff maintains that this evidence would demonstrate to a new jury that she

suffers from dissociative identity disorder ("DID"), a mental illness she contends would serve as

the basis … ); State v. Harden 679 SE 2d 628, 223 W. Va. 796 - W Va: Supreme Court of

Appeals, 2009; Olson v. General Elec. Astrospace 966 F. Supp. 312 - Dist. Court, D. New

Jersey, 1997 (… Mr. Olson's diagnosed condition is Multiple Personality Disorder (also known

as Dissociative Identity Disorder), DSM-IIIR 300.14, with depressive episodes secondary to

dissociative … ); US v. Hammer 25 F. Supp. 2d 518 - Dist. Court, MD Pennsylvania, 1998 - (…

Robert M. Sadoff, MD, the defense forensic psychiatrist testified that Mr. Hammer suffered from

multiple personality disorder or as it is now designated dissociative identity disorder … ); United

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States v. Vamos 797 F. 2d 1146 - Court of Appeals, 2nd Circuit, 1986; State v. Bakalov 979 P.

2d 799, 1999 UT 45 - Utah: Supreme Court, 1999 (… She told the reporter that she had been

diagnosed by her therapist, Dr. Judith Brady, with multiple personality disorder, now known as

dissociative identity disorder (DID), [1] and … ); In re CAB 289 SW 3d 874 - Tex: Court of

Appeals, 2009 (… The report continued by stating that [Aja] informed hospital staff that she had

three alter [sic] personalities as part of her dissociative identity disorder … ); Doe v. Del Rio

241 FRD 154 – 2006; Frye v. United States 293 F. 1013 - Court of Appeals, Dist. of Columbia,

1923; Kocaker v. State 119 So. 3d 1214 - Fla: Supreme Court, 2013 (… [9] Dr. Eisenstein

concluded that Kocaker has brain and neuropsychological abnormalities, diagnosed him with

dissociative identity disorder, noted that Kocaker presents multiple … ); Harbot v. Berryhill 335

F. Supp. 3d 382 - Dist. Court, WD New York, 2018 - Google Scholar (… psychogenic non-

epileptic attacks, obesity, mild neurocognitive disorder, depressive disorder, posttraumatic stress

disorder ("PTSD"), dissociative identity disorder (commonly known as … ); O'connor v.

Donaldson 422 US 563, 95 S. Ct. 2486, 45 L. Ed. 2d 396 - Supreme Court, 1975; Johnson v.

Com. 591 SE 2d 47, 267 Va. 53 - Va: Supreme Court, 2004 (… the circuit court impose a life

sentence based on his alleged "mental illness." Johnson asserted that he had been diagnosed as

suffering from "Dissociative Identity Disorder" (DID), a … ); Purvis v. Commissioner of Social

Sec. Admin. 57 F. Supp. 2d 1088 - Dist. Court, D. Oregon, 1999 (… Diagnostically, the

symptoms of alcohol and methamphetamine abuse, bipolar disorder, and dissociative identity

disorder * * * are difficult to unravel … ).


973.   Through her efforts and recommendations, Lisa Wolfe did commit gross negligence and

medical malpractice when she recommended, advised, approved, drafted, dictated and oversaw



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the termination of the doctor-patient relationship between the Plaintiff and Lourdes Colon in

September 1992.


974.   Plaintiff’s Psychologist Expert Witness will opine that Dr Wolfe deviated from the

standard of care through her recommendation to terminate the doctor-patient relationship when

Lourdes Colon suffered from such serious psychopathology and that deviation was the direct and

proximate cause of substantial injuries and damages to both Colon and to the Plaintiff.


975.   Plaintiff’s Psychologist Expert Witness will also opine that Dr Wolfe’s concealment of

her role in dictating the 1992 memorialized handwritten Express Bilateral Contract terminating

the doctor-patient relationship also violated the Code of Ethics for psychologists as presented by

the American Psychological Association and represents gross negligence and misconduct.

            State actors’ violation of Contract clause of U.S. Constitution

976.   The September 1992 agreement between the Plaintiff and Lourdes Colon was an Express

Bilateral Contract, which terminated the doctor-patient relationship and was engineered, drafted

and dictated by the defendant Lisa Wolfe.

977.   Express Bilateral Contracts between private parties are protected by the Contracts clause

of the U.S. Constitution.

978.   As such, the contracts clause of the U.S. Constitution is governed by the Supremacy and

Supercession doctrines, which make the contracts clause pre-eminent over state law.

979.   “Article I, section 10, clause 1 of the Constitution states that “States cannot, inter alia,

“grant Letters of Marque and Reprisal,” “pass any Bill of Attainder,” or “grant any Title of

Nobility, No State shall . . . pass any . . . Law impairing the Obligation of Contract” U.S.

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Constitution; [Contract Clause – Note – “The Contract Clause: Reawakened in the Age of

Covid-19”, 136 Harv. L. Rev. 2130 ; https://harvardlawreview.org/print/vol-136/the-contract-

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       Contracts - the Revival of Lochnerism & Economic Substantive Due Process

980.   “In the early twentieth century, the Supreme Court interpreted the Due Process Clause of

the Fourteenth Amendment to “routinely invalidate state social and economic legislation” based

on “notions of liberty and property characteristic of laissez-faire economics.” Reviving a

literalist interpretation of the Contract Clause would permit the irony of a textually grounded

Lochnerism — broad judicial control of “economic liberty,” but without the anticanonical,

extraconstitutional reasoning of the Supreme Court in Lochner v. New York.” [Contract Clause

– Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130 ;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

19/#footnotes-container ]

981.   “Contract Clause claims may be actionable under 42 U.S.C. § 1983. While § 1983 is not

the sole cause of action through which Contract Clause claims are asserted, its presumed

availability for Contract Clause claim has allowed for resurgent doctrinal development.”

[Contract Clause – Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136

Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-

in-the-age-of-covid-19/#footnotes-container ]

982.   “… Contract Clause jurisprudence at its height in the early nineteenth century, with

attention to how the Framers and early American courts distilled a natural right to contract from

the broad framing of the clause.” [Contract Clause – Note – “The Contract Clause: Reawakened

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in the Age of Covid-19”, 136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-

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983.   “… the twentieth century, identifying how the Lochner-era doctrine of economic due

process developed and departed alongside the Contract Clause’s protections of economic

liberty.” [Contract Clause – Note – “The Contract Clause: Reawakened in the Age of Covid-

19”, 136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-contract-clause-

reawakened-in-the-age-of-covid-19/#footnotes-container ]

984.   “… of such a broad constitutional clause requires an examination of its … recorded

history … for the Contract Clause … rife with references to a natural right to contract, one that

early state courts and the Marshall Court embraced. That natural right presaged a more

aggressive invocation of a “right to contract” made famous in Lochner … “ [Contract Clause –

Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

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985.   “… recorded discussion from the Constitutional Convention pertained to the clause. On

August 28, 1787, Rufus King proposed including “a prohibition on the States to interfere in

private contract.” James Madison responded that the proposed prohibition on ex post facto laws

would already forbid such interferences … five-member Committee of Style and Arrangement

refurbished and reinserted the clause, which now barred states from “altering or impairing the

obligation of contract.” … and the Contract Clause as we know it today was enshrined in Article

I …” [Contract Clause – Note – “The Contract Clause: Reawakened in the Age of Covid-19”,

136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-contract-clause-

reawakened-in-the-age-of-covid-19/#footnotes-container ]
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986.   “… the clause became a vehicle for natural economic rights as the Framers championed

the principle of the right to contract. Amid a depressed economy, many viewed the clause as a

cure to retrospective debtor-relief state laws of the time. Roger Sherman and future Chief Justice

Oliver Ellsworth expressed that the clause was “thought necessary as a security to commerce, in

which the interests of foreigners, as well as of the citizens of different states, may be affected.”

… Madison declared in the Federalist Papers that “laws impairing the obligation of contract are

contrary to the first principles of the social compact and to every principle of sound legislation.”

Likewise, Alexander Hamilton viewed “[l]aws in violation of private contract” as a potential

source of interstate conflict that a strong federal government would remedy, “as they amount to

aggressions on the rights of those States whose citizens are injured by them.” And Charles

Pinckney celebrated the rights of citizens to “trade with each other without fear of tender-laws or

laws impairing the nature of contract.” Already the language of rights, counterbalanced against

states’ legislative power, was prevalent in discourse surrounding the Contract Clause, presaging

its intersection with the “freedom of contract” championed in Lochner.” [Contract Clause – Note

– “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

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987.   “… Patrick Henry likewise noted that the Contract Clause would leave states powerless

to intervene against speculators and debt collectors. Yet most Antifederalists focused their

attention on other limitations on state power in Article I, conceding that “the states had often

acted irresponsibly regarding contract.” [Contract Clause – Note – “The Contract Clause:

Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;



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988.   “ … The context of state debt-relief laws suggests that the primary intent of the clause

was to prevent debt forgiveness, rather than to bar any regulation touching on contract, as the

Marshall Court would later recognize. …Yet the word “alter,” rejected from the Contract

Clause’s text, would have broadened this understanding to any change: “[T]o make otherwise

than it is.” While some scholars have elided this distinction by reference to the Northwest

Ordinance’s broad language, from which the Contract Clause was likely patterned, the clause’s

text explicitly departed from the ordinance’s more expansive reach. Though sweeping on its

face, the Contract Clause features built-in textual and contextual limits to its scope. The

indeterminacy of these limitations, however, set the stage for early American courts to exercise

judicial review in full force.” [Contract Clause – Note – “The Contract Clause: Reawakened in

the Age of Covid-19”, 136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-

contract-clause-reawakened-in-the-age-of-covid-19/#footnotes-container ]

989.   “… Judicial Expansion: The entrenchment of a natural right to contract began with early

judicial interpretations of the Contract Clause, creating a legacy of natural economic freedom

that many courts cite today to justify expanding the Contract Clause’s modern reach. The federal

Contract Clause was the weapon of choice for state and federal courts alike to strike down laws

as unconstitutional in the nineteenth century. From land grants to corporate charters to

insolvency laws, the Supreme Court construed a limitation on state power as a wellspring of the

natural right to contract. … Leveraging the vocabulary of natural law, state high courts and

federal circuit courts struck down legislation deemed inimical to the freedom of contract. These

courts faulted state laws not for contravening the text, as it were, but rather for violating the
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principle of contractual freedom that the clause enshrined. Riding circuit, Justice Paterson

declared in 1795 that “the right of acquiring, possessing, and protecting property is natural,

inherent, and unalienable” when he found a Pennsylvania statute unconstitutional for quieting

title to settlers’ land claims. State high courts soon followed suit, including those of

Massachusetts and Virginia. And even the Supreme Court, albeit in seriatim opinions, engaged in

such natural lawmaking in conversation with the Contract Clause. This natural law tradition first

articulated the freedom of contract that gained momentum in early Supreme Court jurisprudence

and that would reappear in the infamous Lochner era. Such principles informed the Supreme

Court’s first examination of the Contract Clause’s text. In 1795, Georgia sold public lands in

present-day Alabama and Mississippi, but allegations of bribery led the state legislature to later

rescind the grants. In Fletcher v. Peck, the Court determined that the Contract Clause rendered

the law rescinding these land grants void, allowing the sale to remain binding. Like the Federalist

Framers, Chief Justice Marshall employed the language of rights to describe the Contract

Clause’s function, concluding that “when absolute rights have vested under that contract, a

repeal of the law cannot devest those rights.” [Contract Clause – Note – “The Contract

Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

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990.   In the instant case, absolute rights have vested in the Plaintiff under the Express Bilateral

contract terminating the doctor-patient relationship, and as such, state judicial proceedings by

DALA or BORIM cannot devest those rights.

991.   “Considering whether a public grant qualified as a contract, Chief Justice Marshall again

relied on how rights inured similarly between grants and contract: “A grant, in its own nature,
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amounts to an extinguishment of the right of the grantor, and implies a contract not to reassert

that right.” Declaring that the clause was “applicable to contract of every description,” public and

private, the Chief Justice filled the gap the Framers had left in drafting the Contract Clause. In

doing so, he deferred to “a power applicable to the case of every individual in the community” to

enforce such rights in defense of the freedom to contract. Fletcher thus employed a natural

rights–based perspective to distill from the Contract Clause an economic right to contract, free

from retrospective impairment. …” [Contract Clause – Note – “The Contract Clause:

Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

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992.   “… In addition to state grants, the Supreme Court included corporate charters and

bankruptcy laws within its interpretive scope, again relying on a natural rights–based perspective

of the Contract Clause’s reach. In Trustees of Dartmouth College v. Woodward, the New

Hampshire act at issue would have made the college a public institution, even though it was

originally chartered to private trustees by King George III. While Fletcher featured wholesale

voidance of land grants, Dartmouth College involved a (perhaps drastic) change to a corporate

charter. But because the case featured retrospective contractual impairment, the Chief Justice

concluded that the act violated the Contract Clause. He seemed to “interpret the word ‘impair’ in

the Contract Clause as equivalent to ‘alter’” by rejecting the argument that the state legislature’s

alteration of the charter did not impair it, despite the clause’s drafting history. In doing so, Chief

Justice Marshall again relied on a natural rights–based framework, this time distinguishing a

corporation as an artificial instrument from its trustees enjoying contracting rights as “natural

person[s].” By invoking this natural law tradition in tandem with a broad textual interpretation,

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the Marshall Court further entrenched an individualized freedom to contract within a structural

state limitation. Yet Chief Justice Marshall did not always succeed in his efforts to expand the

clause’s meaning. When he did not, debate on the limits of the natural right to contract erupted.

In Ogden v. Saunders, a debtor used an 1801 New York bankruptcy law as a defense against an

action in assumpsit for a contract drawn up in 1806. The majority concluded that a law

prospectively affecting contract — that is, a statute impacting those contract formed after it goes

into effect — did not violate the Constitution. Justice Johnson curbed what had been the trend of

granting vast constitutional protections to contract, concluding that “to assign to contract,

universally, a literal purport, and to exact for them a rigid literal fulfilment, could not have been

the intent of the constitution.” He even discussed how slavery once fit into the rights-based

perspective Chief Justice Marshall had employed in previous Contract Clause cases, stating:

“There was a time when a different idea prevailed, and then it was supposed that the rights of the

creditor required the sale of the debtor, and his family.” Dissenting, Chief Justice Marshall

asserted that the clause, “taken in [its] natural and obvious sense, admit[s] of a prospective, as

well as of a retrospective operation.” He thus resisted the idea that states could enact such

legislation by simply specifying prospective application, which in time, he believed, would

“make this provision of the [C]onstitution so far useless.” And as in previous cases, the Chief

Justice emphasized the right to contract, which “do[es] not derive from government” but rather

“is intrinsic, and is conferred by the act of the parties.” [Contract Clause – Note – “The Contract

Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

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 “Weinberg law” was quasi-legislated de facto in 2002 in Massachusetts by DALA & BORIM

993.   The “Weinberg law” was not a law prospectively affecting contracts in general — that is,

a statute impacting those contract formed after it goes into effect — which would not violate the

Constitution, but the Weinberg law was de facto, retrospectively affecting the express bilateral

contract terminating the doctor-patient relationship.

994.   The Weinberg law was fashioned by BORIM to punish the Plaintiff as it was enacted to

retrospectively punish the Plaintiff when it was applied ex post facto to void the Plaintiff’s

bilateral express contract terminating the doctor-patient relationship, and as such, is an affront to

the Contract clause of the U.S. Constitution.

995.   Furthermore, BORIM’s actions violated the Plaintiff’s right to procedural Due Process as

those actions substantially deprived the Plaintiff of his right to contract as well as depriving the

Plaintiff of his property rights in his medical license.

996.   The Weinberg law violates the Plaintiff’s right to Due Process of Law because the

Plaintiff was never provided NOTICE of the Weinberg law to guide his conduct prior to its

enactment and therefore it violated the essential requirement of Due Process that citizens be

provided with notice of prohibited conduct prior to enforcement.

997.   The de facto “Weinberg law” quasi-legislated by BORIM is comprised of forty-three (43)

distinct elements as adjudicated by DALA & BORIM, and is individualized legislative action

whose purpose is to punish the Plaintiff for past conduct without the benefit of a fair trial where

the Plaintiff would be able to present evidence of the termination of the doctor-patient

relationship by the 1992 memorialized handwritten Express Bilateral Contract.

998.   “… These cases showcase the entrenchment of the right to contract within the Marshall

Court’s interpretation of the Contract Clause. Courts converted a structural limitation on state

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power into a source of a natural and individual right to contract. This fusion presaged what the

Lochner Court would term “freedom of contract”: “The doctrine that people have the right to

enter into binding private agreements with others; a judicial concept that contract are based on

mutual agreement and free choice, and thus should not be hampered by undue external control

such as governmental interference.” And the tension between the Contract Clause as a source of

individual rights and as an allocation of authority between federal and state sovereignties typifies

the current circuit split on federal private rights of action under the clause. Though the Contract

Clause’s bright-line language provided textualist support for the Marshall Court’s interpretation,

the Court’s natural law reasoning connects the clause to the lessons of the Lochner era and to its

potential revitalization today…” [Contract Clause – Note – “The Contract Clause: Reawakened

in the Age of Covid-19”, 136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-

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999.   Through the de facto Weinberg law, the State actor defendants did violate the Plaintiff’s

constitutionally-protected Freedom of Contract under the Contract clause, retrospectively-

looking with ex post facto application; furthermore as discussed more fully below BORIM also

violated the Plaintiff’s right to Equal Protection under the law.

1000. Furthermore, Defendant Alice Oliff stated, during the October 2002 hearing at BORIM,

that the retroactive application of a BORIM precedent set in 1998 by BORIM to the Plaintiff’s

conduct in 1992-3 would not offend the rule of law.

1001. However, such retroactive applications of rules or precedents are only acceptable when

they do not substantially increase the liability of persons affected – which was not true in the

present case.


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1002. The Weinberg law attempts unconstitutionally to render null and void the Plaintiff’s 1992

bilateral express contract terminating the doctor-patient relationship, and its subsequent

modification to provide for the clinical-nonclinical binary classification of time and place; which

contracts were otherwise lawful and enforceable and not contrary to any other state or federal

law.

1003. “ … Despite its ambitious beginnings, Contract Clause jurisprudence would eventually

decline from its once-lofty status. While employing the same rights-based language that the

Marshall Court used in describing the value of the Contract Clause, the Taney Court began

limiting the reach of the clause, which nevertheless remained broad until the Gilded Age. The

Court soon recognized that “the legislature cannot bargain away the police power of a State.” But

the emergence of economic due process carried on the principle of the freedom to contract,

which — like the Contract Clause — fell to a renewed understanding of state police power.”

[Contract Clause – Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136

Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-

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1004. However, the de facto enactment of a Bill of Attainder, such as the Weinberg law, which

was applied to the Plaintiff ex post facto without prior notice does not inure or impair the police

power of the state, as it is a retroactive law applying to only one person – the Plaintiff – as it

retrospectively looks back in history to the actions and conduct of the Plaintiff after-the-fact, and

is not prospectively looking forward to restricting any police powers of the state.

1005. “The Lochner-era Court’s articulation of the freedom to contract under the Fourteenth

Amendment’s Due Process Clause mirrored that of the Marshall Court under the Contract

Clause. In 1897, the Supreme Court first articulated that the due process guarantee to “liberty”
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included “enter[ing] into all contract which may be proper, necessary, and essential” to enjoy “all

[a citizen’s] faculties.” In 1905, the Court issued its infamous Lochner decision, striking down a

New York law establishing a maximum sixty-hour workweek for bakers. Despite the Contract

Clause’s prominence over the past century, it never came up once in the Lochner decision, due to

Ogden’s restriction to only retrospective claims. Rather, the natural rights of contracting

articulated in Lochner depended on a prospective view of the freedom to contract.

Like the Ogden majority, Justices Holmes’s and Harlan’s dissents in Lochner rebelled against a

natural rights–driven conception of a limitless freedom to contract. With special significance in

today’s context, Justice Holmes referred to the Court’s earlier decision upholding

Massachusetts’s compulsory vaccine law as proof that states are able to implement certain

restrictions to liberty for the common good without violating the Constitution. And Justice

Harlan catalogued a variety of previous Supreme Court cases standing for the proposition that

“the right of contract was not ‘absolute . . . but may be subjected to the restraints demanded by

the safety and welfare of the State.’” The Lochner Court’s language of economic rights in

majority and dissent mirrored that of early Contract Clause jurisprudence, confirming the

common basis behind the jurisprudence of the two clauses.” [Contract Clause – Note – “The

Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

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1006. The de facto Weinberg law did not depend on a prospective view of the freedom to

contract nor was the Weinberg law implemented as a restriction to the liberty to contract for the

common good because the Weinberg law was enacted to punish the Plaintiff.


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1007. Although the BORIM decision and order states that the revocation of Weinberg’s medical

license was done to protect the health, safety and welfare of the people under the state’s police

power, this was an obvious pretext.

1008. BORIM had the emergency power to revoke the Plaintiff’s license immediately in

November 1996 when it first learned all the relevant facts concerning the sexual activity of the

Plaintiff if there were a true concern about the danger he posed to the community, but BORIM

waited six (6) years until it revoked the Plaintiff’s license in October 2002.

1009. During these six years, the Plaintiff was medically treating between 20 – 30 patient-visits

daily, or 100 – 150 patient-visits weekly, which amounts to 5,000 – 7,500 patient-visits yearly, or

a total of 30,000 – 45,000 patient-visits over the six years, who were being treated at the Boston

Evening Medical Center, Parkhill Family Practice in Fitchburg, Whidden Memorial Hospital ED,

Haverhill Hale Hospital, Anna Jaques Hospital, Malden Hospital ED and Jones Memorial

Hospital in Wellsville, NY.

1010. If BORIM were truly concerned about the safety and danger that the Plaintiff posed to the

community, then it was grossly negligent in not taking any action on that concern for six years.

1011. Although licensing boards have the power and authority to regulate physicians to ensure

that their practice of medicine comports with good medical practice and does not cause harm to

patients, licensing boards do not have the authority to enforce criminal actions and punish its

licensees by seizing their licenses to punish them, which would represent criminal prosecution

and procedure and require a different set of procedures to punish doctors penally to dish out

criminal sentences and seizure of assets and physician property rights in their medical licenses.




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1012. The actions of BORIM, following six years of inactive discipline, are tantamount to the

ultra vires criminal prosecution of the Plaintiff and the unconstitutional seizure of the Plaintiff’s

property rights in his medical license without Due Process of Law because such criminal

proceedings would require and ensure that the Plaintiff have a complete trial by jury, comply

with the Massachusetts Rules of Criminal Procedure, provide the Plaintiff with the right to cross-

examine the witnesses confronting him, find biased hearsay inadmissible at trial, maintain a

chain of evidence, provide the Plaintiff with the right to subpoena such witnesses as Lisa Wolfe

and Stanley Spero, impose the penalty of perjury for any false testimony and tightly comply with

the Rules of Evidence, and mandate that the jury find the Plaintiff guilty beyond a reasonable

doubt.

1013. “… Like the Ogden majority, Justices Holmes’s and Harlan’s dissents in Lochner

rebelled against a natural rights–driven conception of a limitless freedom to contract. With

special significance in today’s context, Justice Holmes referred to the Court’s earlier decision

upholding Massachusetts’s compulsory vaccine law as proof that states are able to implement

certain restrictions to liberty for the common good without violating the Constitution. And

Justice Harlan catalogued a variety of previous Supreme Court cases standing for the proposition

that “the right of contract was not ‘absolute . . . but may be subjected to the restraints demanded

by the safety and welfare of the State.’” The Lochner Court’s language of economic rights in

majority and dissent mirrored that of early Contract Clause jurisprudence, confirming the

common basis behind the jurisprudence of the two clauses.

Just as the Contract Clause and the Lochner era shared a nexus of laissez-faire economic rights,

they also experienced a shared decline based on the notion of the states’ police power. The

Supreme Court decided Home Building & Loan Association v. Blaisdell and West Coast Hotel
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Co. v. Parrish within three years of each other, … [reducing] … the expansive interpretation of

the Contract Clause and economic due process, respectively. As states sought to alleviate the

immense economic distress incurred during the Great Depression, the pedestal upon which the

Contract Clause rested soon toppled.

First in 1934, the Supreme Court implemented a balancing test in Blaisdell that defanged the

Contract Clause, in a now-complete reversal of its nineteenth-century sharpness. In Blaisdell, the

Court rejected a Contract Clause challenge to a Great Depression–era Minnesota law suspending

foreclosures. Writing for the majority, Chief Justice Hughes recognized “a growing appreciation

of public needs and of the necessity of finding ground for a rational compromise between

individual rights and public welfare.” While acknowledging that existing laws were read into

contract to define obligations between parties, so too were “the pre-ëxisting and higher authority

of the laws of nature, of nations or of the community to which the parties belong.” Such a move

was equal yet opposite to the Marshallian tradition. Whereas Chief Justice Marshall relied upon

the natural rights of individuals to contract to broaden the Contract Clause’s reach, Chief Justice

Hughes deferred to the natural powers of the state to regulate health, safety, and welfare to

narrow it. He established five criteria that demonstrated the validity of the state’s mortgage

moratorium to impair contract, including adequate basis, legitimate end, appropriate relation to

the emergency, reasonability, and temporariness.

The Court would repeat this process to undo Lochner in West Coast Hotel, further demonstrating

the doctrines’ shared paths. In distinguishing the “qualified” rather than “absolute” freedom of

contract, the West Coast Hotel Court underscored how “[t]he guaranty of liberty does not

withdraw from legislative supervision that wide department of activity which consists of the

making of contract, or deny to government the power to provide restrictive safeguards.” Both
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Blaisdell and West Coast Hotel thus relied on an understanding of the importance of state police

power to alleviate economic distress, regardless of precedent advocating for nonimpairment of

contract or economic due process. As Professor Cass Sunstein notes, “the [Blaisdell] Court read

the police power very broadly — thus replicating the outcome in West Coast Hotel and rendering

the contract clause functionally identical to the due process clause.”

The last Supreme Court case striking down a state law under the Contract Clause was Allied

Structural Steel Co. v. Spannaus, a 1978 case in which the Court declared that the Contract

Clause “is not a dead letter” and struck down a Minnesota pension law. But the Spannaus

Court’s reformulation of the Blaisdell factors only “assigned different weights to the factors to be

balanced,” and did little to rejuvenate the Contract Clause. And the Court’s most recent

consideration in Sveen v. Melin straightforwardly applied Spannaus to reject a Contract Clause

challenge, with Justice Gorsuch’s lone dissent advocating for “a thoughtful reply” to critics of

the provision’s decline.

These doctrines are, of course, different. Scholars have made a sharp distinction between

Contract Clause and economic due process jurisprudence, rightly distinguishing the Contract

Clause’s retrospectivity from economic due process’s prospectivity. While the Contract Clause

“was concerned with the stability of existing agreements and barred retroactive abridgment of

contract[,] . . . the liberty of contract doctrine was concerned with the right to make future

contract without state oversight.” But the doctrines are two sides of the same coin. If Chief

Justice Marshall had his way in Ogden, the Contract Clause and the economic due process of the

Lochner era would achieve precisely the same outcome. The prospective-retrospective

distinction between the Contract Clause and the Due Process Clause is no doubt important, but

the upshot of the clauses’ twin histories is that judges could (and with the former, perhaps still
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can) secure a laissez-faire vision of contractual rights by striking down state legislation they

deem inimical to it.

To sequester the Contract Clause’s historical development from the brief but groundbreaking

Lochner era thus artificially hides one judicial expression of economic liberty from the other.

What was foreclosed from the Contract Clause in Ogden — proactivity — was rediscovered in

the Due Process Clause in Lochner, and both doctrines met similar ends in Blaisdell and West

Coast Hotel. The fundamental idea of freedom of contract underlies both doctrines, which

matters a great deal when one epitomizes anticanonical judicial interventionism and the other

survives, albeit sidelined, in the text of the Constitution.

And although Lochner has been relegated to the anticanon, the Contract Clause remains waiting

in the rafters. Though it applies only retrospectively, the Contract Clause “offers a plausible

textual basis for judicial intervention that apparently reconciles economic rights with principles

of judicial restraint.” Despite the provision’s spotty drafting history, the Contract Clause “had

been construed almost from the beginning as a potent limitation on state economic regulation.”

As Professor Richard E. Levy notes, the Supreme Court has followed a “pattern of reinvigoration

and retreat” with regard to championing economic rights in its Contract Clause jurisprudence.

With the clause remaining “absolute in its field” as sanctified constitutional text, reinvigoration

may be near.” [Contract Clause – Note – “The Contract Clause: Reawakened in the Age of

Covid-19”, 136 Harv. L. Rev. 2130; https://harvardlawreview.org/print/vol-136/the-contract-

clause-reawakened-in-the-age-of-covid-19/#footnotes-container ]

1014. “Other lower courts have taken an alternate approach to the Ninth Circuit in deciding

substantial impairment before public purpose, yet the result remains the same. In Johnson v.

Murphy, New Jersey Governor Phil Murphy’s executive order allowing security deposits to
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apply to past-due rents resisted a Contract Clause challenge in the U.S. District Court for the

District of New Jersey, which concluded that the residential landlord challengers failed to state a

claim. Citing Third Circuit precedent, the district court emphasized that the extent to which an

industry is regulated is “[a]n important factor in determining the substantiality of any contractual

impairment.” Because the executive order modifying a statutory scheme “should have come

as . . . no surprise” to the already heavily regulated plaintiffs, resulting in no substantial

impairment, the court did not address the public-purpose prong of the test. Challengers had no

luck in state court either — the New Jersey Superior Court adopted much of the same reasoning

as in Johnson to reject a challenge to the same executive order under the state constitution’s

contract clause. In these cases, the pandemic seems peripheral; heavily regulated industries seem

incapable of making even a prima facie showing of a Contract Clause claim.” [Contract Clause –

Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

19/#footnotes-container ]

1015. Although medicine is a heavily-regulated industry, the chief distinction here is that the

Murphy case involved Governor Murphy’s executive order which applies to a group of New

Jersey renters/landlords and does not single out one specific person for its application, whereas

the Weinberg law was enacted de facto to only apply to the Plaintiff, and the Plaintiff alone, not

to a group of physicians and therefore the Weinberg law – a Bill of Attainder – is quite dissimilar

to the Murphy challenge on a Contract claim cause.

1016. “Successful Pandemic Suits: Yet not all Contract Clause litigation in the pandemic has

failed. In Melendez v. City of New York, the Second Circuit reversed the dismissal of landlords’

Contract Clause challenge to the state’s “Guaranty Law.” The law “render[ed] permanently
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unenforceable personal liability guaranties on certain commercial leases for any rent obligations

arising during a specified pandemic period.” Judge Raggi extensively surveyed the history of the

Contract Clause and first concluded that, under the “initial strict textual understanding” of the

clause, the Guaranty Law would be unconstitutional. But even under the more deferential

modern standard, Judge Raggi came to a similar conclusion, as the law substantially impaired

landlords’ guaranty rights and was not “reasonable and appropriate.” Judge Raggi listed five

reasons for her latter conclusion: that the law was not temporary, was not appropriately crafted to

achieve its purpose, allocated economic burden solely to commercial landlords, was not

conditioned on need, and did not compensate landlords’ losses.

In another demonstration of the laissez-faire link between the Contract Clause and economic due

process, Judge Carney, dissenting in part, warned of the Lochnerian overtone of the majority’s

heightened standard of review. She stated that the majority failed to accord the “substantial

deference” legislatures traditionally receive under the modern interpretation of the Contract

Clause. Judge Carney suggested that “‘heightened scrutiny under the Contract Clause [is a]

backdoor to Lochner-type jurisprudence’ that ‘has long since been discarded.’” The majority’s

approach was all the more concerning, according to Judge Carney, because the legislature’s

police power “is at its apex” during a pandemic. She thus asserted that the majority essentially

adopted a strict scrutiny standard for the Contract Clause.

The Eighth Circuit’s approach in Heights Apartments, LLC v. Walz mirrored Melendez in

reversing a dismissal of a Contract Clause challenge to Minnesota’s eviction moratorium. When

Governor Tim Walz issued various executive orders that permitted evictions only for safety

concerns or illicit activity, apartment associations challenged the orders as repugnant to the

Contract Clause among other federal and state constitutional provisions. In reversing the lower
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court’s dismissal, the Eighth Circuit found that the moratorium’s indefinite end date and non-

pandemic-related block on evictions strained reasonability. The court explicitly parted from the

Ninth Circuit, citing intervening Supreme Court precedent and differing procedural posture.

The Melendez and Heights decisions thus provide a glimmer of what the pandemic could imply

for the police-power balancing test outlined in Blaisdell. While most federal and state courts

have found the public purpose of legislative interferences with contract more than sufficient, the

Second Circuit emphasized “centuries-old case law” to rebalance the scales of the Blaisdell test.

The Eighth Circuit came to the same result, even though it cited modern Contract Clause

jurisprudence. The thrust of the Marshall Court’s natural law understanding of the Contract

Clause, even in the face of the most pressing government concerns in the twenty-first century,

persists today. [Contract Clause – Note – “The Contract Clause: Reawakened in the Age of

Covid-19”, 136 Harv. L. Rev. 2130, p.       ; https://harvardlawreview.org/print/vol-136/the-

contract-clause-reawakened-in-the-age-of-covid-19/#footnotes-container ]

1017. “Procedural Stopgap: The Contract Clause and § 1983

Even outside of the substance of such claims, procedural issues in litigating the Contract Clause

remain unresolved. One that directly implicates the economic rights rooted in the Contract

Clause’s history is whether 42 U.S.C. § 1983 furnishes a cause of action for Contract Clause

violations. Resolving this question would alter the incentives of litigating Contract Clause

claims, as § 1983 allows for the collection of attorneys’ fees, the availability of federal court

jurisdiction, and the avoidance of state law obstacles. Federal courts of appeals are split on this

issue, and the Supreme Court’s potential resolution of it may shed further light on the

enforceability of a constitutional right to contract.


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A. The Legislative History of §1983


Like the Contract Clause, § 1983 has a murky yet pertinent history. It originated from the Civil

Rights Act of 1866, which criminalized the deprivation of various rights secured by the Act.

Among them (indeed, the first listed) is the right “to make and enforce contract.” The Civil

Rights Act of 1871 expanded this legislation to provide a private cause of action for “the

deprivation of any rights, privileges, or immunities secured by the Constitution.” Upon

Congress’s reorganization of provisions of federal law in 1874, the Act expanded to include

rights “secured by the Constitution and laws,” becoming substantially identical to the § 1983 of

today.


First “languish[ing] in relative obscurity until 1961,” § 1983 has expanded to include a

compendium of constitutional claims. Initially, the Supreme Court construed the Act to exclude

conduct that transgressed officials’ authority. But nearly a century later, the Court reversed

course. After reexamining the Act’s legislative history, the Court concluded that § 1983

“afford[ed] a federal right in federal courts because, by reason of prejudice, passion, neglect,

intolerance or otherwise, state laws might not be enforced.” Time and again, the Court has

emphasized that § 1983 is to be construed liberally due to its broad language and remedial

purpose.


Now, claims of constitutional and statutory violations are subject to a two-part test to qualify

under § 1983’s private right of action. First, “the plaintiff must assert the violation of a federal

right,” one in which the provision at issue creates binding obligations upon the government

rather than express a congressional preference. And second, “the defendant may show that



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Congress ‘specifically foreclosed a remedy under § 1983’ by providing a ‘comprehensive

enforcement mechanis[m] for protection of a federal right.’”

B. Section 1983 Claims of Contract Clause Violations: Resolving the Tension Between Carter

and Dennis

Yet even before the Court reinvigorated the Civil Rights Act, a Reconstruction-era case seemed

to foreclose Contract Clause claims under § 1983. The trouble began with taxes. In Carter v.

Greenhow, a Virginia property owner attempted to pay his real estate taxes with “coupons cut

from bonds issued by the state of Virginia.” But Virginia forbade payment via coupon, levying

the owner’s property to collect his tax debts. When the property owner invoked the Civil Rights

Act of 1871 (the predecessor statute of § 1983) to challenge the Virginia law, the Court denied

his challenge. Suggesting that the lone potential source of federal law to support the challenge

was the Contract Clause, the Carter Court explained that the clause, “so far as it can be said to

confer upon, or secure to, any person, any individual rights, does so only indirectly and

incidentally.” Rather than secure a private cause of action, the Contract Clause functions only to

nullify state laws that would impair contractual enforcement in judicial proceedings.” [Contract

Clause – Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev.

2130; https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-

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1018. As with the instant case of the Plaintiff’s express bilateral contract terminating the

doctor-patient relationship, the Contract clause should function to nullify the de facto Weinberg

law by which DALA and BORIM have impaired contractual enforcement in judicial

administrative proceedings pursuant to M.G.L. c. 30A.


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1019. “A similarly situated Commerce Clause case would cast doubt on Carter a century later.

Dennis v. Higgins featured a successful § 1983 challenge to “retaliatory” taxes on motor vehicles

operated in Nebraska but registered in other states. The Court recognized its common practice of

describing the right to participate in interstate commerce throughout its Commerce Clause

jurisprudence, finding such a claim captured under § 1983. In dissent, Justice Kennedy

emphasized Carter to suggest that the limitations placed on states in Article I grant no individual

rights cognizable under § 1983. In a footnote, the majority responded that Carter had been

interpreted to be a deficiency in pleading rather than an assessment of whether § 1983 could

provide redress for Contract Clause violations.


From this footnote followed an as-of-yet unresolved circuit split. Whereas the Ninth Circuit

pointed to the Dennis Court’s narrow reading of Carter to recognize Contract Clause claims

under § 1983, other circuits have parted company. The Fourth Circuit understood Dennis to only

distinguish Carter from the Commerce Clause framework, not to overrule it in its precise context.

More recently, the Sixth Circuit has agreed, adding that only the Supreme Court could overrule

its precedent to resolve such tension. Other circuits have punted on the question, but often due to

litigants failing to raise the issue.


The rights-based jurisprudence of the Contract Clause in its heyday might suggest a similar result

as in Dennis should the Supreme Court reconsider Carter. Just as the Court “often described the

Commerce Clause as conferring a ‘right’ to engage in interstate trade free from restrictive state

regulation,” it has also frequently invoked the right to contract in its Contract Clause

jurisprudence. As discussed above, Chief Justice Marshall spared little ink in championing the

individual rights that the Contract Clause secured. And even after the clause declined in force,

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the Court has continued to enshrine the individual right to contract within its tempered Contract

Clause jurisprudence.


Yet given the limited remedial landscape of constitutional contract law, Carter may retain

vitality. Despite Elbridge Gerry’s best efforts, the Contract Clause limits only state power,

exempting the federal government from its strictures. And so far as state government contract are

concerned, the remedies available are slim to (likely) none. Courts have refused to equate a state

government’s breach of contract with a Contract Clause violation. Specific performance and

payments from state treasuries are forbidden remedies as well. Even for private contract

impairments, a § 1983 cause of action may be unnecessary — plaintiffs in breach of contract

suits may always invoke the Contract Clause to rebut statutory defenses. The lack of

constitutional remedies for breaches of public contract, coupled with the availability of

constitutional replies against breaches of private contract, leaves little room for Contract Clause

claims under § 1983. On this understanding, Carter remains correct.


The right of action that § 1983 secures is far from the only mechanism in which Contract Clause

claims may arise. For instance, breach of contract suits between private parties may feature

Contract Clause claims as a reply to defenses that state laws have altered contractual obligations.

Yet the successful pandemic suits discussed above have arisen uniformly through § 1983.

Determining whether § 1983 furnishes a private right of action for Contract Clause claims thus

directly impacts the future doctrinal development of the Contract Clause.” [Contract Clause –

Note – “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

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1020. “Though probably the most textually linked to economic liberty, the Contract Clause is

certainly not the only constitutional provision capable of resurrecting Lochnerism. Litigants have

employed other provisions of the Constitution to attempt to thwart government responses to the

pandemic, such as the Commerce Clause, the Free Exercise Clause, and the Due Process Clause.

Similarly, the Supreme Court and lower federal courts are not the only judicial institutions

capable of executing the Contract Clause. State courts may take more expansive interpretations

of parallel state constitutional contract clauses.


But if state governments, in the course of navigating a debilitating pandemic, cannot sideline

other provisions of the Constitution, Blaisdell’s justification for state impairments of contractual

obligations suggests the opposite for the Contract Clause. Such a “boundless” police power could

substantiate claims that the Contract Clause really is a dead letter that ought to return to its

former laissez-faire glory.


As state government mandates wane with the pandemic’s severity, mootness doctrine may

prevent these issues from metamorphosing into full-blown challenges to the Blaisdell test, as in

Johnson. But the exigency of the pandemic resulted in an already permissive grant of police

power to the states expanding even further beyond the ambit of the Contract Clause,

exacerbating the criticism that the clause’s modern jurisprudence has faced. Additionally, the

recent emergence of coronavirus variants, insofar as they inspire a revival of state government

mandates and moratoria, could encourage a new wave of lawsuits. Though Justice Gorsuch is the

only current Supreme Court Justice on record to advocate for a more expansionist interpretation

of the Contract Clause, federal courts of appeals and state supreme courts wield the power to

return, albeit incrementally, to the Marshallian view of the provision.

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For the past fifty years, as it pertains to the Contract Clause, “the law hath not been dead, but it

hath slept.” Yet so long as the provision’s broad language remains enshrined within Article I,

along with a patchy (and thus malleable) drafting history and an ambitious (if abandoned)

jurisprudence, it remains capable of awakening. Understanding the clause’s text, history, and

development — especially in its relation to the Lochner era — is thus vital to comprehending a

potential reinvigoration in the midst of unprecedented emergencies.” . [Contract Clause – Note

– “The Contract Clause: Reawakened in the Age of Covid-19”, 136 Harv. L. Rev. 2130;

https://harvardlawreview.org/print/vol-136/the-contract-clause-reawakened-in-the-age-of-covid-

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                   Violating Plaintiff’s Liberty to Contract

1021. The de facto quasi-legislated Weinberg law implemented by BORIM in 2002 violated the

Plaintiff’s constitutional rights under the contracts clause of the U.S. Constitution by abridging

the Plaintiff’s freedom of contract. Lochner v. New York, 198 U.S. 45, 25 S. Ct. 539; 49 L.Ed.

937 (1905); Allgeyer v. Louisiana (1897); Slaughterhouse Cases, 83 U.S. 36 (1873); Munn v.

Illinois, 94 U.S. 113 (1876); Mugler v. Kansas, 123 U.S. 623 (1887); Allgeyer v.

Louisiana, 165 U.S. 578 (1897); Adkins v. Children's Hospital, 261 U.S. 525 (1923).


1022. The Plaintiff has a fundamental constitutional right to freedom of contract as a basic right

covered by the protections for "life, liberty, and property" in the Fourteenth Amendment's Due

Process Clause.

1023. The general right to make a contract in relation to his business is part of the liberty of the

individual protected by the Fourteenth Amendment to the Federal Constitution.




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1024. Under that provision, no State can deprive any person of life, liberty or property without

due process of law. “ … Court explained that by "circumstances which exclude the right", it

meant when states passed laws under the "police power"—the inherent authority of U.S.

state governments to pass laws governing "health, safety, and morals". The Court said that

because the Due Process Clause protected freedom of contract, state laws could only interfere

with it if they were valid exercises of the police power. To guarantee this freedom, the Court said

that American courts had to scrutinize state laws regulating economic freedom, such as New

York's bakery law, to ensure they served valid police-power purposes.”


1025. “…Lastly, the Court said that state laws ostensibly enacted for police-power purposes

were often really intended to redistribute wealth or help a certain group at the expense of others.

It is impossible for us to shut our eyes to the fact that many laws of this character, while passed

under what is claimed to be the police power for the purpose of protecting the public health or

welfare, are, in reality, passed for other motives.” Lochner, 198 U.S. at 64.


1026. The Plaintiff’s liberty to contract and freedom to contract are protected by the contracts

clause of the U.S. Constitution. Coppage v. Kansas (1915) [Court struck down statutes

forbidding "yellow-dog contract."]; Adkins v. Children's Hospital (1923) [Supreme Court held

that minimum wage laws violated the due process clause]; [“… The Supreme uses the Due

Process Clause of the Fourteenth Amendment to strike down state laws, regulatory of business

and industrial conditions, because they may be unwise, improvident, or out of harmony with a

particular school of thought."]


1027. Modern substantive due process: A higher standard is used in reviewing legislation

infringing on personal liberties. Meyer v. Nebraska (1923) which cited Lochner as establishing

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limits on the police power, has established a privacy right under substantive due process. Roe v.

Wade (1973), the Supreme Court held that women have a privacy right to determine whether or

not to have an abortion. In Planned Parenthood v. Casey (1992), the Supreme Court reaffirmed

that right but no longer used the term "privacy" to describe it. The abortion right was later

overruled in Dobbs v. Jackson Women's Health Organization (2022).


1028. Scholars have noted that when the Fourteenth Amendment was adopted in 1868, twenty-

seven (27) of the thirty-seven (37) state constitutions had adopted references to Locke's labor

theory of property, which typically said: "All men are by nature free and independent, and have

certain inalienable rights, among which are those of enjoying and defending life and liberty,

acquiring and possessing and protecting property: and pursuing and obtaining safety and

happiness." As such clauses were "deeply rooted in American history and tradition," they likely

informed the original meaning of the scope and nature of the fundamental rights protected by the

Fourteenth Amendment in the eyes of Lochner-era justices.


1029. “According to Barnett, the liberty of contract is properly found in the Privileges or

Immunities Clause, not in the Due Process Clause of the Fourteenth Amendment. … David

Bernstein, in Rehabilitating Lochner: Defending Individual Rights Against Progressive Reform,

has argued that Lochner was well grounded in Supreme Court precedent and that its emphasis on

limits to the states' police powers informed the Supreme Court's early civil liberties and civil

rights cases.


1030. Thus BORIM violated the Plaintiff’s liberty to contract under the U.S. Constitution.




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      State Actor defendants violated Plaintiff’s right to Equal Protection of the Laws
        and burdened the Plaintiff’s fundamental constitutional right to Marry

1031. The Equal Protection Clause, Section 1, Fourteenth Amendment:

“All persons born or naturalized in the United States, and subject to the jurisdiction thereof, are

citizens of the United States and of the State wherein they reside. No State shall make or enforce

any law which shall abridge the privileges or immunities of citizens of the United States; nor

shall any State deprive any person of life, liberty, or property, without due process of law; nor

deny to any person within its jurisdiction the equal protection of the law.”

             The right to marry is a Fundamental Constitutional Right

1032. The right to marry is a fundamental constitutional right of American citizens and any

state law which burdens that right shall be subject to strict scrutiny analysis.

1033. The fundamental constitutional right to marry includes the right not to marry.

1034. BORIM regulations and actions do burden the Plaintiff’s fundamental constitutional right

to marry in a discriminatory way which punishes some physicians but not others, thus violating

Equal Protection of the Law for all physicians.

                    Violation of the Equal Protection clause

       BORIM regulations burden physicians’ fundamental right to Marry

1035. BORIM regulations discriminate among the physicians who have sexual relations with

their patients, treating them differentially, where some physicians are left alone while other

physicians are subject to revocation of their medical licenses, as was done with the Plaintiff.

1036. BORIM regulations classify physicians having sexual relations with their patients into

two (2) distinct groups: (1) those physicians who have sexual relations with their patients, during

an active non-terminated doctor-patient relationship, who then go on to marry their patients; and



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(2) those physicians who have sexual relations with their patients, during an active non-

terminated doctor-patient relationship, who do not go on to marry their patients.

1037. There are hundreds of physicians in the Commonwealth of Massachusetts in the first

group who have dated, courted and had premarital sex with then-current patients and then

married their patients; BORIM does not and never has prosecuted any licensed physician who

married a patient with whom they had sexual relations while still acting as their medical doctor.

1038. The Plaintiff personally knows several doctors in this first group who met their wives

when they were only patients, and then went on to marry them.

1039. BORIM has no strict regulation which prohibits its licensed physicians from marrying

former patients, whom they had sexual relations with while they were still patients.

1040. However, the story for the second group is dramatically different: some simply end the

relationship without marriage, but other patients may sue their doctor-lover and/or file a

complaint with BORIM.

1041. After the second group of physicians are sued by the patients, BORIM may initiate

disciplinary proceedings against those physicians and subsequently may suspend or revoke the

medical license of those physicians.

1042. These BORIM regulations severely hamper and burden the physicians’ fundamental

constitutional right to marry in a discriminatory way violating Equal Protection of the Law.

1043. Ignoring the fact that the doctor-patient relationship between Colon and the Plaintiff was

terminated by the 1992 memorialized handwritten Express Bilateral Contract, these regulations

which preferentially reward physicians for marrying their patients after sexual involvement

violate the Plaintiff’s right to Equal Protection of the Law and his fundamental constitutional

right to marry, and as such, must be judicially reviewed under Strict Scrutiny analysis.

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1044. Basically, when looking at the entire group of physicians who are sexually active with

their patients, the BORIM regulations provide a strict choice: MARRY THE PATIENT OR

LOSE YOUR LICENSE.

1045. During the relevant times 1992 – 2003, BORIM did not have a regulation which

prohibited all doctors from becoming sexually involved with any patient whom they ever treated;

in fact numerous physicians have married their patients whom they became sexually involved

with during the doctor-patient relationship.

1046. Licensed doctors who dated their patients and had sexual relations with their patients

were not sanctioned or disciplined by BORIM, unless the patient filed a Complaint with BORIM

or filed a lawsuit against the doctor.

1047. BORIM has acted in a discriminatory manner in regards to physicians’ fundamental

constitutional right to marry because BORIM only prosecuted and disciplined the physicians

who did not marry their patients but did not prosecute the physicians who married their patients –

thus the rule of law was – marry your patient or have your license revoked.

1048. Numerous doctors have dated their patients, then married their patients, had sexual

relations with their patients, who were never sanctioned nor disciplined by BORIM, unless the

patient filed a Complaint with BORIM or filed a lawsuit against the doctor.

1049. This discriminated against one of two groups of doctors who were similarly situated –

(1) those doctors who were sexually involved with their patients who did marry the patient, and

(2) those doctors who were sexually involved with their patients who did not marry the patient –

the discriminatory and dispositive fact involved the physicians’ fundamental constitutional right

to marry.




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1050. In the instant action, BORIM initiated an investigation, disciplinary proceedings and

proceeded to revoke the Plaintiff’s medical license, in spite of the fact that a 1992 Express

Bilateral Contract terminated the doctor-patient relationship, because defendant Lourdes Colon

filed a lawsuit against the Plaintiff in Middlesex Superior Court, but BORIM did not investigate

or initiate disciplinary proceedings against any of the doctors specified above who were similarly

situated as the Plaintiff (even ignoring the relevant termination of the doctor-patient relationship

by an Express Bilateral Contract).

1051. This BORIM regulation substantially and purposefully interferes with the physicians’

fundamental constitutional right to marry – which as such, must undergo judicial review using

the Strict Scrutiny standard.

1052. The Equal Protection Clause, first section, Fourteenth Amendment to the United States

Constitution. “…took effect in 1868, provides "nor shall any State ... deny to any person within

its jurisdiction the equal protection of the laws." It mandates that individuals in similar situations

be treated equally by the law;” it now focuses on persons who are similarly situated but are

punished by the law in a discriminatory manner.

1053.   A primary motivation for this Equal Protectioin clause was to validate the equality

provisions contained in the Civil Rights Act of 1866, which guaranteed that all citizens would

have the guaranteed right to equal protection by law.

1054. Equal Protection Clause equals "Equal Justice Under Law"


1055. Equal Protection clause was the basis for Brown v. Board of Education (1954) (helped to

dismantle racial segregation in the schools); Obergefell v. Hodges (legalized same-sex marriages,

and other decisions rejecting discrimination against, and bigotry towards, people belonging to

various groups).
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1056. The Equal Protection Clause itself applies only to state and local governments, and this

would include the defendants BORIM and DALA as state agencies.


1057. Supreme Court held in Bolling v. Sharpe (1954) that the Due Process Clause of the Fifth

Amendment nonetheless requires equal protection under the laws of the federal government

via reverse incorporation.


1058. Fourteenth Amendment "…no State may deny to any person the equal protection of the

laws, including all the limitations for personal protection of every article and section of the

Constitution ..."


1059. Early Equal Protection cases involved the Civil Rights Cases (1883) regarding the

constitutionality of the Civil Rights Act of 1875. The Act provided that all persons should have

"full and equal enjoyment of ... inns, public conveyances on land or water, theatres, and other

places of public amusement."


1060. The Court explicated the "state action doctrine", according to which the guarantees of the

Equal Protection Clause apply only to acts done or otherwise "sanctioned in some way" by the

state.


1061. The Equal Protections clause applies not only to statutes and laws, but also applies to

state acts or conduct which is sanctioned in some way by the state.


1062. BORIM’s conduct and procedures used during the formulation of the Weinberg law -

 which singled out the Plaintiff for punitive revocation of his medical license with Due Process

 based on the false factual record resulting from the defendants’ spoliation of exculpatory

 evidence concealing the 1992 Express Bilateral Contract which terminated the doctor-patient
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 relationship -comprise such state acts or conduct officially sanctioned by the Commonwealth of

 Massachusetts.


       Fundamental Constitutional Rights – Equal Protection of the Law
             Judicial Standard is Strict Scrutiny analysis

1063. The right to marry is a fundamental constitutional right, and any state law or regulation

interfering with that right must meet the Strict Scrutiny test of being a necessary law, narrowly

tailored to meet a compelling state interest.


1064. The right to marry subsumes the right not to marry.


1065. Regarding their right to marry, there are two (2) groups of physicians who are involved

with sexual relations with their then-current patients: (1) one group of physicians court, have sex,

then get married to their patients and live happily ever after, and (2) the second group of

physicians court, have sex, get sued, are reported to BORIM by the patients, lose their medical

license and do not live happily ever after.


1066. This is discriminatory action by BORIM for the two groups of physicians who are

similarly situated – both groups of physicians are sexually involved with their patients – on the

basis of whether the physicians marry or don’t marry their patients.


1067. BORIM only takes disciplinary action and revokes the licenses of those physicians who

do not marry their patients – an interference with the fundamental right to marry.


1068. The Plaintiff will call to the stand to testify ten (10) physicians who married their

patients, after having sexual relations while still serving as their physician, but BORIM never




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took any disciplinary action nor will it ever take any disciplinary action against those married

physicians.


1069. BORIM will only revoke the medical licenses of those physicians who do not marry their

patients after having sexual relations with then-active patients.


1070. This sort of discriminatory action by BORIM on the basis of marriage violates the

Plaintiff’s right to equal protection of the law regarding his fundamental constitutional right to

marry someone like the defendant Lourdes Colon.


1071. The BORIM regulation effectively and constructively reads as follows:


       “Any physician who engages in sexual activity with a current patient, but does not marry

       that patient, will be subject to disciplinary action and/or revocation of their medical

       license. However, a physician who engages in sexual activity with a current patient but

       does marry that patient will not be subject to any disciplinary action.”


1072. This is the type of disparate and discriminatory action by the State for the two groups of

physicians who are similarly situated, each group engaging in consensual sexual relations with

their patients, but do not receive Equal Protection of the law because the group who subsequently

marries their patients are not punished or disciplined by BORIM but the group which does not

marry their patients, whose patients may file a lawsuit or a complaint with BORIM, are the ones

who are punished and disciplined for the sexual conduct with patients; thus these BORIM

regulations discriminate among the two doctor groups and disproportionately burden the

fundamental right to marry in violation of the Equal Protection clause of the Constitution.



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1073. This BORIM regulations violates the Plaintiff’s right to Equal Protection of the Law in

regards to his fundamental constitutional right to marry.


1074. BORIM must meet the judicial standard of strict scrutiny for such a discriminatory

regulation affecting the Plaintiff’s fundamental right to marry versus their discriminatory

treatment of doctors who marry or don’t marry their sexual-partner patients, thus placing an

inordinate burden upon the fundamental right and liberty to marry.


1075. In 2015, the Supreme Court held in Obergefell v. Hodges that the fundamental right to

marry is guaranteed to same-sex couples by both the Due Process Clause and the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution and required

all states to issue marriage licenses to same-sex couples and to recognize same-sex marriages

validly performed in other jurisdictions. Failinger, Marie (2009). "Equal protection of the laws".

In Schultz, David Andrew (ed.). The Encyclopedia of American Law. Infobase. pp. 152–

53. ISBN 978-1-4381-0991-6. Archived from the original on July 24, 2020.


1076. The equal protection clause guarantees the right of "similarly situated" people to be

treated the same way by the law; in the Plaintiff’s case, BORIM should equally discipline all

physicians who engage in sexual relations with their patients, regardless of whether or not the

physicians eventually marry their patients.


               Fundamental constitutional rights utilize Strict Scrutiny -
                     other suspect groups only receive Rational basis scrutiny

1077. In 1971, the U.S. Supreme Court decided Reed v. Reed, extending the Equal Protection

Clause of the Fourteenth Amendment to protect women from sex discrimination, in situations



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where there is no rational basis for the discrimination. That level of scrutiny was boosted to an

intermediate level in Craig v. Boren (1976).


1078. In City of Cleburne v. Cleburne Living Center, Inc. (1985), the Court refused to make

the developmentally disabled a suspect class. Many commentators have noted, however—and

Justice Thurgood Marshall so notes in his partial concurrence—that the Court did appear to

examine the City of Cleburne's denial of a permit to a group home for intellectually disabled

people with a significantly higher degree of scrutiny than is typically associated with the

rational-basis test.


1079. The Court's decision in Romer v. Evans (1996) struck down a Colorado constitutional

amendment aimed at denying homosexuals "minority status, quota preferences, protected status

or [a] claim of discrimination." The Court rejected as "implausible" the dissent's argument that

the amendment would not deprive homosexuals of general protections provided to everyone else

but rather would merely prevent "special treatment of homosexuals."


1080. Much as in City of Cleburne, the Romer decision seemed to employ a markedly higher

level of scrutiny than the nominally applied rational-basis test.


                 Fundamental constitutional Right to Privacy – Strict Scrutiny
                           Lawrence v. Texas (2003)

1081. In Lawrence v. Texas, 539 U.S. 558 (2003), the Court struck down a Texas statute

prohibiting homosexual sodomy on substantive due process grounds.


1082. In Justice Sandra Day O'Connor's opinion concurring in the judgment, however, she

argued that by prohibiting only homosexual sodomy, and not heterosexual sodomy as well,


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Texas's statute did not meet rational-basis review under the Equal Protection Clause; her opinion

prominently cited City of Cleburne, and also relied in part on Romer.


1083. Notably, O'Connor's opinion did not claim to apply a higher level of scrutiny than mere

rational basis, and the Court has not extended suspect-class status to sexual orientation.


1084. While in the nonclinical world, classified by the modified Express Bilateral Contract

terminating the doctor-patient relationship, the Plaintiff was not engaged in the practice of

medicine, nor was he holding himself out to the public as a physician, nor did he meet with any

patients, nor did the nonclinical world apply to any locations where patients typically seek

medical care such as hospitals, clinics or doctors’ offices.


1085. While in the nonclinical world, the Plaintiff was entitled to the same level of privacy to

be free from state interference for engaging in intimate behavior in a private residential setting as

was defined by the Supreme Court in Lawrence v. Texas.


     State actors violated the Plaintiff’s fundamental constitutional right to Privacy


Plaintiff’s fundamental constitutional right to Privacy requires Strict Scrutiny analysis


1086. Lawrence v. Texas, 539 U.S. 558 (2003): “…Liberty protects the person from

unwarranted government intrusions into a dwelling or other private places. In our tradition the

State is not omnipresent in the home. And there are other spheres of our lives and existence,

outside the home, where the State should not be a dominant presence. Freedom extends beyond

spatial bounds. Liberty presumes an autonomy of self that includes freedom of thought, belief,

expression, and certain intimate conduct. The instant case involves liberty of the person both in

its spatial and more transcendent dimensions… … whether Lawrence and Garner were free as
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adults to engage in the private conduct in the exercise of their liberty under the Due Process

Clause. ‘Their right to liberty under the Due Process Clause gives them the full right to engage in

their conduct without the intervention of the government …’” Lawrence v. Texas, 539 U.S. 558

(2003).


1087. Under the constitutional standard for privacy of sexual conduct in the privacy of one’s

home, the Plaintiff was entitled “to engage in the private conduct” with Lourdes Colon “in the

exercise of his liberty under the Due Process Clause without the intervention of the government.”

Lawrence v. Texas, 539 U.S. 558 (2003).


1088. As BORIM’s regulation attempting to regulate one of the Plaintiff’s fundamental

constitutional rights to engage in consensual sexual activity in the privacy of his home, the

BORIM regulations must be subject to strict scrutiny analysis. Lawrence v. Texas, 539 U.S. 558

(2003).


1089. Lawrence v. Texas, 539 U.S. 558 (2003)- “ Kennedy: We conclude the case should be

resolved by determining whether the petitioners were free as adults to engage in the private

conduct in the exercise of their liberty under the Due Process Clause of the Fourteenth

Amendment to the Constitution. For this inquiry we deem it necessary to reconsider the Court's

holding in Bowers.” Lawrence v. Texas, 539 U.S. 558 (2003).


1090. “There are broad statements of the substantive reach of liberty under the Due Process

Clause in earlier cases, including Pierce v. Society of Sisters, 268 U.S. 510 (1925), and Meyer v.

Nebraska, 262 U.S. 390 (1923); but the most pertinent beginning point is our decision

in Griswold v. Connecticut, 381 U.S. 479 (1965). In Griswold the Court invalidated a state law

prohibiting the use of drugs or devices of contraception and counseling or aiding and abetting the
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use of contraceptives. The Court described the protected interest as a right to privacy and placed

emphasis on the marriage relation and the protected space of the marital bedroom. Id., at 485.”

Lawrence v. Texas, 539 U.S. 558 (2003).


1091. After Griswold it was established that the right to make certain decisions regarding

sexual conduct extends beyond the marital relationship.

1092. In Eisenstadt v. Baird, 405 U.S. 438 (1972), the Court invalidated a law prohibiting the

distribution of contraceptives to unmarried persons. The case was decided under the Equal

Protection Clause, id., at 454; but with respect to unmarried persons, the Court went on to state

the fundamental proposition that the law impaired the exercise of their personal rights, ibid. It

quoted from the statement of the Court of Appeals finding the law to be in conflict with

fundamental human rights, and it followed with this statement of its own:

1093. "It is true that in Griswold the right of privacy in question inhered in the marital

relationship. . . . If the right of privacy means anything, it is the right of the individual, married

or single, to be free from unwarranted governmental intrusion into matters so fundamentally

affecting a person as the decision whether to bear or beget a child." Id., at 453.” Lawrence v.

Texas, 539 U.S. 558 (2003).


1094. The opinions in Griswold and Eisenstadt were part of the background for the decision

in Roe v. Wade, 410 U.S. 113 (1973).

1095. As is well known, the case involved a challenge to the Texas law prohibiting abortions,

but the laws of other States were affected as well. Although the Court held the woman's rights

were not absolute, her right to elect an abortion did have real and substantial protection as an

exercise of her liberty under the Due Process Clause. The Court cited cases that protect spatial

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freedom and cases that go well beyond it. Roe recognized the right of a woman to make certain

fundamental decisions affecting her destiny and confirmed once more that the protection of

liberty under the Due Process Clause has a substantive dimension of fundamental significance in

defining the rights of the person. Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S.

558 (2003).


1096. In Carey v. Population Services Int'l, 431 U.S. 678 (1977), the Court confronted a New

York law forbidding sale or distribution of contraceptive devices to persons under 16 years of

age. Although there was no single opinion for the Court, the law was invalidated.

1097. Both Eisenstadt and Carey, as well as the holding and rationale in Roe, confirmed that

the reasoning of Griswold could not be confined to the protection of rights of married adults.

This was the state of the law with respect to some of the most relevant cases when the Court

considered Bowers v. Hardwick. Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S.

558 (2003).


1098. “The facts in Bowers had some similarities to the instant case. A police officer, whose

right to enter seems not to have been in question, observed Hardwick, in his own bedroom,

engaging in intimate sexual conduct with another adult male. The conduct was in violation of a

Georgia statute making it a criminal offense to engage in sodomy. One difference between the

two cases is that the Georgia statute prohibited the conduct whether or not the participants were

of the same sex, while the Texas statute, as we have seen, applies only to participants of the same

sex. Hardwick was not prosecuted, but he brought an action in federal court to declare the state

statute invalid. He alleged he was a practicing homosexual and that the criminal prohibition

violated rights guaranteed to him by the Constitution. The Court, in an opinion by Justice White,

sustained the Georgia law. Chief Justice Burger and Justice Powell joined the opinion of the
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Court and filed separate, concurring opinions. Four Justices dissented. 478 U.S., at 199 (opinion

of Blackmun, J., joined by Brennan, Marshall, and Stevens, JJ.); id., at 214 (opinion of Stevens,

J., joined by Brennan and Marshall, JJ.). Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas,

539 U.S. 558 (2003).


1099. “The Court began its substantive discussion in Bowers as follows: "The issue presented is

whether the Federal Constitution confers a fundamental right upon homosexuals to engage in

sodomy and hence invalidates the laws of the many States that still make such conduct illegal

and have done so for a very long time." Id., at 190. That statement, we now conclude, discloses

the Court's own failure to appreciate the extent of the liberty at stake. To say that the issue

in Bowers was simply the right to engage in certain sexual conduct demeans the claim the

individual put forward, just as it would demean a married couple were it to be said marriage is

simply about the right to have sexual intercourse. The laws involved in Bowers and here are, to

be sure, statutes that purport to do no more than prohibit a particular sexual act. Their penalties

and purposes, though, have more far-reaching consequences, touching upon the most private

human conduct, sexual behavior, and in the most private of places, the home. The statutes do

seek to control a personal relationship that, whether or not entitled to formal recognition in the

law, is within the liberty of persons to choose without being punished as criminals.”

1100. This, as a general rule, should counsel against attempts by the State, or a court, to define

the meaning of the relationship or to set its boundaries absent injury to a person or abuse of an

institution the law protects.

1101. Likewise, in the instant case, Weinberg v. Mangal et al. the Plaintiff asserts that in the

nonclinical world, the Plaintiff is free to engage in intimate behavior free of the state’s

interference or attempt to set boundaries on such intimate behavior.
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1102. “It suffices for us to acknowledge that adults may choose to enter upon this relationship

in the confines of their homes and their own private lives and still retain their dignity as free

persons. When sexuality finds overt expression in intimate conduct with another person, the

conduct can be but one element in a personal bond that is more enduring. The liberty protected

by the Constitution allows homosexual persons the right to make this choice.” Roe v. Wade, 410

U.S. 113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1103. “Having misapprehended the claim of liberty there presented to it, and thus stating the

claim to be whether there is a fundamental right to engage in consensual sodomy, the Bowers

Court said: "Proscriptions against that conduct have ancient roots." Id., at 192. In academic

writings, and in many of the scholarly amicus briefs filed to assist the Court in this case, there are

fundamental criticisms of the historical premises relied upon by the majority and concurring

opinions in Bowers. Brief for Cato Institute as Amicus Curiae 16-17; Brief for American Civil

Liberties Union etal. as Amici Curiae 15-21; Brief for Professors of History et al. as Amici

Curiae 3-10. We need not enter this debate in the attempt to reach a definitive historical

judgment, but the following considerations counsel against adopting the definitive conclusions

upon which Bowers placed such reliance.

At the outset it should be noted that there is no longstanding history in this country of laws

directed at homosexual conduct as a distinct matter. Beginning in colonial times there were

prohibitions of sodomy derived from the English criminal laws passed in the first instance by the

Reformation Parliament of 1533. The English prohibition was understood to include relations

between men and women as well as relations between men and men. See, e.g., King v. Wiseman,

92 Eng. Rep. 774, 775 (K.B. 1718) (interpreting "mankind" in Act of 1533 as including women

and girls). Nineteenth-century commentators similarly read American sodomy, buggery, and
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crime-against-nature statutes as criminalizing certain relations between men and women and

between men and men. See, e.g., 2 J. Bishop, Criminal Law § 1028 (1858); 2 J. Chitty, Criminal

Law 47-50 (5th Am. ed. 1847); R. Desty, A Compendium of American Criminal Law 143

(1882); J. May, The Law of Crimes § 203 (2d ed. 1893). The absence of legal prohibitions

focusing on homosexual conduct may be explained in part by noting that according to some

scholars the concept of the homosexual as a distinct category of person did not emerge until the

late 19th century. See, e.g., J. Katz, The Invention of Heterosexuality 10 (1995); J. D'Emilio &

E. Freedman, Intimate Matters: A History of Sexuality in America 121 (2d ed. 1997) ("The

modern terms homosexuality and heterosexuality do not apply to an era that had not yet

articulated these distinctions").” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S.

558 (2003).


1104. “Thus early American sodomy laws were not directed at homosexuals as such but instead

sought to prohibit nonprocreative sexual activity more generally. This does not suggest approval

of homosexual conduct. It does tend to show that this particular form of conduct was not thought

of as a separate category from like conduct between heterosexual persons.

Laws prohibiting sodomy do not seem to have been enforced against consenting adults acting in

private. A substantial number of sodomy prosecutions and convictions for which there are

surviving records were for predatory acts against those who could not or did not consent, as in

the case of a minor or the victim of an assault. As to these, one purpose for the prohibitions was

to ensure there would be no lack of coverage if a predator committed a sexual assault that did not

constitute rape as defined by the criminal law. Thus the model sodomy indictments presented in

a 19th-century treatise, see 2 Chitty, supra, at 49, addressed the predatory acts of an adult man

against a minor girl or minor boy. Instead of targeting relations between consenting adults in
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private, 19th-century sodomy prosecutions typically involved relations between men and minor

girls or minor boys, relations between adults involving force, relations between adults

implicating disparity in status, or relations between men and animals.

To the extent that there were any prosecutions for the acts in question, 19th-century evidence

rules imposed a burden that would make a conviction more difficult to obtain even taking into

account the problems always inherent in prosecuting consensual acts committed in private.

Under then-prevailing standards, a man could not be convicted of sodomy based upon testimony

of a consenting partner, because the partner was considered an accomplice. A partner's

testimony, however, was admissible if he or she had not consented to the act or was a minor, and

therefore incapable of consent. See, e.g., F. Wharton, Criminal Law 443 (2d ed. 1852); 1 F.

Wharton, Criminal Law 512 (8th ed. 1880). The rule may explain in part the infrequency of these

prosecutions. In all events that infrequency makes it difficult to say that society approved of a

rigorous and systematic punishment of the consensual acts committed in private and by adults.

The longstanding criminal prohibition of homosexual sodomy upon which the Bowers decision

placed such reliance is as consistent with a general condemnation of nonprocreative sex as it is

with an established tradition of prosecuting acts because of their homosexual character.” Roe v.

Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1105. “The policy of punishing consenting adults for private acts was not much discussed in the

early legal literature. We can infer that one reason for this was the very private nature of the

conduct. Despite the absence of prosecutions, there may have been periods in which there was

public criticism of homosexuals as such and an insistence that the criminal laws be enforced to

discourage their practices. But far from possessing "ancient roots," Bowers, 478 U.S., at 192,

American laws targeting same-sex couples did not develop until the last third of the 20th century.
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The reported decisions concerning the prosecution of consensual, homosexual sodomy between

adults for the years 1880-1995 are not always clear in the details, but a significant number

involved conduct in a public place. See Brief for American Civil Liberties Union etal. as Amici

Curiae 14-15, and n.18.

It was not until the 1970's that any State singled out same-sex relations for criminal prosecution,

and only nine States have done so. See 1977 Ark. Gen. Acts no. 828; 1983 Kan. Sess. Laws

p.652; 1974 Ky. Acts p.847; 1977 Mo. Laws p.687; 1973 Mont. Laws p.1339; 1977 Nev. Stats.

p.1632; 1989 Tenn. Pub. Acts ch.591; 1973 Tex. Gen. Laws ch. 399; see also Post v. State, 715

P.2d 1105 (Okla. Crim. App. 1986) (sodomy law invalidated as applied to different-sex couples).

Post-Bowers even some of these States did not adhere to the policy of suppressing homosexual

conduct. Over the course of the last decades, States with same-sex prohibitions have moved

toward abolishing them. See, e.g., Jegley v. Picado, 349 Ark. 600, 80 S.W.3d 332

(2002); Gryczan v. State, 283 Mont. 433, 942 P.2d 112 (1997); Campbell v. Sundquist, 926 S.W.

2d 250 (Tenn. App. 1996); Commonwealth v. Wasson, 842 S.W.2d 487 (Ky. 1992); see also

1993 Nev. Stats. p. 518 (repealing Nev. Rev. Stat. § 201.193).” Roe v. Wade, 410 U.S.

113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1106. “In summary, the historical grounds relied upon in Bowers are more complex than the

majority opinion and the concurring opinion by Chief Justice Burger indicate. Their historical

premises are not without doubt and, at the very least, are overstated. It must be acknowledged, of

course, that the Court in Bowers was making the broader point that for centuries there have been

powerful voices to condemn homosexual conduct as immoral. The condemnation has been

shaped by religious beliefs, conceptions of right and acceptable behavior, and respect for the

traditional family. For many persons these are not trivial concerns but profound and deep
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convictions accepted as ethical and moral principles to which they aspire and which thus

determine the course of their lives. These considerations do not answer the question before us,

however. The issue is whether the majority may use the power of the State to enforce these views

on the whole society through operation of the criminal law. "Our obligation is to define the

liberty of all, not to mandate our own moral code." Planned Parenthood of Southeastern Pa. v.

Casey, 505 U.S. 833, 850 (1992).” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S.

558 (2003).


1107. “Chief Justice Burger joined the opinion for the Court in Bowers and further explained

his views as follows: "Decisions of individuals relating to homosexual conduct have been subject

to state intervention throughout the history of Western civilization. Condemnation of those

practices is firmly rooted in Judeao-Christian moral and ethical standards." 478 U.S., at 196. As

with Justice White's assumptions about history, scholarship casts some doubt on the sweeping

nature of the statement by Chief Justice Burger as it pertains to private homosexual conduct

between consenting adults. See, e.g., Eskridge, Hardwick and Historiography, 1999 U. Ill.

L.Rev. 631, 656. In all events we think that our laws and traditions in the past half century are of

most relevance here. These references show an emerging awareness that liberty gives substantial

protection to adult persons in deciding how to conduct their private lives in matters pertaining to

sex. "[H]istory and tradition are the starting point but not in all cases the ending point of the

substantive due process inquiry." County of Sacramento v. Lewis, 523 U.S. 833, 857 (1998)

(Kennedy, J., concurring).” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S. 558

(2003).


1108. This emerging recognition should have been apparent when Bowers was decided.



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1109. “In 1955 the American Law Institute promulgated the Model Penal Code and made clear

that it did not recommend or provide for "criminal penalties for consensual sexual relations

conducted in private." ALI, Model Penal Code § 213.2, Comment 2, p.372 (1980).

1110. It justified its decision on three grounds: (1) The prohibitions undermined respect for the

law by penalizing conduct many people engaged in; (2) the statutes regulated private conduct not

harmful to others; and (3) the laws were arbitrarily enforced and thus invited the danger of

blackmail. ALI, Model Penal Code, Commentary 277-280 (Tent. Draft No. 4, 1955).

1111. In 1961 Illinois changed its laws to conform to the Model Penal Code. Other States soon

followed. Brief for Cato Institute as Amicus Curiae 15-16.

1112. In Bowers the Court referred to the fact that before 1961 all 50 States had outlawed

sodomy, and that at the time of the Court's decision 24 States and the District of Columbia had

sodomy laws. 478 U.S., at 192-193. Justice Powell pointed out that these prohibitions often were

being ignored, however. Georgia, for instance, had not sought to enforce its law for decades. Id.,

at 197-198, n.2 ("The history of nonenforcement suggests the moribund character today of laws

criminalizing this type of private, consensual conduct").

1113. The sweeping references by Chief Justice Burger to the history of Western civilization

and to Judeo-Christian moral and ethical standards did not take account of other authorities

pointing in an opposite direction. A committee advising the British Parliament recommended in

1957 repeal of laws punishing homosexual conduct. The Wolfenden Report: Report of the

Committee on Homosexual Offenses and Prostitution (1963). Parliament enacted the substance

of those recommendations 10 years later. Sexual Offences Act 1967, § 1.



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1114. Of even more importance, almost five years before Bowers was decided the European

Court of Human Rights considered a case with parallels to Bowers and to today's case. An adult

male resident in Northern Ireland alleged he was a practicing homosexual who desired to engage

in consensual homosexual conduct. The laws of Northern Ireland forbade him that right. He

alleged that he had been questioned, his home had been searched, and he feared criminal

prosecution. The court held that the laws proscribing the conduct were invalid under the

European Convention on Human Rights. Dudgeon v. United Kingdom, 45 Eur. Ct. H.R. (1981) ¶

52. Authoritative in all countries that are members of the Council of Europe (21 nations then, 45

nations now), the decision is at odds with the premise in Bowers that the claim put forward was

insubstantial in our Western civilization.

1115. In our own constitutional system the deficiencies in Bowers became even more apparent

in the years following its announcement. The 25 States with laws prohibiting the relevant

conduct referenced in the Bowers decision are reduced now to 13, of which 4 enforce their laws

only against homosexual conduct. In those States where sodomy is still proscribed, whether for

same-sex or heterosexual conduct, there is a pattern of nonenforcement with respect to

consenting adults acting in private. The State of Texas admitted in 1994 that as of that date it had

not prosecuted anyone under those circumstances. State v. Morales, 869 S.W.2d 941, 943.

1116. Two principal cases decided after Bowers cast its holding into even more doubt.

In Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833 (1992), the Court reaffirmed

the substantive force of the liberty protected by the Due Process Clause. The Casey decision

again confirmed that our laws and tradition afford constitutional protection to personal decisions

relating to marriage, procreation, contraception, family relationships, child rearing, and


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education. Id., at 851. In explaining the respect the Constitution demands for the autonomy of the

person in making these choices, we stated as follows:

"These matters, involving the most intimate and personal choices a person may make in a

lifetime, choices central to personal dignity and autonomy, are central to the liberty

protected by the Fourteenth Amendment. At the heart of liberty is the right to define one's

own concept of existence, of meaning, of the universe, and of the mystery of human life.

Beliefs about these matters could not define the attributes of personhood were they formed

under compulsion of the State." Ibid.

1117. “Persons in a homosexual relationship may seek autonomy for these purposes, just as

heterosexual persons do. The decision in Bowers would deny them this right. The second post-

Bowers case of principal relevance is Romer v. Evans, 517 U.S. 620 (1996). There the Court

struck down class-based legislation directed at homosexuals as a violation of the Equal

Protection Clause. Romer invalidated an amendment to Colorado's constitution which named as a

solitary class persons who were homosexuals, lesbians, or bisexual either by "orientation,

conduct, practices or relationships," id., at 624 (internal quotation marks omitted), and deprived

them of protection under state antidiscrimination laws. We concluded that the provision was

"born of animosity toward the class of persons affected" and further that it had no rational

relation to a legitimate governmental purpose. Id., at 634.” Roe v. Wade, 410 U.S. 113 (1973);

Lawrence v. Texas, 539 U.S. 558 (2003).


1118. As an alternative argument in this case, counsel for the petitioners and some amici

contend that Romer provides the basis for declaring the Texas statute invalid under the Equal

Protection Clause. That is a tenable argument, but we conclude the instant case requires us to

address whether Bowers itself has continuing validity. Were we to hold the statute invalid under
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the Equal Protection Clause some might question whether a prohibition would be valid if drawn

differently, say, to prohibit the conduct both between same-sex and different-sex participants.

1119. Equality of treatment and the due process right to demand respect for conduct protected

by the substantive guarantee of liberty are linked in important respects, and a decision on the

latter point advances both interests. If protected conduct is made criminal and the law which does

so remains unexamined for its substantive validity, its stigma might remain even if it were not

enforceable as drawn for equal protection reasons. When homosexual conduct is made criminal

by the law of the State, that declaration in and of itself is an invitation to subject homosexual

persons to discrimination both in the public and in the private spheres. The central holding

of Bowers has been brought in question by this case, and it should be addressed. Its continuance

as precedent demeans the lives of homosexual persons. Roe v. Wade, 410 U.S. 113 (1973);

Lawrence v. Texas, 539 U.S. 558 (2003).


1120. “The stigma this criminal statute imposes, moreover, is not trivial. The offense, to be

sure, is but a class C misdemeanor, a minor offense in the Texas legal system. Still, it remains a

criminal offense with all that imports for the dignity of the persons charged. The petitioners will

bear on their record the history of their criminal convictions. Just this Term we rejected various

challenges to state laws requiring the registration of sex offenders. Smith v. Doe, 538 U.S.

84 (2003); Connecticut Dept. of Public Safety v. Doe, 538 U.S. 1 (2003). We are advised that if

Texas convicted an adult for private, consensual homosexual conduct under the statute here in

question the convicted person would come within the registration laws of a least four States were

he or she to be subject to their jurisdiction. Pet. for Cert. 13, and n.12 (citing Idaho Code §§ 18-

8301 to 18-8326 (Cum. Supp. 2002); La. Code Crim. Proc. Ann., §§ 15:540-15:549 (West 2003);

Miss. Code Ann. §§ 45-33-21 to 45-33-57 (Lexis 2003); S.C. Code Ann. §§ 23-3-400 to 23-3-
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490 (West 2002)). This underscores the consequential nature of the punishment and the state-

sponsored condemnation attendant to the criminal prohibition. Furthermore, the Texas criminal

conviction carries with it the other collateral consequences always following a conviction, such

as notations on job application forms, to mention but one example.” Roe v. Wade, 410 U.S.

113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1121. “The foundations of Bowers have sustained serious erosion from our recent decisions

in Casey and Romer. When our precedent has been thus weakened, criticism from other sources

is of greater significance. In the United States criticism of Bowers has been substantial and

continuing, disapproving of its reasoning in all respects, not just as to its historical assumptions.

See, e.g., C. Fried, Order and Law: Arguing the Reagan Revolution--A Firsthand Account 81-84

(1991); R. Posner, Sex and Reason 341-350 (1992). The courts of five different States have

declined to follow it in interpreting provisions in their own state constitutions parallel to the Due

Process Clause of the Fourteenth Amendment, see Jegley v. Picado, 349 Ark. 600, 80 S.W.3d

332 (2002); Powell v. State, 270 Ga. 327, 510 S.E.2d 18, 24 (1998); Gryczan v. State, 283 Mont.

433, 942 P.2d 112 (1997); Campbell v. Sundquist, 926 S.W.2d 250 (Tenn. App. 1996);

Commonwealth v. Wasson, 842 S.W.2d 487 (Ky. 1992).” Roe v. Wade, 410 U.S. 113 (1973);

Lawrence v. Texas, 539 U.S. 558 (2003).” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539

U.S. 558 (2003).


1122. “To the extent Bowers relied on values we share with a wider civilization, it should be

noted that the reasoning and holding in Bowers have been rejected elsewhere. The European

Court of Human Rights has followed not Bowers but its own decision in Dudgeon v. United

Kingdom. See P.G. & J.H. v. United Kingdom, App. No. 00044787/98, ¶ 56 (Eur. Ct. H.R., Sept.

25, 2001); Modinos v. Cyprus, 259 Eur. Ct. H.R. (1993); Norris v. Ireland, 142 Eur. Ct. H.R.
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(1988). Other nations, too, have taken action consistent with an affirmation of the protected right

of homosexual adults to engage in intimate, consensual conduct. See Brief for Mary Robinson et

al. as Amici Curiae 11-12. The right the petitioners seek in this case has been accepted as an

integral part of human freedom in many other countries. There has been no showing that in this

country the governmental interest in circumscribing personal choice is somehow more legitimate

or urgent.” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1123. “The doctrine of stare decisis is essential to the respect accorded to the judgments of the

Court and to the stability of the law. It is not, however, an inexorable command. Payne v.

Tennessee, 501 U.S. 808, 828 (1991) ("Stare decisis is not an inexorable command; rather, it 'is a

principle of policy and not a mechanical formula of adherence to the latest decision'")

(quoting Helvering v. Hallock, 309 U.S. 106, 119 (1940))). In Casey we noted that when a Court

is asked to overrule a precedent recognizing a constitutional liberty interest, individual or societal

reliance on the existence of that liberty cautions with particular strength against reversing course.

505 U.S., at 855-856; see also id., at 844 ("Liberty finds no refuge in a jurisprudence of doubt").

The holding in Bowers, however, has not induced detrimental reliance comparable to some

instances where recognized individual rights are involved. Indeed, there has been no individual

or societal reliance on Bowers of the sort that could counsel against overturning its holding once

there are compelling reasons to do so. Bowers itself causes uncertainty, for the precedents before

and after its issuance contradict its central holding. The rationale of Bowers does not withstand

careful analysis.” Roe v. Wade, 410 U.S. 113 (1973); Lawrence v. Texas, 539 U.S. 558 (2003).

1124. “In his dissenting opinion in Bowers JUSTICE STEVENS came to these conclusions:

"Our prior cases make two propositions abundantly clear. First, the fact that the governing

majority in a State has traditionally viewed a particular practice as immoral is not a sufficient
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reason for upholding a law prohibiting the practice; neither history nor tradition could save a law

prohibiting miscegenation from constitutional attack. Second, individual decisions by married

persons, concerning the intimacies of their physical relationship, even when not intended to

produce offspring, are a form of "liberty" protected by the Due Process Clause of the

Fourteenth Amendment. Moreover, this protection extends to intimate choices by

unmarried as well as married persons." 478 U.S., at 216.” Roe v. Wade, 410 U.S. 113 (1973);

Lawrence v. Texas, 539 U.S. 558 (2003).


1125. “JUSTICE STEVENS' analysis, in our view, should have been controlling in Bowers and

should control here. Bowers was not correct when it was decided, and it is not correct today. It

ought not to remain binding precedent. Bowers v. Hardwick should be and now is overruled. The

present case does not involve minors. It does not involve persons who might be injured or

coerced or who are situated in relationships where consent might not easily be refused. It does

not involve public conduct or prostitution. It does not involve whether the government must give

formal recognition to any relationship that homosexual persons seek to enter. The case does

involve two adults who, with full and mutual consent from each other, engaged in sexual

practices common to a homosexual lifestyle. The petitioners are entitled to respect for their

private lives. The State cannot demean their existence or control their destiny by making

their private sexual conduct a crime.

1126. “Their right to liberty under the Due Process Clause gives them the full right to

engage in their conduct without intervention of the government. "It is a promise of the

Constitution that there is a realm of personal liberty which the government may not

enter." Casey, supra, at 847. The Texas statute furthers no legitimate state interest which can

justify its intrusion into the personal and private life of the individual.
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1127. “Had those who drew and ratified the Due Process Clauses of the Fifth Amendment or

the Fourteenth Amendment known the components of liberty in its manifold possibilities, they

might have been more specific. They did not presume to have this insight. They knew times can

blind us to certain truths and later generations can see that laws once thought necessary and

proper in fact serve only to oppress. As the Constitution endures, persons in every generation can

invoke its principles in their own search for greater freedom. The judgment of the Court of

Appeals for the Texas Fourteenth District is reversed, and the case is remanded for further

proceedings not inconsistent with this opinion. It is so ordered.”

1128. “JUSTICE O'CONNOR, concurring in the judgment. The Court today overrules Bowers

v. Hardwick, 478 U.S. 186 (1986). I joined Bowers, and do not join the Court in overruling it.

Nevertheless, I agree with the Court that Texas' statute banning same-sex sodomy is

unconstitutional. See Tex. Penal Code Ann. § 21.06 (2003). Rather than relying on the

substantive component of the Fourteenth Amendment's Due Process Clause, as the Court does, I

base my conclusion on the Fourteenth Amendment's Equal Protection Clause.” Lawrence v.

Texas, 539 U.S. 558 (2003).


1129. “The Equal Protection Clause of the Fourteenth Amendment "is essentially a direction

that all persons similarly situated should be treated alike." Cleburne v. Cleburne Living Center,

Inc., 473 U.S. 432, 439 (1985); see also Plyler v. Doe, 457 U.S. 202, 216 (1982). Under our

rational basis standard of review, "legislation is presumed to be valid and will be sustained if the

classification drawn by the statute is rationally related to a legitimate state interest." Cleburne v.

Cleburne Living Center, supra, at 440; see also Department of Agriculture v. Moreno, 413 U.S.

528, 534 (1973); Romer v. Evans, 517 U.S. 620, 632-633 (1996); Nordlinger v. Hahn, 505 U.S.

1, 11-12 (1992).”
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1130. Laws such as economic or tax legislation that are scrutinized under rational basis review

normally pass constitutional muster, since "the Constitution presumes that even improvident

decisions will eventually be rectified by the democratic processes." Cleburne v. Cleburne Living

Center, supra, at 440; see also Fitzgerald v. Racing Assn. of Central Iowa, ante, p.

103; Williamson v. Lee Optical of Okla., Inc., 348 U.S. 483 (1955). We have consistently held,

however, that some objectives, such as "a bare . . . desire to harm a politically unpopular group,"

are not legitimate state interests. Department of Agriculture v. Moreno, supra, at 534. See

also Cleburne v. Cleburne Living Center, supra, at 446-447; Romer v. Evans, supra, at 632.

When a law exhibits such a desire to harm a politically unpopular group, we have applied a more

searching form of rational basis review to strike down such laws under the Equal Protection

Clause. We have been most likely to apply rational basis review to hold a law unconstitutional

under the Equal Protection Clause where, as here, the challenged legislation inhibits personal

relationships. In Department of Agriculture v. Moreno, for example, we held that a law

preventing those households containing an individual unrelated to any other member of the

household from receiving food stamps violated equal protection because the purpose of the law

was to "'discriminate against hippies.'" 413 U.S., at 534. The asserted governmental interest in

preventing food stamp fraud was not deemed sufficient to satisfy rational basis review. Id., at

535-538. In Eisenstadt v. Baird, 405 U.S. 438, 447-455 (1972), we refused to sanction a law that

discriminated between married and unmarried persons by prohibiting the distribution of

contraceptives to single persons. Likewise, in Cleburne v. Cleburne Living Center, supra, we

held that it was irrational for a State to require a home for the mentally disabled to obtain a

special use permit when other residences--like fraternity houses and apartment buildings--did not

have to obtain such a permit. And in Romer v. Evans, we disallowed a state statute that

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"impos[ed] a broad and undifferentiated disability on a single named group"--specifically,

homosexuals. 517 U.S., at 632. The dissent apparently agrees that if these cases have stare

decisis effect, Texas' sodomy law would not pass scrutiny under the Equal Protection Clause,

regardless of the type of rational basis review that we apply. See post, at 17-18 (opinion of

Scalia, J.).” Lawrence v. Texas, 539 U.S. 558 (2003).

1131. “The statute at issue here makes sodomy a crime only if a person "engages in deviate

sexual intercourse with another individual of the same sex." Tex. Penal Code Ann. § 21.06(a)

(2003). Sodomy between opposite-sex partners, however, is not a crime in Texas. That is, Texas

treats the same conduct differently based solely on the participants. Those harmed by this law are

people who have a same-sex sexual orientation and thus are more likely to engage in behavior

prohibited by § 21.06.

The Texas statute makes homosexuals unequal in the eyes of the law by making particular

conduct--and only that conduct--subject to criminal sanction. It appears that prosecutions under

Texas' sodomy law are rare. See State v. Morales, 869 S.W. 2d 941, 943 (Tex. 1994) (noting in

1994 that § 21.06 "has not been, and in all probability will not be, enforced against private

consensual conduct between adults"). This case shows, however, that prosecutions under §

21.06 do occur. And while the penalty imposed on petitioners in this case was relatively minor,

the consequences of conviction are not. As the Court notes, see ante, at 15, petitioners'

convictions, if upheld, would disqualify them from or restrict their ability to engage in a variety

of professions, including medicine, athletic training, and interior design. See, e.g., Tex. Occ.

Code Ann. § 164.051(a)(2)(B) (2003 Pamphlet) (physician); § 451.251 (a)(1) (athletic trainer); §

1053.252(2) (interior designer). Indeed, were petitioners to move to one of four States, their

convictions would require them to register as sex offenders to local law enforcement. See, e.g.,
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Idaho Code § 18-8304 (Cum. Supp. 2002); La. Stat. Ann. § 15:542 (West Cum. Supp. 2003);

Miss. Code Ann. § 45-33-25 (West 2003); S.C. Code Ann. § 23-3-430 (West Cum. Supp. 2002);

cf. ante, at 15.

And the effect of Texas' sodomy law is not just limited to the threat of prosecution or

consequence of conviction. Texas' sodomy law brands all homosexuals as criminals, thereby

making it more difficult for homosexuals to be treated in the same manner as everyone else.

Indeed, Texas itself has previously acknowledged the collateral effects of the law, stipulating in a

prior challenge to this action that the law "legally sanctions discrimination against [homosexuals]

in a variety of ways unrelated to the criminal law," including in the areas of "employment, family

issues, and housing." State v. Morales, 826 S.W. 2d 201, 203 (Tex. App. 1992).

Texas attempts to justify its law, and the effects of the law, by arguing that the statute satisfies

rational basis review because it furthers the legitimate governmental interest of the promotion of

morality. In Bowers, we held that a state law criminalizing sodomy as applied to homosexual

couples did not violate substantive due process. We rejected the argument that no rational basis

existed to justify the law, pointing to the government's interest in promoting morality. 478 U.S.,

at 196. The only question in front of the Court in Bowers was whether the substantive component

of the Due Process Clause protected a right to engage in homosexual sodomy. Id., at 188,

n.2. Bowers did not hold that moral disapproval of a group is a rational basis under the Equal

Protection Clause to criminalize homosexual sodomy when heterosexual sodomy is not

punished.” Lawrence v. Texas, 539 U.S. 558 (2003).

1132. “This case raises a different issue than Bowers: whether, under the Equal Protection

Clause, moral disapproval is a legitimate state interest to justify by itself a statute that bans

homosexual sodomy, but not heterosexual sodomy. It is not. Moral disapproval of this group,
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like a bare desire to harm the group, is an interest that is insufficient to satisfy rational basis

review under the Equal Protection Clause. See, e.g., Department of Agriculture v. Moreno,

supra, at 534; Romer v. Evans, 517 U.S., at 634-635. Indeed, we have never held that moral

disapproval, without any other asserted state interest, is a sufficient rationale under the Equal

Protection Clause to justify a law that discriminates among groups of persons.

Moral disapproval of a group cannot be a legitimate governmental interest under the Equal

Protection Clause because legal classifications must not be "drawn for the purpose of

disadvantaging the group burdened by the law." Id., at 633. Texas' invocation of moral

disapproval as a legitimate state interest proves nothing more than Texas' desire to criminalize

homosexual sodomy. But the Equal Protection Clause prevents a State from creating "a

classification of persons undertaken for its own sake." Id., at 635. And because Texas so rarely

enforces its sodomy law as applied to private, consensual acts, the law serves more as a

statement of dislike and disapproval against homosexuals than as a tool to stop criminal

behavior. The Texas sodomy law "raise[s] the inevitable inference that the disadvantage imposed

is born of animosity toward the class of persons affected." Id., at 634.

Texas argues, however, that the sodomy law does not discriminate against homosexual persons.

Instead, the State maintains that the law discriminates only against homosexual conduct. While it

is true that the law applies only to conduct, the conduct targeted by this law is conduct that is

closely correlated with being homosexual. Under such circumstances, Texas' sodomy law is

targeted at more than conduct. It is instead directed toward gay persons as a class. "After all,

there can hardly be more palpable discrimination against a class than making the conduct that

defines the class criminal." Id., at 641 (Scalia, J., dissenting) (internal quotation marks omitted).

When a State makes homosexual conduct criminal, and not "deviate sexual intercourse"
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committed by persons of different sexes, "that declaration in and of itself is an invitation to

subject homosexual persons to discrimination both in the public and in the private

spheres." Ante, at 14.

Indeed, Texas law confirms that the sodomy statute is directed toward homosexuals as a class. In

Texas, calling a person a homosexual is slander per se because the word "homosexual"

"impute[s] the commission of a crime." Plumley v. Landmark Chevrolet, Inc., 122 F.3d 308, 310

(CA5 1997) (applying Texas law); see also Head v. Newton, 596 S.W. 2d 209, 210 (Tex. App.

1980). The State has admitted that because of the sodomy law, being homosexual carries the

presumption of being a criminal. See State v. Morales, 826 S.W. 2d, at 202-203 ("[T]he statute

brands lesbians and gay men as criminals and thereby legally sanctions discrimination against

them in a variety of ways unrelated to the criminal law"). Texas' sodomy law therefore results in

discrimination against homosexuals as a class in an array of areas outside the criminal law.

See ibid. In Romer v. Evans, we refused to sanction a law that singled out homosexuals "for

disfavored legal status." 517 U.S., at 633. The same is true here. The Equal Protection Clause

"'neither knows nor tolerates classes among citizens.'" Id., at 623 (quoting Plessy v.

Ferguson, 163 U.S. 537, 559 (1896) (Harlan, J. dissenting)).

A State can of course assign certain consequences to a violation of its criminal law. But the State

cannot single out one identifiable class of citizens for punishment that does not apply to

everyone else, with moral disapproval as the only asserted state interest for the law. The Texas

sodomy statute subjects homosexuals to "a lifelong penalty and stigma. A legislative

classification that threatens the creation of an underclass . . . cannot be reconciled with" the

Equal Protection Clause. Plyler v. Doe, 457 U.S., at 239 (Powell, J., concurring).


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Whether a sodomy law that is neutral both in effect and application, see Yick Wo v. Hopkins, 118

U.S. 356 (1886), would violate the substantive component of the Due Process Clause is an issue

that need not be decided today. I am confident, however, that so long as the Equal Protection

Clause requires a sodomy law to apply equally to the private consensual conduct of homosexuals

and heterosexuals alike, such a law would not long stand in our democratic society. In the words

of Justice Jackson:

"The framers of the Constitution knew, and we should not forget today, that there is no more

effective practical guaranty against arbitrary and unreasonable government than to require that

the principles of law which officials would impose upon a minority be imposed generally.

Conversely, nothing opens the door to arbitrary action so effectively as to allow those officials to

pick and choose only a few to whom they will apply legislation and thus to escape the political

retribution that might be visited upon them if larger numbers were affected." Railway Express

Agency, Inc. v. New York, 336 U.S. 106, 112-113 (1949) (concurring opinion).

That this law as applied to private, consensual conduct is unconstitutional under the Equal

Protection Clause does not mean that other laws distinguishing between heterosexuals and

homosexuals would similarly fail under rational basis review. Texas cannot assert any legitimate

state interest here, such as national security or preserving the traditional institution of marriage.

Unlike the moral disapproval of same-sex relations--the asserted state interest in this case--other

reasons exist to promote the institution of marriage beyond mere moral disapproval of an

excluded group.

A law branding one class of persons as criminal solely based on the State's moral disapproval of

that class and the conduct associated with that class runs contrary to the values of the

Constitution and the Equal Protection Clause, under any standard of review. I therefore concur in
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the Court's judgment that Texas' sodomy law banning "deviate sexual intercourse" between

consenting adults of the same sex, but not between consenting adults of different sexes, is

unconstitutional.” Lawrence v. Texas, 539 U.S. 558 (2003).

1133. Furthermore, as asserted elsewhere in the instant action Complaint Weinberg v. Mangal

et al., the Plaintiff also asserts a claim of discriminatory unequal protection of the law in

violation of the constitutional mandate for Equal Protection of the law because BORIM allows

some physicians to have sexual relations with their patients but has punished the Plaintiff for

engaging in sexual relations with a former patient by revoking his medical license.


1134. The modified 1992 Express Bilateral Contract, terminating the doctor-patient

relationship, provided for the clinical-nonclinical binary classification of time and place; thus all

times and all places were classified into either the “Clinical World” or the “nonclinical World.”


1135. While the Plaintiff was in those places at those times which were classified as

NonClinical, he was not acting as a physician, he did not hold himself out to the world as a

physician, and he expressly REFUSED to do any physician work or duties and no one would

come to this nonclinical world with any subjective expectation of receiving medical treatment.


1136. Forcing the Plaintiff to act as and be a physician while in the nonclinical World, where he

has taken off his “doctor hat” and refuses to see patients or practice medicine within the

nonclinical world – where no patient has any subjective expectation of receiving medical

treatment and where the Plaintiff does not hold himself out to the public as a physician,

comprises an invasion of the constitutionally-protect fundamental right to privacy of the

Plaintiff.


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1137. The fundamental constitutional right to privacy is well enunciated in Lawrence v. Texas,

539 U.S. 558 (2003). As a fundamental constitutional right, any state law or regulations which

purposefully burdens such as right is subject to judicial review using the standard of Strict

Scrutiny.


1138. The clinical-nonclinical binary classification of time and place, established by the 1992

contract modification between the Plaintiff and Lourdes Colon, basically differentiates between

the Plaintiff’s professional life and his personal life; to deny the Plaintiff this binary

classification of time and place would be tantamount to enslaving the Plaintiff to being a doctor

at all times and all places on earth, a government-sanctioned form of Involuntary Servitude.


1139. Lawrence v. Texas, 539 U.S. 558 (2003), is a landmark decision of the U.S. Supreme

Court in which the Court ruled[a] that sanctions including any form of criminal punishment to all

forms of private, consensual non-procreative adult sexual activities between two individuals

(commonly referred to as sodomy laws) are unconstitutional. Lawrence v. Texas, 539 U.S.

558 (2003).


1140. In Lawrence v. Texas, the Court reaffirmed the concept of a "right to privacy" that earlier

cases had found the U.S. Constitution provides, even though it is not explicitly enumerated.


1141. It based its ruling on the notions of personal autonomy to define one's own relationships

and of American traditions of non-interference with any or all forms of private sexual activities

between consenting adults. Lawrence v. Texas, 539 U.S. 558 (2003)


1142. In the instant case, Weinberg v. Mangal et al. any BORIM regulations which

purposefully burden the Plaintiff’s freedom of sexual conduct while he is in the nonclinical

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world – and therefore not working nor acting as a physician - would comprise state sanctions

against private, consensual non-procreative adult sexual activities between two individuals and

such BORIM regulations would be unconstitutional under Lawrence v. Texas (2003).


1143. In Lawrence v. Texas, the Supreme Court struck down the sodomy law in Texas in a 6–3

decision, and by extension invalidated sodomy laws in 13 other states, making all forms of

private, consensual non-procreative sexual activities between two consenting individuals of

either sex (especially of the same sex) legal in every U.S. state and territory; such constitutional

license of private consensual non-procreative sexual activity should extend to professionals such

as the Plaintiff. Lawrence v. Texas, 539 U.S. 558 (2003)

1144. The Court, with a five-justice majority, overturned its previous ruling on the same issue

in the 1986 case Bowers v. Hardwick, where it upheld a challenged Georgia statute and did not

find a constitutional protection of sexual privacy. Lawrence v. Texas, 539 U.S. 558 (2003)

1145. It explicitly overruled Bowers, holding that it had viewed the liberty interest too

narrowly. Lawrence v. Texas, 539 U.S. 558 (2003)

1146. The Court held that intimate consensual sexual conduct was part of the liberty

protected by substantive due process under the Due Process Clause of the Fourteenth

Amendment to the U.S. Constitution. Lawrence v. Texas, 539 U.S. 558 (2003)

1147. Lawrence invalidated similar laws throughout the United States that criminalized sodomy

between consenting adults acting in private, whatever the sex of the participants. Lawrence v.

Texas, 539 U.S. 558 (2003)

1148. Thus revitalizing the reconsideration of standing law, including the landmark cases

of United States v. Windsor (2013), which invalidated Section 3 of the Defense of Marriage Act,
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and Obergefell v. Hodges (2015), which recognized same-sex marriage as a fundamental right

under the United States Constitution. Lawrence v. Texas, 539 U.S. 558 (2003)

1149. Legal punishments for sodomy often included heavy fines, prison sentences, or both, with

some states, beginning with Illinois in 1827, denying other rights, such as suffrage, to anyone

convicted of the crime of sodomy. Lawrence v. Texas, 539 U.S. 558 (2003). In the late 19th and

early 20th centuries, several states imposed various eugenics laws against anyone deemed to be a

"sexual pervert". Lawrence v. Texas, 539 U.S. 558 (2003). As late as 1970, Connecticut denied a

driver's license to a man for being an "admitted homosexual". As of 1960, every state had an

anti-sodomy law. In 1961, the American Law Institute's Model Penal Code advocated the repeal

of sodomy laws as they applied to private, adult, consensual behavior.

1150. Two years later the American Civil Liberties Union (ACLU) took its first major case in

opposition to these laws: In Griswold v. Connecticut (1965), the Supreme Court struck down a

law barring the use of contraceptives by married couples.

1151. In Griswold, the Supreme Court recognized for the first time that couples, at least married

couples, had a right to privacy, drawing on the Fourth Amendment's protection of private

homes from searches and seizures without a warrant based on probable cause,

the Fourteenth Amendment's guarantee of due process of law in the states, and the Ninth

Amendment's assurance that rights not specified in the Constitution are "retained by the

people".

1152. Eisenstadt v. Baird (1972) expanded the scope of sexual privacy rights to unmarried

persons.




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1153. In 1973, in Roe v. Wade the US Supreme court extended that right to privacy to protect a

woman's right to have an abortion, although the extent to which that might be regulated by the

government varied, with almost absolute protection in the first trimester, and allowing for

increasing regulation as the pregnancy progressed. Roe v. Wade was overturned in 2023.

1154. In Bowers v. Hardwick (1986), the Supreme Court heard a constitutional challenge to

sodomy laws brought by a man who had been arrested, but was not prosecuted, for engaging in

oral sex with another man in his home. The Court rejected this challenge in a 5 to 4 decision.

Justice Byron White's majority opinion emphasized that Eisenstadt and Roe had only recognized

a right to engage in procreative sexual activity, and that long-standing moral antipathy toward

homosexual sodomy was enough to argue against the notion of a right to sodomy.

1155. Justice Blackmun, writing in dissent, argued that Eisenstadt held that the Constitution

protects people as individuals, not as family units. He then reasoned that because state

intrusions are equally burdensome on an individual's personal life regardless of his marital

status or sexual orientation, there is no reason to treat the rights of citizens in same-sex couples

any differently.

1156. Lawrence asserted a right to privacy and that the Supreme Court's decision in Bowers v.

Hardwick that found no privacy protection for consensual sex between homosexuals was

"wrongly decided". In a petition for certiorari filed in the U.S. Supreme Court on July 16, 2002,

Lambda Legal attorneys asked the Court to consider:

       [1] Whether the petitioners' criminal convictions under the Texas "Homosexual Conduct"

       law—which criminalizes sexual intimacy by same-sex couples, but not identical behavior

       by different-sex couples—violate the Fourteenth Amendment guarantee of equal

       protection of the laws;
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       [2] Whether the petitioners' criminal convictions for adult consensual sexual intimacy in

       their home violate their vital interests in liberty and privacy protected by the Due Process

       Clause of the Fourteenth Amendment;

       [3] Whether Bowers v. Hardwick should be overruled.

1157. On June 26, 2003, the Supreme Court issued a 6–3 decision in favor of Lawrence that

struck down Texas's statute. Five justices held it violated the Due Process Clause, while a

sixth, Sandra Day O'Connor, held it violated the Equal Protection Clause.

1158. Opinion of the Court: Justice Anthony Kennedy authored the Court's opinion

in Lawrence v. Texas. Five justices formed the majority and joined an opinion written by

Justice Anthony Kennedy. The Court ruled that Texas's law prohibiting private homosexual

activity between consenting adults violated the Due Process Clause of the Fourteenth

Amendment to the U.S. Constitution. Court reiterated why the Court's decision in Bowers v.

Hardwick was wrong.

1159. First, the Court stated that its decision in Bowers went against its statements in cases

involving child-rearing (Pierce v. Society of Sisters and Meyer v. Nebraska), contraception

(Griswold v. Connecticut and Eisenstadt v. Baird), and abortion (Roe v. Wade) that the

Constitution protects a right to privacy and personal autonomy.

1160. Next, Kennedy wrote that in Bowers the Court had misread the historical record

regarding laws criminalizing homosexual relations. … the Court had found that historical

American anti-sodomy laws had been directed at "nonprocreative sexual activity more

generally," rather than specifically at homosexual acts, contrary to the Court's conclusions

in Bowers. Combined with the fact that these laws were often unenforced, the Court saw this as

constituting a tradition of avoiding interference with private sexual activity between
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consenting adults.

1161. Lastly, Kennedy noted that Bowers's jurisprudential foundation had been weakened by

two subsequent cases involving sexuality (Planned Parenthood v. Casey and Romer v. Evans),

and that the reasoning of Bowers had been criticized in the United States and rejected by most

other developed Western countries. For this reason, Kennedy stated that there was a

jurisprudential basis to think that it should be "an integral part of human freedom" for

consenting adults to choose to privately engage in sexual activity.

1162. The instant case, Weinberg v. Mangal et al., is strongly rooted in the Plaintiff’s

fundamental constitutional right to privacy subject to judicial review under the Strict Scrutiny

standard.

1163. As in Lawrence v. Texas, in the instant action Weinberg v. Mangal et al. the Plaintiff

under protection of his liberty interests and the fundamental constitutional right to privacy, the

Plaintiff had a constitutionally-protected right to engage in intimate behavior with Colon in the

privacy of his residential premises without interference from state action.

       Discriminatory state action burdening Plaintiff’s fundamental right to marry

1164. BORIM regulations concerning sexual relations between doctors and patients

purposefully burdens and interferes with the Plaintiff’s fundamental constitutional right to marry,

especially in a discriminatory manner in violation of the Equal Protection clause because it also

allows physicians to have sexual relations with current patients if they do marry those patients.

1165. BORIM regulations concerning the Plaintiff’s relationship with Lourdes Colon

purposefully burdens and interferes with the Plaintiff’s fundamental constitutional right to

privacy because the Plaintiff enters an inviolate private space when he is in the nonclinical

world, which was established by the modification of the 1992 Bilateral Express Contract
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terminating the doctor-patient relationship which provided for the clinical-nonclinical binary

classification of time and place, and the Plaintiff is not a doctor in the nonclinical world.

1166. The sexual freedom exercised by the Plaintiff in the nonclinical world does not involve

minors, nor does it involve persons who might be injured or coerced into sexual relations, nor are

the consensual partners situated in relationships where consent might not easily be refused, nor

does it involve public conduct or prostitution.

1167. The Plaintiff’s conduct in the nonclinical world only involves two consenting adults who,

with full and mutual consent from each other, engaged in sexual practices which are otherwise

not criminal; while in the nonclinical world the Plaintiff had no duties or obligations as a

physician.

1168. In the nonclinical world, the Plaintiff and Lourdes Colon were entitled to respect for their

private lives.

1169. The State cannot demean the Plaintiff’s existence or desire for privacy in the nonclinical

world, nor control his destiny by making his private sexual conduct a breach of ethics or a crime.

1170. “Their right to liberty under the Due Process Clause gives them the full right to

engage in their conduct without intervention of the government. ‘It is a promise of the

Constitution that there is a realm of personal liberty which the government may not enter.’

1171. “The Texas statute furthers no legitimate state interest which can justify its intrusion into

the personal and private life of the individual.” Lawrence v. Texas, 539 U.S. at 578.

1172. “…Justice O'Connor, argued the statute was unconstitutional under the Equal

Protection Clause rather than due process and would have kept Bowers intact.” Under the Equal

Protection clause the Plaintiff’s sexual conduct with Colon in the nonclinical world would

likewise be constitutional and lawful. Lawrence v. Texas, 539 U.S. at 578.
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1173. Justice Sandra Day O'Connor only concurred in the judgment and wrote a concurring

opinion in which she offered a different rationale for invalidating the Texas sodomy statute. …

she would strike down the law as violating the equal protection clause because it criminalized

male–male but not male–female sodomy. O'Connor maintained that a sodomy law that was

neutral both in effect and application might be constitutional, but that there was little to fear

because "democratic society" would not tolerate it for long. O'Connor noted that a law limiting

marriage to heterosexual couples would pass rational scrutiny as long as it was designed to

"preserv[e] the traditional institution of marriage" and not simply based on the state's dislike of

homosexual persons. Lawrence v. Texas, 539 U.S. at 578.

1174. In the instant action, the Plaintiff’s fundamental constitutional right to privacy was

invaded when BORIM violated the inviolate space of the Plaintiff’s nonclinical world, where the

Plaintiff was not acting as a doctor, not providing medical care, not meeting patients, not holding

himself out to the public as a physician, not wearing his “doctor’s hat”, not expecting to see any

patients, no patients were coming to the nonclinical world nor did any persons in the nonclinical

world have any subjective expectations of receiving medical treatment or advice, not engaged in

the practice of medicine, was engaged in a relaxation/recreational mode where he refused to treat

or see any patients whatsoever, and had no reasonable expectation to see or treat any patients.

                                       Qualified Immunity

1175. Some defendant state actors are entitled to Qualified Immunity for their actions, if

committed within their official public capacity without malice or derogation, but these state

actors are not entitled to the Absolute Immunity enjoyed by Judges. Such immunity afforded

some state actors may be limited to acts and actions committed within their judicial or



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prosecutorial capacity but may not apply to acts committed within an investigative or ministerial

capacity. Doctrine of Qualified Immunity

1176. The instant case also involves issues concerning the Constitutionality of specific state

action, statutes, policies and doctrines (States of Massachusetts and Maine) and also whether

sections of the U.S. Internal Revenue Code are constitutional as they were applied to the

Plaintiff.

                  State actor defendants’ violation of the Contract Clause


1177. “… To constitute a Contract Clause violation this Court must determine three issues: (1)

whether there is a contractual relationship; (2) whether the change in the law impairs that

contractual relationship; and (3) whether the impairment is substantial. See General Motors

Corp. v. Romein, 503 U.S. 181, 112 S.Ct. 1105, 117 L.Ed.2d 328 (1992). Finally, "[f]or a law to

survive scrutiny under the Contract Clause when the law substantially impairs a contract, it must

be reasonable and necessary to accomplish a legitimate public purpose." Ken Moorhead Oil Co.

v. Federated Mutual Ins. Co., 323 S.C. 532, 542, 476 S.E.2d 481, 486 (1996).” Hodges v.

Rainey, 533 S.E.2d 578, 341 S.C. 79 (2000).


1178. “A. Contractual Relationship: "When bonds are issued, there arises a contract between

the purchaser and seller, the obligation of which cannot be impaired, as it would be in violation

of article 1, § 10, Const. U.S., and of article 1, § 8, Const. S.C." Welch v. Getzen, 85 S.C. 156,

67 S.E. 294 (1910); see also South Carolina Pub. Serv. Auth. v. Summers, 282 S.C. 148, 318

S.E.2d 113 (1984) (holding municipal tax assessment impaired rights of holders of bonds issued

by Santee Cooper in violation of the United States and State Constitutions). Santee Cooper is the


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seller of its bonds. The contract exists between the bondholders and Santee Cooper, not its Board

of Directors…” Hodges v. Rainey, 533 S.E.2d 578, 341 S.C. 79 (2000).


1179. “B. Substantial Impairment: "For purposes of Contract Clause analysis, a statute can be

said to substantially impair a contract when it alters the reasonable expectations of the

contracting parties." Ken Moorhead Oil, 323 S.C. at 542, 476 S.E.2d at 486.” Hodges v. Rainey,

533 S.E.2d 578, 341 S.C. 79 (2000).

     Bills of Attainder and Ex Post Facto Laws also prohibited by the U.S. Constitution

1180. Regulatory agencies, such as medical licensing boards, represent the “fourth branch” of

government with both legislative, judicial and executive functions like the three branches of

federal or state governments.

1181. The regulations established by these regulatory agencies have the same effect and force

of law as do the statutes enacted by Congress or state legislatures, with adjudicative and

executive departments to investigate compliance with those regulations and an enforcement

branch to enforce those regulations - such as physician license revocation actions.

1182. As such, the regulations of these regulatory agencies comprise the law, same as do

Congressional or state statutes, and thus may also comprise Bills of Attainder analogously, in

spite of the fact that traditionally it was state statutes which were examined as potential Bills of

Attainder.

1183. Accordingly, the regulations and actions of BORIM may comprise Bills of Attainder

under the law - the Weinberg law -which singled out the Plaintiff for punitive revocation of his

medical license with Due Process based on the false factual record resulting from the defendants’

spoliation of exculpatory evidence concealing the 1992 Express Bilateral Contract which

terminated the doctor-patient relationship
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1184. As described above, the State of Massachusetts did violate the constitutional mandates

prohibiting states from creating Bills of Attainder, Ex Post Facto laws or impairing the

obligations of contract - - the Weinberg law -which singled out the Plaintiff for punitive

revocation of his medical license with Due Process based on the false factual record resulting

from the defendants’ spoliation of exculpatory evidence concealing the 1992 Express Bilateral

Contract which terminated the doctor-patient relationship

1185. “The right to practice medicine is a valuable property right. To deprive a man of it is in

the nature of punishment, …” Hawker v. New York, 170 U.S. 189 (1898).

1186. “…The unconstitutionality asserted consists in its alleged conflict with the clause of the

Fourteenth Amendment, which declares that no State shall deprive any person of life, liberty, or

property without due process of law; the denial to the defendant of the right to practise his

profession without the certificate required constituting the deprivation of his vested right and

estate in his profession, which he had previously acquired.” Dent v. West Virginia, 129 U.S. 114

(1889).

1187. “It is undoubtedly the right of every citizen of the United States to follow any lawful

calling, business, or profession he may choose, subject only to such restrictions as are imposed

upon all persons of like age, sex and condition. This right may in many respects be considered as

a distinguishing feature of our republican institutions. Here all vocations are open to every one

on like conditions. All may be pursued as sources of livelihood, some requiring years of study

and great learning for their successful prosecution. The interest, or, as it is sometimes termed, the

estate acquired in them, that is, the right to continue their prosecution, is often of great value to

the possessors, and cannot be arbitrarily taken from them, any more than their real or personal

property can be thus taken.” Dent v. West Virginia, 129 U.S. 114 (1889).

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1188. “Few professions require more careful preparation by one who seeks to enter it than that

of medicine. It has to deal with all those subtle and mysterious influences upon which health and

life depend, and requires not only a knowledge of the properties of vegetable and mineral

substances, but of the human body in all its complicated parts, and their relation to each other, as

well as their influence upon the mind. The physician must be able to detect readily the presence

of disease, and prescribe appropriate remedies for its removal. Every one may have occasion to

consult him, but comparatively few can judge of the qualifications of learning and skill which he

possesses. Reliance must be placed upon the assurance given by his license, issued by an

authority competent to judge in that respect, that he possesses the requisite qualifications. Due

consideration, therefore, for the protection of society may well induce the State to exclude from

practice those who have not such a license, or who are found upon examination not to be fully

qualified. The same reasons which control in imposing conditions, upon compliance with which

the physician is allowed to practice in the first instance, may call for further conditions as new

modes of treating disease are discovered, or a more thorough acquaintance is obtained of the

remedial properties of vegetable and mineral substances, or a more accurate knowledge is

acquired of the human system and of the agencies by which it is affected. It would not be

deemed a matter for serious discussion that a knowledge of the new acquisitions of the

profession, as it from time to time advances in its attainments for the relief of the sick and

suffering, should be required for continuance in its practice, but for the earnestness with which

the plaintiff in error insists that, by being compelled to obtain the certificate required, and

prevented from continuing in his practice without it, he is deprived of his right and estate in his

profession without due process of law.” Dent v. West Virginia, 129 U.S. 114 (1889).




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1189. “As we have said on more than one occasion, it may be difficult, if not impossible, to

give to the terms "due process of law" a definition which will embrace every permissible

exertion of power affecting private rights and exclude such as are forbidden. They come to us

from the law of England, from which country our jurisprudence is to a great extent derived, and

their requirement was there designed to secure the subject against the arbitrary action of the

crown and place him under the protection of the law. They were deemed to be equivalent to "the

law of the land." In this country, the requirement is intended to have a similar effect against

legislative power, that is, to secure the citizen against any arbitrary deprivation of his rights,

whether relating to his life, his liberty, or his property. Legislation must necessarily vary with the

different objects upon which it is designed to operate. It is sufficient, for the purposes of this

case, to say that legislation is not open to the charge of depriving one of his rights without due

process of law, if it be general in its operation upon the subjects to which it relates, and is

enforceable in the usual modes established in the administration of government with respect to

kindred matters: that is, by process or proceedings adapted to the nature of the case. The great

purpose of the requirement is to exclude everything that is arbitrary and capricious in legislation

affecting the rights of the citizen. As said by this court in Yick Wo v. Hopkins, speaking by Mr.

Justice Matthews: "When we consider the nature and the theory of our institutions of

government, the principles upon which they are supposed to rest, and review the history of their

development, we are constrained to conclude that they do not mean to leave room for the play

and action of purely personal and arbitrary power." See, also, Pennoyer v. Neff, 95 U.S. 714,

733; Davidson v. New Orleans, 96 U.S. 97, 104, 107; Hurtado v. California, 110 U.S.

516; Missouri Pacific Railway Co. v. Humes, 115 U.S. 512, 519; Dent v. West Virginia, 129

U.S. 114 (1889); 118 U.S. 356, 369.

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1190. “…are bills of attainder violative of article I, § 10 of the Constitution. Article I's

prohibition on bills of attainder[12] is directed at "[t]he evil of government deciding to inflict

burdens on identified persons without their participation in an adversary hearing...." L.

Tribe, American Constitutional Law 484 (1978). Bills of attainder within the meaning of Article

I are "legislative acts, no matter what their form, that apply either to named individuals or to

easily ascertainable members of a group in such a way as to inflict punishment on them without a

judicial trial." United States v. Lovett, 328 U.S. 303, 315, 66 S.Ct. 1073, 1079, 90 L.Ed. 1252

(1946). Subsumed within this definition are both common law bills of attainder, which carried

with them the penalty of death, and common law bills of pains and penalties, which carried lesser

punishments. Cummings v. Missouri, 71 U.S. (4 Wall.) 277, 323, 18 L.Ed. 356 (1866); Fletcher

v. Peck, 10 U.S. (6 Cranch.) 87, 132, 3 L.Ed. 162 (1810). At its essence, the Constitution's

prohibition of bills of attainder is inseparably tied to the structural separation of powers among

the various branches and levels of government motivated by the perception that "[t]he

accumulation of all powers legislative, executive and judiciary in the same hands, whether

of one, a few or many, and whether hereditary, self-appointed, or elective, may justly be

pronounced the very definition of tyranny." The Federalist No. 47, at 324 (J. Madison) (J. Cooke

ed. 1961); see Immigration and Naturalization Service v. Chadha, 462 U.S. 919, 960-62, 103

S.Ct. 2764, 2788-89, 77 L.Ed.2d 317 (1983) (Powell, J., concurring); Linnas v. Immigration and

Naturalization Service, 790 F.2d 1024, 1028 (2d Cir.), cert. denied, ___ U.S. ___, 107 S.Ct. 600,

93 L.Ed.2d 600 (1986). Such bills represent a legislative encroachment on powers more properly

assumed by the judiciary, thus creating "the danger of subjecting the determination of the rights

of one person to the `tyranny of shifting majorities.'" INS v. Chadha, 462 U.S. at 961, 103 S.Ct.




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at 89 (Powell, J., concurring).” Long Island Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist.

Court, ND New York (1987).

1191. “Of course, all modern legislation regulating the economic activities of specific groups

might be considered "punishments," and the bill of attainder clause, if read too broadly, could be

used to cripple the ability of legislatures to respond to some perceived social or economic

problem by imposing restrictions or limitations on individuals, corporations, or industries which

are deemed responsible for the problem. Consequently, the bill of attainder clause has been used

sparingly in invalidating legislation. It has been applied only to legislation closely paralleling the

historical characteristics of common law bills of attainder and bills of pains and penalties, the

most important of which is a design to "inflict[] its deprivation upon the members of a political

group thought to present a threat to national security." United States v. Brown, 381 U.S. 437,

453, 85 S.Ct. 1707, 1717, 14 L.Ed.2d 484 (1965). …In determining whether a legislative

enactment is an unlawful bill of attainder, the court must determine whether the challenged law

inflicts punishment on specifically designated individuals or groups without the benefit of a

judicial trial. Brown, 381 U.S. at 447-49, 85 S.Ct. at 1714-15 (1965). The specificity element is

present if the challenged act singles out a person or identifiable group either by name or by

describing those affected by the act "in terms of conduct which, because it is past conduct,

operates only as a designation of particular persons." Communist Party of United States v.

Subversive Activities Control Board, 367 U.S. 1, 86, 81 S.Ct. 1357, 1405, 6 L.Ed.2d 625 (1961).

In determining whether a particular act inflicts "punishment," three inquiries must be made: "(1)

whether the challenged statute falls within the historical meaning of legislative punishment; (2)

whether the statute, `viewed in terms of the type and severity of burdens imposed, reasonably

can be said to further nonpunitive legislative purposes'; and (3) whether the legislative record

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`evinces a [legislative] intent to punish.'" Selective Service System v. Minnesota Public Interest

Research Group, 468 U.S. 841, 852, 104 S.Ct. 3348, 3355, 82 L.Ed.2d 632

(1984) (quoting Nixon v. Administrator of General Services, 404 U.S. 425, 473, 475-478, 97

S.Ct. 2777, 2805, 2806-08, 53 L.Ed.2d 867 (1977).” Long Island Lighting Co. v. Cuomo, 666

F.Supp. 370 - Dist. Court, ND New York (1987)

1192. “… inflicts "punishment" within the meaning of the bill of attainder clause. Turning to

the first factor identified by the Supreme Court in Selective Service as relevant to whether a

legislative act imposes "punishment," … impose burdens historically associated with the type of

"punishments" that inspired the Framers to draft the prohibition against bills of attainder. As

noted above, at common law bills of attainder carried with them the death penalty, while bills of

pains and penalties usually involved imprisonment, banishment, or the punitive confiscation of

property. Selective Service, 468 U.S. at 852, 104 S.Ct. at 3355. In the post-Revolutionary War

period, an additional punishment acquired the status of those legislative punishments and has

been found to violate the bill of attainder clause: the erection of bars to participation by

individuals or groups in specific employments or professions. See, e.g., Brown, 381 U.S. 437, 85

S.Ct. 1707; Lovett, 328 U.S. 303; Cummings, 71 U.S. (4 Wall.) 277, 18 L.Ed. 356; Ex parte

Garland, 71 U.S. (4 Wall.) 333, 18 L.Ed. 366.” Long Island Lighting Co. v. Cuomo, 666

F.Supp. 370 - Dist. Court, ND New York (1987).

1193. “The court's analysis cannot stop here, however. In recognition of the ability of

innovative and resourceful legislators to devise new methods for penalizing unpopular

individuals or groups, the Supreme Court mandates that "[t]o ensure that the [l]egislature has not

created an impermissible penalty not previously held to be within the proscription against bills of

attainder, [the court] must determine whether the challenged statute[s] can be reasonably said to

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further nonpunitive goals." Selective Service, 468 U.S. at 853-54, 104 S.Ct. at 3356.” Long

Island Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987)


1194. "The distinguishing feature of a bill of attainder is the substitution of a legislative for a

judicial determination of guilt." DeVeau v. Braisted, supra, 363 U.S. at 160, 80 S.Ct.            at

1154, 4 L.Ed.2d at 1120. Other elements are that it is directed at named persons or members of a

readily ascertainable group and also constitutes punishment without a judicial trial. United States

v. Brown, 381 U.S. 437, 447-449, 85 S.Ct. 1707, 1714-1715, 14 L.Ed.2d 484, 491-492

(1965).” In Re Disciplinary Proceedings against Schmidt & Sons, Inc., 399 A.2d 637, 79 N.J.

344 (1979).


1195. “Deciding whether a state statute is in conflict with a federal statute and hence invalid

under the Supremacy Clause is essentially a two-step process of first ascertaining the

construction of the two statutes and then determining the constitutional question whether they are

in conflict.” Perez v. Campbell, 402 U.S. 637 (1971).


1196. The Federalist papers and other historical documents reveal that the intent or the framers

of the U.S. Constitution, when they drafted the Bills of Attainder clause, was to prohibit

leglislative state action which focused on a specific and individual person, which is penal or

punitive in nature, and for which the targeted person is not given the right to a trial or fair

hearing.


1197. Thus, there are three (3) essential elements to a Bill of Attainder:


       (a) It must be enacted/drafted by the state actor, whether federal or state;



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        (b) It must target a single person, and not generally proscribe conduct for a group of

        persons, in a general sense as many statutes usually do; and

        (c) There must be state action comprising punishment or other penal action which does

        not provide the targeted person with the right to a fair trial, right to confront witnesses

        and permit cross examination, or allow the usual discovery procedures which are

        specified in the Rules of Criminal Procedure.


1198. The “Weinberg law” which was enacted quasi-legislatively de facto in 2002 by BORIM,

comprising forty-three (43) separate, independent and distinguishable elements, was enacted de

facto by BORIM, targeted the Plaintiff as there is no general statute or BORIM regulation with

the same 43 elements directed against a group of physicians who sign an Express Bilateral

Contract terminating the doctor-patient relationship under the guidance, drafting and dictation by

a mental health profession overseeing the termination, for which the punishment is revocation of

their medical license without the right to a fair trial.


1199. In accordance with the intent of the drafters of the U.S. Constitution, Bills of Attainder

may be comprised by federal or state statutes, regulations of federal or state agencies, ordinances

of cities, towns or counties, and may be enacted legislatively through the operation of a

legislative federal or state congress, or quasi-legislatively through the rule-making procedures of

the federal Administrative Procedure Act or the state, city, town or county equivalent for rule-

making.


1200. Although most of the actions and jurisprudence concerning the Bills of Attainder clause

have examined legislative statutes and considered other regulations or ordinances as not covered,

the Plaintiff will prove that all commands and mandates of state action, whether statutes, bills,
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acts, regulations or ordinances, comprise Bills of Attainder prohibited by the U.S. Constitution if

the 3 essential elements are met: (a) It must be enacted/drafted by the state actor, whether federal

or state; (b) It must target a single person, and not generally proscribe conduct for a group of

persons, in a general sense as many statutes usually do; and (c)there must be state action

comprising punishment or other penal action which does not provide the targeted person with the

right to a fair trial, right to confront witnesses and permit cross examination, or allow the usual

discovery procedures which are specified in the Rules of Criminal Procedure.


1201. The Plaintiff intends to show that the Supreme Court has gotten it wrong when they

judged that official quasi-legilative acts, which are not statutes, cannot comprise Bills of

Attainder.


1202. In the instant action, the “Weinberg law” is such a Bill of Attainder quasi-legislated by

BORIM in violation of the Bills of Attainder clause of the U.S. Constitution, in the original

intent of the Framers of the U.S. Constitution to prohibit such individualized penal state action

without a fair trial or Due Process of Law.


                        The Bill of Attainder Clause
                               [LSB10567 https://crsreports.congress.gov ]

1203. “Article I, Section 9, of the Constitution provides that Congress shall pass “No Bill of

Attainder or ex post facto Law.” Article I, Section 10, likewise prohibits the states from enacting

bills of attainder. (Thus, there are two Bill of Attainder Clauses; this Sidebar uses the singular

“Bill of Attainder Clause” to refer to the clause that binds Congress.)”Joanna R. Lampe,

Congressional Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the




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Bill of Attainder Clause,” January 22, 2021

https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1204. “The Supreme Court has described a bill of attainder as “a law that legislatively

determines guilt and inflicts punishment upon an identifiable individual without provision of the

protections of a judicial trial.” Joanna R. Lampe, Congressional Research Service:Legal

Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder Clause,” January 22,

2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1205. “Bills of attainder were common in England before the Founding, primarily targeting

individuals accused of disloyalty to the government. Bills of attainder were also used in the

American colonies.” Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol

Unrest, Legislative Response, and the Bill of Attainder Clause,” January 22, 2021

https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1206. “However the Framers of the U.S. Constitution chose to depart from that historical

practice. The Supreme Court has explained that the constitutional prohibitions on bills of

Congressional attainder “reflect[] the Framers’ belief that the Legislative Branch is not so well

suited as politically independent judges and juries to the task of ruling upon the blameworthiness

of, and levying appropriate punishment upon, specific persons.”Joanna R. Lampe, Congressional

Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder

Clause,” January 22, 2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1207. “Individuals who believe they are subject to a bill of attainder may challenge the relevant

legislation in court. If a court finds that the legislation is a bill of attainder, it can declare the law

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unconstitutional.” Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol

Unrest, Legislative Response, and the Bill of Attainder Clause,” January 22, 2021

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1208. “Judicial decisions invalidating laws as bills of attainder are relatively rare, but key cases

dating back to the Reconstruction Era provide a framework for evaluating bill of attainder

claims. The Supreme Court outlined the current test for bill of attainder claims in the 1977 case

Nixon v. Administrator of General Services. In that case, the Court held that legislation

constitutes a bill of attainder if it both (1) applies with specificity and (2) imposes punishment

without trial.” Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol Unrest,

Legislative Response, and the Bill of Attainder Clause,” January 22, 2021

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1209. “Specificity: A law that singles out one or more individuals by name satisfies the

specificity requirement. For instance, in United States v. Lovett, the Supreme Court struck down

as a bill of attainder “an Act specifically cutting off the pay of certain named individuals [federal

employees] found guilty of disloyalty.” Likewise, a provision of the legislation at issue in Nixon

applied only to former President Richard M. Nixon. Known as the Presidential Recordings and

Materials Preservation Act, that statute directed the Administrator of General Services to take

custody of Nixon’s presidential papers and tape recordings and promulgate regulations to govern

the processing and preservation of those materials. The Supreme Court acknowledged “the Act’s

specificity—the fact that it refer[red] to [Nixon] by name.”Joanna R. Lampe, Congressional

Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder

Clause,” January 22, 2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567

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1210. “Legislation that does not identify a targeted individual by name may satisfy the

specificity requirement as well. In Foretich v. United States, the U.S. Court of Appeals for the

D.C. Circuit considered a federal statute that responded to a high-profile child custody dispute by

limiting the visitation rights of a father accused of sexually abusing his daughter. The D.C.

Circuit ruled that the legislation applied with specificity because, “[a]lthough Congress stopped

short of including the names” of the parents or child “in the text of the statute, the applicability

of the Act depend[ed] on such a narrow set of circumstances that it applie[d] to no known cases

other than” the custody dispute that prompted the legislation.”Joanna R. Lampe, Congressional

Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder

Clause,” January 22, 2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1211. In the de facto quasi-legislative enactment of the Weinberg law by BORIM, Weinberg is

specifically named in multiple court documents and filings with DALA, but it is the 43 essential

elements of the Weinberg law which “depended on such a narrow set of circumstances that it

applied to no known cases other than” the Plaintiff’s case of first impression.


1212. “A law may also apply with specificity if it targets members of an identifiable group. For

example, in the Reconstruction-era case Cummings v. Missouri, the Supreme Court struck down

as a bill of attainder a provision of the Missouri state constitution that effectively barred former

Confederate sympathizers from engaging in certain vocations. Likewise, in the 1965 case United

States v. Brown, the Court held that a statute making it a crime for any member of the

Communist Party to serve as an officer of a labor union was a bill of attainder.”Joanna R.

Lampe, Congressional Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response,




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1213. “Legislation that targets a specific corporation may also satisfy the specificity

requirement. While the Supreme Court has not decided whether the Bill of Attainder Clause

protects entities such as corporations, several lower federal courts have either held or assumed

that it does.”Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol Unrest,

Legislative Response, and the Bill of Attainder Clause,” January 22, 2021

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1214. “Punishment: Specificity standing alone is never sufficient to support a finding that a

law is a bill of attainder. The Nixon Court rejected the proposition that an individual or defined

group is subject to a bill of attainder “whenever he or it is compelled to bear burdens which the

individual or group dislikes.” Congress is not limited to “the choice of legislating for the

universe, or legislating only benefits, or not legislating at all.” Joanna R. Lampe, Congressional

Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder

Clause,” January 22, 2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1215. “Instead, the Nixon Court explained, Congress may in some circumstances create “a

legitimate class of one.” Thus, if a law applies with specificity but does not impose punishment,

it will not be struck down as a bill of attainder.” Joanna R. Lampe, Congressional Research

Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder Clause,”

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1216. “The test for whether a law imposes punishment is complex and fact-based. In Nixon, the

Supreme Court laid out three tests for assessing whether a law imposes punishment: (1)

historical, (2) functional, and (3) motivational. Federal appeals courts have stated that none of

the three tests is decisive, and not all three tests need to be satisfied for a law to be punitive.”

Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol Unrest, Legislative

Response, and the Bill of Attainder Clause,” January 22, 2021

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1217. “The Historical Test: The first authority courts consult in considering whether a law

imposes punishment is “[t]he infamous history of bills of attainder.” This historical test for

punishment deems a statute to be punitive if it is one of a limited set of legislative actions that

were found to be bills of attainder from before the Founding through the mid-20th century. At

English common law, a bill of attainder was legislation imposing the death penalty without a

judicial trial. That definition later expanded to include “bills of pains and penalties” that imposed

other forms of criminal punishment such as banishment, imprisonment, or confiscation of

property without trial. American courts further expanded the historical definition of punishment

to include employment bans that prevent specific individuals or members of discrete classes

from holding certain types of jobs. The vocational restrictions for Confederate sympathizers at

issue in Cummings, the criminal prohibition of Communists serving as union officers in Brown,

and the legislation that prevented named individuals accused of being “subversives” from

drawing a federal salary in Lovett are all examples of employment bans that are considered

“punishment” under the historical test.” Joanna R. Lampe, Congressional Research

Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder Clause,”

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1218. “However, courts have generally declined to extend historic jurisprudence related to

employment bans to include restrictions on corporations. As an example, in Kaspersky Lab, Inc.

v. Department of Homeland Security, Russia-based cybersecurity company Kaspersky Lab

brought a bill of attainder challenge to a provision of the National Defense Authorization Act for

Fiscal Year 2017 that barred the U.S. government from using any Kaspersky Lab products or

services. The D.C. Circuit rejected the challenge, holding that none of the three tests for

punishment was satisfied. With respect to the historical test, the court rejected the company’s

argument that the ban on federal contracting with Kaspersky Lab was analogous to prior cases

involving individual employment bans. The court explained that “although we assume that the

Bill of Attainder Clause protects corporations as well as natural persons, we have no basis for

likewise assuming that corporate entities feel burdens in the same way as living, breathing

human beings.” In ACORN v. United States, the Second Circuit similarly held that withholding

federal appropriations from a named company “does not constitute a traditional form of

punishment,” noting, “There may well be actions that would be considered punitive if taken

against an individual, but not if taken against a corporation.” Joanna R. Lampe, Congressional

Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the Bill of Attainder

Clause,” January 22, 2021 https://crsreports.congress.gov/product/pdf/LSB/LSB10567


1219. “The Functional Test: The functional test is generally the most important of the three

tests for punishment. This test considers “whether the law under challenge, viewed in terms of

the type and severity of burdens imposed, reasonably can be said to further nonpunitive

legislative purposes.” The functional test serves to prevent formalistic evasion of the Bill of

Attainder Clause, recognizing that there may be measures that were not historically recognized

as punishments that are nonetheless impermissibly punitive. But at the same time, the U.S. Court
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of Appeals for the Fifth Circuit has stated that even some laws imposing penalties that were

historically considered punishments may not violate the Bill of Attainder Clause if the

“legislation has a legitimately nonpunitive function, purpose, and structure.” The functional test

is fact-specific. It first considers whether the statute has a non-punitive purpose. Courts apply a

level of scrutiny somewhat more stringent than the most deferential rational basis review,

requiring what the D.C. Circuit has called “not some conceivable nonpunitive purpose, but rather

an actual nonpunitive purpose.” If such a purpose exists and the challenged law reasonably

serves that purpose, courts generally find that the law is not punitive. For instance, in Nixon, the

Supreme Court held that the Presidential Recordings and Materials Preservation Act did not

function as punishment because it served the nonpunitive purposes of retaining materials relevant

to the prosecution of the Watergate break-in and preserving records with historical significance.

In Kaspersky, the D.C. Circuit held that a statute prohibiting the U.S. government from using

products or services from Kaspersky Lab served a nonpunitive interest in promoting “the

security of the federal government’s information systems.” In SBC Communications, Inc. v.

Federal Communications Commission, the Fifth Circuit held that a statute barring specific

telecommunications companies from engaging in certain business activities served the

nonpunitive purpose of “attempting to ensure fair competition in the [telecommunications]

markets.”


If a nonpunitive purpose is evident, the court considers whether the challenged legislation is

over- or underinclusive in view of its aims and whether less burdensome alternatives could have

accomplished the same goals. “A grave imbalance or disproportion between the burden and the

purported nonpunitive purpose suggests punitiveness, even where the statute bears some minimal

relation to nonpunitive ends.”
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Thus, in Foretich, the D.C. Circuit held that a statute altering the visitation rights of a father

accused of sexually abusing his child constituted a bill of attainder, in part because of the

imbalance between the burden the statute imposed and the statute’s “implausible nonpunitive

purposes.” And in Consolidated Edison Co. v. Pataki, the Second Circuit concluded that

legislation barring a company from recovering certain costs from customers, on the stated basis

that the company had “failed to exercise reasonable care” in its business, functioned as

punishment because the court could “discern no wholly non-punitive purpose to justify” the

law.” Joanna R. Lampe, Congressional Research Service:Legal Sidebar,”Capitol Unrest,

Legislative Response, and the Bill of Attainder Clause,” January 22, 2021

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1220. “The Motivational Test: The third and final test for punishment considers whether the

legislature that enacted a challenged law was motivated by an intent to punish the targeted

person(s). Courts applying this test examine the bill’s text and legislative history to determine

whether lawmakers expressed punitive intent. The motivational test is not usually dispositive.

The Nixon Court opined that a law may qualify as a bill of attainder even without a “formal

legislative announcement of moral blameworthiness or punishment.” Moreover, if the historical

and functional tests are not satisfied, the motivational test standing alone does not compel a

finding that a law is punitive unless the reviewing court finds “unmistakable evidence of punitive

intent.” However, a significant amount of punitive language in congressional documents or

legislative debate may support a finding that a law imposes punishment. For instance, committee

reports on the legislation at issue in Lovett characterized the affected individuals as “guilty of

having engaged in ‘subversive activity’” and “unfit” for government service. In Foretich, the

D.C. Circuit cited statements of multiple legislators characterizing the child at the center of the
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custody dispute as a “victim” and the legislation as “deal[ing] with the inadequacies of the court

system” and “bringing justice” to her family.


By contrast, isolated statements by a few lawmakers generally do not suffice to show a

legislative intent to punish. In Kaspersky, the D.C. Circuit considered one Senator’s statements

that the “case against Kaspersky Lab [wa]s ovePlaintiff Robert Weinberghelming” and that

“strong ties between Kaspersky Lab and the Kremlin [we]re alarming and well-documented.”

The court concluded that “even if [the Senator’s] statements did reveal a personal desire to

punish Kaspersky, the company cite[d] no corroborating evidence indicating that other members

of Congress shared her supposedly punitive motivations.” In ACORN, an organization that had

been excluded from receiving federal funding cited statements of “nearly ten members of the

House of Representatives” labeling the organization as corrupt and accusing it of specific

offenses. The Second Circuit concluded, “Despite the evidence of punitive intent on the part of

some members of Congress, unlike in Lovett, there is no congressional finding of guilt in this

case.” The court thus held that the statements were “insufficient to establish—by themselves—

the clearest proof of punitive intent necessary for a bill of attainder.” Joanna R. Lampe,

Congressional Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the

Bill of Attainder Clause,” January 22, 2021

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1221. The Weinberg law whose purpose was to revoke the medical license of the Plaintiff was

clearly punitive, as it deprived the Plaintiff of his ability to earn a livelihood, deprived the

Plaintiff of his property rights in his medical license, and proximately caused the financial

collapse and insolvency of the Plaintiff culminating in his filing for bankruptcy.

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1222. “The Bill of Attainder Clause applies only to punishments imposed without a judicial

trial, so prosecuting individuals involved in the unrest at the Capitol under existing laws would

not raise bill of attainder concerns. (However, amending criminal laws to criminalize past

conduct or increase criminal penalties for existing offenses might implicate the related

constitutional prohibition on ex post facto laws. Thus, while the incident at the Capitol has

prompted some calls for new domestic terrorism laws, any new penal laws could apply only on a

prospective basis.) By contrast, if Congress enacted legislation specifically identifying one or

more individuals or groups allegedly involved in the unrest at the Capitol and imposing legal

consequences on them, those people might challenge such laws as bills of attainder. Congress

could seek to mitigate any bill of attainder concerns by ensuring that proposed legislation does

not fit within the historical categories of punishment subject to the Bill of Attainder Clause, that

it reasonably serves a nonpunitive purpose, and that the statutory text and legislative history do

not reflect an intent to punish. As with any bill of attainder litigation, however, the outcome of

such a challenge would depend on the specific facts of the case.” Joanna R. Lampe,

Congressional Research Service:Legal Sidebar,”Capitol Unrest, Legislative Response, and the

Bill of Attainder Clause,” January 22, 2021

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1223. The challenge for the Plaintiff, in the instant action, is to eloquently prove before the

Supreme Court that the quasi-legislative acts of a state agency is the same type of state action as

Congressionally-enacted statutes and therefore the intended prohibition of the Founding Fathers.


1224. The Weinberg law is narrowly quasi-legislated to punish the Plaintiff uniquely - the

Weinberg law -which singled out the Plaintiff for punitive revocation of his medical license with

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Due Process based on the false factual record resulting from the defendants’ spoliation of

exculpatory evidence concealing the 1992 Express Bilateral Contract which terminated the

doctor-patient relationship


1225. “…On occasion, Congress exercises its legislative authority regarding a specified

individual, entity, or identifiable group in such a way as to raise constitutional concerns. In

particular, the United States Constitution expressly prohibits the federal government from

enacting bills of attainder, defined by the Supreme Court as a “law that legislatively determines

guilt and inflicts punishment upon an identifiable individual without provision of the protections

of a judicial trial.” The basis for the prohibition arises from the separation of powers concern that

the enforcement of a bill of attainder would allow Congress to usurp the power of the judicial

branch…” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The

Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1226. “The two main criteria that the courts use to determine whether legislation is a bill of

attainder are (1) whether “specific” individuals, groups, or entities are affected by the statute, and

(2) whether the legislation inflicts a “punishment” on those individuals. The U.S. Supreme Court

has also identified three types of legislation that would fulfill the “punishment” prong of the test:

(1) where the burden is such as has “traditionally” been found to be punitive (historical test); (2)

where the type and severity of burdens imposed are the “functional equivalent” of punishment

because they cannot reasonably be said to further “non-punitive legislative purposes” (functional

test); and (3) where the legislative record evinces a “congressional intent to punish (motivational

test).” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The Constitutional

Implications of Congress legislating narrowly,” August 26, 2014



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1227.   “The Court has suggested that each bill of attainder case turns on its own highly

particularized facts, and notably, since the signing of the Constitution, the Bill of Attainder

Clause has been successfully invoked only five times in the Supreme Court. Nevertheless, there

remain potential constitutional concerns when Congress proposes or passes legislation that

imposes a burden on a specified individual, entity, or identifiable group.” Kenneth R. Thomas,

Congressional Research Service,”Bills of Attainder: The Constitutional Implications of Congress

legislating narrowly,” August 26, 2014

1228. “Congress has various legislative authorities under which it can regulate the behavior of

persons and businesses, and it has significant discretion as regards the breadth and scope of such

regulation. On occasion, however, Congress exercises its authority regarding a specified

individual, entity, or identifiable group in such a way as to give rise to constitutional concerns. In

particular, the United States Constitution expressly prohibits the federal government from

enacting bills of attainder, defined by the Supreme Court as a “law that legislatively determines

guilt and inflicts punishment upon an identifiable individual without provision of the protections

of a judicial trial.” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder:

The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1229. “The basis for the prohibition arises from the separation of powers concern that

the enforcement of a bill of attainder would allow Congress to usurp the power of the judicial

branch. For instance, there was, for a time, significant controversy about bonuses paid to

employees of entities that had received Troubled Asset Relief Program (TARP) funds from the

federal government under the Emergency Economic Stabilization Act of 2008. In response to

this concern, various proposals were made to impose taxes on such bonuses. One such bill,

which passed the House, would have taxed bonuses as income to the employee at a rate of 90%,

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while another, introduced in the Senate, would have imposed an excise tax equal to 35% of the

bonus on both the employee and entity. Significantly, both bills would have applied retroactively

to tax bonuses awarded before the legislation was passed. Concerns were expressed that, because

these bills targeted the bonuses of employees of specific companies that had received funds, they

could be seen as bills of attainder.” Kenneth R. Thomas, Congressional Research Service,”Bills of

Attainder: The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1230. “A similar situation arose in response to allegations of election law and other legal

violations by the Association of Community Organizations for Reform Now (ACORN), a public

interest group. Here, Congress passed several appropriations bills that limited the provision of

federal funds to ACORN and its affiliates. For instance, § 163 of the 2010 Continuing

Appropriation Resolution provided that:

        [n]one of the funds made available by this joint resolution or any prior Act may be

        provided to the Association of Community Organization[s] for Reform Now (ACORN)

        or any of its affiliates, subsidiaries, or allied organizations.

Further, the 2010 Consolidated Appropriations Act provided in various places that none of the

funds made available under various divisions of the act or any prior act could be provided to

ACORN or any of its affiliates, subsidiaries, or allied organizations. This legislation was

challenged in federal court as a bill of attainder, but was ultimately upheld by the United States

Court of Appeals for the Second Circuit.” Kenneth R. Thomas, Congressional Research Service,”Bills

of Attainder: The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1231. “Generally, a court will have reservations in declaring a provision of law unconstitutional

because “legislative decisions enjoy a high presumption of legitimacy.”13 Further, the Supreme

Court has suggested that each bill of attainder case “turn[s] on its own highly particularized


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context.” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The Constitutional

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1232. “Notably, since the signing of the Constitution, the Bill of Attainder Clause has been

successfully invoked only five times in the Supreme Court. Nevertheless, constitutional concerns

may arise in this context when Congress proposes or passes legislation that burdens specified

individuals or a defined class of persons or entities.” Kenneth R. Thomas, Congressional Research

Service,”Bills of Attainder: The Constitutional Implications of Congress legislating narrowly,” August

26, 2014

1233. “As noted, the prohibition on bills of attainder is based on separation of powers concerns.

By passing a bill of attainder, the legislature assumes judicial magistracy, pronouncing upon the

guilt of the party without any of the common forms and guards of trial, and satisfying itself with

proofs, when such proofs are within its reach, whether they are conformable to the rules of

evidence, or not. In short, in all such cases, the legislature exercises the highest power of

sovereignty, and what may be properly deemed an irresponsible despotic discretion, being

governed solely by what it deems political necessity or expediency, and too often under the

influence of unreasonable fears, or unfounded suspicions.” Kenneth R. Thomas, Congressional

Research Service,”Bills of Attainder: The Constitutional Implications of Congress legislating narrowly,”

August 26, 2014

1234. “At common law, a bill of attainder was a parliamentary act that sentenced a named

individual or identifiable member of a group to death.17 It was most often used to punish

political activities that Parliament or the sovereign found threatening or treasonous.18 A bill of

pains and penalties was identical to a bill of attainder, except that it prescribed a punishment

short of death such as banishment, deprivation of the right to vote, exclusion of the designated

individual’s sons from Parliament, or the punitive confiscation of property.19 The prohibition on
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bills of pains and penalties has been subsumed into the prohibitions of the Bill of Attainder

Clause, so that a variety of penalties less severe than death may trigger its provisions.” Kenneth

R. Thomas, Congressional Research Service,”Bills of Attainder: The Constitutional Implications of

Congress legislating narrowly,” August 26, 2014

1235. “The two main criteria that the courts look to in order to determine whether legislation is

a bill of attainder are (1) whether specific or identifiable individuals are affected by the statute

(specificity prong), and (2) whether the legislation inflicts a punishment on those individuals

(punishment prong)” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The

Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1236. “Specificity: The Supreme Court has held that legislation meets the criteria of

specificity if it either specifically identifies a person, a group of people,21 or readily

ascertainable members of a group, or if it applies to a person or group based on past conduct. For

example, where a court determines that a statute referencing a specific group of persons is based

on past conduct, this legislation may in some cases be treated as a per se violation of the

specificity prong. In United States v. Lovett, Congress passed Section 304 of the Urgent

Deficiency Appropriation Act of 1943, which named three government employees, labeled them

as subversive, and then provided that no salary should be paid to them. The employees brought

suit, and the Supreme Court ruled in their favor, holding that Section 304 was a punishment of

named individuals without a judicial trial.” Kenneth R. Thomas, Congressional Research

Service,”Bills of Attainder: The Constitutional Implications of Congress legislating narrowly,” August

26, 2014

1237. “… it is a defense to a bill of attainder challenge to establish that a statute

is not intended to punish, but rather to implement a legitimate regulatory scheme. Although this

analysis is generally considered under the second prong of the test (whether the law is punitive),
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it may have implications for the specificity prong. For instance, in the case of Nixon v.

Administrator of General Services, the Court evaluated the Presidential Recordings and

Materials Preservation Act, which required that former President Richard Nixon, whose papers

and tape recordings were specifically named in the act, turn those papers and tape recordings

over to an official of the executive branch. The former President challenged the constitutionality

of the act as a bill of attainder, arguing that it was based on a congressional determination of the

former President’s blameworthiness and represented a desire to punish him. It would appear that

the identification of papers and recordings under the control of a named person (the former

President) would meet the per se requirement. The Court in Nixon, however, found that the

statute was constitutional despite this specificity. In Nixon, the Court found that the bill failed

the second prong (punishment) of the test for a bill of attainder, since the act fulfilled the valid

regulatory purpose of preserving information which was needed to prosecute Watergate-related

crimes and was of historical interest. As part of this analysis, however, the Court even questioned

whether the statute in question met the specificity prong of the two-part test, finding that naming

an individual could be “fairly and rationally understood” as designating a “legitimate class of

one.” Thus, it has been suggested that Nixon stands for the proposition that any level of

specificity is acceptable, even the naming of individuals, as long as a rational, non-punitive basis

for the legislation can be established.” Kenneth R. Thomas, Congressional Research Service,”Bills of

Attainder: The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1238. Retroactive versus prospective enforcement: “A different question arises as to whether

legislation that applies both retroactively and prospectively, and thus includes persons not yet

identified, can violate the prohibition on bills of attainder. It does not appear to be fatal to a bill

of attainder challenge that the statute in question applies to both past and future behavior. In one


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of the relatively few cases in which a successful bill of attainder challenge was made, the Court

in United States v. Brown invalidated Section 504 of the Labor-Management Reporting and

Disclosure Act, which made it a crime for anyone “who is or has been a member of the

Communist Party to serve as an officer or employee of a labor union ... during or for five years

after the termination of his membership in the Communist Party.” In Brown, the Court did not

find it significant that future members of the Communist Party would be included in the group

affected. Rather, the Court focused on the fact that once a person had entered the Communist

Party, his or her withdrawal did not relieve the disability for five years. So, the requirement of

specificity is not defeated by the potential of future persons being added to the identified group,

as long as the persons or entities identified cannot withdraw from such specified group.” Kenneth

R. Thomas, Congressional Research Service,”Bills of Attainder: The Constitutional Implications of

Congress legislating narrowly,” August 26, 2014

1239. “…However, a per se finding of specificity can still fail to meet the first prong if the

group specified by the statute can be justified by a regulatory purpose. This question would

require an analysis of the nexus between the specificity and the regulatory purpose that is

arguably served by the proposed law. In this regard, the specificity analysis would be similar to

the “Functional Test” …” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder:

The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1240. “… Punishment: The mere fact that focused legislation imposes burdensome

consequences does not require that a court find such legislation to be an unconstitutional bill of

attainder. Rather, the Court has identified three tests to determine whether legislation is

“punitive”: (1) whether the burden is such as has traditionally been found to be punitive

(historical test); (2) whether the type and severity of burdens imposed cannot reasonably be said


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to further non-punitive legislative purposes (functional test); and (3) whether the legislative

record evinces a congressional intent to punish (motivational test).



Historical Test of Punishment


The Supreme Court has identified various types of punishments that have historically been

associated with bills of attainder. These traditionally have included capital punishment,

imprisonment, fines, banishment, confiscation of property, and more recently, the barring of

individuals or groups from participation in specified employment or vocations. The courts have

been reluctant, however, to further expand the scope of the historical test. For instance, the

United States Court of Appeals for the Second Circuit has rejected the argument that denial of

federal benefits to specified individuals or organizations was the type of “punishment”

traditionally engaged in by legislatures as a means of punishing individuals for wrongdoing.

Functional Test of Punishment

1241. The Supreme Court has also indicated that some legislative burdens not traditionally

associated with bills of attainder might nevertheless “functionally” serve as punishment. The

Court has indicated, however, that in those cases, the type and severity of the legislatively

imposed burden would need to be examined to see whether it could reasonably be said to further

a non-punitive legislative purpose.

1242. The Court has specified that “legislative acts, no matter what their form, that apply either

to named individuals or to easily ascertainable members of a group in such a way as to inflict

punishment on them without a judicial trial are bills of attainder prohibited by the Constitution.”




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1243. These legislative acts may include the quasi-legislative acts of such agencies as BORIM

which enact new regulations via the Rule-making process as well as through adjudication of

cases of first impression.

1244. For example, it seems clear that, in some instances, a denial of the ability to engage

financially with the United States can fulfill the punishment prong of the test. As touched upon

earlier in United States v. Lovett, the Court struck down a statute prohibiting specified

individuals from being employed by the United States as a bill of attainder.

1245. In Lovett, the respondents, Robert Lovett, Goodwin Watson, and William Dodd, Jr., were

federal government employees in good standing. Congress, however, passed a statute naming

those individuals and providing that, after a certain date, no federal salary or compensation could

be paid to them. The statute was passed as a result of concerns in the House Committee on Un-

American Activities that “subversives” were occupying influential positions in the government

and elsewhere, and that Congress had the responsibility to identify and remove those individuals.

1246. The Court noted that the character of the legislation was informed by both the particulars

of the legislation and the context in which it arose. In this case, the Court found that the statute

operated to bar the named individuals not only from their current jobs, but also from employment

by any branch of the federal government for perpetuity. The Court also noted that the

congressional proceedings relevant to the legislation had the elements of judicial process. For

instance, the chairman of the House Committee on Un-American Activities, Representative Dies,

told the House that the three named individuals, among others, were unfit to “hold a Government

position,” and other statements made during the debate included discussion of “charges” against

the individuals and of having sufficient proof of “guilt.”




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1247. A special counsel for the House noted that the legislation in question was within the

discretion of Congress’s power under the Spending Clause. However, the Court in Lovett

remarked that other Supreme Court decisions have invalidated legislation barring specified

persons or groups from pursuing various professions where the employment bans were imposed

as a brand of disloyalty.

1248. For instance, the Court has found that a ban on lawyers practicing before the Supreme

Court was punishment for purposes of bill of attainder analysis, as was a ban on persons holding

positions of trust related to legal proceedings. Consequently, the Court in Lovett held that the

denial of the contractual right to federal employment fell squarely into the type of punishment

susceptible to bill of attainder analysis.”Kenneth R. Thomas, Congressional Research Service,”Bills

of Attainder: The Constitutional Implications of Congress legislating narrowly,” August 26, 2014

1249. “…The situation can arise, however, where the burdens imposed by legislation on

specified or identifiable persons or entities may be justified by a valid regulatory (non-punitive)

purpose. In such a case, a court would be likely to find that such legislation is not intended to be

punitive. For instance, in Flemming v. Nestor, 51 the Court upheld termination of Social Security

benefits to persons deported for events occurring before the passage of the legislation

terminating benefits, reasoning that Congress was within its authority to find that the purposes of

Social Security were not served by providing benefits to persons living overseas. In reaching this

conclusion, the Court noted that:

[O]nly the clearest proof could suffice to establish the unconstitutionality of a statute on [bill

of attainder grounds]. Judicial inquiries into Congressional motives are at best a hazardous

matter, and when that inquiry seeks to go behind objective manifestations it becomes a

dubious affair indeed. Moreover, the presumption of constitutionality with which this


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enactment, like any other, comes to us forbids us lightly to choose that reading of the

statute’s setting which will invalidate it over that which will save it. ‘It is not on slight

implication and vague conjecture that the legislature is to be pronounced to have transcended

its powers, and its acts to be considered as void.’ Fletcher v. Peck, 6 Cranch 87, 128.”

However, it should be noted that the legislation in question in Flemming was but a small part of a

larger regulatory scheme—the Social Security program—making any punitive intent less

apparent.” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The Constitutional

Implications of Congress legislating narrowly,” August 26, 2014

1250. “Another factor that may be relevant to a bill of attainder analysis is the duration of the

burden imposed by legislation. For instance, if the burden imposed by legislation is of short

duration, one might argue that Congress had to act quickly to address a particular situation, with

an understanding that more general legislation would be forthcoming in the future. For instance,

in the case of SeaRiver Maritime Financial Holdings, Inc. v. Mineta, the United States Court of

Appeals for the Ninth Circuit (Ninth Circuit) suggested that the need for quick resolution of a

particular regulatory concern might require a degree of specificity that would not otherwise be

acceptable. The SeaRiver case is closely related to an oil spill that occurred in 1989, when the

Exxon Valdez ran aground onto Bligh Reef in Alaska, spilling nearly 11 million gallons of oil

into the Prince William Sound. The following year, Congress passed the Oil Pollution Act of

1990, which, among other things, excluded from the waters of Prince William Sound any vessel

that had spilled more than 1 million gallons of oil into the marine environment after March 22,

1989. The act effectively barred the Exxon Valdez from operating in Prince William Sound.

The owner of the Exxon Valdez brought suit, arguing that the exclusion of the Exxon Valdez

under the Oil Pollution Act constituted an unconstitutional bill of attainder. While the Ninth


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Circuit held that the legislation in question did meet the specificity prong of the bill of attainder

analysis, it found that the legislation was not intended to punish the owners of the Exxon Valdez,

and thus did not violate the punishment prong of the bill of attainder test. Rather, the Ninth

Circuit found that the legislation furthered a rational, non-punitive regulatory purpose.

In the Oil Pollution Act, Congress recognized Prince William Sound as an “environmentally

sensitive area,” and included various provisions designed to protect the Sound’s environment and

reduce the likelihood of future oil spills. The act established the Prince William Sound Oil Spill

Recovery Institute and an Oil Terminal and Oil Tanker Environmental Oversight and Monitoring

Demonstration Program for Prince William Sound; provided for a Bligh Reef navigation light

and a vessel tracking and alarm system; and increased equipment and requirements for oil spill

response.

1251. The Ninth Circuit found that the exclusion of the Exxon Valdez from the Prince William

Sound was consistent with this legislative purpose, and Congress could legitimately conclude

that a vessel that spilled over 1 million gallons of oil posed a greater risk to Prince William

Sound than other tank vessels, because of a pre-existing defect, damage incurred as a result of

the spill, or because the spill calls into question the practices of its operators. The court found

this case similar to the Supreme Court case of Nixon, which held that the Presidential Recordings

and Materials Preservation Act, which only applied to the preservation of documentary materials

relating to the presidency of Richard Nixon, was not a bill of attainder.

1252. In both of these cases, the reasoning was that there was a specific need for quick

legislative action regarding specific situations. Regarding the Exxon Valdez, legislative action

was needed to avoid another oil spill, while legislation specifically affecting President Nixon was

deemed necessary to avoid the possible loss of important historical documents. In both cases, the

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need for Congress to “proceed with dispatch” allowed Congress to pass legislation that

established “a legitimate class of one.” The holdings in both of these cases appeared to assume

that further regulation which applied to persons or entities outside of these “legitimate class[es]

of one” would be forthcoming.



Motivational Test for Punishment

1253. A court will also consider the legislative history of a provision in evaluating whether or

not legislation is intended to be punitive. The Court, however, has been reluctant to ascribe too

much significance to legislative history alone, and will generally require more than just a few

statements by individual Members to find such motivation. Further, it seems to be unsettled

what information aside from that directly found within the legislative history of a law should be

considered by a court.” Kenneth R. Thomas, Congressional Research Service,”Bills of Attainder: The

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1254. “…In some cases, extensive legislative history may suggest punitive intent. For instance,

when the proposal to tax employee bonuses of TARP recipients was considered and passed by

the House, a variety of remarks were made on the floor concerning the bill. While a small

number of remarks addressed the issue of the regulatory purpose of prospective applications of

the bill, many remarks were made that seemed to indicate that the application of these bills

retrospectively was based on concern with the morality of having paid the bonuses in question,

and a desire that the person receiving the bonuses not be able to enjoy their benefit. Some of

these comments might have been interpreted as indicating a punitive intent on the passage of the

legislation. In other situations, however, there may be less direct evidence of the motivational

basis for such legislation. For instance, in the bills to limit the provision of federal monies to

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ACORN, there was some discussion of alleged misdeeds of ACORN during consideration of the

bills.

1255. The United States Court of Appeals for the Second Circuit, however, found that a

“smattering” of Members’ remarks suggesting a punitive intent was not sufficient to show that

the legislation was motivated by punitive intent. Consequently, it may be difficult to predict in

particular cases when evidence of punitive intent in legislative history would be sufficient to

establish that a bill was an unconstitutional bill of attainder.” Kenneth R. Thomas, Congressional

Research Service,”Bills of Attainder: The Constitutional Implications of Congress legislating narrowly,”

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            Equal Protection clause under Fifth and Fourteenth Amendments

1256. “The equal protection clause directly implicates the fundamental principle that "all

persons similarly situated should be treated alike." “ City of Cleburne v. Cleburne Living Center,

473 U.S. 432, 439, 105 S.Ct. 3249, 3254, 87 L.Ed.2d 313 (1985); F.S. Royster Guano Co. v.

Virginia, 253 U.S. 412, 415, 40 S.Ct. 560, 561, 64 L.Ed. 989 (1920).

1257. The Supreme Court has struggled to give force to this guiding principle while minimizing

the danger that the judiciary would chill legislative innovation in dealing with perceived social,

political and economic problems. The development of a coherent and consistent doctrinal

approach to equal protection jurisprudence has proved elusive.” Long Island Lighting Co. v.

Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987).

1258. “Between the constitutional revolution of the 1930s until the 1960s, the use of the equal

protection clause to strike down legislative acts was fairly limited to cases involving racial

discrimination. See Gunther, FoPlaintiff Robert Weinbergard: In Search of Evolving Doctrine on

a Changing Court: A Model for a Newer Equal Protection, 86 Harv.L. Rev. 1, 8 (1972)

(hereinafter Newer Equal Protection). During the Warren Court era, the now familiar "two-tier"
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approach to equal protection analysis, which was foreshadowed in Justice Stone's famous

footnote in United States v. Carolene Products Co., 304 U.S. 144, 152 n. 4, 58, 411 S.Ct. 778,

783 n. 4, 82 L.Ed. 1234 (1938), was honed and refined. Under this approach, "suspect"

classifications — for example, those discriminating against "discrete and insular minorities" or

directly hindering the enjoyment of some "fundamental right" — were subjected to "strict

scrutiny." In such cases, the burden was placed on the government to demonstrate that the

classification was necessary to serve a compelling state interest. McLaughlin v. Florida, 379

U.S. 184, 192, 85 S.Ct. 283, 288, 13 L.Ed.2d 222 (1964). All other classifications were upheld if

they were rationally related to valid governmental purposes (the "rational basis" test), and the

burden was placed on the party challenging the classification to prove that the classification was

not reasonably related to any conceivably legitimate legislative purpose, stated or

unstated. McGowan v. Maryland, 366 U.S. 420, 425, 81 S.Ct. 1101, 1104, 6 L.Ed.2d 393

(1961); see also Allied Stores of Ohio, Inc. v. Bowers, 358 U.S. 522, 527, 79 S.Ct. 437, 440, 3

L.Ed.2d 480 (1959).” Long Island Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND

New York (1987).


1259. “As was true of the application of the rational basis test in the substantive due process

context, determination that a classification was not "suspect" and thus need only have a "rational

basis" was not the beginning but the end of any effective analysis:

       [The equal protection clause] permits the States a wide scope of discretion in enacting

       laws which affect some groups of citizens differently than others. The constitutional

       safeguard is offended only if the classification rests on grounds wholly irrelevant to the

       achievement of the State's objective.



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1260. State legislatures are presumed to have acted within their constitutional power despite the

fact that, in practice, their laws result in some inequality. A statutory discrimination will not be

set aside if any state of facts reasonably may be conceived to justify it. McGowan, 366 U.S. at

425-26, 81 S.Ct. at 1105. The justification for a classification need not be articulated by the

legislature itself; after-the-fact rationalizations of statutory classifications by lawyers or judges

was not only allowed but encouraged. See McDonald v. Board of Election, 394 U.S. 802, 809,

89 S.Ct. 1404, 1408, 22 L.Ed.2d 739 (1969).

1261. The Supreme Court took the view that legislatures must be given wide latitude in drawing

lines as a means of remedying perceived social and economic problems. The legislature was

allowed to act "one step at a time, addressing itself to the phase of the problem which seem[ed]

most acute to the legislative mind"; the states were allowed to "select one phase of one field and

apply a remedy there, neglecting the others"; the Court felt that "[t]he prohibition of the [e]qual

[p]rotection [c]lause goes no further than the invidious discrimination." Williamson v. Lee

Optical Co., 348 U.S. 483, 489, 75 S.Ct. 461, 465, 99 L.Ed. 563 (1955).” Long Island Lighting

Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987).

1262. “Until the early 1970s, the application of the rational basis test in the equal protection

context paralleled the application of that test under the substantive due process doctrine. In only

one case between 1937 and 1970 was a legislative action deemed to have failed to satisfy the

rational basis standard, and that case was subsequently overruled. Morey v. Doud, 354 U.S. 457,

77 S.Ct. 1344, 1 L.Ed.2d 1485 (1957), overruled, New Orleans v. Dukes, 427 U.S. 297, 96 S.Ct.

2513, 49 L.Ed.2d 511 (1976).

1263. The Warren Court era did see, however, expansive use of the equal protection clause in

striking down classifications that burdened judicially-identified fundamental personal rights

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under the "strict scrutiny" standard of review. Thus, statutes and regulations drawing

classifications that impinged on the exercise of the right to vote by the individuals affected by the

legislation, Harper v. Virginia Board of Elections, 383 U.S. 663, 86 S.Ct. 1079, 16 L.Ed.2d 169

(1966), or the right of affected individuals to travel interstate, Shapiro v. Thompson, 394 U.S.

618, 89 S.Ct. 1322, 22 L.Ed.2d 600 (1969), were found violative of equal protection. Further,

there were indications that the Court might be more willing to find classifications not wholly

based on race "suspect." For instance, there were suggestions that classifications based on wealth

or illegitimacy warranted closer judicial scrutiny. See, e.g., Glona v. American Guarantee Co.,

391 U.S. 73, 88 S.Ct. 1515, 20 L.Ed.2d 441 (1968) (wrongful death statute distinguishing

between legitimate and illegitimate children declared unconstitutional); Levy v. Louisiana, 391

U.S. 68, 88 S.Ct. 1509, 20 L.Ed.2d 436 (1968) (same); Harper v. Virginia Board of Elections,

383 U.S. at 668, 86 S.Ct. at 1082 ("Lines drawn on the basis of wealth or property, like those of

race, ... are traditionally disfavored." (citations omitted)). In an early Burger Court decision, a

classification drawn on the basis of alienage was subjected to strict scrutiny. Graham v.

Richardson, 403 U.S. 365, 91 S.Ct. 1848, 29 L.Ed.2d 534 (1971). The Court's willingness to

give greater constitutional dimension to the value of equality in these cases eventually affected

the Court's application of the rational basis test in the 1970s. In the words of Archibald Cox,

"[o]nce loosed, the idea of Equality is not easily cabined." Cox, Foard: Constitutional

Adjudication and the Promotion of Human Rights, 80 Harv.L.Rev. 91, 91 (1966).” Long Island

Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987).

1264. “In the early 1970s, the Supreme Court was confronted with a number of cases involving

statutory discriminations which did not seem to warrant strict judicial scrutiny, but nonetheless

seemed to offend the notions of fundamental fairness which ultimately inform judicial

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understanding of the requirements of equal protection. In many of these cases the Court would

purport to apply the rationality standard but in fact conducted a more searching inquiry into the

legitimacy of the legislative goals underlying the legislative classifications and the means chosen

to further those goals. Thus, in Reed v. Reed, 404 U.S. 71, 92 S.Ct. 251, 30 L.Ed.2d 225

(1971), a provision of a state's probate code giving preference to male applicants over female

applicants for appointment as administrators of the estates of the recently deceased was found

not to bear a rational relationship to a concededly legitimate state purpose. Id. at 76-77, 92 S.Ct.

at 254. In James v. Strange, 407 U.S. 128, 92 S.Ct. 2027, 32 L.Ed.2d 600 (1972), a state statute

governing the recoupment of legal defense fees expended by the state for indigent defendants

which deprived the indigent defendants of exemptions from wage garnishments available to

other civil judgment debtors failed to meet the equal protection clause's requirement of "some

rationality." Id. at 140, 92 S.Ct. at 2034. In Weber v. Aetna Casualty & Surety Co., 406 U.S.

164, 92 S.Ct. 1400, 31 L.Ed.2d 768 (1972), a statute denying death benefits to the class of

unacknowledged illegitimate children was struck down under the rational basis test.

In Department of Agriculture v. Moreno, 413 U.S. 528, 93 S.Ct. 2821, 37 L.Ed.2d 782

(1973), the Court found that a subsection of the Food Stamp Act of 1964, 7 U.S.C. § 2011 et

seq., which limited receipt of food stamps to households of related individuals while excluding

households containing an individual who is unrelated to any other household member, was not

rationally related to the stated purpose of the Food Stamp Act, and found that the subsection's

"true" purpose of discouraging 413*413 hippie communes was illegitimate. In Weinberger v.

Wiesenfeld, 420 U.S. 636, 95 S.Ct. 1225, 43 L.Ed.2d 514 (1975), the Court found provisions of

the Social Security Act, 42 U.S.C. § 301 et seq., that allowed the spouse of a deceased husband

and father to obtain survivors' benefits but denied the same to the spouse of a deceased wife and

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mother "entirely irrational" and violative of the equal protection clause. 420 U.S. at 651.” Long

Island Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987).

1265. “These cases demonstrated a greater willingness to examine the relationship of

classifications to the concededly legitimate purpose that they were supposed to serve than was

evident in cases like Allied Stores of Ohio or Williamson v. Lee Optical. They have since been

explained away as aberrations antedating the development of "middle-tier" or "heightened"

scrutiny in the mid-1970s. The Supreme Court expressly adopted this intermediate scrutiny for

"quasi-suspect" classifications such as gender in Craig v. Boren, 429 U.S. 190, 97 S.Ct. 451, 50

L.Ed.2d 397 (1976), in which the Court required the state to demonstrate that such classifications

"serve important governmental objectives and [are] substantially related to achievement of those

objectives." Id. at 197, 97 S.Ct. at 457. As this "middle tier" became more firmly entrenched in

equal protection doctrine, the Court moved back toward the extreme deference to legislative line-

drawing that characterized the leading Warren Court decisions when statutory classifications

were assessed under the rational basis test. See Note, Still Newer Equal Protection:

Impermissible Purpose Review in the 1984 Term, 53 U.Chi.L.Rev. 1454, 1459 (1986).” Long

Island Lighting Co. v. Cuomo, 666 F.Supp. 370 - Dist. Court, ND New York (1987).


1266. The Plaintiff can prove that hundreds, if not thousands, of physicians engage in romantic

and sexual relationships with their patients, sometimes resulting in marriage with their patients.

However, the vast majority of these physicians are never disciplined unless the patient partner

makes some complaint to a medical board. Thus, only those physicians, whose partner makes

some complaint, are subject to discipline and the medical boards will not prosecute, adjudicate,

punish or revoke the licenses of those physicians happily married to their former patients. This

double standard violates the Equal Protections clause of the U.S. Constitution. The Heart Balm
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statutes in Massachusetts prohibit seeking money damages in court for failed or unsuccessful

romances.


1267. “… Both the Equal Protection Clause and the APA prohibit agencies from treating

similarly situated petitioners differently without providing a sufficiently reasoned justification

for the disparate treatment." Muwekma Ohlone Tribe v. Kempthorne, 452 F.Supp.2d 105, 115

(D.D.C. 2006) (citing Settles v. U.S. Parole Comm'n, 429 F.3d 1098, 1102-03 (D.C. Cir.

2005) ("To prevail on [its] equal protection claim, [a plaintiff must] demonstrate that [it] was

treated differently than similarly situated [parties] and that the [agency's] explanation does not

satisfy the relevant level of scrutiny.").” Black Dog Outfitters, Inc. v. State of Idaho Outfitters

and Guides Licensing Board, Dist. Court, D. Idaho (2011).


           BORIM’s Bill of Attainder against the Plaintiff enacted in 2002


1268. The Bill of Attainder (also known as Act of Attainder, Writ of Attainder, or Bill of

Penalties) typically declares a person, or group of persons, guilty of some crime and will punish

the target, often without a trial. Bills of Attainder usually serve to nullify the targeted person’s

civil rights, most notably the right to own property, the right to a title of nobility, and rarely, the

right to life itself.


1269. At least five federal Congressional statutes have been struck down by the U.S. Supreme

Court and invalidated under the Attainder clause including, but not limited to: Ex parte Garland,

71 U.S. 333 (1866); Cummings v. Missouri, 71 U.S. 277 (1867); Hawker v. New York, 170 U.S.

189 (1898); Dent v. West Virginia, 129 U.S. 114 (1889); United States v. Lovett, 328 U.S. 303

(1946).

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1270. The Lovett court defined a 3-prong test for a Bill of Attainder: (1) it must specifically

identify the people to be punished, (2) it must impose punishment; and (3) it must do so without

the benefit of a judicial trial. The Weinberg law fabricated de facto and de novo by DALA and

BORIM satisfies all 3 prongs of the Lovett test standard.


1271. In United States v. Brown, 381 U.S. 437 (1965), the Court invalidated the section of the

statute that criminalized a former communist serving on a union’s executive board. We see here

the Act focused on past behavior and had specified a specific class of persons to be punished, but

abandoned the punishment prong. In Nixon v. Administrator of General Services, 433 U.S. 425

(1977) the Supreme Court emphasized the narrowness and rationality of Bills of Attainder.


1272. “The Supreme Court has recognized the right of a court in interpreting a statute, even

though it be unambiguous on its terms, to so construe any section thereof so as not to defeat the

true purpose of the enactment as a whole.” United States v. Barsky, 72 F.Supp. 165 (Dist.Ct.

Dist.of Columbia, 1947).


1273. “… the Supreme Court clearly stated an elementary principle of statutory construction:

‘…All laws should receive a sensible construction. General terms should be so limited in their

application as not to lead to injustice, oppression, or absurd consequence…” United States v.

Kirby, 74 U.S. 482, 486, 7 Wall. 482, 486, 19 L.Ed. 278.


1274. “…The basic concept of the American system, both historically and philosophically, is

that government is an instrumentality created by the people, who alone are the original

possessors of rights and who alone have the power to create government… The prime function




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of government, in the American concept, is to preserve and protect the rights of the people.”

Barsky v. United States, 167 F.2d 241 (Ct.App., Dist of Columbia Cir.1948).


1275. “…Punishment is harm intentionally inflicted because of conduct. Intentionally inflicted

loss of employment is punishment, as the Court held in the Lovett case. Sometimes … the

Committee intentionally inflicts dismissal from employment. It intentionally and directly inflicts

publicity and opprobrium. That these may be damaging is both obvious and recognized by law,

including the law of libel. Publicity and opprobrium that are intended as an ‘effective weapon’

against activities than cannot be reached by legislation are intended to inflict damage. They are

damaging in fact as well as intention.” Barsky v. United States, 167 F.2d 241 (Ct.App., Dist of

Columbia Cir.1948).


1276. “… Statutes defining crimes may fail of their purpose if they do not provide some

reasonable standards of guilt. Legislation may run afould of the Due Process Clause because it

fails to give adequate guidance to those who would be law-abiding, to advise defendants of the

nature of the offense with which they are charged, or to guide courts in trying those who are

accused.” Barsky v. United States, 167 F.2d 241 (Ct.App., Dist of Columbia Cir.1948).


Sexual relations with a former patient does not comprise Medical Malpractice nor Misconduct
                              see Korper v. Weinstein

1277. The Plaintiff had practiced medicine between 1986 – 2003 as an Emergency Room

physician and as a Family Practice physician, but had never held himself out to be a

psychologist, psychiatrist or any other type of mental health professional, and had never received

any training or education in psychotherapy or the processes of transference or counter-

transference.

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1278. The Plaintiff had never purported that any sexual encounters with the defendant Lourdes

Colon was part of any medical treatment or therapy, nor did Colon ever claim or understand the

Plaintiff’s services to do so.


1279. “It is settled law in Massachusetts that consensual sexual conduct between a medical

practitioner and a patient does not constitute medical malpractice.” Roe v. Federal Ins. Co.,

412 Mass. 43, 49-51, 587 N.E.2d 214 (1992) (sexual contact by dentist during treatment, whether

consensual or not, was not rendering of professional services so as to be covered by malpractice

insurance). Korper v. Weinstein, 57 Mass. App.Ct. 433 (Mass.App.Ct. 2003), 783 N.E.2d 877.


1280. “There are two exceptions to this rule: mishandling of the “transference

phenomenon” by a psychiatrist with a patient; and sexual conduct purporting to be

medical treatment.” See ibid.; Palermo v. Brennan, 41 Mass.App.Ct. 503, 509 n.10, 672 N.E.2d

540 (1996). See also Atienza v. Taub, 194 Cal.App.3d 388, 393-394, 239 Cal.Rptr. 454 (1987);

Mindt v. Winchester, 151 Or.App. 340, 343-345, 948 P.2d 334 (1997). Korper v. Weinstein, 57

Mass. App.Ct. 433 (Mass.App.Ct. 2003), 783 N.E.2d 877.


1281. “The plaintiff in a civil action failed as a matter of law to establish that a consensual

sexual affair that began when the defendant was the plaintiff’s physician constituted an

actionable claim for medical malpractice, or that the defendant had a fiduciary duty to avoid a

sexual relationship with the plaintiff; moreover, the plaintiff failed as a matter of law to establish

that the defendant acted with an intent to harm the plaintiff, or that the purely personal conduct

of which the plaintiff complained constituted a business or consumer transaction that would

support a claim under G.L.c. 93A.” Korper v. Weinstein, 57 Mass. App.Ct. 433 (Mass.App.Ct.

2003), 783 N.E.2d 877.
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1282. The Plaintiff terminated the doctor-patient relationship with Lourdes Colon in September

1992 with a memorialized Express Bilateral Contract handwritten and drafted/dictated by Dr.

Lisa Wolfe at the Arbour Human Resource Institute which was recommended/proposed/

encouraged by defendant Dr. Lisa Wolfe


1283. There was a subsequent mutual bilateral modification of that 1992 termination contract

which provided a clinical-nonclinical binary classification of time and location as described in

greater detail in this Complaint.


1284. As with Korper v. Weinstein, the Plaintiff was sexually involved with a former patient,

where the doctor-patient relationship was terminated in 1992 by an Express Bilateral Contract,

and this termination took place prior to the sexual relationship.


1285. The Plaintiff also claims/alleges that BORIM has also violated the Involuntary Servitude

clause of the Thirteenth Amendment through regulations which require that a physician practice

medicine at all times of the day and in all locations on the earth regardless of their desire to leave

work, hang up their “doctor hat” and not be a doctor while not at work.


1286. The modified Express Bilateral Contract which terminated the doctor-patient relationship

between the Plaintiff and Lourdes Colon established two distinct worlds for the Plaintiff to

function in on a daily basis: the clinical world - where the Plaintiff wore his “doctor” hat and

treated patients within the usual doctrines of the practice of medicine; and the nonclinical world

where the Plaintiff had taken off his “doctor” hat, did not meet patients in clinical settings to

diagnose and treat their illnesses, nor did he hold himself out as a doctor in the nonclinical world




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and the people the Plaintiff met in the nonclinical world did not know that he was a physician,

and the Plaintiff did not want and never wanted to practice medicine in the nonclinical world.


1287. BORIM maintains that its medical license “forces” the licensee to practice medicine in all

places, at all times, wherever and whenever the licensee is present there. Forcing the Plaintiff to

be a doctor and to practice medicine in all places and at all times, in spite of his wanting not to be

a physician, in some places and at some times, is tantamount to a form of professional slavery -

so BORIM maintains that


1288. Involuntary servitude or involuntary slavery is a legal and constitutional term for a person

laboring against that person's will to benefit another, under some form of coercion, to which it

may constitute slavery.

1289. While laboring to benefit another occurs also in the condition of slavery, involuntary

servitude does not necessarily connote the complete lack of freedom experienced in chattel

slavery; involuntary servitude may also refer to other forms of unfree labor.


1290. Involuntary servitude is not dependent upon compensation or its amount – it is basically

“forced labor” against the laborer’s will.


1291. Prison labor is often referred to as involuntary servitude. Prisoners are forced to work for

free or for very little money while they carry out their time in the system. see U.S. Department of

Justice Circular No. 3591 Re: Involuntary Servitude, Slavery, and Peonage.


1292. The Thirteenth Amendment to the United States Constitution makes involuntary

servitude illegal under any U.S. jurisdiction whether at the hands of the government or in the

private sphere, except as punishment for a crime:
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        “Neither slavery nor involuntary servitude, except as a punishment for crime whereof the

        party shall have been duly convicted, shall exist within the United States, or any place

        subject to their jurisdiction.”

1293. The Supreme Court has held, in Butler v. Perry (1916), that the Thirteenth Amendment

does not prohibit "enforcement of those duties which individuals owe to the state, such as

services in the army, militia, on the jury, etc."


1294. Onerous long term alimony and spousal support orders, premised on a proprietary interest

retained by former marital partners in one another's persons, have also been allowed in many

states, though they may in practice embody features of involuntary servitude.


1295. Military conscription: The Libertarian Party of the United States and other libertarians

consider military conscription to be involuntary servitude in the sense of the Thirteenth

Amendment. The U.S. Supreme Court disagreed with that interpretation in Arver v. United

States, relying on text of Article I and the prerequisites of sovereignty.


1296. Compulsory schooling: Some libertarians consider compulsory schooling involuntary

servitude. John Taylor Gatto, a retired schoolteacher and libertarian activist critical of

compulsory schooling writes of what he terms "The Cult Of Forced Schooling". Many

libertarians consider income taxation a form of involuntary servitude. Republican Congressman

servitude. Republican Congressman Ron Paul has described income tax as "a form of

involuntary servitude", and has written, "... things like Selective Service and the income tax

make me wonder how serious we really are in defending just basic freedoms.




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1297. Abortion rights: Some have also argued that, should Roe v. Wade, 410 U.S. 113 (1973),

be overturned by the United States Supreme Court, a constitutional right to abortion could still be

sustained on the basis that denying it would subject women to involuntary servitude contrary to

the Thirteenth Amendment. That decision was overturned in June of 2022, but it is unclear

whether forced pregnancy and child-bearing are within the scope of the term "servitude".


1298. Law and economics: In contract theory, researchers have studied whether workers should

be allowed to waive their right to quit work, or whether the right to quit should be inalienable.

Suppose that at date [1] a worker voluntarily signs a labor contract according to which the

worker has to perform a task at date [2]. At date [2], the worker no longer wants to perform the

task (see the English contract law case Lumley v Wagner for a classic example). Would it be a

form of involuntary servitude if the worker were forced by the courts to fulfill the contractual

duties? Müller and Schmitz (2021) have shown that from an economic efficiency point-of-view,

in a static setting it can indeed be desirable to restrict the freedom of contract by making the right

to quit inalienable. However, they also show that in a dynamic setting even the worker can be

strictly better off when it is possible to contractually waive the right to quit.


                Plaintiff punished for misconduct of defendant Attorneys

1299. “... In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court held that a

defendant is denied the effective assistance of counsel when his attorney's representation falls

below an objective standard of reasonableness. The test for determining ineffective assistance is

twofold; namely, whether the "counsel's performance was deficient," and if so, whether the

"deficient performance prejudiced the defense." Id. at 687.




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1300. An attorney's performance is considered to be deficient if it falls below an objective

standard of reasonableness under prevailing professional norms. Id. at 688. A defendant is

deemed to have been prejudiced if "there is a reasonable probability that, but for counsel's error,

the result of the proceeding would have been different." Id. at 694. In the context of a guilty plea,

to demonstrate prejudice, the defendant must show that, but for counsel's ineffective assistance,

he would not have decided to plead guilty, but instead would have insisted on proceeding to

trial. Hill v. Lockhart, 474 U.S. 52, 58-59 (1985).” U.S. v. Cooper, Dist. Court, E.D. Michigan

(2012).

1301. As asserted elsewhere in this Complaint, several legal tactics were employed by

defendant Vincent DiCianni – because he emphatically asserted that he must meet with Lourdes

Colon (a.k.a. “Patient A”) in order to ascertain her credibility – so first he motioned DALA for

this meeting and that was denied, then he motioned the Superior Court for a meeting/deposition

in Colon v. Weinberg, Wesselhoeft, Boston Evening Medical Center, et al. and his motion there

was denied, so finally he insisted that an action be filed in Court – Weinberg v. Colon – so that

he would be able to depose Colon. The Plaintiff had no part in the motivation, planning, drafting

or signing any of these motions or lawsuits, and was only following the legal advice provided by

Attorney DiCianni. The Plaintiff should not have been punished nor admonished in multiple

legal proceedings because of his attorney’s errors, which is why DiCianni is now a defendant to

have him provide the necessary sworn testimony.

               Violation of Plaintiff’s right to Due Process of Law

1302. Under the Fifth and Fourteenth Amendments of the United States Constitution, U.S.

citizens enjoy the guarantees and protections for Due Process of Law and Equal Protection under


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the laws, where these rights and privileges may be deficient in state statutes, regulations,

ordinances or judicial proceedings.

1303. The Plaintiff is guaranteed specific legal protections for Due Process of Law and Equal

Protection of the Laws under the Fifth and Fourteenth Amendments of the U.S. Constitution.

1304. “…The first is that the Due Process Clause of the Fourteenth Amendment and § 1983

make actionable many wrongs inflicted by government employees which had heretofore been

thought to give rise only to state-law tort claims. The second premise is that the infliction by

state officials of a "stigma" to one's reputation is somehow different in kind from the infliction

by the same official of harm or injury to other interests protected by state law, so that an injury to

reputation is actionable under § 1983 and the Fourteenth Amendment even if other such harms

are not..” Paul v. Davis, 424 U.S. 693 - Supreme Court (1976).


1305. “It is apparent from our decisions that there exists a variety of interests which are difficult

of definition but are nevertheless comprehended within the meaning of either "liberty" or

"property" as meant in the Due Process Clause. These interests attain this constitutional status by

virtue of the fact that they have been initially recognized and protected by state law, and we have

repeatedly ruled that the procedural guarantees of the Fourteenth Amendment apply whenever

the State seeks to remove or significantly alter that protected status. In Bell v. Burson, 402 U.

S. 535 (1971), for example, the State by issuing drivers' licenses recognized in its citizens a right

to operate a vehicle on the highways of the State. The Court held that the State could not

withdraw this right without giving petitioner due process. In Morrissey v. Brewer, 408 U. S.

471 (1972), the State afforded parolees the right to remain at liberty as long as the conditions of

their parole were not violated. Before the State could alter the status of a parolee because of

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alleged violations of these conditions, we held that the Fourteenth Amendment's guarantee of

due process of law required certain procedural safeguards.

1306. In each of these cases, as a result of the state action complained of, a right or status

previously recognized by state law was distinctly altered or extinguished. It was this alteration,

officially removing the interest from the recognition and protection previously afforded by the

State, which we found sufficient to invoke the procedural guarantees contained in the Due

Process Clause of the Fourteenth Amendment.” Paul v. Davis, 424 U.S. 693 - Supreme Court

(1976).

1307. Regarding those state actors who may enjoy some privilege of relative immunity from

monetary damages under the Eleventh Amendment, the Plaintiff seeks equitable declaratory and

injunctive relief when monetary damages are not possible or available.

1308. Sections of the Internal Revenue Code as applied and/or interpreted by the defendant

Commissioner of Internal Revenue are unconstitutional as they have been applied to the Plaintiff.

1309. There are related cases involving the Plaintiff and the Commissioner of Internal Revenue

Service currently being litigated in U.S. Tax Court, but legal issues addressed herein exceed the

statutory authority of the U.S. Tax Court.

1310. The Plaintiff is a disabled American as defined by the U.S. Americans with Disabilities

Act. The Plaintiff’s medical records document and substantiate these disabilities which include

brain damage from neonatal asphyxia, post-traumatic brain injury (subdural hematoma),

post-concussion syndrome, ADD, hypothyroidism, central and peripheral apnea with hypoxia.

Federal anti-discrimination statutes are also applicable to some of the defendants’ wrongdoings.




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1311. State actors including, but not limited to specific federal agencies, may have violated

sections of the Sherman Anti-Trust Act and their actions comprise the restraint of free trade.

1312. State actor Defendants have also violated provisions of the Commerce clause of the U.S.

Constitution, and these Defendant state actors acted ultra vires beyond the limits of their

authority.




                                   Standing
               Injury in Fact: Economic damages of $ 6,275,000.00
1313. The actions and/or omissions of multiple defendants are the direct and proximate cause of

multiple damages to the Plaintiff and have resulted in substantial economic and monetary

injuries to the Plaintiff in the approximate aggregate amount of Six million two hundred seventy-

five thousand dollars (US$ 6,275,000.00), for which the Plaintiff is seeking monetary remedies

along with potential punitive damages where such Defendants’ conduct warrants such punitive

damages under federal or state laws, when same is not in contravention to the Eleventh

Amendment involving defendant state actors, except where such damages are assessed against

the employee or agent of a state actor who is acting in her/his personal capacity and those

damages are not assessed against the state coffers.

1314. Over $ 275,000.00 were paid by the Plaintiff out-of-pocket to Defendants Vincent

DiCianni and Robert Stolzberg, in multiple retainers of $5,000 - $8,000 per retainer as requested

and billed fees for their legal services, which were also double-billed because of billing to junior

partners who allegedly did research and/or writing which would then be reviewed and re-billed

by the senior attorney.



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1315. At his annual salary as an Emergency Medicine Physician and Family Medicine

Physician, often working multiple jobs simultaneously between 1988 – 2002, of approximately

$165,000.00 per annum, the Plaintiff lost over $3,465,000.00 of income not earned during the 21

years from 2002 – 2023.

1316. The unlawful, improper and unconstitutional actions of agencies of the Commonwealth

of Massachusetts were the proximate cause of the Plaintiff’s loss of income of approximately

$3,465,000.00 (21 years x $165K per annum).

1317. The tortious acts of co-defendants in this suit also contributed substantially to the

damages and injuries in the approximate amount of $2,500,000.00 caused to the Plaintiff

proximately caused by those tortious acts.

1318. The unlawful, improper and unconstitutional actions of agencies of the Commonwealth

of Massachusetts also resulted in automatic federal Medicare exclusion for a period of

approximately 15 years, along with loss of the Plaintiff’s DEA registration number and

Massachusetts controlled substances number.

1319. The Medicare exclusion prevented the Plaintiff from working for any hospital or clinic in

any capacity, from performing any clinical laboratory work for which Medicare was a

reimburser, from engaging in any research position at any university or hospital which receives

Medicare funding, and from working for any medical device, medical supplies, pharmaceutical

companies which received Medicare funding from the U.S. government. The marked and

substantial loss of employment opportunities quickly accelerated the Plaintiff’s descent into

poverty, pennilessness, bankruptcy, homelessness, divorce, severe and extreme depression,

social isolation and frequent community ostracism and humiliation.

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               Felonious criminal acts by Defendant Colon’s father/step-father
                      Violent criminal assaults, rapes and Incest
1320. Defendant Colon has alleged that her step-father was a Boston Police Officer.

1321. Defendant Colon has also alleged that her father or step-father had committed multiple

rapes of defendant Lourdes Colon as well as rapes of her sisters over a period of several years,

including her older sister Yvonne, who later succumbed to HIV infection and AIDS.

1322. Defendant Colon alleges that her step-father committed these incestual rapes while

holding a loaded gun to her head, often while he was intoxicated.

1323. Defendant Colon was crying and appeared quite upset when disclosing the information

concerning these rapes at gun-point by her step-tather.

 Plaintiff not trained to do psychotherapy nor does he hold himself out to the Public as such

1324. The Plaintiff was not trained in psychology nor psychotherapy, and depended on the

knowledge that Defendant Colon was seeing multiple psychologists and psychiatrists for her

mental health care, so Plaintiff saw no need to refer Colon to any other mental health

professionals who might undermine her then-current psychological treatment.

1325. The psychologists treating Lourdes Colon included Dr. Paula Lazar, Dr. Lisa Wolfe and

Dr. Amy Banks.

1326. The Plaintiff had not received any training about transference or counter-transference –

techniques used by psychotherapists.

1327. The Plaintiff never engaged in psychotherapy with defendant Lourdes Colon.




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1328. The Plaintiff had no knowledge of whether any transference or counter-transference was

or could have been occurring between himself and Colon; the plaintiff was not educated nor

trained in how to handle transference or counter-transference.

1329. It was reasonable for the Plaintiff to rely upon the reassurances, warranties and

guarantees provided by Defendant Lisa Wolfe, when she advised, encouraged, approved and

dictated verbatim the terms of the Express Bilateral Contract terminating the doctor-patient

relationship.

1330. The Plaintiff had no duty nor obligation to learn, ascertain or determine whether

defendant Colon had significant psychopathology in 1992.

1331. Prior to 1997, the Plaintiff did not know that Colon suffered from Dissociative Identity

Disorder or Multiple Personality Disorder.

     Accelerated mental deterioration of defendant Lourdes Colon between 1995 – 1996

1332. Following the formation of the express bilateral contract between the Plaintiff and the

defendant Lourdes Colon, which terminated the doctor-patient relationship and was guided and

dictated by defendant Lisa Wolfe, the Plaintiff began to meet weekly with Colon at his MIT

office while he was a fellow in the Advanced Study Program.

1333. These regular weekly meetings continued from September 1992 to the spring of 1994.

1334. Between 1992 – 1994, defendant Colon seemed relatively healthy psychologically – able

to maintain regular work hours as an EMT, and planning her study for the MCAT exam because

she wanted to become a doctor.




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1335. In July 1994, the Plaintiff began a Family Practice postgraduate residency program at the

Greater Lawrence Family Medicine Residency based out of Lawrence General Hospital in

Lawrence, MA.

1336. Due to the long residency hours, often requiring training and patient care during evenings

and weekends, the Plaintiff was not able to meet weekly with defendant Colon, and the

frequency of meetings between the Plaintiff and Colon reduced to once every 6 weeks to 3

months during 1994 - 1996. During these later couple of years, Colon seemed more depressed.

1337. In 1995, there were two unplanned serendipitous meetings between the Plaintiff and

Colon in downtown Lexington, MA, where Colon was meeting regularly with her psychologist

Lisa Wolfe and where the Plaintiff was meeting regularly with his psychologist Andrea Celenza.

1338. From 1991 through 1996, Defendant Lourdes Colon was continuously under the care of

psychologists including but not limited to Dr Paula Lazar, Dr Lisa Wolfe and Dr. Amy Banks -

to the best of the Plaintiff’s knowledge.

1339. There was no period of time between 1991 - 1996 when the Plaintiff was concerned that

defendant Colon was not receiving mental health care from one psychologist or another.

1340. The Plaintiff never believed that he was acting as a psychologist for Colon, nor that he

was providing psychotherapy for Colon, nor that there was any need for him to do so because of

his knowledge of the psychological care being provided by Dr. Paula Lazar, Dr. Lisa Wolfe and

Dr. Amy Banks during the years 1989 – 2002.

1341. Since the Plaintiff first signed the express bilateral contract terminating the doctor-

patient, he did not know or suspect of any mental health problem of Colon - and Dr Wolfe’s


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reassurances and promises while guiding the termination further reassured the Plaintiff that

Colon was doing well and was mentally and psychologically stable.

1342. Until late in 1995, Colon appeared to be in reasonably good spirits, functioning well in

her work as an EMT and in coursework as well.

       Hysterical cries from Colon stating that “they are making me do this”

1343. During the summer of 1996 (or 1997?), as the Plaintiff was walking down the street in

Lexington, MA – on his way to see Dr Celenza - he heard a car repeatedly beeping its horn.

1344. When he turned around the Plaintiff saw that Defendant Lourdes Colon was the driver of

the vehicle which was repeatedly beeping its horn and the Plaintiff realized that Colon was

attempting to get his attention so the Plaintiff went over to the driver’s side of the vehicle to

speak with Colon.

1345   As the Plaintiff drew closer, Colon rolled down her window and began crying

hysterically expressing how “they” were forcing her to do things she did not want to do

involving the courts and the medical board.

1346. The Plaintiff was quite surprised to see how emotional she was, and was caught off guard

by hearing about the courts and the medical board (this was sometime before the Plaintiff

received any letter from BORIM or summons/complaint from Superior Court).

1347. While crying hysterically, Colon was apologizing prolifically that she did not want to

take those aggressive legal actions against the Plaintiff and that she was very sorry that it was

happening.




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1348. The Plaintiff could see that Colon was in great distress and that she was feeling very

sorry about what she was doing, against her will, to harm the Plaintiff because of the adamant

coercion of Dr Lisa Wolfe, Stanley Spero and her sister Yvette.

1349. The Plaintiff did believe that Colon was speaking in ernest and truly did not want to

cause any harm or injuries to the Plaintiff.

1350. The Plaintiff believed that third parties (such as her sister Yvette, defendant Lisa Wolfe

and her attorney Stanley Spero) were strongly coercing Colon into taking actions which were

very upsetting to her and not something which she wanted to do voluntarily.

1351. Following this, during another week in August 1996 (or 1997?), the Plaintiff went into a

CVS Pharmacy in downtown Lexington and was looking at some magazines on a rack, when he

saw Colon had entered the store and was standing about 8 feet from the Plaintiff watching him.

1352. As his attorney had advised him not to speak to Colon because of the litigation Colon v.

Weinberg, Wesselhoeft, Boston Evening Medical Center, et al., he simply left the CVS when he

saw Colon there.

1353. On or about November-December 1996, Colon (represented by defendant Attorney

Stanley Spero) filed a civil lawsuit against the Plaintiff, the director of the medical center Robert

Wesselhoeft, III and the Boston Evening Medical Center in Middlesex Superior Court entitled

Lourdes Colon v. Robert Weinberg, Robert Wesselhoeft, Boston Evening Medical Center, et al.

          Downhill descent of Colon’s mental health during 1996 - 2000

1354. Following the filing of the suit against the Plaintiff in 1996, defendant Colon began her

downhill descent and spiral into severe mental health difficulties, dissociative personality

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changes, and psychotic decompensation with formation of a Multiple Personality Disorder

probably due to the severe psychological stresses caused by the combined coercion by her sister

Yvette, Dr Lisa Wolfe and defendant attorney Stanley Spero.

1355. Prior to the legal proceedings, the Plaintiff believes that his support provided needed

mental health pillars protecting Colon from any marked deterioration of her mental health, and

when Yvette, Wolfe and Spero coerced Colon into separating from the Plaintiff, Colon quickly

deteriorated into a downward spiral in her mental health.

1356. Although the Plaintiff had little personal contact with Colon following the filing of the

lawsuit in December 1996, he was able to read the medical records from more than 15 doctors

who were treating Colon which were obtained during the judicial discovery process - which

allowed the release of medical records and psychiatric records from all plaintiffs who state

mental health problems as part of their Complaint filed in any lawsuit (except for the records of

Dr Paula Lazar which were never released in spite of multiple requests during discovery).

1357. The Plaintiff believes that defendant Attorney Stanley Spero purposefully concealed the

medical records of Dr Paula Lazar during the discovery process in order to interfere with the

judicial proceedings and obstruct the administration of justice because he did not want the

Plaintiff or Plaintiff’s counsel to learn what was contained in the records of Dr Paula Lazar.

1358. On or about February 1997, the Complaint and summons for the suit Colon v. Weinberg,

Wesselhoeft, Boston Evening Medical Center, et al. was served upon the Plaintiff while he was

working at the Boston Evening Medical Center, where he was treating patients and the same

clinic where the Plaintiff first began treatment of Colon.



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1359. The receipt of this lawsuit caused the Medical Director Robert Wesselhoeft, III, to ask the

Plaintiff to take a leave of absence.

1360. Initially upon his receiving the Summons and Complaint in 1997 for the action Lourdes

Colon v. Robert Weinberg, Robert Wesselhoeft, Boston Evening Medical Center, et al. in Suffolk

Superior Court, the Plaintiff notified his malpractice insurer Defendant ProMutual, which

assigned to the Plaintiff the Defendant attorney Claudia Hunter to handle the medical

malpractice proceedings in Superior Court.

1361. The legal costs of Defendant Claudia Hunter were paid by the malpractice insurer

ProMutual, which introduced an inherent conflict of interest – while Atty Hunter was defending

the Plaintiff, she also had the duty of protecting the pecuniary interests of ProMutual.

1362. The Plaintiff had to pay for his three subsequent attorneys out-of-pocket: Vincent

DiCianni (1998-99), Robert Stolzberg (1999-2000) and John Flym (2000-2005) – with legal fees

topping $250,000.00

1363. Attorneys DiCianni and Stolzberg are both co-defendants in the instant action.

1364. John Flym passed away on or about 2017 in Paris, but he would not have been a co-

defendant had he still been alive.

1365. On average, the three attorneys cost the Plaintiff approximately $75,000 each out-of-

pocket resulting in retainers and legal bills in the approximate amount of $225,000.00 which the

Plaintiff paid out of his savings.




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               Conflict of Interest between the insured and the insurer

1366. However, Defendant Claudia Hunter had an inherent conflict of interest which she never

discussed with the Plaintiff: on the one hand, Defendant Claudia Hunter had a legal duty to

defend the Plaintiff in the judicial proceedings, and on the other hand, she had a legal duty to

also to protect the interests of the insurance company ProMutual.

1367. Sometimes the legal and economic interests of the insured and the insurer coincide,

except that the insurer usually must pay some amount out for damages or injuries.

1368. The largest conflict of interest occurs when the insured wants to fight and have their day

in court, but the attorney perceives a potential large financial risk for the insurer because most

trials are like a crap-shoot and you can never be sure of the outcome, so the attorney may advise

against going to court to try to minimize the financial risk to the insurer.

1369. In the instant case, Defendant Hunter decided that it would be best to settle out of court

for $ 150,000 rather than risk a trial which might result in a much greater financial loss for

Defendant ProMutual in a jury trial – which many litigators often refer to as a “crap shoot”

where the issuing judgment is often unpredictable. The Plaintiff believes that this out-of-court

settlement was greatly detrimental to his interests and favored the med-mal insurer ProMutual

because this settlement impeded the revelation and discovery of the 1992 Express bilateral

contract terminating the doctor-patient relationship along with its subsequent modification and

authorizing the Plaintiff to engage in sexual relations with Colon, which would otherwise have

been unethical.




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1370. Defendant Hunter never explained to the Plaintiff the consequences of settling out of

court and likelihood of the matter going to the medical board potentially resulting in the Plaintiff

losing his medical license.

1371. Protecting the financial interests of Defendant ProMutual, by advising the Plaintiff to

settle7 out of court - thus minimizing the financial exposure of ProMutual by avoiding a trial,

Defendant Hunter threw the Plaintiff under the bus.

1372. Claudia Hunter had both a legal and ethical duty to advise the Plaintiff of the legal

consequences of settling the suit out-of-court, advise the Plaintiff of the likelihood that such

settlement would lead to action by the state medical board and to inform the Plaintiff regarding

the conflict of interest she had in representing both the Plaintiff and the medical malpractice

insurer ProMutual.

1373. Thus, in this conflict of interest, Defendant ProMutual benefitted and won, and the

Plaintiff lost - resulting in his losing his medical license, his livelihood and only way he knew to

earn an income, his wife divorcing him, financial bankruptcy and ruin, Medicare exclusion

which prevented him from doing any sort of work, lab work, research, clerical work for any

hospital, clinic, or other entity that receives Medicare funding, community ostracism, shame and

humiliation, severe emotional distress and suicidal ideation, and existential wandering without

purpose.

1374. Prior to September 1992, the Plaintiff had never had any inappropriate nor any sexual

contact with Defendant Lourdes Colon

1375. Following the express bilateral contract made between the Plaintiff and the Defendant

Lourdes Colon in September 1992 at HRI under the guidance of Defendant Lisa Wolfe, which
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terminated the doctor-patient relationship, the Plaintiff earnestly believed that defendant Lourdes

Colon was no longer his patient as was explained by Defendant Lisa Wolfe.

1376. The consideration for this bilateral express contract comprised the Plaintiff’s waiver of

his prior fiduciary duties, which would otherwise have invited professional discipline and

professional censure without such a termination contract.

1377. By mutual agreement between the Plaintiff and Lourdes Colon, this 1992 Express

Bilateral Contract was modified to provide a clinical-nonclinical binary classification scheme for

classifying time and place according to either a clinical one or a nonclinical one.

1378. The Plaintiff continued to act in reliance upon this express bilateral contract to his

detriment.

1379. With the Plaintiff’s assistance, the Defendant Colon arranged to switch her primary care

physician at the Boston Evening Medical Center from the Plaintiff to Dr David Fringer, and

began to have regular appointments with Dr Fringer when she had a medical problem.

1380. Prior to September 1992, the Defendant Colon had the Plaintiff designated as her primary

care physician and the Plaintiff provided all her medical care prior to the contractual termination

of the doctor-patient relationship.

1381. Following September 1992, Defendant Colon began to see numerous physicians –

approximately ten different physicians to provide her medical care; the psychological care of

Colon appeared to alternate between Dr Paul Lazar, Dr Lisa Wolfe and Dr. Amy Banks.

1382. When defendant attorney Vincent DiCianni stopped his representation of the Plaintiff on

or about 1999, all the medical records he had in his possession were transferred first to defendant

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attorney Robert Stolzberg and then to Professor John Flym at Northeastern University where he

was a professor of law.

1383. Following this transfer of medical records, the Plaintiff had the opportunity to read most

of the medical records which were in the possession and control of John Flym; the records of

defendant Paula Lazar were never provided to the Plaintiff or his counsel despite multiple

requests for such records during discovery.

1384. During the drafting of the Stipulations in 2001, John Flym had asked the Plaintiff to read

over these medical records of Lourdes Colon, to help Flym find specific pieces of information in

the medical records – thus the Plaintiff had the opportunity to read over several hundred pages of

clinical information on defendant Lourdes Colon, from most of her medical/clinical providers

except the records of Dr Paula Lazar.

1385. Defendant attorney Stanley Spero did conceal and withhold the medical records of Paula

Lazar, despite multiple requests by the Plaintiff and his counsel, in order to conceal evidence

from the Court and from the Plaintiff.

1386. The concealment and withholding of the medical records of Paula Lazar, by defendant

Stanley Spero, does comprise obstruction of justice and comprised intentional tortious acts

against the Plaintiff in depriving him of his constitutional right to Due Process of law, and also

comprised acts intended to deprive the Plaintiff of his civil rights and civil liberties while acting

under the color of law which is covered by 42 U.S.C. § 1983.

               Substantial deterioration of the mental state of Colon




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1387. During the period of time 1996 – 1997, the mental state of defendant Lourdes Colon did

undergo substantial deterioration, with splintering of her personality under the process of

dissociative changes with the formation of multiple personalities.

1388. The marked psychological and psychiatric changes in Colon were coincident with the

commencement of legal proceedings against the Plaintiff and in view of the emphatic

declarations of Colon in Lexington, MA, that “they are making me do things I don’t want to do”

and “they are forcing me to do these things with the medical board and court” while hysterically

crying revealed the enormous psychological stresses and strains being placed upon her.

           Control and management of Court cases and communications
                Liability for legal actions initiated by attorneys
1389. Feeling desperate and cornered because of Defendant Colon’s refusal to admit the

termination contract , the Plaintiff wrote an angry letter in December 1999 to BORIM informing

them that if they proceeded to elicit perjury concerning the non-existence of the termination

contract, that the Plaintiff would guarantee the prosecution of all those who perjured or suborned

perjury to the full extent of the law.

1390. The exact words and expressions have been bastardized by state agencies including the

Massachusetts Supreme Judicial Court and the Maine Supreme Judicial Court - so a copy of that

letter is attached to this complaint as an appendix; this bastardization of the intent and words of

the letter were meant to portray the Plaintiff in a bad light and portray him as a “bad actor.”

1391. This letter was construed by BORIM, Magistrate Sarah Luick and the Massachusetts

Supreme Judicial Court as an attempt by the Plaintiff to intimidate defendant Colon and obstruct

judicial proceedings in spite of the fact that the letter was never sent to defendant Colon but only



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to BORIM – in an attempt to emphasize the importance of all parties to tell the truth about the

1992 termination contract.

1392. After the Defendant Colon spent five years denying the existence of the termination

contract, much to the consternation and distress of the Plaintiff, Magistrate Sarah Luick made a

finding of fact that an agreement terminating the doctor-patient relationship was made at HRI in

September 1992 based on the available evidence and medical records.

               Defendant Lisa Wolfe’s deceptive and fraudulent conduct

               Couples therapy for the Plaintiff and Lourdes Colon

1393. On or about 1995-96, Dr Lisa Wolfe did arrange for a joint session with the Plaintiff and

Colon in her Lexington, MA office where she regularly met with her patients.

1394. This joint meeting was entered and recorded in Dr Wolfe’s medical records in Lexington,

MA.

1395. Dr Wolfe told the Plaintiff that she considered him to be her patient as well because she

was providing psychological care to Colon.

1396. At this meeting, Dr Wolfe told the Plaintiff that he may be financially responsible for

joint therapy sessions involving Colon and the Plaintiff.

1397. At this meeting, Colon was encouraged to express her feelings and she turned toward the

Plaintiff with an angry and furious face and began screaming very loudly how she was

repeatedly raped by her step-father, allegedly a Boston police officer, while he held a gun

pointed at her head.




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1398. The Plaintiff felt as if he were being blamed for these violent atrocious incestual rapes

allegedly committed by her step-father.

1399. Colon had alleged on multiple occasions that her step-father was a Boston police officer

who thus had a permit for carrying a firearm because of his law enforcement duties.

1400. Colon had also alleged in the past that her sisters were also raped by their police officer

step-father.

1401. On or about 2000, the Plaintiff drafted and sent a 93A Demand Letter to Dr Wolfe

alleging unfair and deceptive trade practices in violation of M.G.L. c.93A because Dr Wolfe did

not fully acknowledge and admit her role in terminating the doctor-patient relationship.

1402. Defendant Wolfe provided this 93A Demand Letter to her attorney.

1403. When BORIM contacted Dr Wolfe, her counsel stated that she could not respond to them

pending the 93A action initiated by the Plaintiff.

1404. Wolfe also had to refuse the request to disclose any clinical information or release any

medical records under the doctor-patient privilege without the consent of both Colon and the

Plaintiff, who was previously informed that he too was a patient of Dr Wolfe’s.




               Plaintiff’s representation by Professor John Flym




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1405. At that time, Professor John Flym had agreed to represent the Plaintiff in the DALA

proceedings In the matter of Robert P. Weinberg, D.O. and Professor Flym and BORIM counsel

Alice Oliff had agreed to submit Joint Stipulated Findings of Fact to Magistrate Sarah Luick.

1406. Professor Flym asked the Plaintiff to release defendant Wolfe from the 93A allegations,

to allow her to interact with BORIM, and the Plaintiff signed a written release which released Dr

Wolfe from the allegations of false and deceptive trade practices and other professional

misconduct engaged in by Dr Wolfe prior to the date of the release.

1407. BORIM asked defendant Lisa Wolfe about the meeting and termination of the doctor-

patient relationship, and in an untruthful and deceitful manner attempting to protect her license

and cover her ass, Defendant Wolfe responded “That is not the sort of thing that I usually do,”

basically avoiding answering the question fully or completely about her knowledge that she

dictated the agreement which the Plaintiff and defendant Colon wrote out.

1408. However, defendant Wolfe’s continued silence and concealment of her role in

terminating the doctor-patient relationship has caused additional harms and legal injury to the

Plaintiff, substantially contributing to the loss of his medical license and economic damages

partially accounted for through the loss of income of $3,465,000.00, and these additional harms

and injuries are not released by the waiver and release signed in 2000, which only relieved

liability on tortious acts and injuries produced by Dr Wolfe PRIOR to the signing of the release.

1409. This signed release could not possibly provide protection from liability for her continued

and persistent deception and concealment of her role in terminating the doctor-patient

relationship.



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       BORIM claims that Plaintiff filed “Robert Weinberg v. Lourdes Colon” for
       improper purposes of intimidating Colon and obstructing judicial proceedings


1410. This suit was drafted, signed & filed by defendant DiCianni under Rule 11.
1411. Incompetent and negligent legal advice by these attorney defendants did result in the

filing of the suit Robert Weinberg v. Lourdes Colon because Attorney DiCianni insisted and

demanded that it would be the only way that he could ascertain her credibility as a witness and

DiCianni insisted upon the importance of meeting with Colon and interviewing her.

1412. The Plaintiff never thought of nor wanted to file the suit Robert Weinberg v. Lourdes

Colon because he had no interest in causing harm or obtaining any sort of revenge upon the

Defendant Lourdes Colon.

1413. The filing of Robert Weinberg v. Lourdes Colon in Suffolk Superior Court represented

Defendant DiCianni’s third attempt to obtain testimony from Defendant Colon, which he wanted

to assess her credibility as a witness.

1414. Defendant DiCianni’s first attempt to meet and interview Colon was an oral telephone

request to Defendant Colon’s counsel – Stanley Spero, and this was denied immediately.

1415. Defendant DiCianni’s second attempt to interview Colon comprised his filing a motion in

Suffolk Superior Court in the case Lourdes Colon v. Robert Weinberg, Robert Wesselhoeft,

Boston Evening Medical Center, et al. to depose Colon, which the Court denied.

1416. Finally, Defendant DiCianni informed the Plaintiff that his final and third attempt to

interview Colon would comprise filing a suit against her in Superior Court, again insisting on the

importance of ascertaining her credibility.



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1417. When Defendant DiCianni informed the Plaintiff that he wanted to file suit against

Colon, he did not explain to the Plaintiff the serious and disastrous consequences that such action

could later have on the judicial considerations and potential misconstruing of such action by the

BORIM and the Massachusetts Supreme Judicial Court and that the filing of such suit might be a

substantial factor leading to the revocation of the Plaintiff’s medical license.

1418. Also DiCianni’s lawsuit Weinberg v. Colon was subsequently dismissed by the Court

under the anti-SLAPP statute.

1419. Defendant BORIM and Defendant Massachusetts Supreme Judicial Court both construed

the filing of Robert Weinberg v. Lourdes Colon as an attempt by the Plaintiff to intimidate

defendant Colon and obstruct the judicial proceedings.

1420. The filing of Robert Weinberg v. Lourdes Colon, based on the incompetent and negligent

legal advice of Attorney DiCianni, caused substantial harm and injury to the Plaintiff when the

Defendants BORIM and Massachusetts Board of Registration in Medicine assessed severe

penalties against the Plaintiff and considered the filing of Robert Weinberg v. Lourdes Colon as a

substantial factor in the decision to revoke the Plaintiff’s medical license.

1421. The Massachusetts Supreme Judicial Court and Maine Supreme Judicial Court made

prejudicial findings and rulings which were not supported nor corroborated by valid evidence,

nor were they supported by any stipulated findings of fact but were based on hearsay.

1422. Such judicial findings and rulings, unsupported by substantial or valid evidence, violates

the Plaintiff’s right to Due Process of Law and violates the Plaintiff’s civil rights.

1423. The Plaintiff will produce evidence which proves that those judicial findings and rulings

are not supported by valid evidence and are tantamount to abuse of discretion by the court, which
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will be proved using the law firm records and testimony to be obtained from defendants

DiCianni and law firm Ferriter Scobbo, to be proved by a preponderance of the evidence.

1424. The Plaintiff will prove that those judicial findings, rulings, holdings and decisions are

without foundation, not supported by substantial evidence, not stipulated to, but were consequent

to the acceptance of biased hearsay without providing the Plaintiff with a hearing in violation of

his Due Process rights.

1425. The Plaintiff will obtain the relevant testimony, records and documents through the

discovery phase of the instant litigation.

1426. Such judicial abuse of discretion violates the constitutional rights of the Plaintiff, but the

Plaintiff does not seek monetary damages for such abuse of discretion but only seeks equitable

relief from this Court.

1427. These legal issues regarding the constitutionality of state statutes and regulations and this

instant litigation do not violate the federal abstention doctrine.

1428. Sovereign immunity does not justify the violation of the Plaintiff’s civil rights or

constitutional rights and such sovereign immunity does not immunize the respective court

against Declaratory Judgment that the specific findings or rulings in question are unsupported by

evidence, based on hearsay, and comprise Abuse of Discretion by the court.

                             Live Case and Controversy

1429. These specific federal subject matter issues involving the named defendants are being

presented to this Court for the first time in the judicial system and have not been fully litigated




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nor prosecuted in any other competent Court of Law, and as such res judicata does not apply to

the questions of fact and issues of law being presented to this Court ab initio.

1430. The state action issues are not subject to the Statute of Limitations because these state

policies, statutes and regulations are ongoing, continuing and capable of being repeated in the

present time – capable of repetition yet evading review -, thus rendering the Statute of

Limitations moot in light of Equitable Relief sought. Roe v. Wade

1431. The Maine Board of Bar Examiners refused to admit the Plaintiff to the practice of law

under the pretext that the Plaintiff was not able to prove his good character and was therefore not

fit for the practice of law.

                  Charitable and Humanitarian Activities of the Plaintiff
                       (evidence of the Plaintff’s good character)
                       Bridge over Troubled Waters, Boston, MA

1432. Due to his desire to help less fortunate persons, the Plaintiff volunteered his time at

approximately 2 – 4 shifts per month to the humanitarian organization “Bridge over Troubled

Waters” https://bridgeotw.org/

1433. The mission of the Boston organization Bridge over Troubled Waters is stated on its

website: “Bridge is Boston’s foremost agency providing life-changing services for homeless,

runaway and at-risk youth.”

1434. After obtaining his Massachusetts full license to practice medicine in 1988, the Plaintiff

volunteered providing free medical services at the Bridge over Troubled Waters during the years

1990 – 1996 (during this time Tracy Rollins was the coordinator for medical volunteers).

1435. According to a public health research study published in 2008 entitled “Community

volunteerism of U.S. Physicians” authored by David Grande and Katrina Armstrong, data

analysis of the 2003 Current Population Survey Volunteer Supplement, a cross-sectional,
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nationally -representative, in-person and telephone survey of 84,077 adult citizens, including 316

physicians, “According to the survey, 39% of physicians had volunteered in their community in

the past 12 months compared to 30% of the general public (=0.002) and 57% of lawyers

(<0.0001).” (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2596493/ ).



                 Flights for Humanity - a 501(c)(3) non-profit organization

1436. On or about 1995 the Plaintiff garnered his Private Pilot license having completed all the

requirements set by the Federal Aviation Administration (“FAA”) which he had been studying

for and taking flying lessons for a couple of years, then most-recently at the Bedford-based

Executive Flyers Aviation (https://generalaviationnews.com/2014/03/05/executive-flyers-

aviation-celebrates-50-years/ ) and having taken his final flight exam with Michael Goulian, Sr.

1437. On or about 1996, the Plaintiff purchased a single-engine Piper PA-32-300 Cherokee Six

with the tail number N7073R (

https://registry.faa.gov/aircraftinquiry/Search/NNumberResult?NNumberTxt=4073R ).

1438. Wanting to combine his passion for flying and desire to provide humanitarian medical

care to indigent persons in third-world countries, the Plaintiff filed for and obtained 501(c)(3)

non-profit status from the Internal Revenue Service in 1997 for his new non-profit organization

called “Flights for Humanity” which was partially inspired by President Jimmy Carter’s “Habitat

for Humanity.” (Flights For Humanity Incorporated | Littleton Common, Massachusetts | Robert

Weinberg (allbiz.com); FLIGHTS FOR HUMANITY, INCORPORATED :: Massachusetts (US) ::

OpenCorporates ).




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1439. The Plaintiff invested over $24,000 of his personal funds into Flights for Humanity’s

charitable and humanitarian medical missions.

1440. The first significant humanitarian mission took place in 1998, when the Plaintiff flew

with his co-pilot to Atlanta, Georgia to pick up numerous medical supplies which had been

donated to Flights to Humanity to transport those medical supplies in his Piper Cherokee Six

N4073R to Chiappas, Mexico.

1441. In 1998, there was civil strife and paramilitary actions in Chiappas, Mexico which had

displaced over 30,000 Chiappas citizens from their homes during violent paramilitary actions

against indigenous peoples’ movement and these displaced persons were living in tent camps

without medical care or supplies. ( Chiapas conflict - Wikipedia )

1442. Plaintiff had read about the dire situation of the Chiappas citizens and decided that this

would be an important and humanitarian mission for Flights for Humanity; so the Plaintiff

contacted several medical and public health officers in Chiappas, Mexico and began planning a

humanitarian mission to transport much needed medical supplies to the tent camp there.
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1443. At that time in 1998, there was considerable violence accompanying the paramilitary

actions of the Zapatista troops fighting with the Mexican federal military, so coming into

Chiappas, Mexico into the tent refugee camps did present a considerable risk of bodily harm and

even some risk of death from the raging war.

1444. With his 6-year old son Joshua and wife anxiously waiting at home, the Plaintiff hoped to

reduced this risk of bodily harm or death, by obtaining some U.S. government protection for this

mission.

1445. After writing to Senator Edward Kennedy for his support, Senator Kennedy did write a

letter in support of this humanitarian mission and the Plaintiff brought this letter from Senator

Kennedy which had the official seal of the United States Senate on it.

1446. The Plaintiff later learned that some of the Mexican army and generals were waiting for

him to land in Chiappas, in order to interdict and prevent the reception of medical supplies to the

displaced refugees.

1447. However, due to inclement weather, the original itinerary for the date of arrival into

Chiappas airport was delayed by 2 days while the Plaintiff and co-pilot waited out the storms in

St. Charles Parish, Louisiana.

1448. The letter of support from Senator Edward Kennedy was useful for the Plaintiff and did

provide some measure of protection in the milieu of the violent paramilitary-military war.

1449. When the Plaintiff finally arrived 2 days late, the army had left and a phone call brought

the Chiappas medical team to the airport to meet the Plaintiff.

1450. Plaintiff advertised on Craigslist for a co-pilot to assist with this mission and found a co-

pilot from Maine who was interested in volunteering his time and efforts for this humanitarian

mission.

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1451. When the turbulent storm let up, the Plaintiff flew with his co-pilot to Atlanta, GA in his

Piper PA-32-300 Cherokee Six, which Mark Scott - an aircraft mechanic from Falcon Air in

Lawrence, MA - had removed several seats, converting the Plaintiff’s single-engine plane into a

cargo plane.

1452. Articles were published about the Plantiff’s mission with Flights for Humanity, Inc. to

deliver medical supplies to the refugee camp in Chiappas, Mexico, in the Fitchburg Sentinel - a

daily newspaper, MIT journal “Technology Review”, and Tufts Medical School “Tufts

Medicine” describing the humanitarian medical missions conducted by Flights for Humanity.



               National Disaster Medical System (“NDMS”) - DMAT-1

               https://aspr.hhs.gov/NDMS/Pages/dmat.aspx

1453. Between 1989 – 2002, the Plaintiff was an Emergency Medicine Attending Physician at

several Massachusetts community hospitals including: Hale Haverill Municipal Hospital, Anna

Jaques Hospital, Nantucket Cottage Hospital, Winthrop Hospital, Somerville Hospital, Lawrence

Memorial Hospital of Medford, Lawrence General Hospital, Whidden Memorial Hospital,

Melrose-Wakefield Hospital, Baystate Medical Center and a New York hospital – Jones

Memorial Hospital in Wellsville, NY.

1454. Since 1990, the Plaintiff has been a member of the American College of Emergency

Physicians (“ACEP”). ( https://www.acep.org/ ).

1455. The Plaintiff continues to serve in a voluntary capacity as a member of the ACEP

Disaster Preparedness and Response Committee. (https://www.acep.org/how-we-

serve/committee/committees-list/disaster-preparedness--response-committee2 ).




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1456. The Plaintiff was appointed as a U.S. federal Medical Officer in the United States

National Disaster Medical System (“NDMS”) - a subdivision of the U.S. Department of Health

and Human Services, under the U.S. Public Health Service (see appointment document from

U.S. D.H.H.S., Appendix D) (https://aspr.hhs.gov/NDMS/Pages/default.aspx)

1457. During the period of time 1999 – 2002, the Plaintiff was team captain of the Boston-

based Disaster Medical Assistance Team 1 (DMAT-1) under the command of Dr Susan Briggs,

Trauma Surgeon, Massachusetts General Hospital, Boston, MA

(https://www.hsph.harvard.edu/news/features/following-hurricane-ian-mass-medical-team-

brings-ed-to-hospital-parking-lot/dmat-1-portrait_1200x800/ ).

                      U.S. Congressional Letter of Commendation

1458. At a State of the Union address on or about the year 2000 - 2001 given by the President

and attended by Congress, the Plaintiff was deployed under the NDMS and situated in a federal

building adjacent where his DMAT team was prepared for a potential evacuation of Congress if

a bio-terrorist attack were to occur, and the Plaintiff’s DMAT team would detoxify the President

and congressional members and administer the relevant anti-toxin if needed.

1459. For his service to the United States government, as a member of the DMAT team

deployed during the State of the Union Address, the Plaintiff received a U.S. Congressional

Letter of Commendation naming him personally for his national service with the gold seal of the

United States Congress embossed on the letterhea.



        Case:    Robert P. Weinberg v. Maine Board of Bar Examiners

1460. The Plaintiff earned his Juris Doctor degree cum laude from the New England School of

Law in Boston in 2006.

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1461. Following 8 years of law study and preparation for the Bar exam, the Plaintiff passed the

Bar examination in Maine on or about 2010, but the Maine Board of Bar Examiners declined to

admit the Plaintiff to the Maine Bar based on documentation that the Plaintiff provided in his Bar

application concerning the revocation of his medical license and prior litigation where the

Plaintiff was a party.

1462. The Plaintiff moved for a hearing before the Maine Supreme Judicial Court to challenge

the Bar Examiners determination that the Plaintiff had not proved his good character and thus his

fitness to practice law.

1463. The Maine regulations provide Bar applicants with an opportunity to challenge decisions

when they are not admitted to the Bar, and under the regulations the Bar applicant files a case

with the Maine Supreme Judicial Court – in this case, entitled “Robert P Weinberg v. Maine

Board of Bar Examiners”, which by regulation is a de novo hearing where the Bar applicant is

permitted to introduce new evidence which may not have been considered previously.

1464. This is not an appellate proceeding where only issues of law may be addressed, but is a

completely new trial governed by the Maine Rules of Civil Procedure.

1465. The Maine Rules of Evidence has Rule 201 providing for Judicial Notice of Adjudicative

Fact.

1466. The following text on Rule 201 is copied and pasted from

https://casetext.com/rule/maine-court-rules/maine-rules-of-evidence/article-ii-judicial-

notice/rule-201-judicial-notice-of-adjudicative-

facts#:~:text=In%20Maine%20there%20is%20no%20distinction%20between%20civil,has%20b

een%20carried%20over%20into%20the%20restyled%20Rule :

        Rule 201 - Judicial Notice of Adjudicative Facts (a) Scope. This rule governs judicial
        notice of an adjudicative fact only, not a legislative fact. (b) Kinds of facts that may be
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       judicially noticed. The court may judicially notice a fact that is not subject to reasonable
       dispute because it: (1) Is generally known within the trial court's territorial jurisdiction; or
       (2) Can be accurately and readily determined from sources whose accuracy cannot
       reasonably be questioned.(c) Taking notice. The court:(1) May take judicial notice on its
       own; or(2) Must take judicial notice if a party requests it and the court is supplied with
       the necessary information.(d) Timing. The court may take judicial notice at any stage of
       the proceeding.(e) Opportunity to be heard. On timely request, a party is entitled to be
       heard on the propriety of taking judicial notice and the nature of the fact to be noticed. If
       the court takes judicial notice before notifying a party, the party, on request, is still
       entitled to be heard.(f) Instructing the jury. The court must instruct the jury to accept
       the noticed fact as conclusive.
       Me. R. Evid. 201

       Adopted effective 1/1/2015.
       Maine Restyling Note [November 2014]

       Maine Rule 201 is similar, but not identical to Federal Rule 201. In Maine there is no
       distinction between civil and criminal cases in the effect of judicial notice. In both cases
       the court instructs the jury that the fact noticed should be accepted as conclusive. This
       policy choice has been carried over into the restyled Rule. See also 16 M.R.S.
       §§401 - 406 (addressing judicial notice of laws of other jurisdictions).

       Federal Advisory Committee Note

       The language of Rule 201 has been amended as part of the restyling of the Evidence
       Rules to make them more easily understood and to make style and terminology consistent
       throughout the rules. These changes are intended to be stylistic only. There is no intent to
       change any result in any ruling on evidence admissibility.

1467. The Plaintiff prepared several copies of his Motion for the Court to take Judicial Notice

of Adjudicative Facts in compliance with Rule 201 of the Maine Rules of Evidence so that he

might deliver one copy to the Court, one copy to adverse party Maine Board of Bar Examiners,

and keep one for himself.

1468. The following legal facts describe the scope and purpose of Rule 201 of the Maine Rules

of Evidence:

       Scope:
       (a) It applies to adjudicative facts, which are facts that are directly relevant to the specific
       case at hand, as opposed to legislative facts, which are broader generalizations about
       social, economic, or scientific matters.
       Kinds of Facts That May Be Judicially Noticed:
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       (a) Facts that are generally known within the trial court's territorial jurisdiction (e.g., the
       location of a well-known landmark).
       (b) Facts that can be accurately and readily determined from sources whose accuracy
       cannot reasonably be questioned (e.g., official government records, scientific
       publications).
       Taking Notice:
       (a) The court may take judicial notice on its own initiative.
       (b) The court must take judicial notice if a party requests it and provides the necessary
       information.
       Timing:
       (a) Judicial notice can be taken at any stage of the proceeding, including during trial.
       Opportunity to be Heard:
       (a) Parties have the right to be heard on the propriety of taking judicial notice and the
       nature of the fact to be noticed.
       Instructing the Jury [applies to the Bench – Judge as well]:
       (a) In both civil and criminal cases, the court must instruct the jury [or factfinder] to
       accept the noticed fact as conclusive.
       Key Points:
       (a) Although Rule 201 is in the Maine Rules of Evidence, it applies to both civil and
       criminal cases.
       (b) It covers only adjudicative facts, not legislative facts.
       (c) The court can take judicial notice on its own or upon a party's request.
       (d) Parties have the right to be heard before judicial notice is taken.
       (e) The jury [or factfinder] must accept judicially noticed facts as conclusive.

1469. The Plaintiff planned to admit the following documentary evidence of his character under

Rule 201 of the Maine Rules of Evidence:

       (a) Congressional Letter of Commendation for his national service during the State of the

       Union Address (Appendix attached);

       (b) Public Health Service DHHS employment record from the U.S. Department of Health

       and Human Services documenting his appointment as a U.S. federal medical officer in

       DMAT-1 of the National Disaster Medical System (Appendix attached );

       (c) 501(c)(3) declaration from the Internal Revenue Service granting non-profit status to

       the Plaintiff’s humanitarian charitable organization “Flights for Humanity, Inc.”

       (Appendix attached)



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        (d) official letter from the CEO of Bridge over Troubled Waters, Inc in Boston where the

        Plaintiff had regularly volunteered his medical services to runaway teenagers, the

        indigent and homeless persons of Boston during the years 1990 – 1995 (Appendix

        attached);

        (e) copy of Senator Edward Kennedy’s endorsement of the medical mission to Chiappas,

        Mexico, carried out under the auspices of Flights for Humanity, Inc. in order to provide

        medical supplies to displaced refugees living in Chiappas (Appendix attached)

        (f) character letters of recommendation from several physicians who worked with the

        Plaintiff acknowledging his excellent character and that they knew about the revocation

        of the Plaintiff’s medical license, which they attributed to an error in judgement but

        which did not change their opinion of the Plaintiff’s character based on years of working

        together treating patients in the same hospital, clinic or Emergency Room (Appendix x

        (g) character letters of recommendation from several law professors who had taught the

        Plaintiff in law school acknowledging his excellent character and that they knew about

        the revocation of the Plaintiff’s medical license, which they attributed to an error in

        judgement but which did not change their opinion of the Plaintiff’s character (appendix

1470. Although this hearing before the single justice was a de novo hearing where new

evidence may be admitted, Justice Ellen Gorman denied the Plaintiff’s motion to admit into

evidence the documents described above in paragraph 245, which normally should be admissible

under Rule 201.

1471. Rule 201 of the Maine Rules of Evidence state that: (a) it applies to adjudicative

facts, which are facts that are directly relevant to the specific case at hand; (b) these are facts that

are generally known within the trial court's territorial jurisdiction; (c) these are facts that can be

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accurately and readily determined from sources whose accuracy cannot reasonably be

questioned; (d) the court must take judicial notice if a party requests it and provides the

necessary information; (e) Judicial notice can be taken at any stage of the proceeding, including

during trial; (f) parties have the right to be heard on the propriety of taking judicial notice and the

nature of the fact to be noticed; (g) in both civil and criminal cases, the court must accept the

noticed fact as conclusive; (h) it applies to both civil and criminal cases; (i) it covers adjudicative

facts; (j) the court can take judicial notice on its own or upon a party's request; (k) the Factfinder

must accept the judicially noticed facts as conclusive.

1472. The Maine Justice Ellen Gorman refused to allow the Plaintiff to introduce evidence of

his federal medical appointment, Congressional letter of commendation, published articles about

Flights for Humanity, Inc - 501(c)(3), and other official documents, partially listed in paragraph

above, which are admissible evidence under the Maine Rules of Evidence, Rule 201. During

hearings before the Maine Supreme Judicial Court, the Plaintiff may move to admit into

evidence these matters pursuant to Maine Rule of Evidence, Rule 201. Although the Maine Rules

of Civil Procedure, Rule 201, provides for a party admitting into evidence certain documents

whose authenticity was self-authenticating and could not be susceptible to doubt.

1473. Maine Justice Gorman asked the Plaintiff why these humanitarian and federal

appointments were not part of the Massachusetts proceedings, to which the Plaintiff responded

that his prior attorneys – Claudia Hunter, Vincent DiCianni, Robert Stolzberg and John Flym –

had never asked the Plaintiff regarding his charitable or humanitarian efforts.

1474. Maine justice refusal to admit such evidence under the Rule for the Court to take Judicial

Notice of events/documents certain, violated the Maine Rules of Civil Procedure and the

Plaintiff’s constitutional right to Due Process of Law.

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                          Plaintiff became homeless and jobless

1475. As a result of the revocation of his medical license, the Plaintiff lost his only job, his

livelihood and the only way he knew to earn income and the Plaintiff could not find any work or

job for over 3 years.

1476. Defendant Stanley Spero left a copy of the Summons and Complaint at the front door of

the Plaintiff’s marital residence with his wife in Littleton, MA on or about February 1997.

1477. The Plaintiff’s wife read the Complaint in Colon v. Weinberg, Wesselhoeft, the Boston

Evening Medical Center et al. before the Plaintiff knew about it.

1478. When the Plaintiff returned home from work, his wife was furious with him and would

not speak to him for several hours.

1479. The Plaintiff’s wife filed for divorce the following week.

1480. The Medical Director Robert Wesselhoeft, III, who was also a personal friend of the

Plaintiff’s informed the Plaintiff that he must leave his medical practice and he would not be able

to continue as a Primary Care physician at the Boston Evening Medical Center after learning of

the lawsuit where Wesselhoeft was also a named defendant.

1481. Without a job or other means of making a salary because medicine was the only

occupation the Plaintiff knew,

1482. Subsequently the Plaintiff undePlaintiff Robert Weinbergent divorce from his wife,

revocation of his medical license, foreclosure on his residential home, and bankruptcy.

Plaintiff lost his job and lost his livelihood, become homeless and was unable to pay his bills or

other debts.

1483. Maine justice faults Plaintiff for not paying debts – when Plaintiff had no income.

Homeless and jobless, Maine SJC punishes Plaintiff for not paying debts

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Policy behind bankruptcy law,

1484. When he declared bankruptcy in U.S. Bankruptcy Court in 2005, the Plaintiff had

approximately $375,000 of debt including $75,000 owed to John Flym for his appellate work on

Robert Weinberg v Board of Registration in Medicine filed with the Massachusetts Supreme

Judicial Court.

1485. De novo proceeding, violated Maine Rules of Civil Procedure – refusing to admit new

evidence

1486. Proximately caused by the unlawful and unconstitutional state actions described herein,

the Plaintiff lost his medical license, lost his marriage, lost his ability to earn and income, lost the

only jobs which he was educated and trained to do, and was thus thrown into a deep depression.

        Relative versus absolute Immunity: Limits on prosecutorial and judicial immunity

1487. “Attorneys as State Actors: A state action model and argument for holding SLAPP-

Plaintiffs’ attorneys liable under 42 U.S.C. 1983”, James W. Harper, Hastings Constitutional

Law Quarterly, Vol. 21, No. 2, Winter 1994. Available at:

https://repository.uchastings.edu/hastings_constitutional_law_quaterly/vol21/iss2/5

1488. Defendant Vincent DiCianni knew or should have known that the filing of Robert

Weinberg v. Lourdes Colon in Suffolk Superior Court potentially might be viewed as SLAPP

litigation, which the Plaintiff had no knowledge about.

1489. With over 2 decades of legal experience, including prior work as counsel for the Board of

Registration in Medicine, Defendant DiCianni had the education, training, knowledge and

experience to know and understand the implications of SLAPP litigation.

1490. Rule 11 sanctions and attorney disciplinary proceedings should have been an appropriate

deterrent to prevent Defendant DiCianni from filing that suit.

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1491. The instant civil action was brought under 42 U. S. C. §§ 1983 and 1988 to redress the

deprivation of the Plaintiff’s federal constitutional rights. The Plaintiff and “others similarly

situated, are denied the equal protection of the laws accorded them by the Fourteenth

Amendment to the Constitution of the United States” by virtue of the unlawful and

unconstitutional ruling by Defendant Sarah Luick.

1492. The facts and injury alleged herein, the legal bases invoked as creating the rights and

duties relied upon, and the relief sought, come within that language of Article III of the

Constitution and of the jurisdictional statutes which define those matters concerning which

United States District Courts are empowered to act.

1493. The matter is cognizable and facts as alleged establish infringement of the Plaintiff’s

rights as a result of state judicial action departing from a federal constitutional standard, so the

court can proceed because the matter considered is suited to judicial inquiry or adjustment.

1494. This District Court (a) possesses jurisdiction of the subject matter; (b) justiciable causes

of action are stated upon which the Plaintiff would be entitled to appropriate relief; and (c) the

Plaintiff raises the relevant federal issues before this Court.

1495. This Court's inquiry proceeds to deciding whether the duty asserted can be judicially

identified and its breach judicially determined, and whether protection for the right asserted can

be judicially molded. In the instance of lack of jurisdiction the cause either does not "arise under"

the Federal Constitution, laws or treaties (or fall within one of the other enumerated categories of

Art. III, § 2), or is not a "case or controversy" within the meaning of that section; or the cause is

not one described by any jurisdictional statute.

1496. “... The complaint in the instant case does arise under the Constitution and is within

28 U. S. C. § 1343. Article III, § 2, of the Federal Constitution provides that "The judicial Power

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shall extend to all Cases, in Law and Equity, arising under this Constitution, the Laws of the

United States, and Treaties made, or which shall be made, under their Authority . . . ."

1497. It is clear that causes of action in the instant case are those which "arise under" the

Federal Constitution.

1498. This complaint deprives the Plaintiff of the equal protection of the laws in violation of the

Fourteenth Amendment.

1499. Since the complaint plainly sets forth a case arising under the Constitution, the subject

matter is within the federal judicial power defined in Art. III, § 2, and so within the power of

Congress to assign to the jurisdiction of the District Courts. Congress has exercised that power in

28 U. S. C. § 1343 (3): "The district courts shall have original jurisdiction of any civil action

authorized by law to be commenced by any person . . . [t]o redress the deprivation, under color

of any State law, statute, ordinance, regulation, custom or usage, of any right, privilege or

immunity secured by the Constitution of the United States . . . ." An unbroken line of our

precedents sustains the federal courts' jurisdiction of the subject matter of federal constitutional

claims of this nature.

             Conflict of State and Federal Law - the Supremacy Clause

1500. Where state law or action conflicts with federal law, the federal law is pre-eminent and

supercedes state law under the Supremacy clause.

1501. Where the state’s highest appellate court in the Commonwealth of Massachusetts or the

State of Maine makes a ruling, decision, holding, order or other judicial action which deprives

the Plaintiff of his civil rights while acting under the color of law, that appellate court is subject

to the provisions of 42 U.S.C. § 1983.




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1502. The decision of the Defendant Massachusetts Supreme Judicial Court in Robert P.

Weinberg, D.O. v. Board of Registration in Medicine is subject to 42 U.S.C. § 1983 if the

Plaintiff proves that such decision deprived him of his rights and privileges which are guaranteed

to all American citizens along with their civil rights by a preponderance of the evidence.

1503. State action by the Massachusetts Board of Registration in Medicine comprises state

interference with a contract between two private parties, an area of private law – not public law,

which is prohibited by Section 10 of Article I of the U.S. Constitution: “ …Section 10: Powers

Denied to the States: No State shall … pass any Bill of Attainder, ex post facto Law, or Law

impairing the Obligation of Contract, or grant any Title of Nobility.” United States Constitutioin

1504. State action by the Maine Board of Bar Examiners comprises state interference with a

contract between two private parties, an area of private law – not public law, which is prohibited

by   Section 10 of Article I of the U.S. Constitution: “ …Section 10: Powers Denied to the

States: No State shall … pass any Bill of Attainder, ex post facto Law, or Law impairing the

Obligation of Contract, or grant any Title of Nobility.” United States Constitutioin

1505. The decision of the Defendant Maine Supreme Judicial Court in Robert P. Weinberg,

D.O. v. Board of Bar Examiners is subject to 42 U.S.C. § 1983 if the Plaintiff proves that such

decision deprived him of his rights and privileges which are guaranteed to all American citizens

along with civil rights by a preponderance of the evidence.

1506. The decision of Defendant Magistrate Sarah Luick presiding in the Massachusetts

Division of Administrative Law Appeals in In the matter of Robert P. Weinberg, D.O. is subject

to 42 U.S.C. § 1983 if the Plaintiff proves that such decision deprived him of his rights and

privileges which are guaranteed to all American citizens along with civil rights by a

preponderance of the evidence.

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1507. The decision of Defendant Massachusetts Board of Registration in Medicine in In the

matter of Robert P. Weinberg, D.O. is subject to 42 U.S.C. § 1983 if the Plaintiff proves that

such decision deprived him of his civil rights by a preponderance of the evidence.

         Actions of attorneys which deprived the Plaintiff of his civil Rights

1508. Defendant Alice Oliff is subject to 42 U.S.C. § 1983 if the Plaintiff proves that her

actions while acting under the color of law deprived him of his rights and privileges which are

guaranteed to all American citizens along withs civil rights by a preponderance of the evidence.

1509. Defendant Robert Stolzberg is subject to 42 U.S.C. § 1983 if the Plaintiff proves that his

actions while acting under the color of law deprived him of his civil rights by a preponderance of

the evidence.

1510. Defendant William Fisher is subject to 42 U.S.C. § 1983 if the Plaintiff proves that her

actions while acting under the color of law deprived him of his civil rights by a preponderance of

the evidence.

1511. Defendant Claudia Hunter is subject to the sanctions of 42 U.S.C. § 1983 if the Plaintiff

proves that her actions while acting under the color of law deprived him of his civil rights by a

preponderance of the evidence.

1512.   Defendant Federal National Mortgage Association (“Fannie Mae”) is a federally chartered

corporation that participates in the secondary mortgage market and whose federal charter was enacted by

the United States Congress.


         Proof of Good Character - defendant Board of Bar Examimers of Maine


1513. “…comparable to that in many States, that an applicant for admission to the bar bears the

burden of proof of "good moral character" requirement whose validity is not, nor could well be,

drawn in question here. Under such a rule an applicant must initially furnish enough evidence of
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good character to make a prima facie case.” Konigsberg v. State Bar of Cal., 366 U.S. 36 -

Supreme Court (1961).


1514. During Plaintiff’s de novo hearing before Maine Justice Ellen Gorman, Gorman denied

the Plaintiff’s motion to introduce evidence of his good character.


1515. “… The examining Committee then has the opportunity to rebut that showing with

evidence of bad character. Such evidence may result from the Committee's own independent

investigation, from an applicant's responses to questions on his application form, or from

Committee interrogation of the applicant himself. This interrogation may well be of decisive

importance for, as all familiar with bar admission proceedings know, exclusion of unworthy

candidates frequently depends upon the thoroughness of the Committee's questioning, revealing

as it may infirmities in an otherwise satisfactory showing on his part. This is especially so where

a bar committee, as is not infrequently the case, has no means of conducting an independent

investigation of its own into an applicant's qualifications. If at the conclusion of the proceedings

the evidence of good character and that of bad character are found in even balance, the State may

refuse admission to the applicant, just as in an ordinary suit a plaintiff may fail in his case

because he has not met his burden of proof.” Konigsberg v. State Bar of Cal., 366 U.S. 36 -

Supreme Court (1961).


1516. “In the first Konigsberg case this Court was concerned solely with the question whether

the balance between the favorable and unfavorable evidence as to Konigsberg's qualifications

had been struck in accordance with the requirements of due process. It was there held, first, that

Konigsberg had made out a prima facie case of good character and of nonadvocacy of violent

overthrow, and, second, that the other evidence in the record could not, even with the aid of all
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reasonable inferences flowing therefrom, cast such doubts upon petitioner's prima facie case as to

justify any finding other than that these two California qualification requirements had been

satisfied.[6] In assessing the significance of Konigsberg's refusal to answer questions as to

Communist Party membership, the Court dealt only with the fact that this refusal could not

provide any reasonable indication of a character not meeting these two standards for admission.

The Court did not consider, but reserved for later decision, all questions as to the permissibility

of the State treating Konigsberg's refusal to answer as a ground for exclusion, not because it was

evidence from which substantive conclusions might be drawn, but because the refusal had

thwarted a full investigation into his qualifications. See 353 U. S., at 259-262. The State now

asserts that ground for exclusion, an issue that is not foreclosed by anything in this Court's earlier

opinion which decided a quite different question.” Konigsberg v. State Bar of Cal., 366 U.S. 36 -

Supreme Court (1961).


1517. “It is equally clear that the State's ordering of the rehearing which led to petitioner's

exclusion manifested no disrespect of the effect of the mandate in that case, which expressly left

the matter open for further state proceedings "not inconsistent with" the Court's opinion. There is

no basis for any suggestion that the State in so proceeding has adopted unusual or discriminatory

procedures to avoid the normal consequences of this Court's earlier determination. In its earlier

proceeding, the California Bar Committee may have found further investigation and questioning

of petitioner unnecessary when, in its view, the applicant's prima facie case of qualifications had

been sufficiently rebutted by evidence already in the record. While in its former opinion this

Court held that the State could not constitutionally so conclude, it did not undertake to preclude

the state agency from asking any questions or from conducting any investigation that it might

have thought necessary had it known that the basis of its then decision would be overturned. In
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recalling Konigsberg for further testimony, the Committee did only what this Court has

consistently held that federal administrative tribunals may do on remand after a reviewing court

has set aside agency orders as unsupported by requisite findings of fact. Federal

Communications Comm'n v. Pottsville Broadcasting Co., 309 U. S. 1504; Fly v. Heitmeyer,

309 U. S. 146.


1518. “In the absence of the slightest indication of any purpose on the part of the State to evade

the Court's prior decision, principles of finality protecting the parties to this state litigation are,

within broad limits of fundamental fairness, solely the concern of California law. Such limits are

broad even in a criminal case, see Bryan v. United States, 338 U. S. 552; Hoag v. New Jersey,

356 U. S. 464; cf. Palko v. Connecticut, 302 U. S. 319, 328.” Konigsberg v. State Bar of Cal.,

366 U.S. 36 - Supreme Court (1961).


  Consensual sexual conduct between Physician and Patient does not constitute Malpractice


         Korper v. Weinstein, 57 Mass. App.Ct. 433 (Mass. App.Ct. 2003), 783 N.E.2d 877

1519. “1. Medical malpractice. It is settled that consensual sexual conduct between a medical

practitioner and a patient does not constitute medical malpractice. Roe v. Federal Ins. Co., 412

Mass. 43, 49-51 (1992) (sexual contact by a dentist during treatment, whether consensual or not,

is not the rendering of professional services so as to be covered by malpractice insurance). There

are two exceptions to this rule: mishandling of the "transference phenomenon" by a psychiatrist

with a patient; and sexual conduct purporting to be medical treatment. See ibid.; Palermo v.

Brennan, 41 Mass. App. Ct. 503, 509 n. 10 (1996). See also Atienza v. Taub, 194 Cal. App.3d

388, 393-394 (1987); Mindt v. Winchester, 151 Or. App. 340, 343-345 (1997).

1520. The Plaintiff Weinberg is not a psychiatrist, psychologist nor psychotherapist.
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1521. The Plaintiff Weinberg does not and never had practiced psychotherapy nor psychiatry.

1522. The Plaintiff Weinberg never received any training in psychotherapy and never receiving

teaching nor training in the handling of the “transference phenomenon.”

1523. The Plaintiff Weinberg never purported nor ever represented that any sexual conduct

between the Plaintiff and Lourdes Colon comprised any type of medical treatment.

1524. “The plaintiff [Korper] argues that a kind of transference phenomenon occurs in the

ordinary patient-physician relationship by virtue of the relationship. This view has been

identified and rejected. Roe v. Federal Ins. Co., 412 Mass. at 50-51. The plaintiffs proposed

exception would swallow the rule. This rule is supported by the great weight of authority in other

jurisdictions. See Gunter v. Huddle, 724 So.2d 544, 546 (Ala.Civ.App. 1998); Atienza v. Taub,

194 Cal.App.3d 388, 393-394 (1987); Mindt v. Winchester, 151 Or. App. 340, 343-345 (1997).

"[C]ourts do not routinely impose liability upon physicians in general for sexual contact with

patients." Simmons v. United States, 805 F.2d 1363, 1366 (9th Cir. 1986).” Korper v. Weinstein,

57 Mass. App.Ct. 433 (Mass. App.Ct. 2003).

1525. “An expert opinion is required and permitted in medical malpractice cases to inform the

question of whether the professional services rendered by the physician deviated from the

standard of care owed by the physician to the patient, thereby causing damage to the patient. See,

e.g., Collins v. Baron, 392 Mass. 565, 569 (1984).” Korper v. Weinstein, 57 Mass. App.Ct. 433

(Mass. App.Ct. 2003)


1526. In the instant action, the Expert Opinion rendered by Dr. James Beck is tainted by his

lack of any knowledge of the 1992 memorialized handwritten Express Bilateral Contract, which

terminated the doctor-patient relationship between the Plaintiff and Lourdes Colon and



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defendants’ concealing this exculpatory evidence which exonerates the Plaintiff of all

wrongdoing from the tribunal.

1527. Dr. James Beck did not have knowledge of this 1992 Express Bilateral Contract which

terminated the doctor-patient relationship because defendants Lisa Wolfe, Lourdes Colon and

Stanley Spero engaged in spoliation of that material evidence by concealing this exculpatory

evidence which exonerates the Plaintiff of all wrongdoing from the tribunal.

1528. The 1992 Express Bilateral Contract which terminated the doctor-patient relationship

between the Plaintiff and Lourdes Colon was essential exculpatory evidence, which exonerates

the Plaintiff of all wrongdoing, for both the fact-finder and the Expert Witness in determining

whether the Plaintiff had engaged in sexual misconduct, but defendants Lisa Wolfe, Lourdes

Colon and Stanley Spero engaged in spoliation of that material exculpatory evidence by

concealing it from the tribunal.

1529. The 1992 Express Bilateral Contract which terminated the doctor-patient relationship

between the Plaintiff and Lourdes Colon was essential exculpatory evidence for both the fact-

finder and the Expert Witness in determining whether the Plaintiff had deviated from the

standard of care, an essential element of medical malpractice.

1530. The 1992 Express Bilateral Contract which terminated the doctor-patient relationship

between the Plaintiff and Lourdes Colon was essential exculpatory evidence for both the fact-

finder and the Expert Witness in determining whether the Plaintiff had the legal and ethical right

to engage in sexual conduct with a former patient.




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1531. The modified Express Bilateral Contract classified time and location into clinical or

nonclinical worlds, which determined when the Plaintiff was acting as a doctor and when he was

not acting as a doctor.

1532. The modified Express Bilateral Contract classified time and location into clinical or

nonclinical worlds, which determined at which times and which locations the Plaintiff had a duty

to Lourdes Colon as her physician and at which times and which locations the Plaintiff did not

have any duty as a doctor to Lourdes Colon.

1533. Several causes of action in this instant suit are being brought, in part, against specific

defendants pursuant to 42 U.S.C. § 1983, in addition to other causes of action as documented in

this Complaint below. When the highest appellate courts of the State of Maine and the

Commonwealth of Massachusetts act to deprive the Plaintiff of his civil rights, while acting

under the color of law, those courts are subject to the remediation, rehabilitation and restorative

actions imposed under 42 U.S.C. § 1983, without any imposition of monetary damages which

would othePlaintiff Robert Weinbergise be in contravention of the Eleventh Amendment.

1534. The Court has jurisdiction over this action pursuant to 28 U.S.C §§ 1331, 1343(3) and (4)

and 2201. All Defendants have such substantial contacts with the forum to underlie the basis for

Personal Jurisdiction over all those defendants.

                               Supplemental jurisdiction

1535. Section 1367 allows the Court to hear state law claims when they are “so related” to the

federal claims “that they form part of the same case or controversy under Article III of the United

States Constitution.” 28 U.S.C. § 1367.



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1536. This supplemental jurisdiction is the authority of the United States federal courts to hear

additional claims substantially related to the original claim and when those claims arise from a

common nucleus of operative facts. Owen Equipment & Erection Co. v. Kroger, 437 U.S. 365

(1978); United Mine Workers of America v. Gibbs, 383 U.S. 715 (1966); Finley v. United States,

490 U.S. 545 (1989).

1537. In other words, the supplemental jurisdiction power extends to all state and federal claims

a person would ordinarily expect to be tried in a single judicial proceeding. Penobscot Indian

Nation v. Key Bank of Maine, 112 F.3d 538, 563-64 (1st Cir. 1997); Exxon Mobil Corp. v.

Allapattah Services, Inc., 545 U.S. 546 (2005); Moore v. New York Cotton Exchange, 270 U.S.

593 (1926); Williams Elecs. Games, Inc. v. Garrity, 366 F.3d 569 (7th Cir.2004).

    Regulations and Adjudicatory Decisions of BORIM/DALA carry Force of Law

1538. Historically when the U.S. Constitution was drafted, the Administrative Law – fourth

branch of government – was non-existent and the Rule of Law was determined by statutes and

common law.

1539. Over the past 250 years since the founding of the American Republic, Administrative

Law has flourished and blossomed enormously so that currently in 2024 more than 90% of the

government’s laws, policies and police power to protect the health, safety and welfare of the

people, are quasi-legislatively, quasi-judicially enforced by state and federal agencies usually via

the Administrative Procedure Act (or similar state “APA”) whereby the rules generated by their

rule-making powers are now substitutes for statutes and their adjudicatory proceedings are

substitutes for the judicial system.

1540. Thus, the agency rules and adjudicatory decisions carry the full force of the Law

analogous to similar mandates of the statutes.

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1541. Looking into the historical roots, the Federalist papers (Alexander Hamilton) and the

drafting of the Constitution, it is clear that when the founding fathers drafted the prohibition

against Bills of Attainder, they intended to prohibit all state action which might be focused

against a single citizen, and not just limit this prohibition against statutes.

1542. The “Weinberg law” which was quasi-legislatively and quasi-judicially enacted de facto

in 2002 by the proceedings in BORIM and DALA under M.G.L. c. 30A, and characterized by

forty-three (43) distinct criteria and elements, is just the sort of state action that the original

drafters of the Constitution intended to bar.

1543.    The Plaintiff will seek equitable relief through Declaratory Judgments which state:

        (a) BORIM and DALA enacted the Weinberg law de facto in 2002, which is

        characterized and defined by 43 distinct criteria and elements;

        (b) the Weinberg law was enacted/fabricated by BORIM and DALA for the express

        purpose of punishing the Plaintiff for his sexual conduct in the 1990s;

        (c) the Weinberg law constitutes a Bill of Attainder as prohibited by the Constitution;

        (d) the Weinberg law was applied ex post facto to punish the Plaintiff for conduct which

        occurred ten (10) years prior to its enactment (2002 – 1992);

        (e) using a pretext that BORIM was protecting the health, safety and welfare of the

        people, BORIM revoked the Plaintiff’s medical license in spite of the fact that BORIM

        knew about the Plaintiff’s sexual conduct more than 5 years before they revoked the

        Plaintiff’s medical license and allowed the Plaintiff to treat more than 30,000 patient-

        visits when they had the emergency power to immediately revoke the Plaintiff’s license

        if they were truly concerned about any danger to the public by the Plaintiff.

                Violations of Title IX of the Civil Rights Act of 1964

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             Sexual Discrimination & Harassment in Violation of Title IX by
             Defendants Nagina Mangal, Ann Graybiel and Sally Kornbluth

1544.   In the beginning of July 2023, Defendant Nagina Mangal did inform Defendant Ann

Graybiel about specific sexual acts, sexual preferences, sexual conduct of the Plaintiff based on

reports which she discovered from the 1990s and this information about the Plaintiff’s sexual

acts, sexual preferences and sexual conduct did form the basis of significant sexual

discrimination on the part of defendants Ann Graybiel and the Massachusetts Institute of

Technology (MIT).

1545.    In July 2023, Defendant Ann Graybiel removed the Plaintiff from the CellReadr project

he had been developing over the prior 9 months on the basis of information concerning his

sexuality, sexual practices, sexual preferences in gross sexual discrimination against the Plaintiff.

1546.   In July 2023, Defendant Nagina Mangal informed Ann Graybiel of the Plaintiff’s

sexuality, sexual practices, sexual preferences in gross sexual discrimination against the Plaintiff

in order to steal control and lead of the CellReadr project which she was successful in doing.

1547.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology

(MIT) did revoke all Plaintiff’s privileges as a Visiting Student which he had since September

2022.

1548.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology

(MIT) did prohibit Plaintiff from coming on the campus of MIT.

1549.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology


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(MIT) did prevent Plaintiff from downloading and securing private and confidential intellectual

property which he had saved on his PC in his office in the McGovern building.

1550.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology

(MIT) did block Plaintiff from all access to his emails including important medical emails, job

opportunities, communications with colleagues, friends, family and other relatives.

1551.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology

(MIT) did cause substantial emotional harm and intentional infliction of severe emotional

distress upon the Plaintiff causing him to seek mental health counseling.

1552.    In July 2023, based on Plaintiff’s sexuality, sexual practices, sexual preferences in gross

sexual discrimination against the Plaintiff, Defendant Massachusetts Institute of Technology

(MIT) did cause substantial emotional harm and intentional infliction of severe emotional

distress upon the Plaintiff causing him to have suicidal thoughts and ideation and lose all self-

worth and self-esteem.

1553.    Defendant Nagina Mangal did substantially interfere with the contractual agreement

which the Plaintiff had with MIT and Ann Graybiel.

1554.    Defendant Nagina Mangal did cause substantial disruption in the educational plan and

research plan designed and being carried out by the Plaintiff.

1555.    Defendant Nagina Mangal did cause the Plaintiff a one-year setback in his PhD progress

and ability to complete his PhD dissertation on time as scheduled.




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1556.    The actions by Defendant Nagina Mangal did result in the intentional infliction of

severe emotional distress on the Plaintiff with medical consequences causing him to require

additional medical care and mental health care.

1557. These actions and consequences meet the requirements of the Stigma Plus test for

remedies for intentional infliction of severe emotional distress.

          Earlier life background of Plaintiff and Medical Disabilities

1558.    The Plaintiff was born on October 27, 1953 in Brooklyn, New York following a

prolonged and difficult labor and delivery. This is substantiated by medical records.

1559. The Plaintiff’s Apgar scores were low and he was diagnosed with anoxic brain injury and

termed a “blue baby.” This is substantiated by medical records.

1560. The Plaintiff experienced neurodevelopmental delays, delayed milestones and marked

delays in the development of speech and talking which caused significant ridicule from his peers

during his childhood. This is substantiated by medical records.

1561.    Throughout elementary school, the Plaintiff was in speech therapy to assist with

correction of his speech problems. This is substantiated by academic records.

1562.   Several teachers believed that the Plaintiff suffered from intellectual retardation so he

was removed from a couple of classes and placed in “slow learners” classes. This is substantiated

by academic records.

1563.    On or about May 1964, at the age of 10 years, the Plaintiff suffered a bicycle accident

where he fell off his bicycle striking his head against the asphalt pavement suffering a skull

fracture and subdural hematoma. This is substantiated by medical records.


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1564.      As a result of the increased intracranial pressure from the subdural hematoma, the

Plaintiff began experiencing diplopia, headaches and fundoscopic exam revealed papilledema

and blurring of the optic disc. This is substantiated by medical records.

1565.      On or about June 1964, the Plaintiff was transferred to Flower and Fifth Avenue

Hospital in New York City, where he underwent neurosurgical evacuation of the subdural

hematoma by surgeon Dr Tarlov. This is substantiated by medical records.

1566.      The Plaintiff began Junior High School in 1965 and for most of the years 1965 – 1968

his academic performance was poor with many grades of “D” and “F” in most of his courses.

This is substantiated by academic records.

1567.      Experiencing marked somnolence, need for daytime naps, inability to focus or do

homework along with muscular weakness, the Plaintiff was diagnosed with hypothyroidism in

1968, a medical condition shared with both of his parents. This is substantiated by medical

records.

1568.      After starting on thyroid replacement therapy, the Plaintiff’s academic performance

skyrocketed and the Plaintiff became a straight “A” student, excelling and loving the sciences

and mathematics especially. This is substantiated by academic records.

1569.      Later in life, the Plaintiff underwent neuropsychological testing at the Hallowell Center

in Concord, Massachusetts where he was diagnosed with Attention Deficit Disorder (ADD) and

was begun on CNS stimulants including methylphenidate and amphetamine which he continues

to take daily at the present time. This is substantiated by medical records.




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1570.    Except for some intermittent struggles with depression, which caused some periods of

academic withdrawal, the Plaintiff demonstrated academic prowess for most of his subsequent

years. This is substantiated by academic records.

1571.    The Plaintiff earned a BS in Biology from MIT, a Doctor of Osteopathic Medicine (DO)

degree from the New York College of Osteopathic Medicine, a Juris Doctor degree cum laude

from the New England School of Law, an MMSc in Immunology from Harvard Medical School,

and is currently enrolled as a PhD candidate in Pharmacology at the Massachusetts College of

Pharmacy and Health Sciences (expected graduation date of August 2024). This is substantiated

by academic records including diplomas and transcripts.

1572.    In 1988, the Plaintiff scored high on the FLEX examination for physicians and was

granted a license to practice medicine and surgery in the Commonwealth of Massachusetts

(License # 60232). This is substantiated by Massachusetts government records.

1573.   In 1988 - 89, the Massachusetts Board of Registration in Medicine issued two (2)

licenses to the Plaintiff granting the privileges and license to practice medicine in the

Commonwealth of Massachusetts.

1574.    In 1989, the Plaintiff began working as a Family Physician at the Boston Evening

Medical Center at 388 Commonwealth Avenue, Boston, MA.

1575.    In 1990, the Plaintiff began to provide medical care to Defendant Lourdes Colon –

referred to as “Patient A” in documents originating at the Massachusetts Board of Registration in

Medicine, which licenses physicians in Massachusetts. This fact was corroborated as a Finding

of Fact made by Magistrate Sarah Luick during adjudicatory proceedings in the Massachusetts

Division of Administrative Law Appeals (DALA) during 1997-2002 disciplinary proceedings in
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“Massachusetts Board of Registration in Medicine v. Robert P. Weinberg” and is readily

available as a public document.

1576.   In 1992, at the request of Defendant Lourdes Colon, the Plaintiff met with Defendant

Colon and Dr Lisa Wolfe at the Human Resource Institute in Brookline Massachusetts, a

psychiatric facility specializing in the treatment of young women with eating disorders and

depression. This fact was corroborated as a Finding of Fact made by Magistrate Sarah Luick

during adjudicatory proceedings in the Massachusetts Division of Administrative Law Appeals

(DALA) during 1997-2002 disciplinary proceedings in “In the matter of Robert P. Weinberg,

D.O.” and is readily available as a public document.

1577.   During about 45 minutes of discussion, Defendant Colon expressed her desire to assist

the Plaintiff with some research project at MIT which she had read about in a brochure lying in

the clinic waiting room. This fact was corroborated as a Finding of Fact made by Magistrate

Sarah Luick during adjudicatory proceedings in the Massachusetts Division of Administrative

Law Appeals (DALA) during 1997-2002 disciplinary proceedings in “In the matter of Robert P.

Weinberg” and is readily available as a public document.

1578.   Dr Wolfe explained that for Defendant Colon to assist the Plaintiff, they must formally

terminate the doctor-patient relationship. This fact was corroborated as a Finding of Fact made

by Magistrate Sarah Luick during adjudicatory proceedings in the Massachusetts Division of

Administrative Law Appeals (DALA) during 1997-2002 disciplinary proceedings in “In the

matter of Robert P. Weinberg” and is readily available as a public document.




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1579.    During his one year of Anatomic Pathology training at Brown University and his one

year of Internal Medicine training at St. Vincent Hospital in Worcester, MA, the Plaintiff had

never received any training concerning dual relationships nor transference.

1580. During medical school and post-graduate residency training, the Plaintiff had received no

training nor education in the realm of psychoanalytic theory or psychotherapy, so the Plaintiff

never learned about transference or counter-transference.

1581.    Following his passing the FLEX examination in 1988, and receiving full licensure to

practice medicine in September 1988, the Plaintiff has only held himself out to the public as a

physician competent, trained and skilled in Internal Medicine, Family Medicine and Emergency

Medicine.

1582.    The Plaintiff had never claimed to be a psychotherapist, psychologist, psychoanalyst or

other mental health specialist, and never held himself out to the public as any type of mental

health professional capable of providing psychotherapy.

1583. Since filing her lawsuit in 1996, Defendant Colon lied and concealed the fact that she had

agreed to terminate the doctor-patient relationship in 1992 at HRI with Defendant Wolfe present

and dictating the termination agreement, until the present time.

1584. Based on the evidence and medical records, in 2001 Magistrate Sarah Luick was able to

make a finding of fact that the Plaintiff and Defendant Colon did terminate the doctor-patient

relationship in 1992.

1585. However, for those 6 years from 1996 – 2001 when Defendant Colon was being

untruthful about the termination, it placed the Plaintiff in the awkward position of feeling he

must fight to prove the truth of that termination.
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1586. When asked about her role in terminating the doctor-patient relationship, Defendant Lisa

Wolfe answered in a half-truthful manner – “It is not the sort of thing that I usually do” thus

concealing her own liability and fault for the situation, attempting to protect her own license and

her own backside.

         Sexual discrimination by M.I.T. in violation of Title VII and Title IX

1587. During the years 1971 - 2023, the Plaintiff has had roles as a full-time enrolled student at

MIT and also as a full-time employed Research Scientist at MIT, and some years the Plaintiff

had dual roles as both a student and as an employee at MIT.

1588. Hereafter the prior paragraphs describing the Plaintiff’s sexual conduct will be referred to

as “the record.” Most of the episodes and commissions of sexual discrimination and sexual

harassment referred to in this Personal Statement were proximately caused by the discovery of

the record and subsequent actions taken by the respective parties, persons or entities.

1589. In 2010, the Plaintiff obtained the position of Research Scientist at MIT in the

Department of Biology working for Professor ChoKyun Rha, where he would continue to work

through January 2020 on bioactive properties of oil palm phenolics under the sponsorship of the

Malaysian Palm Oil Board, and where he published multiple papers in peer-reviewed journals

and presented scientific findings at international conferences.

1590. In 2011 or 2012, the Biology Department learned of the record from an “anonymous

informant” in the Department of Chemistry who alerted the Biology headquarters about the

Plaintiff’s past and loss of medical license.




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1591. The Biology Department began an investigation, which included asking the Plaintiff to

come to a meeting in the headquarters with 3 Biology headquarters staff to answer questions

about the record.

1592. During this time period, the Plaintiff had obtained two important new opportunities for

personal and professional growth at MIT while he was a student and also employed as a

Research Scientist: (1) the Plaintiff was selected as a Mentor for a freshman seminar series,

which the Plaintiff applied to teach on the applications of biotechnology in medicine and

industry; (2) assistant teacher of physics in the Experimental Studies Group.

1593. The Plaintiff had begun designing the freshman seminar series that summer and also met

with the co-mentor for the seminar to discuss the curriculum.

1594. Since the Plaintiff had developed a passion for teaching since he began tutoring science

and mathematics during high school, this was a natural stepping stone toward a career in

teaching.

1595. The Plaintiff has also taught several courses at MIT through the ESP program which met

on weekends for high school students.

1596. The Plaintiff also attended a meeting of the Experimental Studies Group in preparation

for assisting with teaching physics to that group of freshmen.

1597. The Biology headquarters staff concluded their investigation and communicated their

intentions with the Plaintiff.

1598. MIT insisted that the Plaintiff write a letter of resignation from both educational

opportunities – both the freshman seminar series and the Experimental Studies Group.

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1599. MIT stated that although the Plaintiff had done nothing wrong at MIT, they felt he

presented a risk for some sexual misconduct with the students.

1600. Regardless of not having committed any wrong at MIT, the staff expressed concerns that

there would be the appearance of accepting his prior misconduct and not protecting the students

adequately.

1601. The Plaintiff was devastated by the loss of these educational teaching opportunities,

which he believed would open up career possibilities and help him develop as a teacher.

1602. The Plaintiff began working on his MMSc in Immunology at Harvard Medical School in

2014.

1603. The MMSc program was a 2-year program: the first year consisted of didactic work on

courses in immunology and the second year consisted of supervised immunology research

leading to the writing of a thesis

               Violation of Title IX: Sexual Discrimination and Sexual Harassment

                         by Defendant Dana-Farber Cancer Institute

1604. In 2015 the Plaintiff began research at the Dana Farber Cancer Research Institute with the

mentor Stephanie Dougan, who was on the faculty of his MMSc in Immunology program.

1605. It was a very exciting project in collaboration with Harvey Cantor, with whom the

Plaintiff had wanted to work for many years.

1606. Stephanie Dougan was very encouraging and discussed with the Plaintiff the possibility

of applying for some grants which the Plaintiff was eligible for as a mid-life professional

changing careers.

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1607. After several meetings and experimental planning, paperwork was processed at the Dana

Farber Cancer Research Institute (“DFCI”) including a comprehensive background check which

revealed the loss of the Plaintiff’s medical license in 2002.

1608. DFCI terminated the Plaintiff because of the record from the background check about the

Plaintiff’s prior sexual conduct, while the Plaintiff was enrolled in the MMSc Immunology

program as a full-time graduate student.

1609. DFCI had a contractual arrangement with Harvard Medical School (“HMS”) for

providing internship opportunities for the graduate students at HMS.

1610. Harvard Medical School conducted an investigation concerning the facts underlying this

termination by DFCI.

               Violation of Title IX: Sexual Discrimination and Sexual Harassment

                        by Defendant Boston Children’s Medical Center

1611. The Plaintiff then began a research project with Professor Ann Goldfeld in the Program

in Cellular and Molecular Medicine of Boston Children’s Hospital where he began working on a

project involving the immunogenetics of the T-cell response, as a Graduate Student as part of the

research component of the MMSc in Immunology program at HMS.

1612. The Plaintiff had been working in the Goldfeld lab for about 8 weeks, when Professor

Goldfeld offered to pay the Plaintiff as an intern which required him to complete paperwork for

Boston Children’s Hospital to come onto the payroll.

1613. The paperwork included a background check which disclosed the Plaintiff’s prior record,

and the Plaintiff was summarily terminated based on his prior sexual conduct.

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1614. Harvard Medical School conducted an investigation concerning the facts underlying this

termination.

        Sexual discrimination by MIT while Plaintiff was Visiting Graduate Student

                Violation of Title IX of the Civil Rights Act

1615. In 2019 the Plaintiff began working toward his PhD in Pharmacology at the

Massachusetts College of Pharmacy and Health Sciences in Boston, Massachusetts.

1616. During the summer of 2022, the Plaintiff began collaborating with Dr Emily Hueske in

the McGovern Institute for Brain Research at the Massachusetts Institute of Technology (MIT)

in Cambridge, MA.

1617. During discussions with Professor Ann Graybiel, it became clear that the Plaintiff could

combine his PhD dissertation research on the neurophysiology and pathology of the basal

ganglia with ongoing research efforts in the Graybiel lab which would be mutually beneficial to

both parties.

1618. In September 2022, the Plaintiff began a 1-year Visiting Student fellowship in the

laboratory of Professor Ann Graybiel in the McGovern Institute, as a Visiting Graduate Student

from the doctoral program at the Massachusetts College of Pharmacy and Health Sciences.

1619. The Plaintiff received the letter of invitation from Graybiel for a 1-year appointment in

the Graybiel lab.

1620. For enrollment as a Visiting Graduate Student at MIT, the Plaintiff was required to pay

MIT tuition in the approximate amount of $5,000.00.




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1621. From September 2022 through June 2023, the Plaintiff’s efforts were greatly appreciated

and rewarded by Graybiel as evident through numerous emails.

1622. In May 2023, a postdoctoral fellow Nagina Mangal arrived in the Graybiel lab from

London, UK, where she had completed her Ph.D.

1623. Defendant Nagina Mangal is an Afghanistan national who has a U.S. VISA to study at

MIT as a postdoctoral fellow.

1624. The Plaintiff made special efforts to make her feel at home in Boston, bringing her over

to the ATLAS center to pick up her MIT ID when it was ready and also providing her with a tour

of the MIT campus.

1625. The Plaintiff and Mangal shared a couple of meals together at the Stata Center while they

discussed their ongoing research.

1626. The McGovern Institute held its annual retreat on Cape Cod in early June 2023 and many

members of the Graybiel lab attended the retreat.

1627. The McGovern Institute did provide buses for many but in addition, the Plaintiff had

volunteered to drive down to the retreat and brought with him 5 members of McGovern,

including Mangal, Gun, Georgios, Fred, and Michael.

1628. Defendant Mangal was happy to get the front-seat passenger view on the way down and

back.

1629. In order to share some American culture with her, the Plaintiff invited Mangal to a Red

Sox baseball game in the Fenway Stadium in Boston, MA.



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1630. Since both Mangal and the Plaintiff shared a research interest in cannabinoid receptors

and the effects of their signaling on modulation of CNS functions, Mangal had suggested that the

two of them collaborate together and co-author a literature review on the CNS modulation by the

cannabinoid system.

1631. Defendant Mangal and the Plaintiff exchanged several emails and prior published papers

towards this literature review which they began to work on during meetings in the McGovern

Institute Atrium on the Third Floor.

1632. The Plaintiff prepared an outline of their review - focusing on the role of the cannabinoid

receptors on astrocyte signaling in the basal ganglia.

1633. The Plaintiff and defendant Mangal met a couple of times to discuss the literature review.

1634. A friend had given the Plaintiff a couple of extra tickets to a Red Sox game in Fenway

Park, and the Plaintiff invited Mangal to the baseball game, which she excitedly attended.

1635. During the week of June 18, 2023, Mangal abruptly stopped responding to the Plaintiff’s

emails and her final email stated that she probably could not work on the literature review with

the Plaintiff.

1636. Defendant Mangal’s attitude and demeanor markedly changed during this time, whereby

she became quite cold, distant and avoided any communication with the Plaintiff.

1637. The Plaintiff began to suspect that Mangal had read about his prior record, which is

readily accessible on the internet through a Google search.

1638. Professor Graybiel was away in Europe attending meetings in Sweden and Ireland for 2

weeks, and was scheduled to return on Monday, June 26, 2023.

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1639. The Plaintiff saw Professor Graybiel in the morning of June 26, 2023, around 9 am, when

Graybiel ran up to him smiling and laughing, and sharing her joy with him about the Plaintiff’s

continued success with weight loss on his current diet regimen.

1640. As was characteristic of her demeanor toward him, Professor Graybiel had always smiled

and maintained good eye-to-eye contact with the Plaintiff from September 2022 until June 26,

2023.

1641. That morning of June 26, 2023 was the last time that Professor Graybiel would smile or

look at the Plaintiff in the eyes.

1642. The sexual harassment and sexual discriminatory acts by Professor Graybiel began at

11:00 am on June 26, 2023, at about the time that she met with Defendant Mangal privately in

her office.

1643. Professor Graybiel was very careful about what she said or emailed to the Plaintiff over

the next 11 days, until she terminated abruptly the Plaintiff, for want not to leave any

incriminating evidence of her knowledge of the Plaintiff’s sexual conduct which she learned

from a conversation with Mangal.

1644. The Plaintiff saw Mangal in the hallway around 11:30 am that morning - June 26, 2023 -,

and Mangal confirmed that she had just met with Professor Graybiel.

1645. At a joint meeting with several labs that Friday, June 30, 2023, Professor Graybiel

proceeded to remove the Plaintiff from the CellREADR project which the Plaintiff had been

working on full-time since November 2022, spending long nights and weekends in the laboratory

to overcome challenges and get the method to work properly.


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1646. There was an important collaboration meeting on Friday, June 30, 2023, with 10

members of the Graybiel and Agooti labs present so there were 10 witnesses to the following

words and actions.

1647. At this Friday morning meeting, Professor Graybiel introduced Mangal as the leader of

the CellREADR project, introduced other members of the Graybiel lab, but did not introduce the

Plaintiff, nor did she look at the Plaintiff nor acknowledge his presence.

1648. It became clear from this collaboration meeting and subsequent Graybiel lab meeting in

her office, that the Plaintiff was removed from the CellREADR project.

1649. Although Graybiel was very careful to conceal her discriminatory and harassing intent,

there are more than fifteen (15) witnesses who are lab members who can testify to her actions

and words which underlie these discriminatory and harassing intents and actions.

1650. Instigated by the Plaintiff’s sexual conduct record, Graybiel’s acts of sexual

discrimination and sexual harassment started at 11:00 am on June 26, 2023 and culminated with

her letter of termination of the Plaintiff on July 7, 2023.

1651. These eleven (11) days of sexual discrimination and harassment by Professor Graybiel

and Nagina Mangal comprised actions which violated the Plaintiff’s rights under Title IX of the

Civil Rights Act.

1652. These acts of sexual discrimination and sexual harassment originate in Graybiel’s belief

that the Plaintiff’s prior record of sexual acts/misconduct and/or loss of medical license

necessitate that he cannot operate as a productive member of the research team in the Graybiel

lab in spite of the fact that he said or did nothing wrong during his entire time working in the lab.


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            MIT and Graybiel violated the Plaintiff’s rights protected by Title IX

1653. MIT and Graybiel violated Title IX by imposing a punishment on the Plaintiff “infected

by sex bias.” See John Doe v. Purdue University et al., 928 F.3d 652 (2019).

1654. MIT and Graybiel discriminated against the Plaintiff on the basis of sex, sexual acts,

sexual conduct, and sexual preferences in violation of Title IX.

1655. Title IX provides that “[n]o person in the United States shall, on the basis of sex, be

excluded from participating in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a);

see also Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 281, 118 S.Ct. 1989, 141 L.Ed.2d

277 (1998) (explaining that Title IX is enforceable through an implied private right of action).

1656. It is undisputed that MIT and Professor Graybiel receive federal funding.

1657. The Plaintiff was “excluded from participation in [or] denied the benefits of … [an]

education program” when MIT terminated him. 20 U.S.C. § 1681(a).

1658. The Plaintiff also had a property right in his Visiting Student status as established by the

contract entered into with Graybiel pursuant to her letter of invitation which he accepted with

consideration paid of over $4,000.

1659. Furthermore this academic contract was breached by Graybiel’s letter of termination.

1660.   Furthermore, although MIT does have extensive policies regarding hearings and Due

Process, and the Plaintiff was in frequent contact with the MIT General Counsel, the Plaintiff

was never afforded the opportunity for a fair hearing to present his side and be heard by an



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impartial decision-maker in spite of the fact that the Plaintiff requested such a hearing on

multiple occasions.

1661. This not only violates MIT policies for Due Process and hearings, but it also violates

State and federal mandates for Due Process before terminating fundamental property and liberty

rights of the Plaintiff. Goss, 419 U.S. at 574, 95 S.Ct. 729; Bd. of Curators of Univ. of Mo. v.

Horowitz, 435 U.S. 78, 86, 98 S.Ct. 498, 55 L.Ed.2d 124 (1978); Pugel v. Bd. Of Trs. of Univ. of

Ill., 378 F.3d 659, 663-64 (7th Cir. 2004); Dietchweiler by Dietchweiler v. Lucas, 827 F.3d 622,

629 (7th Cir.2016).

        Fraud on the Court committed by Defendant Fannie Mae in foreclosure proceedings

          Fraud committed by Defendants John Ney, Schechtman, Halperin and Savage

1662.    The Plaintiff is at immediate risk of losing his house in Dixfield, Maine.

1663. In December 2023, the Defendant Federal National Mortgage Association (“FNMA”)

filed a petition for the 60-day Notice by publication of a foreclosure sale of the Plaintiff’s house.

1664. The foreclosure judgment issued by the Oxford County Superior Court is defective and is

based upon fraud committed against the Court by Defendant Fannie Mae, and that fraud will be

described with particularity below.

1665.    One purpose of this litigation is to adjudicate that the foreclosure judgment obtained by

the Defendant FNMA was based on defective and inadequate procedural process; did not comply

with Maine statutes regulating judicial foreclosure; these judicial proceedings did not comply

with the Maine Rules of Civil Procedure; and violated the Plaintiff's civil and constitutional

rights under the Due Process clauses of the Fifth and Fourteenth Amendments to the United

States Constitution, while Defendant Fannie Mae was acting under the color of law.
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1666.    The foreclosure judgment obtained by the Defendant FNMA in May 2019 in civil

proceedings at the Oxford County Superior Court in Paris, Maine, violated the requirements of

the Maine statutes regulating judicial foreclosure and therefore denied the Plaintiff Due Process

of Law in violation of the Plaintiff’s civil and constitutional rights.

1667. In those proceedings, Defendants Fannie Mae, John Ney, Seterus Inc, and Shechtman,

Halperin and Savage did act unlawfully to deprive the Plaintiff of his fundamental civil and

constitutional rights while acting under the color of law.

1668.    False statements and false representations to the Court during judicial proceedings do

comprise fraud upon the Court.

1669. The material facts stated within this Complaint document with particularity and

specificity the fraud committed against the Court by Defendants Fannie Mae, John Ney, Seterus

Inc, and Shechtman, Halperin and Savage in Oxford County Superior Court civil proceedings –

“Federal National Mortgage Association v. Robert P. Weienberg.”

1670.    Among other unlawful actions, the Defendants did not conduct the civil judicial

foreclosure proceedings at Oxford County Superior Court in compliance with the Maine

foreclosure statutes or the Maine Rules of Civil Procedure.

1671.   More specifically Defendants Fannie Mae, John Ney, Seterus Inc, and Shechtman,

Halperin and Savage did not comply with Maine statute Title 14: Court Procedure – Civil, Part 7:

Particular Proceedings, Chapter 713: Miscellaneous Provisions relating to Foreclosure of Real

Property Mortgages, Subchapter 6: Foreclosure Proceedings by Civil Action, § 6321 entitled

“Commencement of foreclosure by civil action.”



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1672.    The literal statutory text of section 6321 reads:

        “§ 6321. Commencement of foreclosure by civil action: has the following statutory

        requirements:

        a) “After breach of condition in a mortgage of first priority, the mortgagee or any person

        claiming under the mortgagee may proceed for the purpose of foreclosure by a civil

        action against all parties in interest in either the Superior Court or the District Court in the

        division in which the mortgaged premises or any part of the mortgaged premises is

        located, regardless of the amount of the mortgage claim. [PL 2007, c. 391, §9 (AMD).]”

        b) “The foreclosure must be commenced in accordance with the Maine Rules of Civil

        Procedure, and the mortgagee shall within 60 days of commencing the foreclosure also

        record a copy of the complaint or a clerk’s certificate of the filing of the complaint in

        each registry of deeds in which the mortgage deed is or by law ought to be recorded and

        such a recording thereafter constitutes record notice of commencement of foreclosure.”

1673. The Defendants Fannie Mae, John Ney, Seterus Inc, and Shechtman, Halperin and

Savage significantly breached and violated the Maine Rules of Civil Procedure and Maine

foreclosure statutes in the foreclosure proceedings which unlawfully issued a defective

foreclosure judgment against the Plaintiff in 2019.

1674. The Maine state procedural judicial process was unconstitutionally applied and denied

the Plaintiff Procedural Due Process in depriving the Plaintiff of fundamental liberty interests

guaranteed by the U.S. Constitution.

1675.   § 6321. Commencement of foreclosure by civil action – requires that “The foreclosure

must be commenced in accordance with the Maine Rules of Civil Procedure …”
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1676.   This requirement, that the judicial foreclosure proceeding must be commenced in

accordance with the Maine Rules of Civil Procedure, is a mandatory requirement and not a

permissive requirement which may be waived under any circumstances.

1677. In those judicial proceedings in Oxford County Superior Court, the Plaintiff was denied

his right to civil discovery, including his right to depose the Defendant FNMA, as provided by

the Maine Rules of Civil Procedure. The civil rules of discovery are essential to just and fair

adjudication in judicial proceedings, as without those rights to discovery, the deprived party is

denied access to important facts essential for a just and fair adjudication.

1678. Under Rule 30 of the Maine Rules of Civil Procedure, the Plaintiff is guaranteed the right

of discovery via Deposition upon oral examination.

1679. Discovery is one of those cornerstones of the judicial process which is essential for

providing the Court with the necessary material facts needed for a fair and just trial, without

which a defective judgment will result based on inaccurate and false information.

1680. Among other breaches and violations, the Defendants Fannie Mae, John Ney, Seterus Inc,

and Shechtman, Halperin and Savage prevented the Plaintiff from deposing Defendant

FEDERAL NATIONAL MORTGAGE ASSOCIATION despite over thirty requests by the

Plaintiff to conduct such deposition as documented in the Plaintiff’s Motion to Compel

Discovery (see Appendix C of original motion).

1681. The Defendants denied the Plaintiff his right to depose Defendant FEDERAL

NATIONAL MORTGAGE ASSOCIATION despite the Defendant John Ney’s express verbal

promise to provide the Defendant available for deposition in open Court at a hearing in July



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2018, which comprised a false representation to the Court and was tantamount to fraud upon the

Court.

1682. After Defendant John Ney made false representations to the Court at a hearing in July

2018 that Defendant Fannie Mae would be produced for oral deposition, Defendant FEDERAL

NATIONAL MORTGAGE ASSOCIATION was never produced nor did she ever appear for a

scheduled deposition in September 2018, Defendants only produced Enan del Rio for deposition

in 2018.

1683. Enan del Rio was not an employee of Fannie Mae, and he did not have personal

knowledge of such vital documents as the mortgage note, mortgage loan or the promissory note.

1684. Enan del Rio was an employee, agent or contractor for Defendant Seterus, Inc., a

mortgage servicing company contracted by Defendant FEDERAL NATIONAL MORTGAGE

ASSOCIATION.

1685. At deposition in September 2018, Seterus employee/contractor Enan del Rio was unable

to answer numerous questions about vital documents as the mortgage note, mortgage loan or the

promissory note, posed by the Plaintiff, which would have been known by the relevant officers

of Defendant Fannie Mae, and Enan del Rio’s ignorance of and lack of knowledge of these

documents substantially impaired the Plaintiff in his ability to prosecute his case in Court,

by depriving the Plaintiff of vital and essential facts concerning his Real Property in Dixfield,

Maine.

1686. Defendant’s denial of providing Fannie Mae for deposition substantially impaired the

Plaintiff’s ability to glean essential information and facts needed for the prosecution of his case.



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1687. Deponent Enan del Rio’s lack of personal knowledge of mortgage-related documents and

non-employment by defendant Federal National Mortgage Association did cause substantial

injury to the Plaintiff by depriving the Plaintiff of testimony essential for his case, which

defendant FNMA othePlaintiff Robert Weinbergise did have control and possession of such

material and relevant facts needed by the Plaintiff to prosecute his case.

1688. Enan del Rio is or has been a professional witness for Defendant FEDERAL

NATIONAL MORTGAGE ASSOCIATION, appearing in Court at multiple litigations across

the United States. Enan del Rio has been sanctioned by the Courts for his conduct and actions in

some of those cases involving the Defendant FEDERAL NATIONAL MORTGAGE

ASSOCIATION (see Appendix D [original court filing]).

1689. By denying to make Fannie Mae available for deposition, Defendants John Ney, Fannie

Mae, Shechtman, Halperin and Savage did:

       A) make false representations to the Court;

       B) commit fraud upon the Court;

       C) Impair the Plaintiff’s ability to prosecute his case;

       D) Fail to comply with the Maine Rules of Civil Procedure;

       E) Fail to satisfy the requirements of § 6321. Commencement of foreclosure by civil

       action;

       F) Deny the Plaintiff Due Process of Law;

       G) Deny the Plaintiff his civil and constitutional rights while acting under the color of

       law;
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       H) Generate a defective foreclosure judgment, which is null and void, for the foregoing

       reasons.

1690. For equitable relief, the Plaintiff will seek Declaratory Judgments stating the facts of

paragraphs 76(A) - 76(H) and declaring that the foreclosure judgment is defective, null, void,

unlawful and legally unenforceable.

1691. Had the Plaintiff been provided with Defendant FEDERAL NATIONAL MORTGAGE

ASSOCIATION for deposition in 2018 as promised by Defendants John Ney and the FEDERAL

NATIONAL MORTGAGE ASSOCIATION in open court at the June 2018 hearing, the Plaintiff

would have been able to prove legal defects in the mortgage contract and this would have

substantially produced a different outcome in the foreclosure trial on or about May 2019.

1692. During the foreclosure trial at Oxford County Superior Court on or about May 2019,

Defendant FEDERAL NATIONAL MORTGAGE ASSOCIATION did prevent the Plaintiff

from laying the foundation for introducing evidence of the mortgage defects while the Plaintiff

was cross-examining the witness for Defendant FEDERAL NATIONAL MORTGAGE

ASSOCIATION.

                    Lack of Mootness: Live case and controversy

1693. The imminent loss of the Plaintiff’s house as described in the preceding paragraphs above

shows that this case and controversy is live, with flesh on its bones, and is not moot.

1694. On or about March 2022, the Defendant FEDERAL NATIONAL MORTGAGE

ASSOCIATION did petition the Maine Court for the right to publish a date for the foreclosure

sale of the Plaintiff’s house in Dixfield, Maine, based on the unlawfully-obtained and defective

foreclosure judgment.
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1695. By an order issued by the Maine court in April 2022, the Court granted Defendant

FEDERAL NATIONAL MORTGAGE ASSOCIATION the right to publish a date for the

foreclosure sale of the Plaintiff’s house in Dixfield, Maine, at sixty (60) days from the date of the

Maine court order.

1696. That date for publishing the date of the foreclosure sale is coming up within the next

couple of weeks, at which point the Plaintiff will suffer irreparable harm if his house is sold,

conditional upon an unlawful foreclosure judgment.

                       Amount in Controversy / Damages

1697. The Plaintiff has suffered $ 187,685.00 (One hundred eighty-seven thousand six hundred

eighty-five U.S. dollars) in economic damages and injuries resulting from the legally defective

foreclosure action. This amount is aggregated over the several defendants, and does not include

punitive damages sought for those Defendants lacking Qualified Immunity for their bad acts.

                     AMERICANS WITH DISABILITIES ACT (ADA)

1698. Title II of the ADA applies to a “qualified individual with a disability who with or

without reasonable modifications to rules, policies, or practices, . . . meets the essential eligibility

requirements for the receipt of services or the participation in programs or activities provided by

a public entity.” 42 U.S.C. § 12131(2).

1699. A “disability” must fit one of three definitions under 42 U.S.C. § 12102(2) to be

actionable under the ADA: there must be “(A) a physical or mental impairment that substantially

limits one or more of the major life activities of [an] individual; [or] (B) a record of such an

impairment; or (C) being regarded as having such an impairment.”

1700. Title II of the ADA applies to persons who are deprived of the benefits of participation


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in governmental programs, services, or activities because of a physical disability. Pennsylvania

Dept. of Corrections v. Yeskey, 524 U.S. 206, 211(1998).

1701. In the instant litigation, the Plaintiff alleges facts, based on medical records and

diagnostic testing, showing he is a “qualified individual with a disability” and that he is a

member of the statutorily-protected class. 42 U.S.C. §12112(a).

1702. Some of the named Defendants have denied the Plaintiff of the benefits of its services for

which he is entitled and/or discriminated against the Plaintiff solely by reason of his disability.

Weinriech v. Los Angeles County Metropolitan Transportation Authority, 114 F.3d 976, 978 (9th

Cir. 1997).

1703. The record shows intentional discrimination by some of the named Defendants on the

basis of the Plaintiff's disability Memmer v. Marin County Courts, 169 F.3d 630, 633 (9th Cir.

1999).

1704. Governmental entities are the proper defendants in Title II ADA claims, and Eleventh

Amendment immunity does not apply.

1705. This lawsuit, is also brought under the Due Process Clause of the Fifth Amendment and

Fourteenth Amendments to the United States Constitution; the Equal Protection clause; and the

Administrative Procedure Act (“APA”), 5 U.S.C. § 706.

     Defendants’ violation of Plaintiff’s rights under the Americans with Disabilities Act

                             Plaintiff’s neurological disability

1706. Plaintiff was born on October 27, 1953 at Crown Heights Hospital, in Brooklyn, New

York, with low Apgar scores after a prolonged and complicated labor and delivery in G1P0 24

y/o female.



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1707. At birth, Plaintiff was diagnosed as a “blue baby” due to neonatal asphyxia probably

secondary to a compressed umbilical cord and/or prolonged time in the birth canal.

1708. Subsequently Plaintiff was found to have multiple neurologic injuries from this perinatal

asphyxia, which was further compounded by his traumatic brain injury in 1964 when he

fractured his skull and developed a subdural hematoma requiring surgical evacuation in a

neurosurgical procedure performed by Dr Tarlov at Flower and Fifth Avenue Hospital in New

York City.

1709. As documented in his medical records, the neurologic injuries and conditions have had a

substantial impact on the Plaintiff’s life, schooling, socio-economic status, social and personal

life, and economic opportunities.

1710. The Plaintiff has been diagnosed and treated for: speech/developmental delays and

problems due to perinatal asphyxia, Attention Deficit Disorder, Post-traumatic Stress Disorder,

depression, anxiety disorder, specific neuro-behavioral deficits caused, in part, by these perinatal

neurologic injuries and traumatic brain injury and subdural hematoma.

1711. These neurologic disabilities have caused the Plaintiff to suffer multiple setbacks in his

schooling and education, necessitating multiple academic leaves of absence for medical reasons.

1712. Currently the Plaintiff is under the regular medical care by a Neurologist, Internist,

Cardiologist, Endocrinologist, and Psychiatrist.

1713. Plaintiff is a disabled American, and a member of the statutorily protected class under the

federal Americans with Disabilities Act of 1990 (“ADA”). 42 U.S.C. § 12101.




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1714. Multiple defendants have not complied with the mandates of the federal Americans with

Disabilities Act and have not provided the proper or required accommodations as specifically

requested by the Plaintiff as mandated by that federal act.

1715. Furthermore multiple defendants have denied the Plaintiff his civil and constitutional

rights and privileges while acting under the color of law in violation of 42 U.S.C. § 1983.

1716. U.S. Congress subpoened MIT President Sally Kornbluth to appear at a Congressional

hearing in Washington, DC in December 2023 because of allegations that MIT failed to comply

with federal mandates.

1717. At this December 2023 Congressional hearing, Sally Kornbluth refused to acknowledge

that Palestinian students appearing at protests at MIT, who called for death to all Jewish persons,

comprised a violation of MIT Policy and ethics codes.

1718. When asked whether a call for genocide and the murder of all Jewish persons comprised

a violation of the MIT policies and codes, Kornbluth only answered that “it depends upon the

context” and refused to assert that calls for genocide violate MIT policies.

1719. Plaintiff sent over 20 emails to Kornbluth regarding his allegations of violations of Title

IX, sexual harassment and discrimination, while he was a Visiting Student at MIT during the

2022-23 academic year.

1720. Kornbluth ignored these emails and refused to answer any of the Plaintiff’s 20+ emails.

1721. The Plaintiff was born on October 27, 1953 in Brooklyn, New York following a

prolonged and difficult labor and delivery. This is substantiated by medical records.




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1722. The Plaintiff’s Apgar scores were low and he was diagnosed with anoxic brain injury and

termed a “blue baby.” This is substantiated by medical records.

1723. The Plaintiff experienced neurodevelopmental delays, delayed milestones and marked

delays in the development of speech and talking which caused significant ridicule from his peers

during his childhood. This is substantiated by medical records.

1724. Throughout elementary school, the Plaintiff was in speech therapy to assist with

correction of his speech problems. This is substantiated by academic records.

1725. Several teachers believed that the Plaintiff suffered from intellectual retardation so he

was removed from a couple of classes and placed in “slow learners” classes. This is substantiated

by academic records.

1726. On or about May 1964, at the age of 10 years, the Plaintiff suffered a bicycle accident

where he fell off his bicycle striking his head against the asphalt pavement suffering a skull

fracture and subdural hematoma. This is substantiated by medical records.

1727. As a result of the increased intracranial pressure from the subdural hematoma, the

Plaintiff began experiencing diplopia, headaches and fundoscopic exam revealed papilledema

and blurring of the optic disc. This is substantiated by medical records.

1728. On or about June 1964, the Plaintiff was transferred to Flower and Fifth Avenue Hospital

in New York City, where he underwent neurosurgical evacuation of the subdural hematoma by

surgeon Dr Tarlov. This is substantiated by medical records.

1729. The Plaintiff began Junior High School in 1965 and for most of the years 1965 – 1968 his

academic performance was poor with many grades of “D” and “F” in most of his courses. This is

substantiated by academic records.
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1730. Experiencing marked somnolence, need for daytime naps, inability to focus or do

homework along with muscular weakness, the Plaintiff was diagnosed with hypothyroidism in

1968, a medical condition shared with both of his parents. This is substantiated by medical

records.

1731. After starting on thyroid replacement therapy, the Plaintiff’s academic performance

skyrocketed and the Plaintiff became a straight “A” student, excelling and loving the sciences

and mathematics especially. This is substantiated by academic records.

1732. Later the Plaintiff underwent neuropsychological testing at the Hallowell Center in

Concord, Massachusetts where he was diagnosed with Attention Deficit Disorder (ADD) and

was begun on CNS stimulants including methylphenidate and amphetamine which he continues

to take daily at the present time. This is substantiated by medical records.

1733. Except for some intermittent struggles with depression, which caused some periods of

academic withdrawal, the Plaintiff has demonstrated academic prowess for most of his

subsequent years. This is substantiated by academic records.

1734. The Plaintiff earned a BS in Biology from MIT, a Doctor of Osteopathic Medicine (DO)

degree from the New York College of Osteopathic Medicine, a Juris Doctor degree cum laude

from the New England School of Law, an MMSc in Immunology from Harvard Medical School,

and was enrolled as a PhD candidate in Pharmacology at the Massachusetts College of Pharmacy

and Health Sciences. This is substantiated by academic records including diplomas and

transcripts.




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1735. In 1988, the Plaintiff scored high on the FLEX examination for physicians and was

granted a license to practice medicine and surgery in the Commonwealth of Massachusetts. This

is substantiated by Massachusetts government records.

1736. In 1990, Weinberg began working as a Family Physician at the Boston Evening Medical

Center at 388 Commonwealth Avenue, Boston, MA.

1737. In 1991, the Plaintiff began to provide medical care to Lourdes Colon – referred to as

“Patient A” in documents originating at the Massachusetts Board of Registration in Medicine,

which licenses physicians in Massachusetts.

1738. After reading a brochure in the waiting room, Colon became interested in some of the

research being conducted by the Plaintiff at MIT, developing new medical instrumentation.

1739. Colon expressed this interest to the Plaintiff, asking whether she might be able to assist

the Plaintiff with this research.

1740. The Plaintiff discussed this situation with the medical director Dr. Robert Wesselhoeft,

III, the clinic director Ruth Taylor and the clinic co-director Ella Smith.

1741. Dr. Wesselhoeft approved this request by Colon to become a Research Assistant for the

Plaintiff.

1742. In 1992, at the request of Lourdes Colon, Weinberg met with Colon and Dr Lisa Wolfe at

the Human Resource Institute in Brookline Massachusetts, a psychiatric facility specializing in

the treatment of young women with eating disorders and depression. This fact was corroborated

as a Finding of Fact made by Magistrate Sarah Luick during adjudicatory proceedings in the

Massachusetts Division of Administrative Law Appeals (DALA) during 1997-2002 disciplinary


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proceedings in “Massachusetts Board of Registration in Medicine v. Robert P. Weinberg” and is

readily available as a public document.

1743. In a first-floor consultation room at HRI, the Plaintiff met with Dr. Lisa Wolfe and

Colon.

1744. During about 45 minutes of discussion, Colon expressed her desire to assist the Plaintiff

with some research project at MIT which she had read about.

1745. Dr Wolfe discussed with the Plaintiff and Colon the process for terminating the doctor-

patient relationship and transition to Colon assisting the Plaintiff with his research.

1746. Dr. Wolfe never discussed nor revealed any of Colon’s diagnoses with the Plaintiff.

1747. Dr. Wolfe never shared the information she wrote in Colon’s admission note that Colon

was probably suffering from a Dissociative disorder.

1748. Dr. Wolfe never warned the Plaintiff nor explained any of the risks or dangers that might

occur in the new relationship, after the termination of the doctor-patient relationship.

1749. The Plaintiff agreed to this new relationship, and Dr Wolfe orally dictated the words for a

contract terminating the doctor-patient relationship which both Colon and Weinberg wrote out in

their own handwriting.

1750. Both the Plaintiff and Colon signed each other’s handwritten contract terminating the

doctor-patient relationship.

1751. Following this, Colon began making appointments with other doctors at the Boston

Evening Medical Center – including changing her official PCP to the primary care physicians Dr

David Fringer and Dr William Reichel.

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1752.   Colon began meeting with the Plaintiff weekly at MIT while he participated in the

Advanced Study Program through MIT for developing a medical instrument which would utilize

acoustic signals from the chest to diagnose several medical conditions.

1753. After several months, Colon explained that she was also serving as a model for

photographers and began to show the Plaintiff some nude photographs including photos where

she was lying on her back in a death-like pose holding a white lily.

1754. Weinberg and Colon began a sexual relationship.

1755. In subsequent disciplinary proceedings and legal proceedings, there were never any

allegations that the commencement of such sexual relationship was wrong, immoral, unlawful or

unethical because officially the doctor-patient relationship had been terminated under the

supervision of Dr Wolfe.

1756. Under specific canons of ethics issued by the American Medical Association, a specific

statement was issued by the AMA stating that a sexual relationship between a doctor and a

patient could only take place after the doctor-patient relationship was ended.

1757. From the web site of the American Medical Association’s Code of Ethics, Opinion 8.14
https://journalofethics.ama-assn.org/sites/journalofethics.ama-assn.org/files/2018-05/coet1-
1505.pdf#:~:text=Issued%20December%201998%20based%20on%20the%20report%20%E2%8
0%9CSexual,concurrent%20with%20the%20patient-
physician%20relationship%20constitutes%20sexual%20misconduct.




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1758. Opinion 8.14 states in part that “ … At a minimum, a physician’s ethical duties include

terminating the physician-patient relationship before initiating a dating, romantic, or sexual

relationship. “

1759. In 1992 when the Plaintiff met with Lourdes Colon and Dr. Wolfe to terminate the

doctor-patient relationship, opinion 8.14 was in effect and the Plaintiff complied with the

requirement of opinion 8.14 by terminating the relationship before any sexual relationship began.

1760. The termination of the doctor-patient relationship under the guidance of Dr. Lisa Wolfe

released the Plaintiff from any fiduciary duties or physician duties regarding not becoming

sexually involved. Thus the sexual involvement in 1993 began after the termination and was

proper, lawful and ethical.


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1761. In 1996, Colon filed a lawsuit “Colon v. Weinberg, et al.” for sexual misconduct.

1762. In this suit, Colon engaged in spoliation of the exculpatory evidence of the 1992 Express

Bilateral Agreement terminating the doctor-patient relationship.

1763. In 1997, the Massachusetts Board of Registration in Medicine initiated disciplinary

proceedings against Weinberg in the Massachusetts Division of Administrative Law Appeals, the

usual avenue for medical licensure disciplinary proceedings.

1764. In October 2002, the Board of Registration in Medicine revoked Weinberg’s license to

practice medicine for 3 years although the usual period of revocation was 5 years because of

mitigating circumstances. Weinberg was eligible to apply for reinstatement of his license in

October 2005.

1765. There were never any criminal charges filed, neither misdemeanor nor felony against

Weinberg, because the relationship was a consensual sexual relationship between 2 adults, so the

CORI record of Weinberg has been clean.

1766. Caselaw and Massachusetts precedents reveal in Korper v. Weinstein that sexual relations

between a physician and a patient is not sexual misconduct per se, without other exacerbating

conditions such as a therapist-patient relationship or abuse of any power differential between the

physician and the patient.

1767. The Plaintiff never acted as a psychiatrist or psychotherapist with Lourdes Colon, nor

was the Plaintiff trained in psychotherapy nor did the Plaintiff understand or know how to

manage transference or counter-transference following his two (2) years of post-graduate

medical residency training in Anatomic Pathology at Brown University (1 year) and Internal

Medicine at St. Vincent Hospital in Worcester, MA (1 year).
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               State Action impairing the obligation of Contract between private parties

         BORIM impaired Plaintiff’s freedom to contract with private parties

                       Contract clause - Case of First Impression

1768. In spite of several neurologic disabilities, caused in part by neonatal asphyxia, neuro-

developmental delays, traumatic subdural hematoma with cerebral edema, post-traumatic brain

injury (TBI) with effects on impulse control, ADHD and hypothyroidism, the Plaintiff was able

to overcome these challenges and complete several academic programs.

1769. The Plaintiff attended the Massachusetts Institute of Technology (“MIT”) between 1971 -

1976, and was awarded the Bachelor of Science degree in Biology in 1976.

1770. The Plaintiff attended the New York College of Osteopathic Medicine (“NYCOM”)

between the years 1982 - 1986, and was awarded the Doctor of Osteopathic Medicine degree

(“DO”) in June 1986.

1771. The Plaintiff completed a year of post-graduate residency training in Anatomic Pathology

at Brown University and Roger Williams General Hospital in Providence, Rhode Island during

1986 - 87

1772. The Plaintiff completed a year of post-graduate residency training in Internal Medicine at

St. Vincent Medical Center in Worcester, MA during 1987 - 88.

1773. In August 1988, the Plaintiff successfully passed the FLEX examination and was obtain

to become fully licensed to practice medicine in the Commonwealth of Massachusetts, in

September 1988, License #60232.



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1774. Plaintiff was licensed to practice medicine in the Commonwealth of Massachusetts

between 1988 – 2002.

1775.   Below is partial copy of the United States’ OPM notice of the Plaintiff’s appointment as

a Medical Officer in the Boston Disaster Medical Assistance Unit 1 of the National Disaster

Medical System (NDMS) under the U.S. Department of Public Health, U.S. Department of

Health and Human Services (DHHS):




1776. The Plaintiff did serve his country, the United States of America, as a Medical Officer in

the PHS National Disaster Medical System (NDMS) from 2000 - 2002

(https://aspr.hhs.gov/NDMS/Pages/default.aspx).

1777. The Plaintiff did receive a Congressional Letter of Commendation for his NDMS service

at the National State of the Union address in Washington, DC in 2001, when the Plaintiff was

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deployed in Washington, DC to protect members of Congress in the event of any bio-terrorism

event as a Medical Officer in the NDMS.

1778. During the period of time 2000 - 2002, the Plaintiff served on over 20 conferences,

meetings and active deployments with the NDMS as a national Medical Officer in the U.S. PHS,

DHHS.

1779. Justice Ellen Gorman of the Maine Supreme Judicial Court did deny the Plaintiff’s

motion to admit the Congressional Letter of commendation as partial evidence of his good

character at a hearing on or about 2011 when the Plaintiff appeared at a hearing of a single-

justice challenging the board’s assertion that he failed to show evidence of his fitness to practice

law after passing the Bar exam in Maine in 2010.

1780. In violation of the Maine Rules of Civil Procedure, Justice Gorman refused to comply

with Maine Rules of Civil Procedure which state that parties in judicial proceedings may motion

to take Judicial Notice of Facts Certain and capable of independent corroboration.

1781. At the 2011 hearing, Justice Gorman asked the Plaintiff why his counsel did not

introduce into the record the Congressional letter of commendation, to which the Plaintiff

answered that he did not know the reason, other than counsel had not requested copies of awards

and honors which the Plaintiff had accrued in the past.

               Humanitarian charitable non-profit Flights for Humanity

1782. On or about May 1995, the Plaintiff successfully passed the FAA Private Pilot exam,

taking the exam with FAA examiner Michael Goulian, Sr. at the Class C Hanscomb airfield in

Bedford, MA (https://www.fltplan.com/airport.cgi?KBED) and earning his Private Pilot license

to fly single-engine land airplanes.
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1783. In 1997, the Plaintiff obtained 501(c)(3) non-profit status for his brain-child “Flights for

Humanity” modeled after “Habitat for Humanity” founded by President Jimmy Carter

(https://uia.org/s/or/en/1100047471).

1784. The mission of Flights for Humanity involved flying indigent patients in third-world

countries free-of-charge for medical treatment and also providing flights to transport needed

medical equipment in third-world countries.

1785. The Plaintiff founded Flights for Humanity in order to combine his love of flying

airplanes with his humanitarian drive to help indigent peoples around the world.

1786. Among, other missions, the Plaintiff flew from Bedford to Atlanta to load up his plane

with medical supplies, which he then flew down to Chiappas, Mexico in 1998 to a tent

community of 10,000 displaced refugees who were rendered homeless during the Chiappas-

Mexico civil war    (https://en.wikipedia.org/wiki/Chiapas_conflict).

1787. This mission was written up in the Tufts Medical School journal “Tufts Medicine” and

also in the Fitchburg Sentinel newspaper.

1788. While working as a Family Medicine physician at the Boston Evening Medical Center,

388 Commonwealth Avenue, Boston, MA, Plaintiff became the primary care physician for

Lourdes Colon, a 28-year-old Hispanic female.

1789. In 1992, the Plaintiff and defendant Lourdes Colon met with Dr Lisa Wolfe at the

psychiatric hospital Human Resources Institute (HRI) in Brookline, MA where the three

discussed terminating the doctor-patient relationship and with their unanimous agreement, this

termination was memorialized in a writing dictated by Dr. Wolfe and each copy signed by the

Plaintiff and defendant Lourdes Colon.
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          AMA Code of Ethics - Opinion 8.14 regarding sexual misconduct

https://journalofethics.ama-assn.org/article/ama-code-medical-ethics-opinions-observing-

professional-boundaries-and-meeting-professional/2015-05




1790. The Plaintiff complied with the AMA Opinion 8.14 through the mutual termination of the

doctor-patient relationship under the guidance, formation, formulation, drafting and dictation of

the Express Bilateral Contract under the guidance of Dr. Lisa Wolfe.

1791. Following the formation and execution of the Express Bilateral Contract terminating the

doctor-patient relationshipIn September 1992, the Plaintiff and Lourdes Colon began weekly

meetings at MIT where Lourdes Colon had volunteered to assist the Plaintiff with some research


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on an acoustic pulmonary instrument, while the Plaintiff was a Fellow in the MIT Advanced

Study Program.

1792. The Plaintiff sponsored Lourdes Colon was his research assistant for a circulation

borrowing library card at the Countway Library of Medicine at Harvard Medical School.

1793. Subsequently the relationship between the Plaintiff and Lourdes Colon became sexual.

1794. In 1995, Lourdes Colon filed suit (while in one of her alter-egos of her Multiple

Personality Disorder) against the Plaintiff in Middlesex Superior Court where she alleged that

the Plaintiff had engaged in sexual misconduct as her physician.

1795. Upon receiving the Complaint and Summons from Suffolk Superior Court, the Plaintiff

notified ProMutual, his medical malpractice insurer, who assigned Claudia Hunter to be his

counsel (https://www.linkedin.com/in/claudia-hunter-8274847).

1796. Claudia Hunter responded to this Complaint with an answer, acting as an agent for

ProMutual Malpractice insurance, and as attorney representing the Plaintiff in the action Lourdes

Colon v. Robert P. Weinberg, Boston Evening Medical Center, Robert Wesselhoeft, III et al.

1797. In 1996, Lourdes Colon wrote a complaint to the Board of Registration in Medicine

(“BORIM”) alleging that the Plaintiff had engaged in sexual misconduct, while acting in one of

her alter-egos of her Multiple Personality Disorder.

1798. In 1997, on advice of counsel Claudia Hunter, the Plaintiff settled the suit with Lourdes

Colon out-of-court for $100,000 in spite of the fraud which had been committed on the Court

through defendants’ concealing their knowledge and content of the 1992 memorialized hand-

written Express Bilateral Agreement terminating the doctor-patient relationship.

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1799. During the winter of 1997, BORIM requested a written response from the Plaintiff

regarding the allegations made by Lourdes Colon in her letter alleging sexual misconduct by the

Plaintiff, while acting in one of her alter-egos of her Multiple Personality Disorder.

1800. Upon the recommendation of Claudia Hunter, the Plaintiff obtained representation with

Vincent DiCianni (https://www.affiliatedmonitors.com/vin-dicianni/) to represent him for the

proceedings involving BORIM in DALA.

1801. Between 1998 - 2002, the Plaintiff paid over $300,000 US dollars to three independent

unrelated attorneys - Vincent DiCianni, Robert Stolzberg, and John Flym - out-of-pocket for

legal representation in court for proceedings related to the Plaintiff’s medical license and

allegations of sexual misconduct.

1802. In 2002, during one of his final clinical positions, working as an Emergency Medicine

Attending Physician at Jones Memorial Hospital, in Wellsville, NY, the Plaintiff had a salary of

$120K per annum.

1803. Working several jobs simultaneously, the Plaintiff earned an average of $150K per

annum during the period between 1988 and 2002.

1804. Since the loss of his medical license in October 2002, the Plaintiff has suffered the loss of

realizable income of approximately $3,210,00.00 which represents the average annual income

from multiple positions in the Boston Evening Medical Center, Jones Memorial Hospital,

multiplied by the twenty-one years that the Plaintiff has been unable to work as a physician.

1805. Vincent DiCianni advised the Plaintiff that it was important for him to meet with Lourdes

Colon and speak with her to assess her credibility as a witness.


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1806. DiCianni contacted counsel representing Lourdes Colon, and requested a meeting to

discuss the allegations of sexual misconduct against the Plaintiff, but Colon’s counsel denied this

request.

1807. DiCianni then made a motion in Suffolk Superior Court to depose Colon, but after a

hearing, the Court denied this motion.

1808. Finally, DiCianni advised the Plaintiff that it was essential for him to assess Colon’s

credibility as a witness, and proceeded to file suit in Superior Court Robert Weinberg v. Lourdes

Colon in order to depose her as a defendant [Joint Stipulated Findings of Fact, DALA In the

matter of Robert P. Weinberg, D.O., Magistrate Sarah Luick’s “Findings of Fact and

Recommended Decision” issued April 2002, DALA In the matter of Robert P. Weinberg, D.O.,

Factual Finding].

1809. For four years, defendant Lourdes Colon remained steadfast in her assertion to BORIM

that she did not sign nor agree to the termination of the doctor-patient relationship in 1992,

possibly due to her distorted memories from her other alter-egos in her Multiple Personality

Disorder.

1810. In evasive and deceitful elocution, attempting to protect her license and livelihood, when

BORIM asked Dr Wolfe about the termination of the doctor-patient relationship in 1992 by the

Plaintiff and Lourdes Colon, Dr Wolfe only answered that it was not the type of thing that she

usually does - thus omitting the full truth about the termination agreement which she herself

dictated for both the Plaintiff and Lourdes Colon to memorialize in writing and sign.

1811. After reviewing the medical records and additional evidence, Magistrate Sarah Luick did

make a Finding of Fact that the Plaintiff and Lourdes Colon did meet in September 1992 when
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they mutually agreed to terminate the doctor-patient relationship [Joint Stipulated Findings of

Fact, DALA In the matter of Robert P. Weinberg, D.O; Magistrate Sarah Luick’s “Findings of

Fact and Recommended Decision” issued April 2002, DALA In the matter of Robert P.

Weinberg, D.O., Factual Finding].

1812. Around February 1998, BORIM issued a formal Statement of Allegations initiating

adjudicatory proceedings in the Division of Administrative Law Appeals (“DALA) in

compliance with 243 CMR 1.00 (https://www.mass.gov/regulations/243-CMR-100-disciplinary-

proceedings-for-physicians).

1813. Magistrate Sarah Luick presided over the adjudicatory proceedings at DALA in the case

Board of Registration in Medicine v. Robert P. Weinberg.

1814. DALA adjudicatory proceedings continued from 1998 – 2002.

   1998-2002 BORIM could not have believed that the Plaintiff’s practice of medicine

                       was a risk to the community

1815. During these five years, BORIM continued to allow the Plaintiff to practice medicine in

the Commonwealth of Massachusetts, in spite of the fact that all facts relevant to the allegations

of sexual misconduct were known to BORIM in 1998.

1816. During the five years from 1998 - 2002, the Plaintiff provided medical care to

approximately 40,000 patient-visits because the Plaintiff treated approximately thirty patients

each day that he worked in the clinic or the hospital.




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1817. Under Massachusetts law, BORIM has the authority to emergently revoke the medical

license of any physician who appears to present any risk or danger to the health, welfare or safety

of the citizens of Massachusetts.

1818. There multiple instances of BORIM revoking the medical license of a physician within 48

- 72 hours of when they receive any credible notification of egregious violations in the practice

of medicine, such as when a physician is alleged to be raping patients during medical

examination or treatment.

1819. In 1999, BORIM counsel made an offer of a one-year voluntary suspension of his

medical license to the Plaintiff through counsel.

1820. Allowing the Plaintiff to continue to practice medicine for the five years between 1998-

2002 is arguably presumptive evidence that BORIM did not believe that the Plaintiff represented

a serious risk or danger to the health, safety or welfare to the people of Massachusetts, when all

facts relevant to the allegations of sexual misconduct were known to BORIM in 1998.

1821. BORIM took the deposition of the Plaintiff in October 1998 regarding allegations of

misconduct by defendant Lourdes Colon, while acting in one of her alter-egos of her Multiple

Personality Disorder

1822. In January 1998, BORIM issued formal Statement of Allegations initiating adjudicatory

proceedings in the Division of Administrative Law Appeals (DALA) before Magistrate Sarah

Luick [Joint Stipulated Findings of Fact, DALA In the matter of Robert P. Weinberg, D.O.,

Factual Finding #   , page # ;      Magistrate Sarah Luick’s “Findings of Fact and

Recommended Decision” issued April 2002, DALA In the matter of Robert P. Weinberg, D.O.,

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1823. With the mutual consent of BORIM and Plaintiff, Magistrate Sarah Luick decided that

the two parties to “In the matter of Robert P. Weinberg” could work on a Joint Stipulation of

Facts to resolve undisputed issues of fact to be submitted to the Magistrate to assist with the

adjudication.

1824. This Joint Stipulation of Facts was submitted to DALA on or about September 2001,

shortly before the 911 terrorist attacks on the World Trade Center, Pentagon and attempted

attack on the Capitol building.

     Representation by the late Professor John Flym, Northeastern University School of Law

1825. The Plaintiff was enrolled as a full-time law student at the Northeastern University

School of Law (NUSL) during 2001-2002 (1L and partial 2L), where he successfully completed

courses on: Property, Contract, Torts, Civil Procedure, Constitutional Law, Criminal Procedure

and Criminal Law.

1826. In October 2002, BORIM issued its decision and order revoking the Plaintiff’s medical

license.

1827. On hearing this distressing news, the Plaintiff sent out a group email on a NUSL law

student mailing list in October 2002 received by fellow law student classmates and NUSL law

faculty, stating that unfortunately due to distressing legal news, the Plaintiff would be

immediately withdrawing from the Northeastern University School of Law.

1828. Upon reading this email, Professor of Law John Flym asked the Plaintiff if he would like

to meet to discuss his legal situation.




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1829. After discussion of the Plaintiff’s plight and misfortune, John Flym agreed to undertake

representation of the Plaintiff and entered his appearance as Counsel of Record with the BORIM.

1830. John Flym continued to legally represent the Plaintiff in judicial legal proceedings for a

period of nine years from October 2002 through the Plaintiff’s appeal at the Massachusetts

Supreme Judicial Court in 2011.

1831. BORIM made an offer of one-year voluntary suspension of medical license if

PLAINTIFF ROBERT WEINBERG agreed.

1998 – 2002 Adjudicatory proceedings at Mass Division of Administrative Law Appeals

(DALA)

1832. Sarah Luick was the magistrate overseeing the adjudicatory proceedings at DALA for

Commonwealth Board of Registration in Medicine v. Robert P. Weinberg during the years 1998

– 2002.

1833. PLAINTIFF ROBERT WEINBERG and BORIM both agreed to submit proposed

stipulated Findings of Fact, mutually agreed upon, on the undisputed issues of fact to DALA.

1834. In 2001, PLAINTIFF ROBERT WEINBERG and BORIM submitted their final

stipulated Proposed Findings of Fact to DALA.

            Stipulated Findings of Fact accepted by Magistrate Sarah Luick

1835. In April 2002, Magistrate Luick issued her Findings of Fact and Recommended Decision.

1836. Among the multiple Findings of Fact made by Magistrate Sarah Luick were the following

findings:


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        i. PLAINTIFF ROBERT WEINBERG and LC met with Dr Wolf in 1992 and signed an

agreement terminating the doctor-patient relationship;

        ii. held that when PLAINTIFF ROBERT WEINBERG resumed medical treatment of LC,

that act rescinded the contractual termination of the doctor-patient;

        iii. following the resumption of medical treatment, the sexual relationship between

PLAINTIFF ROBERT WEINBERG and LC comprised sexual misconduct;

        iv. in violation of the AMA Code of Ethics which prohibits sexual conduct between

        physicians and patients, PLAINTIFF ROBERT WEINBERG did engage in misconduct

        and unethical behavior.

1837. Magistrate Luick in her Recommended Decision recommended some disciplinary action

for PLAINTIFF ROBERT WEINBERG comprising license suspension/revocation.

1838. In October 2002, there was a hearing at BORIM where PLAINTIFF ROBERT

WEINBERG admitted making some errors of judgment, apologized to LC for any harms it

caused her, Board members asked PLAINTIFF ROBERT WEINBERG several questions, and

LC made a Victim’s statement.

1839.      Board counsel Alice Oliff falsely stated during the hearing, that the retroactive

application of a BORIM ruling made in 1998 to the conduct of PLAINTIFF ROBERT

WEINBERG committed in 1993 was consistent with the rules of law, ignoring the exception that

such retroactive application does not apply when it substantially increases the liability of the

subject.




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1840. October 30, 2002 BORIM revoked the medical license of PLAINTIFF ROBERT

WEINBERG, granting him the right to apply for reinstatement after 3 years, although the usual

period of license revocation was 5 years.

1841. Following the revocation of his license, PLAINTIFF ROBERT WEINBERG also was

excluded from Medicare under its regulations, and this exclusion prevented him from performing

any work for any hospital, clinic or university which receives Medicare funding.

1842. The revocation of his medical license caused irreparable harm and injuries to the Plaintiff,

including but not limited to extreme ostracism and social isolation, humiliation, personal

bankruptcy, divorce, mental health issues, loss of his DEA Controlled Substances Registration,

Medicare exclusion and the loss of multiple jobs due to the Medicare exclusion, in addition to

substantial disruption of subsequent academic programs when the license revocation was

incidentally discovered by co-workers surfing the internet.

1843. The total aggregate of economic injuries to the Plaintiff amount to over US

$6,000,000.00 (six million U.S. dollars) over a 21-year period of time.

1844. Some of the relevant legal issues raised by this case of First Impression without precedent

in Massachusetts nor in the United States where no case of a psychologist-mediated termination

of the doctor-patient relationship with formation and execution of an Express Bilateral Contract

can be found in any legal database:

(a). The contracts clause of the U.S. Constitution

The doctor-patient relationship is a contractual relationship with fiduciary responsibilities on the

part of the physician who has greater power in the power imbalance between the two parties.

Magistrate Luick did make a finding of fact that PLAINTIFF ROBERT WEINBERG and LC
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made a mutual agreement to terminate the doctor-patient relationship at HRI in September 1992

memorialized by a writing dictated by Dr Wolf. Such termination comprised an express bilateral

contract between PLAINTIFF ROBERT WEINBERG and LC. Magistrate Luick’s ruling that

PLAINTIFF ROBERT WEINBERG rescinded the contractual termination, by resuming medical

treatment, comprised state action interfering with the freedom to contract between private parties

guaranteed by the U.S. Constitution.

(b). The ex post facto clause of the U.S. Constitution

In spite of Alice Oliff’s representation to BORIM that the retroactive application of a 1998 rule

to conduct in 1993 was lawful and proper. Since such retroactive application imposed substantial

liability on PLAINTIFF ROBERT WEINBERG, such state action did comprise a violation of the

U.S. Constitution’s clause prohibiting ex post facto legislation of new law, resulting in

substantial liability for PLAINTIFF ROBERT WEINBERG and was the proximate cause for his

license revocation.

(c). Procedural Due Process guarantees of the Fifth Amendment, incorporated to the States by

Selective incorporation through the Fourteenth Amendment.

Because PLAINTIFF ROBERT WEINBERG did not know in 1993 that his conduct would be

prohibited by a rule promulgated by BORIM in 1998, he did not have adequate Notice of such

and by BORIM in 1998, he did not have adequate Notice of such and the subsequent revocation

of his medical license violated his right to Due Process of law because no notice was provided

prior to his conduct. Furthermore, the Plaintiff was denied his right to a FAIR HEARING with

an opportunity to be heard and present exculpatory evidence which exonerates the Plaintiff of all

wrongdoing.

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(d). The Bills of Attainder prohibition of the U.S. Constitution

In this case of first impression, without any precedent in the Commonwealth of Massachusetts

nor in any of the fifty states of the USA, where a physician and patient mutually terminated the

doctor-patient relationship under the guidance of a psychologist via a memorialized hand-written

Express Bilateral Contract, followed by a sexual relationship, and then subsequently with

resumption of medical care, the harsh application and treatment of PLAINTIFF ROBERT

WEINBERG by BORIM was tantamount to a Bill of Attainder, punishing PLAINTIFF

ROBERT WEINBERG for conduct for which he had no Notice, unprecedented, and comprised

state action/law uniquely applied to his situation, and not to any other cases, but was the unique

application of law to a single citizen.

(e). The American Medical Association’s Code of Ethics, regarding the prohibition of sexual

interaction between physicians and patients, does provide that such interactions may be

permissible if the physician first terminates the physician-patient relationship prior to beginning

any sexual relationship.

(f).     Violation of the Equal Protection clause

         Physicians involved sexually with their patients may be divided into two groups: those

thas subsequently marry their patients and those that do not. BORIM never disciplines nor

revokes the licenses of those physicians who marry their patients. BORIM will only discipline

those physicians who do not marry their patients. This comprises a discriminatory treatment of

the two groups of physicians which violates the Equal Protection clause of the Constitution and

must be judicially analyzed by the Strict Scrutiny standards.



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(g).     Burden on the fundamental right and liberty to marry

         As described above in paragraph (g), BORIM will only discipline physicians who do not

marry their patients and will not discipline physicians who marry their patients. These

regulations place an undue burden on the fundamental right and liberty to marry. The BORIM

regulations thereby coerce the physicians into deciding - either marry the patient or lose your

license to practice medicine.

(h)      Impairing the fundamental right to engage in gainful employment

         BORIM’s actions deprived the Plaintiff of the right to engage in gainful employment

because he could no longer practice medicine and numerous employers have refused to allow the

Plaintiff to work for them because of the posting on BORIM’s web site alleging that the Plaintiff

engaged in sexual misconduct.

1845. Alice Oliff’s misrepresentation to BORIM during the October 2002 hearing was unlawful

and improper in that she neglected to inform the board that such retroactive application was not

proper when it results in the creation of substantial liability.

        Lourdes Colon has Dissociative Identity Disorder with Multiple Personality Disorder

1846. The medical records and Expert Witnesss testimony shows that the defendant Lourdes

Colon suffers from Dissociative Identity Disorder along with Multiple Personality disorder.

1847. Below is the DSM-V criteria for Dissociative Identity Disorder, which Lourdes Colon

suffers from or did suffer from:




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1848.   Psychiatrist Expert Witness will present her Expert Opinion that defendant Lourdes

Colon suffers from a Dissociative Identity Disorder with Multiple Personality Disorder

                 Defendants MIT, Ann Graybiel, Nagina Mangal

        Title IX & hostile learning environment arising from Defendants’ defamatory

communications about Plaintiff’s sexual conduct, sexual behavior & sexual preferences

1849. Severe, substantial and devastating sexual discrimination against the Plaintiff began on

June 26, 2023, arising from communications and discussions regarding my prior sexual acts,

aspects of my sexuality, sexual behavior and/or sexual conduct.

1850. This devastating discrimination has caused a crisis in the Plaintiff’s life, and he is

currently receiving mental health counseling to deal with this crisis and suicidal thoughts.


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1851. There are 2 threshold questions to determine the validity of the Plaintiff’s Title IX

complaint against MIT and Professor Ann Graybiel.


   (a) At the morning June 26, 2023 private meeting between Professor Ann Graybiel and

   Postdoc Nagina Mangal, which of the Plaintiff’s sexual acts, aspects of my sexuality, sexual

   behavior and/or sexual conduct were discussed, which led to the precipitous, calamitous and

   catastrophic changes in Graybiel’s attitude and beliefs toward the Plaintiff resulting in: his

   exclusion from laboratory participation; removal from the CellREADR project; failure to

   introduce the Plaintiff at the Friday June 30, 2023 collaborative meeting with the Agouti lab;

   shunning and refusal to answer the Plaintiff’s request for a face-to-face meeting to discuss

   the precipitous change in Graybiel’s behavior; Graybiel’s refusal to answer the Plaintiff’s

   email about sponsoring a grad fellowship which he qualified for which would bring in sorely-

   needed research funding into the laboratory; Graybiel’s refusal to look at the Plaintiff in the

   eyes or to speak with the Plaintiff ever again; refusal to answer the Plaintiff’s emails; sudden

   and total exclusion of the Plaintiff from the laboratory; refusal to have any communication or

   contact with the Plaintiff; leading to the termination letter sent by Graybiel to the Plaintiff

   during the week of July 3, 2023, breaching the academic contract which the Plaintiff had

   with MIT and aborting the letter of invitation which Graybiel sent to the Plaintiff in August

   2022; and what specific information was communicated to Graybiel from Mangal the

   morning of June 26, 2023, specifically relating to the Plaintiff’s prior sexual acts, sexuality,

   sexual behavior or sexual conduct?

   (b) After joyously greeting the Plaintiff around 9 am on the morning of June 26, 2023,

   having just returned from her European trip to Sweden and Ireland, happy to see the Plaintiff

   and smiling with a glitter in her eyes and sharing with the Plaintiff his happiness over his
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   continued weight loss on his new diet, what information was conveyed by Mangal at the

   subsequent meeting at approximately 10 am which led to a dramatic and cataclysmic change

   in Graybiel’s attitude and beliefs toward the Plaintiff such that she would never look at the

   Plaintiff in the eyes again, never smile at the Plaintiff again, and wanted to have no contact

   nor communication with the Plaintiff ever again, and apparently decided to exclude the

   Plaintiff from all lab participation or research, and how that change in her attitude and beliefs

   toward the Plaintiff related to the Plaintiff’s prior sexual acts, aspects of his sexuality, sexual

   behavior or sexual conduct?

1852. It was so ironic and bewildering that the Plaintiff found himself writing a detailed

Personal Statement documenting the Sexual Discrimination which he began to experience from

Anne Graybiel, Nagina Mangal and the Massachusetts Institute of Technology (MIT) beginning

on June 26, 2023, which was totally inapposite and contrary to the attitudes and beliefs which he

experienced between June 2022 until June 26, 2023.

1853. Actually the Plaintiff did experience some of this discriminatory attitude from Nagina

Mangal the week prior to June 26, 2023, when she apparently learned specific information about

the Plaintiff’s prior sexual acts, aspects of my sexuality, sexual behavior or sexual conduct.

1854. Anne Graybiel is a professor of neuroscience at MIT, and a world-reknown researcher on

the neuroscience of the basal ganglia and its functioning in cognition, learning, mood disorders,

addictions, obsessive-compulsive disorder and Huntington’s disease.

1855. Nagina Mangal had just completed her PhD in cancer biochemistry at the University of

London and was beginning her first postdoc position at MIT in May 2023 when she joined the

laboratory of Ann Graybiel.

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1856. From June 2022, when the Plaintiff made his first powerpoint presentation to the

Graybiel lab, until the morning of June 26, 2023, the Plaintiff felt warm, friendly, responsive,

encouraging and respectful attitudes from Professor Ann Graybiel.

1857. In September 2022, Graybiel had excitedly and exuberantly expressed to the Plaintiff that

she was so glad that the Plaintiff decided to join the Graybiel lab.

1858. For most of the 12 months from June 2022 to May 2023, there were warm, friendly and

cordial relations between Ann Graybiel and the Plaintiff.

1859. The Plaintiff was very happy to be part of the Graybiel lab and really enjoyed the

research he was doing there as well as his relationships with the other students and Research

Scientists in the lab.

1860. Prior to June 26, 2023, the Plaintiff never felt any animosity, anger, nor any type of

discrimination in the lab.

1861. All this changed dramatically on June 26, 2023.

1862.    On the morning of June 26, 2023, after returning from a trip to Europe, around 9 am in

the morning Graybiel ran up to the Plaintiff smiling and sharing the joy about his successful diet

and weight loss where he lost 35 lbs since January 2023.

1863.   The Plaintiff spoke briefly with Ann that morning about the ongoing research, and she

specifically asked how Nagina Mangal, the new postdoc, was doing and adjusting to the lab.

1864.    This (9 am) was about one hour before Graybiel was to meet with Nagina Mangal in her

office, and was also the last time that Graybiel would look at the Plaintiff in the eyes, smile at the

Plaintiff, speak to the Plaintiff or respectfully include the Plaintiff as part of the laboratory.

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1865.   The Plaintiff correctly surmised that when Graybiel would meet with Mangal at about 10

am the morning of June 26, 2023, Mangal would communicate to Graybiel information

concerning the Plaintiff’s specific prior sexual acts, his sexuality, sexual conduct and sexual

preferences, which was available for access on the Internet.

1866.       Apparently Mangal had learned this information about the Plaintiff’s prior sexual acts,

his sexuality, sexual conduct and sexual preferences during the previous week, when she

dramatically changed her attitudes and beliefs toward the Plaintiff, terminated a joint project we

were working on - drafting a literature review on the role of cannabinoids on the brain in the

CNS, and began to actively shun the Plaintiff.

1867.       These prior sexual acts, the Plaintiff’s sexuality, sexual conduct and sexual preferences

dating back to 1992-93, some 30 years prior to the present time, were documented on the

internet.

1868.       It was never alleged nor was the Plaintiff ever convicted of any crime involving his

prior sexual acts, his sexuality, sexual conduct and/or sexual preferences.

1869.       However, due to a perceived conflict of interest in the doctor-patient relationship, which

the board considered a question of unethical conduct (but not criminal conduct), the

Massachusetts Board of Registration in Medicine revoked the Plaintiff’s medical license in 2002,

granting him the right to petition for reinstatement of his license after three (3) years in 2005 - in

spite of the fact that most medical license revocations were for a period of five (5) years.

1870.       No one in the Graybiel lab had ever seen or experienced the Plaintiff engaging in any of

those sexual acts, my sexuality, sexual conduct and/or sexual preferences.



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1871.    The Plaintiff had always maintained friendly and respectful relations with all the

students, postdocs and Research Scientists in the Graybiel lab and around MIT in general.

1872.     There was never any complaint (which the Plaintiff knew of) from any of the students,

postdocs or faculty associated with the Graybiel lab - until June 26, 2023.

1873.    The Plaintiff’s life has been devastated since June 26, 2023.

1874.   All the Plaintiff’s career and professional goals have been derailed by these events.

1875.    During the week following June 26, the Plaintiff went into a “melt-down” and sent a

number of irrational and extreme emails to Graybiel, when it became evident to him that

Graybiel would never look at him in the eyes again, nor smile at him, nor speak to him or

respectfully include him as part of the laboratory.

1876.    The Plaintiff fell again into a deep depression, with some suicidal ideation.

1877.    The Plaintiff is now in counseling to attempt to stabilize his mental health, trying to find

a reason to live.

1878.   Since the Plaintiff first met Anne Graybiel in June 2022, he believed her to be a good,

honest, caring and non-discriminating person, until she returned from a recent trip to Europe and

sat down to discuss specific facts with Nagina Mangal about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct, sexual behavior and/or sexual preferences, which were only known to

a handful of individuals at MIT between 2010 and 2019, but which could be discovered online

by Googling the Plaintiff’s name.

1879.   During the week prior to her return from Europe, the new postdoc in the Graybiel lab,

Nagina Mangal, showed a dramatic and drastic change in her attitude toward the Plaintiff,

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shunning him, and also unexpectedly terminating a project she had started together with the

Plaintiff on writing a literature review on the cannabinoid receptors in the brain and their role in

modulating the behavior and cognition regulated by the Basal Ganglia.

1880.      Near the end of May 2023, a new postdoc Nagina Mangal joined the Graybiel lab and

became good friends with the Plaintiff.

1881.      Nagina was delighted during her first week at MIT when the Plaintiff brought her over

to the MIT Atlas center where she was able to pick up her new MIT ID card, followed by the

Plaintiff providing Nagina with a personal tour of the MIT campus which is relatively large, and

she learned where the Athletics center, Student Center, library and other academic buildings are

located.

1882.      The first week of June 2023, the Brain and Cognitive Sciences department held their

annual research symposium on Cape Cod.

1883.      Some lab members traveled by a departmental bus to the Cape Cod location, but the

Plaintiff offered to drive several lab members in his car, as he decided to drive there and have the

flexibility of having his car accessible.

1884.      The Plaintiff filled up his car - a Toyota Sequoia - with 6 lab colleagues, including

Nagina, Georgios, Gun, Michael, Fred and the Plaintiff himself.

1885.      Nagina was delighted to ride in the front passenger seat, and thie Plaintiff pointed out

Massachusetts landmarks while the group drove to the Cape.




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1886.   Another friend of the Plaintiff had extra tickets to the Red Sox baseball game the week

after the research symposium, so the Plaintiff invited Nagina to her first baseball game in

America and Nagina and the Plaintiff went to the Red Sox game together.

1887.     Prior to the game, Nagina and the Plaintiff walked around the Kenmore Square

neighborhood and Nagina shared some knowledge about some specific restaurants she ate at

earlier in June.

1888.    The Plaintiff shared much information and knowledge about the Boston neighborhoods

with Nagina, and when she learned that she needed to find a new place to live, the Plaintiff

helped her find a new home and also some furniture.

1889.   The sharing of information, disclosing specific facts about Student Weinberg’s prior

sexual acts, sexuality, sexual behavior, sexual conduct and sexual preferences in 1992-2002,

precipitated an immediate and drastic change in Graybiel’s attitude toward the Plaintiff,

changing the Plaintiff’s role and status in the laboratory, substantially curtailing his educational

plans and options.

1890.    Prior to June 2023, no one in the Graybiel lab suspected anything about the Plaintiff’s

prior sexual acts, sexuality, sexual conduct and sexual preferences (to the best of his knowledge).

1891. However, while working as a Research Scientist in the Dept of Biology from 2010

through 2019, the Biology Dept initiated an investigation into the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences.

1891.    In the MIT Policies is listed policy 9.5 on Sexual Harassment and gender-based

harassment which is also available online:



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“MIT Policy 9.5: Sexual Harassment and Gender-based Harassment

        [From: https://policies.mit.edu]

1892.   9.5 Harassment (This policy was last updated December 20, 2021. See the update history

page for more information.)

1893.   In order to create a respectful, welcoming and productive community, the Institute is

committed to providing a living, working and learning environment that is free from harassment.

1894.   Harassment is defined as unwelcome conduct of a verbal, nonverbal or physical nature

that is sufficiently severe or pervasive to create a work or academic environment that a

reasonable person would consider intimidating, hostile or abusive and that adversely affects an

individual’s educational, work, or living environment.

1895.   In determining whether unwelcome conduct is harassing, the Institute will examine the

totality of the circumstances surrounding the conduct, including its frequency, nature and

severity, the relationship between the parties and the context in which the conduct occurred.

2874. Below is a partial list of examples of conduct that would likely be considered harassing,

followed by a partial list of examples that would likely not constitute harassment:

1896. Examples of possibly harassing conduct: Public and personal tirades; deliberate and

repeated humiliation; deliberate interference with the life or work of another person; the use of

certain racial epithets; deliberate desecration of religious articles or places; repeated insults about

loss of personal and professional competence based on age.

1897. Examples of conduct that is likely not harassment: Administrative actions like

performance reviews (including negative performance reviews) and making work assignments;


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other work-related decisions like moving work areas or changing work colleagues; and isolated

incidents (unless, as noted above, they are very severe, such as the use of certain racial epithets).

1898. Information on different ways to raise concerns about harassment can be found on the

Complaint Process and Resolution website.

1899. Conduct that does not rise to the level of harassment may still violate Section 9.2.

1900. Even conduct that does not violate an MIT policy may be inappropriate and any

inappropriate conduct should be addressed by the supervisor or department head.

1901. While MIT’s harassment policy is not limited to harassment based on the protected

categories listed in Section 9.3, the Institute is particularly committed to eliminating harassment

based on those categories.

1902. Harassment that is based on an individual’s race, color, sex, sexual orientation, gender

identity, pregnancy, religion, disability, age, genetic information, veteran status, or national or

ethnic origin is not only a violation of MIT policy but may also violate federal and state law,

including Title IX of the Education Amendments of 1972, Title VII of the Civil Rights Act of

1964, and Mass. General Laws Chapter 151B. [For information on how to file complaints of

violation of law with governmental agencies see Section 9.8.5.9 Legal Information.]

1903. 9.5.1 Sexual Harassment, Sexual Misconduct, Gender-Based Harassment, Title IX Sexual

Harassment

1904. 2879. The Institute’s policy against harassment specifically includes a prohibition

against sexual harassment, sexual misconduct, and gender-based harassment if the conduct meets




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the standards of harassment set forth above and has a connection to MIT as described in Section

9.1.

1905. 2880. Additional guidance is set forth on the Institute Discrimination & Harassment

Response Office website.

1906. 2881. In addition, special procedures apply to formal complaints of sexual harassment

covered under Title IX Sexual Harassment as defined in Section 9.5.1.4.

1907. 9.5.1.1 Sexual Harassment

1908. 2882. Sexual harassment is unwelcome conduct of a sexual nature, such as unwelcome

sexual advances, requests for sexual favors, or other verbal, nonverbal, or physical conduct of a

sexual nature, when:

1909. Submission to such conduct is made either explicitly or implicitly a term or condition of

an individual’s employment or academic standing; or

1910. Submission to or rejection of such conduct by an individual is used as the basis for

significant employment decisions (such as advancement, performance evaluation, or work

schedule) or academic decisions (such as grading or letters of recommendation) affecting that

individual; or

1911. The conduct is sufficiently severe or pervasive that a reasonable person would consider it

intimidating, hostile or abusive and it adversely affects an individual’s educational, work, or

living environment.

1912. A partial list of examples of conduct that might be deemed to constitute sexual

harassment if sufficiently severe or pervasive include:

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1913. Examples of verbal sexual harassment may include unwelcome conduct such as sexual

flirtation, advances or propositions or requests for sexual activity or dates; asking about someone

else's sexual activities, fantasies, preferences, or history; discussing one’s own sexual activities,

fantasies, preferences, or history; verbal abuse of a sexual nature; suggestive comments; sexually

explicit jokes; turning discussions at work or in the academic environment to sexual topics; and

making offensive sounds such as "wolf whistles.

1914. Examples of nonverbal sexual harassment may include unwelcome conduct such as

displaying sexual objects, pictures or other images; invading a person's personal body space,

such as standing closer than appropriate or necessary or hovering; displaying or wearing objects

or items of clothing which express sexually offensive content; making sexual gestures with

hands or body movements; looking at a person in a sexually suggestive or intimidating manner;

or delivering unwanted letters, gifts, or other items of a sexual nature.

1915. MIT Policy - 9.5.1.2 Sexual Misconduct

1916.   Sexual misconduct is a broad term that includes sexual assault (rape, sexual fondling,

incest or statutory rape) as well sexual exploitation and sexual harassment.

1917.   Further definitions can be found on the Institute Discrimination & Harassment Response

Office website.

1918.   Domestic violence and dating violence by an MIT faculty, staff or other community

member also violate this policy.

1919.    Domestic violence and dating violence are defined on the Institute Discrimination &

Harassment Response Office website.


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1920.      MIT Policy - 9.5.1.3 Gender-Based Harassment

1921.   Gender-based harassment is unwelcome verbal or nonverbal conduct based on gender,

sex, sex-stereotyping, sexual orientation, gender identity, or pregnancy that meets the definitions

above of harassment.

1922.      Gender-based harassment may also involve conduct of a sexual nature.

1923.   MIT Policy - 9.5.1.4 Title IX Sexual Harassment

1924.      Although MIT broadly prohibits sexual harassment and other forms of sexual

misconduct, federal Title IX regulations require MIT to follow specific processes when the

Institute has actual knowledge of a report of certain categories of sexual misconduct, referred to

as “Title IX Sexual Harassment.”

1925.      Title IX Sexual Harassment means: Conduct on the basis of sex that satisfies one or

more of the following:

1926. An employee of MIT conditioning the provision of an aid, benefit, or service of MIT on

an individual’s participation in unwelcome sexual conduct;

1927. Unwelcome conduct determined by a reasonable person to be so severe, pervasive, and

objectively offensive that it effectively denies a person equal access to MIT’s education program

or activity; or

1928. “Sexual assault,” “dating violence,” “domestic violence,” or “stalking,” as defined by

federal law and set out on the Institute Discrimination and Harassment Response (IDHR)

website.



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1929. MIT must follow the specific processes cited below when it receives a formal complaint

of Title IX Sexual Harassment and where all of the following apply:

1930. At the time of filing a formal complaint, the Complainant was/is participating in or

attempting to participate in the education program or activity at MIT;

1931. The alleged conduct occurred in an education program or activity controlled by MIT; and

1932. The alleged conduct occurred against a person in the United States.

1933. Information about MIT’s processes for responding to reports of Title IX Sexual

Harassment is available here.

1934. Formal Complaints of Title IX Sexual Harassment are investigated in accordance with

the IDHR Investigation Guide and hearings are held in accordance with the process available

here for complaints against a faculty member, staff member, or postdoctoral scholar (fellow or

associate) and in the Title IX Sexual Harassment Hearing Procedures in the Committee on

Discipline Rules for complaints against students.

1935.   Formal Complaints of sexual harassment and sexual misconduct that do not meet the

definition of Title IX Sexual Harassment are addressed under the complaint resolution process

described in Section 9.8 for complaints against a faculty member, staff member, or postdoctoral

scholar (fellow or associate) and in the Sexual Misconduct Hearing Procedures (Non-Title IX

Sexual Harassment) in the Committee on Discipline Rules for complaints against students.

1936.    MIT prohibits retaliation as set forth in Section 9.7 and the Mind and Handbook.

1937. In the context of Title IX Sexual Harassment, this means that: No person may intimidate,

threaten, coerce, or discriminate against any individual:

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1938. for the purpose of interfering with any right or privilege secured by Title IX, or

1939. because the individual has made a report or complaint, testified, assisted, or participated

or refused to participate in any manner in a Title IX Sexual Harassment investigation,

proceeding, or hearing.

1940. In addition, retaliation also includes intimidation, threats, coercion, or discrimination,

including charges against an individual for policy violations that do not involve sex

discrimination or sexual harassment, but arise out of the same facts or circumstances as a report

or complaint of sex discrimination, or a report or formal complaint of Title IX Sexual 2899.

1941. Harassment, for the purpose of interfering with any right or privilege secured by Title IX.

1942. Click here for additional definitions relevant to this Title IX Sexual Harassment policy.

1943. MIT Policy 9.5.1.5 Notification of Allegations of Sexual Misconduct and Sexual

Harassment of Students

1944. Any MIT employee (including faculty and staff) who is informed of an allegation of

sexual harassment or sexual misconduct involving an MIT student must promptly notify the

Institute Discrimination and Harassment Response Office (IDHR) of the allegation. Graduate

resident advisors, teaching assistants, and other students with advising or teaching

responsibilities have this obligation to disclose when they are informed of an allegation due to

their respective role, by notifying IDHR.

1945. Note that, as defined above, sexual harassment and sexual misconduct are broad terms

and include dating and domestic violence as well as stalking.




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1946. Staff who are designated as Confidential Resources do not have this obligation to

disclose.

1947.     See Section 7.3.1 about responsibilities of supervisors to report certain allegations made

against employees.

1948. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff causing significant humiliation and deprivation of educational

opportunities.

1949. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff resulting in his immediate removal from the CellREADR

chimeric RNA project which he led and spearheaded from November 2022 through June 2023.

1950. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff resulting in his humiliation, along with exclusion and

isolation from laboratory activities which he had been participating in during the prior 12

months.

1951. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff resulting in Graybiel shunning and excluding the Plaintiff

from day-to-day activities.



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1952. The Plaintiff began to experience a severely hostile learning environment which was

unbearable to put up with.

1953. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff with Graybiel refusing to answer common questions and

emails which she routinely answered during the prior 12 months.

1954. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff with Graybiel refusing to acknowledge and refusal to look at

the Plaintiff in the eyes during lab meetings.

1955. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff with Graybiel breaching a 1-year academic contract which the

Plaintiff had with MIT terminating the Plaintiff’s expectations regarding obtaining data and

completing his thesis in the Graybiel lab.

1956. This severely disrupted the Plaintiff’s plans to write his thesis in the Graybiel lab on

astrocyte-neuronal interactions in the Basal Ganglia during Maternal Immune Activation, which

the Plaintiff spent over 350 hours working on, drafting research proposals and making 4 different

hour-long presentations in the Graybiel lab over the prior year.

1957. These proposals and talks were communicated with his Graduate Advisor at the

Massachusetts College of Pharmacy and Health Sciences.



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1958. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff with Graybiel retaliating against the Plaintiff by drafting a

letter of termination from the Graybiel lab.

1959. In spite of the repeated expression from Graybiel that the lab needed additional funding

to continue its research, when the Plaintiff emailed Graybiel about a Graduate fellowship he was

eligible for which would provide additional research funding, asking whether Graybiel would

serve as PI on the fellowship research funding, Graybiel never replied to this request because of

her Sexual Discrimination against the Plaintiff resulting from Conversation and discussion about

specific facts about the Plaintiff’s prior sexual acts, sexuality, sexual conduct and sexual

preferences.

1960. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences, resulted in obvious and substantial sexual

discrimination against the Plaintiff with Graybiel terminating Plaintiff’s role in the CellREADR

project, and placing Nagina Mangal in charge of the CellREADR project.

1961. Since the Plaintiff’s childhood neurodevelopmental problems following cerebral ischemia

during birth resulting in significant developmental delays and a speech impediment for which the

Plaintifff received speech therapy in Elementary School for 5 years to assist him in becoming

able to communicate with others so that they could understand me, the Plaintiff became strongly

attracted to the field of neuroscience.




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1962. The neonatal cerebral ischemia with its resulting brain damage, placed the Plaintiff on the

path toward wanting to understand more about how the brain functions and what went wrong in

Plaintiff’s case.

1963. A head trauma in 1964 resulted in an intracranial bleed in the Plaintiff’s head, bringing

him to the brink of death, but neurosurgery by the surgeon Dr Tarlov at the Flower and Fifth

Avenue Hospital in New York City saved the Plaintiff.

1964. In 1964, the neurosurgeons drilled a hole in Plaintiff’s skull (craniotomy), evacuated the

hemorrhage from his head, and placed a celluloid patch over the bleeding vessel to stop the

hemorrhage.

1965. Plaintiff’s head injury resulted in post-concussion syndrome possibly along with some

impulse control disorder.

1966. Prior physicians have also diagnosed the Plaintiff with Concussive Head Trauma

syndrome.

1967. These head and brain injuries instilled in the Plaintiff a life-long interest in the brain and

neuroscience.

1968. Subsequent personal challenges with endogenous depression and Attention Deficit

Disorder (ADD) further piqued the Plaintiff’s interest in the workings of the brain.

1969. Throughout college, medical school and graduate school, the Plaintiff has taken multiple

courses in the neurosciences, and decided while working on his PhD in Pharmacology to focus

on specific neuronal pathways in the basal ganglia important for learning, cognition, mood

disorders, drug addictions, and Huntington’s disease.

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1970. The Plaintiff has been extremely interested in neuroscience over his entire life, taking

multiple courses, seminars and workshops to learn more about the human brain and

neuroscience.

1971. When applying to Harvard Medical School in 2013, the Plaintiff was torn between

getting a master’s in neuroscience or in immunology, and finally decided on Immunology.

1972. More recently when applying to graduate school in 2018, the Plaintiff was again faced

with the dilemma of getting a PhD in Neuroscience or in Pharmacology, and finally decided to

go for Pharmacology as a wider more general area which would later provide him with more

career and research opportunities in a wider field of knowledge.

1973. MIT has a well-documented policy against sexual discrimination or harassment which

can be accessed on the MIT web site: https://policies.mit.edu/policies-procedures/90-relations-

and-responsibilities-within-mit-community/93-nondiscrimination and

https://policies.mit.edu/policies-procedures/90-relations-and-responsibilities-within-mit-

community/95-harassment#9.5.1

1974. MIT POLICY AGAINST DISCRIMINATION, HARASSMENT, SEXUAL

HARASSMENT, AND RETALIATION (2021)

1975. •Harvard university and all its schools are committed to provide a safe and respectful

work environment for every member of our community.

1976. •Each member and affiliate to Harvard T. H Chan School of Public Health is expected to

treat their colleagues and members of the community with respect and dignity.




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1977. Any form of discrimination and/or harassment based on race, sex, religion, creed, color,

national or ethnic origin, age, disability, military status, marital status, sexual orientation, gender,

gender identity or expression, genetic information, pregnancy or a condition related to pregnancy

or any other characteristic protected by law is not acceptable.

1978. Conversation and discussion about specific facts about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences between Ann Graybiel and Nagina Mangal,

resulted in obvious and substantial sexual discrimination and sexual harassment against the

Plaintiff.

1979. SEXUAL AND GENDER-BASED HARASSMENT POLICY AND PROCEDURES

FOR THE FACULTY OF ARTS AND SCIENCES AT HARVARD UNIVERSITY

1980. “Harvard is committed to fostering an open and supportive community that promotes

learning, teaching, research, and discovery. This commitment includes maintaining a safe and

healthy educational and work environment in which no member of the community is excluded

from participation in, denied the benefits of, or subjected to discrimination in any University

program or activity on the basis of sex, sexual orientation, or gender identity. Because sexual and

gender-based harassment – including, but not limited to, sexual violence – interfere with an

individual’s ability to participate fully in or benefit fully from University programs or activities,

they constitute unacceptable forms of discrimination.” (SEXUAL AND GENDER-BASED

HARASSMENT POLICY AND PROCEDURES FOR THE FACULTY OF ARTS AND

SCIENCES AT HARVARD UNIVERSITY, 2015).

1981. Discrimination Policy at Harvard University



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1982. Definition: “Subjecting someone to unequal terms of employment/benefits based on an

individual’s protected characteristic(s)”.

1983. It is unlawful and will not be tolerated.

1984. An employer (Faculty, staff, or any affiliated positions) may not discriminate against an

individual on the basis of race, sex, religion, creed, color, national or ethnic origin, age,

disability, military status, marital status, sexual orientation, gender, gender identity or

expression, genetic information, pregnancy or a condition related to pregnancy, or any other

characteristic that is protected by law with respect to hiring, discharge, compensation, promotion,

classification, training, assignments, or other terms, conditions and privileges of employment.

1985. Harassment policy at Harvard University

1986. •Any conduct that denigrates or shows hostility or aversion to a person because of race,

sex, religion, creed, color, national or ethnic origin, age, disability, military status, marital status,

sexual orientation, gender, gender identity or expression, genetic information, pregnancy or a

condition related to pregnancy or any other characteristic protected by law.

1987. •Such behavior has the purpose or effect of:

1) Creating an intimidating, hostile, or offensive work environment.

2) Unreasonably interfering with an individual’s learning/work performance or adversely

affecting an individual’s learning/employment opportunities.

1988. Examples of Sexual Harassment

• Using racial epithets, slurs, or other negative stereotyping


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• Jokes or pranks that focus on a protected characteristic

• Circulating or displaying written or graphic material – whether placed on walls, bulletin boards,

or elsewhere on the students/employers premises, circulated in the university/workplace, or sent

through electronic transmission, including but not limited to email, social networking sites, text

messaging, fax, internet, or voice mail systems – that denigrates or shows hostility or aversion

toward a person or a group because of a protected characteristic

1989. •Threatening, intimidating or hostile acts towards an individual because of a protected

characteristic.

1990. •Sexual harassment is defined as unwelcome sexual advances, requests for sexual favors,

and any conduct of a sexual nature.

1991. •Requests or conduct is made either explicitly or implicitly as a term or condition of

grades, employment or as a basis for employment decisions, such as promotions, assignments,

salary, or scheduling; or similar.

1992. •This conduct can have the purpose or effect of unreasonably interfering with an

individual’s learning/ work performance by creating an intimidating, hostile, humiliating or

offensive work environment.

1993. Sexual harassment may occur regardless of the intention of the person engaging in the

conduct.

1994. More Sexual Harassment examples




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1995. The following conduct/acts, which, if unwelcome, may constitute sexual harassment,

depending upon the totality of the circumstances, including the severity of the conduct and its

pervasiveness

• Sexual advances, whether or not they involve physical touching

• Requests for sexual favors in exchange for, or to prevent the denial or withholding of, actual or

promised job benefits such as favorable reviews, salary increases, promotions, increased

benefits, or continued employment;

• Sexual jokes;

• Use of sexual epithets, written or oral references to sexual conduct, gossip regarding one’s sex

life, comments on an individual’s body;

• Comments about an individual’s sexual activity, deficiencies or prowess;

• Displaying sexually suggestive objects, pictures, cartoons;

• Leering, whistling, brushing against the body, sexual gestures, suggestive or insulting

comments; Inquiries into one’s sexual experiences;

• Discussions of one’s sexual activities; and

• Assault or coerced sexual acts.

• Stalking

•Commenting about or inappropriately touching an individual's body

1996. Sexual Harassment policy at Harvard University



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1997. Sexual harassment is particularly serious when someone is perceived to be in a position

to exercise professional power and directs the inappropriate behavior towards a subordinate such

as subordinate staff, student or trainee.

1998. •Sexual harassment can be perpetrated by any gender against any gender.

1999. Sexual and gender-based harassment

2000. It can take many different forms and encompass a range of behaviors including (but not

limited to:

- Unwelcome sexual conduct, such as sexual advances,

- Persuaded to do something by using force or threats/coerced sexual activity

- Dating violence

- Criticism based on sex, sexual orientation, or gender identity.

2001. Sexual harassment can take the form of speech

2002. It is important to reiterate the Free Speech Guidelines, adopted in May 15th 1990

2003. They are designed to safeguard freedom of speech and inquiry for all members of our

community.

2004. It is therefore imperative that freedom of expression, including unpopular and even

obnoxious speech, be protected.

2005. At the same time, however, the guidelines note, “There are obligations of civility and

respect for others that underlie rational discourse.



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2006. Racial, sexual, and intense personal harassment not only show grave disrespect for the

dignity of others, but also prevent rational discourse

2007. Sexual Harassment

2008. Other verbal, nonverbal, graphic, or physical conduct may create a hostile environment if

the conduct is sufficiently persistent, pervasive, or severe so as to deny a person equal access to

the University’s programs or activities

2009. Unwelcome conduct

2010. Unwelcome conduct is defined as:

2011. Conduct is unwelcome if a person

(1) did not request or invite it and

(2) regarded the unrequested or uninvited conduct as undesirable or offensive. That a person

welcomes some sexual contact does not necessarily mean that person welcomes other sexual

contact.

(3) Similarly, that a person willingly participates in conduct on one occasion does not necessarily

mean that the same conduct is welcome on a subsequent occasion.

(4) “In addition, when a person is so impaired or incapacitated as to be incapable of requesting or

inviting the conduct, conduct of a sexual nature is deemed unwelcome, provided that the

Respondent knew or reasonably should have known of the person’s impairment or incapacity.

2012. The person may be impaired or incapacitated as a result of drugs or alcohol or for some

other reason, such as sleep or unconsciousness.


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2013.    A Respondent’s impairment at the time of the incident as a result of drugs or alcohol

does not, however, diminish the Respondent’s responsibility for sexual or gender-based

harassment under this Policy

2014. Gender-Based Harassment

“•Gender-based harassment is verbal, nonverbal, graphic, or physical aggression, intimidation, or

hostile conduct based on sex, sex-stereotyping, sexual orientation or gender identity, but not

involving conduct of a sexual nature,

•When such conduct is sufficiently severe, persistent, or pervasive that it interferes with or limits

a person’s ability to participate in or benefit from the University’s education or work programs

or activities.

•For example, persistent criticism of, or unkind remarks of a person based on a perceived lack of

stereotypical masculinity or femininity or exclusion from an activity based on sexual orientation

or gender identity also may violate this Policy

2012. Retaliation

2013. •Retaliation occurs when an student/ employee is punished for making a good faith report

of known or suspected inappropriate conduct or activities non-compliant with state or federal law

or institutional policy.

2014. Retaliation can include, but is not limited to:

-Any negative feedback/grade,

- Remove/change of groups/ remove leader positions in learning activities.


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- Threats with low grades

- Lies about bad performance

- Threats to remove student from the program

-Job action such as demotion, discipline, firing, salary reduction, job or shift reassignment

2015. RELATIONSHIP AT THE WORKPLACE - POLICY

2016. The purpose of this policy is to provide guidelines to all employees, contractors and

visitors at Harvard University.

2017. Employing Family or Household Members Working

• Employment of family members in situations where one family member has direct influence

over the other's conditions of employment (i.e., salary, hours worked, shifts, etc.), and a

supervisor/subordinate relationship exists, is prohibited

• In the event that an employee is unsure about a potential conflict, they should fully disclose the

circumstances to their supervisor in consultation with HR and await a determination.

2018. Relationships at Work

2019. Employees are encouraged to socialize and develop professional relationships within the

workplace provided that these relationships do not interfere with the work performance of either

individual or with the effective functioning of the work group.

2020. Employees who engage in personal relationships (including romantic or sexual

relationships) should be aware of their professional responsibilities and will be responsible for

ensuring that the relationship does not create discomfort or raise concerns about favoritism, bias,

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ethics and conflict of interest. In cases of doubt, advice and counsel should be sought from the

employee’s supervisor or Human Resources.

2021. RELATIONSHIP AT THE WORKPLACE - POLICY

2022. Romantic or sexual relationships or conduct is inappropriate between employees in which

one individual supervises, evaluates, teaches, mentors, advises, counsels, coaches or otherwise

has influence or authority over the other employee, and such asymmetric relationships will be

immediately addressed upon disclosure. These relationships, even if consensual, may ultimately

result in conflict or difficulties in the workplace, and the more senior person will be held

accountable for any policy violation.

2023. •When employees interact with students/patient, employees are in a position of trust and

power. In relationships with students/patients, the employee is expected to be aware of his/her

professional responsibilities and to avoid apparent or actual conflict of interest, favoritism or

bias. Romantic and/or sexual relationships are prohibited between a student/patient and an

employee. Efforts by employees to initiate these relationships or respond to an overture by a

student/patient are also prohibited.”

2024.   Harvard University policies:




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2025. Monitoring and Confidentiality
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A variety of resources are available at the University and in the area to assist those who have

experienced gender-based or sexual harassment, including sexual violence.

“Individuals considering making a disclosure to University resources should make sure

they have informed expectations concerning privacy and confidentiality.

The University is committed to providing all possible assistance in understanding

these issues and helping individuals to make an informed decision.

It is important to understand that, while the University will treat information it has

received with appropriate sensitivity, University personnel may nonetheless need to

share certain information with those at the University responsible for stopping or

preventing sexual or gender-based harassment

2026. Other Important Resources

•Policy Against Discrimination, Harassment, Sexual Harassment, and Retaliation

•Non-Retaliation

•Corrective Action

•Violence in the Workplace

•Code of Conduct

•Standards of Behavior




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1980: U.S. Department of Education was created.
– Title IX oversight transferred to Dept. of Ed.’s Office for Civil
Rights (OCR).
• 1982: Supreme Court holds “Employment discrimination
comes within Title IX’s prohibition,” North Haven Bd. of
Education v. Bell, 452 U.S. 512.




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2030.                   Harvard University Policies
“The Faculty of Arts and Sciences (FAS) is committed to fostering an open and supportive
community that promotes learning, teaching, research, and discovery.

This commitment includes maintaining a safe and healthy educational and work environment in
which no member of the community is excluded from participation in, denied the benefits of, or
subjected to discrimination in any University program or activity on the basis of sex, sexual
orientation, or gender identity.

Because sexual and gender-based harassment – including, but not limited to, sexual violence –
interfere with an individual’s ability to participate fully in or benefit fully from University programs
or activities, they constitute unacceptable forms of discrimination. This FAS Sexual and Gender
Based Harassment Policy and Procedures (“Policy” and “Procedures”) forms one part of a range of
measures within the FAS designed to prevent discrimination or harassment based on any protected
class, including race, religion, national origin, ethnicity, citizenship, age, sex, veteran status, or
disability. While this Policy focuses on sexual and gender-based harassment, it is important to
recognize the ways in which all forms of discrimination reduce our potential as a community of
learners and teachers.

Sexual and gender-based harassment can take many different forms and encompass a range of
behaviors including (but not limited to) unwelcome sexual conduct, such as sexual advances, coerced
sexual activity, and dating violence, and persistent disparagement based on sex, sexual orientation, or
gender identity. What links all forms of sexual and gender-based harassment is the fundamental
undermining of a person’s ability to enjoy the programs or resources provided by our University. To
tolerate restrictions of any individual’s access to the University’s programs or resources because of
sex, sexual orientation or gender identity is to diminish the vitality of our entire community and is
contrary to the values of inclusiveness and open inquiry that undergird true learning.

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Sometimes a person may make incorrect assumptions about another person’s sex, sexual orientation,
or gender identity. Harassment based on incorrect assumptions about sex, sexual orientation, or
gender identity is prohibited under this Policy. For example, the FAS does not allow harassment
based on the belief that someone is gay whether or not that person is actually gay.
Because some sexual harassment can take the form of speech, it is important to reiterate the Free
Speech Guidelines (“Guidelines”) adopted by the Faculty of Arts and Sciences on February 13 and
May 15, 1990. These Guidelines pertain not only to “speakers, protestors, and audience,” but also
to our interactions with one another inside and outside of the classroom. They are designed to
safeguard freedom of speech and inquiry for all members of our community, including those whose
participation could othePlaintiff Robert Weinbergise be marginalized by ostracism or harassment. As
the Guidelines note,
“free speech is uniquely important to the University because we are a community committed to
reason and rational discourse.” It is therefore imperative that freedom of expression, including
unpopular and even obnoxious speech, be protected. At the same time, however, the guidelines
note, “There are obligations of civility and respect for others that underlie rational discourse. Racial,
sexual, and intense personal harassment not only show grave disrespect for the dignity of others, but
also prevent rational discourse. Behavior evidently intended to dishonor [a person because of] such
characteristics as race, gender, ethnic group, religious belief, or sexual orientation is contrary to the
pursuit of inquiry and education. Such grave disrespect for the dignity of others can be punished
under existing procedures because it violates a balance of rights on which the University is based. It
is expected that when there is a need to weigh the right of freedom of expression against other
rights, the balance will be struck after a careful review of all relevant facts and will be consistent with
established First Amendment standards.” Within a university, to be discriminated against can itself
be a curtailment of freedom of expression.
An individual’s freedom of expression relies on both freedom from censorship and freedom from
discrimination – including harassing speech – based on sex, sexual orientation, or gender identity.
The FAS is committed to maintaining this balance: it is difficult to achieve, but it is a goal we all
embrace. This Policy is intended to safeguard members of our community from invidious
discrimination, not to regulate the content of protected speech.
The University Procedures govern allegations of sexual harassment or gender-based harassment
involving Harvard students, including undergraduate students in the College, graduate students in
the Graduate School.


2031. FAS SEXUAL AND GENDER-BASED HARASSMENT POLICY
The FAS Sexual and Gender-Based Harassment Policy (“Policy”) adopts the University Policy and
incorporates the University Procedures, including for purposes of student discipline. The University
Policy is reproduced in its entirety below.
2032. “Policy Statement
“Harvard University is committed to maintaining a safe and healthy educational and work
environment in which no member of the University community is, on the basis of sex, sexual
orientation, or gender identity, excluded from participation in, denied the benefits of, or subjected to
discrimination in any University program or activity. Gender-based and sexual harassment, including
sexual violence, are forms of sex discrimination in that they deny or limit an individual’s ability to
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participate in or benefit from University programs or activities.
“This Policy is designed to ensure a safe and non-discriminatory educational and work environment
and to meet legal requirements, including: Title IX of the Education Amendments of 1972, which
prohibits discrimination on the basis of sex in the University’s programs or activities; relevant
sections of the Violence Against Women Reauthorization Act; Title VII of the Civil Rights Act of
1964, which prohibits discrimination on the basis of sex in employment; and Massachusetts laws
that prohibit discrimination on the basis of sex, sexual orientation, and gender identity. It does not
preclude application or enforcement of other University or School policies.
“It is the policy of the University to provide educational, preventative and training programs
regarding sexual or gender-based harassment; to encourage reporting of incidents; to prevent
incidents of sexual and gender-based harassment from denying or limiting an individual’s ability to
participate in or benefit from the University’s programs; to make available timely services for those
who have been affected by discrimination; and to provide prompt and equitable methods of
investigation and resolution to stop discrimination, remedy any harm, and prevent its recurrence.
Violations of this Policy may result in the imposition of sanctions up to, and including, termination,
dismissal, or expulsion, as determined by the appropriate officials at the School or unit. 4
“Retaliation against an individual for raising an allegation of sexual or gender-based harassment, for
cooperating in an investigation of such a complaint, or for opposing discriminatory practices is
prohibited. Submitting a complaint that is not in good faith or providing false or misleading
information in any investigation of complaints is also prohibited.
“Nothing in this Policy shall be construed to abridge academic freedom and inquiry, principles of
free speech, or the University’s educational mission.
“Definitions
“Sexual Harassment
“Sexual harassment is unwelcome conduct of a sexual nature, including unwelcome sexual advances,
requests for sexual favors, and other verbal, nonverbal, graphic, or physical conduct of a sexual
nature, when: (1) submission to or rejection of such conduct is made either explicitly or implicitly a
condition of an individual’s employment or academic standing or is used as the basis for
employment decisions or for academic evaluation, grades, or advancement (quid pro quo); or (2)
such conduct is sufficiently severe, persistent, or pervasive that it interferes with or limits a person’s
ability to participate in or benefit from the University’s education or work programs or activities
(hostile environment).
“Quid pro quo sexual harassment can occur whether a person resists and suffers the threatened
harm, or the person submits and avoids the threatened harm. Both situations could constitute
discrimination on the basis of sex.
“A hostile environment can be created by persistent or pervasive conduct or by a single severe
episode. The more severe the conduct, the less need there is to show a repetitive series of incidents
to prove a hostile environment. Sexual violence, including rape, sexual assault, and domestic and
dating violence, is a form of sexual harassment. In addition, the following conduct may violate this
Policy:

“Observing, photographing, videotaping, or making other visual or auditory records of
sexual activity or nudity, where there is a reasonable expectation of privacy, without the
knowledge and consent of all parties
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“Sharing visual or auditory records of sexual activity or nudity without the knowledge and
consent of all recorded parties and recipient(s)

“Sexual advances, whether or not they involve physical touching

“Commenting about or inappropriately touching an individual's body

“Requests for sexual favors in exchange for actual or promised job benefits, such as
favorable reviews, salary increases, promotions, increased benefits, or continued employment

“Lewd or sexually suggestive comments, jokes, innuendoes, or gestures5

“Stalking
“Other verbal, nonverbal, graphic, or physical conduct may create a hostile environment if the
conduct is sufficiently persistent, pervasive, or severe so as to deny a person equal access to the
University’s programs or activities. Whether the conduct creates a hostile environment may depend
on a variety of factors, including: the degree to which the conduct affected one or more person’s
education or employment; the type, frequency, and duration of the conduct; the relationship
between the parties; the number of people involved; and the context in which the conduct occurred.
“Unwelcome Conduct
“Conduct is unwelcome if a person (1) did not request or invite it and (2) regarded the
unrequested or uninvited conduct as undesirable or offensive. That a person welcomes some
sexual contact does not necessarily mean that person welcomes other sexual contact.
Similarly, that a person willingly participates in conduct on one occasion does not necessarily
mean that the same conduct is welcome on a subsequent occasion.
“Whether conduct is unwelcome is determined based on the totality of the circumstances,
including various objective and subjective factors. The following types of information may
be helpful in making that determination: statements by any witnesses to the alleged incident;
information about the relative credibility of the parties and witnesses; the detail and
consistency of each person’s account; the absence of corroborating information where it
should logically exist; information that the Respondent has been found to have harassed
others; information that the Complainant has been found to have made false allegations
against others; information about the Complainant’s reaction or behavior after the alleged
incident; and information about any actions the parties took immediately following the
incident, including reporting the matter to others.
“In addition, when a person is so impaired or incapacitated as to be incapable of requesting
or inviting the conduct, conduct of a sexual nature is deemed unwelcome, provided that the
Respondent knew or reasonably should have known of the person’s impairment or
incapacity. The person may be impaired or incapacitated as a result of drugs or alcohol or for
some other reason, such as sleep or unconsciousness. A Respondent’s impairment at the
time of the incident as a result of drugs or alcohol does not, however, diminish the
Respondent’s responsibility for sexual or gender-based harassment under this Policy.
“Gender-Based Harassment
“Gender-based harassment is verbal, nonverbal, graphic, or physical aggression, intimidation, or
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hostile conduct based on sex, sex-stereotyping, sexual orientation or gender identity, but not
involving conduct of a sexual nature, when such conduct is sufficiently severe, persistent, or
pervasive that it interferes with or limits a person’s ability to participate in or benefit from the
University’s education or work programs or activities. For example, persistent disparagement of a
person based on a perceived lack of stereotypical masculinity or femininity or exclusion from an
activity based on sexual orientation or gender identity also may violate this Policy.
2033.   OTHER SEXUAL AND GENDER-BASED MISCONDUCT
The University Policy defines sexual and gender-based harassment within the context of preventing
discrimination within our community. The Faculty of Arts and Sciences, including the College and
the Graduate School of Arts and Sciences, shares an additional commitment to training our students
to be citizens and citizen leaders within a larger community beyond the borders of our campus. For
this reason, it is the expectation of the Faculty of Arts and Sciences that all students, whether or not
they are on campus or are currently enrolled in a degree program, will behave in a mature and
responsible manner. Consistent with this principle, sexual and gender-based misconduct are not
tolerated by the FAS even when, because they do not have the effect of creating a hostile
environment for a member of the University community, they fall outside the jurisdiction of the
University Policy. Because sexual and gender-based misconduct are in direct opposition to our
community values, cases involving such conduct may be referred by the relevant Administrative
Board (“Ad Board”) to the Harvard University Office for Sexual and Gender-Based Dispute
Resolution (“ODR”) for investigation in accordance with the University Procedures and the
jurisdictional guidelines described in this Policy.
Sexual harassment within student organizations and clubs is covered by the University Policy under
its jurisdictional language both because it is conduct in connection with a “University-recognized
program or activity” and because “the conduct may have the effect of creating a hostile environment
for a member of the University community.” The University Policy prohibits quid pro quo
harassment when “submission to or rejection of such conduct is made either explicitly or implicitly a
condition of an individual’s employment or academic standing or is used as the basis for
employment decisions or for academic evaluation, grades, or advancement.” The FAS explicitly
includes in its prohibition of quid pro quo sexual misconduct unwelcome conduct of a sexual nature
when submission to or rejection of such conduct is made either explicitly or implicitly a condition of
an individual’s acceptance into or standing within a student organization or club. The FAS
considers the ability to participate in student clubs and organizations to be an important part of
access to the resources and programs available for Harvard students.
Sexual and gender-based misconduct, as defined by this FAS Policy, go beyond the University Policy
to encompass behaviors that are in direct opposition to our educational and community values.
That is, these behaviors constitute a failure to meet FAS’s expectations of its students as citizens and
citizen leaders within a larger community beyond the borders of our campus and therefore may be
subject to discipline. These provisions indicate our commitment to expecting behavior consistent
with our values in our interactions with members of our broader community, as well as in our non
academic activities on campus.
The above provisions are necessary because there are instances when we must demonstrate – to the
broader world as well as to our own community – that sexual and gender-based misconduct are not
consistent with the values we expect all members of FAS to uphold. ODR will evaluate such
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allegations upon referral consistent with the guidelines provided by the FAS, and may consult with
an Ad Board Liaison in the process. ODR retains the right to close a case if, among other reasons, it
determines in its discretion that it cannot conduct a prompt, fair, and thorough investigation. FAS
retains responsibility for investigating violations of other policies that may come to light during an
ODR investigation.
2034. IV. CONDUCT IN RELATIONSHIPS BETWEEN INDIVIDUALS OF
DIFFERENT UNIVERSITY STATUS
In the academic context, sexual harassment often involves the inappropriate personal attention by an
instructor or other officer who is in a position to exercise professional power over another
individual. This could include an instructor who determines a student’s grade or who can
othePlaintiff Robert Weinbergise
affect the student’s academic performance or professional future; or a tenured professor whose
evaluation of a junior colleague can affect the latter's professional life. Sexual harassment can also
occur between persons of the same University status. An example would be persistent personal
attention from one colleague to another in the face of repeated rejection of such attention. Both
types of harassment are unacceptable. They seriously undermine the atmosphere of trust essential to
the academic enterprise.
Amorous relationships that might be appropriate in other circumstances have inherent dangers
when they occur between an instructor or other officer of the University and a person for whom he
or she has a professional responsibility (i.e., as instructor, advisor, evaluator, supervisor). Implicit in
the idea of professionalism is the recognition by those in positions of authority that in their
relationships with students or staff there is an element of power. It is incumbent upon those with
authority not to abuse, nor to seem to abuse, the power with which they are entrusted.
The consequences of asymmetries can be felt in many different contexts and types of relationships.
What constitutes “power” varies according to context and individual. For example, although the
university may not recognize a student in an extracurricular organization to have power over a
student who would like to join that organization, one or both of the students in question may
perceive their relationship to be affected by a power dynamic. As members of a community
characterized by multiple formal and informal hierarchies, it is incumbent upon each of us to be
aware of and sensitive to the ways in which we exercise power and influence and to be judicious in
our relationships with others.
2035. A. Prohibited Sexual Relations With Students
No FAS Faculty member shall request or accept sexual favors from, or initiate or engage in a
romantic or sexual relationship with, any undergraduate student at Harvard College. Faculty
members are defined as ladder, non-ladder, and visiting faculty.
Furthermore, no FAS Faculty member, instructor, teaching assistant, teaching fellow, researcher,
tutor, graduate student, or undergraduate course assistant, shall request or accept sexual favors from,
or initiate or engage in a romantic or sexual relationship with, any student, including a graduate
student or DCE student, who is enrolled in a course taught by that individual or othePlaintiff Robert
Weinbergise subject to
that individual’s academic supervision before the supervision has concluded and, if applicable, a final
grade on the student’s supervised academic performance has been submitted to the Registrar.
Academic supervision includes teaching, advising a thesis or dissertation, supervising research,
supervising teaching, grading, or serving as Director of Undergraduate or Graduate Studies of the
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student’s academic program. 9
2036. B. Relationships Between Individuals of Different University Status
Amorous relationships between individuals of different University status that occur outside the
instructional context can also lead to difficulties. In a personal relationship between an instructor or
other officer and an individual for whom the instructor or other officer has no current professional
responsibility, the instructor or other officer should be sensitive to the possibility that he or she may
unexpectedly be placed in a position of responsibility for that individual’s instruction or evaluation.
This could involve being called upon to write a letter of recommendation or to serve on an
admissions or selection committee involving the individual. In addition, one should be aware that
others may speculate that a specific power relationship exists even when there is none, giving rise to
assumptions of inequitable academic or professional advantage for the student involved. Although
graduate students, teaching fellows, tutors, researchers, and undergraduate course assistants may be
less accustomed than Faculty members to thinking of themselves as being in a position of greater
authority by virtue of their professional responsibilities, they should recognize that they might be
viewed as more powerful than they perceive themselves to be.
Even when both parties have consented at the outset to the development of a romantic or sexual
relationship between individuals of different University status, it is the person in the position of
greater authority who, by virtue of his or her special responsibility and the core educational mission
of the FAS, will be held accountable for unprofessional behavior.
2037. C. Relationships Between Staff
In cases where a consensual relationship exists between members of the staff who occupy inherently
unequal positions of authority, it is important that the person in the position of greater authority
does not exercise any supervisory or evaluative function over the other person in the relationship.
Accordingly, in circumstances where such a supervisory or evaluative function may occur, the
person in the position of greater authority must notify his or her local human resource officer to
evaluate the situation and ensure that alternate supervisory or evaluative arrangements are put in
place. More information can be found in the Staff Personnel Manual:
http://harvie.harvard.edu/Policies_Contract/Staff_Personnel_Manual.
2038. Introduction
Harvard students, faculty, staff, other Harvard appointees, or third parties (collectively, “Initiating
Parties”) wishing to report a violation of this Policy should begin by contacting the Harvard 11
University Office for Sexual and Gender-Based Dispute Resolution (“ODR”) or the relevant FAS
Title IX Coordinator. In the event that the first FAS officer contacted by an Initiating Party is not
the appropriate Title IX Coordinator, it is that FAS officer’s responsibility to forward the matter
either to ODR or to the appropriate Title IX Coordinator.
FAS Title IX Coordinators will receive diversity and implicit bias training. They will be sensitive to
cultural factors that may affect the way members of our community may experience interactions
with representatives of the University – whether those cultural factors involve sexual orientation,
gender identity, race, ethnicity, nationality, socio-economic status, or citizenship.
Section C, below, sets out procedures pertaining to allegations of sexual or gender-based harassment
committed by a student, including a student at Harvard College, GSAS, and both the Extension
School and the Summer School within DCE. Sections D and E, below, set out procedures
pertaining to allegations of sexual or gender-based harassment committed by Faculty and staff.
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As set forth below and in the University Procedures, interim measures designed to support and
protect the Initiating Party or the University community may be considered or implemented at any
time, including during a request for information or advice, informal resolution, or a formal
complaint proceeding. Consistent with FAS policy, interim measures might include, among others:
restrictions on contact; course-schedule or work-schedule alteration; changes in housing; leaves of
absence; or increased monitoring of certain areas of the campus. Interim measures are subject to
review and revision throughout the processes described below.
Based on data supplied by the appropriate FAS Title IX Coordinators, an annual report will be
prepared for the Faculty Council and the Faculty on the number and type of complaints. Every fifth
year a summary will be prepared for the Faculty Council and the Faculty on the disposition of
complaints filed over the preceding five years.” [Harvard University policies copied and pasted from

original sources]

                Plaintiff’s Medical and Neurologic Disabilities

        Defendants’ violations of the Americans with Disabilities Act

2039. Robert Weinberg was born on October 27, 1953 in Brooklyn, New York following a

prolonged and difficult labor and delivery. This is substantiated by medical records.

2040. Weinberg’s Apgar scores were low and he was diagnosed with anoxic brain injury and

termed a “blue baby.” This is substantiated by medical records.

2041. Weinberg experienced neurodevelopmental delays, delayed milestones and marked

delays in the development of speech and talking which caused significant ridicule from his peers

during his childhood. This is substantiated by medical records.

2042. Throughout elementary school, Weinberg was in speech therapy to assist with correction

of his speech problems. This is substantiated by academic records.

2043. Several teachers believed that Weinberg suffered from intellectual retardation so he was

removed from a couple of classes and placed in “slow learners” classes. This is substantiated by

academic records.


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2044. On or about May 1964, at the age of 10 years, Weinberg suffered a bicycle accident

where he fell off his bicycle striking his head against the asphalt pavement suffering a skull

fracture and subdural hematoma. This is substantiated by medical records.

2045. As a result of the increased intracranial pressure from the subdural hematoma, Weinberg

began experiencing diplopia, headaches and fundoscopic exam revealed papilledema and

blurring of the optic disc. This is substantiated by medical records.

2046. On or about June 1964, Weinberg was transferred to Flower and Fifth Avenue Hospital in

New York City, where he undePlaintiff Robert Weinbergent neurosurgical evacuation of the

subdural hematoma by surgeon Dr Tarlov. This is substantiated by medical records.

2047. Weinberg began Junior High School in 1965 and for most of the years 1965 – 1968 his

academic performance was poor with many grades of “D” and “F” in most of his courses. This is

substantiated by academic records.

2048. Experiencing marked somnolence, need for daytime naps, inability to focus or do

homework along with muscular weakness, severe fatigue and weakness, and hypersomnolence,

Weinberg was diagnosed with hypothyroidism in 1968, a medical condition shared with both of

his parents. This is substantiated by medical records.

2049. After starting on thyroid replacement therapy, Weinberg’s academic performance

skyrocketed and Weinberg became a straight “A” student, excelling and loving the sciences and

mathematics especially. This is substantiated by academic records.

2050. Later Weinberg underwent neuropsychological testing at the Hallowell Center in

Concord, Massachusetts where he was diagnosed with Attention Deficit Disorder (ADD) and


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was begun on CNS stimulants including methylphenidate and amphetamine which he continues

to take daily at the present time. This is substantiated by medical records.

2051. Except for some intermittent struggles with depression, which caused some periods of

academic withdrawal, Weinberg demonstrated academic prowess for most of his subsequent

years. This is substantiated by academic records.

2052. Weinberg earned a BS in Biology from MIT, a Doctor of Osteopathic Medicine (DO)

degree from the New York College of Osteopathic Medicine, a Juris Doctor degree cum laude

from the New England School of Law, an MMSc in Immunology from Harvard Medical School,

and is currently enrolled as a PhD candidate in Pharmacology at the Massachusetts College of

Pharmacy and Health Sciences (expected graduation date of April 2024). This is substantiated by

academic records including diplomas and transcripts.

2053. After passing the FLEX exam, the Plaintiff applied for a medical license with the

Massachusetts Board of Registration in Medicine (“BORIM”) and was issued two (2) medical

licenses - one of which was medical license # 60232.

2054. In 1990, Weinberg began working as a Family Physician at the Boston Evening Medical

Center at 388 Commonwealth Avenue, Boston, MA.

2055. In 1991, Weinberg began to provide medical care to Lourdes Colon – referred to as

“Patient A” in documents originating at the Massachusetts Board of Registration in Medicine,

which licenses physicians in Massachusetts.

2056. In 1992, Dr Lisa Wolfe conceived, drafted and dictated the 1992 Express Bilateral

Contract which terminated the doctor-patient relationship, which was memorialized by the

Plaintiff and Lourdes Colon handwriting down the words of this termination contract verbatim,
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and the Plaintiff and Colon then signed each other’s copy of the handwritten memorialized

Express Bilateral Contract terminating the doctor-patient relationship.

2057. Subsequent modification of this termination contract by mutual agreement created the

classification of time and place into the clinical and nonclinical worlds.

2058. In 2010, Weinberg obtained the position of Research Scientist at MIT in the Department

of Biology working for Professor ChoKyun Rha, where he would continue to work through

January 2020 on bioactive properties of oil palm phenolics under the sponsorship of the

Malaysian Palm Oil Board, and where he published multiple papers in peer-reviewed journals

and presented scientific findings at international conferences.

2059. In 2011 or 2012, the Biology Department learned of the record from an “anonymous

informant” in the Department of Chemistry who alerted the Biology headquarters about

Weinberg’s past and loss of medical license.

2060. The Biology Department began an investigation, which included asking Weinberg to

come to a meeting in the headquarters with 3 Biology headquarters staff to answer questions

about the record.

  Defendant M.I.T. violated Plaintiff’s rights under Title VII and Title IX of the Civil Rights Act

2061. During this time period, Weinberg had obtained two important new opportunities for

personal and professional growth at MIT while he was a student and also employed as a

Research Scientist:




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         (1) Weinberg was selected as a Mentor for a freshman seminar series, which Weinberg

         applied to teach on the applications of biotechnology in medicine and industry;

         (2) assistant teacher of physics in the Experimental Studies Group.

2062. Weinberg had begun designing the freshman seminar series that summer and also met

with the co-mentor for the seminar to discuss the curriculum.

2063. Since Weinberg had developed a passion for teaching since he began tutoring science and

mathematics during high school, this was a natural stepping stone toward a career in teaching.

2064. Weinberg has also taught several courses at MIT through the ESP program which meets

on weekends for high school students.

2065. Weinberg also attended a meeting of the Experimental Studies Group in preparation for

assisting with teaching physics to that group of freshmen.

2066. The Biology headquarters staff concluded their investigation and communicated their

intentions with Weinberg. MIT insisted that Weinberg write a letter of resignation from both

educational opportunities – both the freshman seminar series and the Experimental Studies

Group.

2067. MIT stated that although Weinberg had done nothing wrong at MIT, they felt he

presented a risk for some sexual misconduct with the students.

2068. Regardless of not having committed any wrong at MIT, the staff expressed concerns that

there would be the appearance of accepting his prior misconduct and not protecting the students

adequately.




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2069. Weinberg was devastated by the loss of these educational teaching opportunities, which

he believed would open up career possibilities and help him develop as a teacher.

2070. Weinberg began working on his MMSc in Immunology at Harvard Medical School in

2014.

2071. The MMSc program was a 2-year program: the first year consisted of didactic work on

courses in immunology and the second year consisted of supervised immunology research

leading to the writing of a thesis.

     Defendant Dana Farber Cancer Institute violated Plaintiff’s rights under Title IX

2072. In 2015 I began my research at the Dana Farber Cancer Research Institute with the

mentor Stephanie Dougan.

2073. It was a very exciting project in collaboration with Harvey Cantor, with whom I had

wanted to work for many years.

2074. Stephanie was very encouraging and discussed with me the possibility of applying for

some grants

2075. I was eligible for as a mid-life professional changing careers.

2076. After several meetings and experimental planning, paperwork was processed at the Dana

Farber Cancer Research Institute (DFCI) including a comprehensive background check which

revealed the loss of Weinberg’s medical license in 2002.

2077. DFCI terminated Weinberg because of the record. Harvard Medical School conducted an

investigation concerning the facts underlying this termination.


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      Defendant Boston Children’s Medical Center violated Plaintiff’s rights under Title IX

2078. Weinberg then began a research project with Professor Ann Goldfeld in the Program in

Cellular and Molecular Medicine of Boston Children’s Hospital where I began working on a

project involving the immunogenetics of the T-cell response.

2079. I was working in the Goldfeld lab for about 8 weeks, when Goldfeld wanted to pay me as

an intern which required the Plaintiff to complete paperwork for Boston Children’s Hospital to

come onto the payroll.

2080. The paperwork included a background check which disclosed Weinberg’s prior record,

and Weinberg was terminated. Harvard Medical School conducted an investigation concerning

the facts underlying this termination.

2081. This termination of the Plaintiff’s Harvard-sponsored internship at DFCI substantially

interfered with the Plaintiff’s progress toward his PhD in pharmacology and was a substantial

factor in the Plaintiff’s eventual resignation from the PhD program and acceptance of the M.S. in

pharmacology as recognition of his five (5) years of academic performance on multiple

pharmacology exams, passing his written and oral qualifying exams, and beginning his PhD

dissertation.

2082. In 2019 Weinberg began working toward his PhD in Pharmacology at the Massachusetts

College of Pharmacy and Health Sciences in Boston, Massachusetts.




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      Defendants Mangal, Graybiel and MIT violated Plaintiff’s rights under Title IX

2083. During the summer of 2022, Weinberg began collaborating with Dr Emily Hueske in the

McGovern Institute for Brain Research at the Massachusetts Institute of Technology (MIT) in

Cambridge, MA.

2084. During discussions with Professor Ann Graybiel, it became clear that Weinberg could

combine his PhD dissertation research on the neurophysiology and pathology of the basal

ganglia with ongoing research efforts in the Graybiel lab which would be mutually beneficial to

both parties.

2085. In September 2022, Weinberg began a 1-year Visiting Student fellowship in the

laboratory of Professor Ann Graybiel in the McGovern Institute.

2086. Weinberg received the letter of invitation from Graybiel for a 1-year appointment in the

Graybiel lab.

2087. From September 2022 through June 2023, Weinberg’s efforts were greatly appreciated

and rewarded by Graybiel as evident through numerous emails.

2088. In May 2023, a postdoc Nagina Mangal arrived in the Graybiel lab from London, UK.

2089. Weinberg made special efforts to make her feel at home in Boston, bringing her over to

the ATLAS center to pick up her MIT ID when it was ready and also providing her with a tour of

the MIT campus.

2090. Weinberg and Mangal shared a couple of meals together at the Stata Center while

discussed the ongoing research.



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2091. The McGovern Institute held its annual retreat on Cape Cod in early June 2023 and many

members of the Graybiel lab attended the retreat.

2092. The McGovern Institute did provide buses for many but in addition, Weinberg

volunteered to drive down to the retreat and brought with him 5 members of McGovern,

including Mangal, Gun, Georgios, Fred, and Michael.

2093. Mangal was happy to get the front-seat passenger view on the way down and back.

2094. Since both Mangal and Weinberg shared a research interest in cannabinoid receptors and

the effects of their signaling on modulation of CNS functions, Mangal had suggested that the two

of them collaborate together and co-author a literature review on the CNS modulation by the

cannabinoid system.

2095. Mangal and Weinberg exchanged several emails and published papers towards this

literature review they began to work on.

2096. Weinberg prepared an outline of their review - focusing on the role of the cannabinoid

receptors on astrocyte signaling in the basal ganglia.

2097. Weinberg and Mangal met a couple of times to discuss the literature review.

2098. A friend gave Weinberg a couple of extra tickets to a Red Sox game in Fenway Park, and

Weinberg invited Mangal to the baseball game, which she excitedly attended.

2099. During the week of June 18, 2023, Mangal stopped responding to Weinberg’s emails and

her final email stated that she probably could not work on the literature review at that time.

2100. Mangal’s attitude and demeanor markedly changed during this time, whereby she became

quite cold, distant and avoided any communication with Weinberg.
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2101. Weinberg began to suspect that Mangal had read about his prior record, which is readily

accessible on the internet through a Google search.

2102. Graybiel was away in Europe attending meetings in Sweden and Ireland for 2 weeks, and

was scheduled to return on Monday, June 26, 2023.

2103. Weinberg saw Graybiel in the morning of June 26, 2023, around 9 am, when Graybiel ran

up to him smiling and laughing, and sharing her joy with him about Weinberg’s continued

success with weight loss on his current diet regimen.

2104. As was characteristic of her demeanor toward him, Graybiel had always smiled and

maintained good eye-to-eye contact with Weinberg from September 2022 until June 26, 2023.

That morning was the last time that Graybiel would smile or look at Weinberg in the eyes.

2105. The sexual harassment and sexual discriminatory acts by Graybiel began at 11:00 am on

June 26, 2023, at the time that she met with Mangal privately in her office. Graybiel was very

careful about what she said or emailed over the next 11 days until she terminated Weinberg for

want not to leave any incriminating evidence.

2106. Weinberg saw Mangal in the hallway around 11:30 am that morning, and Mangal

confirmed that she had just met with Graybiel.

2107. Graybiel proceeded to remove Weinberg from the CellREADR project which Weinberg

had been working on full-time since November 2022, spending long nights and weekends in the

laboratory to overcome challenges and get the method to work properly.




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2108. There was an important collaboration meeting on Friday, June 30, 2023, with 10

members of the Graybiel and Agooti labs present so there were 10 witnesses to the following

words and actions.

2109. Graybiel introduced Mangal as the leader of the CellREADR project, introduced other

members of the Graybiel lab, but did not introduce Weinberg, nor did she look at Weinberg nor

acknowledge his presence.

2110. It was clear from this collaboration meeting and subsequent Graybiel lab meeting in her

office, that Weinberg was removed from the CellREADR project.

2111. Although Graybiel was very careful to conceal her discriminatory and harassing intent,

there are more than 15 witnesses who are lab members who can testify to her actions and words

which underlie these discriminatory and harassing intents and actions.

2112. Instigated by the sexual misconduct record, Graybiel’s acts of sexual discrimination and

sexual harassment started at 11:00 am on June 26, 2023 and culminated with her letter of

termination of Weinberg on July 7, 2023. These 11 days comprised actions which violated

Weinberg’s rights under Title IX.

2113. These acts of sexual discrimination and sexual harassment originate in Graybiel’s belief

that Weinberg’s prior record of sexual acts/misconduct and/or loss of medical license necessitate

that he cannot operate as a productive member of the research team in the Graybiel lab in spite of

the fact that he said or did nothing wrong during his entire time working in the lab.




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                    Defendants’ violation of Title IX of the Civil Rights Act

2114. MIT and Graybiel violated Title IX by imposing a punishment on Weinberg infected by

sex bias. See John Doe v. Purdue University et al., 928 F.3d 652 (2019).

2115.       MIT and Graybiel discriminated against Weinberg on the basis of sex in violation of

Title IX.

2116.       Title IX provides that “[n]o person in the United States shall, on the basis of sex, be

excluded from participating in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a);

see also Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 281, 118 S.Ct. 1989, 141 L.Ed.2d

277 (1998) (explaining that Title IX is enforceable through an implied private right of action).

2117.       It is undisputed that MIT receives federal funding.

2118.              The Plaintiff was “excluded from participation in [or] denied the benefits of …

[an] education program” when MIT terminated him. 20 U.S.C. § 1681(a).

2119.   The Plaintiff also had a property right in his Visiting Student status as established by the

contract entered into with Graybiel pursuant to her letter of invitation which he accepted with

consideration paid of over $4,000.

2120.       This contract was breached by Graybiel’s letter of termination.

2121.       Furthermore, although MIT does have extensive policies regarding hearings and Due

Process, and Weinberg was in frequent contact with the MIT General Counsel, Weinberg was

never afforded the opportunity for a fair hearing to present his side and be heard by an impartial

decision-maker.

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2122.    This not only violates MIT policies for Due Process and hearings, but it also violates

State and federal mandates for Due Process before terminating fundamental property and liberty

rights of Weinberg. Goss, 419 U.S. at 574, 95 S.Ct. 729; Bd. of Curators of Univ. of Mo. v.

Horowitz, 435 U.S. 78, 86, 98 S.Ct. 498, 55 L.Ed.2d 124 (1978); Pugel v. Bd. Of Trs. of Univ. of

Ill., 378 F.3d 659, 663-64 (7th Cir. 2004); Dietchweiler by Dietchweiler v. Lucas, 827 F.3d 622,

629 (7th Cir.2016).

2123.    This termination of the Plaintiff’s MIT-sponsored Visiting Studnetinternship in the Dept

of Neurosciences substantially interfered with the Plaintiff’s progress toward his PhD in

pharmacology and was a substantial factor in the Plaintiff’s eventual resignation from the PhD

program and acceptance of the M.S. in pharmacology as recognition of his five (5) years of

academic performance on multiple pharmacology exams, passing his written and oral qualifying

exams, and beginning his PhD dissertation.

        After passing the Bar Exam, Plaintiff applied for admission to the Maine Bar

               [Plaintiff referred to as “The Respondent” in these statements]

2124.    The Plaintiff provided the following Statement of Facts probative of Good Moral

Character and/ or Rehabilitation under Rule 9(d)6(b).

2125.   The Plaintiff accepts responsibility for his conduct in 1993-1994 when BORIM alleges

that he committed sexual misconduct in 1993-1994, some thirty (30) years ago.

2126.    Following the alleged “sexual misconduct with Patient A” (defendant Lourdes Colon) in

1993-1994, the Plaintiff/Respondent continued to practice medicine for an additional ten (10)

years in Massachusetts prior to the revocation of his medical license in Massachusetts in October



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2002, and there were no additional complaints, allegations or cases of sexual misconduct during

those eight (8) years besides the one case involving Lourdes Colon.

2127.   Shortly after receiving his license to practice medicine in Massachusetts, the

Plaintiff/Respondent served as Medical Director and Primary Care Physician from 1990 – 1992

in a medical clinic in Lowell, Massachusetts, serving a large Cambodian refugee community at

lower-than-average compensation in order to help the Cambodian refugees there.

2128.   The Plaintiff has charitably provided free medical services as a volunteer physician in

several instances as detailed below which shows the respondent’s good will and desire to help

others without the need for compensation.

2129.   During the years 1990 – 1993, the Plaintiff/Respondent acted as volunteer physician on

the medical van of the Bridge over Troubled Waters, which daily made visitations to several sites

around the Boston and Cambridge area to provide free medical care to homeless and indigent

persons, as well as to runaway teenagers.

2130.   During the years 1990 – 1997, the Plaintiff/Respondent served as a Volunteer Instructor

in the Department of Community Medicine at Tufts University School of Medicine, teaching

first and second year medical students courses including: Introduction to Clinical Examination

Skills, Problem-Based Learning Approach to Differential Diagnosis, “Patient, Society and

Medicine” and Medical Ethics.

2131.   On or about 1997-1998, the Plaintiff/Respondent founded a 501(c)(3) non-profit

foundation entitled “Flights for Humanity”, in which the respondent provided airplane flights for

the medical assistance of indigent persons in other countries, including Mexico.



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2132.     During the years 1999 – 2001, the Plaintiff/Respondent was a member of the National

Disaster Medical System, a federal emergency assistance agency under Health and Human

Services, and was awarded a Commendation from Congress for his efforts.

2133.     In 1997, the Plaintiff/Respondent sought medical attention for perceived psychological

problems, and was diagnosed with ADHD and a mood disorder, and he has been receiving

psychological treatment for these problems since 1997 to the current time.

2134.     During the years 2000 – 2002, the Plaintiff/Respondent served as Attending Emergency

Medicine Physician at Jones Memorial Hospital in Wellsville, New York, an underserved rural

region in western New York with federal certification of physician shortage.

2135.     During the years 2004 – 2006, the Plaintiff/Respondent successfully completed all law

school requirements at the New England School of Law, from which he graduated with the J.D.

degree cum laude in May 2006.

2136.     From 2004 until the current time, the Plaintiff/Respondent has provided consultant

services to several Boston-area attorneys under the proprietory firm of Medico-Legal

Consultants, which specializes in medical malpractice litigation in support of plaintiffs’ attorneys

and the Respondent reviewed medical records for deviation from the standard of care and

proximate causation.

2137.     During the years 2007-2009, the Plaintiff/Respondent provided tutoring services for high

school and college students in the sciences and mathematics through employment with Red Key

Tutors.




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2138.   During the years 2007-2009, the Plaintiff/Respondent worked as an Adjunct Instructor in

the Department of Mathematics at Newbury College in Brookline, Massachusetts, where he

taught college students the courses of: algebra, pre-algebra, and consumer mathematics.

2139.   During the year 2009-2010, the Plaintiff/Respondent worked as an Adjunct Instructor in

the Department of Physics at Eastern Nazarene College in Quincy, Massachusetts, where the

Respondent taught college level courses including: Physical Sciences for Education majors for

K-12 teaching, College Algebra, and Introduction to Astronomy.

2140.   From September 2010 through January 2021, the Plaintiff/Respondent worked as a

Research Scientist at the Biomaterials Science and Engineering Laboratory at the Massachusetts

Institute of Technology (M.I.T.) where the Plaintiff/Respondent is investigating potential new

drugs for the treatment of neurodegenerative diseases such as Alzheimer’s disease and

Parkinson’s disease.

2141.   During the years 2010-2011, the Plaintiff/Respondent has been working part-time per

diem as a Tutor for high school students teaching physics, biology, chemistry, geometry and

calculus for the tutoring firms of Chyten Educational Services and Tangilearning Center.

2142.   In 2009, the Plaintiff/Respondent volunteered for the agency “Reading for the Blind and

Dyslexic Persons”, in Cambridge, Massachusetts, where he dictated volumes of medical

textbooks into a computer-audio system which provided such audio works for the visually

challenged and impaired.

Plaintiff provided Proof of his Good Character - to defendant Board of Bar Examimers of Maine

2143.    “…comparable to that in many States, that an applicant for admission to the bar bears the

burden of proof of "good moral character" requirement whose validity is not, nor could well be, drawn in

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question here. Under such a rule an applicant must initially furnish enough evidence of good character to

make a prima facie case.” Konigsberg v. State Bar of Cal., 366 U.S. 36 - Supreme Court (1961).


2144.    During Plaintiff’s de novo hearing before Maine Justice Ellen Gorman, Gorman denied the

Plaintiff’s motion to introduce evidence of his good character.


2145.    “… The examining Committee then has the opportunity to rebut that showing with evidence of

bad character. Such evidence may result from the Committee's own independent investigation, from an

applicant's responses to questions on his application form, or from Committee interrogation of the

applicant himself. This interrogation may well be of decisive importance for, as all familiar with bar

admission proceedings know, exclusion of unworthy candidates frequently depends upon the

thoroughness of the Committee's questioning, revealing as it may infirmities in an otherwise satisfactory

showing on his part. This is especially so where a bar committee, as is not infrequently the case, has no

means of conducting an independent investigation of its own into an applicant's qualifications. If at the

conclusion of the proceedings the evidence of good character and that of bad character are found in even

balance, the State may refuse admission to the applicant, just as in an ordinary suit a plaintiff may fail in

his case because he has not met his burden of proof.” Konigsberg v. State Bar of Cal., 366 U.S. 36 -

Supreme Court (1961).


2146.    “In the first Konigsberg case this Court was concerned solely with the question whether the

balance between the favorable and unfavorable evidence as to Konigsberg's qualifications had been struck

in accordance with the requirements of due process. It was there held, first, that Konigsberg had made out

a prima facie case of good character and of nonadvocacy of violent overthrow, and, second, that the other

evidence in the record could not, even with the aid of all reasonable inferences flowing therefrom, cast

such doubts upon petitioner's prima facie case as to justify any finding other than that these two California

qualification requirements had been satisfied. In assessing the significance of Konigsberg's refusal to

answer questions as to Communist Party membership, the Court dealt only with the fact that this refusal

could not provide any reasonable indication of a character not meeting these two standards for admission.
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The Court did not consider, but reserved for later decision, all questions as to the permissibility of the

State treating Konigsberg's refusal to answer as a ground for exclusion, not because it was evidence from

which substantive conclusions might be drawn, but because the refusal had thwarted a full investigation

into his qualifications. See 353 U. S., at 259-262. The State now asserts that ground for exclusion, an

issue that is not foreclosed by anything in this Court's earlier opinion which decided a quite different

question.” Konigsberg v. State Bar of Cal., 366 U.S. 36 - Supreme Court (1961).


2147.    “It is equally clear that the State's ordering of the rehearing which led to petitioner's exclusion

manifested no disrespect of the effect of the mandate in that case, which expressly left the matter open for

further state proceedings "not inconsistent with" the Court's opinion. There is no basis for any suggestion

that the State in so proceeding has adopted unusual or discriminatory procedures to avoid the normal

consequences of this Court's earlier determination. In its earlier proceeding, the California Bar Committee

may have found further investigation and questioning of petitioner unnecessary when, in its view, the

applicant's prima facie case of qualifications had been sufficiently rebutted by evidence already in the

record. While in its former opinion this Court held that the State could not constitutionally so conclude, it

did not undertake to preclude the state agency from asking any questions or from conducting any

investigation that it might have thought necessary had it known that the basis of its then decision would

be overturned. In recalling Konigsberg for further testimony, the Committee did only what this Court has

consistently held that federal administrative tribunals may do on remand after a reviewing court has set

aside agency orders as unsupported by requisite findings of fact. Federal Communications Comm'n v.

Pottsville Broadcasting Co., 309 U. S. 134; Fly v. Heitmeyer, 309 U. S. 146.


2148.     xxxx146“In the absence of the slightest indication of any purpose on the part of the State to

evade the Court's prior decision, principles of finality protecting the parties to this state litigation are,

within broad limits of fundamental fairness, solely the concern of California law. Such limits are broad

even in a criminal case, see Bryan v. United States, 338 U. S. 552; Hoag v. New Jersey, 356 U. S.



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464; cf. Palko v. Connecticut, 302 U. S. 319, 328.” Konigsberg v. State Bar of Cal., 366 U.S. 36 -

Supreme Court (1961).


After passing Bar exam, Maine Board of Bar Examiners denies Plaintiff’s admission to the Bar

2149.   The Plaintiff petitioned the MAINE SUPREME JUDICIAL COURT in the case

“ROBERT P. WEINBERG v. MAINE BOARD OF BAR EXAMINERS”, a Petition for Admission

to the Maine Bar.

2150.   Pursuant to the Maine Bar Admissions Rule 9(d)(6), the Bar Applicant Robert P.

Weinberg filed his Petition for Admission to the Maine Bar for a hearing to be heard de novo

before a Single Justice of the Supreme Judicial Court for resolution of key issues related to the

Bar applicant’s fitness to practice law in Maine and related to a determination of the Bar

applicant’s good moral character.

2151.   Regarding his admission to the Bar, the following statements recount the Procedural

History of his case.

2152.   The Bar applicant Robert P. Weinberg filed a petition for admission to the Maine Bar in

May 2010.

2153.   The Bar applicant had passed the Bar exam in Maine in July 2010.

2154.   Around October 2010, the Board of Bar Examiners sent the applicant two letters in one

envelope: (1) a congratulatory letter stating that the applicant had passed the July Bar exam in

Maine; (2) a letter stating that information in the Bar applicant’s application had raised some

questions and that a hearing would be scheduled pursuant to M.Bar.Adm.R. 9(d) to determine

whether the Bar applicant had the necessary good moral character.


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2155.   A hearing was convened on July 25, 2011 in Portland before the Board of Bar

Examiners.

2156.    On August 23, 2011, the Bar applicant received notice that the Board determined that

the applicant had failed to produce the necessary burden of proof of his good moral character.

2157.    This Petition for Admission to the Maine Bar was filed in a timely manner, seeking a de

novo hearing before a Single Justice of the Supreme Judicial Court.

2158.   The Bar applicant has the requisite good moral character for admission to the Bar.

2159.   The Bar applicant is a Disabled American, entitled to the protections of the federal

Americans with Disabilities Act as well as Maine statutes enacted for the protection of disabled

persons, and that the Board of Bar Examiners had adequate notice of this disability.

2160.   The Board of Bar Examiners did discriminate against the Bar applicant on the basis of

his well-documented disability and thereby violate some of the plaintiff’s civil and constitutional

rights through violations of the Equal Protection clause and Procedural Due Process clause of the

Fourteenth Amendment to the U.S. Constitution, as applied to the States through the Selective

Incorporation Doctrine via the Due Process clause.

2161.   The Board of Bar Examiners did confuse specific acts and conduct, which resulted

involuntarily as the direct result of the Bar applicant’s disability, erroneously with conscious

volitional acts of free will, and thereby acted punitively toward the Bar applicant because of his

disabling medical conditions.

2162.   Although the Bar applicant did commit some misconduct, during the prior nine (9) years

the Bar applicant has shown rehabilitation from this during 2002 – 2011.

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2163.   The Bar applicant had made extraordinary contributions to the community through his

volunteer work, national service earning him Congressional commendation, and through the

humanitarian efforts of Flights for Humanity, a 501(c)(3) non-profit foundation founded by the

Bar applicant.

2164.   Character witnesses testified for the plaintiff, and provided affidavits and other letters

and documentation attesting to the Bar applicant’s good moral character.

2165.   The Assistant Attorney General William R. Fisher did make false, misleading and

deceptive statements about the Bar applicant in communications with the Board and continued

this pattern during the hearing on July 25, 2011, so as to disparage and derogate the Bar

applicant’s character before the Board of Bar Examiners.

2166.   The Assistant Attorney General William R. Fisher did withhold exculpatory and

exonerating evidence from the Board of Bar Examiners.

2167.   The Bar applicant is fit to practice law, in spite of his disability.

2168.   The Bar applicant incorporates by reference all exhibits previously produced for the

Board of Bar Examiners for the July 25, 2011 hearing.

2169.   The Bar applicant reserved the right to obtain a transcript of that July 25, 2011 hearing,

which was recorded, from the Office of the Attorney General.

2170.   The Bar applicant reserved the right to subpoena all documents and records relevant to

this petition, which is not otherwise protected by some specific privilege, from the Board of Bar

Examiners and the Attorney General.




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2171.   The Bar applicant requests that the Attorney General produce all exculpatory and

exonerating evidence favorable to the plaintiff, and make available for photocopying all records

and documents within his custody, possession or control.

2172.   The Petition included the following sections as listed in the Table of Contents: Basis of

Petition for Admission to the Bar; Prior Voluntary Bad Acts by Bar applicant; Bar applicant’s

rehabilitation following sexual misconduct; It would be unfair, unjust and unlawful to hold the

Bar applicant liable for the legal mistakes and malpractice of his former attorney, prior to his

studying any law courses or obtaining any other type of legal training - Weinberg v. Colon v.

DiCianni and Ferriter Scobbo; Errors and misunderstandings in the Board’s August 23, 2011

decision; “In re Robert P. Weinberg”; Bar applicant’s Disability: Documentation of Medical

Conditions; Board of Bar Examiners had notice of this disability; Potential discrimination against

the Bar applicant on the basis of his disability; Financial collapse and Bankruptcy following the

revocation of plaintiff’s medical license, and ensuing litigation when the plaintiff could not find

gainful employment to pay his debts; debt alone is not evidence of lack of good character;

Criminal Allegations and Acquittals at Trial: Commonwealth of Massachusetts v. Weinberg,

(Zhou); Commonwealth of Massachusetts v. Weinberg (Koledova); Litigation by former landlady

Jian Zhou - Zhou v. Weinberg, Koledova; False, misleading and deceptive communications by

Mr. William R. Fisher; Nicholson factors as applied to the Bar applicant; Defendant’s violation

of the plaintiff’s civil and constitutional rights through their violation of Procedural Due Process

and the Equal Protection clauses of the Fourteenth Amendment; Bar applicant’s fitness to

practice law; Bar applicant’s national service with National Disaster Medical System (NDMS)

and subsequent Congressional recognition; Flights for Humanity, 501(c)(3) non-profit

organization, founded by Bar applicant; Stellar academic record: New England School of Law

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(graduated with Juris Doctor cum laude); Volunteer work with national “Recording for the Blind

and Dyslexic” organization; Character witnesses and references; volunteer assistance with pro

buono federal case under Attorney Kenneth Augen; Stellar Employment History from 2005 –

2011; MIT Research on Alzheimer’s Disease - Abstract to be presented at American Society for

Clinical Pathology; MIT Invention Disclosures; Paper on OPP inhibiting Alzheimer’s disease,

being submitted to peer-reviewed journals; Bar applicant’s rehabilitative efforts and Proof that he

is a person of good moral character; Prior Voluntary Bad Acts by Bar applicant.

2173.   The plaintiff made full disclosure of the following bad acts in his application for

admission to the Maine Bar submitted to the Board of Bar Examiners in May 2010.

2174.   The Bar applicant admitted the following prior voluntary alleged bad acts:

        A.     In 1993, the Bar applicant was a licensed physician in the Commonwealth of

Massachusetts when he allegedly became sexually involved with a current patient. As a result of

alleged misconduct, the Massachusetts Board of Registration in Medicine revoked the Bar

applicant’s medical license in October 2002.

        B.     In 1999, when the suit drafted, signed under Mass.R.Civ.P. Rule 11 and filed by

his attorney Vincent DiCianni, Weinberg v. Colon v. DiCianni, Ferriter Scobbo was dismissed

as frivolous by Judge Xifaras, the plaintiff fired Mr. DiCianni and sent a memo to the Board of

Registration in Medicine warning them that specific testimony may comprise perjury and that the

Board may be involved in a criminal conspiracy.

        C.     Following the revocation of the plaintiff’s medical license in Massachusetts, a

reciprocal action took place in New York, where the plaintiff’s medical license was revoked in

June 2003 because of the alleged sexual misconduct in Massachusetts and the plaintiff’s
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misrepresentation concerning disciplinary proceedings during the employment process in New

York in 2000.

        D.      Since first becoming licensed to drive an automobile, the Bar applicant has been

charged with exceeding the posted speed limit on several occasions.

        E.      Bar applicant declared 19 counterclaims against Jian Zhou in 2007 Zhou v.

Weinberg suit; although this is not necessarily a “bad act”, the plaintiff admits that he may have

gone overboard but was fueled by the applicants anger over Zhou’s deception, lies and tortious

act of allowing Bar applicant’s 5-month old child to live in an apartment at 49 Channing Road,

Belmont, MA, knowing that there was significant and dangerous levels of lead paint in the

apartment which did injure the plaintiff’s 5-month old son, in violation of state and federal law.

The Belmont Board of Health did issue a citation to Ms. Zhou regarding these violations and an

order for immediate de-leading of the apartment. Evidence of these violations of the lead paint

law will be presented in evidence to show the Bar applicant’s state of mind at the time and

whether he acted reasonably considering the totality of the circumstances.

2175.   The Bar applicant made full disclosure concerning these aforementioned prior voluntary

alleged bad acts in his May 2010 Petition for Admission to the Bar.

2176.   On the Bar application, the plaintiff listed the action Zhou v. Weinberg which had been

filed in Superior Court in 2008, seeking a restraining order against the plaintiff. However when

the plaintiff moved from his prior residence, mail and notices from the court were not forwarded

to his new residence. When he learned from the Court around April 2011 that a hearing had been

scheduled and matters decided in 2009, without notice to the Bar applicant because he had

moved his address from prior location and court notices were not forwarded, the Bar applicant

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failed to update this matter “Zhou v. Weinberg” in his application, although he did disclose this

action originally in his Bar application in 2010, but thought that Zhou was not actively

prosecuting the case. This was not an intentional nor purposeful attempt to conceal any facts

from the Board, but simply inadvertent neglect due to other commitments and compounded by

the Bar applicant’s disability.

            Bar applicant’s Rehabilitation following alleged Sexual Misconduct

2177. Following the alleged sexual misconduct in 1993, the Bar applicant continued to practice

medicine for an additional ten (10) years until the revocation of his medical license in 2003

(license was revoked in Massachusetts in October 2002 and in New York in June 2003).

2178.   During these 10 years, the Bar applicant treated an average of 100 patients per week

(5000 patient-visits per year), therefore treating a total of approximately 500,000 patient-visits

between 1993-2003.

2179.   Over this 10-year period of time and 500,000 patient encounters, there were no incidents,

allegations, charges that the Bar applicant ever engaged in any sexual misconduct with any other

patient other than “Patient A” (Lourdes Colon) in 1993.

2180.   During the 18-year period of time since 1993, there was no incidents, allegations,

charges nor complaints that the Bar applicant was ever again involved with any type of alleged

sexual misconduct.

2181. During multiple tribunals between 1997 - 2002, defendants Lourdes Colon, Lisa Wolfe

and Stanley Spero continued their pattern of spoliation of the exculpatory evidence of the 1992

Express Bilateral Contract which terminated the doctor-patient relationship and exonerated the

Plaintiff of wrongdoing.
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2182.   Furthermore, Magistrate Sarah Luick made the following factual findings concerning the

Bar applicant in her Recommended Decision issued on or about April 2002:

        (a) Dr. Weinberg provided the appropriate medical care of Patient A throughout all

relevant years;

        (b) No sexual misconduct ever occurred in any professional setting such as clinic, office,

hospital or Emergency Department [the clinical world classifed by the termination contract];

        (c) Dr. Weinberg did meet with Patient A and her psychologist, Dr. Lisa Wolfe, in

August 1993 for the express purpose of terminating the doctor-patient relationship, which was

not prohibited by any law, regulation, custom or ethics;

        (d) When he resumed his medical treatment of Patient A in 1994, with whom he had

become sexually involved, Magistrate Sarah Luick concluded that he rescinded the agreement

terminating the doctor-patient relationship and thereby committed sexual misconduct because

“sexual relations with a current patient” comprises sexual misconduct according to the standard.

2183. This judicial “rescission” of the termination contract violated the Contract clause of the

U.S. Constitution, was beyond the authority of Sarah Luick, and comprised DALA and Sarah

Luick acting ultra vires violating the U.S. Constitution and lacking the authority to make such as

judicial rescission.

2184.   Multiple physician colleagues wrote reference letters and affidavits in support of the Bar

applicant’s good character, excellent medical care and concern for his patients, in spite of his

having made an error in becoming sexually involved with Patient A.




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2185.   The Bar applicant had stellar academic performance at the New England School of Law

from 2004-2006, making the Dean’s List most semesters, graduating with Juris Doctor degree

cum laude, and being named a “New England School of Law Scholar”.

2186.   The Bar applicant had a stellar employment record from 2005-2011: providing medical

consulting to attorneys involved with medical malpractice litigation; teaching college-level

science and mathematics courses at Newbury College, Bay State College and Eastern Nazarene

College; investigating PCT patent applications for the U.S. Patent and Trademark Office through

subcontractor Cardinal Intellectual Property; and conducting medical research at MIT into

potential new drugs for the treatment of Alzheimer’s disease.

2187. The Bar applicant’s research findings at MIT lead to his selection to present a poster

session at the annual meeting of the American Society of Clinical Pathology in Las Vegas in

October 2011 on novel antifibrillogenic agents as potential drugs to treat Alzheimer’s disease.

2188.   The Bar applicant’s research findings at MIT lead to the filing of an Invention

Disclosure concerning specific chemical agents which impede the aggregation of beta-amyloid

and therby represent potential new drugs for the treatment of Alzheimer’s disease. This is the

first step toward obtaining a patent from the U.S. Patent and Trademark Office.

2189.   A paper on the Bar applicant’s important and exciting research findings on the

antifibrillogenic properties of certain novel phytochemical polyphenols is being sent to top-notch

peer-reviewed biomedical journal for review toward eventual publication (was published).

2190.    It is unfair, unjust and unlawful to hold the Bar applicant liable for his former licensed

attorney’s legal mistakes or malpractice, prior to any law courses or training - Weinberg v. Colon

v. DiCianni, Ferriter Scobbo.
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2191. In Board Counsel’s Rule 9(d)(5) Summary of Evidence by Board Counsel, dated June 30,

2011, Mr. William R. Fisher devotes 4 pages out of a total 12 pages on the case Weinberg v.

Colon v. DiCianni, Ferriter Scobbo, representing 33% of the evidence presented in this

document.

2192.   Mr. Fisher fails to note the Third-party defendants in the case, the plaintiff’s former

Attorney Vincent DiCianni and his prior law firm of Ferriter Scobbo.

2193.   It would be reasonable to infer that this case was a substantial factor in Mr. Fisher’s

summary because he devoted 33% of the content of his summary of evidence to this one case.

2194.   The suit “Weinberg v. Colon v. DiCianni, Ferriter Scobbo” was filed in June 1999,

before the Bar applicant had ever taken a law course or had any legal training.

2195.   The Bar applicant was represented by counsel, licensed attorneys, at all times prior to

December 1999, involving any lawsuit or Board proceeding and reasonably relied upon the

advice and recommendations of his counsel.

2196. Until December 1999, the plaintiff had not acted pro se in any of the Board’s proceedings

and always followed and relied upon the advice of his legal counsel.

2197.   It is reasonable to state that a layperson, without any law school or legal training, cannot

be expected to understand the intricacies of litigation tactics and strategy and furthermore should

not be expected to “know better” than their legal counsel concerning these matters.

2198. It is also reasonable to state that such a layperson, without any law school or legal

training, may reasonably rely on the advice and recommendations of their counsel, and should




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not be liable personally for any gross legal mistakes, ethical errors or gross legal malpractice

which may be committed by their counsel.

2199.   In regards to the suit Weinberg v. Colon v. DiCianni, Ferriter Scobbo, the Bar applicant

was such a layperson in June 1999 when the suit was conceived, drafted, signed and filed by his

attorney of record, Vincent DiCianni, who was hired as legal counsel by the Bar applicant, when

the Bar applicant had never previously studied law, taken any law courses, or received any type

of legal training.

2200.   During the time period June 1998 through December 1999, Mr. Vincent DiCianni was

counsel of record for the Bar applicant and Mr. DiCianni was working at that time for the law

firm of Ferriter Scobbo.

2202.   The following provides the background to the suit Weinberg v. Colon v. DiCianni,

Ferriter Scobbo.

2203.   The Bar applicant had a license to practice medicine in the Commonwealth of

Massachusetts from September 1988 through October 2002.

2204.   The Bar applicant became sexually involved with “Patient A”.

2205.   In November 1996, Patient A filed a suit against the Bar applicant entitled Colon v.

Weinberg, Wesselhoeft and Boston Evening Medical Center stating that he had committed

medical malpractice and also sexual misconduct.

2206.   Through his medical malpractice insurance carrier, ProMutual, Attorney Claudia Hunter

was hired to represent the Bar applicant in these proceedings.




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2207. On or upon May 1998, this suit was settled out-of-court for $150,000, without any

admission of liability or culpability.

2208. On or about June 1998, the Bar applicant received a letter from the Massachusetts Board

of Registration in Medicine inquiring whether the Bar applicant had engaged in sexual

misconduct with a patient.

2209.    Attorney Claudia Hunter referred the Bar applicant to Attorney Vincent DiCianni, a

licensed attorney in the Commonwealth of Massachusetts, who had experience with Board

proceedings from his prior position as Assistant Attorney General.

2210.    From July 1998 through December 1999, Attorney Vincent DiCianni was the Counsel of

Record for the Bar applicant in the proceedings “Board of Registration in Medicine v. Robert P.

Weinberg”.

2211.    From the first week of representation, Attorney DiCianni repeatedly told the Bar

applicant that it was essential that Mr. DiCianni meet with Patient A so that he could determine

her credibility.

2212.    Prior to June 1999, the Bar applicant had no legal training, never had taken any law

courses, and always believed that he should put his full faith and trust in the advice and

recommendations of a licensed attorney, and that he should not double-guess the attorney’s

tactics or advice, nor attempt to do any sort of independent legal research of which he was quite

naïve.

2213.    Since the Bar applicant first met with Attorney DiCianni in the summer of 1998, Mr.

DiCianni repeatedly informed the plaintiff that it was essential for him to meet with Patient A in

order to “ascertain her credibility.”
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2214.   Attorney DiCianni made 5 unsuccessful attempts to meet with Patient A in order to

“determine her credibility” between July 1998 and December 1999, which was vital as Mr.

DiCianni explained to the Bar applicant, who had never previously taken any law courses nor

received any legal training, thus making him a legal layperson who reasonably would rely on

advice of counsel.

2215.   In his first attempt, Mr. DiCianni requested a meeting with Patient A, off-the-record and

not under oath, with Patient A’s former counsel Stanley Spero, on or about August-September

1998.

2216.   Mr. Spero refused to arrange any meeting.

2217.   In his second attempt, Mr. DiCianni requested to the Board of Registration in Medicine

that he meet with Patient A, off-the-record and not under oath, on or about November-December

1998.

2218.   The Board of Registration in Medicine refused.

2219.   In his third attempt, Mr. DiCianni made a motion to verbally examine Patient A to

Magistrate Sarah Luick in the Division of Administrative Law Appeals (DALA), on or about

January-February 1999.

2220.   Magistrate Sarah Luick denied this motion.

2221.   In his fourth attempt, Mr. DiCianni made a motion in Superior Court to depose Patient

A, on or about April-May 1999.

2222.   The Superior Court judge denied this motion.



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2223.   In his fifth and final attempt, Mr. DiCianni informed the Bar applicant that Patient A had

violated some of the terms of her settlement release agreement, and this would be a cause of

action to sue.

2224.   In June 1999, Mr. DiCianni continued to persist in telling the Bar applicant that he must

meet with Patient A to determine her credibility.

2225.   Mr. DiCianni further told the Bar applicant that based upon her breach of the terms of

the insurance settlement release, a suit should be filed against Patient A and this suit would

allow Mr. DiCianni to depose Patient A during discovery.

2226.   Based upon these recommendations and advice of Attorney DiCianni, the Bar applicant

agreed to the suit as proposed.

2227.   In June 1999, Mr. DiCianni drafted the Complaint which he had conceived in order to

depose Lourdes Colon.

2228.   In June 1999, Mr. DiCianni signed the Complaint under Rule 11 and possible sanctions.

2229.   In June 1999, Mr. DiCianni filed this suit Weinberg v. Colon in Suffolk Superior Court

in Boston, MA.

2230.   In summary, the suit “Weinberg v. Colon” was conceived, drafted, signed and filed by

Mr. DiCianni because of his stated need “to determine the credibility of the witness.”

2231.   The tenacity of Mr. DiCianni’s belief that he must meet Patient A to determine her

credibility was born out by his 5 attempts to meet with her, from August 1998 through December

1999.



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2232.   Prior to December 1999, the Bar applicant had full faith and trust in the legal advice and

recommendations of his attorney Mr. DiCianni.

2233.   Prior to December 1999, the Bar applicant had no reason to doubt or disbelieve any of

the legal advice and recommendations of his attorney Mr. DiCianni.

2234.   Prior to Mr. DiCianni’s filing the suit Weinberg v. Colon in June 1999, the Bar applicant

had never taken any law course, studied the law, nor had any type of legal training.

2235.   Prior to December 1999, the Bar applicant had never submitted any pro se filings,

pleadings, motions nor any other documents without the advice, approval and signature of his

attorney.

2236.   It was reasonable for the Bar applicant to rely on his attorney’s advice because the Bar

applicant was a layperson during this time period.

2237.   In December 1999, Judge Xifaras of the Suffolk Superior Court dismissed the suit

“Weinberg v. Colon” as frivolous and without merit.

2238.   In December 1999, Mr. DiCianni telephoned the Bar applicant, beginning the

conversation with “I have very bad news for you.”

2239.   In this phone conversation, Mr. DiCianni informed the Bar applicant that: (1) the suit

was dismissed as frivolous; (2) the Board of Registration in Medicine motioned to add additional

allegations against the Bar applicant, based upon the dismissal of this suit including intimidation

of a witness and obstruction of justice.

2240.   By the following day, the Bar applicant fired his attorney Mr. DiCianni because he lost

all faith and confidence in an attorney who apparently committed legal malpractice by filing a

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frivolous complaint and also failed to protect his client’s interests by subjecting the Bar applicant

to further allegations.

2241.   A hearing had been scheduled before Magistrate Sarah Luick in the Massachusetts

Division of Administrative Appeals for January 2000.

2242.   Following his firing of Mr. DiCianni, the Bar applicant was facing this hearing in

January 2000, a legal proceeding in the Massachusetts Division of Administrative Appeals,

without any attorney.

2243.   1999 was a terrible year for the Bar applicant: (1) his father, whom he loved very much,

died from a metastatic brain tumor; (2) he was unemployed from April 1999 through June 2000

and his savings dropped to zero; (3) his wife was threatening him with filing for divorce; (4) the

legal errors and possible malpractice of Mr. DiCianni was adding additional problems; and (5)

the Bar applicant felt defenseless and unprepared without legal counsel for the first time in his

life before a hearing scheduled for early January 2000.

2244.   These multiple adverse events bearing down on the Bar applicant, combined with his

disability and loss of competent legal counsel, pushed the Bar applicant into a desperate frame of

mind.

2245.   The Bar applicant was concerned that Patient A was going to lie at the hearing [perjury]

and state that the meeting to terminate the doctor-patient relationship with Dr. Lisa Wolfe,

patient A and the Bar applicant, which occurred at the Human Resources Institute in Brookline,

MA, in August 1992 never took place.

2246.   If the hearing had occurred, and patient A denied the termination agreement, then patient

A would have been guilty of perjury.
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2247.   In her factual findings issued in April 2002, Magistrate Sarah Luick did find that patient

A and the Bar applicant had met for the purpose of terminating the doctor-patient relationship in

August 1992.

2248.   Without legal counsel, and stressed out by the imminent hearing, the Bar applicant did

send a memo to the Board of Registration in Medicine in December 1999 warning them that a

witness was about to perjure himself/herself and the Board may be liable in a criminal

conspiracy if they knowingly allowed perjury to be committed.

2249.   Until June 1999, the Bar applicant was a legal layperson, without any law courses or

legal training.

2250.   One of the reasons that boards license attorneys is to assure the public and laypersons

that such a licensed attorney is competent and skillful with legal knowledge and practice so that

the layperson may trust her/his attorney to take care of legal matters in a competent fashion.

2251.   Laypersons are not expected to read law books, familiarize themselves with procedure or

tactics, to doubt the competence or ethics of her/his attorney, or to know the difference between a

frivolous lawsuit and a meritorious one.

2252.   The Bar applicant was such a legal layperson in June 1999, when Mr. DiCianni informed

him that the best road to take was to file the lawsuit “Weinberg v. Colon” so that Mr. DiCianni

would have the opportunity to depose Patient A and determine her credibility.

2253. The Maine Board of Bar Examiners apparently is taking the position that the Bar

applicant should have known better than to file such a suit in June 1999 as conceived, drafted,

signed and filed by Mr. Dicianni.


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2254. Although the Bar applicant was a legal layperson at the time, the Board of Bar Examiners

apparently is stating that the applicant should not have trusted his attorney, should not have

followed the advice and recommendations of his attorney, and should not have believed that Mr.

DiCianni’s licensure by the state should reassure the Bar applicant that he may trust, follow and

believe in the recommendations made by Mr. DiCianni.

2255. In her Recommended Decision issued in April 2002, Magistrate Sarah Luick concluded

that she did not hold the Bar applicant at fault for the filing of this suit, signed by Mr. DiCianni,

and Magistrate Luick denied the Board’s motion to add an additional formal allegation against

the Bar applicant based on the filing of this suit.

2256. In their decision denying the Bar applicant admission to the Maine Bar, the Board of Bar

Examiners appear to hold the Bar applicant accountable, responsible and liable for the legal

mistakes or legal malpractice committed by Mr. DiCianni in conceiving, drafting, signing and

filing the suit “Weinberg v. Colon” in June 1999, as epitomized in the 33% of total evidence

presented by AAG Mr. William R. Fisher in his Summary of Evidence filed in June 2011.

2257. This is most decidedly unreasonable, unfair and unjust to hold the Bar applicant

accountable, responsible and liable for the legal mistakes or potential legal malpractice

committed by Mr. DiCianni, while the Bar applicant reasonably relied upon Mr. DiCianni’s

advice, and at a time when the plaintiff was a legal layperson with no legal training.

2258. The Board’s action in holding the Bar applicant accountable and liable for Mr.

DiCianni’s suit also goes against the river of extensive precedent which allows a client to sue

her/his attorney for legal malpractice, breaking the “unity of attorney-client” when the attorney

seriously errs.

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2259. The “unity” of attorney and client is most definitely broken when the attorney knowingly

and purposely commits legal malpractice or unethical transactions, without the client’s

knowledge of such wrongdoing or unethical stance.

2260. Although the circumstances are such as to provide a good cause of action for the Bar

applicant to sue his former counsel, Mr. DiCianni, for such legal malpractice in filing a frivolous

suit, the Board of Bar Examiners is apparently of the belief that a layperson such as the Bar

applicant was in June 1999, should have known better than his licensed attorney and seems to be

suggesting that clients do not follow the advice or counsel of their attorney, but rather carry out

some independent investigation or research to see if their attorney’s advice is sound.

2261. In light of these circumstances, and evidence to be presented at the hearing, the Court

must find that the conceiving, drafting, signing and filing of the lawsuit “Weinberg v. Colon”

was the sole responsibility and liability of Attorney DiCianni, and not any evidence of an adverse

nature on the Bar applicant’s good moral character.

2262.   The Court must find that the Bar applicant acted in good faith, and belief and trust in Mr.

DiCianni, when he agreed to such a lawsuit being filed.

2263. Furthermore, the Court must find that the filing of the suit “Weinberg v. Colon” is not

evidence of any bad character or lack of principles on the part of the Bar applicant.

2264. The Bar applicant should not and cannot be found accountable or liable for the legal

mistakes of his former attorney, when the applicant was a layperson in June 1999 and trusted in

the legal advice of Mr. DiCianni, without any former law courses or legal training up until that

time.



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2265. Although the lawsuit “Weinberg v. Colon” was dismissed as frivolous in December 1999,

the counterclaims of the defendant Colon persisted until their dismissal on or about 2005.

2266. In January 2001, Professor John Flym, a law professor at the Northeastern University

School of Law, became counsel of record for the Bar applicant.

2267. It was obvious to Professor Flym, as well as to the defendant Colon’s co-counsel Philip

Cohen, that the Bar applicant was not to blame for the filing of the suit “Weinberg v. Colon”

because the suit was conceived, drafted, signed and filed by Attorney DiCianni.

2268. Based upon this mutual understanding, both Flym and Cohen agreed that a Third party

complaint should be filed against Mr. DiCianni and there was mutual consent for the joint filing

of a Third Party complaint against Mr. Vincent DiCianni.

2269. Mr. Cohen, defendant Colon’s co-counsel, agreed to draft the third-party complaint.

2270. Sometime between October-November 2001, the Court accepted this third-party

complaint against Mr. DiCianni, and the suit became “Weinberg v. Colon v. DiCianni, Ferriter

and Scobbo.”

2271. In part, the third party complaint alleged that Mr. DiCianni was liable for any and all of

the damages alleged by defendant Colon in her counterclaims because of alleged injuries arising

from the filing of the suit.

2272. Following the loss of his medical license in October 2002, the Bar applicant was

unemployed but continued to have financial obligations of approximately $10,000 per month.

2273. Due to insolvency and unemployment, the Bar applicant was unable to pay his rent and

was evicted from his apartment in October 2003.

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2274. Due to insolvency and unemployment, the Bar applicant was unable to pay his monthly

auto loan costs, and he lost his car in 2004.

2275. Finally, in March 2005, the Bar applicant filed for Chapter 13 bankruptcy in the Maine

Bankruptcy Court.

2276. With over $ 65,000 owing to Professor John Flym, counterclaims by Colon for $

300,000, and total unsecured debt of over $ 315,000, the Bankruptcy trustee converted the

chapter 13 case to a chapter 7 case.

2277. With the filing of the bankruptcy in March 2005, all outstanding legal claims for damages

became property of the bankruptcy estate under the administration of the bankruptcy trustee John

Turner.

2278. Mr. Turner hired counsel, and pursued negotiations with the ProMutual Insurance

Carrier, settling the lawsuit “Weinberg v. ProMutual Insurance et al.” filed pro se for

approximately $ 7,500 in an out-of-court settlement.

2279. Mr. Turner’s counsel evaluated the claims and counterclaims in the 1999 lawsuit

“Weinberg v. Colon v. DiCianni, and Ferriter Scobbo” and decided not to pursue the litigation.

This suit was dismissed when the plaintiff and defendant failed to appear for a status conference,

for failure to prosecute, although the Court was given notice that the claims of Weinberg were

the property of the bankruptcy estate and thus were represented by the bankruptcy trustee, Mr.

Turner.

2280. All the evidence and the totality of the circumstances point to the fact that Mr. DiCianni

conceived, drafted, signed and filed the suit “Weinberg v. Colon v. DiCianni, and Ferriter

Scobbo” and must be held accountable and liable for this mistake and possible legal malpractice.
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2281. In light of all this, it is unreasonable, unfair and unjust for the Maine Board of Bar

Examiners to hold the Bar applicant accountable or liable for the suit “Weinberg v. Colon v.

DiCianni, and Ferriter Scobbo” and the Court must find that this suit in itself does not reflect

upon the Bar applicant’s good moral character nor his fitness to practice law in Maine.

2282. Legal malpractice by an attorney must breach the “unity of attorney-client.”

2283. The client is allowed by law to sue her/his former attorney for such legal malpractice and

the client is not presumed to be guilty or liable for such legal malpractice, unless the client was

himself an attorney or had sufficient legal training to have realized at the time of commission

that legal malpractice was underfoot.

2284. The subsequent Third Party Complaint against his former attorney Vincent DiCianni,

which was consented to by the defendant Lourdes Colon and allowed by the Court is per se

evidence of the breach of attorney-client unity between the Bar applicant and Mr. DiCianni on

the basis of legal malpractice.

2285. The following documents the errors and misunderstandings in the Board’s August 23,

2011 Decision.

2286. Error # 1: On page 2, the Board states “By final decision and order dated October 30,

2002, the Board of Medicine revoked Weinberg’s license to practice medicine in the

Commonwealth of Massachusetts for a period of five years ….”

2287.   However, although the usual statutory period to wait following revocation of a medical

license before which the physician may not petition for reinstatement is five years, the

Massachusetts Board specifically granted the Bar applicant the right to petition for reinstatement


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of his medical license after only 3 years, which is two years shorter than the statutory time period

usually mandated.

2288. The Maine Board of Bar Examiners properly notes that “Weinberg has been eligible to

seek reinstatement of his Massachusetts medical license since 2005” [ 3 years following the

October 30, 2002 order of revocation].

2289.   Error # 2: On page 4, the Board states “Weinberg was also charged criminally for

allegedly assaulting his wife in December 2007. As his criminal defense attorney explained, the

‘problem with the case was that [Weinberg’s wife] refused to testify for the prosecution.’ A

finding of not guilty was then entered by the Massachusetts court.

2290. Although this was poorly explained by the letter submitted by Attorney Jay Hook, there

was substantial evidence presented to the Board that a simple unintentional accident escalated to

allegations of criminal assault even though:

        (a) Vera Koledova, the Bar applicant’s wife, testified at the hearing that her injury

resulted from an accident;

        (b) Medical records signed by the Emergency Physician at Mt. Auburn Hospital stated

that Vera believed that only an accident occurred;

        (c) Vera Koledova provided a notarized Affidavit to the Board that it was only an

accident.

2291. At the de novo hearing, Attorney Jay Hook is expected to testify that Vera’s injury

resulted from an accident, which was mistaken for an assault when she tried to telephone for an

ambulance to transport the Bar applicant to the hospital.

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2292. All this testimony is against any finding of purposeful, intentional or criminal assault,

although the Board suggests that it was a criminal assault which could not be prosecuted without

Vera Koledova’s testimony.

2293. Eyewitnesses to this incident will be testifying at the de novo hearing before a Single

Justice of the Maine Supreme Judicial Court, and will prove that the judge’s decision to acquit

the Bar applicant of all criminal charges was both fair and just.

2294. Documentation of the Bar applicant’s Disability.

2295. A key issue in this Petition for Admission to the Bar is whether (1) the Bar applicant is

disabled as defined by the federal Americans with Disabilities Act (or Maine statutes enacted to

protect the disabled) and therefore entitled to the rights, protections and privileges of that Act;

and (2) did the Board of Bar Examiners discriminate against the Bar applicant on the basis of his

disability?

2296. As is well known, prejudice and bias need not be facially evident in the Board’s decision,

but may be inferred from the Board’s conduct and actions in reaching this decision.

2297. It is not uncommon for state or government agencies to provide a pretextual reason for

performing some otherwise unlawful activity in an effort to avoid the disclosure for the real and

true reason for their actions, when such activity is prohibited by law.

2298. During the July 25, 2011 hearing, there was abundant evidence in specific questions

asked to the Bar applicant, questions asked to Dr. Donald Meyer and facial expressions made by

the Board members during the hearing, which show the prejudice and bias which the Board

exhibited toward the Bar applicant because of his disability leading to their decision to deny Bar

admission on a pretextual basis.
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2299. The Bar applicant will ask for a copy of the transcript of this July 25, 2011 hearing and

such transcript will be introduced into evidence at the de novo hearing before the Single Justice

in order to prove by a preponderance of the evidence that several Board members are clearly

prejudiced and biased against the Bar applicant on the basis of his disability.

2300. Furthermore, the Bar applicant intends to call expert witnesses who will testify about the

Bar applicant’s disability.

2301. Since AAG Mr. William Fisher’s initial request for psychological records in an email on

or about March 2011, the plaintiff had submitted multiple reports from physicians, psychologists

and psychiatrists, as well as forensic reports, documenting the Bar applicant’s disability and the

Board had adequate notice of the Bar applicant’s disability from these reports as well as live

testimony of Dr. Donald Meyer during a conference call at the July 25, 2011 hearing.

2302. Medical records, psychological evaluations and psychiatric diagnoses and assessments

were submitted by eight of the Bar applicant’s treating physicians, psychologists, psychiatrists

and forensic psychiatric examiner as part of the Bar applicant’s exhibits.

2303. These included reports, testing, assessments and diagnoses by: (1) Dr. Donald Meyer; (2)

Dr. Sarah Hoffschmidt; (3) Dr. Laurence Bart; (4) Dr. Andrea Celenza; (5) Dr. Sten Lofgren; (6)

Dr. Evgeniy Filin; (7) Dr. Rita Teusch; (8) Dr. Carolyn Conklyn.

2304. Because of difficulties with concentration and focusing in his academic and research

activities, the Bar applicant was referred to Dr. Sara Hoffschmidt, Instructor in Neurology, Beth

Israel Deaconess Medical Center, Harvard Medical School.

2305. Dr. Hoffschmidt performed about five hours of neuropsychological testing on the Bar

applicant both in 2006 and 2010.
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2306. On both sets of testing, the Bar applicant showed specific, distinct and identifiable

neurologic deficits in spite of his overall superior intelligence performance.

2307. Dr. Hoffschmidt has suggested that using his overall superior intelligence, the Bar

applicant was able to compensate for his deficits and mask those deficiencies in everyday life.

2308.   Following are excerpts from the report by Dr. Hoffschmidt, dated January 14, 2010,

which detail some of the Bar applicant’s medical and neurologic deficiencies and strengths,

which underlie the Bar applicant’s disability:

---------- [Hoffschmidt report quoted within the dotted lines] ------------------------------

1. “EVALUATION PROCEDURES AND TESTS ADMINISTERED: Clinical diagnostic

interview; Review of patient records; Intellectual Functioning: Wechsler Adult Intelligence

Scale-Fourth Edition; Attention/Working Memory/Executive: Working Memory and Processing

Speed Indices (WAIS IV); Trail Making Test A & B; Stroop Test; Conners’ Continuous

Performance Test; Tower of London; Memory/Learning: California Verbal Learning Test-

Second Edition; Taylor Complex Figure; Language: Word Generation Test (FAS, Animal

Generation); Visual-Spatial: Rey-Osterrieth Complex Figure; Block Design (WAIS IV); Self-

Report Measures: Executive Functions Checklist; Beck Depression Inventory-Second Edition.”

2. “INTELLECTUAL ABILITIES Results of previous testing indicated overall verbal and

nonverbal intellectual abilities in the superior range.”

3. “RELATIVE NEUROCOGNITIVE WEAKNESSES WERE EVIDENT IN THE

FOLLOWING AREAS:




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4. 1.   MILD IMPULSIVITY AND DIFFICULTY REGULATING ATTENTION. On a visual

continuous performance task, Dr. Weinberg did not make a large number of errors of omission or

commission. His response time was unusually fast, however, and he had greater variability in

response time according to the speed of stimulus presentation than is typical. Mild

impulsivity/difficulties with inhibition were seen in his three errors on a measure in which he

rapidly named the color of ink used to print words. He similarly made attentional errors on a

scanning task, and generally was quick to respond.

5. 2.   VARIABILITY IN AUDITORY WORKING MEMORY. Though Dr. Weinberg excelled

at solving math problems in his head (see Strengths, above), greater difficulty was evident in

other working memory tasks. He repeated 7 digits in foPlaintiff Robert Weinbergard sequence,

but just 4 in reverse (2006 = 6). He mentally re-sequenced 4 digits. On another measure, he

struggled to mentally re-order numbers and letters (25th %ile; 2006 = 63rd %ile).

6. 3.   FRAGMENTED APPROACH TO A VISUAL COPYING TASK. Dr. Weinberg’s copy

of a complex figure was accurate (see Strengths, above), but he approached the task in a

methodical but fragmented manner.

7. CONCLUSIONS by Dr. Hoffscmidt

8. … Evaluation findings were consistent with intact, stable performance across a majority of

neurocognitive measures, including verbal intellect, visual processing speed and attention,

mental math, verbal fluency, planning and problem solving, verbal learning and memory, visual-

spatial abilities, and visual memory. Continued relative difficulties were evident in aspects of

attention and executive functioning, including auditory working memory (which was slightly

lower), impulsivity and regulation of attention, and organization….

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9. Evaluation findings likely relate to a confluence of factors, including lifelong developmental

and acquired frontal/executive vulnerabilities (i.e. possible ADHD and sequelae of head injury);

untreated sleep apnea and generally inadequate sleep; and stress and depression.

10. … DIAGNOSIS:

11. 1. 294.9 Cognitive disorder NOS: Deficits in attention and executive functioning in the

context of untreated obstructive sleep apnea, hypertension, hypothyroidism, and head injury

                2. 311. Depressive disorder NOS; rule out bipolar spectrum disorder

                3.Sleep apnea

        4. Hypertension

        5. Hypothyroidism”

--------------------------- (end of excerpts from Hoffschmidt’s report) ---------------------------------

2309.   Dr. Evgeniy Filin, M.D. is a physician in the Cognitive Neurology Department at Beth

Israel Deaconess Medical Center, and an Instructor at Harvard Medical School, who has been

prescribing medications for the Bar applicant’s neurologic disability from 2007 – 2011.

2310.   Dr. Evgeniy Filin wrote a letter on January 10, 2011 concerning the Bar applicant in

which he describes the following:

        “….. It is to confirm that you have been seen in this clinic since 03/01/2007. Your

        condition was diagnosed as Major Depressive Disorder ( currently in remission) and

        Cognitive Disorder, Not Otherwise Specified with attention and executive problems in

the context of Sleep Apnea, hypothyroidism, hypertension, history of head injury and possible

attention deficit disorder.”


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2311.   Dr. Donald Meyer, M.D., is a licensed physician in the Commonwealth of

Massachusetts who serves as the Associate Director of Forensic Psychiatry at Beth Israel

Deaconess Medical Center and also serves as an Assistant Clinical Professor of Psychiatry on the

faculty of Harvard Medical School, and is a graduate of the Tufts University School of Medicine

and is board-certified as a Diplomate in Psychiatry of the American Board of Psychiatry and

Neurology and also board-certified in Forensic Psychiatry by the American Board of Psychiatry

and Neurology.

2312.    Among his other accomplishments, Dr. Meyer is also a Distinguished Fellow of the

American Psychiatric Association.

2313.   The Bar applicant was referred to Dr. Donald Meyer for a forensic psychiatric

examination because of the applicant’s neurologic, cognitive and executive disability resulting

from underlying neurologic/neuropsychiatric impairments/deficits/conditions, in part to

determine the Bar applicant’s fitness to practice law in Maine.

2314.   In his Confidential Report on the Bar applicant dated July 22, 2011, provided to the

Maine Board of Bar Examiners, Dr. Meyer states that he utilized the following sources of

information: (1) Interviews with the examinee totaling 7 ½ hours; (2) the Minnesota Multiphasic

Personality Inventory – Second Edition (MMPI-2); (3) the State of Maine Board of Bar

Examiners Rule 9d5 Summary of Evidence by Board Counsel dated June 30, 2011; (4)

Commonwealth of Massachusetts Division of Administrative Law Appeals, BORIM [Board of

Registration in Medicine] dated April 9, 2002 [erroneously written as 2001] referring to

Magsitrate Sarah Luick’s “Recommended Decision” issued on 04/09/2002; (5) Affidavit of Dr.

Robert Weinberg, January 18, 2000; (6) Affidavit of Dr. Robert Weinberg, 10/2/2002 to

BORIM; (7) Outpatient Psychiatric record Beth Israel Deaconess Medical Center, 3/1/07-
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present, Dr. Evgeniy Filin; (8) Outpatient medical records from Greg Lipshutz, MD, the

examinee’s neurologist; (9) Outpatient medical record (July 2005) from EJ Wasserman, MD,

Neurologist;                       (10) Neuropsychological retesting 1/14/2010 performed at Beth

Israel Hospital by Sara Hoffschmidt, Ph.D.; (11) Outpatient medical record from Sleep Disorders

unit, Beth Israel Deaconess Medical Center; (12) Incomplete draft report of IME of the examinee

by Laurence Bart, Ph.D., 12/10/10; (13) Medical Record 12/11/2007 EW [Emergency Ward]

visit of Vera Koledova, the wife of the examinee; (14) Affidavit, 2002 of Andrea Celenza, Ph.D.,

former therapist of the examinee; (15) Letter 2/12/01 from Sten Lofgren, M.D., the examinee’s

treating psychopharmacologist from 1997-2006; (16) Affidavit (July 14 2011 [mistakenly written

as 2001]) of Rita Teusch, Ph.D., the examinee’s psychologist since May 2009; (17) Letter of

reference 1/16/11 from Michael Rothman, M.D., former medical director of mental health

services at the BEMC [Boston Evening Medical Center, where the Bar applicant worked as a

Family Practice physician from 1989 – 1997; and (18) Telephone interviews with health care

providers including: Andrea Celenza, Ph.D., examinee’s psychotherapist from 1997 – 2007; Sten

Lofgren,MD, examinee’s former psychopharmacologist 1997 – 2006; Rita Teusch, Ph.D.

examinee’s psychotherapist from 2009 – present; Evgeniy Filin, MD, examinee’s current

psychopharmacologist, 2007 – present; Carolyn Conklin, Ph.D., the examinee’s former couple’s

therapist 3/9/2007 – 10/3/2007; and (19) Affidavit to the Maine Bar Examiners in the matter of

bar applicant Robert Weinberg by Attorney Jay G Hook, the examinee’s former criminal defense

counsel.

2315.      Based upon these 23 sources of information (including the 5 telephone interviews), Dr.

Meyer’s report must be considered comprehensive, detailed and thorough in its’ evaluation of



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the Bar applicant’s neurologic, mental and psychological assessment of the applicant’s fitness to

practice law in face of his neurologic and neuropsychological disability.

2316.    Further evidence of the Bar applicant’s fitness to practice law will be found in the

evidence presented by Dr. Sara Hoffschmidt, Dr. Rita Teusch and Law Professor Robert

Coulthard, later in this petition, in spite of the Bar applicant’s disability.

2317.    During the July 25, 2011 hearing, a conference telephone call was made to Dr. Donald

Meyer, who spent over an hour explaining to the Board of Bar Examiners the Bar applicant’s

conditions, psychological difficulties, mental impairments and disability. Dr. David Meyer also

answered several dozen questions posed by the Board members.

2318.    From this comprehensive forensic assessment of the Bar applicant, Dr. Donald Meyer

concluded that the plaintiff suffers from several neurological and neuropsychological conditions

including: (1) Major depressive disorder, recurrent in remission; (2) ADHD childhood inattentive

type, possible adult residual; (3) Cognitive Disorder, not othePlaintiff Robert Weinbergise

specified; (4) Obstructive and central sleep apnea; (5) Personality disorder, not otherwise

specified.

2319.    Although any one of the Bar applicant’s serious medical and neurological disorders may

cause a person to be disabled, the Bar applicant’s disability is the result of the confluence and

concurrent effects of his multiple disorders and not from any single disorder.

2320.    The Bar applicant intended to call expert witnesses to testify about his disability at the

de novo hearing before the Single Justice of the Maine Supreme Judicial Court.




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2321.    In Applicant’s Exhibit 16 “Supplemental Report of Dr. Rita Teusch”, Dr. Teusch

referred to the significant depression and life-adjustment issues resulting in part from the Bar

applicant’s disability.

2322.    Additional substantial evidence of the Bar applicant’s disability was presented by other

physicians, psychologists and psychiatrists, as well as the effects of the disability on the Bar

applicant’s conduct and behavior, which might otherwise be interpreted in a malevolent way.

2323.    In spite of the substantial amount of medical and forensic evidence of the Bar

applicant’s disability, the glaring hole, screaming silence and marked deficiency in the Board’s

decision concerned its failure to address the Bar applicant’s mental/psychiatric disability/

conditions/impairments in any way whatsoever.

2324.    This silence by the Board of Bar Examiners concerning the Bar applicant’s disability

was, in part, revealing about the Board’s prejudice and bias against the Bar applicant because of

his disabling medical, psychological and psychiatric conditions.

2325.    Based upon this cumulative evidence of over eight (8) medical professionals totaling

over 14 years of treatment and assessment of the Bar applicant, this Court was not able to find

that the Bar applicant is a disabled person as defined by the federal Americans with Disabilities

Act.

2326.   The Bar applicant’s disability is not the result of any single medical condition, but is the

result of the aggregate effects of the Bar applicant’s prior Traumatic Brain Injury, neonatal

cerebral ischemia, Cognitive Disorder NOS, executive function disorder, ADHD, failure of

executive functions, Personality Disorder NOS, and Obstructive Sleep Apnea.



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2327.    The next key issue to be decided on the evidence is whether the denial of Bar admission

was the result of the Board of Bar Examiners’ discrimination against the Bar applicant because

of his disability, with the pretextual finding that the Bar applicant failed to meet his burden of

proof of his good character.

2328.    If this is the case, then the Board of Bar Examiners may have violated the civil rights

and constitutional rights of the Bar applicant on the basis of discrimination against a frank and

obvious disability in violation of both federal and state law.

2329.    The one negative opinion in Dr. Meyer’s report relates the unprofessional and

disparaging remarks of Dr. Sten Lofgren, whom the Bar applicant saw for prescription of ADHD

and depression medications from 1997-2004. All of the Bar applicant’s other treating physicians

and psychologists had positive remarks in the report.

2330.    Dr. Lofgren stated unprofessionally that he considers the plaintiff to be a “slippery

fellow” and that he personally disliked the plaintiff because of an extramarital affair disclosed

during treatment.

2331.    In spite of the multiple positive opinions of the Bar applicant expressed by the other

psychiatrists, psychologists and physicians, it was the opinion of Dr. Lofgren that the Board

apparently decided to hang its hat upon.

2332.    The Bar applicant has specific rights as a Disabled American under both state and

federal law.

2333.    It was imperative for this tribunal to determine whether the Maine Board of Bar

Examiners discriminated against this Bar applicant on the basis of his disability.


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2334.    A key issue is whether the Maine Board of Bar Examiners confused or misunderstood

conduct or behavior which was the direct involuntary result of the Bar applicant’s disability,

made without free choice or free will, with the erroneous assumption that all such conduct or

behavior was due to a lack of good character or malfeasant motives.

2335.    Based upon Dr. Meyer’s recommendations, the Bar applicant was seeking a conditional

admission to the Bar, subject to a monitoring agreement with the Maine Assistance Program, as

drafted by Mr. William Nugent, as well as continued medical/psychological treatment under

supervision, and a condition of a supervising attorney who would review the Bar applicant’s

cases on a regular basis, as well as specific continuing legal education requirements above and

beyond the regular CLE required for Maine attorneys.

2336.    Mr. William Nugent testified at the hearing, and recommended that the Bar applicant be

conditionally admitted to the Maine Bar subject to the conditions enumerated in paragraph

above.

2337.    It is clear from the Bar applicant’s medical records, psychological evaluations and

psychiatric diagnoses and assessments, that the Bar applicant is a disabled person as defined by

the federal Americans with Disabilities Act, as well as ancillary Maine statutes addressing

disabled persons.

2338.    Although the Bar applicant submitted more than 100 pages of medical records and

assessments, and the Board questioned Dr. Meyer for over an hour during the conference

telephone call, the Board failed to make a single remark or comment on these disabling

conditions of the Bar applicant in their final decision.



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2339.   In their decision denying Bar admission to the Bar applicant, the Board failed to make a

single statement, averment or declaration relating to the Bar applicant’s medical, psychological

and psychiatric conditions.

2340.   The transcript of the July 25, 2011 hearing provided evidence of the Board’s prejudice

and bias against the Bar applicant on the basis of his disability.

2341.   Furthermore, the Bar applicant provided additional evidence of that bias and prejudice

against the Bar applicant on the basis of his disability through additional materials to be

subpoenaed from the Board during the discovery process.

2342.   The plaintiff attempted to prove that the Board’s prejudice and bias on the basis of the

applicant’s disability was a substantial factor, if not dispositive factor, in the Board’s decision to

deny the plaintiff admission to the Bar in Maine.

2343.   The evidence presented will showed by a preponderance of the evidence that the Board’s

prejudice and bias against the applicant on the basis of his disability underlay the Board’s

surreptitious motivation of discriminating against the plaintiff, in denying the plaintiff admission

to the Bar.

2344.   Further background on the Bar applicant’s Medical and Neurological conditions which

are the basis of his Disability is described below.

2345.   NEONATAL CEREBRAL ISCHEMIA AND BRAIN DAMAGE

        (a) The Bar applicant was born on October 27, 1953 at the Crown Heights Hospital in

        Brooklyn, New York to father, Dr. Hyman W. Weinberg, a General Practice physician,

        and mother Dr. Isabelle Weinberg, a psychologist.

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      (b) During his vaginal delivery, there were some difficulties in extracting the Bar

      applicant from his mother resulting in his being born as a “blue baby”, referring to

      neonatal ischemia whereby the blood flow to the brain is compromised with less oxygen

      being delivered to the brain which results in neurologic injury and brain damage.

      (c) The primary symptom of the Bar applicant’s neonatal brain injury comprised his

      marked difficulty with speech, poor phonation and pronunciation, and a delay in speech

      development.

      (d) During Elementary School, the Bar applicant was in speech therapy twice a week

      from the first through the sixth grades. Techniques were taught to improve the applicant’s

      pronunciation and phonation.

      (e) Due to these speech difficulties, the Bar applicant was afraid to speak in the

classroom,   and terrified when his teacher asked him to read a passage aloud to the class.

Frequently   classmates laughed at the Bar applicant when they heard him speak.

2346. HEAD TRAUMA, SUBDURAL HEMATOMA AND NEUROSURGERY ON THE

BRAIN AS BASIS FOR TRAUMATIC BRAIN INJURY SYNDROME

      (a) On or about May 1964, the Bar applicant was riding his bicycle and practicing a new

      trick – riding without holding the handlebars.

      (b) When the bicycle wheel struck a rock unexpectedly, the Bar applicant fell off his

      bicycle striking his head against the pavement strongly and becoming unconscious.




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  (c) An ambulance brought the Bar applicant to Massapequa General Hospital, where the

  Bar applicant was diagnosed with a fractured skull and was kept inpatient for several

  days.

  (d) After several days, the Bar applicant began seeing “double” (diplopia), and a

  fundoscopic exam of his retina revealed papilledema, reflecting on the increased

  intracranial pressure, often resulting when there is a hemorrhage of a vessel inside the

  brain.

  (e) The Bar applicant was brought to Flower and Fifth Avenue Hospital, New York City,

  NY, where the neurosurgeon Dr. Tarlov diagnosed bleeding inside the brain and

  proceeded to surgery.

  (f) In the operating room, Dr. Tarlov used a surgical drill to perform a craniotomy, and

  drill a 2-inch hole in the Bar applicant’s skull in order to reach the bleeding site.

  (g) Dr. Tarlov successfully found the blood clot, evacuated it from the brain, and also

  identified the bleeding vessel which had been torn at the time of the car accident and

  placed a celluloid artificial “patch” over the torn vessel to stop the bleeding.

  (h) The Bar applicant missed the last 2 months of sixth grade because of this trauma, the

  neurosurgery performed, and a recovery period at home.

  (i) In subsequent years, some psychiatrists diagnosed the Bar applicant with part of the

  syndrome called “Traumatic Brain Injury.”




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  (j) Traumatic brain injury (TBI) is a well-recognized neurologic syndrome occurring in

  persons who have suffered some significant injury to the brain, often from car accidents

  or falls from a great height.

  (k) “Traumatic brain injury (TBI), also known as intracranial injury, occurs when an

  external force traumatically injures the brain. TBI can be classified based on severity,

  mechanism (closed or penetrating head injury), or other features (e.g. occurring in a

  specific location or over a widespread area). Head injury usually refers to TBI, but is a

  broader category because it can involve damage to structures other than the brain, such as

  the scalp and skull. TBI is a major cause of death and disability worldwide, especially in

  children and young adults. Causes include falls, vehicle accidents, and violence.

  Prevention measures include use of technology to protect those who are in accidents,

  such as seat belts and sports or motorcycle helmets, as well as efforts to reduce the

  number of accidents, such as safety education programs and enforcement of traffic

  laws….. TBI can cause a host of physical, cognitive, social, emotional, and behavioral

  effects, and outcome can range from complete recovery to permanent disability or

  death….. Focal injuries often produce symptoms related to the functions of the damaged

  area. Research shows that the most common areas to have focal lesions in non-

  penetrating traumatic brain injury are the orbitofrontal cortex (the lower surface of the

  frontal lobes) and the anterior temporal lobes, areas that are involved in social behavior,

  emotion regulation, olfaction, and decision-making; hence the common social/emotional

  and judgment deficits following moderate-severe TBI. Symptoms such as hemiparesis or

  aphasia can also occur when less commonly affected areas such as motor or language

  areas are respectively damaged…..

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       (l) Symptoms are dependent on the type of TBI (diffuse or focal) and the part of the brain

       that is affected. Unconsciousness tends to last longer for people with injuries on the left

       side of the brain than for those with injuries on the right. Symptoms are also dependent

       on the injury's severity. With mild TBI, the patient may remain conscious or may lose

       consciousness for a few seconds or minutes. Other symptoms of mild TBI include

       headache, vomiting, nausea, lack of motor coordination, dizziness, difficulty balancing,

       lightheadedness, blurred vision or tired eyes, ringing in the ears, bad taste in the mouth,

       fatigue or lethargy, and changes in sleep patterns. Cognitive and emotional symptoms

       include behavioral or mood changes, confusion, and trouble with memory, concentration,

       attention, or thinking.Mild TBI symptoms may also be present in moderate and severe

       injuries….

       (m) A person with a moderate or severe TBI may have a headache that does not go away,

       repeated vomiting or nausea, convulsions, an inability to awaken, dilation of one or both

       pupils, slurred speech, aphasia (word-finding difficulties), dysarthria (muscle weakness

       that causes disordered speech), weakness or numbness in the limbs, loss of coordination,

       confusion, restlessness, or agitation. Common long-term symptoms of moderate to

       severe TBI are changes in appropriate social behavior, deficits in social judgment, and

       cognitive changes, especially problems with sustained attention, processing speed, and

       executive functioning.Alexithymia, a deficiency in identifying, understanding,

processing,   and describing emotions occurs in 60.9% of individuals with TBI.Cognitive and

social deficits have long-term consequences for the daily lives of people with moderate to

       severe TBI, but can be improved with appropriate rehabilitation.” [from Wikipedia].



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2347. COGNITIVE DYSFUNCTION CAUSED BY HYPOTHYROIDISM

       (a) During the first quarter of his freshman year at high school, the plaintiff suffered from

       marked fatigue and exhaustion, necessitating several naps per day.

       (b) The plaintiff also was failing at school, with failing grades in social studies and

       English, due in part to his marked fatigue and exhaustion.

       (c) A Basal Metabolic Rate (BMR) study was performed on the plaintiff to see if he may

       be suffering from a thyroid condition which was known to be present in several of the

       plaintiff’s family members.

       (d) The BMR study showed that the plaintiff had a metabolic rate substantially depressed

       from normal, at only 55% of the expected metabolic rate for his age.

       (e) This was clear evidence that the plaintiff suffered from hypothyroidism, a familial

       condition, which is caused by the inability of the thyroid gland to produce enough

       thyroxine and tri-iodothyronine which regulates metabolism.

       (f) The Bar applicant was then started on thyroid replacement medication.

       (g) Within one week, the plaintiff’s grades shot up academically and he became a straight

       “A” student throughout the rest of high school, graduating in the top five percent of his

       class of over 612 students at the Massapequa High School in Massapequa, New York.

       (h) The Bar applicant was accepted into the Massachusetts Institute of Technology

(MIT), where he studied for his undergraduate degree, a B.S. in Biology, which was awarded in

       1976.



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2348.   DIAGNOSIS OF ATTENTION DEFICIT DISORDER (ADHD)

        (a) On the urging of his psychologist, the Bar applicant went to the Hallowell Center in

        Concord, Massachusetts, which specialized in Attention Deficit Disorder.

        (b) Following an examination, clinical history, and neuropsychological testing, the Bar

        applicant was diagnosed with Attention Deficit Disorder on or about April 1997.

        (c) Treatment was begun for this ADHD, initially with Ritalin.

        (d) After a treatment re-evaluation, the Bar applicant was started on Adderall for his

        ADHD.

        (e) The Bar applicant made substantial gains in his ability to focus and concentrate on his

        work, and the personal problems resulting from his ADHD were reduced on medication.

        (f) The Bar applicant continues to take Adderall daily for his ADHD, which he has been

        on since 1998.

2349. CENTRAL AND OBSTRUCTIVE SLEEP APNEA

        In addition to his Traumatic Brain Injury, the Bar applicant has also been diagnosed with

        Severe Obstructive Sleep Apnea, which further contributes to his disability as noted by

        Dr. Hoffschmidt and can result in specific types of behavior and conduct.

2350.COGNITIVE DISORDER AND EXECUTIVE FUNCTION DISORDER

        (a) Extensive neuropsychological testing by Dr. Sara Hoffschmidt in 2006 and 2010

        showed significant cognitive deficits and disorder in executive function, in spite of the

        Bar applicant’s superior intelligence and superior performance on other assessment tasks.


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        (b) However, in the letter authored by Dr. Hoffschmidt in July 2011, she opines that in

        spite of his cognitive/executive deficits, he is fit to practice law from a cognitive

        perspective.

2351. The following facts documented the Potential Discrimination against the Bar applicant on

the basis of his Disability.

2352. Given this range of neuropsychiatric signs and symptoms, the Board of Bar Examiners

may have confused the Bar applicant’s involuntary non-volitional conduct resulting from his

neurologic and medical conditions TBI erroneously with the voluntary bad conduct which is

committed by persons with bad character and poor moral norms.

2353. In particular, the Board has stated that it believes the Bar applicant has deliberately

misled and deceived the Board about specific past events, when in reality, due to his disability

and poor organizational skills, many of the Bar applicant’s past legal and other affairs are not

organized but are contained in over 250 boxes of papers, thereby making it necessary for the Bar

applicant to recite from memory these events and occurrences.

2354. The Bar applicant appreciates the importance of organized files and meeting specific

deadlines in the practice of law which is why the Bar applicant appreciated the opportunity

provided by Mr. Bill Nugent of the Maine Assistance Program for a contract including

supervision of his law practice and monitoring.

2355. The Bar applicant will introduce evidence to prove that specific acts or omissions, which

are labeled by the Maine Board of Bar Examiners as evidence of the Bar applicant’s purposeful

attempts to mislead or deceive, are actually the product of the Bar applicant’s disability resulting



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in poor executive function, disorganized files and documents, and specific memory lapses

because the Bar applicant has attempted to recite information “off the top of his head.”

2356. The Board had adequate Notice of the Bar applicant’s Disability

2357. The Board had sufficient and adequate notice of the Bar applicant’s disability, since the

email sent by Assistant Attorney General William R. Fisher requesting psychological and

medical records.

2358. In his email sent around March 2011, AAG Mr. William Fisher notes that the Bar

applicant has superior abilities and questions whether there may be some psychological issues

which the plaintiff had been dealing with which might explain some of the personal difficulties

which he had in the past.

2359. This email from Mr. Fisher, as well as other emails and correspondence, will be

introduced as evidence for the upcoming hearing.

2360. In response to Mr. Fisher’s email request, the Bar applicant sent Mr. Fisher the following

documents: (1) forensic report by Dr. Laurence Bart; (2) clinical letter from the Bar applicant’s

psychiatrist Dr. Evgeniy Filin; (3) clinical letter from the Bar applicant’s psychologist Dr. Rita

Teusch.

2361.     Prior to the July 2011 hearing, the Board also received additional clinical documentation

of the Bar applicant’s disability from: (1) Dr. David Meyer; (2) Dr. Sara Hoffschmidt; (3) Dr.

Andrea Celenza; (4) Dr. Sten Lofgren; (5) Dr. Carolyn Conklyn.

2362.     These documents, reports, and verbal testimony by Dr. David Meyer on a conference

call during the hearing, all support the fact that the Bar applicant is a Disabled American within

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the definition of the federal Americans with Disabilities Act, as well as within the definition of

disability of Maine statutes enacted to protect disabled persons.

2363. All these documents, reports and verbal testimony provide proof that the Maine Board of

Bar Examiners were on notice that the Bar applicant is a Disabled American.

2364. Furthermore, the Bar applicant intends to call Expert Witnesses to testify as to his

disability, and the potential sequelae or results that would naturally flow from such disability.

2365. Given such notice of disability, the Maine Board of Bar Examiners had a duty to provide

the Bar applicant with all the rights, privileges and immunities for Disabled Americans as

provided by the state and federal law.

2366. Not only did the Maine Board of Bar Examiners fail to observe the rights, privileges and

immunities of the Bar applicant as a Disabled American, but it also acted in violation of state and

federal law by discriminating against the Bar applicant on the basis of his disability.

2367. The Board of Bar Examiners were careful to leave out any analysis or comment on the

Bar applicant’s disability in their decision because of their legal wariness concerning their

violation of the Bar applicant’s rights under both state and federal law.

2368. Thus, the Maine Board of Bar Examiners purposely and intentionally found pretextual

reasons to disqualify the Bar applicant and state that he had failed to meet his burden of proof of

his good moral character.

2369. Evidence will be presented at the de novo hearing before a Single Justice that specific

comments, questions and facial expressions during the hearing and afterwards will support a

finding that the Board of Bar Examiners were prejudiced by the Bar applicant’s disability and

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furthermore that they intentionally discriminated against the Bar applicant on the basis of his

disability.

2370. This discrimination against the Bar applicant on the basis of his disability is actionable in

both state and federal court, as well as providing sufficient basis to file a Complaint with the

Equal Employment Opportunity Commission that the Maine Board of Bar Examiners violated

the Bar applicant’s rights under both state and federal law.

2371. It is commonly understood that government or state actors will often avoid the

appearance of discrimination against suspect or quasi-suspect groups, which will not be facially

evident in their action or decision, and find some pretextual reason for their discriminatory action

which is not unlawful so as to avoid a confrontation concerning such discriminatory action and

also to avoid having the action or decision challenged or overturned in Court.

2372. It would be unlawful discriminatory action for the Board to determine that conduct or

actions resulting involuntarily from the Bar applicant’s disability is evidence of poor moral

character.

2373. It is a basic tenet of American law that a person is not liable nor culpable of conduct

resulting from a medical or psychiatric condition, but is only liable for conduct resulting from

free choice and free will through volitional basis of that person. This is also embodied in the

requirement of a mens rea in any criminal prosecution, unless the allegation involves strict

liability.

2374. If this court finds that the Bar applicant is a Disabled American, then it must also

determine what specific rights the Bar applicant had as a Disabled American under state and



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federal law, and whether the Maine Board of Bar Examiners violated those rights and

discriminated against the Bar applicant on the basis of his disability.

2375. Documentation of the Plaintiff’s financial Collapse and Ruin following Revocation of

Medical License with subsequent creditor lawsuits due to the Bar applicant’s inability to find

gainful employment

2376. Following the loss of his medical license in October 2002, the Bar applicant was unable

to obtain a full-time job with benefits until September 2010.

2377. During this eight-year period from October 2002 through September 2010, the Bar

applicant was often unemployed or substantially under-employed earning less than $10,000 per

year on which to support his family, including a wife and three sons.

2378. The Bar applicant did spend over $240,000 out-of-pocket in attorney’s fees during the 4-

year time period between 1998 and 2002, but these were often requested in $5000 - $8000

retainers which were spread out over the 4 years, and the Bar applicant did not know that the

aggregate was going to exceed a quarter of a million dollars.

2379. The Assistant Attorney General Mr. William R. Fisher suggests that the Bar applicant

was misguided or zealous about pursuing these proceedings at great cost, without also stating

that the Bar applicant was represented by counsel, who had a duty to inform him if they

considered some legal action imprudent.

2380. The $240,000 were attorney’s fees, during a time when the plaintiff had very few law

courses under his belt, such as first-year course, and therefore was completely dependent and

reliant upon the legal advice of his counsel.


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2381. During the adjudicatory proceedings with the Board of Registration in Medicine 1998-

2002, the Bar applicant was represented by: (1) Attorney Vincent DiCianni from July 1998

through December 1999; (2) Attorney Robert Stolzberg from about March 2000 until January

2001; and by (3) Professor of Law John Flym from January 2001 until March 2005 (Professor

Flym argued the case before the Supreme Judicial Court around January 2005).

2382. During many of the years between 2000-2006, the Bar applicant was in law school and

often obtained the largest possible student loans to cover family health insurance, tuition, books,

room and board, utilities, gasoline and auto insurance, averaging loans up to $65,000 per year.

2383. Currently the Bar applicant has approximately $198,000 in student loans, which have

been given forebearances and deferments from 2000 – 2011.

2384. On two occasions in 2000 and 2002, the Bar applicant had to take medical leaves of

absence from his law studies at Northeastern University School of Law because of his disability.

2385. On or about April 2002, the Bar applicant had over $10,000 per month in expenses,

including rent, health and auto insurance, credit card balances.

2386. During 2002, the Bar applicant’s first wife, Linda Stein, filed for divorce and obtained a

very large property settlement leaving over $300,000 of joint debt as the liability of the Bar

applicant.

2387. Although he was ready, willing and able to work, and applied for over 500 jobs between

2002 and 2010, the Bar applicant was unable to obtain full-time work with benefits because he

was overqualified for over 95% of the jobs applied for.




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2388. It was only natural that within months of his losing his medical license, the Bar applicant

became insolvent and unable to pay his debts including:

       (a) car payments to Ford Motor Company;

       (b) rent payments to The United Company;

       (c) mortgage payments to Washington Mutual Bank, mortgagee of the Bar applicant’s

       house resulting in foreclosure action.

2389. Without gainful employment (no full-time job with benefits from April 2002 until

September 2010), it was inevitable that the Bar applicant would default on his debts and become

named as defendant in multiple suits seeking compensation for these debts.

2390. Four+ lawsuits ensued based on the debts of the Bar applicant, where the Bar applicant

did not have sufficient income to pay these debts and pay ongoing commitments (rent, utilities,

food, health insurance, etc.): (1) Ford Motor Company v. Weinberg; (2) Boyd/Smith v.

Weinberg; (3) Jian Zhou v. Weinberg

2391. When the Bar applicant’s savings were completely exhausted, and he was only earning

$150 to $200 per week tutoring students, the Bar applicant filed for bankruptcy in March 2005.

2392. Initially filing a Chapter 13 case because he did have some regular income, this was

converted to a Chapter 7 case when the total unsecured debts rose above the statutory limit close

to $310,000 because, in part, of his prior attorney John Flym filing a claim for $62,000 to

represent the Bar applicant on appeal to the Massachusetts Supreme Judicial Court.




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2393. Under American law, it is not a crime to be in debt; the U.S. bankruptcy laws attempted

to remedy the atrocious situation which occurred in England with debtors’ prisons because a

person became insolvent.

2394. The Bar applicant can provide this Court with hundreds of applications that the Bar

applicant filed when seeking employment between 2002 – 2010. The Bar applicant eagerly

sought employment and was ready, willing and able to work.

2395. Based upon his usual work load surpassing 60-70 hours per week, the Bar applicant can

prove that he is a “workaholic” who enjoyed working immensely between 1976 and 2002, and

was never accused of being lazy or trying to get out of work.

2396. Therefore, his significant underemployment between 2002 and 2010 can not be attributed

to any laziness or failure to try to obtain gainful employment, as shown by the hundreds of job

applications submitted during this time, but simply represented the plaintiff’s lack of other

marketable skills other than medicine or law, which required licensure.

2397. However, the Bar applicant had no marketable skills other than his medical knowledge

and skills, with which to entice gainful employment and was also overqualified by virtue of his

medical degree and training for the majority of jobs available.

2398. From 1976 through 2002, the Bar applicant successfully supported himself and his

family, and had AAA excellent credit, and was issued over 15 credit cards with an available

credit to obtain over $250,000.

2399. Following the loss of his medical license in 2002, the Bar applicant entered into a

spiraling downward descent into financial collapse and ruin, and it was only inevitable that there


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would be suits for failure to pay debts which he could not pay because he could not find gainful

employment.

2400. It is as equally wrong to blame the Bar applicant for this financial ruin and inability to

pay debts, in spite of his active employment searches, as it is to fault the Bar applicant for his

disability.

2401. The Bar applicant provided the Board with a Financial Affidavit documenting some

$362,000 in debt, both secured and unsecured.

2402. The Bar applicant’s failure to pay his debts, and subsequent legal action, does not reflect

a voluntary choice or decision to not pay, but rather represents the enormous imbalance between

his debts and his earning capacity.

2403. The Bar applicant has worked out several installment payment plans with his creditors

when this was feasible.

2404. Following are described the resultant outcomes of proceedings against the Plaintiff for

alleged criminal wrongdoings and acquittals at trial.

2405. The Bar applicant will present evidence, including live testimony from eyewitnesses,

which will prove that the plaintiff is not guilty of the two criminal allegations issued in 2007 by a

preponderance of the evidence, and that his acquittals of these allegations were fair and just.

2406. The Board implies in its decision that the Bar applicant was acquitted for reasons other

than true justice, and this will be disproved.

2407. Acquittal of the Plaintiff of allegations of an alleged assault of Ms. Jian Zhou in

November 2007.

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2408. Prior to November 2007, no criminal complaint or allegation had ever been made against

the Bar applicant during his 54 years of prior life, other than minor traffic infractions.

2409. On or about October 2007, the Bar applicant was started on a new medication called

“Wellbutrin” (generic Buproprion).

2410. As detailed in a CVS monograph with drug warnings issued to the Bar applicant at the

time he picked up his prescription, Wellbutrin may cause ….. hostility, aggression, belligerence,

….

2411. In early November 2007, the Bar applicant was leaving the apartment with his wife and

mother-in-law when the landlady unexpectedly arrived demanding the rent.

2412. There was a verbal altercation, also involving an assault by the landlady who was holding

a large metallic object in her raised arm in which the Bar applicant acted in self defense, and

after the Bar applicant and his family went to COSTCO, the landlady filed criminal charges of

Assault and Battery, and Assault with a Dangerous Weapon, alleging that the Bar applicant

attempted to run her over with his auto while she stood in the driveway.

2413. On or about November 2008, a jury found the Bar applicant to be a more credible witness

than the landlady, that he did act in self-defense, and acquitted the Bar applicant of all charges at

trial in Cambridge District Court.

2414. The Maine Board of Bar Examiners appears to believe that the Bar applicant’s acquittal

of an alleged assault may have been a miscarriage of justice, but provide no evidence in support

of this hypothesis.




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2415. The Bar applicant knows that he carries the burden of proof of his good character, but

this does not relieve the Board of its duty to provide sufficient and adequate evidence of any acts

which the Board proposes as examples of lack of good character.

2416. Allegations regarding a home accident in 2007 resulted in criminal charges.

2417.   The Bar applicant will present conclusive evidence through medical records, affidavits

and live testimony from eyewitnesses that he did not assault his wife in December 2007, and that

his acquittal at a bench trial was fair and just, and not simply the result of any refusal by his wife

to testify against him.

2418. Although the letter written by Attorney Jay Hook was written “off the top of his head”

and without reference to his notes or case documents, it is not true that the refusal of his wife’s

testimony was the sole reason for the acquittal because the Court did accept into evidence the

911 telephone call and the direct and cross-examinations of specific police officers and 911

Dispatcher.

2419. The 911 telephone call and the live testimony of the police officer and 911 Dispatcher

resulted in sufficient exculpatory evidence with which to acquit the Bar applicant.

2420. The Bar applicant intends to call to the witness stand his former criminal defense attorney

Mr. Jay Hook, who is expected to testify that the Bar applicant is innocent of the criminal

allegations and that the acquittals were fair and just.

2421. The Maine Board of Bar Examiners appears to believe that the Bar applicant’s acquittal

of an alleged assault may have been a miscarriage of justice, but provide no evidence in support

of this hypothesis.


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2422. The Bar applicant knows that he carries the burden of proof of his good character, but

this does not relieve the Board of its duty to provide sufficient and adequate evidence of any acts

which the Board proposes as examples of lack of good character.

2423. The CORI documentation reveals a clean Criminal Record of Bar Applicant, with no

felony convictions.

2424. The CORI Record of the Bar applicant shows that he has not committed any felony or

misdemeanor, other than minor traffic infractions.

2425. The following statements describe some of the civil litigation which the Plaintiff was

involved in.

2426. Civil Lawsuit “Zhou v. Weinberg, Koledova” in Cambridge District Court

2427. The Bar applicant filed a complaint with the Belmont Board of Health when he learned

that Ms. Zhou had lied about the absence of lead paint in the apartment, which was dangerous for

the Bar applicant’s 5-month old son.

2428. Following this complaint, the Bar applicant and Ms. Zhou had a verbal altercation in the

driveway, which was witnessed by 3 other persons, and this occurred shortly after the plaintiff

was started on Wellbutrin (Buproprion) by his treating physician.

2429. In retaliation Ms. Zhou filed a complaint concerning an alleged assault, which was denied

by the 3 witnesses present, with the Belmont Police Department, a Notice of Eviction against the

Bar applicant and his wife, and a civil action seeking a Temporary Restraining Order.




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2430. The Belmont Board of Health issued a citation and immediate order for the de-leading of

the apartment, during which time the Bar applicant’s son was unable to live there due to

dangerously high levels of lead paint in the apartment.

2431. Although the District Court rules stated that a trial may not be scheduled before discovery

is completed, the counsel for Ms. Zhou managed to get a trial set for April 2008 before

completing discovery.

2432. The Bar applicant sought to compel specific discovery requests on the scheduled date of

the trial, but the Judge denied a continuance despite Ms. Zhou’s failure to complete discovery.

2433. Although the Bar applicant was not prepared for trial because he believed that his request

for a continuance would be granted, the trial commenced as scheduled.

2434. The Bar applicant represented himself pro se - Zhou v. Weinberg.

2435.   The judge also denied the Bar applicant’s motion to admit into evidence the Lead Paint

reports and Citation by the Belmont Board of Health because the authors were not present in

court and the documents were not certified.

2436.   The following statements describe the false, misleading and deceptive communications

by the Attorney General Mr. William R. Fisher in these proceedings concerning the Plaintiff’s

application to the Maine Bar.

2437. In July 2011, Assistant Attorney General William Fisher sent out a misleading and

deceptive letter to the Chairman and the members of the Maine Board of Bar Examiners.




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2438. In this letter to be introduced into evidence, Mr. Fisher states that he had to do

independent legal research online in order to discover certain documents relevant to the Bar

applicant.

2439. However, the plaintiff will introduce into evidence specific emails and correspondence

which will prove that the Bar applicant had already sent these two documents to Ms. Deborah

Firestone and to Mr. William Fisher in 2010 and 2011.

2440. Thus, the Bar applicant did provide the Board of Bar Examiners with ALL of the relevant

documents, and AAG Mr. Fisher found no document through his online legal research which was

not already provided to the Board of Bar Examiners by the Bar applicant himself.

2441. This deceptive and misleading letter from AAG Mr. Fisher to the Board epitomizes a

pattern of deceptive, defamatory and misleading statements by Mr. Fisher concerning the Bar

applicant in an apparent attempt to discredit the Bar applicant and induce negative prejudice and

bias against the Bar applicant by the Board.

2442. As the hearing transcript will prove, during the July 25, 2011 hearing, AAG Mr. Fisher

repeatedly made false, defamatory, deceptive and misleading statements in a pattern to falsely

discredit the Bar applicant and injure his reputation and character, in an obvious attempt to turn

the Board of Bar Examiners against the plaintiff.

2443.   Mr. Fisher suggested that the Bar applicant had sent some nasty letters or

communications to Patient A following her filing the suit “Colon v. Weinberg, Wesselhoeft and

Boston Evening Medical Center” in 1996.

2444. However, when he went to locate any of these “nasty letters” , Mr. Fisher was unable to

locate or show to the Board any of the allegedly incriminating documents during the hearing.
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2445. This pattern of false accusation, misleading and deceptive communications from AAG

William Fisher without any evidence to back his claims, were part of a concerted effort to

prejudice the Board against the Bar applicant without justification.

2446. The Board apparently did not take seriously these gross errors by Mr. Fisher to show the

alleged bad character of the Bar applicant, but apparently decided to accept Mr. Fisher’s “errors”

as further evidence against the Bar applicant.

2447. The following statements describe the Board’s bias against the Bar applicant’s July 2011

testimony.

2448. In their decision, the Board states at times that they did not find the plaintiff’s testimony

to be cogent or credible, such as the plaintiff’s explanation of why he had not previously

petitioned for reinstatement of his medical license.

2449. However, in spite of their disbelief there are really no other plausible or reasonable

explanations to the question – “Why did you not previously petition for reinstatement of your

medical license?”

2450. One may offer that the plaintiff lost interest in practicing medicine or that he decided

against petitioning for reinstatement, but these are no more credible or plausible than the Bar

applicant’s admission of significant shame and guilt over the sexual misconduct and loss of his

medical license.

2451. The polygraph exam is routinely used by: federal and state law enforcement agencies




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2452. Although there are laws in multiple states which prohibit employers from compelling

employees or job applicants to undergo polygraph exams, this is not a bar for a person who

voluntarily agrees to undergo a polygraph exam and waives any right thereby.

2453. The polygraph exam has been admitted into evidence in a number of jurisdictions

including both state and federal courts.

2454. To prove facts and the truth which are otherwise not able to be proved by independent

evidence available, the Bar applicant will undergo a polygraph exam to determine his truth and

veracity with regard to some specific matters relevant to his rehabilitation and fitness to practice

law

2455. The polygraph examiner will be called to testify at the hearing and the results of the

polygraph exam will be admitted into evidence on behalf of the Bar applicant.

2456. The polygraph exam will be particularly helpful in showing the veracity and truthfulness

of some of the Bar applicant’s true beliefs and state of mind, which othePlaintiff Robert

Weinbergise require a factfinder to make some determination of the credibility or veracity of the

witness.

2457. Nicholson criteria: Review of Applicant’s “Prior Bad Conduct” in terms of the Nicholson

factors.

2458. On page 5 of their decision, the Board states that “Good moral character’ entails honest,

integrity, respect for the law, and respect for the rights of others.” (quoting ABA CODE OF

RECOMMENDED STANDARDS FOR BAR EXAMINERS, COMPREHENSIVE GUIDE TO

BAR ADMISSION REQUIREMENTS (2007) ).


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2459. “When reviewing an applicant’s prior bad conduct, the following factors are considered:

(1) the applicant’s age at the time of the conduct; (2) the frequency and recency of the conduct;

(3) the seriousness of the conduct; (4) the evidence of rehabilitation; (5) the applicant’s candor in

the admission process; (6) the materiality of any omissions or misrepresentations; (7) the

cumulative effect of conduct or information; and (8) the applicant’s current attitude regarding the

conduct …. Additional factors that may bear on the determination of a candidate’s good moral

character includes the applicant’s positive social contributions since the conduct, the opinions of

character witnesses as to the applicant’s current moral fitness, and any other evidence relevant to

the applicant’s current honesty, diligence, or reliability.”

2460. These factors concerning a Bar applicant’s “character and fitness” in light of previous

bad conduct, were recently enunciated by the Maine Supreme Judicial Court in the case

Nicholson v. Board of Bar Examiners and will be referred to as the Nicholson factors.

2461. In answering these 8+ factors in determining the Bar applicant’s good moral character,

the Bar applicant provides the following table documenting each factor and how it applies to the

Bar applicant.


          FACTOR                             BAR APPLICANT’S RECORD                         DATE

 Age at time of conduct            Age 40 at time of sexual misconduct                    1993



                                   Age 46 when warned Board of Medicine of                1999

                                   possible perjury to be committed at hearing in

                                   1999

                                                                                          2000

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                             Age 47 when misrepresented on NY employment

                             application



                             Currently the Bar applicant is 57 years old

Frequency & Recency of       Bulk of misconduct occurred between 1993-2000      1993-

conduct                                                                         1999

                             Couple of incidents between 2000-2011

                                Misrepresentation on NY employment

                             application                                        2000

                                Failure to notify Board of final hearing in     2011

                                  “Zhou v. Weinberg” after first learning of

                             it 2011

Seriousness of Conduct       Sexual misconduct with patient was very serious    1993



                             Accusing medical board of possible criminal        1999

                             conspiracy was serious



                             Multiple minor traffic offenses 1980-2010 not

                             serious

Evidence of Rehabilitation   Humanitarian efforts through Flights for Humanity 1998



                             Volunteer activities in community                  1974-

                                                                                2008

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                              Stellar academic record at New England School of     2004-

                              Law                                                  2006



                              Stellar work record from 2005 - 2011                 2007-11

                                Teaching positions at colleges                     2008-09

                                Patent examination with Cardinal Intellectual      2010-11

                              Property

                                MIT research on Alzheimer’s disease

Candor in Admission Process   AAG William Fisher states that all the exhibits and 2011

                              evidence presented at the hearing were taken from

                              the Bar applicant’s May 2010 application



                              Bar applicant made a full disclosure of all civil

                              and criminal cases, to the best of his knowledge



Materiality of Omissions or   On employment applications in NY, Bar applicant      2000

Misrepresentations            misrepresented disciplinary proceedings against

                              him in Massachusetts



                              Bar applicant failed to inform Board of hearing &    2011

                              final Restraining Order being issued, which he had




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                                no notice d/t move in his residence “Zhou v.             2010-11

                                Weinberg”



                                Assistant Attorney General William R. Fisher

                                stated that all exhibits presented at the July hearing

                                were provided by the Bar applicant in his May

                                2010 application

Cumulative effect of conduct    Other than its impact of the Bar applicant’s proof

or information                  of his good moral character, there has been no

                                cumulative effect of any conduct or information

Applicant’s current attitude    Ethics Committee of Massachusetts Medical                2003

regarding conduct               Society stated that Dr. Weinberg acknowledged his

                                mistakes and accepted responsibility for them

                                following a hearing



                                Bar applicant’s treating physicians and

                                psychologist will testify as to the plaintiff’s

                                shame and guilt over this past conduct

Positive social contributions   Humanitarian efforts with Flights for Humanity           1998



                                Volunteer teaching at Tufts Medical School               1991-98




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                                   Alzheimer’s research at MIT leading to new             2010-11

                                   drugs

 Other evidence of honesty,        Stellar academic record at New England School of       2004-06

 diligence or reliability          Law

                                                                                          2007-

                                   Stellar employment record – as Adjunct Instructor      2011

                                   or tutor, Patent Examiner, MIT Research Scientist



                                   More than 300 visits to doctors & psychologists in     1997-

                                   attempt to treat and manage his disabling              2011

                                   conditions over the past 14 years

 Opinions of Character             Stellar references from Professor John Free, Dr.       2011

 witnesses regarding applicant     Michael Rothman, Dr. Stanley Kraus, Dr. James

 ’s current moral fitness          Tung, Dr. James Fluet, among others, to include

                                   college professors and chairmen, prior physician

                                   colleagues, law professors and practicing attorneys



                                   Live testimony at upcoming hearing from                2011

                                   character witnesses




        Defendants’ violation of the Plaintiff’s civil and constitutional Rights

2462.   The plaintiff’s evidence will prove that the defendant Board of Bar Examiners did

violate the Bar applicant’s civil and constitutional rights through violations of the Equal
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Protection clause and Due Process clause of the Fourteenth Amendment, as incorporated and

applied against the states.

2463.   The following statements corroborate the Bar applicant’s fitness to practice a Profession,

including Law.

2464.   The Bar applicant did make great strides in overcoming some of these handicaps, but

graduated 1 year late from M.I.T. after struggling with courses and having taken 2 leaves of

absence from school.

2465.   The Bar applicant was co-author on a landmark immunologic paper in the Journal of

Immunology in October 1978, published while the Bar applicant was doing research at Boston

Children’s Hospital and Harvard Medical School, to be submitted in evidence.

2466.   After several years of biomedical research, the Bar applicant applied to and was admitted

to the Philadelphia College of Osteopathic Medicine in 1978, where medicine had been his life-

long dream.

2467.   During his first semester at the Philadelphia College of Osteopathic Medicine, the Bar

applicant struggled with his academic courses and voluntarily withdrew from school during his

second semester.

2468.   After performing some more research, the Bar applicant succeeded in being admitted to

the New York College of Osteopathic Medicine in September 1982.

2469.   During the ensuing 4 years, the Bar applicant continued to struggle with his neurologic

handicaps but he succeeded in completing the curriculum and graduated with his Doctor of

Osteopathic Medicine degree in June 1986.


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2470.     At the urging of his psychologist, the Bar applicant went to the Hallowell Center in

Concord, MA, on or about March 1997 where he was diagnosed with Adult type of Attention

Deficit Disorder (ADHD) and started on medication which effectively helped with work and

school.

2471.     In January 2000, the Bar applicant enrolled at the Massachusetts School of Law in

Andover, MA, where he successfully completed one semester including: Contract, Torts,

Criminal Procedure and Legal Writing.

2472.     The Bar applicant then transferred to the Northeastern University School of Law in

Boston, MA, in September 2000 because the Massachusetts School of Law was not then

accredited by the American Bar Association.

2473.     With some academic struggles, the Bar applicant completed 3 semesters of courses at the

Northeastern University School of Law and then took a leave of absence for medical reasons.

2474.     In September 2004, the Bar applicant enrolled at the New England School of Law in

Boston, MA, where he would complete his legal studies and receive the Juris Doctor degree cum

laude.

2475.     From 2004 – 2006, the Bar applicant frequently made the Dean’s List due to his

excellent grades.

2476.     In May 2006, the Bar applicant graduated with his Juris Doctor degree cum laude.

2477.     The following year, the Bar applicant was named a “New England School of Law

Scholar” by the Dean.




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2478.   The Bar applicant was a brilliant and stellar instructor teaching at Newbury College, Bay

State College, Eastern Nazarene College and MIT during the years 1997-2010.

2479.   During his tenure as Research Scientist at MIT 2010 – 2011,the Bar applicant made

substantial strides in identifying potential new drugs to be used for the treatment of Alzheimer’s

disease, and which are now on-track for patenting and clinical investigations.

2480.   The plaintiff will produce additional evidence and live testimony concerning his fitness

to practice law and good moral character, in spite of his disability.

  Plaintiff’s D.H.H.S. national Service with the federal National Disaster Medical System

2481.   The Bar applicant will prove his appointment as a federal Medical Officer with the

National Disaster Medical System (NDMS), under the U.S. Department of Health and Human

Services.

2482.   The Bar applicant will prove his exemplary work with NDMS on several missions,

resulting in his receiving Congressional recognition from a U.S. Admiral.

            Flights for Humanity and humanitarian medical missions

2483.   In 1997, the Bar applicant founded a 501(c)(3) non-profit foundation called “Flights for

Humanity”, registered with the U.S. Internal Revenue Service, for the purpose of providing

medical assistance, supplies and transportation for indigent patients worldwide.

2484.   In 1998, the Bar applicant undertook a dangerous mission in transporting medical

supplies to a refugee camp of over 30,000 displaced persons in Chiappas, Mexico, during the de

facto war involving the Zapatistas and the government of Mexico.




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2485.   This 1998 mission was written up in the Fitchburg Sentinel, the MIT Technology Review,

and the Tufts Medicine: Alumni magazine.

2486.   Flights for Humanity sponsored additional medical missions between 1998 – 2001.

2487.   The Bar applicant donate over $20,000 of his own funds to support these medical

missions of Flights for Humanity.




         Plaintiff’s Stellar academic record at the New England School of Law

2488.   The Bar applicant consistently made the Dean’s list during most of his semesters at the

New England School of Law between 2004 – 2006.

2489.   The Bar applicant graduated with his Juris Doctor degree cum laude in 2006.

2490.   Following his graduation, the Dean of the New England School of Law named the Bar

applicant a New England School of Law Scholar.

             Volunteer work with “Reading for the Blind and Dyslexic”

2491.   The Bar applicant will provide evidence of the many hours he worked as a volunteer

reading medical textbooks into an audio recording center for subsequent listening by blind,

dyslexic and visually-impaired students.

              Additional Volunteer work, Community Service & Humanitarian Efforts

                  revealing the Bar applicant’s good character and moral compass

2492.   In 1974, while he was an undergraduate student at MIT, the Bar applicant volunteered at

McLean Hospital where he ran a weekly sing-along group for the hospitalized inpatients in the

locked-ward while playing the piano.

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2493.   The Bar applicant was a volunteer Physician staffing the medical van of “Bridge over

Troubled Waters” providing free medical services to the homeless and runaway teenagers.

2494.   During the years 1991 – 1998, the Bar applicant did volunteer teaching at Tufts

University School of Medicine, teaching courses to the first and second year medical students.

2495.   As discussed above, the Bar applicant also did volunteer work for Recording for the

Blind and Dyslexic, in which he orally read aloud specific assigned textbooks into an audio

recording studio which subsequently made those recordings available for listening by blind,

dyslexic and visually-impaired students.

2496.   As discussed above, in 1997 the Bar applicant founded “Flights for Humanity” a non-

profit 501(c)(3) organization for the purpose of providing medical care and supplies for indigent

people. An important humanitarian effort was made in 1998 to deliver medical supplies to

Chiappas, Mexico.

2497.   Attorney Kenneth Augen will testify that the Bar applicant voluntarily assisted with a

pro buono case in federal court in 2011, drafting some important memos and performing legal

research.

        Stellar Character References and Affidavits concerning the Bar applicant

2498.   Character witnesses will present evidence of the Bar applicant’s good moral character.

These witnesses include: prior physician colleagues, law professors, practicing attorneys, prior

students whom the Bar applicant taught, prior employers, among others.

                 Stellar Employment History from 2005 - 2011




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2499.   The Bar applicant will present extensive evidence of his stellar employment record

between 2005 and 2011, including the following jobs.

2500.   During 2005 – 2010, the Bar applicant performed medical Consulting for Attorney

Frederic Halstrom in medical malpractice litigation, including the selection of good cases to

prosecute, which resulted in over $6 million in settlements to the plaintiffs.

2501.   Red Key Tutors (2007-2009) - The Bar applicant tutored high school and college

students as an Independent Contractor, teaching math and science courses including: chemistry,

physics, biology, algebra, geometry, trigonometry, precalculus and Calculus.

2502.    Newbury College (2007-2009) - The Bar applicant was appointed as Adjunct Instructor

in the Dept of Mathematics at Newbury College in Brookline, MA, where he taught math classes

including: algebra, pre-algebra and consumer mathematics.

2503.   Cardinal Intellectual Property (2008-2009) – The Bar applicant was employed as a

Patent Analyst in the area of Biotechnology and Medical Devices. The Bar applicant performed

analysis and critique of Patent Applications under the Global PCT Treaty, and providing such

reports and documents to the U.S. Patent and Trademark Office.

2504.   Bay State College (2009-2010) – The Bar applicant was appointed as Adjunct

Instructor in the Dept of Medical Assisting, where he taught courses including: College Biology,

Anatomy and Physiology, Medical Office Procedures, Medical Terminology.

2505.   Eastern Nazarene College (2009-2010) - The Bar applicant was appointed as Adjunct

Instructor in the Dept of Physics where he taught courses including: Physical Sciences for

Education majors, Astronomy and College Algebra.



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2506.   Chyten Educational Services (2009-2010) - The Bar applicant tutored high school

students as an Independent Contractor, teaching math and science courses including: chemistry,

physics, biology, algebra, geometry, trigonometry, precalculus and Calculus.

2507.   Massachusetts Institute of Technology (MIT, 2010-2021) The Bar applicant was hired

at the Massachusetts Institute of Technology (MIT), where he was appointed as a Research

Scientist in the Department of Biology, in September 2010.

2508.   During the past year, the Bar applicant made several important discoveries concerning

the molecular basis of Alzheimer’s disease, which lead to an Invention Disclosure on potential

new drugs against Alzheimer’s, an abstract accepted for the Poster Session at the annual meeting

of the American Society of Clinical Pathology in October 2011 in Las Vegas, and a paper

submitted to a peer-reviewed journal Alzheimer’s Disease.

     Plaintiff’s MIT Research leading to potential new Drugs against Alzheimer’s disease

2509.   The Bar applicant has made groundbreaking discoveries in the area of potential new

drugs for the treatment of Alzheimer’s disease, since his appointment as Research Scientist in the

Department of Biology at MIT.

2510.   These research discoveries in Alzheimer’s disease are acknowledged through the

acceptance of a poster session to be given by the Bar applicant at the Annual Meeting of the

American Society of Clinical Pathology in October 2011 in Las Vegas, Nevada.

2511.   On track toward patenting of the discovery, an Invention Disclosure has been filed at

MIT; during this tenure at MIT, the Plaintiff filed more than 20 Invention Disclosures.

2512.   Currently a research paper with the Bar applicant as first author was submitted to peer-

reviewed biomedical journals for publication; this paper was published.
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 Bar applicant’s Rehabilitative efforts and proof that he is a person of Good Moral Character

2513.   The Bar applicant has made some serious mistakes in the past which he has admitted and

fully disclosed on the Bar application.

2514.   However, the most egregious of these mistakes, involved allegations of having engaged

in sexual misconduct with Patient A, occurred in 1993 which is now thirty (30) years in the past.

2515.    Considering the Nicholson factor of recency, certainly a bad act which occurred 30

years ago must be considered to be in the remote past.

2516.   According to documents provided by Dr. Rita Teusch and Dr. Andrea Celenza among

others, there is substantial evidence of the Bar applicant’s rehabilitation and support that he is a

person of integrity and good moral character.

2517.   The Bar applicant intends to prove his good moral character and fitness to practice law

through relevant documentation, affidavit, live testimony, and a polygraph exam to be

administered by an experienced law enforcement agent.

2518.   The Board of Bar Examiners did not acknowledge the Bar applicant’s disability. The

Board confused some actions or conduct, which were the direct result of the Bar applicant’s

disability, erroneously with voluntary purposeful bad conduct reflecting upon the Bar applicant’s

bad character.

2519.   The evident bias and prejudice that the Board of Bar Examiners have against the Bar

applicant on the basis of his disability may violate the rights of the Bar applicant under the

federal Americans with Disability Act, Maine Disability statutes, EEOC, among other state and

federal statutes and regulations.


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2520.   The evidence to be presented at the de novo hearing before a Single Justice will show

that the Bar applicant does have the necessary good character required for admission to the Bar

in Maine.

2521.   This evidence to be presented will satisfy the Nicholson factors that the Bar applicant is

rehabilitated from his prior bad conduct and is a person of good moral character.

2522.   This Petition for Admission to the Maine Bar was submitted to the Maine Supreme

Judicial Court on September 20, 2011 (Matthew Pollack, Esquire; matthew.pollack@maine.gov;

142 Federal Street, P.O. Box 368, Portland, Maine 04112).

2523.   The Petition, DOCKET NO. Bar-11-14, was followed by the following Plaintiff’s First

Set of Requests for Admission pursuant to the Maine Rules of Civil Procedure Rule 36.

2524.   The plaintiff, Robert P. Weinberg, requests that the defendant, Maine Board of Bar

Examiners, admit or deny the following statements of fact pursuant to Rule 36 of the Maine

Rules of Civil Procedure and Rule 9(d)(6)(C)(ii) of the Maine Bar Admissions Rules. If any

objection is made, please state the reason for the objection. Failure to deny any statement of fact

within the statutorily established deadlines, may result in that statement of fact being deemed

admitted:

2525.    The Defendant Maine Board of Bar Examiners were properly served with the plaintiff’s

Petition for Admission to the Bar captioned “Robert P. Weinberg v. Maine Board of Bar

Examiners” pursuant to Rule 9(d)(6) of the Maine Bar Admissions Rules.

2526.    The Defendant Maine Board of Bar Examiners have no basis to assert as a defense or

affirmative defense the lack of subject matter jurisdiction or the lack of personal jurisdiction.



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2527.    The defendant Maine Board of Bar Examiners agrees that the instant action is governed

by the Maine Bar Admissions Rules, the Maine Bar Rules, and the Maine Rules of Civil

Procedure.

2528.    The Defendants have no evidence to support the affirmative defense that the Plaintiff’s

case is barred by the Statute of Limitations.

2529.    The Defendants have no evidence to support the affirmative defense that the Plaintiff’s

case fails to state a claim upon which relief can be granted.

2530.    Defendant Board of Bar Examiners spent over one hour on a telephone conference call

to Dr. Donald Meyer concerning the medical, psychologic and psychiatric conditions of the

plaintiff Bar applicant.

2531.    Defendant Board of Bar Examiners asked over 50 questions of Dr. Meyer during this

one-hour long telephone conference call.

2532.    Defendant Board of Bar Examiners did hear Dr. Meyer testify that the plaintiff suffers

from: Cognitive Disorder NOS, ADHD, Traumatic Brain Injury, Major depression in remission,

and Personality Disorder NOS.

2533.    Defendant Board of Bar Examiners does understand that these medical, psychologic

and psychiatric disorders do constitute disabilities within the meaning of the federal Americans

with Disabilities Act.

2534.    Defendant Board of Bar Examiners did read and review Dr. Rita Teusch’s letter and

assessment and did read and review Dr. Evgeniy Filin’s letter and assessment.




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2535.   Defendant Board of Bar Examiners does admit that a person with a physical or mental

condition which substantially impairs certain major life activities is a member of the statutorily

protected class in the federal Americans with Disabilities Act.

2536.   From the evidence presented by Dr. Donald Meyer, Dr. Rita Teusch, Dr. Sarah

Hoffschmidt, Dr. Evgeniy Filin, Dr. Bart, the Defendant Board of Bar Examiners reasonably

knows that the plaintiff is a disabled American within the meaning of the federal Americans with

Disabilities Act.

2537.    From all the evidence presented, Defendant Board of Bar Examiners also reasonably

knows that the plaintiff is a member of the statutorily protected class in the Maine Human Rights

Act which protects individuals against discrimination on the basis of disability.

2538.    Defendant Board of Bar Examiners knows that the plaintiff is a disabled person within

the meaning of the federal Americans with Disabilities Act.

2539.    The majority of the Defendant Board of Bar Examiners does not like the defendant.

2540.    Defendant Board of Bar Examiners does have notes, files, documents, memos, emails

or faxes which concern the plaintiff and was authored by the Defendant Board of Bar Examiners

during the time period June 2010 and November 2011, made before, during and after the July 25,

2011 hearing pursuant to the Maine Bar Admission Rules Rule 9(d)(5).

2541.    Defendant Board of Bar Examiners admits that the notes, files, documents, memos,

emails or faxes which concern the plaintiff and was authored by the Defendant Board of Bar

Examiners are not protected by any legally recognized privilege in the State of Maine.

2542.    Unless such notes, files, documents, memos, emails or faxes which concern the plaintiff

and was authored by the Defendant Board of Bar Examiners were directly communicated to the
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Assistant Attorney General William R. Fisher as their counsel, such notes, files, documents,

memos, emails or faxes which concern the plaintiff are not protected by attorney-client privilege.

2543.    Defendant Board of Bar Examiners admits that the State of Maine does not have any

recognized privilege to protect the such notes, files, documents, memos, emails or faxes which

concern the plaintiff and was authored by the Defendant Board of Bar Examiners.

2544.    Defendant Board of Bar Examiners admits that the deliberations of the Maine Board of

Bar Examiners are not protected by any statute, regulation nor law which would prevent their

discovery pursuant to the Maine Rules of Civil Procedure.

2545.   Defendant Board of Bar Examiners admits that pursuant to the Maine Bar Admissions

Rule R. 9(d)(6)(C)(ii), the plaintiff is entitled to discovery of such notes, files, documents,

memos, emails or faxes which concern the plaintiff and was authored by the Defendant Board of

Bar Examiners.

2546.   Defendant Board of Bar Examiners admits that the Defendant Board of Bar Examiners

did receive “Notice to Preserve Evidence” which was sent to them and the AAG William R.

Fisher on or about October 2011.

2547.   Defendant Board of Bar Examiners admits that the loss, deletion, erasure, overwriting, or

any other intentional or accidental deletion of such notes, files, documents, memos, emails or

faxes which concern the plaintiff and was authored by the Defendant Board of Bar Examiners

would comprise spoliation of evidence.

2548.    Defendant Board of Bar Examiners did read and review the notarized affidavit of Vera

Koledova, who was an alleged victim of criminal assault by the plaintiff.



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2549.    Defendant Board of Bar Examiners did read and review the medical records authored by

the Emergency Room physician treating Vera Koledova in December 2007.

2550.    Defendant Board of Bar Examiners did read and review the medical records authored by

the Emergency Room physician treating Vera Koledova in which the ER physician writes that

Vera Koledova believed that her nose injury resulted from an accident.

2551.    Defendant Board of Bar Examiners did have the opportunity to interview Vera

Koledova during the July 25, 2011 hearing and hear her testify about the circumstances

surrounding her accidental injury, which mistakenly resulted in the arrest of the plaintiff for

criminal assault because the police officer, in part, did not understand Vera Koledova’s English,

which is not Ms. Koledova’s native language.

2552.     Defendant Board of Bar Examiners did not hear any evidence at the July 25, 2011

hearing to suggest that Vera Koledova’s injury was not accidental.

2553.     Defendant Board of Bar Examiners did not read about any evidence at anytime to

suggest that Vera Koledova’s injury was not accidental.

2554.   Defendant Board of Bar Examiners admits that Mr. William R. Fisher, Assistant

Attorney General and Counsel for the defendant did make false and defamatory statements about

the plaintiff in his emails.

2555.   Defendant Board of Bar Examiners admits that in consideration of the emails sent by the

plaintiff in October 2010 and March 2011, Mr. William R. Fisher, Assistant Attorney General

and Counsel for the defendant does admit that there is no document in Counsel’s 581-page

exhibits offered in evidence at the July 25, 2011 hearing which was not already submitted by the

plaintiff in either his original bar application, his amended bar application, or subsequent emails
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to Ms. Deborah Firestone as Executive Director of the Maine Board of Bar Examiners or to Mr.

William R. Fisher as Assistant Attorney General and Counsel for the Board of Bar Examiners.

2556.   Defendant Board of Bar Examiners admits that the complete and total submission of all

documents including complaints, answers, pleadings, appeals, briefs and petitions, does show

that the plaintiff provide complete disclosure of all cases in which he was involved as a party.

2557.   Defendant Board of Bar Examiners admits that the plaintiff was accused of criminal

assault on the person of Jian Zhou in November 2007, including three felony charges of criminal

assault and assault with a deadly weapon, that weapon being an automobile.

2558.   Defendant Board of Bar Examiners admits that following a jury trial in 2008, the

plaintiff was acquitted of all criminal charges by a jury of his peers.

2559.   Defendant Board of Bar Examiners admits that the plaintiff was accused of criminal

assault on the person of Vera Koledova, his wife, in December 2007, on the basis of a

misunderstanding of her English by the 911 dispatcher and by the police officer, both of whom

did not understand that Ms. Koledova was attempting to explain how the injury was accidental

and not intentional, according to testimony read and heard by the defendant Board.

2560.   Defendant Board of Bar Examiners admits that following a bench trial in 2009, the

plaintiff was acquitted of all criminal charges by the Judge.

2561.   Defendant Board of Bar Examiners admits that the criminal justice system in the United

States of America presumes innocence of a defendant until proven guilty by evidence beyond a

reasonable doubt.




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2562.   Defendant Board of Bar Examiners admits that such a presumption of innocence also is

valid in civil proceedings until the plaintiff can prove the defendant’s guilt by a preponderance of

the evidence standard.

2563.   Defendant Board of Bar Examiners admits that without any additional evidence, the

criminal charges dating back to 2007 are mere accusations or allegations without any probative

value as relevant evidence.

2564.   Defendant Board of Bar Examiners admits that the acquittals of the plaintiff of all

criminal charges render the mere accusations of 2007 as irrelevant evidence because these were

mere accusations lacking any probative value.

2565.   Defendant Board of Bar Examiners admits that following the loss of his medical license

in October 2002 (Massachusetts) and June 2003 (New York), the plaintiff was unemployed or

substantially underemployed from June 2003 until October 2010, when he began gainful

employment as a full-time Research Scientist at M.I.T.

2566.   Defendant Board of Bar Examiners admits that during the period of time from 2004 to

2006, the plaintiff obtained the majority of his income from taking the maximum of student loans

while he attended the New England School of Law.

2567.   Defendant Board of Bar Examiners admits that from June 2003 until October 2010, the

plaintiff was unable to obtain full-time employment with benefits to support his wife, Vera

Koledova, and his three sons, Joshua, Lev and William.

2568.   The plaintiff’s divorce from his first wife in 2003 resulted in the majority of assets

going to his ex-wife and leaving some $600,000 in debt, resulting in part from his paying off the

mortgage on the home of his ex-wife, paying some $250,000 in attorneys’ fees and court costs,
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and an outstanding counterclaim in the amount of $300,000 by Lourdes Colon in the case

Weinberg v. Colon v. DiCianni et al.

2569.    The plaintiff’s inability to obtain full-time employment in conjunction with his

excessive burden of $600,000 in debt forced the plaintiff to file for chapter 13 bankruptcy in

March 2005.

2570.    Since attending the Massachusetts School of Law, Northeastern University School of

Law, and the New England School of Law, the plaintiff’s law school loans accrued to over

$198,000 including the capitalization of interest during times of forebearance and deferment.

2571.    As a result of the plaintiff’s inability to obtain full-time employment, several creditors

filed lawsuits against the plaintiff for monies owed including: Ford Motor Credit (auto loan),

Boyd/Smith (prior landlord), Washington Mutual Bank (foreclosure action), Jian Zhou (former

landlady), JP Morgan Chase Bank (foreclosure action).

2572.    The plaintiff never received any notice of lawsuit, nor complaint nor summons from

Ford Motor Credit or Boyd/Smith because these creditors did not have a current address for the

plaintiff so the plaintiff was never served.

2573.    At the time of her filing of the suit Zhou v. Weinberg in Middlesex Superior Court

around December 2007, the plaintiff resided at 49 Channing Road in Belmont, Massachusetts,

residence at which Zhou was the landlady.

2574.    Following the plaintiff’s move out of the residence at 49 Channing Road in Belmont,

MA, the Middlesex Superior Court did not have an updated address for the plaintiff.

2575.    So on or about November 2009, the plaintiff never received a notice from Middlesex

Superior Court informing him of a hearing on his counterclaims against Zhou.
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2576.      On or about November 2009, Middlesex Superior Court dismissed the counterclaims of

the plaintiff when he did not appear for the hearing for which he never received any notice.

2577.     The plaintiff’s bankruptcy case continued from March 2005 until the plaintiff’s

discharge in November 2008, and during this time most of the plaintiff’s assets and property

belonged to the bankruptcy estate.

2578.      The bankruptcy estate also owned the plaintiff’s legal claims and potential monetary

damages in cases including: Weinberg v. ProMutual Insurance et al. (settled by bankruptcy

trustee for some $7,000 in damages from the defendant), Weinberg v. Colon v. DiCianni et al.

2579.      The bankruptcy trustee John Turner was provided information from the plaintiff

involving these legal claims and ongoing suits during the bankruptcy.

2580.     Legally the bankruptcy trustee is responsible for prosecuting the legal claims and

lawsuits in which the plaintiff was a party because those legal claims were owned by the

bankruptcy estate.

2581.      As such, the bankruptcy trustee decided to pursue prosecution of Weinberg v.

ProMutual Insurance Co. et al. , for which the bankruptcy estate was enriched by $7,000 in an

out-of-court settlement by the defendant ProMutual Insurance Company.

2582.      The bankruptcy trustee John Turner decided to abandon the legal claims of the plaintiff

comprising claims against third-party defendants Vincent DiCianni and the law firm of Ferriter

Scobbo.

2583.      The plaintiff appropriately filed for substitution of the bankruptcy trustee standing in

the shoes of the plaintiff in the actions Weinberg v. ProMutual Insurance Co et al. and Weinberg

v. Colon v. DiCianni et al.
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2584.    Because the plaintiff was substituted for with the bankruptcy trustee, there was no

opportunity for compensation nor damages in these two suits because any damages would

become the property of the bankruptcy estate.

2585.   As such with the bankruptcy trustee John Turner abandoning the plaintiff’s claims in

Weinberg v. Colon v. DiCianni et al., the plaintiff did not attend a final hearing scheduled on or

about 2007 at which time the Court dismissed the suit as defendant Colon also did not appear.

2586.   The evidence of the Plaintiff’s litigation cases upon which the defendant Maine Board

of Bar Examiners depended when they refused admission to the Bar to applicant plaintiff

comprises the following cases:

[1] Colon v. Weinberg et al. (1996, Suffolk Superior Court)

[2] Massachusetts Board of Registration in Medicine v. Robert P. Weinberg (1998,

Massachusetts Division of Adminstrative Appeals)

[3] Weinberg v. Colon v. DiCianni et al. (1999, Middlesex Superior Court)

[4] Ford Motor Credit v. Weinberg (2006)

[5] Boyd/Smith v. Weinberg (2002, Boston Municipal Court)

[6] Zhou v. Weinberg and Koledova (2007, Cambridge District Court)

[7] Zhou v. Weinberg (2007, Middlesex Superior Court)

[8] Commonwealth of Massachusetts v. Weinberg (2007, Cambridge District Court)

[9] Commonwealth of Massachusetts v. Weinberg (2007, Cambridge District Court)




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2587.     All these cases referred to in paragraph 2906 were disclosed to the defendant Maine

Board of Bar Examiners or their counsel in the plaintiff’s original application for admission to

the Bar, the plaintiff’s amended application for admission to the Bar, or in documents which

were mailed, faxed, or emailed to the defendant Maine Board of Bar Examiners or their counsel.

2588. As such, the plaintiff made full disclosure of all the cases referred to in paragraph 2906

above.

2589. Such full disclosure, honesty and candor of the plaintiff are indicia of good character.

2590. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that the two criminal cases entitled Commonwealth of Massachusetts v.

Weinberg did result in verdicts of “not guilty”, thus acquitting the plaintiff of all criminal

charges

2591. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that the plaintiff filed for Chapter 13 bankruptcy in March 2005.

2592. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that the plaintiff was unemployed or substantially underemployed between

2002-2010 as he was unable to find full-time employment with benefits while he struggled to

support his wife and three sons.

2593. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that the above cases Ford Motor Credit v. Weinberg and Boyd/Smith v.

Weinberg were filed on account of the Plaintiff’s insolvency and because the plaintiff was unable

to pay his creditors.



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2594. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that the suit and Complaint in the action Weinberg v. Colon v. DiCianni et

al. was signed by Mr. Vincent DiCianni on or about June 1999.

2595. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that Mr. Vincent DiCianni was Counsel of record for the plaintiff from

June 1999 to January 2000.

2596. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff filed the action Weinberg v. Colon v. DiCianni et al.

pro se in Middlesex Superior Court.

2597. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff knew that the suit Weinberg v. Colon v. DiCianni et

al. was improper or would later be dismissed as frivolous when it was filed by Mr. DiCianni

under Rule 11 in June 1999

2598. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff was not relying on the legal advice of his counsel

Mr. Vincent DiCianni when he allowed Mr. DiCianni to file the action Weinberg v. Colon v.

DiCianni et al.

2599. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff ever studied any law courses, enrolled in any law

school or had any type of legal training prior to June 1999, when the plaintiff’s counsel, Mr.

DiCianni, filed the action Weinberg v. Colon v. DiCianni et al.



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2600. Without any law courses, study in a lawschool or other legal training, it is reasonable for

a layperson to rely upon the advice of his counsel in legal affairs, both civil and criminal.

2601. A layperson without having studied any law courses, without study at a lawschool or

other legal training is not expected to know or understand the lawyer’s professional rules of

conduct or what are the proper and lawful means and strategies which a licensed attorney is

normally expected to know and understand.

2602. Defendant Board of Bar Examiners admits that the plaintiff, Robert P. Weinberg, was

such a layperson in June 1999, at the time that his counsel of record, Mr. Vincent DiCianni, filed

the suit Weinberg v. Colon v. DiCianni et al.

2603. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff knew or understood that there was anything

improper, unethical or unlawful when his counsel Mr. DiCianni advised the filing of the action

Weinberg v. Colon v. DiCianni et al.

2604. Defendant Board of Bar Examiners admits that tt is unreasonable, unfair and unjust to

hold a client accountable for the improper, unethical or legal malpractice of his/her counsel,

when such client has never studied any law, attended any lawschool or otherwise received any

type of legal training.

2605. Defendant Board of Bar Examiners admits that when a client, who is a layperson without

any law study or training, agrees to the legal advice of his/her counsel and such advice results in

the filing of an improper or unethical suit, this does not reflect on the client’s character or

morality.



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2606. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that Mr. Robert Stolzberg was Counsel of record for the plaintiff from

March 2000 to January 2001.

2607. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does know that Mr. John Flym was Counsel of record for the plaintiff from January

2000 to January 2005.

2608. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff ever filed any suits or legal actions, other than small

claims, in court pro se prior to June 2002.

2609. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff ever filed any suits or legal actions pro se which

were later determined to be frivolous or for an improper purpose.

2610. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners does not know by which standard the plaintiff was adjudicated to have committed

sexual misconduct by the Massachusetts Board of Registration in Medicine.

2611. Defendant Board of Bar Examiners admits that regarding the action Massachusetts Board

of Registration in Medicine v. Weinberg, the defendant Maine Board of Bar Examiners does not

know whether the plaintiff was adjudicated based on a strict liability standard as opposed to

some mens rea or a specific state of mind comprising a knowing, purposeful or intentional

standard




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2612. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff knew that he was committing some wrongdoing

when he became sexually involved with Colon.

2613. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has read and reviewed the evidence in the Magistrate Sarah Luick’s Recommended

Decision whereby the magistrate states as a stipulated finding of fact that the plaintiff met with

Colon and her psychologist for the express purpose of terminating the doctor-patient

relationship.

2614. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that such a voluntary termination of the doctor-patient relationship is

prohibited by any statute, regulation, law nor code of professional ethics.

2615. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that there is anything improper, unlawful or unethical about a doctor

engaging in sexual relations with an ex-patient following a proper termination of the doctor-

patient relationship.

2616. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has read and reviewed the evidence in the Magistrate Sarah Luick’s Recommended

Decision whereby the magistrate states that the plaintiff allegedly “rescinded the agreement”

terminating the doctor-patient relationship when he resumed medical treatment of Colon.

2617. Defendant Board of Bar Examiners admits that the only reasonable inference to draw

from the Magistrate’s adjudication that the plaintiff rescinded the agreement terminating the

doctor-patient relationship is that such a rescission is a necessary act in order to find that the

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plaintiff engaged in some professional misconduct by simultaneously providing medical

treatment to a patient with whom he/she is sexually involved [the end justifying the means].

2618. Defendant Board of Bar Examiners admits that as such, it is reasonable to conclude from

Magistrate Sarah Luick’s Recommended Decision (2002) that the plaintiff was adjudicated to

have committed professional misconduct on the basis of a strict liability standard.

2619. Defendant Board of Bar Examiners admits that the defendant Maine Board of Bar

Examiners has no evidence that the plaintiff knowingly, purposefully or intentionally committed

some wrongdoing when the plaintiff became sexually involved with Colon.

2620. Defendant Board of Bar Examiners admits that there is a significant difference between

(a) a doctor who has been medically treating a patient who then becomes sexually involved with

that patient and (b) a doctor who has terminated the doctor-patient relationship in a lawful,

ethical and appropriate way, then becomes sexually involved with the ex-patient, and then

allegedly “rescinds the termination agreement” by resuming medical treatment of the ex-patient.

2621. Defendant Board of Bar Examiners admits that in (a) of paragraph 2940 above, the

triggering event for the sexual misconduct is the initiation of sexual relations with a current

patient whereas in (b) the triggering event for the professional misconduct is the resumption of

medical treatment.

2622. Defendant Board of Bar Examiners admits that resuming medical treatment (b), even

when prohibited by former agreement, is a natural act for a trained doctor requiring a different

state of mind than initiating sexual relations (a) with a current patient.




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2623.   A strict liability standard for sexual misconduct involving a physician states that the

co-existence of a sexual relationship with a doctor-patient relationship comprises sexual

misconduct, and the order in which these relationships occur is unimportant.

2624. Defendant Board of Bar Examiners admits that such a strict liability standard does not

require any specific intent nor any specific state of mind.

2625. Defendant Board of Bar Examiners admits that the doctor who has breached such a strict

liability standard may not have knowingly, purposefully or intentionally committed a

wrongdoing when he/she initially commenced sexual relations if he/she has a reasonable belief

that the partner was not his/her patient at the time of commencement.

               Defendants MIT, Ann Graybiel, Nagina Mangal

Title IX & hostile learning environment arising from Defendants’ defamatory communications

about Plaintiff’s sexual conduct, sexual behavior & sexual preferences

2626.   While studying at M.I.T. as a Visiting Student, severe, substantial and devastating sexual

discrimination against the Plaintiff began on June 26, 2023, arising from communications and

discussions regarding the Plaintiff’s prior sexual acts, aspects of his sexuality, sexual behavior

and/or sexual conduct.

2627.   This devastating discrimination has caused a crisis in the Plaintiff’s life, and the Plaintiff

was receiving mental health counseling at the MIT Medical Dept psychiatry division to deal with

this crisis and suicidal thoughts.

2628.    There are 2 threshold questions to determine the validity of the Plaintiff’s Title IX

complaint against MIT and Professor Ann Graybiel:


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[1] At the morning June 26, 2023 private meeting between Professor Ann Graybiel and Postdoc

Nagina Mangal, which of the Plaintiff’s sexual acts, aspects of the Plaintiff’s sexuality, sexual

behavior and/or sexual conduct were discussed, which led to the precipitous, calamitous and

catastrophic changes in Graybiel’s attitude and beliefs toward the Plaintiff resulting in: the

immediate exclusion of the Plaintiff from laboratory participation; removal from the

CellREADR project; failure to introduce the Plaintiff at the Friday June 30, 2023 collaborative

meeting with the Agouti lab; shunning and refusal to answer the Plaintiff’s request for a face-to-

face meeting to discuss the precipitous change in Graybiel’s behavior; Graybiel’s refusal to

answer the Plaintiff’s email about sponsoring a grad fellowship which the Plaintiff qualified for

which would bring in sorely-needed research funding into the laboratory; refusal to look at the

Plaintiff in the eyes or to speak with the Plaintiff ever again; refusal to answer the Plaintiff’s

emails; sudden and total exclusion of the Plaintiff from the laboratory; refusal to have any

communication or contact with the Plaintiff; leading to the termination letter sent by Graybiel to

the Plaintiff during the week of July 3, 2023, breaching the academic contract which the Plaintiff

had with MIT and aborting the letter of invitation which Graybiel sent to the Plaintiff in August

2022; and what specific information was communicated to Graybiel from Mangal the morning of

June 26, 2023, specifically relating to the Plaintiff’s prior sexual acts, sexuality, sexual behavior

or sexual conduct?

[2] After joyously greeting the Plaintiff around 9 am on the morning of June 26, 2023, having

just returned from her European trip to Sweden and Ireland, happy to see the Plaintiff and

smiling with a glitter in her eyes and sharing with the Plaintiff his happiness over the Plaintiff’s

continued weight loss on his new diet, what information was conveyed by defendant Nagina

Mangal at her subsequent meeting with Graybiel at approximately 10 am which led to a dramatic

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and cataclysmic change in Graybiel’s attitude and beliefs toward the Plaintiff such that she

would never look at the Plaintiff in the eyes again, never smile at the Plaintiff again, and wanted

to have no contact nor communication with the Plaintiff ever again, and apparently decided to

exclude the Plaintiff from all lab participation or research, and how that change in her attitude

and beliefs toward the Plaintiff related to the Plaintiff’s prior sexual acts, and aspects of his

sexuality, sexual behavior or sexual conduct?

2629. The Plaintiff found it was so ironic and bewildering that he found himself writing this

detailed Personal Statement documenting the Sexual Discrimination which he began to

experience from Anne Graybiel, Nagina Mangal and the Massachusetts Institute of Technology

(MIT) beginning on June 26, 2023, which was totally inapposite and contrary to the attitudes and

beliefs which the Plaintiff experienced between June 2022 until June 26, 2023.

2630.   The Plaintiff did experience some of this discriminatory attitude from Nagina Mangal

the week prior to June 26, 2023, when she apparently learned specific information about the

Plaintiff’s prior sexual acts, aspects of his sexuality, sexual behavior or sexual conduct.

2631.    Anne Graybiel is a professor of neuroscience at MIT, and a world-reknown researcher

on the neuroscience of the basal ganglia and its functioning in cognition, learning, mood

disorders, addictions, obsessive-compulsive disorder and Huntington’s disease.

2632.   Nagina Mangal had just completed her PhD in cancer biochemistry at the University of

London and was beginning her first postdoc position at MIT in May 2023 when she joined the

laboratory of Ann Graybiel.

2633.    From June 2022, when the Plaintiff made his first powerpoint presentation to the

Graybiel lab, until June 26, 2023, the Plaintiff felt warm, friendly, responsive, encouraging and

respectful attitudes from Professor Ann Graybiel.

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2634.    In September 2022, Graybiel had excitedly and exuberantly expressed to the Plaintiff

that she was so glad that the Plaintiff decided to join the Graybiel lab.

2635.    For most of the 12 months from June 2022 to May 2023, there were warm, friendly and

cordial relations between Ann Graybiel and the Plaintiff.

2636.    The Plaintiff was very happy to be part of the Graybiel lab and really enjoyed the

research he was doing there as well as his relationships with the other students and Research

Scientists in the lab.

2637.    Prior to June 26, 2023, the Plaintiff never felt any animosity, anger, nor any type of

discrimination in the lab.

2638.    Everything changed dramatically on June 26, 2023.

2639.    On the morning of June 26, 2023, after returning from a trip to Europe, around 9 am in

the morning Graybiel ran up to the Plaintiff smiling and sharing the joy about his successful diet

where he lost 35 lbs since January 2023.

2640.    The Plaintiff spoke briefly with Ann Graybiel that morning about the ongoing research,

and Graybiel specifically asked how Nagina Mangal, the new postdoc, was doing and adjusting

to the lab.

2641.    This was about one hour before Graybiel was to meet with Nagina Mangal in her office,

and was also the last time that Graybiel would look at the Plaintiff in the eyes, or smile at the

Plaintiff, or speak to the Plaintiff or respectfully include the Plaintiff as part of the laboratory.

2642.    The Plaintiff correctly surmised that when Graybiel would meet with Mangal at about 10

am the morning of June 26, 2023, Mangal would communicate to Graybiel information

concerning specific prior sexual acts, my sexuality, sexual conduct and sexual preferences,

which she may have learned on the Internet.

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2643.   Apparently Mangal had learned this information about the Plaintiff’s prior sexual acts,

his sexuality, sexual conduct and sexual preferences during the previous week, when Mangal

dramatically changed her attitudes and beliefs toward the Plaintiff, and terminated a joint project

that she and the Plaintiff were working on drafting a literature review on the role of cannabinoids

on the brain in the CNS, and then unexpectedly and suddenly began to actively shun the Plaintiff.

2644.   The Plaintiff’s prior sexual acts, his sexuality, sexual conduct and sexual preferences

were active back in 1992-93, some 30 years prior to the present time and these sexual behaviors

or conduct never took place in the lab or with any of the personnel working in the lab.

2645.   It was never alleged nor was the Plaintiff ever convicted of any crime involving his prior

sexual acts, his sexuality, sexual conduct and/or sexual preferences.

2646.   However, due to a perceived and alleged conflict of interest in the doctor-patient

relationship, which officially amounted to an alleged question of unethical conduct (but not

criminal conduct), the Massachusetts Board of Registration in Medicine revoked the Plaintiff’s

medical license in 2002, granting him the right to petition for reinstatement of his license after 3

years in 2005.

2647.   No one in the Graybiel lab had ever seen or experienced the Plaintiff engaging in any of

those sexual acts, his sexuality, sexual conduct and/or sexual preferences.

2648.   The Plaintiff had always maintained friendly and respectful relations with all the

students, postdocs and Research Scientists in the Graybiel lab and around MIT in general.

2649.   There was never any complaint (which the Plaintiff knew of) from any of the students,

postdocs or faculty associated with the Graybiel lab - until June 26, 2023.

2650.   The Plaintiff’s life had been devastated since June 26, 2023.

2651.   All the Plaintiff’s career and professional goals were derailed by these events.

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2652.   During the week following June 26, the Plaintiff decompensated and went into a “melt-

down” and sending a number of irrational and extreme emails to Graybiel, when it became

evident to him that she would never look at the Plaintiff in the eyes again, nor smile at him, nor

speak to the Plaintiff respectfully nor include the Plaintiff as part of the laboratory.

2653.   The Plaintiff fell again into a deep depression, with some suicidal ideation.

2654.   The Plaintiff is now in counseling to attempt to stabilize his mental health, trying to find

a reason to live.

2655.    Since the Plaintiff first met Anne Graybiel in June 2022, he believed her to be a good,

honest, caring and non-discriminating person, until she returned from a June 2023 trip to Europe

and sat down to discuss specific facts with Nagina Mangal about the Plaintiff’s prior sexual acts,

sexuality, sexual conduct, sexual behavior and/or sexual preferences, which were only known to

a handful of individuals at MIT between 2010 and 2019, but which could be discovered online

by Googling the Plaintiff’s name.

2656.   During the week prior to Graybiel’s June 2023 return from Europe, the new postdoc in

our lab, Nagina Mangal, showed a dramatic and drastic change in her attitude toward the

Plaintiff, shunning him, and also unexpectedly terminating a project she and the Plaintiff had

started together on writing a literature review on the cannabinoid receptors in the brain and their

role in modulating the behavior and cognition regulated by the Basal Ganglia.

               Earlier June 2023 events and activities in the Graybiel lab

2657.   Near the end of May 2023, a new postdoc Nagina Mangal joined the Graybiel lab and

became good friends with the Plaintiff.

2658.   Nagina was delighted during her first week at MIT when the Plaintiff brought her over to

the MIT Atlas center where she was able to pick up her new MIT ID card, followed by the
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Plaintiff providing Nagina with a personal tour of the MIT campus which is relatively large, and

she learned where the Athletics center, Student Center, library and other academic buildings are

located.

2659.      The first week of June 2023, the Brain and Cognitive Sciences department held their

annual research symposium on Cape Cod.

2660.      Some lab members traveled by a departmental bus to the Cape Cod location, but the

Plaintiff offered to drive several lab members in his car, as he decided to drive there and have the

flexibility of having his car accessible.

2661.      The Plaintiff filled up his car with 6 lab colleagues, including Nagina, Georgios, Gun,

Michael, Fred and himself.

2662.      Nagina was delighted to ride in the front passenger seat, and the Plaintiff pointed out

Massachusetts landmarks while they drove to the Cape.

2663.      Another friend of the Plaintiff’s had extra tickets to the Red Sox baseball game the week

after the research symposium, so he invited Nagina to her first baseball game in America and she

and the Plaintiff went to the Red Sox game together.

2664.      Prior to the game, Nagina and the Plaintiff walked leisurely around the Kenmore Square

neighborhood and Nagina shared some knowledge about some specific restaurants she ate at

earlier in June.

2665.      The Plaintiff shared much information and knowledge about the Boston neighborhoods

with Nagina, and when Nagina learned that she needed to find a new place to live, the Plaintiff

helped her find a new home and also some furniture.

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2666.   The June 26, 2023 sharing of information, disclosing specific facts about the Plaintiff’s

prior sexual acts, sexuality, sexual behavior, sexual conduct and sexual preferences, precipitated

an immediate and drastic change in Graybiel’s attitude toward the Plaintiff, changing his role and

status in the laboratory, substantially curtailing his educational plans and options.

2667.   Prior to June 2023, no one in the Graybiel lab suspected anything about the Plaintiff’s

prior sexual acts, sexuality, sexual conduct and sexual preferences (to the best of his knowledge).

2668.   However, while working as a Research Scientist in the Dept of Biology from 2010

through 2020, the Biology Dept initiated an investigation into the Plaintiff’s prior sexual acts,

sexuality, sexual conduct and sexual preferences.

            MIT Policies on Sexual Harassment and Sexual Discrimination

2669.    MIT Policy 9.5: Sexual Harassment and Gender-based Harassment [From:

https://policies.mit.edu]

2670.   MIT Policy 9.5 Harassment - This policy was last updated December 20, 2021. See the

update history page for more information.

2671.   In order to create a respectful, welcoming and productive community, the Institute is

committed to providing a living, working and learning environment that is free from harassment.

2672.    Harassment is defined as unwelcome conduct of a verbal, nonverbal or physical nature

that is sufficiently severe or pervasive to create a work or academic environment that a

reasonable person would consider intimidating, hostile or abusive and that adversely affects an

individual’s educational, work, or living environment.




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2673.    In determining whether unwelcome conduct is harassing, the Institute will examine the

totality of the circumstances surrounding the conduct, including its frequency, nature and

severity, the relationship between the parties and the context in which the conduct occurred.

2674.   Below is a partial list of examples of conduct that would likely be considered harassing,

followed by a partial list of examples that would likely not constitute harassment:


   •    Examples of possibly harassing conduct: Public and personal tirades; deliberate and

        repeated humiliation; deliberate interference with the life or work of another person; the

        use of certain racial epithets; deliberate desecration of religious articles or places;

        repeated insults about loss of personal and professional competence based on age.


   •    Examples of conduct that is likely not harassment: Administrative actions like

        performance reviews (including negative performance reviews) and making work

        assignments; other work-related decisions like moving work areas or changing work

        colleagues; and isolated incidents (unless, as noted above, they are very severe, such as

        the use of certain racial epithets).


2675.   Information on different ways to raise concerns about harassment can be found on the

Complaint Process and Resolution website.

2676.   Conduct that does not rise to the level of harassment may still violate Section 9.2.

2677.   Even conduct that does not violate an MIT policy may be inappropriate and any

inappropriate conduct should be addressed by the supervisor or department head.




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        2678.    While MIT’s harassment policy is not limited to harassment based on the protected

        categories listed in Section 9.3, the Institute is particularly committed to eliminating harassment

        based on those categories.

        2679.   Harassment that is based on an individual’s race, color, sex, sexual orientation, gender

        identity, pregnancy, religion, disability, age, genetic information, veteran status, or national or

        ethnic origin is not only a violation of MIT policy but may also violate federal and state law,

        including Title IX of the Education Amendments of 1972, Title VII of the Civil Rights Act of

        1964, and Mass. General Laws Chapter 151B. For information on how to file complaints of

        violation of law with governmental agencies see Section 9.8.5.9 Legal Information.


9.5.1 Sexual Harassment, Sexual Misconduct, Gender-Based Harassment, Title IX Sexual Harassment

        2680. The Institute’s policy against harassment specifically includes a prohibition against

        sexual harassment, sexual misconduct, and gender-based harassment if the conduct meets the

        standards of harassment set forth above and has a connection to MIT as described in Section 9.1.

        2681. Additional guidance is set forth on the Institute Discrimination & Harassment Response

        Office website.

        2682. In addition, special procedures apply to formal complaints of sexual harassment covered

        under Title IX Sexual Harassment as defined in Section 9.5.1.4.


                               MIT Policy 9.5.1.1 Sexual Harassment

        2683.   Sexual harassment is unwelcome conduct of a sexual nature, such as unwelcome sexual

        advances, requests for sexual favors, or other verbal, nonverbal, or physical conduct of a sexual

        nature, when:

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   •   Submission to such conduct is made either explicitly or implicitly a term or condition of

       an individual’s employment or academic standing; or

   •   Submission to or rejection of such conduct by an individual is used as the basis for

       significant employment decisions (such as advancement, performance evaluation, or

       work schedule) or academic decisions (such as grading or letters of recommendation)

       affecting that individual; or

   •   The conduct is sufficiently severe or pervasive that a reasonable person would consider it

       intimidating, hostile or abusive and it adversely affects an individual’s educational, work,

       or living environment.

2684. A partial list of examples of conduct that might be deemed to constitute sexual

harassment if sufficiently severe or pervasive include:


   •   Examples of verbal sexual harassment may include unwelcome conduct such as sexual

       flirtation, advances or propositions or requests for sexual activity or dates; asking about

       someone else's sexual activities, fantasies, preferences, or history; discussing one’s own

       sexual activities, fantasies, preferences, or history; verbal abuse of a sexual nature;

       suggestive comments; sexually explicit jokes; turning discussions at work or in the

       academic environment to sexual topics; and making offensive sounds such as "wolf

       whistles.

   •   Examples of nonverbal sexual harassment may include unwelcome conduct such as

       displaying sexual objects, pictures or other images; invading a person's personal body

       space, such as standing closer than appropriate or necessary or hovering; displaying or

       wearing objects or items of clothing which express sexually offensive content; making


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